                                                    Case 23-11389-CTG                       Doc 1-1          Filed 09/07/23    Page 1 of 155
                                                                                                 Creditor Matrix
                                                                                                as of September 6, 2023
                    Creditor Name                 Attention                         Address 1                      Address 2   Address 3              City        State       Zip      Country
 1 Auto Transport Inc.                                                6835 SW 39th St                                                      Miami             FL           33155
 1 Burgos Transport LLC                                               5865 Pearl Estates Ln                                                Sanford           FL           32771
 1 Line Auto Transport Corp                                           4590 SW 137th Court                                                  Miami             FL           33175
 1 Micro LLC                                                          902 S Pine Street                                                    Waconia           MN           55387
 1 Step Ahead Auto                                                    8970 Nakoma Way                                                      Brooksville       FL           34613
 1 Stop Trucking Corp                                                 1191 W 59th Pl                                                       Hialeah           FL           33012
 1 Transportation Inc.                                                PO Box 306                                                           Milbury           MA           01527
 1100 Atlantic Collision                                              482 Blake Ave                                                        Brooklyn          NY           11207
 115-Waste Pro-Palm Beach                                             PO Box 865217                                                        Orlando           FL           32886-5217
 1195 S Congress Avenue, LLC                                          5900 N Australian Ave                                                West Palm Beach   FL           33407
 11Th Avenue Auto Recyclers                                           5151 East 11th Ave                                                   Hialeah           FL           33013
 123 Auto Glass                                                       1301 NW 76th Ave                                                     Plantation        FL           33322
 1337 Transport Corp                                                  4639 Calendula Dr                                                    Orlando           FL           32839
 138 Transport LLC                                                    640 Kent Lane                                                        Myrtle Beach      SC           29579
 1-800 Radiator & A/C Sarasota      Chase Oaks LLC                    1470 Northgate Blvd                                                  Sarasota          FL           34234
 1-800-Radiator & A/C                                                 8820 NW 24th Terrace                                                 Doral             FL           33172
 1Line Auto Transport Corp                                            4590 SW 137th Court                                                  Miami             FL           33175
 1Link Transport                                                      11731 Airport Park Dr                                                Orlando           FL           32824
 1Q
 1St Choice Auto Transport Inc.                                       PO Box 334                                                           Westport          MA           02790
 1St Class Transport LLC                                              819 S Lake Jessup Ave                                                Oviedo            FL           32765
 1St Executive Transport Inc.                                         1695 North Bluebird Ln                                               Homestead         FL           33030
 2 Day Trans LLC                                                      9026 Lenter Dr                                                       Caledonia         MI           49316
 2 Lines Auto Transport Inc.                                          1045 NW 127 Path                                                     Miami             FL           33182
 2 Lines Auto Transport Inc.                                          117 NW 42 Ave                                                        Miami             FL           33126
 2 Way Auto Transport Inc.                                            112 Carriage Way Drive                                               Burr Ridge        IL           60527
 2 Way Auto Transport LLC                                             4851 Tamiami Trl Ste 200                                             Naples            FL           34103
 203 Hotshot LLC                                                      123 NW 13th Street - Ste 311                                         Boca Raton        FL           33432
 21 Auto Transport Inc.                                               9843 Mountain Lake Dr                                                Orlando           FL           32832-7901
 21 Auto Transport LLC                                                510 Meadowmont Village Circle 312                                    Chapel Hill       NC           27517
 213 Logistics LLC                                                    1589 E 14th Street                                                   Brooklyn          NY           11230
 24 American Transportation LLC                                       340 W Flagler St #1409                                               Miami             FL           33130
 24 Auto Transport Corp.                                              1188 SW 78th Place                                                   Miami             FL           33144
 24 Hour Lock Service
 24X7 Auto Express LLC                                                753 NW Spruce Ridge Drive                                            Stuart            FL           34994
 2517 Inc.                                                            780 Weidner Rd Apt 204                                               Buffalo Grove     IL           60089
 27 Edge, Inc.                      c/o Bell Co                       380 Lexington Ave                    Fl 31                           New York          NY           10168
 2L4G Transport LLC                                                   500 Pecan Grove Loop                                                 Hope Mills        NC           28348
 2Nd 2 None Transport LLC                                             405 Concord Cir                                                      Mconough          GA           30253
 2Sv Inc.                                                             2401 S Ocean Drive                                                   Hollywood         FL           33019
 2U4U Transport Experts                                               201 NE 30th Ct                                                       Pompano Beach     FL           33064
 3 Star Logistics Inc.                                                8565 W 101st Ter 213                                                 Palos Hills       IL           60465
 3 Way Transportation LLC                                             14627 Cableshire Way                                                 Orlando           FL           32824
 305 Auto Express Corp                                                19400 NW 62nd Place                                                  Hialeah           FL           33015
 305 Auto Transport Corp                                              952 W 30th St Apt 4                                                  Hialeah           FL           33012
 305 Diamond Trucking Inc.                                            1501 NW 93rd Street                                                  Miami             FL           33147
 305 Transport Inc.                                                   10301 SW 199th Street                                                Miami             FL           33157
 36 Jumpstreet Transport LLC                                          3600 NW 174 Street                                                   Miami Gardens     FL           33056
 360 Automotive Equipment                                             1800 Pembrook Dr Ste 300                                             Orlando           FL           32810
 360 Intel LLC                                                        135 Hooksett Road                                                    Manchester        NH           03104
 360 Photo Booth Studios Inc                                          2912 Bayview Dr                                                      Safety Harbor     FL           34695
 360 Transportation Services LLC                                      9026 Snipe Ln                                                        Jonesboro         GA           30236
 365 Auto Transport                                                   3020 New 41st Terr                                                   Homestead         FL           33033
 365 Auto Transport                                                   3020 NE 41st Terr                                                    Homestead         FL           33033
 365 Auto Transport Inc.                                              3020 NE 41st Ter 419                                                 Homestead         FL           33033
 365 Auto Transport LLC                                               227 W 4th Street Floor1                                              Charlotte         NC           28202
 3D Express Transportation Corp                                       661 Se 7th Ave                                                       Hialeah           FL           33010
 3-D Paving & Sealcoating           All Paving And Sealcoating, LLC   2801 N University Dr Ste 302                                         Coral Springs     FL           33065
 3G's Logistics LLC                                                   2601 Spring Hill Dr                                                  Kissimmee         FL           34743
 3N Trucking LLC                                                      4 Wolski Dr Apt 4D                                                   Elizabeth         NJ           07202
 3Rt Transportation LLC                                               7980 N Nob Hill Rd Apt 205                                           Tamarac           FL           33321
 3Sixty5 Transport Inc.                                               5733 Sierra Dr                                                       Roanoke           VA           24012



Off Lease Only LLC, et al.                                                                                                                                                             Page 1 of 155
                                      Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 2 of 155
                                                                            Creditor Matrix
                                                                         as of September 6, 2023
                    Creditor Name   Attention                Address 1                     Address 2   Address 3             City           State       Zip       Country
 3To Auto Express Inc.                          4121 4th Ave Ne                                                    Naples              FL           34120
 3Yyy Hauling Transport Corp                    9919 W Okeechobee Rd                                               Hialeah             FL           33016
 4 Err
 4 Kings Of Ga LLC                              2057 Shell Road                                                    Riceboro            GA           31323
 4 Less Transport LLC                           24437 SW 108 Ave                                                   Homestead           FL           33032
 4 Son Auto Transport LLC                       6640 SW 20th St                                                    Miramar             FL           33023
 4 Wheels 4U Logistics LLC                      2410 NW 16th Ln                                                    Pompano Beach       FL           33064
 42 Logistics Inc.                              3177 Plaza St                                                      Miami               FL           33133
 427 Transport LLC.                             1535 Hawkesbury Ct                                                 Winter Gardens      FL           34787
 48 State Transport Xpress Inc.                 1260 NE 133rd St                                                   North Miami         FL           33161
 48 States Carrier Corp                         7411 Venetian Way                                                  West Palm Beach     FL           33406
 4D's Trucking Inc.                             12705 NW Hwy 225                                                   Reddick             FL           32686
 4J's Transport LLC                             301 Chestnut Street                                                Attalla             AL           35954
 4Ramos Transportation Inc.                     PO Box 771402                                                      Orlando             FL           32877
 5 Star Auto Movers Inc.                        2762 NW 212 Street                                                 Miami               FL           33056
 5 Star Auto Transport                          1661 Harlington Rd                                                 Smyrna              GA           30082
 5 Star Auto Transportation Corp                3469 S Redondo Blvd                                                Los Angeles         CA
 5 Star Express Transport Corp                  495 Marconi Blvd                                                   Copiague            NY           11726
 64 Transport LLC                               300 Winston Dr 1006                                                Cliffside Park      NJ           07010
 6518630 Canada Inc.                            5953 Fourth Line Rd                                                North Gower         ON           K0A 2T0    Canada
 7 Sun Media, LLC                               1800 W Broward Blvd                                                Fort Lauderdale     FL           33312
 700Credit                                      PO Box 101015                                                      Pasadena            CA           91189-0003
 77 Star Transport LLC                          800 Beverly Avenue                                                 Altamonte Springs   FL           32701
 826 Transport Inc.                             11150 SW 211 Street                                                Cutler Bay          FL
 888Cleanup                                     2504 Dickson Ave                                                   Orlando             FL           32806
 911 Auto Transport LLC                         638 W 44 Place                                                     Hialeah             FL           33012
 911 Backflow & Home LLC                        551 Palmetto Dr                                                    Coconut Creek       FL           33066
 9-1-1 Backflow & Home LLC                      551 NW 41 Ave                                                      Coconut Creek       FL           33066
 911 Carrier Corp                               902 Champion Avenue                                                Lehigh Acres        FL           33971
 923 Transport LLC                              5801 Cleveland Street                                              Hollywood           FL           33021
 A & B Top & Textile And Supply                 6555 Garden Rd Unit 9                                              Riviera Beach       FL           33404-6316
 A & T Transportation                           7821 51st Ave Ne                                                   Marysville          WA           98270
 A + M Tools, Inc.                              17315 Tangerine Blvd                                               Loxahatchee         FL           33470
 A Alexander Event                              1101 Holland Drive #25                                             Boca Raton          FL           33487
 A Ameri Finn Inc.                              7100 Thompson Rd                                                   Boynton Beach       FL           33426
 A And Sons Express Inc.                        105 Nassau Drive                                                   Winchester          VA           22602
 A Beautiful Ceiling                            3333 S Dixie Hwy                                                   Delray Beach        FL           33483
 A Better Communication Inc.                    1277 Pinetta Circle                                                Wellington          FL           33461
 A Bull Transportation Inc.                     12244 Sag Harbor Ct Apt 4                                          Wellington          FL           33414
 A Bullet Locksmith                             164 Jackson Street                                                 West Palm Beach     FL           33406
 A Class Transport                              2279 Springwood Rd                                                 Fincastle           VA           24090
 A G Develoopment Marine LLC
 A G Dupye Transportation LLC                   5709 Fenwick Avenue                                                Baltimore           MD           21239
 A Mendez Transportations Corp                  770 West 53 Terrace                                                Hialeah             FL           33012
 A Plus Auto Shippers / Auto                    131333 W Orchid Lane                                               El Mirage           AZ           85335
 A Plus Auto Transportation Inc.                PO Box 212641                                                      Royal Palm Beach    FL           33421
 A Plus Ice Inc.                                512 North G Street                                                 Lake Worth          FL           33460
 A S Trucking LLC                               237 South Reading Road                                             Ephrata             PA           17522
 A Smith Transport                              835 Scattergood Street                                             Philadelphia        PA           19124
 A Smith Transport LLC                          1618 NW 3rd Ln                                                     Boynton Beach       FL           33435
 A Son Of A Gunn Company                        11645 Monument Drive Unit 1428                                     Bradenton           FL           34211
 A To B Transporting                            1448 Leatherman Rd                                                 Conway              SC           29527
 A To Be Transportation Inc.                    6720 W 2 Ct                                                        Hialeah             FL           33012
 A To Z Express Transport LLC                   126 Frye Cove                                                      Covington           TN           38019
 A Tow Atlanta                                  180 Harriot Street                                                 Atlanta             GA           30315
 A Tree & Hauling Inc                           1128 Royal Palm Beach Blvd          #247                           Royal Palm Beach    FL           33411
 A True Auto Transport LLC                      321 Collingswood Blvd                                              Port Charlotte      FL           33954
 A Unique Transport                             501 W Glenoaks Blvd                                                Glendale            CA           91202
 A Universal Connection Inc.                    1119 SW 44th Terr                                                  Deerfield           FL           33442
 A&A Auto Delivery Inc.                         13051 NW 27th Ave                                                  Miami               FL           33167
 A&A Auto Design Inc.                           507 Woodhaven Dr                                                   Mundelein           IL           60060
 A&A Auto Shippers Corp                         4625 Everglades Blvd N                                             Naples              FL           34120



Off Lease Only LLC, et al.                                                                                                                                        Page 2 of 155
                                                    Case 23-11389-CTG             Doc 1-1         Filed 09/07/23   Page 3 of 155
                                                                                       Creditor Matrix
                                                                                     as of September 6, 2023
                   Creditor Name                  Attention                 Address 1                 Address 2    Address 3              City        State       Zip   Country
 A&A Automotive Distributors                                  7157 Narcoossee Rd #1363                                         Orlando           FL           32822
 A&A Car Carriers                                             8557 Norwich Ave                                                 North Hills       CA           91343
 A&A Global Transport LLC                                     12964 NW 8th Lane                                                Miami             FL           33182
 A&A Tranpsort LLC                                            3580 SW 122nd Ct                                                 Miami             FL           33175
 A&B Towing                                                   2313 SW 59th Ave                                                 West Park         FL           33023
 A&C Reliable Transport LLC                                   4221 NW 196th Street                                             Maimi Gardens     FL           33055
 A&D Auto Carrier Group Inc.                                  5199 E 9th Ct                                                    Hialeah           FL           33013
 A&D Auto Carrier LLC/A&D Auto Shipping LLC                   551 SW Lost River Rd                                             Stuart            FL           34997
 A&D Auto Transport                                           8520 SW 133 Rd Avenue                                            Miami             FL           33183
 A&D Towing & Recovery LLC                                    881 Rose Rd                                                      Somerset          KY           42501
 A&G Auto Transport LLC                                       525 Saienni Blvd                                                 New Castle        DE           19720
 A&I Transport Services                                       30215 SW 158 Ct                                                  Homestead         FL           33033
 A&J Business Solutions Inc.                                  611 Commerce Lane                                                Jupiter           FL           33458
 A&L Auto Transport                                           16007 Wilkinson Drive                                            Clermont          FL           34714
 A&M Express Transport                                        8194 W Deer Valley Rd 106-232                                    Peoria            AZ           85382
 A&M LLC                                                      247 E Shelby Drive                                               Memphis           TN           38109
 A&M Mobile Locksmith                                         5850 Antoine Dr                                                  Houston           TX           77091
 A&N Mederos Transport Inc.                                   2803 Charing Cross Way                                           Orlando           FL           32837
 A&R Transportation LLC                                       8622 NE 12th Lane                                                Okeechobee        FL           34974
 A&R Transporting                                             11060 Newood Dr                                                  Manassas          VA           20111
 A&R Transporting Services LLC                                1444 Peppoli Loop Se                                             Rio Rancho        NM           87124
 A&S Auto Transport LLC                                       5840 Freshpond Rd                                                Maspeth           NY           11378
 A&S Cargo Transport LLC                                      4168 Americana Dr                                                Cuyahoga Falls    OH           44224
 A&S Transport Corp                                           14 Overhill Road                                                 Matawan           NJ           07747
 A&S Trucking Of Holiday Inc.                                 2627 Ravendale Lane                                              Holiday           FL           34691
 A&S Unity Transport LLC                                      1270 NW 29th Terr                                                Ft Lauderdale     FL           33311
 A&Sons Express Inc                                           125 Pembridge Dr                                                 Winchester        VA           22602
 A&V Transportation Usa Inc                                   11451 SW 40th Terr                                               Miami             FL           33165
 A&W Auto Transport                                           217 Atwell Drive                                                 Statesville       NC
 A&Y Auto Transport Service LLC                               7401 Palmera Point Cir 202                                       Tampa             FL           33615
 A&Y Transport Carrier Inc                                    2810 SW 122 Ave                                                  Miami             FL           33175
 A.B. Fire Systems, Inc.                                      PO Box 7696                                                      Sebring           FL           33872
 A.N.G Auto Transportation LLC                                18731 NW 11 Pl                                                   Miami             FL           33169
 A.R.T. Transporation Inc                                     PO Box 277721                                                    Miramar           FL           33027
 A+ American Home Inspection                                  405 Celebration Ave                                              Celebration       FL           34747
 A1 Auto Hauler Express                                       20118 N 67th Avenue                                              Glendale          AZ           85308
 A1 Auto Transport LLC                                        4683 67th Avenue                                                 Pinellas Park     FL           33781
 A1 Certified Backflow Protection Inc                         1319 Central Terrace                                             Lake Worth        FL           33460
 A1 Charlies Transport Inc                                    62 Arlington St                                                  Westbury          NY           11590
 A-1 Express Safe & Lock, Inc                                 9711 S Mason Rd Ste 125-240                                      Richmond          TX           77407
 A-1 Locksmith Service Of The Palm Beaches, Inc               4545 Forest Hill Blvd #6                                         West Palm Beach   FL           33415
 A-1 Painting Of Palm Beach                                   1018 5th Avenue North                                            Lake Worth        FL           33460
 A-1 Plus Upholstery & Glass Corp                             654 W 84th Street                                                Hialeah           FL           33014
 A1 Redland Economy Towing Of Homestead                       111 SW 2nd Street                                                Homestead         FL           33030
 A-1 Sullivan Trucking LLC                                    4741 N Lumberjack Road                                           Riverdale         MI           48877
 A1 Usa Express LLC                                           21078 Via Eden                                                   Boca Raton        FL           33433
 A1A Auto Transport Inc                                       2531 West 65 St                                                  Hialeah           FL           33016
 A1A Carriers LLC                                             405 E 41st Street Suite 2A                                       Hialeah           FL           33013
 A1A Transport Inc                                            417 Springfield St                                               Agawam            MA           01001
 A1Agent Locksmith
 A2B Transportation LLC                                       1922 East Mciver Rd                                              Florence          SC           29501
 A2Z Carriers, Inc                                            439 Westwood Shopping Center                                     Fayetteville      NC           28314
 A2Z Transport Specialists LLC                                225 Eagle Lake Loop Rd East                                      Winter Haven      FL           33880
 Aa & Yy Transport Corp                                       8850 SW 43rd St                                                  Miami             FL           33165
 Aa All Star Transportation Corp                              521 NW 135 Ave                                                   Miami             FL           33182
 Aa Auto Express Inc.                                         2666 Trilby Avenue                                               North Port        FL           34286
 Aa Auto Transport Multi Service LLC                          6927 Souder Street                                               Philadelphia      PA           19149
 Aa Express Transport LLC                                     2901 Blackwater Cy                                               Fayetteville      NC           28306
 Aaa Auto Express Inc.                                        2666 Trilby Avenue                                               North Port        FL           34286
 Aaa Auto Transporting Corp                                   16115 SW 101 Avenue                                              Miami             FL           33157
 Aaa Logistics LLC                                            900 Us Hwy                                                       Lake Park         FL           33403
 Aaa Motor Transport                                          1250 Old Dixie Hwy                                               Lake Park         FL           33403



Off Lease Only LLC, et al.                                                                                                                                              Page 3 of 155
                                                           Case 23-11389-CTG                Doc 1-1          Filed 09/07/23   Page 4 of 155
                                                                                                 Creditor Matrix
                                                                                                as of September 6, 2023
                    Creditor Name                       Attention                  Address 1                      Address 2   Address 3             City          State       Zip      Country
 Aaa Next Generation Locksmith Inc.                                   1712 Kamler Ave                                                     Orlando            FL           32817
 Aaa Power Brothers                                                   1010 Sandpit Road                                                   Leesville          SC           29070
 Aaa Pro Plumbing                                                     6907 NW 51 Street                                                   Miami              FL           33166
 Aaa&N Auto Transport Inc                                             1200 Michael Ave                                                    Lehigh Acres       FL           33972
 Aaaa Transport Corp                                                  3261 SW Hambrick Street                                             Port St Lucie      FL           34953
 Aaable Choice Auto And Transportation LLC                            3975 NW 19th Street                                                 Ft. Lauderdale     FL           33311
 Aaasc Now
 Aabaa Electrical Services Corp                                       5364 NW 201st Terrace                                               Miami Gardens      FL           33055
 Aaction Transmissions, Inc                                           18920 W Dixie Hwy                                                   N Miami Beach      FL           33180
 Aaid Towing Inc                                                      PO Box 327808                                                       Ft Lauderdale      FL           33332
 Aaj Trucking LLC                                                     12211 W Windrose Drive                                              El Mirage          AZ           85335
 Aamco                                       Fort Apache Automotive   3426 S Military Trail                                               Lake Worth         FL           33463
 Aamco                                       Ram Resorts, LLC         101 East Vine Street                                                Kissimmee          FL           34744
 Aan Transportation Inc                                               509 79th St Unit 3B                                                 Brooklyn           NY           11209
 Aat Transport LLC                                                    14214 Hwy J                                                         Mugmesville        MO           65334
 Aaziz Transport Service LLC                                          13480 NW 4th Street                                                 Pembroke Pines     FL           33028
 Ab & Father Express Inc                                              19751 NW 57th Ct                                                    Hialeah            FL           33015
 Ab Harker & Associates                                               161 N Cypress Way                                                   Casselberry        FL           32707
 Ab Trails Inc.                                                       1231 Edgar Ct                                                       Glendale Hts       IL           60139
 Ab Transport LLC                                                     90 Sunrise Ave                                                      Fairfield          CT           06824
 Aba Logistics LLC                                                    197M Boston Post Rd W                                               Marlborough        MA           01752
 Abadia Enriquez, Diego Felipe                                        Address on File
 Abadia, Mauricio                                                     Address on File
 Abana Automotive Center Corp                                         1051 E 27th St                                                      Hialeah            FL           33013
 Abb Road LLC
 Abba Transport Inc                                                   1835 E Hallandale Beach Blvd         #283                           Hallandale         FL           33009
 Abbou3 Transport LLC                                                 5808 E Broadway Ave                                                 Tampa              FL           33619
 Abc Auto Sports Inc                                                  PO Box 1312                                                         North Barrington   IL           60010
 Abc Carrier Inc. - Fl Only                                           9755 SW 24th Street                                                 Miami              FL           33165
 Abc Lancaster Auto Auction                                           1040 Commercial Ave                                                 East Petersburg    PA           17520
 Abc Orlando                                                          2800 N Hwy 17-92                                                    Longwood           FL           32750
 Abc Paging City Beepers                                              PO Box 941534                                                       Miami              FL           33194
 Abc St. Louis                                                        721 S 45th                                                          Centreville        IL           62207-1393
 Abc Toledo                                                           9797 Fremont Pike                                                   Perrysburg         OH           43551
 Abc Trans                                                            331 S Ardmore Avenue                                                Los Angeles        CA           90020
 Abc Transport LLC                                                    10305 SW 40 Terrace                                                 Miami              FL           33165
 Abdel Rodriguez, Jehad Adnan                                         Address on File
 Abdelmonem, Basel                                                    Address on File
 Abdo, Tariq Awni                                                     Address on File
 Abduls Towing                                                        5030A Memorial Dr                                                   Stone Mountain     GA           30083
 Abeam Logistics LLC                                                  4781 North Congress Ave              Suite 1137                     Boynton Beach      FL           33426
 Abel Auto Transport Inc                                              11230 Moonshine Creek Circle                                        Orlando            FL           32825
 Abernathy, Chavette Latioa                                           Address on File
 Abeyratne, Russell                                                   Address on File
 Abis Auto Transport Inc                                              675 E 24 St                                                         Hialeah            FL           33013
 Abk Auto Transport LLC                                               4356 SW 131 Ave                                                     Miami              FL           33175
 Able Towing And Roadside LLC                                         9112 Boyce Ave                                                      Orlando            FL           32824
 Able Transport & Recovery LLC                                        9 Cladwell Place                                                    Elizabeth          NJ           07201
 Abm Auto Transport LLC                                               217 American Avenue                                                 Lancaster          PA           17602
 Abm Trans Inc                                                        7512 Dr Phillips Rd Ste 50-927                                      Orlando            FL           32819
 Abml Enterprises                                                     4036 NE 6th Avenue                                                  Oakland Park       FL           33334
 Abn Trucking Inc                                                     7253 Watson Rd #135                                                 St Louis           MO           63119
 Abou Ammar, Haitham Arif                                             Address on File
 Abou Ammar, Nizar                                                    Address on File
 Above And Beyond Enterprises Corp.                                   8740 Francis Lewis Blvd                                             Queens Village     NY           11627
 Above And Beyond Enterprises Corp.                                   616 SW 9th Avenue                                                   Cape Coral         FL           33991
 Above And Beyond Transport                                           2583 Canal Dr                                                       Millersport        OH           43046
 Abp Logistics LLC                                                    PO Box 336                                                          Tualatin           OR           97062
 Abr Auto Transport Inc                                               3417 W Kirby St                                                     Tampa              FL           33614
 Abrahantes Car Transport Inc                                         3780 NW 13th St                                                     Miami              FL           33126
 Abrams, Derrick Leo                                                  Address on File
 Abreu, Victor                                                        Address on File



Off Lease Only LLC, et al.                                                                                                                                                             Page 4 of 155
                                                            Case 23-11389-CTG                       Doc 1-1         Filed 09/07/23   Page 5 of 155
                                                                                                         Creditor Matrix
                                                                                                       as of September 6, 2023
                   Creditor Name                         Attention                         Address 1                    Address 2    Address 3               City        State       Zip      Country
 Abreus Auto Transport Inc                                                    9140 Fountainbleau Blvd                                            Miami              FL           33172
 Abril, Robert Alexander                                                      Address on File
 Abs Chicago Inc                                                              684 S Barrington Rd Ste 334                                        Streamwood         IL           60107
 Abs Express Transport Inc                                                    PO Box 770486                                                      Houston            TX           77215
 Absolute Air Conditioning & Refrigeration                                    160 Autumn Court                                                   St Cloud           FL           34771
 Absolute Carrier LLC                                                         9781 Martinique Drive                                              Cutler Bay         FL           33189
 Abulawi, Ahmad                                                               Address on File
 Abumustafa, Ahmad Nasser                                                     Address on File
 Abw Transport Inc                                                            28501 SW 152nd Ave Lot 18                                          Homestead          FL           33033
 Ac Car Trucking Inc                                                          5625 W 26 Ct #102                                                  Hialeah            FL           33016
 Academy Auto Carriers                                                        14 Heron Hollor Ct                                                 Spring             TX           77380
 Acav Distributors Corp                                                       6024 SW 8 Street                                                   Miami              FL           33144
 Accelerated Services 1                                                       19201 E Lincoln Ave                                                Parker             CO           80138
 Accent Barriers, Inc                                                         5806 Midlothian Turnpike                                           Crestwood          IL           60445
 Accenture Llp                                                                161 N Clark Street                                                 Chicago            IL           60601-3206
 Access Transport Inc                                                         13400 S Route 58 Ste 116-155                                       Plainfield         IL           60585
 Access Transport LLC                                                         1135 Malabra Road Ne                                               Palm Bay           FL           32907
 Accountemps
 Accounting Principles                       Ado Professional Solutions Inc     10151 Deerwood Park Blvd                                         Jacksonville       FL           32256
 Accrete Logistics LLC                                                          14822 SW 178th Terrace                                           Miami              FL           33187
 Ace Tire Corp                                                                  5975 NW 82nd Ave                                                 Miami              FL           33166
 Ace Transport Inc                                                              337 Dunbar Rd                                                    Mundelein          IL           60060
 Acertus                                     Metrogistics LLC                   PO Box 734973                                                    Chicago            IL           60673-4973
 Aces Wild Transport                                                            786 Rev No Thompson Road                                         Fairmont           NC           28340
 Acevedo Ramos, Melida Luz                                                      Address on File
 Acevedos Transport Inc                                                         147 Aurora Line                                                  Kissimmee          FL           34758
 Acf Standby Systems LLC                                                        9311 Solar Drive                                                 Tampa              FL           33619
 Ach Trans LLC                                                                  11312 Citra Circle Apt 208                                       Windermere         FL           34786
 Acj Transport & Towing LLC                                                     635 New Mexico Woods Ct                                          Orlando            FL           32824
 Acme Sisters Transportation LLC             Perez,Veronica                     2451 Lena Ln                                                     West Palm Beach    FL           33415-7260
 Acme Transport 2.0 LLC                                                         2328 Newbury Drive                                               Wellington         FL           33414
 Acosta Logistics Inc                                                           481 E 7th Street                                                 Hialeah            FL           33010
 Acosta, Bianca Esther                                                          Address on File
 Acoy Services Corp                                                             2319 W 74 Street                                                 Hialeah            FL           33016
 Act Carriers                                                                   1107 Terra Mar Driver                                            Tampa              FL           33613
 Action Auto Brokers Inc                                                        4539 Hollywood Blvd                                              Hollywood          FL           33021
 Action Recovery & Collection                                                   5502 Calhoun 22                                                  Hampton            AR           71744
 Action Towing & Recovery Of Sarasota        Certified Asset Recovery Solutions 5435 Catalyst Ave                                                Sarasota           FL           34233
 Action Vehicle Transport LLC                                                   455 Dixie Hwy                                                    Tarpon Springs     FL           34689
 Activengage, Inc                                                               2701 Maitland Center Parkway                                     Maitland           FL           32751
 Actors Federal Credit Union                                                    165 W 65th St                                                    New York           NY           10036
 Acuna, Nicholas                                                                Address on File
 Acura Of Pembroke Pines                                                        1841 N State Road 7                                              Hollywood          FL           33021
 Acv
 Ad Auto Business Support, LLC                                                5008 Airport Road                                                  Roanoke            VA           24012
 Ad Trucking                                                                  1015 Davmunds Trl                                                  Sutherlin          VA           24594
 Adams 3Xl Transport LLC                                                      3023 Windsor Meadow Lane                                           Matthews           NC           28105
 Adams Express Auto Transport                                                 2681 Staley Court                                                  Orlando            FL           32818
 Adam's Trucking Transportation LLC                                           845 NW 122 Nd Street                                               Miami              FL           33168
 Adams, Angela Nicole                                                         Address on File
 Adams, Trameese                                                              Address on File
 Adana Transportation Inc                                                     710 Carrington Pl Suite 206                                        Loveland           OH           45140
 Adavance Auto Transport LLC                                                  65 SW 18 Ave                                                       Homestead          FL           33030
 Aday Auto Transport Inc. - Fl Only                                           5920 Mango Blvd                                                    West Palm Beach    FL           33411
 Adc Transport Inc                                                            350 W 35th St                                                      Hialeah            FL           33012
 Adcart                                                                       2222 Sedwick Road                                                  Durham             NC           27713
 Adcock Brother's Auto Transport                                              14 Anthony Dr                                                      Manheim            PA           17545
 Adcy Transport Corp                                                          2580 Collin Mckinney Pkw                                           Mc Kinney          TX           75070
 Adedoyin, Emmanuel Babatunde                                                 Address on File
 Adesa Ark-La Tex Inc                                                         7666 Highway 80 West                                               Shreveport         LA           71119
 Adesa Atlanta                                                                5055 Oakley Industrial Blvd                                        Fairburn           GA           30213
 Adesa Austin                                                                 2108 Ferguson Lane                                                 Austin             TX           78754



Off Lease Only LLC, et al.                                                                                                                                                                    Page 5 of 155
                                     Case 23-11389-CTG               Doc 1-1           Filed 09/07/23   Page 6 of 155
                                                                           Creditor Matrix
                                                                          as of September 6, 2023
                   Creditor Name   Attention                  Address 1                    Address 2    Address 3              City        State       Zip      Country
 Adesa Birmingham                              804 Sollie Drive                                                     Moody             AL           35004
 Adesa Boston                                  63 Western Avenue                                                    Framingham        MA           01702
 Adesa Brashers                                6233 Blacktop Road                                                   Rio Linda         CA           95673
 Adesa Buffalo                                 12200 Main Street                                                    Akron             NJ
 Adesa Charlotte                               11600 Fruehauf Drive                                                 Charlotte         NC           28273
 Adesa Chicago                                 2785 Beverly Rd                                                      Hoffman Estates   IL           60169
 Adesa Cincinnati/Dayton                       4400 William C Good Blvd                                             Franklin          OH           45005
 Adesa Cleveland                               210 East Twinsburg Rd                                                Northfield        OH           44067
 Adesa Colorado Springs                        10680 Charger Oak Ranch Road                                         Fountain          CO           80817
 Adesa Concord                                 77 Hosmer Street                                                     Acton             MA           01720-0257
 Adesa Corporate Office                        13085 Hamilton Crossing Blvd                                         Carmel            IN           46032
 Adesa Dallas                                  3501 Lancaster Hutchins Road                                         Hutchins          TX           75141
 Adesa Des Moines                              1800 Gateway Drive                                                   Grimes            IA           50111
 Adesa East Tennessee                          195 Jor R Mccrary Rd                                                 Fall Branch       TN           37656
 Adesa Flint                                   3711 Western Road                                                    Flint             MI           48506
 Adesa Golden Gate                             18501 W Stanford Road                                                Tracy             CA           95377
 Adesa Houston                                 4526 N Sam Houston Pkwy                                              Houston           TX           77086
 Adesa Inc                                     1620 S Stapley Drive                                                 Mesa              AZ           85204
 Adesa Indianapolis                            2950 East Main Street                                                Plainfield        IN           46168
 Adesa Jacksonville                            11700 New Kings Road                                                 Jacksonville      FL           32219
 Adesa Kansas City                             15511 Adesa Drive                                                    Belton            MO           64012
 Adesa Knoxville                               1011 Adesa Parkway                                                   Lenoir City       TN           37771
 Adesa Lansing                                 PO Box 359                                                           Dimondale         MI           48821
 Adesa Las Vegas                               1000 E Gowan Rd                                                      Las Vegas         NV           89030
 Adesa Lexington                               672 Blue Sky Pkwy                                                    Lexington         KY           40506
 Adesa Long Island                             425 Patchogue Yaphank Road                                           Yaphank           NY           11980
 Adesa Los Angeles                             11625 Nino Way                                                       Mira Loma         CA           91752
 Adesa Memphis                                 5400 Getwell At Holmes Rd                                            Memphis           TN           38118
 Adesa Mercer                                  758 Franklin Rd                                                      Mercer            PA           16137
 Adesa Minneapolis                             18270 Territorial Road                                               Dayton            MN           55369
 Adesa Nashville                               631 Burnett Road                                                     Old Hickory       TN           37138
 Adesa New Jersey                              200 North Main Street                                                Manville          NJ           08835
 Adesa Ocala                                   540 SW 38th Avenue                                                   Ocala             FL           34474
 Adesa Orlando                                 2851 St Johns Pkwy                                                   Sanford           FL           32771
 Adesa Pa                                      30 Industrial Road                                                   York              PA           17406
 Adesa Phoenix                                 400 N Beck Ave                                                       Chandler          AZ           85226
 Adesa Pittsburgh                              378 Hunker-Waltz Mill Road                                           New Stanton       PA           15672
 Adesa Pittsburgh/ Mercer                      758 Franklin Rd                                                      Mercer            PA           16137
 Adesa Raleigh                                 30 Sadisco Road                                                      Clayton           NC           27520
 Adesa Sacramento                              8649 Kiefer Boulevard                                                Sacramento        CA           95826
 Adesa Salt Lake                               5789 W 700 S                                                         Salt Lake City    UT           84104
 Adesa San Antonio                             200 South Callaghan Rd                                               San Antonio       TX           78227
 Adesa San Diego                               2175 Cactus Road                                                     San Diego         CA           92154
 Adesa San Jose                                344B Tully Rd                                                        San Jose          CA           95111
 Adesa Sarasota                                6005 24th Street East                                                Bradenton         FL           34203
 Adesa Shreveport                              7666 Greenwood Rd                                                    Sheveport         LA           71119
 Adesa Sioux Falls                             46893 271st Street                                                   Tea               SD           57064
 Adesa St. Louis                               7858 Highway 61-67                                                   Barnhart          MO           63012
 Adesa Syracuse                                5930 State Rte 31                                                    Cicero            NY           13039
 Adesa Tampa                                   3225 North 50th Street                                               Tampa             FL           33619
 Adesa Tulsa                                   16015 East Admiral Place                                             Tulsa             OK           74116
 Adesa Washington Dc                           43375 Old Ox Rd                                                      Dulles            VA           20166
 Adf Auto Transport Inc.                       154 Mcadoo Avenue                                                    Jersey City       NJ           07305
 Adkins, Scott L                               Address on File
 Adkison, Mason Everitt                        Address on File
 Adl Auto Transportation LLC                   145 SW 8th Street Apt 1706                                           Maimi             FL           33130
 Adler Express Inc                             2904 Ave X                                                           Brooklyn          NY           11235
 Adler, Craig                                  Address on File
 Adm Auto Transport LLC                        314 Jefferson Ave                                                    Linden            NJ           07036
 Adobe Websales
 Adolbi Inc                                    320 11th Ave S - Apt 122                                             Nashville         TN           37203
 Adonai Transport LLC                          5201 NW 7 Street                                                     Miami             FL           33126



Off Lease Only LLC, et al.                                                                                                                                      Page 6 of 155
                                                       Case 23-11389-CTG                       Doc 1-1          Filed 09/07/23   Page 7 of 155
                                                                                                    Creditor Matrix
                                                                                                   as of September 6, 2023
                   Creditor Name                    Attention                          Address 1                    Address 2    Address 3              City        State       Zip      Country
 Adonis Transport LLC                                                     8519 Acoma Dr                                                      Orlando           FL           32829
 Adorno Trucking Inc                                                      4227 Mayfair Lane                                                  Port Orange       FL           32129
 Adp Commercial Leasing LLC                                               3726 Solutions Center                                              Chicago           IL           60677
 Adp Digital Marketing Solutions                                          PO Box 88921                                                       Chicago           IL           60695
 Adp LLC                                                                  PO Box 842875                                                      Boston            MA           02284-2875
 Adp Screening & Selection Serv                                           PO Box 645177                                                      Cincinnati        OH           45264-5177
 Adrenaline Transport Inc                                                 PO Box 942065                                                      Miami             FL           33194
 Adroll
 Advance Auto Logistics LLC                                                6380 Piercefield Dr                                               Mayfield Hts      OH           44143
 Advance Auto Parts                                                        PO Box 742063                                                     Atlanta           GA           30374-2063
 Advance Auto Parts (Houston)                                              PO Box 742063                                                     Atlanta           GA           30374-2063
 Advance Auto Transport LLC                                                65 SW 18th Ave                                                    Homestead         FL           33030
 Advance Group Usa LLC                                                     13605 Eridanus Dr                                                 Orlando           FL           32828
 Advance Professional                                                      PO Box 469                                                        Coppell           TX           75019
 Advance Tire Wholesale                  For Palm Beach                    11801 NW 101st Road #3                                            Medley            FL           33178
 Advance Tire Wholesale                  For Miami                         11240 NW 122nd St                                                 Miami             FL           33178
 Advance Trucking Services LLC                                             611 Highview Terr South                                           Brandon           FL           33510
 Advanced Multi Sign                                                       750 W 26 Street                                                   Hialeah           FL           33010
 Advanced Painting Contractors                                             7369 Westport Place                                               West Palm Beach   FL           33413
 Advanced Transport                                                        1040 NW 108 Street                                                Miami             FL           33168
 Advanced Transport LLC                                                    5717 NW 50th Dr                                                   Coral Springs     FL           33067
 Advanced Work Van Interior                                                7652 Central Industrial Dr                                        Riviera Beach     FL           33404
 Advantaclean Of Miami                                                     2172 NW 29th Ave                                                  Miami             FL           33142
 Advantage Golf Cars Inc                                                   6229 Johnson St                                                   Hollywood         FL           33024
 Advent Group Inc                                                          7154 N University Drive                                           Tamarac           FL           33321
 Advent Health Centra Care                                                 2600 Westhall Lane Box 300                                        Maitland          FL           32751
 Aec Nationwide Transport Inc                                              11037 SW 138th Pl                                                 Miami             FL           33186
 Aepv Investment, LLC                    Maaco Collision Repair & Auto Pain10115 NW 79th Av                                                  Hialeah Gardens   FL           33016
 Aes Sales LLC                                                             32218 Tamina Rd                                                   Magnolia          TX           77354
 Afc                                                                       4350 Oaks Road                                                    Davie             FL           33314
 Afc Financial
 Afco                                                                     PO Box 360572                                                      Pittsburgh        PA           15250-6572
 Affirmative Auto Transportation                                          6 Chicksaw Court                                                   Columbia          SC           29229
 Affordable Auto + Truck Glass, Inc.                                      6755 Parkinsonia Drive                                             Miami             FL           33014
 Affordable Auto Care & Sales Inc                                         1005 N Dixie Hwy                                                   Hallandale        FL           33009
 Affordable Auto Transport                                                PO Box 5965                                                        Philadelphia      PA           19137
 Affordable Automotive Equipment, Inc.                                    428 Barry St                                                       Orlando           FL           32808
 Affordable Gate Systems LLC                                              7040 Seminole Pratt Whitney Rd                                     Loxahatchee       FL           33470
 Affordable Printing                                                      3074 Jog Road                                                      Greenacres        FL           33467
 Affordable Tire Disposal                                                 2730 Westgate Ave                                                  West Palm Beach   FL           33409
 Affordable Transfer Co Inc                                               2890 Cargo St                                                      Ft Myers          FL           33916
 Affordable Transport Solutions                                           4025 Headsail Dr                                                   New Port Rochey   FL           34652
 Affordable Transport Solutions                                           4415 Us Hwy 19                                                     New Port Richey   FL           34652
 Aflac                                                                    1932 Wynnton Road                                                  Columbus          GA           31999
 Afni-Subrogation Dept                                                    PO Box 3068                                                        Bloomington       IL           61702-3068
 Ag Logistics LLC                                                         4003 S Killarney Way                                               Aurora            CO           80013
 Ag Transport                                                             216 Rivers Road                                                    Fayetteville      GA           30214
 Ag Tranz Corp                                                            PO Box 170483                                                      Hialeah           FL           33014
 Agard, Dale Anthony                                                      Address on File
 Agatanor Trucking Inc.                                                   825 Seegers Road                                                   Des Plaines       IL           60016
 Agave Transportation                                                     6055 Seminole Gardens Circle                                       Riviera Beach     FL           33418
 Agnant, Kitt Pachino                                                     Address on File
 Agp Transportation LLC                                                   2608 Dunksferry Road                                               Bensalem          PA           19020
 Agt Trucking Inc                                                         7215 Birchwood Ct #A                                               Willowbrook       IL           60527
 Agurcia Quezada, Carlos M                                                Address on File
 Ah Auto Transport Xpress Inc.                                            403 Plumosa Ave                                                    Lehigh Acres      FL           33972
 Ahma Transportation LLC                                                  1004 Hermosa Way                                                   Kissimmee         FL           34744
 Ahmed, Saif Khalil                                                       Address on File
 Ahorrio, Yashira Marie                                                   Address on File
 Aiba Inc                                                                 7315 Winthrop Way Suite 18                                         Downers Grove     IL           60516
 Aice LLC
 Aided Brand Awareness



Off Lease Only LLC, et al.                                                                                                                                                               Page 7 of 155
                                                     Case 23-11389-CTG                 Doc 1-1        Filed 09/07/23   Page 8 of 155
                                                                                           Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name                 Attention                       Address 1               Address 2    Address 3               City        State       Zip      Country
 Aimar Transport Corp                                              30 Fairbanks Street                                             Hillside           NJ           07205
 Aimee Auto Transport Inc                                          9591 Fontainebleau Blvd                                         Miami              FL           33172
 Aimee Trucking Corp                                               Miami                                                           33175              FL           33175
 Air & Energy Inc                      Moon Holdings LLC           555 6th Ave W                                                   Bradenton          FL           34205
 Aircomo-Air Compressor & Motor                                    800 Me 3rd Street                                               Boynton Beach      FL           33435
 Airport Chrysler Dodge Jeep Ram       Doherty Automotive          2925 Mall Hill Dr                                               Lakeland           FL           33810
 Airport Medical Clinic                                            3588 NW 72nd Ave                                                Miami              FL           33122
 Airstron, Inc.                                                    1559 SW 21 Avenue                                               Ft Lauderdale      FL           33312
 Aj Auto Transport Inc.                                            10 Technology Drive                                             Hudson             MA           01749
 Aj Exotic Transport Inc                                           PO Box 770713                                                   Miami              FL           33177
 Aj Relocation Services LLC                                        2103 W Paris Street                                             Tampa              FL           33604
 Aj Transport                                                      2839 Hwy 39                                                     Selma              NC           27576
 Ajl Auto Transport LLC                                            1804 Liberty Place                                              Sicklerville       NJ           08081
 Ajn Transport LLC                                                 PO Box 1602                                                     Owosso             MI           48867
 Ajrg Auto Transport Inc                                           715 High Street                                                 Orlando            FL           32803
 Ajy Inc.                                                          291 St Paul Street                                              Burlintn           VT           05401
 Ak Turbo Transport Inc                                            10957 Frisco Ln                                                 Jacksonville       FL           32257
 Akash Transport LLC                                               2635 NE 213th St                                                Miami              FL           33180
 Akerman Llp                           Attn: Accounts Receivable   PO Box 4906                                                     Orlando            FL           32802-4906
 Akian, Cross Shant                                                Address on File
 Akj Transports                                                    1158 Capital Blvd                                               Pensacola          FL           32505
 Akls Transportation Inc                                           1652 West 8 Street                                              Brooklyn           NY           11223
 Akm Carrier Inc                                                   19647 NW 62 Ave                                                 Hialeah            FL           33015
 Akov Inc                                                          800 Parkview Drive                                              Hallandale         FL           33009
 Akula LLC                                                         7878 Tournament Rd                                              Frisco             TX           75035
 Al Ahmer, Reda                                                    Address on File
 Al Hassan, Mansour Fouad                                          Address on File
 Al Hendrickson Toyota                                             5201 W Sample Rd                                                Coconut Creek      FL           33073-3410
 Al Jumaili, Haider Ali Majee                                      Address on File
 Al Packer Ford Lincoln                                            1530 N Military Trail                                           West Palm Beach    FL           33409
 Al Packer Ford West                                               10601 Southern Blvd                                             Royal Palm Beach   FL           33411
 Al Rehman Inc.                                                    2116 Whisper Lake Blvd                                          Orlando            FL           32837
 Ala Auto Transport Inc                                            4300 NW 79th Avenue                                             Doral              FL           33166
 Ala Auto Transport Inc                                            17911 SW 152nd Ct                                               Miami              FL           33187
 Aladain, Charles                                                  Address on File
 Alafia Logistics Corp                                             1448 N Alwynne Dr                                               Lehigh Acres       FL           33936
 Alafia Towing Services Inc- Fl Only                               9810 Pine Way                                                   Tampa              FL           33635
 Alan Auto Shipping Inc                                            PO Box 103                                                      Bristol            PA           19007
 Alan Carrier Inc                                                  2608 Florida St                                                 West Plam Beach    FL           33406
 Alan H Pinkwasser                                                 Address on File
 Alanas Transport Inc                                              5227 Cannon Way                                                 West Palm Beach    FL           33415
 Alarm & Electronics Systems LLC                                   13973 SW 140th Street                                           Miami              FL           33186
 Alayoubi, Joseph                                                  Address on File
 Alb Moving LLC                                                    2522 Lonesome Dove Rd                                           Valdosta           GA           31602
 Alberto Transport America Inc                                     28501 SW 152nd Ave Lot 14                                       Homestead          FL           33033
 Albs Transportation Inc                                           3000 N Ocean Dr - Apt 21E                                       Riviera Beach      FL           33404
 Alc Trucking                                                      722 Calumet St E                                                Lehigh Acres       FL           33974
 Alcaraz, Herman Daniel                                            Address on File
 Alceus, Emanuel                                                   Address on File
 Alcius, Louivenscy                                                Address on File
 Alex Carrier Inc                                                  28395 SW 164 Ave                                                Homestead          FL           33033
 Alex Delivery Service Inc                                         7170 NW 1 Terr                                                  Miami              FL           33126
 Alex Garage Door                                                  2025 SW 82nd Court                                              Miami              FL           33155
 Alex Karras Lincoln                                               6760 14th Street West                                           Bradenton          FL           34207
 Alex Truck Tire Inc                                               12228 NW 106th Ct                                               Medley             FL           33178-1201
 Alexander, Mark Stephen                                           Address on File
 Alexandre, John Woodley                                           Address on File
 Alexis, Adiles                                                    Address on File
 Alexis, Christ                                                    Address on File
 Alexs Auto Transport                                              154 Pullman St                                                  Lehigh Acres       FL           33974
 Alexs Transport Group Inc                                         13963 SW 42nd Street                                            David              FL           33330
 Alfa Express                                                      PO Box 11544                                                    Philadelphia       PA           19116



Off Lease Only LLC, et al.                                                                                                                                                      Page 8 of 155
                                                       Case 23-11389-CTG                    Doc 1-1         Filed 09/07/23   Page 9 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                     Creditor Name                  Attention                        Address 1                  Address 2    Address 3             City          State       Zip      Country
 Alfaro Transport Inc                                                  11452 SW 3 St                                                     Miami              FL           33174
 Alfaro-Garrido, Luis Eduardo                                          Address on File
 Alfred T Deluca                                                       Address on File
 Alfred, Rebichy                                                       Address on File
 Alfredo's Transport LLC                                               4160-5 Pershing Pointe Pl                                         Orlando            FL           32822
 Ali, Aahil Saleem                                                     Address on File
 Ali, Ali Stephen                                                      Address on File
 Ali, Husam Mohammed                                                   Address on File
 Alien Corporation                                                     175 S Lincoln Ave Unit 128                                        Addison            IL           60101
 Alien Transportation LLC                                              6635 W Central Avenue Apt 113                                     Toledo             OH           43617
 Align Transportation Services                                         1099 W 71 St                                                      Hialeah            FL           33014
 Alisirat, Hassan                                                      Address on File
 Aljaiuossi, Patricia Marie                                            Address on File
 All 2 Good Logistics LLC                                              803 Arlington St                                                  High Point         NC           27260
 All 4 One Towing Corp                                                 3188 NW 45 Street                                                 Miami              FL           33142
 All About Transportation Services LLC                                 192 Charter Way                                                   West Palm Beach    FL           33407
 All Above Empire Inc.                                                 2954 37th Avenue North                                            Saint Petersburg   FL           33713
 All American A To Z                                                   4500 NE 1 Terrace                                                 Pompano Beach      FL           33064
 All American Auto Sales                                               6366 All American Blvd                                            Orlando            FL           32810
 All American Auto Transport                                           736 Harth Dr                                                      West Palm Beach    FL           33415
 All American Autocarrier                                              4020 Desert Meadows Rd                                            El Paso            TX           79938
 All American Group
 All American Trailer Connection                                       1102 S Dixie Hwy                                                  Lantana            FL           33462-4612
 All American Transport And Towing LLC                                 913 E Fletcher Avenue                                             Tampa              FL           33612
 All Auto Parts                                                        15755 Arrow Highway                                               Fontana            CA           92335
 All Cargo Transporter                                                 139B Longview Avenue                                              Kissimmee          FL           34747
 All Cargo Transporter Inc.                                            1057 Lejay Street                                                 Orlando            FL           32825
 All Cellular Wireless LLC                                             1190 S Congress Avenue                                            Palm Springs       FL           33406
 All Clear Screening LLC                                               200 Clarendon Street               49th Floor                     Boston             MA           02116
 All Coffee Services LLC                                               6005 Milwee St Ste 918                                            Houston            TX           77092
 All Destinations Trucking LLC                                         2137 Cedar Garden Dr                                              Orlando            FL           32824
 All Electrical & Lighting                                             7224 Via Luria                                                    Lake Worth         FL           33467
 All Factory Wheels LLC                                                55 St Mary'S Pl                                                   Freeport           NY           11520
 All Florida Septic                                                    PO Box 700153                                                     St Cloud           FL           34770
 All Good Hauling LLC                                                  297 Baywest Neighbors Circle                                      Orlando            FL           32835
 All Good Trucking                                                     PO Box 7079                                                       Bryan              OH           43506
 All In Auto Carrier Inc.                                              1004 Neville Ln                                                   Orlando            FL           32818
 All In One Autotransport Inc                                          8921 SW 69th Street                                               Mia,Mi             FL           33173
 All In One Transportation LLC                                         835 Scattergood Street                                            Philadelphia       PA           19124
 All In Trucking LLC                                                   8607 Beechfern Ln E                                               Jacksonville       FL           32244
 All Inn Transportation LLC                                            4489 NW 6th Ct                                                    Ocala              FL           34475
 All Lines Insurance Underwriters LLC                                  480 Holly Ln                                                      Plantation         FL           33317
 All Nation Auto Transport Inc                                         2101 NW 95th Street                                               Miami              FL           33147
 All National Cargo Inc.                                               6819 Cook Road                                                    Houston            TX           77072
 All National Transportation Inc                                       1015 W Kirkland Ave                                               Nashville          TN           37216
 All Over Inc.                                                         1602 Renate Dr Apt T1                                             Woodbridge         VA           22192
 All Parts International Inc                                           3570 NW 135th Street                                              Opa Locka          FL           33054
 All Point Transport Agency Inc.                                       1740 SW 137th Ct                                                  Miami              FL           33175
 All Power Solutions, Inc.                                             1433 SW 1st Way                                                   Deerfield Beach    FL           33441
 All Pro Auto Parts, Inc                                               PO Box 1942                                                       Auburndale         FL           33823
 All Pro Equipment Services, Inc                                       7520 SW 31st Street                                               Miami              FL           33155
 All Purpose Action Inc.                                               1020 NW 69th Way                                                  Hollywood          FL           33024
 All Safe Locksmith LLC                                                13916 Sisters Ln                                                  Hudson             FL           34669
 All Seasons Transport LLC                                             1800 Camden Road                                                  Charlotte          NC           28203
 All Star Transportation LLC                                           10550 West State Road 84           Lot 105                        Davie              FL           33324
 All Star Transportation LLC                                           9220 Fontairebleau Blvd            Apt 202                        Miami              FL           33172
 All Stars Auto Transport                                              4380 SW 22nd Ct                                                   Fort Lauderdale    FL           33317
 All State Auto Carrier LLC                                            491 NW 59 Ave                                                     Miami              FL           33126
 All State Auto Logistic LLC                                           11443 NW 88 Ave                                                   Hialeah Gardens    FL           33018
 All State Auto Transport                Used Car & Truck Center Inc   PO Box 121449                                                     West Melbourne     FL           32912
 All State Title Service                                               1579 Hwy 44 E 2nd Floor                                           Shepherdsville     KY           40165
 All States Car Hauling LLC                                            8455 SW 155th St                                                  Palmetto Bay       FL           33157



Off Lease Only LLC, et al.                                                                                                                                                            Page 9 of 155
                                                         Case 23-11389-CTG             Doc 1-1         Filed 09/07/23   Page 10 of 155
                                                                                             Creditor Matrix
                                                                                           as of September 6, 2023
                    Creditor Name                      Attention                  Address 1                 Address 2    Address 3              City          State       Zip        Country
 All Tech Software Solutions LLC                                   6212 C Durham Drive                                               Lake Worth          FL           33467
 All The Way Express Transport LLC                                 7370 Sunny Hill Terrance                                          Lake Worth          FL           33462
 All Together Brothers To Transport LLC                            5914 Sussex Drive                                                 Tampa               FL           33615
 All Trans Corp LLC                                                1314 W Humphrey St                                                Tampa               FL           33604
 All United Carrier Corp                                           13115 W Okeechobee Rd              Unit 101-102                   Hialeah Gardens     FL           33018
 All United Electrical Solutions                                   PO Box 91477                                                      Houston             TX           77291
 All Wheels Lorenzo                                                254 NW 133 Ct                                                     Miami               FL           33182
 All Year Cooling And Heating, Inc                                 4300 NW 124th Ave                                                 Coral Springs       FL           33065
 ALLCity Auto Transport LLC                                        7543 Manslick Rd                                                  Louisville          KY           40214
 All-Coast Communications Inc                                      1010 S Ocean Blvd #417                                            Pompano Beach       FL           33062
 Alldata                                                           9650 West Taron Drive                                             Elk Grove           CA           95757
 Allegiant Towing And Recovery                                     250 Big Cove Rd                                                   Waynesville         NC           28786
 All-Elite Towing And Transport-Fl Only                            PO Box 22121                                                      Fort Lauderdale     FL           33335
 Allen & Associates                                                147 Willis Avenue                                                 Mineola             NY           11501
 Allen Brothers Trucking LLC                                       267 E Hamlin Rd                                                   Rochester Hills     mi           48307
 Allen Dyer Doppelt + Gilcreist Pa                                 255 S Orange Ave Suite 1401                                       Orlando             FL           32801
 Allen Express Inc                                                 173 Laurel Ave                                                    Kearny              NJ           07032
 Allen, Monoiette Symone                                           Address on File
 Allen, Tivaughno                                                  Address on File
 Alleyne, Julius Shane                                             Address on File
 Alliance Auto Auction                                             1550 Cr 107                                                       Hutto               TX           78634
 Alliance Car Haulers Inc                                          519 SW Sara Blvd                                                  Port St Lucie       FL           34953
 Alliance One Receivables Management Inc                           PO Box 11641                                                      Tacoma              WA           98411-0641
 Alliance Pavers, LLC.                                             1561 E Irlo Bronson Memorial Hwy                                  St Cloud            FL           34771
 Alliance Transportation Corporation                               4850 N State Road 7                Suite G101                     Lauderdale Lakes    FL           33319
 Allied Auto Salvage Inc                                           819 NW 7 Ave                                                      Ft Lauderdale       FL           33311
 Allied World                                                      1690 New Britain Ave Suite 101                                    Farmington          CT           06032
 Allison Lach                              Bayou City Marketing    110 E Beckonvale Circle                                           Springs             TX           77382
 Allman's A/C Service, Inc                                         3664 Cr-561                                                       Tavares             FL           32778
 Allmax Trans Inc.                                                 2611 E 13th Street #4H                                            Brooklyn            NY           11235
 Alloy Wheel Repair Inc                                            1985 S Park Road                                                  Hallandale Beach    FL           33009
 Alloy Wheel Repair Specialists                                    3100 Medlock Bridge Rd Ste 305                                    Peachtree Corners   GA                 30071
 Allstar Auto Service                                              1420 10th Street                                                  Lake Park           FL           33403
 Allstar Auto Transport & Logistics                                321 Chiquita Blvd S                                               Cape Coral          FL           33991
 All-Star Logistics And Leasing                                    PO Box 560627                                                     Montverde           FL           34756
 Allstar Transport Solutions Inc                                   10550 West State Road 84           Lot 105                        Davie               FL           33324
 Allstate Equipment & Rentals                                      3285 S Miklitary Trail                                            Lake Worth          FL           33463
 Allstates Car Carrier LLC                                         5021 SW 29th Terr                                                 Ft Lauderdale       FL           33312
 All-States Car Transport Logistic Corp                            5900 Stirling Road                                                Hollywood           FL           33021
 All-States Mat                            John H Gold Iii         PO Box 690265                                                     Houston             TX           77269
 Ally                                                              PO Box 78234                                                      Pheonix             AZ           85062-8234
 Ally                                                              Box 77000                                                         Detroit             MI           48277
 Ally All Transportation Corp                                      525 N Utopia Street                                               Clewiston           FL           33440
 Ally Financial                            C/O Pinnacle Bank       111 10th Ave S-Suite 200                                          Nashville           TN           37203
 Ally Financial                                                    3268 Progress Way                                                 Wilmington          OH           45177
 Ally Financial                                                    PO Box 380902                                                     Bloomington         MN           55438-0902
 Ally Financial                                                    PO Box 744718                                                     Atlanta             GA           30374
 Ally Insurance                                                    PO Box 975670                                                     Dallas              TX           75397-5670
 Ally Payment Processing Center                                    6716 Grade Lane                                                   Louisville          KY           40213
 Ally Payment Processing Center                                    PO Box 9001951                                                    Louisville          KY           40290
 Alm Media, LLC                                                    150 E 42nd Street                                                 New York            NY           10017
 Almighty Transporting LLC                                         786 Wolf Creek Court                                              Apopka              FL           32703
 Almonte Auto Equipment                                            1125 Knorr Street                                                 Philadelphia        PA           19111
 Almujbber, Ahmed M                                                Address on File
 Aln Trucking Inc                                                  438 W Bloxham Street                                              Lake Worth          FL           33462
 Alonso Munoz, Bryan Steeven                                       Address on File
 Alonso, Pedro                                                     Address on File
 Alpha Factor Services LLC                                         3902 Brook Garden Ln                                              Katy                TX           77449
 Alpha Towing Corp                                                 100 Meyer Ave                                                     Valley Stream       NY           11580
 Alpha Trans Services Inc                                          330 S Fairbank St                                                 Addison             IL           60101
 Alpha Transportation Express                                      609 Bellerive Blvd                                                Nicholasville       KY           40356
 Alpha Vehicle Logistics LLC                                       1162 SW Hibiscus St                                               Port St Lucie       FL           34983



Off Lease Only LLC, et al.                                                                                                                                                          Page 10 of 155
                                            Case 23-11389-CTG              Doc 1-1         Filed 09/07/23   Page 11 of 155
                                                                                 Creditor Matrix
                                                                               as of September 6, 2023
                   Creditor Name           Attention                Address 1                   Address 2    Address 3             City          State       Zip       Country
 Alphera Financial Services                            Payment Processing Center                                         Phoenix            AZ           85062-8103
 Alphera Financial Services                            PO Box 398033                                                     Minneapolis        MN           55439-8033
 Alphera Financial Services                            PO Box 3607                                                       Dublin             OH           43026-7456
 Alpine Jaguar                                         6606 N Andrews Ave                                                Fort Lauderdale    FL           33309
 Alpine Performance Inc.                               209 N Dixie Hwy                                                   Hallandale Beach   FL           33009
 Alpizar, Arturo                                       Address on File
 Al's Moving & Storage                                 4892 N Elm Dr                                                     Crystal River      FL           34428
 Altamirano, Axel Antonio                              Address on File
 Alta's Transport LLC                                  45 Eppinger Dr                                                    Port Charlotte     FL           33953
 Altemar, Charlinette Fania                            Address on File
 Alter Surety Group Inc                                5979 NW 151st Street Suite 202                                    Miami Lakes        FL           33014
 Alternative Resolution Consultants, Inc               250 S Central Blvd                                                Jupiter            FL           33458
 Alvarado, Jimmian                                     Address on File
 Alvarez & Son Transport Corp                          15476 NW 77 Ct #266                                               Miami Lakes        FL           33016
 Alvarez And Cruz Services LLC                         112 Rosewood Ct                                                   Kissimmee          FL           34743
 Alvarez Andino, Yuniesky                              Address on File
 Alvarez Garcia, Elizabeth                             Address on File
 Alvarez Robles, Yahitza Nicolette                     Address on File
 Alvarez Torres, Tommy                                 Address on File
 Alvarez, Benjamin A                                   Address on File
 Alvarez, Cossette                                     Address on File
 Alvarez, Gerald Frank                                 Address on File
 Alvarez, Janice Marie                                 Address on File
 Alvarez, Reiner                                       Address on File
 Alvarez, Ronaldo                                      Address on File
 Alvarez, Mayra                                        Address on File
 Always Haulin LLC                                     221 Lewis Street                                                  Fond Du Lac        WI           54935
 Always Hauling Auto Transport LLC                     4310 SW 33rd Drive                                                West Park          FL           33023
 Aly Transp Inc                                        8401 NW 8th St                                                    Pembroke Pines     FL           33024
 Am Auto Transport                                     18631 Calvert Street                                              Tarzana            CA           91335
 Am Caraballo Inc                                      14115 NW 88th Plc                                                 Hialeah            FL           33018
 Ama Auto Transport Corp                               7145 W 19th Ct                                                    Hialeah            FL           33014
 Amador Y Enterprise LLC                               235 Dalton Driver                                                 Kissimmee          FL           34758
 Amashta, Charles                                      Address on File
 Amato, Brian Eugene                                   Address on File
 Amaya Lezama, Luis                                    Address on File
 Amaya, Humberto Adrian                                Address on File
 Amaya, Humberto Jesus                                 Address on File
 Amazing Transport Services Inc                        2437 Barkwater Dr                                                 Orlando            FL           32839
 Amazon
 Ambar Motors Inc                                      4382 West 12 Ave                                                  Hialeah            FL
 Amber Trucking Inc.                                   No Address - Call                                                 Rolling Meadows    IL           60008
 Ambieco Auto Transporting LLC                         502 21st Avenue N                                                 Lake Worth         FL           33460
 Ambitions Transport & Recovery LLC                    433 Tammie Ave                                                    Goose Creek        SC           29445
 Ambroise, Sebastien                                   Address on File
 Amc Auto Transport LLC                                3600 Monroe Street #22                                            Hollywood          FL           33021
 Amc Express LLC                                       12010 Theiss Road                                                 Saint Louis        MO           63128
 Amercian Arbitration Association                      Case Filing Services                                              Voorhees           NJ           08043
 Ameri Freight Way                                     679 East South Frontage Road                                      Bolingbrook        IL           60440
 America Auto Express Corp                             3435 W 13th Ave                                                   Hialeah            FL           33012
 America Auto Transport                                6221 SW 131 Ct Unit #103                                          Miami              FL           33183
 America Auto Transport                                14327 SW 158th Path                                               Miami              FL           33196
 America On Time                                       7100 Kersey St Apt 7104                                           Davenport          FL           33897
 America Transport                                     345 Purchase St                                                   Milford            MA           01757
 America Transport Inc                                 345 Purchase St                                                   Milford            MA           01757
 American Arbitration Association                      1101 Laurel Oak Road Suite 100                                    Voorhees           NJ           08043
 American Arbitration Association                      1301 Atwood Avenue Ste 211N                                       Johnson            RI           02919
 American Arbitration Association                      13727 Noel Road                                                   Dallas             TX           75240
 American Auto Alliance                                1405 Lake Lucerne Way Unit 301                                    Brandon            FL           33511
 American Auto Trans LLC                               1001 Ogdfen Avenue                                                Downers Grove      IL           60515
 American Auto Transporters LLC                        13876 SW 56th Street #315                                         Miami              FL           33175
 American Credit Acceptance                            961 East Main St                                                  Spartanburg        SC           29304



Off Lease Only LLC, et al.                                                                                                                                            Page 11 of 155
                                                            Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 12 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                  Creditor Name                            Attention               Address 1                     Address 2    Address 3            City            State       Zip       Country
 American Credit Acceptance                                            PO Box 744779                                                      Atlanta             GA           30374
 American Eagle Auto Transport Corp                                    5101 SW 102 Ct                                                     Miami               FL           33165
 American Eagle Electric Corp                                          2954 West 84 Street                                                Hialeah             FL           33018
 American Elite Auto Transport Inc                                     9749 Reynosa Dr                                                    New Port Richey     FL           34655
 American Express
 American Hot Shot Trucking LLC                                        PO Box 400                                                         Villa Rica          GA           30180
 American Interstate Transportation LLC                                1845 SW 85th Court                                                 Miami               FL           33155
 American Leak Detection, Inc.                                         PO Box 1701                                                        Palm Springs        CA           92263
 American Leasing & Sales                                              2500 NW 38th St                                                    Miami               FL           33142
 American Logistics And Transportation Corp                            830 Waterview Circle Unit 1                                        Vernon Hills        IL           60061
 American Logistics Group Of N Florida Inc                             256 North 7th Street                                               Macclenny           FL           32063
 American Marking Inc                                                  2435 Vale Dr                                                       Birmingham          AL           35244
 American Mausoleums Corp                                              1451 W Cypress Creek Rd #300                                       Ft Lauderdale       FL           33309
 American Motor Company LLC                                            5301 Mc Coy Road                                                   Orlando             FL           32812
 American Motor Group                                                  7108 Overland Rd                                                   Orlando             FL           32810
 American Muffler Inc                                                  2780A N State Road 7                                               Lauderdale Lakes    FL           33313
 American Public Life                         Dept# 1613               PO Box 11407                                                       Birmingham          AL           35246-1613
 American Quality Transport LLC                                        654 Savannah Perserve Loop                                         Davenport           FL           33836
 American Roll Up Door Co                     Duraserv Corp            10501 Rocket Blvd                                                  Orlando             FL           32824
 American Sales & Leasing Inc                                          5301 Mccoy Road                                                    Orlando             FL           32812
 American Samper Corp                                                  903 Se 30th Lane                                                   Cape Coral          FL           33904
 American Scanning & Storage                                           750 S Powerline Road                                               Deerfield Beach     FL           33442
 American Solutions For Business                                       8479 Solution Center                                               Chicago             IL           60677-8004
 American Sons And Daughter Auto Haul LLC                              51 Pine Circle Dr                                                  Palm Coast          FL           32164
 American T And L LLC                                                  12847 SW 42nd St                                                   Miami               FL           33175
 American Tire Distributors                                            601 103rd Ave N                                                    Royal Palm Beach    FL           33411
 American Tire Recycling Group LLC                                     3551 NW 116th St                                                   Miami               FL           33167
 American Transport 2                                                  21 Eskow Road Terminal                                             Worcester           MA           01604
 American Transportation Agency                                        5636 Kertscher Terr                                                Centerville         VA           20120
 American Truck & Auto Tire Inc                                        12805 NW 42 Ave                                                    Opa Locka           FL           33054
 American Youth Soccer Organization                                    Ayso-Region 345                                                    Lake Worth          FL           33454-1431
 Americargo Inc                                                        5268 N Cicero Avenue                                               Chicago             IL           60630
 America's Aa Pensacola                                                6615 Mobile Hwy                                                    Pensacola           FL           32526
 America's Auto Transport LLC                                          18495 S Dixie Hwy #211                                             Cutler Bay          FL           33157
 America's Best Transport LLC                                          2330 SW 48 Ave                                                     West Park           FL           33023
 America's East Coast Auto Haul LLC                                    4561 NW 93 Doral Ct                                                Doral               FL           33178
 Americredit                                                           Payment Services/Ancillary Refund                                  Arlington           TX           76096
 Americredit Financial Services                                        240 Central Parkway East            Ste 2000                       Altamonte Springs   FL           32701
 Amerifactors                                                          PO Box 628328                                                      Orlando             FL           32862-8328
 Amg Auto Hauler LLC                                                   Pobox 273                                                          Peyton              CO           80831
 Amg Enterprises LLC                                                   5612 Ocean Blvd                                                    Ocean Ridge         FL           33435
 Amg Recovery Services Inc                                             5892 Rodman Street                                                 Hollywood           FL           33023
 Amigos Auto Of Orlando Inc                   American Motor Group     7108 Overland Rd                                                   Orlando             FL           32810
 Amin, Munir D                                                         Address on File
 Amir LLC                                                              19664 W 36 Avenue Unit 1213                                        Gulf Shores         AL           36542
 Amk Express Car Transport Inc                                         12418 Woodbury Cove Dr                                             Orlando             FL           32828
 Amp Transport And Logistics Corp                                      8600 NW S River Drive                                              Medley              FL           33166
 Amparo P Auto Transport Inc                                           11320 SW 186 St                                                    Miami               FL           33157
 Am-Pm Transport LLC                                                   4212 99th Ave E                                                    Parrish             FL           34219
 Ampro Transport LLC-Fl Only                                           7368 Woodmont Avenue Apt 105                                       Tamarac             FL           33321
 Ams Auto Recyclers                                                    1146 Magnolia Ave                                                  Gurnee              IL           60031
 Amtrust Wc
 An Accurate Auto Carrier                                              44 James Hawkins Road                                              Moriches            NY           11955
 Ana Shipper Inc.                                                      275 W 68Street                                                     Hialeah             FL           33014
 Anago                                                                 5207 NW 33rd Avenue                                                Fort Lauderdale     FL           33309
 Anaheim Properties Inc                                                1155 SW 25 Avenue                                                  Boynton Beach       FL           33426
 Anais Xpress Inc                                                      11611 W Airport Blvd Ste H#141                                     Meadows Place       TX           77477
 Anatolian LLC                                                         4316 Summit Creek Blvd              Suite 3201                     Orlando             FL           32837
 Anbieco Auto Transport LLC                                            502 21st Avenue N                                                  Lake Worth          FL           33460
 Anchor Towing                                                         189 Us Hwy 1                                                       Rockland Key        FL           33040
 Anchor Transportation LLC                                             2037 Fillmore Street #8                                            Hollywood           FL           33020
 Anchor Wall Engineering, LLC.                                         5959 Baker Road Suite 390                                          Minnetonka          MN           55345-5996



Off Lease Only LLC, et al.                                                                                                                                                              Page 12 of 155
                                                          Case 23-11389-CTG              Doc 1-1           Filed 09/07/23   Page 13 of 155
                                                                                                Creditor Matrix
                                                                                               as of September 6, 2023
                    Creditor Name                       Attention                 Address 1                     Address 2    Address 3            City           State       Zip       Country
 Anderson Economic Group                                            1555 Watertower Place                                                East Lansing       MI           48823
 Anderson, Christoffer A                                            Address on File
 Andre, Miquelange                                                  Address on File
 Andy Transportation LLC                                            1836 Laurelstone Pwky                                                Columbus           OH           43228
 Andy's Auto Transport Inc .                                        13634 SW 73rd Terr                                                   Miami              FL           33183
 Andy's Supply Inc                                                  1074 NW 97 Ave                                                       Plantation         FL           33322
 Anesca, Daniel Darrel                                              Address on File
 Angee Auto Collision Inc.                                          1048 E 26 St                                                         Hialeah            FL           33013
 Angel Car Transportation Services                                  712 Virginia Lane                                                    Apopka             FL           32703
 Angel Service Car Inc.                                             15328 SW 72 Street                                                   Miami              FL           33193
 Angel Transportation LLC                                           6508 Haughton Ln                                                     Orlando            FL           32835
 Angel, Parker William                                              Address on File
 Angeldivine & Sasha Auto Carrier LLC                               8627 Cobblestone Point Cir                                           Boynton Beach      FL           33472
 Angelie Auto Transport                                             13448 Texas Woods Cir                                                Orlando            FL           32824
 Angelino & Son Auto Truck Center Inc.                              3031 Lions Ct                                                        Kissimme           FL           34744
 Angell, Bradley                                                    Address on File
 Angelo & Banta P.A.                         Suntrust Center        515 East Las Olas Blvd                Suite 850                      Fort Lauderdal     FL           33301
 Angels Logistics                                                   3840 E 5th Avenue                                                    Columbus           OH           43219
 Angel's Miami Towing Services Inc                                  1665 W 65 St                                                         Hialeah            FL           33012
 Anido, Melissa Cristina                                            Address on File
 Ankar Transport Corp                                               14007 Gasparilla Isle Dr                                             Orlando            FL           32824
 Anm Transportation Fl LLC                                          13163 E Aster Lane                                                   Florence           AZ           85132
 Annabella Auto Transport Corp                                      1310 Abberton Drive                                                  Orlando            FL           32837
 Annaki Global Group                                                5511 SW 38 Ct                                                        West Park          FL           33023
 Anointed Auto Transportation                                       760 54th Ave South                                                   Saint Petersburg   FL           33705
 Another Garage & Gate Inc                                          3771 NW 51st Street #A                                               Miami              FL           33142
 Ansari Transport Inc                                               2420 Sand Arbor Circle                                               Orlando            FL           32824
 Antey Logistics LLC                                                5229 Spring Run Ave                                                  Orlando            FL           32819
 Anthony Transportation LLC                                         9440 Boca River Circle                                               Boca Raton         FL           33434
 Anthony Transportation LLC                                         5025 Wiles Rd                                                        Coconut Creek      FL           33073
 Anthony's Transport Service Corp                                   7275 N Augusta Drive                                                 Hialeah            FL           33015
 Anticole, Albert Steven                                            Address on File
 Antillana Car Service Inc                                          6363 E Colonial Dr                                                   Orlando            FL           32807
 Antoine, Kehnaana S                                                Address on File
 Antonio Roberto Leon Lacher                                        Address on File
 Anv Auto Transport LLC                                             1120 Se 20 Rd                                                        Homestead          FL           33035
 Any Time Transportation LLC                                        34 Maple Street                                                      Milbury            MA           01527
 Any Trucking LLC                                                   PO Box 273                                                           Peyton             CO           80831
 Any Vehicle Anywhere LLC                                           1175 Matthews Pl Ln                                                  Kerbersville       NC           27284
 Any Wheels Inc                                                     705 Mcdonald Ave                                                     Brooklyn           NY           11218
 Anyelo Xpress Inc                                                  PO Box 160761                                                        Miami              FL           33116
 Anytime Recovery                                                   6738 Wallis Rd                                                       West Palm Beach    FL           33413
 Anzaldua, Albert                                                   Address on File
 Aoa Car Carrier Inc                                                3707 E 14 St                                                         Lehigh Acres       FL           33972
 Aom Elite Auto Transport LLC                                       290 Chelsea Meadows Drive                                            West Henrietta     NY           14586
 Aon Cyber Liability
 Aon Risk Northeast Inc                                             PO Box 7247-7376                                                     Philadelphia       PA           19170
 Aon-Starr Surplus Lines Insurance Company
 Ap Auto Transport Inc                                              108 Bowfin Bay                                                       Peachtree City     GA           30269
 Ap Transport                                                       PO Box647                                                            Norman Park        GA           31771
 Aparicio Roo, Rolando                                              Address on File
 Apc Transport Inc                                                  1012 Aurora Valley Drive                                             Donna              TX           78537
 Apex Companies LLC                                                 PO Box 1443                                                          Baltimore          MD           21203-4443
 Apex Express Inc.                                                  20920 Anza Avenue                                                    Torrance           CA           90503
 Apis Logistics Inc                                                 PO Box 12341                                                         Chicago            IL           60612-9998
 Apollo Auto Carrier Inc                                            3846 2Th Ave Unit 6                                                  Schiller Park      IL
 Apollo Automotive Services LLC                                     802 Brickstone Ct                                                    Spring             TX           77386
 Aponte Transport Inc                                               8912 Great Sound Dr                                                  Orlando            FL           32827
 Aponte, Carlos                                                     Address on File
 Apple
 Appleone Employment Services                Accounts Receivable    PO Box 29048                                                         Glendale           CA           91209-9048
 Applewood Motorcar Restoration                                     210 Mcguire Ln                                                       Gerrardstown       WV           25420



Off Lease Only LLC, et al.                                                                                                                                                            Page 13 of 155
                                                 Case 23-11389-CTG                        Doc 1-1           Filed 09/07/23   Page 14 of 155
                                                                                                    Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name              Attention                            Address 1                   Address 2     Address 3             City         State       Zip       Country
 Appliances Connection                                               1870 Bath Ave                                                        Brooklyn          NY           11214
 Apr Auto Transport Inc                                              2810 Auburn Ave W                                                    Tampa             FL           33614
 Aptivada LLC                                                        32 W 200 S                                                           Salt Lake City    UT           84101
 Aquagenix                          C/O Deangelo Contracting Services100 N Conahan Drive                                                  Hazelton          PA           18201
 Aquino Casiano, Ashley Marie                                        Address on File
 Aquino, Brianna Anita                                               Address on File
 Ar Atlantic Transport                                               201 Viewpoint Dr                                                     Greenville        SC           29609
 Ar Charger Towing Service                                           7801 Social Cir                                                      Tampa             FL           33614
 Ar Trucking LLC                                                     6710 Jade Post Lane                                                  Centreville       VA           20121
 Aramark Refreshment Services                                        PO Box 21971                                                         New York          NY           10087-1971
 Aramas Transport LLC                                                1409 Cross Street                                                    Raleigh           NC           27610
 Ararat Transportation Inc                                           27 Middlesex Cir Apt 16                                              Waltham           MA           02452
 Arb Transportation Services LLC                                     349 L Copperfield Blvd #263                                          Concord           NC           28025
 Arbolaez Auto Transport                                             502 E 19 St                                                          Hialeah           FL           33013
 Arboleda, Daniel                                                    Address on File
 Arces Trucking LLC - Fl Only                                        3588 N Libby Dr                                                      West Palm Beach   FL           33406
 Arch-Con Corporation                                                190 Tc Jester Blvd - Ste 200                                         Houston           TX           77007
 Archies Transport Inc                                               5095 Coronado Pkwy Apt A                                             Naples            FL           34116
 Arciniegas, Raul A.                                                 Address on File
 Arco Supply Inc                                                     715 Barnett Dr                                                       Lake Worth        FL           33461
 Arctic Express LLC                                                  575 Pointe Drive                                                     Harrisonburg      VA           22801
 Arctica Frozen Solutions                                            501 NE 183rd Street Ste 6                                            Miami             FL           33179
 Ardex Of South Florida                                              2050 Byberry Road                                                    Philadelphia      PA           19116
 Area Auto Transport LLC                                             285 Conover Street                                                   South Amboy       NJ           08879
 Ares, Brunilda                                                      Address on File
 Argentina Auto Transport                                            229 Crooks Ave 256                                                   Cliffton          NJ           07011
 Argo Transport LLC                                                  5650 Craindale Drive                                                 Orlando           FL           32819
 Argo Transport LLC                                                  5229 Spring Run Ave                                                  Orlando           FL           32819
 Argyn Inc                          Albar Askarov                    9046 Glenashley Dr                                                   Cornelius         NC           28031
 Ari Network Services Inc                                            3008 Momentum Place                                                  Chicago           IL           60689
 Ari Transport LLC                                                   12008 Arbor Glen Dr                                                  Fredricksburg     VA           22407
 Arias, Jose L.                                                      Address on File
 Ariel Lines LLC                                                     150 11 Ave Sw                                                        Largo             FL           33770
 Ariel Transport Service LLC                                         458 Boynton Bay Circle                                               Boynton Beach     FL           33435
 Aristocrat Transport LLC                                            3916 NE 39th Street                                                  Vancouver         WA           98661
 Aristyl, Soraya Jokebed                                             Address on File
 Arizona Auto Relocation LLC                                         15774 W Port Au Prince Ln                                            Surprise          AZ           85379
 Arizona Auto Shippers LLC                                           15774 W Port Au Prince Ln                                            Surprise          AZ           85379
 Ark Business Systems LLC                                            3360 9th Street Sw                                                   Mason City        IA           50401
 Arle Compressor Systems Corp                                        10650 NW South River Dr                                              Medly             FL           33178
 Arlyn Service Star Corp                                             1925 Monroe St                                                       Hollywood         FL           33023
 Arm Towing Inc                                                      2600 Michigan Ave                                                    Kissimmee         FL           34745
 Armada Express Corp                                                 9 State Street                                                       Westfield         MA           01085
 Armando's Transporter LLC                                           4460 Old Tampa Hwy                                                   Kissimmee         FL           34746
 Arnett, Angelo Renard                                               Address on File
 Arnold, Todd William                                                Address on File
 Arnold, Neal                                                        Address on File
 Arnott Inc                                                          100 Sea Ray Drive                                                    Merritt Island    FL           32953
 Arnstein & Lehr LLC                                                 120 S Riverside Plaza                                                Chicago           IL           60606
 Aronowicz, Ariel J                                                  Address on File
 Arp Transportation Inc                                              100 Boston Tpke Ste J9B                                              Shrewsbury        MA           01545
 Arredondo, Juan Carlos                                              Address on File
 Arriaga, Edwin Ronaldo                                              Address on File
 Arrigo Dodge Chrysler Jeep Ram                                      4201 Fowler Street                                                   Fort Myers        FL           33901
 Arrigo Fort Pierce Cdjr                                             4201 Fowler Street                                                   Fort Myers        FL           33901
 Arrigo Margate                                                      2250 N State Rd 7                                                    Margate           FL           33063
 Arrigo Margate Cdjr                                                 4201 Fowler Street                                                   Fort Myers        FL           33901
 Arrigo Sawgrass Cdjr                                                4201 Fowler Street                                                   Fort Myers        FL           33901
 Arrigo West Palm Beach Fiat                                         4201 Fowler Street                                                   Fort Myers        FL           33901
 Arrow Express Transport                                             1 Garvies Point Rd                                                   Glen Cove         NY           11542
 Arroyo, Janira M                                                    Address on File
 Arroyo, Melissa                                                     Address on File



Off Lease Only LLC, et al.                                                                                                                                                            Page 14 of 155
                                                                  Case 23-11389-CTG           Doc 1-1           Filed 09/07/23   Page 15 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                             Attention                 Address 1                    Address 2    Address 3            City          State       Zip       Country
 Arroyo, Terrance Marshall                                                 Address on File
 Arrue, Stone Free                                                         Address on File
 Ars Auto Transport LLC                                                    5915 SW 134 Place                                                  Miami             FL           33183
 Art Of Speed Auto Events                        Max Apodaca               125 Pine Street # 1820                                             Orlando           FL           32801
 Artcraft Engraving & Printing Inc                                         7921 West 26 Avenue                                                Miami             FL           33016
 Arthur Xpress Inc                                                         1431 67 Street #3                                                  Brooklyn          NY           11219
 Artis Trucking                                                            178 Best Ave                                                       Goldsboro         NC           27534
 Artistic Body Works Of Sebring, Inc.                                      100 Lunsford Road                                                  Sebring           FL           33870
 Arz Transport                                                             4321 SW 102 Ave                                                    Miami             FL           33165
 Asap Screen Printing
 Asap Transport Solutions LLC                                              15621 W 87th Street                                                Lenexa            KS           66219
 Asc/ All States Carriers Inc                                              2101 NW 95th St                                                    Miami             FL           33147
 Ascunce Enterprise                                                        14032 NW 82nd Ave                                                  Miami Lakes       FL           33016
 Ashcroft, Nathan Scott                                                    Address on File
 Asheville Transportation Inc                                              35 Black Bear Tr                                                   Hendersonville    NC           28739
 Ashley Transportation Inc.                                                805 Sea Pines Lane                                                 Las Vegas         NV           89107
 Ashton Bonding Insurance                                                  4100 Metric Drive                                                  Winter Park       FL           32792
 Aslan, Damian                                                             Address on File
 Asset Recovery & Logistics LLC                                            521 Wheeling Circle                                                Durham            NC           27713
 Asset Recovery Team Inc                                                   PO Box 7250                                                        Jacksonville      FL           32238
 Associated Piping Services                                                1023 29th St                                                       Orlando           FL           32805
 Association Of Finance & Insurance Profession                             PO Box 1933                                                        Colleyville       TX           76034-1933
 Assouline & Berlowe P.A.                                                  213 E Sheridan Street                                              Dania Beach       FL           33004
 Assurance Auto Transport LLC                                              6885 W 91st Ct #20302                                              Westminster       CO           80021
 Assurance Dimensions, Inc                                                 4920 W Cypress St - Ste 102                                        Tampa             FL           33607
 Astech                                          Repairify Inc.            2600 Technology Dr                                                 Plano             TX           75074
 Asti, Monte Scott                                                         Address on File
 Astor Transportation & Limousine                                          170 Gore Rd                                                        Revere            MA           02151
 Astro Parking Services, Inc.                                              401 East Las Olas Blvd                                             Fort Lauderdale   FL           33301
 At Express                                                                PO Box 2605                                                        Ashburn           GA           31714
 At&T                                                                      1876 Data Drive                                                    Hoover            AL           35244
 At&T                                                                      PO Box 5019                                                        Carol Stream      IL           60197
 At&T Mobility                                                             PO Box 6463                                                        Carol Stream      IL           60197
 Ata Enterprises Of Orlando                                                2924 Knowles Blvd                                                  Kissimmee         FL           34741
 A-Tech Auto Glass LLC                                                     4503 Trescott Dr                                                   Orlando           FL           32817
 Atkins Transport LLC                                                      525 E Baker Street                                                 Flint             MI           48505
 Atkins, Xzaria Zammia Sunseirri                                           Address on File
 Atl Transport LLC                                                         308 Master Club Blvd                                               Hampton           GA           30228
 Atlant Logistics Inc                                                      2661 N Illinois St #11745                                          Swanseas          IL           62226
 Atlanta Custom Motors LLC                                                 1285 Shanter Tr                                                    Atlanta           GA           30331
 Atlantic & Caribbean Roofing Consulting LLC                               5001 N Hiatus Road                                                 Sunrise           FL           33351
 Atlantic Auto Shipping LLC                                                989 Clifton Avenue                                                 Clifton           NJ           07013
 Atlantic Auto Transport Inc                                               PO Box 278                                                         Tarpon Springs    FL           34688
 Atlantic Auto Transport LLC                                               6052 Calle Del Mar                                                 West Palm Beach   FL           33415
 Atlantic Broadband                                                        PO Box 371801                                                      Pittsburgh        PA           15250-7801
 Atlantic Coast Car Carriers Inc                                           300 Indian Head Road                                               Kings Park        NY           11754
 Atlantic Tranport Towing                                                  2627 Monaco Cove Cir                                               Orlando           FL           32825
 Atlantic Transport Va                                                     822 Forbes St                                                      Fredericksburg    VA           22405
 Atlantic Tree Experts                                                     PO Box 661                                                         Loxahatchee       FL           33470
 Atlas Horizons LLC                                                        1944 Juliter Hills Ct                                              Raleigh           NC           27604
 Atmosphere Express LLC                                                    320 Orange Road                                                    Montclair         NJ           07042
 Atr Transportation LLC                                                    675 Pine River Pl Apt 219                                          Oviedo            FL           32765
 Ats Carriers LLC                                                          3461 NE 4 St                                                       Hometead          FL           33033
 Attention To Detail Transportation LLC                                    4123 Steam Mill Road                                               Columbus          GA           31907
 Atwood, Patrick Kevin                                                     Address on File
 Auction Access, LLC                                                       2200 Woodcrest Place Ste 200                                       Birmingham        AL           35209
 Auction Genius
 Auction Reps, Inc                                                         210 170th Street East                                              Bradenton         FL           34212
 Auction Transport                                                         10701 Middlebelt Road                                              Romulus           MI           48174
 Auction Xpress LLC                                                        6000 Stewart Pkwy #7031                                            Douglasville      GA           30154
 Audacy Operations, Inc                          Entercom Wqam             PO Box 74093                                                       Cleveland         OH           44194-4079
 Audcor Transport Inc                                                      251 Colson Dr                                                      Garner            NC           27529



Off Lease Only LLC, et al.                                                                                                                                                                Page 15 of 155
                                                         Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23   Page 16 of 155
                                                                                                     Creditor Matrix
                                                                                                   as of September 6, 2023
                   Creditor Name                        Attention                         Address 1                 Address 2    Address 3             City               State       Zip       Country
 Audcor Transport Inc                                                       PO Box 7422                                                      Lumberton               NC           28358
 Audi Coral Springs                                                         5555 N State Rd 7                                                Coral Springs           FL           33076
 Audi Fort Lauderdale                                                       1200 North Federal Highway                                       Fort Lauderdale         FL           33304
 Audi Melbourne                                                             2260 Coastal Lane                                                West Melbourne          FL           32904
 Audi Of America, LLC                                                       2200 Ferdinand Porsche Drive                                     Herndon                 VA           20171
 Audi Pembroke Pines                       Holman Automotive Inc.           17800 Se Mill Plain Blvd          Suite 190                      Vancouver               WA           98683
 Audi Sarasota                                                              5005 S Tramiami Trail                                            Sarasota                FL           34231
 Audi South Orlando                                                         4725 Vineland Road                                               Orlando                 FL           32811
 Audi Stuart                                                                3990 Se Federal Hwy                                              Stuart                  FL           34997
 Audi Tampa                                Tampa A Automotive Management 105 E Fowler Ave                                                    Tampa                   FL           33612
 Audi West Houston                         Sonic Advantage Pa, Lp           15865 Katy Fwy                                                   Houston                 TX           77094
 Audi West Palm Beach                                                       2101 Okeechobee Blvd                                             West Palm Beach         FL           33409
 Audio America                                                              15132 Park Of Commerce Blvd                                      Jupiter                 FL           33478
 Audio Zone Glass Coating Tinting                                           9901 S Orange Blossom Trl                                        Orlando                 FL           32837-8919
 Audioeye Inc                                                               5210 E Williams Circle                                           Tucson                  AZ           85711
 Augusta Auto Haulers                                                       2801 Washington Road                                             Augusta                 GA           30909
 Augustin, Joel                                                             Address on File
 Aultman National Transport LLC                                             4207 Old Hwy 75                                                  Stem                    NC           27581
 Aupperlee, Brenda Sue                                                      Address on File
 Aurora Trucking Company 1 Corp                                             10753 SW 224 Terrace                                             Miami                   FL           33170
 Aus Central Lockbox                       Aramark Uniform & Career Apparel PO Box 731676                                                    Dallas                  TX           75373-1676
 Authority Empire LLC                                                       2622 Montecito                                                   Richmond                TX           77406
 Authorize.Net
 Auto Auction Of New England                                               8 Action Blvd                                                     Londonderry             NH           03053
 Auto Boat Home Truck
 Auto Broker Transport LLC                                                 3800 Deep Water Terminal Rd                                       Richmond                VA           23234
 Auto Carrier Express Inc                                                  5055 Old Kings Rd                                                 Jacksonville            FL           32254
 Auto Carrier LLC/R&C Auto Transport LLC                                   PO Box 500462                                                     Malabar                 FL           32950
 Auto Craft Transport LLC                                                  117-11 222 St                                                     Cambria Hgts            NY           11411
 Auto Cross Transport                                                      9623 Knickers Ct                                                  Sacramento              CA           95827
 Auto Data Direct Inc                                                      1379 Cross Creek Circle                                           Tallahassee             FL           32301-3729
 Auto Dealer Supplies .Com Inc                                             534 173rd Ave                                                     North Redington Beach   FL           33708
 Auto Diagnostic Lab Inc                                                   6921 Partridge Ln                                                 Orlando                 FL           32807-5313
 Auto Digital, Inc                                                         PO Box 37                                                         Windermere              FL           34786
 Auto E&I LLC                                                              6424 E Green Way Parkway                                          Scottsdale              AZ           85254
 Auto Enclose Inc                                                          16920 SW 303 St                                                   Homestead               FL           33030
 Auto Equipment Direct                                                     11216 Satellite Blvd                                              Orlando                 FL           32837
 Auto Equipment Service Corp                                               2021 SW 70th Ave B-9                                              Davie                   FL           33317
 Auto Express Carrier                                                      2605 SW 19th St                                                   Lehigh Acres            FL           33976
 Auto Express Shipping LLC                                                 12 Argyle Pl                                                      Kearny                  NJ           07032
 Auto Express Transport Inc.                                               PO Box 599                                                        Seaford                 DE           19973
 Auto Fargo Inc.                                                           5738 Honor Pkwy                                                   Sacramento              CA           95835
 Auto Force Transport LLC                                                  3625 N Country Club Drive                                         Miami                   FL           33180
 Auto Glass America LLC                                                    2929 North 44th St Ste 228                                        Phoenix                 AZ           85018
 Auto Glass By Hoz                         Glen Hosmer                     29426 Atherstone St                                               Spring                  TX           77386
 Auto Global Transport                                                     2191 Anchor Court                                                 Fort Lauderdale         FL           33312
 Auto Grasshopper LLC                                                      1555 S Havana St                                                  Aurora                  CO           80012
 Auto Guide                                                                6404 NW 5th Way                                                   Ft Lauderdale           FL           33461
 Auto Hauling Usa LLC                                                      1382 Blue Heron Lane North                                        Jacksonville Beach      FL           32250
 Auto Key Connection Inc.                  Hazim Mari                      1379 Saddleridge Dr                                               Orlando                 FL           32835
 Auto Leather Repair, LLC                                                  11197 Model Circle West                                           Boca Raton              FL           33428
 Auto Loan Options                                                         1500 N Stephenson Hwy Ste 100                                     Royal Oak               MI           48067
 Auto Loc Doc                                                              5366 Central Florida Pkwy                                         Orlando                 FL           32821
 Auto Logistic Transport                                                   6940 Bamboo St                                                    Miami Lakes             FL           33014
 Auto Logistic Transport                                                   2630 SW 28 St                                                     Miami                   FL           33133
 Auto Movers America LLC                                                   5911 Toscana Road                                                 Davie                   FL           33314
 Auto Movers Inc                                                           1191 W 59 Place                                                   Hialeah                 FL           33012
 Auto Nation Collision Center                                              8500 Pines Blvd                                                   Pembroke Pines          FL           33024
 Auto Paint Wizard Usa LLC                                                 3726 Old Winter Garden Rd                                         Orlando                 FL           32805
 Auto Painting Usa Collision                                               160005 NW 57 Ave                                                  Miami Gardens           FL           33014
 Auto Partner LLC                                                          PO Box 26345                                                      Knoxville               TN           37912
 Auto Parts Xtreme



Off Lease Only LLC, et al.                                                                                                                                                                     Page 16 of 155
                                                                Case 23-11389-CTG             Doc 1-1           Filed 09/07/23   Page 17 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                              Attention                 Address 1                    Address 2    Address 3             City           State       Zip       Country
 Auto Pro                                                                 3925 N Oak Street Ext 203                                           Valdosta            GA           31605
 Auto Remarketing Group                                                   1514 SW 13th Court                                                  Pompano Beach       FL           33069
 Auto Service All Points Transport                                        601 North Broad Street                                              Elizabeth           NJ           07208
 Auto Service All Points Transport LLC                                    6 Schindler Dr S                                                    Old Bridge          NJ           08857
 Auto Shows Online LLC                                                    9145 Kensington Row Ct                                              Orlando             FL           32827
 Auto Sport Carrier Inc.                                                  PO Box 77753                                                        Charlotte           NC           28271
 Auto Star Transport Inc                                                  PO Box 7151                                                         Spokane             WA           99207
 Auto Sub Inc                                                             884 E Ridgeway Rd                                                   Commerce            GA           30529
 Auto Tag Management Group                                                3155 SW 10th Street                                                 Deerfield Beach     FL           33442
 Auto Tag Mgmt Group Inc                                                  200 S Andrews Ave                                                   Fort Lauderdale     FL           33301
 Auto Trans Experts LLC                                                   5825 E Railroad Ave                                                 Spokane Valley      WA           99212
 Auto Trans Group Inc                                                     1830 Elmhurst Road                                                  Elk Grove Village   IL           60007
 Auto Transfers LLC                                                       2400 SW 131 Pl                                                      Miami               FL           33175
 Auto Transort Solutions LLC                                              7 Byron Lane                                                        Clinton             NY           13323
 Auto Transport Express                                                   2412 Queenswood Cir                                                 Kissimmee           FL           34743
 Auto Transport Express -A Inc                                            3134 Nc Highway 121                                                 Farmville           NC           27828
 Auto Transport Inc                                                       758 Harbor Winds Dr                                                 Jacksonville        FL           32225
 Auto Transport Nationwide Corp                                           16850 Collins Ave 112-528                                           Sunny Isles         FL           33160
 Auto Transport Service                                                   6918 NW 92nd Place                                                  Gainesville         FL           32653
 Auto Transport Solution                                                  7776 NW 73 Ct                                                       Medley              FL           33166
 Auto Transport Solution Corp                                             3771 Mt Vernon Way                                                  Kissimmee           FL           34741
 Auto Transport Solutions LLC                                             7 Bryon Lane                                                        Clinton             NY           13323
 Auto Transport Usa Inc.                                                  601 21st Street                                                     Vero Beach          FL           32960
 Auto Transports Coast To Coast LLC                                       18201 SW 113 Ave                                                    Miami               FL           33157
 Auto Upgrader                                                            Online
 Auto Us Express Inc                                                      108 Wild Basin Road Ste 250                                         Austin              TX           78746
 Auto Us Transporting Group Inc                                           1204 Ave U                                                          Brooklyn            NY           11229
 Auto Wheels Direct                                                       1420 Gemini Blvd                                                    Orlando             FL           32837
 Auto Zone Stores LLC                            Bradenton                PO Box 116067                                                       Atlanta             GA           30368
 Autobahn Logistics Group LLC                                             2616 East 124th                                                     Cleveland           OH           44120
 Autoboundtransport                                                       420 S 28th Ave                                                      Hollywood           FL           33020
 Autobox Express LLC                                                      2863 W 95th Street Ste 143-379                                      Naperville          IL           60564
 Autoexact, Inc                                                           PO Box 8                                                            Odessa              FL           33556
 Autohaul Transport Inc                                                   6222 Meeks Rd                                                       Franklin            TN           37064
 Autohaulix LLC                                                           PO Box 70057                                                        Knoxville           TN           37938
 Autoland Of Pittsburgh LLC                                               1414 Babcock Blvd                                                   Pittsburgh          PA           15209
 Autolist Inc                                                             75 Remittance Drive Dept 6529                                       Chicago             IL           60675-6529
 Automatic Connected Car
 Automobile Technologies Inc                                              5001 Birch St                                                       Newport Beach       CA           92660
 Automotive Business Forms                       Vecua,Bertha             PO Box 915680                                                       Longwood            FL           32791
 Automotive Development Group Inc.                                        9738 Reeves Road                                                    Tampa               FL           33619
 Automotive Experts                                                       275 SW Monterey Road                                                Stuart              FL           34994
 Automotive Finance Corporation                                           13085 Hamilton Crossing Blvd                                        Carmel              IN           46032
 Automotive Fleet Enterprises                                             38230 Cummer Rd                                                     Dade City           FL           33523
 Automotive Industry Center For Excellence LLC                            Post Office Box 1005                                                Dunedin             FL           34697-1005
 Automotive News                                                          1155 Gratiot Avenue                                                 Detroit             MI           48207-2913
 Automotive News                                                          PO Box 3188                                                         Northbrook          IL           60065-9864
 Automotive Promotional Products                                          8200 Commercial St                                                  La Mesa             CA           91942
 Automotive Tools Warehouse
 Autonation                                                               PO Box 731674                                                       Dallas              TX           75373-1674
 Autonation (Texas)                                                       PO Box 731674                                                       Dallas              TX           75373-1674
 Autonation Auto Auction Atlanta                                          2491 Old Anvil Block Rd                                             Ellenwood           GA           30294
 Autonation Collision Center Greenacres                                   5757 Lake Worth Rd                                                  Greenacres          FL           33463
 Autonation Ford Lincoln Union City                                       4355 Jonesboro Rd                                                   Union City          GA           30291
 Autonation Ford Margate                                                  5401 West Copans Road                                               Margate             FL           33063
 Autonation Ford Miami                                                    16800 NW 57th Ave                                                   Miami               FL           33015
 Autonation Ford Panama City                                              730 W 15th St                                                       Panama City         FL           32401
 Autonation Honda Sanford                                                 1000 Rinehart Road                                                  Sanford             FL           32771
 Autonation Shared Service Center (5313197)                               PO Box 731674                                                       Dallas              TX           75373-1674
 Autopart International                          Lake Worth               192 Mansfield Ave                                                   Norton              MA           02766
 Autorunner Transports Inc                                                2010 SW Jamesport Dr                                                Port Saint Lucie    FL           34953
 Autos In Motion LLC                                                      2325 Wisconsin Avenue                                               Downers Grove       IL           60515



Off Lease Only LLC, et al.                                                                                                                                                                  Page 17 of 155
                                                      Case 23-11389-CTG            Doc 1-1         Filed 09/07/23   Page 18 of 155
                                                                                         Creditor Matrix
                                                                                       as of September 6, 2023
                   Creditor Name                    Attention                  Address 1                Address 2    Address 3             City              State       Zip       Country
 Autoship                                                       526 Avenue Z #1G                                                 Brooklyn               NY           11223
 Autosport Usa Inc.                                             1401 Elizabeth Ave                                               West Palm Beach        FL           33401
 Autosports Carriers                                            3309 Arboretum View                                              Charlotte              NC           28226
 Autotrader.Com Inc                                             PO Box 932207                                                    Atlanta                GA           31193-2207
 Autoweb                                                        PO Box 31001-2737                                                Pasadena               CA           91110-2737
 Autowerx Transport Inc                                         200 Fieldtrial Circle                                            Garner                 SC
 Autoworks Transportation Inc                                   1614 E Mckinley Ave                                              Mishawaka              IN           46545
 Autozone                                                       PO Box 116067                                                    Atlanta                GA           30368-6067
 Autozone (Houston)                                             PO Box 116067                                                    Atlanta                GA           30368-6067
 Autozone Inc                                                   PO Box 116067                                                    Atlanta                GA           30368-6067
 Av Auto Transport Inc                                          15531 SW 297th Street                                            Homestead              FL           33033
 Av Prestige Transportation LLC                                 516 Glade Ct                                                     Kissimmee              FL           34758
 Av Transport                                                   681 Old Greentown Rd                                             Greentown              PA           18426
 Av Trucking Inc                                                10648 Lockart Rd Fl2                                             Philadelphia           PA           19116
 Avant-Garde Customz, Inc                                       2921 NW 7th Ave                                                  Miami                  FL           33127
 Avatar Auto Carriers LLC                                       5013 State Road 60 East                                          Lake Wales             FL           33898
 Ave Building B1 LLC                                            14350 NW 56 Court                                                Miami                  FL           33054
 Ave Building B3, Llc                                           14350 NW 56th Court                                              Miami                  FL           33054
 Ave Building I LLC                                             14350 NW 56th Court                                              Miami                  FL           33054
 Ave Cap LLC                                                    14350 NW 56th Court                                              Miami                  FL           33054
 Avegliano, Gabriela                                            Address on File
 Avett Transport                                                175 Brackleigh Ln                                                Florissant             MO           63031
 Avila Car Transport Inc                                        14841 SW 153 Terrace                                             Miami                  FL           33187
 Avila Transport                                                2219 N 44th Lane                                                 Mcallen                TX           78501
 Aviles, Jhon Ely                                               Address on File
 Avior LLC                                                      2555 Pga Blvd #348                                               Palm Beach Gardens     FL           33410
 Avm Trucking LLC                                               7601 East Treasure Drive                                         North Bay Village      FL           33141
 Avs Express LLC                                                80 Strickler Road                                                Denver                 PA           17517
 Avy Transport Inc                                              8645 SW 185 St                                                   Miami                  FL           33157
 Aw Transport Of Central Ohio LLC                               6439 Cherroy Drive                                               Reynoldsburg           OH           43147
 Awan, Mikail Hasan                                             Address on File
 Awesome Car Transport Inc                                      703 Cortez Ave                                                   Lehigh Acres           FL           33972
 Awesome Transport Solutions, LLC                               5416 NW 10th Terrace                                             Ft Lauderdale          FL           33309
 Ax Transportation Inc                                          205 Katherine Blvd #1210                                         Palm Harbor            FL           34684
 Axel Auto Hauling LLC                                          4250 W Side Avenue                                               North Bergen           NJ           07047
 Axial Transport Inc.                                           6348 N Milwaukee Avenue                                          Chicago                IL           60646
 Axiom Product Administration                                   1 Progress Point Parkway          Suite 101                      O'Fallon               MO           63368
 Ay LLC                                                         PO Box 13161                                                     Mill Creek             WA           98082
 Ay Trucking Inc                                                371 East Street Road                                             Feasterville Trevose   PA           19053
 Ay3J Transport LLC                                             130 San Marino Ct                                                Atlanta                GA           30349
 Ayala Lopez LLC                       Zona Rosa                1625 Gar Street                                                  St Cloud               FL           34771
 Ayf Multiservice LLC                                           2700 N Macdill Ave Ste 106                                       Tampa                  FL           33607
 Azb Supply & Services Inc                                      4662 67th Ave N                                                  Pinellas Park          FL           33781
 Azif, Jason                                                    Address on File
 B & C Electronics LLC                                          4606 Fenham Lance                                                Humble                 TX           77338
 B & R Auto Wrecking                   Perlenfein, Inc.         PO Box 640                                                       Corvallis              OR           97339
 B & R Enterprises                                              14446 Draft Horse Lane                                           Wellington             FL           33414
 B And B Transportation                Michael Baldwin          11103 Jackdaw Road                                               Weeki Wachee           FL           34614
 B Auto Transport                                               4753 Organge Grove Blvd                                          North Fort Myers       FL           33903
 B Express Transport                                            PO Box 7102                                                      Lakeland               FL           33810
 B L Express Inc                                                152 Monarch Circle                                               Fern Park              FL           32730
 B Line Express LLC                                             521 James Rd                                                     Lawrenceville          GA           30044
 B Reymann And Associates                                       378 Kenilworth Drive                                             Akron                  OH           44313
 B&B Auto Transport LLC                                         11315 Ashboro Dr                                                 Orlando                FL           32837
 B&B Enterprized Lithonia LLC                                   8401 Union Grove Road                                            Lithonia               GA           30058
 B&B Equipment Service Inc                                      2612 Horseshoe Ct                                                Cocoa                  FL           32926
 B&C Towing Corp                                                2 Summer St                                                      Foxborough             MA           02035
 B&D Fast Transport LLC                                         8410 Upper Sky Way                                               Laurel                 MD           20723
 B&L Services, Inc. D/B/A Yellow Cab                            PO Box 950                                                       Ft Lauderdale          FL           33302
 B&P Motor Heads Inc                                            1813 Opa Locka Blvd                                              Opa Locka              FL           33054
 B&S Carriers LLC                                               2206 Taft Street                                                 Albany                 GA           31707
 B.A Autotransport Inc                                          5810 N Las Virgenes Rd #373                                      Calabasas              CA           91302



Off Lease Only LLC, et al.                                                                                                                                                        Page 18 of 155
                                                          Case 23-11389-CTG               Doc 1-1        Filed 09/07/23   Page 19 of 155
                                                                                               Creditor Matrix
                                                                                             as of September 6, 2023
                   Creditor Name                        Attention                   Address 1                 Address 2    Address 3            City            State       Zip       Country
 B2B Shipper, Inc.                                                    500 E Higgins Road                                               Elk Grove Village   IL           60007
 Ba & W Enterprises Inc                                               13510 Toepperwein Rd                                             San Antonio         TX           78233
 Bab Trucking Corp                                                    7328 W 29 Lane                                                   Hialeah             FL           33018
 Babwah, Mukesh                                                       Address on File
 Baccas, Pegas F                                                      Address on File
 Bachelier, Jean Paul                                                 Address on File
 Backflow Inspection Repair &Plumbing Inc                             1533 SW 1 Way F-15                                               Deerfield Beach     FL           33441
 Backs, William                                                       Address on File
 Backwater                                                            11603 N Houston Rosslyn Bldg 2                                   Houston             TX           77086
 Baeza, Karla Regina                                                  Address on File
 Bailey, Kiara                                                        Address on File
 Bailey, Odain                                                        Address on File
 Baiza, Erick Godofredo                                               Address on File
 Baiza, Marosh Aiken                                                  Address on File
 Bak Msoa                                   Theatre Department        1725 Echo Lake Drive                                             West Palm Beach     FL           33407
 Bakare, Micheal Femi                                                 Address on File
 Baker, Danny Houston                                                 Address on File
 Baker, Roseann S                                                     Address on File
 Baker, Sally Margaret                                                Address on File
 Baker, Tashumbie                                                     Address on File
 Balboa, Eliseo                                                       Address on File
 Balchunas, Jason T.                                                  Address on File
 Baldini, Patti                                                       Address on File
 Baldwin, Kyle Lee                                                    Address on File
 Ballesteros De Avila, Roswell J                                      Address on File
 Balseiro Rivero, Ernesto                                             Address on File
 Bam Transportation LLC                                               2008 St David'S Ln                                               Charleston          SC           29414
 Bance Transport LLC                                                  64 Calliope Street                                               Ocoee               FL           34761
 Band Of Brothers Trucking LLC                                        1310 Spruce St                                                   Reading             PA           19602
 Bani, Yassin Abdellah                                                Address on File
 Bank Of America                            Attn Payoff Processing    9000 Southside Blvd Bldg 600                                     Jacksonville        FL           32256
 Banner Buzz
 Barahona, Erik Fransua                                               Address on File
 Barajas, Victor Manuel                                               Address on File
 Barbarich, Dragutin                                                  Address on File
 Barcelo, Orlando                                                     Address on File
 Baris, Sahin Can                                                     Address on File
 Barnes, Melvin Alexander                                             Address on File
 Barnes, Jarrod                                                       Address on File
 Barnes, Jonathan                                                     Address on File
 Barnes, Patricia                                                     Address on File
 Barnhart, Steven Michael                                             Address on File
 Barrera Auto Transport Inc.                                          10410 SW 154th Ct                                                Miami               FL           33196
 Barrere Lopez, Alejandro                                             Address on File
 Barrere Lopez, Alejandro                                             Address on File
 Barreto, Sharik                                                      Address on File
 Barrett Jackson                                                      Address on File
 Barrett, Nicole                                                      Address on File
 Barrett, Steven Anthony                                              Address on File
 Barriere, Diane Ellen                                                Address on File
 Barris Ann Cameron Trucking LLC                                      5469 Queenship Ct                                                Greenacres          FL           33463
 Barris Ann Cameron Trucking LLC                                      88 Martin St                                                     Somerset            NJ           08873
 Barron's Wholesale Tire                                              1302 Eastport Rd                                                 Jacksonville        FL           32218-2218
 Barron's Wholesale Tire (Houston)          Attn: Credit Department   1302 Eastport Rd                                                 Jacksonville        FL           32218-2218
 Barry, Brian D                                                       Address on File
 Bassa Logistic Inc                                                   5845 W Bryn Mawr Ave                                             Chicago             IL           60646
 Batista Franco, Joaquin Enrique                                      Address on File
 Batista Transport LLC                                                10 Clinton St                                                    South River         NJ           08882
 Batista Trucking                                                     1590 NE 141 Street                                               North Miami         FL           33161
 Batson, Joshua L                                                     Address on File
 Baucot, Edwidge                                                      Address on File
 Baumeister, Lisa Nicole                                              Address on File



Off Lease Only LLC, et al.                                                                                                                                                           Page 19 of 155
                                                  Case 23-11389-CTG             Doc 1-1           Filed 09/07/23   Page 20 of 155
                                                                                       Creditor Matrix
                                                                                      as of September 6, 2023
                     Creditor Name              Attention                Address 1                     Address 2    Address 3               City        State       Zip       Country
 Bay Area Wholesale
 Bay Area Wholesale Of Largo
 Baycon LLC                                                 2296 Margraf Circle                                                 Woodbridge         VA           22191
 Baymard Institute                                          Kastanie Alle 41                                                    3520 Farum
 Bayron Transport                                           706 Myrtle Lake Ct                                                  Orlando            FL           32825
 Bays, Kevin Lee                                            Address on File
 Bayside Auto Transport                                     58-24 210 Street                                                    Bayside            NY           11364
 Bayview Car Company LLC-1                                  7942 Dixie Hwy                                                      Ira                MI           48023
 Bb Auto Logistics LLC                                      1702 Green Meadow Lane                                              Orlando            FL           32825
 Bb&T                                Attn Janet Simon       200 W Forsyth Street                                                Jacksonville       FL           32202
 Bb&T                                                       PO Box 580048                                                       Charotte           NC           28258
 Bbb Of Palm Beach County, Inc                              4411 Beacion Circle                                                 West Palm Beach    FL           33407
 Bc Enterprises                                             247 E Capemay                                                       Ocean Gate         NJ           08740
 Bccg Enterprise LLC                                        11954 Narcoossee Rd                                                 Orlando            FL           32832
 Bccpbc
 Bd2 Logistics LLC                                          18723 Purple Martin Lane                                            Gaithersburg       MD           20879
 Bdo                                                        PO Box 642743                                                       Pittsburgh         PA           15264-2743
 Be Connect Auto Transportation                             22189 SW 57th Ave                                                   Boca Raton         FL           33428
 Be Green Transport LLC                                     PO Box 536511                                                       Orlando            FL           32853
 Beach Transport LLC                                        909 Looking Glass Ct                                                Conway             SC           29526
 Bear Mountain Transport LLC                                4940 Princess Dr                                                    Lake Park          GA           31636
 Bearden Transportation Co LLC                              PO Box 111                                                          Douglas            AL           35964
 Beasley Media Group, LLC                                   PO Box 628231 - Mail Code 5058                                      Orlando            FL           32862-8231
 Beaubrun, Widleur                                          Address on File
 Beauchaine, Allan                                          Address on File
 Beauty By Maybelle
 Bechara, Moussa                                            Address on File
 Becker & Poliakoff Pa                                      1 E Broward Blvd                                                    Fort Lauderdale    FL           33301
 Becker Boards Small, LLC                                   4234 E Indian School Rd                                             Phoenix            AZ           85018
 Beckett, Mark Howard                                       Address on File
 Beck's Towing
 Bedford Global Inc                                         5811 W 66th St                                                      Bedford Park       IL
 Beech Outdoor                                              291 Circle Drive                                                    Maitland           FL           32751
 Beedon, Dennis Charles                                     Address on File
 Beekman Company LLC                                        1410 Fm 2855 Rd                                                     Katy               TX           77493
 Beeline Carriers LLC                                       340 Holly Drive                                                     West Palm Beach    FL           33415
 Beeline Distributors, Inc                                  2635 Electronics Way                                                West Palm Beach    FL           33407-4606
 Beema Transport Services LLC                               9430 SW 16th Street                                                 Miami              FL           33165
 Beers, Kevin                                               Address on File
 Beic                                                       PO Box 32034                                                        Lakeland           FL           33802
 Bel Air Auto Auction, Inc                                  803 Bel Air Rd                                                      Bel Air            MD           21014
 Belair Motors Inc                                          860-3 N 8th Street                                                  Lantana            FL           33462
 Belkassab, Brahim                                          Address on File
 Bell Auto Transport Corp                                   PO Box 941842                                                       Miami              FL           33194
 Bell Trucking                                              229 Austerlitz Rd                                                   Paris              KY           40361
 Bell, Maurice                                              Address on File
 Bellas Luxury Transportation Inc.                          8004 NW 154th Street                                                Miami Lakes        FL           33016
 Bellizzi Broadcasting Network Inc                          5300 Us Highway 1                                                   Key West           FL           33040
 Bello, Kristopher Juan                                     Address on File
 Belloso, Jailin V                                          Address on File
 Belltrans Trucking                                         50 Brookfield Dr                                                    Ephrata            PA           17522
 Belluno Pizza                                              3676 Collin Dr                                                      West Palm Beach    FL           33406
 Belo Advertising
 Beltmann Relocation Group                                  2480 Long Lake Road                                                 Roseville          MN           55113
 Beltrans Trucking                                          50 Brookfield Dr                                                    Ephrata            PA           17522
 Beltre Montilla, Lina                                      Address on File
 Benakrach, Hicham                                          Address on File
 Ben-Asher, Mark                                            Address on File
 Bencheikh, Ahmed                                           Address on File
 Bencosme, Juan Jose                                        Address on File
 Benitez Prieto, Pedro A                                    Address on File
 Benjamin Auto Glass Inc                                    5403 Waterview Circle                                               Palm Springs       FL           33461



Off Lease Only LLC, et al.                                                                                                                                                   Page 20 of 155
                                                           Case 23-11389-CTG                    Doc 1-1            Filed 09/07/23   Page 21 of 155
                                                                                                        Creditor Matrix
                                                                                                       as of September 6, 2023
                   Creditor Name                         Attention                      Address 1                       Address 2    Address 3              City         State      Zip    Country
 Benjamin Fisher                                                          Address on File
 Benna Transport LLC                                                      13008 Pacific Ave                                                      Rockville          MD           20853
 Bennett Auto Supply Inc                                                  3141 SW 10th Street                                                    Pompano Beach      FL           33069
 Bennett Transportation LLC                                               4786 Dressler Rd                                                       Canton             OH           44718
 Bennett, Andre N                                                         Address on File
 Bennett, Cathy J.                                                        Address on File
 Bennetts Trucking LLC                                                    7909 Normandy St                                                       Miramar            FL           33023
 Ben's Paint Supply                                                       2727 N John Young Pkwy                                                 Kissimee           FL           34741
 Bent Rim Repairs Corp                                                    7145 S Orange Blossom Trail                                            Orlando            FL           32809
 Bentley Miami                                                            2060 Biscayne Blvd                                                     Miami              FL           33137
 Berkbuegler, Michael Jaggard                                             Address on File
 Berkeley Research Group LLC                  Brg                         2200 Powell Street Suite 1200                                          Emeryville         CA           94608
 Berkowitz Fin Review
 Berkowitz Pollack Brant                                                  200 S Biscayne Boulevard                                               Miami              FL           33131
 Berkshire Hathaway Specialty Insurance Co.                               1145 Clark Street                                                      Stevens Point      WI           54481
 Berlineta Transportation LLC                                             83 Chelsea Way                                                         Bridgewater        NJ           08807
 Bermudez Delgado, Neftali                                                Address on File
 Bernace, Wilma Iris                                                      Address on File
 Bernales, Vanessa Marie                                                  Address on File
 Bernal's Car Hauler                                                      19900 NW 37th Ave                                                      Miami Gardens      FL           33056
 Bernardi Usa, Inc.                                                       2950 Palmarita Road                                                    West Palm Beach    FL           33406
 Bernaud, Marc Eddy                                                       Address on File
 Bernstein, Mark B                                                        Address on File
 Berrette, Gerardylande                                                   Address on File
 Besabella, Darren Dimen                                                  Address on File
 Best Auto Movers                                                         PO Box 351688                                                          Jacksonville       FL           32235
 Best Auto Shipping Inc                                                   1950 W 54th St                                                         Hialeah            FL           33012
 Best Auto Shipping Inc                                                   1191 W 59 Pl                                                           Hialeah            FL           33012
 Best Auto Transport                                                      470 East 51 Street                                                     Hialeah            FL           33013
 Best Buy Automotive Equipment                                            42660 Rio Nedo                                                         Temecula           CA           92590
 Best Choice Trucking LLC                                                 93 Ward Street Unit 114                                                Revere             MA           02151
 Best Deal Transport LLC                                                  3808 Quill Ct                                                          Gastonia           NC           28056
 Best Delivery LLC                                                        48 Seattle Trail                                                       Palm Coast         FL           32164
 Best Enclosed LLC                                                        28 Donald St Apt 3                                                     Bloomfield         NJ           07003
 Best Luck Transport                                                      1068 SW 128 Ave                                                        Miami              FL           33184
 Best Price Transport Carriers LLC                                        2945 10th Ave Ne                                                       Naples             FL           34120
 Best Usa Auto Transport Inc                                              254 E 18 St                                                            Hialeah            FL           33010
 Best West Trans LLC                                                      237 Morton Street                                                      West Springfield   MA           01089
 Bestbuy
 Bestflag
 Bet Trucking LLC                                                         738 Cindy Drive                                                        Columbia           SC           29203
 Betan Auto Tranport Corp                                                 2433 SW 102nd Place                                                    Miami              FL           33165
 Betancourt Diaz, Zoe Teresa                                              Address on File
 Beth's Burger Bar LLC                                                    5145 S Oarnge Ave                                                      Orlando            FL           32809
 Better Transport LLC                                                     1934 Pace Drive Nw                                                     Palm Bay           FL           32907
 Beune's Truck Company                                                    61 Tamiami Blvd                                                        Miami              FL           33144
 Beveridge, Mark J                                                        Address on File
 Beyond Trucking LLC                                                      15645 SW 26th Terrace                                                  Miami              FL           33185
 Bf Transport Inc                                                         11850 Derbyshire Dr                                                    Tampa              FL           33626
 Bfts Transport LLC                                                       7491 SW 1st Street                                                     Margate            FL           33068
 Bgg Auto Trans LLC                                                       8362 Pines Blvd                                                        Pembroke Pines     FL           33024
 Bgj Worldwide Transport LLC                  Brian Anthony Lee Morales   848 Brickell Ave - Ste 950                                             Miami              FL           33131
 Bh Auto Transport Inc.                                                   PO Box 1022                                                            Worcester          MA           01613
 Bibb County Tax Commissioner                                             188 Third St                                                           Macon              GA           31204
 Bice, Inc                                                                3771 Ramsey Street                                                     Fayetteville       NC           28311
 Bichi, Said                                                              Address on File
 Bickaroo, Quetsy Noemi                                                   Address on File
 Bido Enterprises Inc.                                                    1413 Cricket Club Circle                Apt 306                        Orlando            FL           32828
 Bieber, Jordan                                                           Address on File
 Big Baby's Transport                                                     526 Dodd Lane                                                          Spartanburg        SC           29303
 Big Bang Towing                                                          PO Box 582061                                                          Kissimmee          FL           34758
 Big Ben's Towing & Recovering LLC                                        17369 Glenmore                                                         Redford            MI           48240



Off Lease Only LLC, et al.                                                                                                                                                                Page 21 of 155
                                                       Case 23-11389-CTG               Doc 1-1           Filed 09/07/23   Page 22 of 155
                                                                                                Creditor Matrix
                                                                                            as of September 6, 2023
                     Creditor Name                   Attention                   Address 1                   Address 2     Address 3             City            State       Zip       Country
 Big Boss Transport Corp                                           1390 Brickell Avenue 270                                            Miami                FL           33131
 Big Boy Trucking LLC                                              8015 International Drive                                            Orlando              FL           32819
 Big City Bed Liners                                               PO Box 918                                                          Richmond             TX           77406
 Big City Transport LLC                                            7101 Fern Lane                                                      Middletown           MD           21769
 Big Dog Fat Cat Kdw                                               Bill Wummer                                                         Palm Beach Gardens   FL           33410
 Big Dogz Transport Jr                                             1300 Wynnton Rd Suite 109                                           Columbus             GA           31906
 Big Loads 30 LLC                                                  1524 Medford Place                                                  Lehigh Acrfes        FL           33936
 Big Red Auto Transport Corp                                       1717 Abbott Avenue                                                  Lehigh Acres         FL           33972
 Big Red Communications                                            6420 Coolidge Street                                                Hollywood            FL           33024
 Big Star Road Inc.                                                14990 Colby Pl                                                      Fontana              CA           92337
 Big Swede Transport LLC                                           6612 Thamesmead Lane                                                Mint Hill            NC           28227
 Big Valley Auto Auction                                           4315 North Hutto Rd                                                 Donna                TX           78537
 Big Vehicles Transport Corp                                       171 SW Palm Drive 102                                               Port St Lucie        FL           34986
 Big Wheels                                                        3314 Covelo Ct                                                      Charlotte            NC           28262
 Bill Bryan Subaru                                                 8730 Us Hwy 441                                                     Leesburg             FL           34788
 Bill Keen Trucking                                                PO Box 14                                                           Paragould            AR           72451
 Bill Seidle Mitsubishi                                            10688 NW 12th St                                                    Doral                FL           33172
 Bill Seidle's Nissan, Inc.                                        10500 NW 12th St                                                    Doral                FL           33172
 Billboard Connection                                              303 Perimeter Center North                                          Atlanta              GA           30346
 Biller Reinhart Engineering Group, Inc                            3434 Colwell Ave                                                    Tampa                FL           33614
 Billie's Trucking Inc                    Shaunia & Colin Wright   5300 SW 7th Court                                                   Margate              FL           33068
 Billy Lift Repair
 Bing Search
 Birse Thomas Architects                                           5510 Pga Blvd #201
 Bivelacque, John                                                  Address on File
 Bj Transport By Cano LLC                                          5581 S 36th St                                                      Greenacres           FL           33463
 Bjerke, Jennifer Marie                                            Address on File
 Bjj Enterprises LLC                                               5400 Buckeye Valley Rd                                              House Springs        MO           63051
 Bjs Trucking Inc                                                  49 Churn Rd                                                         Matteson             IL           60443
 Bjs Wholesale
 Bl Express Line Corp                                              10835 Southwest 240th Lane                                          Homestead            FL           33032
 Bl Trucking                                                       10174 Attala Rd 4167                                                Sallis               MS           39160
 Black Book                                                        PO Box 404040                                                       Atlanta              GA           30384
 Black Box Network Services                                        PO Box 775192                                                       Chicago              IL           60677-5192
 Black Deer Transportation Inc                                     11245 NW Flagler Terr                                               Miami                FL           33172
 Black Diamond Auto Transport Inc                                  PO Box 2052                                                         Arcadia              FL           34265
 Black Diamond Us Xpress LLC                                       3745 S Sonny Terr                                                   Homosassa            FL           34448
 Black Hawk Hauling LLC                                            8013 Andover Creek Dr #1801                                         Charlottw            NC           28210
 Black Ice Auto Transport                                          7640 Dickens Avenue                                                 Miami Beach          FL           33141
 Black Mustang Transport Inc                                       31 Bridge Street                                                    Agawam               MA           01001
 Black Night Auto Transport Inc                                    10068 NW 127th St                                                   Hialeah Gardens      FL           33018
 Black Sea Express Inc                                             7934 Summerdale Ave 2nd Fl                                          Philadelphia         PA           19111
 Black Shadow Transport LLC                                        27941 Luella Avenue                                                 Paisley              FL           32767
 Black Star Line Enterprises LLC                                   23 W 30th Street                                                    Wilmington           DE           19801
 Blackboard Inc                                                    PO Box 200154                                                       Pittsburgh           PA           15251
 Blackburn's Hubcaps & Wheels, Inc                                 1001 Paster Court                                                   Macedonia            OH           44056
 Blackwood, Karen                                                  Address on File
 Blais'N Miami Transport LLC                                       603 Cortez Blvd                                                     Margate              FL           33068
 Blake Russell Media
 Blake Transportation LLC                                          466 E 40th St                                                       Hialeah              FL           33013
 Blake, Jahmaal Ezekiel                                            Address on File
 Blake, Renaj K                                                    Address on File
 Blanco, Daniel Lazaro                                             Address on File
 Blanco, Luis Alberto                                              Address on File
 Blaq Enterprise LLC                                               1333 East Hallandale Beach Blvd 430                                 Hallandale Beach     FL           33009
 Blast-Off Equipment Inc                                           2350 S Military Trail                                               West Palm Beach      FL           33415
 Blessings Rain Down Transport                                     805 Sunview Drive                                                   Concord              NC           28027
 Blew & Associates, P.A.                                           3825 N Shiloh Dr                                                    Fayetteville         AR           72703
 Blieve Media, LLC                                                 5251 Jamboree Place                                                 Margate              FL           33063
 Blog Marketing                                                    7050 NW 44th St #405                                                Lauderhill           FL           33319
 Blown Away                                                        PO Box 618271                                                       Orlando              FL           32861-8271
 Blu Ski Carriers LLC                                              621 6th Ave South #5461                                             North Myrtle Beach   SC           29597



Off Lease Only LLC, et al.                                                                                                                                                            Page 22 of 155
                                                       Case 23-11389-CTG                      Doc 1-1           Filed 09/07/23   Page 23 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                     Attention                         Address 1                     Address 2    Address 3             City           State       Zip       Country
 Blue Alligator Transport LLC                                            6918 N Hubert Ave                                                    Tampa               FL           33614
 Blue And White Logistics Inc.                                           5235 NW 187th Street                                                 Miami Gardens       FL           33055
 Blue Auto Transport Inc                                                 426 Hillside Ave                                                     Daytona Beach       FL           32118
 Blue Auto Transportation Corp                                           15251 NW 88 Avenue                                                   Miami Lakes         FL           33018
 Blue Caribe Transport Inc.                                              6020 12th Avenue West                                                Bradenton           FL           34209
 Blue Cross And Blue Shield Of Florida                                   PO Box 660299                                                        Dallas              TX           75266
 Blue Eagle Transport LLC                                                159 W 8th Street Suite 6                                             Hialeah             FL           33010
 Blue Elite Auto Transport LLC                                           7120 Hood St                                                         Hollywood           FL           33024
 Blue Highway Auto Transport                                             3709 20th Street Sw                                                  Lehigh Acres        FL           33976
 Blue Line Transport LLC                                                 6511 Perryville Rd                                                   Danville            KY           40422
 Blue Thunder Inc                                                        18805 Creeper Lane                                                   Gaithersburg        MD           20879
 Blue Trading Inc                                                        9272 NW 101 St                                                       Medley              FL           33178
 Blue Transit LLC                                                        451 Hungerford Drive                                                 Rockville           MD           20850
 Blue Water Movement                                                     PO Box 50114                                                         Lighthouse Point    FL           33074
 Blueline Rental                                                         7616 Narcoossee Road                                                 Orlando             FL           32822
 Blueline Rental LLC                                                     PO Box 840062                                                        Dallas              TX           75284-0062
 Blueridge Exotic Transport Ltd                                          PO Box 89                                                            Henrietta           TX           76365
 Blues Arrow Inc                                                         1522 Dakota Drive                                                    Elk Grove Village   IL           60007
 Blvd Auto Inc                                                           4724 53rd Ave - Ste 1                                                Bradenton           FL           34203
 Blythe, Karis Gabrielle                                                 Address on File
 Bm Autos Inc                                                            PO Box 1180                                                          Fellsmere           FL           32948
 Bm Logistics Inc                                                        2901 Wellington St                                                   Augusta             GA           30909
 Bm2 Logistics LLC                                                       8948 Hildreth Ave                                                    Orlando             FL           32832
 Bmb Transportation LLC                                                  370 Fieldstream W Blvd                                               Orlando             FL           32825
 Bmhc Logistics LLC                                                      3918 Sunnybrook Ct                                                   Orlando             FL           32820
 Bmjr Auto Transport LLC                                                 2138 Mountleigh Trail                                                Orlando             FL           32824
 Bmw Financial
 Bmw Of Louisville                                                       4 Swope Autocenter Drive                                             Louisville          KY           40299
 Bmw Of Sarasota                                                         5151 Clark Road                                                      Sarasota            FL           34233
 Bmw Of Tampa                              Tampa B Automotive Management 109 E Fowler Ave                                                     Tampa               FL           33612
 Bmw Surgeons                                                            707 North State Rd 7                                                 Margate             FL           33063-3750
 Bn Usa LLC                                                              PO Box 290898                                                        Port Orange         FL           32129
 Bnc Auto Transport LLC                                                  9559 Collins Suite 401                                               Surfside            FL           33154
 Board Of County Commissioner                                            Palm Beach County Finance Dept                                       West Palm Beach     FL           33402
 Boardworks                                                              15955 North Florida Ave                                              Lutz                FL           33549-8103
 Boast Motors Inc                                                        4827 14th St W                                                       Bradenton           FL           34207
 Boatmart Inc                                                            PO Box 628                                                           Jupiter             FL           33468
 Boats Away Marine Transport                                             2045 Monroe Ave                                                      North Bellmore      NY           11710
 Boats Direct Usa                                                        14565 NW 26th Ave                                                    Opa Locka           FL           33054
 Bob Transportation LLC                                                  6468 N Waverly Street                                                Dearborn Heights    MI           48127
 Bobby's Transport                                                       5952 W Market St Ext                                                 Cheraw              SC           29520
 Bob's Auto Glass                                                        4040 S Military Trl                                                  Lake Worth          FL           33463
 Bocanegra, Rudy Alfredo                                                 Address on File
 Boca-Star-Services & Repairs, Inc.        T. Samuel Naimat              99 NW 7th St                                                         Boca Raton          FL           33432
 Bodley, Samantha K                                                      Address on File
 Body Shop La Super Estrella De Cuba Inc                                 7033 NW 36 Ave                                                       Miami               FL           33147
 Boehm, Christine                                                        Address on File
 Boersma, Andre Theodore                                                 Address on File
 Bogdan, Michael C.                                                      Address on File
 Bogman, Chester Jos Paul                                                Address on File
 Bohach, Matthew                                                         Address on File
 Bolas, Mark E                                                           Address on File
 Bold Man Media                                                          1444 Biscayne Blvd Unit 303                                          Miami               FL           33132
 Bolden, Jade Nicklaus                                                   Address on File
 Boldwatertv LLC                                                         2475 Southern Hills Ct                                               Oviedo              FL           32765
 Bolt Logistics Services Inc                                             18281 SW 162nd Ave                                                   Miami               FL           33187
 Bonded Lightning Protection Systems Inc                                 PO Box 9006                                                          Jupiter             FL           33468
 Bonet, Jean R                                                           Address on File
 Bonhomme, Kharim Philippe                                               Address on File
 Boniface Hiers Motors LLC                                               800 S Harbour City Blvd                                              Melbourne           FL           32901
 Boothe, Thomas Kim                                                      Address on File
 Borcky, Matthew Joseph                                                  Address on File



Off Lease Only LLC, et al.                                                                                                                                                                  Page 23 of 155
                                                           Case 23-11389-CTG                      Doc 1-1           Filed 09/07/23   Page 24 of 155
                                                                                                         Creditor Matrix
                                                                                                        as of September 6, 2023
                    Creditor Name                        Attention                        Address 1                      Address 2    Address 3           City           State       Zip    Country
 Boricua Small Fleet                                                         PO Box 1384                                                          Mcdonough         GA           30253
 Boricua, Antojitos                                                          Address on File
 Borinken Transport LLC                                                      11348 NE 65th Street                                                 Williston         FL           32696
 Borino Enterprises Inc
 Borrego, Mark Gregory                                                       Address on File
 Bose Auto Transport Inc.                                                    5209 Rosen Blvd                                                      Boynton Beach     FL           33472
 Bosma, Benjamin John                                                        Address on File
 Boston Auto Transport Inc                                                   1142 NE 6th Avenue                                                   Fort Lauderdale   FL           33304
 Boston Transport LLC                                                        223 Charles Road                                                     Marion            SC           29571
 Bottari, Michael Charles                                                    Address on File
 Bounteous, Inc                                                              2100 Manchester Rd Ste 1750                                          Wheaton           IL           60187
 Bowen, Andrew Jay                                                           Address on File
 Bowhay, Mitchell                                                            Address on File
 Bowick Auto Transport                                                       3088 Denton Rd                                                       Thomasville       NC           27360
 Boyce, Terry T                                                              Address on File
 Boyd, Auston Lewis                                                          Address on File
 Boyd, Auvyon Tranice                                                        Address on File
 Boyd, Jerome                                                                Address on File
 Boyds Transport LLC                                                         1854 Heathers Way                                                    Augusta           GA           30906
 Boyett One Transport LLC                                                    1105 Douglas Drive                                                   Bainbridge        GA           39819
 Boynton Heat Classic                                                        1511 NW 3rd Street                                                   Boynton Beach     FL           33435
 Boys & Girls Clubs Of Manatee County, Inc                                   5236 30th Street West                                                Bradenton         FL           34207
 Bracho, Lino Y                                                              Address on File
 Bradenton Termite & Pest Control LLC                                        2709 3rd Ave W                                                       Bradenton         FL           34205
 Bradley & Son Transport LLC                                                 376 Adams Road                                                       Cades             SC           29518
 Brady, Thomas J                                                             Address on File
 Brain Adams Photographics, Inc                                              1914 E 4th Ave Unit 6                                                Tampa             FL           33605
 Brainstorm Force Us LLC
 Braissa Transport Corp                                                      4490 Philadelphia Circle                                             Kissimmee         FL           34746
 Braman Bmw Mia                                                              2060 NE 2nd Ave                                                      Miami             FL           33137
 Braman Honda                                                                5200 Lake Worth Rd                                                   Greenacres        FL
 Braman Motorcars Pb                                                         2901 Okeechobee Blvd                                                 West Palm Beach   FL           33409
 Braman Porsche                                                              2801 Okeechobee Blvd                                                 West Palm Beach   FL           33409
 Branch Ranch Inc                                                            PO Box 2012                                                          Plant City        FL           33564
 Branchi Transport LLC                                                       2947 Hewitt Ave                                                      Aspen Hill        MD           20906
 Brandon Ford                                                                9090 Adamo Drive                                                     Tampa             FL           33619
 Brandsmart Usa
 Brandstar Local, LLC                                                        3860 N Powerline Rd                                                  Deerfield Beach   FL           33073
 Brannon, Tynecha Da Jea                                                     Address on File
 Brascar Auto Sales And Rentals LLC                                          4521 N Federal Hwy                                                   Pompano Beach     FL           33064
 Brasch, Richard T                                                           Address on File
 Brasher's Sacramento Auto Auction                                           6233 Blacktop Road                                                   Rio Linda         CA           95673
 Brasmex LLC                                                                 765 Malibu Bay Apt 103                                               West Palm Beach   FL           33401
 Bravchok, James                                                             Address on File
 Bravo 1-9 Logistics LLC                                                     8 Keewadin Road                                                      Hopatcong         NJ           07843
 Bravo Secure Transport Corp                                                 13300 NW 1 St Lane                                                   Miami             FL           33182
 Bravo Supermarket
 Braxton, Tayler Javon                                                       Address on File
 Brayanson Transportation LLC                                                14807 Peachtree Cove Lane             Apt 104                        Winter Garden     FL           34787
 Braz Services LLC                                                           2125 Lake Roberts Landing Drive                                      Winter Garden     FL           34787
 Breedlove, Darrell                                                          Address on File
 Breezeway Haulers Corp                                                      4901 Planters Walk                                                   Douglasville      GA           30135
 Breezeway Transport Corp                                                    4901 Planters Walk                                                   Douglasville      GA           30135
 Brenard Kelly Transport LLC                                                 712 Oxboro Cir                                                       Durham            NC           27713
 Brenda D Forman, Clerk Of The Court                                         201 Southeast 6th St                                                 Fort Lauderdale   FL           33301
 Brenntag Lubricants LLC                                                     7010 Mykawa Rd                                                       Houston           TX           77033
 Bret Auto Transport LLC                                                     PO Box 3106                                                          Loganville        GA           30052
 Brevard, Malik Rashid-Muhammad                                              Address on File
 Brevil, Dudley                                                              Address on File
 Brewster Hotshots                                                           PO Box 1003                                                          Greenbrier        AR           72058
 Briagas, Julian Avery                                                       Address on File
 Brickell Motors                             Miami Automotive Retail, Inc.   665 SW 8 Street                                                      Miami             FL           33130



Off Lease Only LLC, et al.                                                                                                                                                                 Page 24 of 155
                                                             Case 23-11389-CTG             Doc 1-1        Filed 09/07/23   Page 25 of 155
                                                                                                Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name                          Attention                  Address 1                Address 2    Address 3             City          State       Zip       Country
 Bridgefield Employers Insurance Company                                PO Box 988                                                      Lakeland           FL           33802
 Bridgestone Retail Operations LLC                                      200 4th Avenue South                                            Nashville          TN           37201
 Bridgetown Express LLC                                                 17809 NE Davis Street                                           Portland           OR           97230
 Brigg's Distributing                                                   PO Box 530075                                                   Orlando            FL           32853
 Brightcatch Media LLC                                                  23607 Banning Point Court                                       Katy               TX           77494
 Brightstar Transport Inc.                                              PO Box 193                                                      Montrose           CA           91021
 Brightview Landscape Services, Inc                                     PO Box 740655                                                   Atlanta            GA           30374
 Brilliant Minds LLC                                                    7116 Colony Club Dr #302                                        Lake Worth         FL           33463
 Bril-Logistic                                                          5373 NW 55th Terrace                                            Coconut Creek      FL           33073
 Brimar Industries                                                      64 Outwater Lane                                                Garfield           NJ           07026
 Bristers And Sons Tranports LLC                                        1400 Vermont Ave                                                Mccomb             MS           39648
 Brite Products                                                         PO Box 10562                                                    Riviera Beach      FL           33419
 Brito & Son Transport Inc.                                             5810 NW 114th Street                                            Hialeah            FL           33012
 Brittany Ashmore                                                       8910 Rollick Drive                                              Tomball            TX           77375
 Broad Auto Transportation LLC                                          2338 Immokalee Rd Ste 301                                       Naples             FL           34110
 Broadview Country Club Estates Civic Asso.                             1560 Southwest 63rd Ave                                         North Lauderdale   FL           33068
 Brock's Transport LLC                                                  1070 Secretarial Dr E                                           Danville           KY           40422
 Brod, Lawrence Evan                                                    Address on File
 Brod, Lawrence                                                         Address on File
 Brokenmedia LLC                                                        PO Box 237112                                                   Cocoa              FL           32923
 Brookfield Auto Transport LLC                                          115 Pocono Rd                                                   Brookfield         CT           06804
 Brooklyn Transport 99 Inc                                              PO Box 772050                                                   Orlando            FL           32877
 Brooks, Dominique Napaul                                               Address on File
 Brooks, Simon M.                                                       Address on File
 Brooks, Scott                                                          Address on File
 Brooks, Virginia                                                       Address on File
 Brookshire Hyundai                             Brookshire Motors LLC   34656 Katy Fwy                                                  Brookshire         TX           77423
 Brookshire-Katy Drainage District                                      PO Box 608                                                      Brookshire                      77423
 Brother Auto Transport LLC                                             310 Wilmer Ave                                                  Orlando            FL           32811
 Brothers Man Corp                                                      4340 Welter Ave                                                 Las Vegas          NV           89104
 Brothers Transport LLC                                                 172 Main Street                                                 West Springfield   MA           01089
 Broward Auto Mall                                                      2740 SW Martin Downs Blvd                                       Palm City          FL           34990
 Broward County Board Of County Commissioners                           One North University Dr          Suite A102                     Plantation         FL           33324
 Broward County Chamber Of Commerce                                     2000 West Commercial Blvd        Ste 229                        Ft Lauderdal       FL           33309
 Broward County Clerk Of The Court                                      201 Se 6th Street                                               Ft Lauderdale      FL           33301
 Broward County Tax Collector                                           115 S Andrews Ave #A100                                         Ft Lauderdale      FL           33301-1895
 Broward K9 / Miami K9 Services Inc                                     13925 42nd Rd N                                                 Royal Palm Beach   FL           33411
 Broward Sheriff's Office                                               Attn Finance/Special Revenue                                    Fort Lauderdale    FL           33310
 Brown & Brown Of Kentucky, Inc                                         PO Box 9                                                        Columbia           KY           42728
 Brown & Brown Wrecker Service                                          3854 N Peachtree Rd                                             Atlanta            GA           30341
 Brown Farms                                                            275 Renee Dr                                                    Deer Lodge         TN           37726
 Brown, Ariana Jade                                                     Address on File
 Brown, Bruce David                                                     Address on File
 Brown, Duke Dacosta                                                    Address on File
 Brown, Everette                                                        Address on File
 Brown, Ian Anthony                                                     Address on File
 Brown, Mickeyvin Labrent                                               Address on File
 Brown, Qwinton Patrick                                                 Address on File
 Brown, Sterling                                                        Address on File
 Browns Family Enterprise                                               130 Bluefield Ave                                               Lakeland           FL           33801
 Browns Funeral Home                                                    1004 S Dixie Hwy                                                Lantana            FL           33462-4611
 Brr Carrier LLC                                                        314 Forest Parkway Dr                                           Ballwin            MO           63021
 Bruce Thacker Leased To Horizon Transport                              PO Box 9796                                                     Panama City        FL           32417
 Bruce, Lizahira                                                        Address on File
 Bruner Logistics LLC                                                   209 S Currie Dr                                                 Sanford            NC           27330
 Bruno Family Trucking                                                  3331 SW 175th Ave                                               Miramar            FL           33029
 Brute Logistics LLC                                                    2520 King Arthur Dr                                             Monroe             NC           28110
 Bryan Auto Transport Inc                                               144 Alameda Drive                                               Kissimmee          FL           34743
 Bryan Hyde                                                             Address on File
 Bryan Pacelli                                                          Address on File
 Bryant, Spring M                                                       Address on File
 Bryson Computer Services, LLC                                          1706 Nemours Dr NW - Ste 101                                    Kennesaw           GA           30152



Off Lease Only LLC, et al.                                                                                                                                                           Page 25 of 155
                                                Case 23-11389-CTG              Doc 1-1         Filed 09/07/23   Page 26 of 155
                                                                                    Creditor Matrix
                                                                                   as of September 6, 2023
                    Creditor Name              Attention                 Address 1                  Address 2    Address 3              City        State       Zip       Country
 Bs Express Inc                                            1412 Meridian St                                                  Bristol           PA           19007
 Bss Auto Transport LLC                                    2157 Morrison Avenue                                              Union             NJ           07083
 Buchanan Auto Transport                                   PO Box 9205                                                       Coral Springs     FL           33075
 Buck Transportation Corp                                  6250 NW 173rd St #321                                             Hialeah           FL           33015
 Buckeye Lake North Shore Holdings LLC                     2583 Canal Dr                                                     Millerport        OH           43046
 Buckeye Transport Group LLC                               337 Deer Creek Trail                                              Cortland          OH           44410
 Buckley, Angela Jo                                        Address on File
 Buckley, Bobbie J                                         Address on File
 Budan, Elena Ramona                                       Address on File
 Buddemeyer, Ruth Ann                                      Address on File
 Budget Auto Carriers LLC                                  10822 Oak Dr                                                      Hudson            FL           34669
 Budget Fence And Gate Systems                             1109 25th Street Suite F                                          West Palm Beach   FL           33406
 Buds Auto Repair And Towing LLC                           3427 Recker Hwy                                                   Winter Haven      FL           33880
 Buergo's Trucking LLC                                     10901 SW 161 Pl                                                   Miami             FL           33196
 Bullard, Darrion                                          Address on File
 Bulldog Transport Corp                                    5891 Desoto Blvd N                                                Naples            FL           34120
 Bullet Auto Logistics LLC                                 1005 SW 121 St Ct                                                 Miami             FL           33184
 Bullet Express Inc                                        345 Lake Avenue N                                                 Worcestar         MA           01605
 Bulls Performance                                         204 S Ethel St                                                    Selma             NC           27576
 Bulls Transportation LLC                                  364 Fulton St                                                     Westbury          NY           11590
 Bump, Carolin J.                                          Address on File
 Bumper 2 Bumper Transport LLC                             138 Shadow Trail                                                  Longwood          FL           32750
 Bumper Man, Inc                                           1432 Airport Blvd                                                 Mesquite          TX           75181-1339
 Bumperdoc Opa Locka                                       13090 NW 43rd Ave Units 2-4                                       Opa Locka         FL           33054
 Bunch Auto Transport LLC                                  801 Westwind Lane                                                 Fern Park         FL           32730
 Bunyore Transport                                         250 Cold Stream Ave                                               Merritt Island    FL           32953
 Burdine Transportation                                    6655 Marshall Dr                                                  Morris Chapel     TN           38361
 Bureau Of Elevator Safety                                 PO Box 6300                                                       Tallahassee       FL           32314-6300
 Burgin Auto Movers                                        13016 Eastfield Road                                              Huntersville      NC           28078
 Burgos, Raymond                                           Address on File
 Burkey, Gregory I                                         Address on File
 Burruezo & Burruezo, PLLC                                 911 Outer Road                                                    Orlando           FL           32814
 Bushell, James Enos                                       Address on File
 Business Talent Group, LLC              Btg               PO Box 7410898                                                    Chicago           IL           60674-0898
 Business View Publishing                                  2422 Palm Ridge Rd Suite 820                                      Sanibel           FL           33957
 Butler Express Carriers                                   701 Brickell Ave                                                  Miami             FL           33131
 Butler, Drake Bradford                                    Address on File
 Butler, Elizabeth Alexandria                              Address on File
 Buzimkich, Suzana                                         Address on File
 Bws Auto Transport                                        4114 Lambert Avenue                                               Louisville        KY           40218
 Byles, David Eduardo                                      Address on File
 Byron R Ison Sr LLC                                       2310 Surrey Rd                                                    Jeffersonville    IN           47130
 Bzb                                                       9703 Recycle Road                                                 Orlando           FL           32824
 C & D Auto Carrier                                        1200 Fuller Road                                                  Linden            NJ           07036
 C & D Auto Trans Inc                                      8901 NW 178 Th Street                                             Hialeah           FL           33018
 C & S Roofing Co                                          PO Box 730                                                        Dunnellon         FL           34430
 C And G Fast Trucking LLC                                 17817 SW 144 Ct                                                   Miami             FL           33177
 C Antonio Transportation LLC                              1160 NW 126th Street                                              North Miami       FL           33162
 C B Wholesale Autos Inc                                   1231 Roebuck Ct                                                   West Palm Beach   FL           33401
 C F Wheels                                                3609 Old Winter Garden Rd                                         Orlando           FL           32805
 C Hobbs Auto Logistics LLC                                15932 Hibiscus Drive                                              Hagertown         MD           21740
 C Landscaping Services
 C&B Carriers Inc.                                         1911 Grayson Highway                                              Grayson           GA           30017
 C&B Transport LLC                                         23 Kacie Lynn Court                                               Jackson           NJ           08527
 C&C Auto Transport LLC                                    130 Southpointe Drive                                             Jackson           TN           38305
 C&C Car Carrier Inc                                       1924 SW 151Th Pl                                                  Miami             FL           33185
 C&C Transport Of South West Florida                       3104 S Omar Ave                                                   Tampa             FL           33629
 C&D Transportation Inc                                    6861 Julia Gardens Dr                                             Coconut Creek     FL           33073
 C&D Trucking                                              459B Bowling Br Road                                              Cottontown        TN           37048
 C&F Finance Company                                       PO Box 744729                                                     Atlanta           GA           30374
 C&G Fast Trucking LLC                                     17817 SW 144 Ct                                                   Miami             FL           33177
 C&J Transport                                             868 Noa Street                                                    Fort Pierce       FL           34982



Off Lease Only LLC, et al.                                                                                                                                               Page 26 of 155
                                                 Case 23-11389-CTG                      Doc 1-1       Filed 09/07/23   Page 27 of 155
                                                                                             Creditor Matrix
                                                                                          as of September 6, 2023
                    Creditor Name              Attention                         Address 1                 Address 2    Address 3             City         State       Zip       Country
 C&J Transporting                                                  PO Box 1654                                                      Fairmont          NC           28340
 C&K Express Lines Inc                                             440 Saddle Bag Ln                                                Lakeland          FL           33801
 C&L Enterprises                                                   3305 Craftsman St                                                Johns Creek       GA           30097
 C&L Trucking LLC                                                  234 56th St Apt A                                                West New York     NJ           07093
 C&O Transport                                                     13030 Oldstage Coach Rd                                          Laurel            MD           20708
 C&R Transport LLC                                                 10062 W Highland Ave                                             Phoenix           AZ           85037
 C&S Calibration And Repair LLC                                    15057 Key Lime Blvd                                              Loxahatchee       FL           33470
 C&S Matos Trucking LLC                                            17745 NW 36 Street                                               Miami Gardens     FL           33056
 C&T Transport And Logistics LLC                                   18322 NW 68th Avenue                                             Hialeah           FL           33015
 C.B. Wholesale Autos, Inc                                         124 Miller Way                                                   Lake Park         FL           33403
 C-4 Analytics, LLC                                                701 Edgewater Drive Ste 400                                      Wakefield         MA           01880
 Ca Towing, Inc                                                    8538 Bonita Isle Dr                                              Lake Worth        FL           33467
 Ca Wholesale Corp                                                 2500 W 6th Ave                                                   Hialeah           FL           33010
 Caa Transport                                                     7894 Chino Avenue                                                Ontario           CA           91761
 Caballero Alfonso, Dianny                                         Address on File
 Caballero Rivero Southern                                         15011 West Dixie Hwy                                             North Miami       FL           33181
 Caballero Transport LLC                                           1340 Karok St                                                    Orlando           FL           32828
 Caballero, Liudmary                                               Address on File
 Caballero, Yiliam                                                 Address on File
 Caban, Ashlee Iralis                                              Address on File
 Cabrales Trucking LLC                                             1116 Kathryn Street                                              Hurst             TX           76053
 Cabrera & David Inc                                               2117 W Palma Cir                                                 West Palm Beach   FL           33415
 Cabrera Ortiz, Jose I                                             Address on File
 Cabrera, Jorge Luis                                               Address on File
 Cabrera, Noelvi                                                   Address on File
 Cach, LLC                                                         887 Donald Ross Rs                                               Juno Beach        FL           33408
 Cach, LLC                          William C. Grossman Law Pllc   725 Primera Blvd                                                 Lake Mary         FL           32746
 Cadena, Christina Laura                                           Address on File
 Cadillac Enterprise Inc                                           2676 Lake Haven Rd                                               West Palm Beach   FL           33415
 Cadle, Carl Leonard                                               Address on File
 Cadre Transport Inc                                               11350 NW 29 St                                                   Sunrise           FL           33323
 Caesar, Destiny Janiese                                           Address on File
 Caez, Elias Eduardo                                               Address on File
 Caf American Transportation                                       17675 32nd Ln N                                                  Loxahatchee       FL           33470
 Cage, Graham                                                      Address on File
 Cahill, Tiffany Lauren                                            Address on File
 Caine, Joseph Murray                                              Address on File
 Cairo Jm Car Parts LLC                                            4930 E 11th Ave                                                  Hialeah           FL           33013
 Cakman, Kerem                                                     Address on File
 Calana's Transport Inc                                            1101 SW 92nd Ave                                                 Miami             FL           33174
 Calderon, Enger Miguel                                            Address on File
 Calendly
 Cali Transmission Corp                                            8258 West 8 Ave                                                  Hialeah           FL           33014
 Call Center Auto Transport LLC                                    4700 Millenia Blvd                                               Orlando           FL           32839
 Callander, Christopher Bryant                                     Address on File
 Callari, Thomas Joseph                                            Address on File
 Callis, Bryan C                                                   Address on File
 Caloosa Logistics Inc                                             910 Hollister Ave                                                Lehigh Acres      FL           33974
 Calvary Auto Transport LLC                                        2323 Ramsdale Dr Se                                              Palm Bay          FL           32909
 Calvary Chapel Of Ft Lauderdale                                   2401 W Cypress Creek Road                                        Ft Lauderdale     FL           33309
 Calvet Trucking LLC                                               1950 SW 122 Ave                                                  Miami             FL           33175
 Calvo, Maria                                                      Address on File
 Camara-Longden, Brooke Cortney                                    Address on File
 Camberos, Luis M                                                  Address on File
 Camden County Tax Commissioner                                    200 East 4th Street                                              Woodbine          GA           31569-3748
 Camilas Towing Corp                                               9640 NW 42 Ct                                                    Sunrise           FL           33351
 Camille, Elvis                                                    Address on File
 Camille, Tavaris                                                  Address on File
 Campbell, Thomas                                                  Address on File
 Campus Usa Credit Union
 Canals Auto Transport Inc                                         4681 NW 9 Stsreet                                                Miami             FL           33126
 Canciobello Transport Inc                                         16455 SW 97th Terr                                               Miami             FL           33196



Off Lease Only LLC, et al.                                                                                                                                                      Page 27 of 155
                                                          Case 23-11389-CTG                        Doc 1-1          Filed 09/07/23   Page 28 of 155
                                                                                                         Creditor Matrix
                                                                                                        as of September 6, 2023
                   Creditor Name                       Attention                            Address 1                    Address 2    Address 3              City         State       Zip       Country
 Canda LLC                                                                    3913 Lee Hills Road                                                 Columbia           SC           29209
 Candelaria, Ziomara                                                          Address on File
 Cangar Inc                                                                   6040 Grove Blvd                                                     Punta Gorda        FL           33982
 Cannon Logistics                                                             6582 SW 128th Place                                                 Ocala              FL           34473
 Canoe Creek Auto Transport LLC                                               4330 Fanny Bass Ln                                                  St Cloud           FL           34772
 Cap1 Rewards
 Capacity Insurance Company                                                   1300 Sawgrass Corporate Parkway                                     Sunrise            FL           33323
 Cape Coral Carriers Corp                                                     1129 NW 27th Avenue                                                 Cape Coral         FL           33993
 Capers, Marlon Kardell                                                       Address on File
 Capital Auto Transport Inc                                                   225 S Swoope Avenue                                                 Mailtand           FL           32751
 Capital Auto Transport LLC                                                   440 Amberley Dr                                                     Lexington          KY           40515
 Capital LLC                                                                  PO Box 7204                                                         Myrtle Beach       SC           29572
 Capital One Auto Finance                                                     31066-1111 8058 Dominion Parkway                                    Plano              TX           75024
 Capital One Auto Finance                  Attn Dealer Collections-A Morton   8058 Dominion Pkwy                                                  Plano              TX           75024
 Capital One Auto Finance                  Attn Operational Accounting        7933 Preston Rd                                                     Plano              TX           75024
 Capital One Auto Finance                                                     PO Box 60511                                                        City Of Industry   CA           91716-0511
 Capital Scrap Metal LLC                                                      1610 N Powerline Road                                               Pompani Beach      FL           33069
 Capital Toyota, Lexus Of Chattanooga                                         5808 Lee Highway                                                    Chattanooga        TN           37421
 Capitalone Auto Finance                                                      PO Box 74777                                                        Atlanta            GA           30374
 Capitol Carpet Inc                                                           500 Industrial Way                                                  Boynton Beach      FL           33426
 Caplan, Caplan & Caplan Process Servers                                      12555 Orange Drive                                                  Davie              FL           33330
 Capotes Arias Inc.                                                           5543 Gaur Lne                                                       Lakeland           FL           33811
 Car & Truck Buyers Guide                                                     6404 NW 5th Way                                                     Ft Laudersale      FL           33309
 Car Carrier Logistics                     Car Carrier Group Logistics        15765 Country Club Drive                                            Chino Hills        CA           91709
 Car Carrier Mr                                                               6891 SW 40th St                                                     Miami              FL           33155
 Car Delivery Express Inc                                                     20740 SW 86 Pl                                                      Cutler Bay         FL           33189
 Car Go Auto Transport                                                        1515 N Frontage Road                                                Brownsville        TX           78521
 Car Haulers Corp                                                             4955 NW 199 Street Lot 296                                          Miami Gardens      FL           33055
 Car Keys 4 Less                                                              2621 NW 79th Ave                                                    Margate            FL           33063
 Car Keys Express                          Ikeyless LLC                       12101 Sycamore Station Place                                        Louisville         KY           40299
 Car Keys Express                                                             828 E Market St                                                     Louisville         KY           40206
 Car Moovers LLC                                                              PO Box 340683                                                       Tampa              FL           33694
 Car Mover Inc                                                                PO Box 219                                                          Hagaman            NY           12086
 Car Research Xrm                                                             Dept 5003                                                           Houston            TX           77210
 Car Saver
 Car Service LLC                                                              109 Sandpiper Palisades St                                          Hendersonville     NC           28792
 Car Steering                                                                 245 West 74 Pl                                                      Hialeah            FL           33014
 Car Store Towing                                                             12811 W Colonial Dr                                                 Winter Garden      FL           34787
 Car Trans Usa Inc.                                                           3301 NE 5th Avenue                                                  Miami              FL           33137
 Car Transport Auto                                                           4428 Monroe Ct                                                      Naperville         IL           60564
 Car Transport Fl Inc.                                                        201 S Bay Street                                                    Bunnell            FL           32110
 Car Xpo LLC                                                                  1428 Collins Avenue                                                 Miami Beach        FL           33139
 Caraballo , Jehovel                                                          Address on File
 Caracas Auto Transport LLC                                                   8421 Narcooseeee Rd Apt 9103                                        Orlando            FL           32827
 Caravan Express Inc                                                          4144 Meadowsweet Drive                                              Dayton             OH           45424
 Carbone, Michael Peter                                                       Address on File
 Carbonell, Rafael Elia                                                       Address on File
 Carborg Inc                                                                  1153 Lee St Suite 117                                               Des Plaines        IL           60016
 Cardenas Logistics LLC                                                       5275 Images Circle Apt 102                                          Kissimnee          FL           34746
 Cardenas Ramos, Lina Valeria                                                 Address on File
 Cardenas, Maynor                                                             Address on File
 Cardentey Granda, Yariel                                                     Address on File
 Cardiff Road Partners, LLC                                                   7720 Westview                                                       Houston            TX           77055
 Cardinal Logistic Services                                                   10775 SW 190 Street                                                 Miami              FL           33157
 Career Builders
 Carenza, Anthony G.                                                          Address on File
 Carfax Inc                                                                   16630 Collection Center Drive                                       Chicago            IL           60693
 Carfinance Capital                                                           7525 Irvine Center Drive                                            Irvine             CA           92618
 Carfinance Capital LLC                                                       3 Christy Drive Suite 201                                           Chadds Ford        PA           19317
 Cargigi                                                                      184 Technology Drive                                                Irvine             CA           92618
 Cargo Car Express LLC                                                        12001 Old Columbia Pike 616                                         Silver Springs     MD           20904
 Cargo King Inc.                                                              PO Box 75                                                           Spokane            WA           99210



Off Lease Only LLC, et al.                                                                                                                                                                     Page 28 of 155
                                                      Case 23-11389-CTG            Doc 1-1           Filed 09/07/23   Page 29 of 155
                                                                                          Creditor Matrix
                                                                                         as of September 6, 2023
                     Creditor Name                 Attention                Address 1                     Address 2    Address 3             City         State       Zip       Country
 Cargo Vikings Inc                                             222 2nd Ave - Ste 1700                                              Nashville         TN           37201
 Cargo Vikings Inc                                             2600 S Shore Blvd                                                   League City       TX           77573
 Cargurus                                                      PO Box 419008                                                       Boston            MA           02241-9008
 Caribean S Airconditioning          Of Florida Inc            13275 SW 136th Street                                               Miami             FL           33186
 Caribean Transport Inc                                        3800 Palm Ave Apt 110                                               Hialeah           FL           33012
 Caridad, Alex                                                 Address on File
 Carillo Truck Services LLC                                    6005 Hollow Drive                                                   Naples            FL
 Carl Black                                                    11500 E Colonial Drive                                              Orlando           FL           32817
 Carlin, Brian Ariel                                           Address on File
 Carlogix Auto Transport LLC                                   2711 Callaway Ln                                                    Kissimmee         FL           34744
 Carlos Ametller                                               Address on File
 Carlos Escobar Towing                                         2177 Scott Ave                                                      West Palm Beach   FL           33409
 Carlos M Towing Inc                                           PO Box 6582                                                         West Palm Beach   FL           33405
 Carlos Martinez                                               Address on File
 Carlos Reyes Lawn Service LLC                                 4620 37th Street E                                                  Bradenton         FL           34203
 Carlos Tire Auto Par                                          4168 Lake Worth Rd                                                  Lake Worth        FL           33461
 Carl's Tools & Equipment            Snap-On Tools             311 Se 9th Court                                                    Pompano Beach     FL           33060
 Carlson Fence Company Inc                                     8491 NW 64 Street                                                   Miami             FL           33166
 Carly Stapleton                                               410 W 25th St 1A                                                    New York          NY           10001
 Carmas Trucking Corp.                                         605 NW 72 Avenue                                                    Miami             FL           33126
 Carmax                                                        2000 Highridge Road                                                 Boynton Beach     FL
 Carmax                                                        7420 State Road 84                                                  Davie             FL           33317
 Carmax                                                        1300NW 98th Court                                                   Doral             FL           33172
 Carmax Auto Transport                                         1208 Seminole Ct                                                    Kissimmee         FL           34744
 Carmono LLC                                                   10 George St Unit G                                                 Bensenville       IL           60106
 Carnow, Inc.                                                  25 South Park Street                                                Hanover           NH           03755
 Caro Transport Inc                                            21914 SW 97th Place                                                 Cutler Bay        FL           33190
 Caro Transport Inc                                            PO Box 14 1862                                                      Coral Gables      FL           33114
 Carolina Auto Auction                                         140 Webb Rd                                                         Williamston       SC           29697
 Carolina Carriers Of Mt. Airy                                 PO Box 1623                                                         Mt Airy           NC           27030
 Carolina Logistics Inc.                                       4450 Parris Bridge Road                                             Boiling Springs   SC           29316
 Carolina Transport Logistics Inc                              120 Dogwood Road                                                    Candler           NC           28715
 Carolina United Vision LLC                                    6308 Cory Brett Lane                                                Charlotte         NC           28278
 Carols Trucking                                               PO Box 94                                                           Carversville      PA           18913
 Carousel Insurance Services                                   PO Box 1510                                                         Lake Forest       CA           92609-1510
 Carpenter Electric, Inc.                                      1333 53rd Street                                                    West Palm Beach   FL           33407-2206
 Carpenter, Grace                                              Address on File
 Carquest                                                      PO Box 404875                                                       Atlanta           GA           30384-4875
 Carquest Auto Parts Store           For Orlando               PO Box 404875                                                       Atlanta           GA           30384
 Carrera, Joshua                                               Address on File
 Carrier Experts                                               PO Box 1660                                                         North Highlands   CA           95660
 Carrillo, Andres F                                            Address on File
 Carroll, Kenneth Wayne                                        Address on File
 Carroll's Auto Transport Inc.                                 17 Country Greens Dr                                                Bellport          NY           11713
 Carry My Auto LLC                                             467 Carriage Lane                                                   Raeford           NC           28376
 Carry Transportation Inc.                                     863 Bittersweet Drive                                               Northbrook        IL           60062
 Cars & Bikes Transport Inc                                    15 Hanks Street                                                     Lowell            MA           01852
 Cars & Coffee Centra
 Cars 2 Haul Express LLC                                       6720 Old Settlers Way                                               Dallas            TX           75236
 Cars Across Usa LLC                                           2400 SW 27th Ave                                                    Miami             FL           33145
 Cars Express Services Inc                                     6891 SW 40St                                                        Miami             FL           33155
 Cars Inc                                                      PO Box 440065                                                       Aurora            CO           80044
 Cars Link Logistics LLC                                       1309 Waylon Ave                                                     Gastonia          NC           28054
 Cars Towing                                                   4045 W 82nd Ave                                                     Merrillville      IN           46410
 Cars.Com                            Classified Ventures LLC   PO Box 857786                                                       Minneapolis       MN           55485-7786
 Carsdirect.Com                                                Dept La 23419                                                       Pasadena          CA           91185
 Carsforsale.Com                                               PO Box 91537                                                        Sioux Falls       SD           57109
 Carship, Inc.                                                 1859 Leeds Rd                                                       Bolingbrook       IL           60490
 Carsmetics Of Delaware Valley 302                             1207 Rt 73 South                                                    Mount Laurel      NJ           08054
 Carsoup.Com                                                   1401 E American Blvd #6                                             Bloomington       MN           55425
 Carter Water                                                  715 West Sr 434 Suite O                                             Longwood          FL           32701
 Carter, Alisa Michelle                                        Address on File



Off Lease Only LLC, et al.                                                                                                                                                     Page 29 of 155
                                                        Case 23-11389-CTG            Doc 1-1         Filed 09/07/23   Page 30 of 155
                                                                                          Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name                   Attention                  Address 1                  Address 2    Address 3               City        State       Zip       Country
 Carter, Danille Elizabeth                                       Address on File
 Carter, Dejauntray Josiah Tijuane                               Address on File
 Carter, Paul                                                    Address on File
 Cartogo Inc                            Deyeva,Yuliya            8634 W Summerdale Ave Apt 3S                                      Chicago            IL           60656
 Carver, Alex Bryant                                             Address on File
 Casagi Auto Transport Inc-Fl                                    100 Kings Point Dr                                                Sunnt Isles        FL           33160
 Casal Transportation Inc                                        8625 NW 2nd Terr                                                  Miami              FL           33126
 Casiano Transport Inc - Pa Only                                 19 Governours Pl                                                  York               PA           17402
 Casimir, Jeff Volney                                            Address on File
 Casimir, Luc J                                                  Address on File
 Caspian Transport LLC                                           27409 Detroit Rd                                                  Westlake           OH           44145
 Cassel, Trey Anthony                                            Address on File
 Casselberry Towing                                              PO Box 181603                                                     Casselberry        FL           32718
 Cassidy, Kristina D                                             Address on File
 Castaneda, Andrea Maria                                         Address on File
 Castellanos, Ruth                                               Address on File
 Castell's Auto Transport LLC                                    2698 Lake Jackson Cir                                             Apopka             FL           32703
 Castelly, Damien Tyler                                          Address on File
 Castillo Auto Transport                                         1118 Brooks Quinn Road                                            Rose Hill          NC           28458
 Castillo Gutierrez, Jean Paul                                   Address on File
 Castillo, Gustavo Daniel                                        Address on File
 Castinez Trucking LLC                                           4526 Regal Drive                                                  Baytown            TX           77521
 Castle Auto Transport LLC                                       212 W Troy Street                                                 Dothan             AL           36303
 Castle Transport                                                857 Malcom Chandler                                               West Palm Beach    FL           33401
 Castor's Way Transport                                          16537 N Hwy 329                                                   Reddick            FL           32686
 Castro Trucking Tech                                            5313 Kailua Lane                                                  Orlando            FL           32812
 Castro, Anthony Manuel                                          Address on File
 Castro, Hilda Jisel                                             Address on File
 Caswell, Tyrone Davis                                           Address on File
 Catalan, Jose Alexander                                         Address on File
 Catalyst Repository Systems Inc                                 1860 Blake Street Suite 700                                       Denver             CO           80202
 Catano, Ricardo                                                 Address on File
 Catanzaro, Joseph                                               Address on File
 Catarra, Reyna M                                                Address on File
 Catlin Specialty Insurance Company                              4250 N Drinkwater Blvd Ste 300                                    Scottsdale         AZ           85251
 Caulfield & Wheeler, Inc                                        7900 Glades Road #100                                             Boca Raton         FL           33434
 Cav Auto Transport Inc                                          9313 3rd Ave                                                      Orlando            FL           32824
 Cbr Transport Llc                                               61 Courter Ave                                                    Wayne              NJ           07470
 Cbre, Inc                                                       Wells Forgo Lockbox-E2001-049                                     El Monte           CA           91731
 Cbs Outdoor                                                     PO Box 33074                                                      Newark             NJ           07188
 Cca Logistics Inc                                               707 Osterman Ave Unit 1332                                        Deerfield          IL           60015
 Ccap Auto Lease Ltd                                             1010 W Mockingbird Lane                                           Dallas             TX           75247-5126
 C-Class Transport Inc                                           1230 Arrowhead Point Rd                                           Loxahatchee        FL           33470
 Ccn Trucking Inc                                                1861 SW Norman Lane                                               Port St Lucie      FL           34984
 Ccs Transporting Inc                                            2600 NW 42nd Ave                                                  Lauderhill         FL           33313
 Cdk Global                                                      PO Box 88921                                                      Chicago            IL           60695-1921
 Cdl Transport Services Inc                                      6752 W Sample Rd                                                  Coral Springs      FL           33067
 Cdl Transport Services Inc.                                     23359 SW 55 Way                                                   Boca Raton         FL           33433
 Cdt Logistics Inc.                                              6160 Glen Eagles Ct                                               Falls Church       VA           22044
 Cdw Direct                                                      PO Box 75723                                                      Chicago            IL           60675-5723
 Cecere, Ann Marie                                               Address on File
 Cedano, Noemi                                                   Address on File
 Centauro Enterprises Inc. Fl-Only                               13330 SW 43 Street                                                Miami              FL           33175
 Center Consoles Only LLC                                        11451 SW 110th Lane                                               Miami              FL           33176
 Center Florida Expressway Authority                             525 South Magnolia Ave                                            Orlando            FL           32801
 Centerpoint Energy Resources                                    PO Box 2883                                                       Houston            TX           77252-2883
 Centra Care                                                     2600 Westhall Lane                                                Maitland           FL           32751
 Central Carrier Inc                                             14974 SW 32nd Terrace                                             Miami              FL           33185
 Central Dispatch
 Central Electric Company               Center Enterprises Inc   7405 Railhead Lane                                                Houston            TX           77086
 Central Florida Chrysler Jeep Dodge                             8675 Commodity Circle                                             Orlando            FL           32819
 Central Florida Expressway Authority                            PO Box 585070                                                     Orlando            FL           32858-5070



Off Lease Only LLC, et al.                                                                                                                                                      Page 30 of 155
                                                            Case 23-11389-CTG                Doc 1-1         Filed 09/07/23   Page 31 of 155
                                                                                                    Creditor Matrix
                                                                                                 as of September 6, 2023
                     Creditor Name                        Attention                    Address 1                  Address 2    Address 3             City            State       Zip       Country
 Central Florida Remanufactory Corp                                      2526 W Washington St                                              Orlando              FL           32805-1257
 Central Florida Toyota & Scion                                          11020 S Orange Blossom Trail                                      Orlando              FL           32837
 Central Florida Transmission Repair                                     4685 Old Winter Garden Rd                                         Orlando              FL           32811-1737
 Central Florida Transportation LLC                                      16605 Sunrise Lakes Blvd           Suite 4                        Clermont             FL           34714
 Central Florida Truck Accessories                                       3900 N John Young Pkwy                                            Orlando              FL           32804
 Central Palm Beach County Chamber Of Commerce                           PO Box 1062                                                       Loxahatchee          FL           33470
 Central Penn Transport LLC                                              18 Vinemont Rd                                                    Reinholds            PA           17569
 Central Transportation Fleet Inc.                                       10947 Lanesboro Ct                                                Orlando              FL           32825
 Centralbdc LLC                                                          1200 N Federal Highway #207                                       Boca Raton           FL           33432
 Century Auto Corp                                                       32 White Marsh Circle                                             Orlando              FL           32824
 Century Roofing Specialists LLC                                         4260 Church Street Unit 1402                                      Sanford              FL           32771
 Century Transport Services LLC                                          20401 SW 317 Street                                               Homestead            FL           33030
 Centurylink                                  Business Services          PO Box 52187                                                      Phoenix              AZ           85072-2187
 Cepero Transport Service Inc                                            465 Cadenza Drive                                                 Orlando              FL           32807
 Cerberus Off Lease Only LLC                                             875 Third Avenue 14th Floor                                       New York             NY           10022
 Cerberus Operations And Advisory Company                                875 Third Avenue 14th Floor                                       New York             NY           10022
 Cerberus Technology Solutions                                           875 Third Avenue 14th Floor                                       New York             NY           10022
 Ceridian                                                                PO Box 10989                                                      Newark               NJ           07193
 Cerna, Ismael Andres                                                    Address on File
 Cerna, Martha                                                           Address on File
 Certified Auto Carriers Inc                                             723 Primrose Willow Way                                           Apopka               FL           32712
 Certified Auto Relocation Service LLC                                   PO Box 11                                                         Sadieville           KY           40370
 Certified Court Reporting, LLC                                          231 Ponce De Leon Street                                          Royal Palm Beach     FL           33411
 Certified Logistics                                                     110 Cottage Lane                                                  Blauvelt             NY           10913
 Cervantes, Alfonso ZJ                                                   Address on File
 Cervantes, Esther                                                       Address on File
 Ceso Inc                                                                3601 Rigby Rd - Ste 300                                           Miamisburg           OH           45342
 Ceus, Marie                                                             Address on File
 Cf Advisory                                                             4521 Pga Blvd #106                                                Palm Beach Gardens   FL           33418
 Cfy Auto Transport Corp                                                 11407 Waveland Way                                                Tampa                FL           33624
 Cg Auto Transport                                                       17909 Us Hwy 41                                                   Spring Hill          FL           34610
 Cgl Trans Inc                                                           5711 SW 24 Avenue                                                 Fort Lauderdale      FL           33312
 Ch Auto Transport                                                       1473 Hillside Landing Drive                                       Tarpon Springs       FL           34688
 Ch Transport Inc                                                        9383 Bay Colony Drive Unit 25                                     Des Plaines          IL           60016
 Ch Trucking                                                             10831 Sir Barton Circle                                           Damascus             MD           20872
 Chad Transportation Services LLC                                        3870 Nara Drive                                                   Florissant           MO           63033
 Chagolla, Jose Angel                                                    Address on File
 Challas Logistics Llc                                                   1304 Wilson St                                                    Tupelo               MS           38804
 Challenge Transport Inc                                                 109 Ladybug Dr                                                    Port Saint Lucie     FL           34957
 Chamber Of Commerce Of The Palm Beaches                                 401 North Flagler Dr                                              West Palm Beach      FL           33401
 Champion Auto Brokers/Champion Car Carriers                             5600 Collins Ave                                                  Miami Beach          FL           33140
 Champion Car Carriers Inc                                               2961 NW 174th Street                                              Miami Gardens        FL           33056
 Champion Hauling LLC                                                    418 Garden Street                                                 Kissimmee            FL           34744
 Champion Line Inc                                                       6942 Pine Lake Ln                                                 Mint Hill            NC           28227
 Champion Porsche                                                        500 West Copans Rd                                                Pompano Beach        FL           33064
 Chance Trucking                                                         2450 Paradise Lane                                                Douglas              GA           31535
 Chaney, Kenneth Demon                                                   Address on File
 Chang Transport Solution Inc.                                           1790 E 1st                                                        Hialeah              FL           33010
 Change Auto Transport                                                   2701 Del Paseo Road                                               Sacramento           CA           95835
 Channel Letter World
 Chapa, Issiah Auray                                                     Address on File
 Chaparral Trucking                                                      13950 62nd St N                                                   Clearwater           FL           33760
 Chapman, Samuel David                                                   Address on File
 Charles Edmonds Trucking LLC                                            400 West Central Ave                                              Avis                 PA           17721
 Charles Epic Towing LLC                                                 3175 S Congress Ave                                               Palm Springs         FL           33461
 Charles Saintil, Serge Andre                                            Address on File
 Charlie's Auto Glass Installers              Future Glass Enterprises   4373 NW 7th Street                                                Miami                FL           33126
 Charlie's Auto Glass Installers Of Pompano   Gf Glass Enterprises Inc   4091 N Dixie Hwy                                                  Pompano              FL           33064
 Charlies Towing                                                         556 1st St                                                        Vero Beach           FL           32962
 Charly One LLC                                                          1770 NE 191st St Apt 808                                          Miami                FL           33179
 Chart Brothers Transport LLC                                            6940 Whispering Wind Way                                          Stone Mountain       GA           30087
 Charter Communications Holdings LLC          Spectrum                   2251 Lucien Way                                                   Maitland             FL           32751



Off Lease Only LLC, et al.                                                                                                                                                                Page 31 of 155
                                                         Case 23-11389-CTG                   Doc 1-1         Filed 09/07/23   Page 32 of 155
                                                                                                   Creditor Matrix
                                                                                                 as of September 6, 2023
                    Creditor Name                      Attention                      Address 1                   Address 2    Address 3               City            State       Zip       Country
 Chase                                                                   Cardmember Services                                               Charlotte              NC           28201-1423
 Chase Auto Finance                         Recovery Support, Az1-1196   201 N Central Ave Floor 12                                        Phoeniz                AZ           85004
 Chase Bank                                                              4054 Willow Lake Blvd                                             Memphis                TN           38118-7045
 Chase Car & Truck                                                       13702 Wickersham Ln                                               Houston                TX           77077
 Chase Card Services                                                     PO Box 1423                                                       Charlotte              NC           28201-1423
 Chase Custom Finance                                                    PO Box 29588                                                      Phoenix                AZ           85038
 Chase, Lee Phillip                                                      Address on File
 Chase, Neal                                                             Address on File
 Chatfield, Douglas Wayne                                                Address on File
 Chatham County Tax Commissioner                                         1145 Eisenhower Dr                                                Savannah               GA           31406
 Chavarria Garcia, Jose Guadalupe                                        Address on File
 Chavez, Jonathan                                                        Address on File
 Chaviano Towing Corp                                                    6288 W 22 Ln                                                      Hialeah                FL           33016
 Checkr                                                                  1 Montgomery Street Suite 2400                                    San Francisco          CA           94104
 Cheek, Albert Edward                                                    Address on File
 Chelsea Towing Corp                                                     2346 NW 151 St                                                    Opa Locka              FL           33054
 Cheney Brothers, Inc.                                                   One Cheney Way                                                    Riviera Beach          FL           33404-7000
 Cher-Aime, Philippe                                                     Address on File
 Cherelus, Wilson                                                        Address on File
 Cherico, Michael Kenneth                                                Address on File
 Cherokee Transport & Towing                                             18277 NE 4th Ct                                                   N Miami Beach          FL           33162
 Cheshier, Fred                                                          Address on File
 Cheshire Cat Transport                                                  PO Box 250                                                        Fort White             FL           32038
 Cheyenne Logistics LLC                                                  944 Lone Star Drive                                               O Fallon               MO           63366
 Chh Trucking Corp                                                       1480 W 46th Street Apt 105                                        Hialeah                FL           33012
 Children's Diagnostic & Treatment Center                                1401 South Federal Highway                                        Fort Lauderdale        FL           33316
 Chima Auto Transport Inc                                                10420 SW 8th St                                                   Pembroke Pines         FL           33025
 Chin, Cory Anthony                                                      Address on File
 Chin, Jason William                                                     Address on File
 Chins Transport                                                         3163 Berry Ln Apt 59                                              Roanoke                VA           24018
 Chiny, Mourad                                                           Address on File
 Chirino, Yanaike                                                        Address on File
 Choi, Chong Hwan                                                        Address on File
 Choice Carrier Corp                                                     610 12B Rd                                                        Bourbon                IN           46504
 Chopper Transport Inc                                                   121 Waters Edge Way                                               Fayetteville           GA           30215
 Chorolo Logistics Corp                                                  20199 E Shady Ridge Rd                                            Parker                 CO           80134
 Chowdhury, Rezaul K                                                     Address on File
 Chris Auto Transport Inc                                                215 Miller Mac Road                                               Apollo Beach           FL           33572
 Chris Kjell Kiador Arnlind                                              Address on File
 Chris L & D Auto Transport Inc                                          5055 NW 74th Ave                                                  Miami                  FL           33166
 Christ, Martin Benjamin                                                 Address on File
 Christian Hauling - Fl Only                                             9207 NW 80 Street                                                 Tamarac                FL           33321
 Christian, Jeremi Shunrell                                              Address on File
 Christianson, Tanner Ray                                                Address on File
 Christlieb-Cook, Ejola                                                  Address on File
 Christlieb-Cook, Ejola                                                  Address on File
 Christopher James Swick                                                 Address on File
 Chrome Data                                                             PO Box 7410265                                                    Chicago                IL           60674
 Chrysler Capital                                                        5201 Rufe Snow Dr Ste 400                                         North Richland Hills   TX           76180-6036
 Chubb Combined Insurance Company                                        5277 Paysphere Circle                                             Chicago                IL           60674-0052
 Churchs Transportation LLC                                              6883 Bigwood Road                                                 Fayetteville           NC           28314
 Chutzpah Transportation LLC                                             11218 Legato Way                                                  Silver Springs         MD           20901
 Cidoine, Guinex                                                         Address on File
 Cigna Health And Life Insurance Company                                 PO Box 644546                                                     Pittsburgh             PA           15264-4546
 Cintas Corp                                                             PO Box 630910                                                     Cincinnati             OH           45263-0910
 Cintas Corp                                                             PO Box 740855                                                     Cincinnati             OH           45274-0855
 Cintas Fire Protection                                                  Cintas Fas Lockbox 636525                                         Cincinnati             OH           45263-6525
 Cintas First Aid And Safety 0291                                        PO Box 631025                                                     Cincinnati             OH           45263-1025
 Cipollone, Cameron James                                                Address on File
 Circle Grafics
 Circle Lion Transportation Inc                                          12289 Pembroke Rd #25                                             Pembroke Pines         FL           33025
 Circle Star Auto Transport Inc                                          2095 Jessa Dr                                                     Kissimmee              FL           34743



Off Lease Only LLC, et al.                                                                                                                                                                  Page 32 of 155
                                                          Case 23-11389-CTG                       Doc 1-1         Filed 09/07/23   Page 33 of 155
                                                                                                        Creditor Matrix
                                                                                                      as of September 6, 2023
                     Creditor Name                      Attention                         Address 1                    Address 2    Address 3            City           State       Zip       Country
 Circuit Civil Division                                                      PO Box 4667                                                        West Palm Beach    FL           33402
 Cirius, Myron                                                               Address on File
 Cirmus, Rood                                                                Address on File
 Cisco Systems Capital Crp                                                   PO Box 41602                                                       Philadelphia       PA           19101
 Citgo Auto Transport                                                        10825 SW 112 Avenue                                                Miami              FL           33176
 Citizen, Keenan Katrel                                                      Address on File
 City Auto Glass                                                             PO Box 629                                                         South St. Paul     MN           55075
 City County Credit Union
 City Electrical                                                             25333 SW 19th Ave - Apt 200                                        Miami              FL           33133
 City Electrical Contractors Co                                              15073 SW 57 St                                                     Miami              FL           33193
 City Kia Of Greater Orlando                                                 9550 S Orange Blossom Trail                                        Orlando            FL           32837
 City Of Brookshire                                                          4029 5th Street                                                    Brookshire         TX           77423
 City Of Coral Springs                                                       9500 W Sample Rd                                                   Coral Springs      FL           33065
 City Of Daly City                                                           PO Box 9003                                                        Redwood City       CA           94065
 City Of Delray Beach
 City Of Doral                                                                 8401 NW 53rd Terrace                                             Doral              FL           33166
 City Of Ft Lauderdale                       Transportation & Mobility Departme290 NE 3rd Ave                                                   Ft Lauderdale      FL           33301
 City Of Houston                                                               PO Box 203887                                                    Houston            TX           77216
 City Of Lake Worth                                                            Business License Division                                        Lake Worth         FL           33461
 City Of Lakeworth                                                             PO Box 30552                                                     Tampa              FL           33630
 City Of Miami Gardens                       Payment Processing Center         PO Box 742527                                                    Cincinnati         OH           45274
 City Of North Lauderdale                                                      701 SW 71st Ave                                                  North Lauderdale   FL           33068
 City Of North Lauderdale                                                      PO Box 152546                                                    Cape Coral         FL           33915-2546
 City Of Opa-Locka                                                             Payment Processing Center                                        Cinncinnati        OH           45274-2527
 City Of Orlando                             Attn: Opd Fiscal Management       1250 West South Street                                           Orlando            FL           32805
 City Of Orlando                             Code Enforcement Board            53 West Central Blvd                                             Orlando            FL           32801
 City Of Orlando                             First Floor                       400 S Orange Ave                                                 Orlando            FL           32802
 City Of Orlando                             Revenue Collection                PO Box 743808                                                    Atlanta            GA           30374-3808
 City Of Orlando                             Permitting Service Devision       PO Box 4990                                                      Orlando            FL           32802-4990
 City Of Orlando                             Orlando Police Fiscal Management PO Box 913                                                        Orlando            FL           32802
 City Of Orlando Fire                                                          78 W Central Ave                                                 Orlando            FL           32801
 City Of Sarasota                            Intrtsection Safety Program       PO Box 30305                                                     Tampa              FL           33630-3305
 City Of St Petersburg-Parking Collections                                     PO Box 292                                                       St Petersburg      FL           33731-0292
 City Of Sunrise                                                               10610 W Oakland Park Blvd                                        Sunrise            FL           33351
 City Of Tamarac Parks And Recreation        Attn Melissa Petron               6001 Nob Hill Rd                                                 Tamarac            FL           33321
 City Of West Palm Beach Fire Dept                                             PO Box 3366                                                      West Palm Beach    FL           33402
 City Painting & Waterproofing Inc                                             1397 NW 74 St                                                    Miami              FL           33147
 City Tire & Auto                                                              5000 Lake Worth Road                                             Greenacres         FL           33463
 City Towing LLC                                                               506 NE 3rd Street                                                Boynton Beach      FL           33435
 City Wide Facility Solutions                                                  5114 Okeechobee Blvd #109                                        West Palm Beach    FL           33417
 City Wide Of Miami                                                            PO Box 23065                                                     St Petersburg      FL           33742
 Civil, Makendel                                                               Address on File
 Cj Auto Transport Services Corp                                               6000 NW 39th St                                                  Miami              FL           33166
 Cjp Transport Services LLC                                                    2565 Monjego Bay Blvd                                            Kissimmee          FL           34746
 Cj's Auto Transport                                                           8335 Buffalo Rd                                                  Harborcreek        PA           16421
 Cj's Automotive Paint & Body                                                  3582 NW 52nd Street                                              Miami              FL           33180
 Cjs Transport LLC                                                             17325 Farm Rd 1090                                               Cassville          MO           65625
 Ckat Transport LLC                                                            2036 SW 166th Ave                                                Miramar            FL           33027
 Cky Transport LLC                                                             PO Box 771452                                                    Naples             FL           34112
 Cla Transport LLC                                                             4566 Fallen Timber Rd                                            Sulphur            KY           40070
 Claimfox Inc                                                                  905 Marconi Ave                                                  Ronkonkoma         NY           11779
 Clairvoyant, Wezley                                                           Address on File
 Clancy, Maria G                                                               Address on File
 Clarck, Nataline Joseph                                                       Address on File
 Clare Avenue Inc                                                              43 S Powerline Rd                                                Pompano Beach      FL           33069
 Claren Architecture + Design Inc                                              6400 Congree Ave Suite 2150                                      Boca Raton         FL           33487
 Clarivoy, Inc                                                                 1275 Kinnear Road                                                Columbus           OH           43212
 Clark & Son Transport LLC                                                     14524 Lake Price Drive                                           Orlando            FL           32826
 Clark, Brashad Mitchell                                                       Address on File
 Clark, Jonathan Mitchell                                                      Address on File
 Clarke, Anthony Eric                                                          Address on File
 Clarke, Jada Amieya                                                           Address on File



Off Lease Only LLC, et al.                                                                                                                                                                   Page 33 of 155
                                                       Case 23-11389-CTG                        Doc 1-1          Filed 09/07/23   Page 34 of 155
                                                                                                      Creditor Matrix
                                                                                                     as of September 6, 2023
                    Creditor Name                    Attention                           Address 1                    Address 2    Address 3            City            State       Zip       Country
 Clarke, Rochelle Ophelia                                                  Address on File
 Clarke, Tiffany Olivia                                                    Address on File
 Class Auto Transport                                                      20003 NW 78 Pl                                                      Hialeah             FL           33015
 Class Auto Transport Corp                                                 15476 NW 77 Ct                                                      Miami Lakes         FL           33016
 Class Rate Transporting LLC                                               32140 SW 196 Ave                                                    Homestead           FL           33030
 Classic Designs Automotive, LLC                                           2545 Silver Star Rd                                                 Orlando             FL           32804
 Classic Norman & Company Inc
 Classik Transport Inc                                                     3486 Medlin Dr                                                      Clearwater          FL           33761
 Classy Auto Sales Corp                                                    9551 NW 79 Ave Bay #2                                               Hialeah Gardens     FL           33016
 Claudio, Evan Charles                                                     Address on File
 Clavijo, Christopher Joshua                                               Address on File
 Clay Transport Inc                                                        25920 SW 125th Place                                                Homestead           FL           33032
 Clayton County Tax Commissioner                                           121 South Mcdonough St                                              Jonesboro           GA           30236
 Clayton, Zavia Demario                                                    Address on File
 Clc Auto Transport Inc                                                    PO Box 440667                                                       Miami               FL           33144
 Clean World Recycling Corp.                                               249 Perry Ave                                                       Greenacres          FL           33463
 Clear Channel Airports                                                    PO Box 847247                                                       Dallas              TX           75284-7247
 Clear Channel Outdoor                                                     PO Box 402379                                                       Atlanta             GA           30384-2379
 Clear Choice Auto Transport                                               529 Summer Mist Circle                                              Castle Rock         CO           80104
 Clear Choice Auto Transport LLC                                           11900 N Batshore Drive Apt#7                                        Miami               FL           33181
 Clear Flow Environmental
 Clear View Technology Solutions Inc.                                       221 Main Street Suite T                                            Hungtington Beach   CA           92648
 Clearcompany LLC                                                           PO Box 936918                                                      Atlanta             GA           31193-6918
 Clearly Promotions Inc                                                     3017 E Canyon Creek Circle                                         Layton              UT           84040
 Clearwater Towing                                                          1955 Carroll St                                                    Clearwater          FL           33765
 Clendenin, Kaleb Michael                                                   Address on File
 Clerk & Comptroller, Palm Beach County                                     200 W Atlantic Ave                                                 Delray Beach        FL           33444
 Clerk Of Courts                          Code Enforcement Intergov Svcs D111 NW 1 Street Suite 1750                                           Miami               FL           33128-1981
 Clerk Of The Court                       Po Box 4994                       425 North Orange Ave                                               Orlando             FL           32802
 Clerk, County Court                      Parking Violations Bureau         22 NW 1st Street 4th Floor                                         Miami               FL           33128-1847
 Cleverbridge                                                               75 Remittance Drive Suite 6018                                     Chicago             IL           60675-6018
 Climatic Carriers LLC                                                      10300 West Chicago Rd                                              Allen               MI           49227
 Clinton, Ira James Quirante                                                Address on File
 Clints Auto Transport                                                      21 Ashbury Woods Drive                                             Huntsville          AL           35824
 Clook Logistics Inc                                                        6520 NW 201 Terrace                                                Miami Gardens       FL           33015
 Cloud Grid Networks                                                        12820 SW 132 Terrace                                               Miami               FL           33186
 Cloud Nine Productions, LLC              Invalid Acct/Need W-9/Last Used 3/6740 Bull Run Road #H253                                           Miami Lakes         FL           33014
 Cls Transport                                                              16 La Cascata                                                      Clementon           NJ           08021
 Clutch City Performance                                                    2220 Hopper Rd                                                     Houston             TX           77093
 Clw A Plus Transport LLC                                                   2295 West 74th Place                                               Hialeah             FL           33016
 Cm Transportation LLC                                                      360 Greenhouse Court                                               Hastings            NE           68901
 Cmarin Inc                                                                 333 Malverne Rd                                                    West Palm Beach     FL           33405
 Cmc United Motors Inc.                                                     928 Pulinski Rd                                                    Ivyland             PA           18974
 Cmg
 Cmx Auto Transport                                                        1208 Seminole Ct                                                    Kissimmee           FL           34744
 Co Logistics LLC                                                          1033 Republic Circle                                                Copperas Cove       TX           76522
 Coast 2 Coast Carriers                                                    PO Box 75363                                                        Tampa               FL           33675
 Coast Car Carriers Inc                                                    PO Box 19221                                                        West Palm Beach     FL           33416
 Coast International LLC                                                   12403 E County Rd 89                                                Midland             TX           79706
 Coast To Coast Auto Transport                                             2440 N Locust Grove Rd                                              Kuna                ID           83634
 Coast To Coast Auto Transport LLC                                         12754 SW 209th Lane                                                 Miami               FL           33177
 Coast To Coast Transport LLC                                              3377 Termination Ct                                                 Las Vegas           NV           89129
 Coast To Coast Transport LLC                                              3254 Baymount Way                                                   Lawrenceville       GA           30043
 Coast To Coast Transporters LLC                                           PO Box 412                                                          Necedah             WI           54646
 Coast To Coast Trucking                                                   10916 Towerbridge Rd                                                Highlands Ranch     CO           80130
 Coastal Auto Transport LLC                                                6715 NE 63rd St Ste254                                              Vancouver           WA           98661
 Coastal Transport & Hauling LLC                                           435 Angelo Ln                                                       Cocoa Beach         FL           32931
 Coastalfx LLC                            Austin David Nobregas            6421 Milner Blvd Ste 2                                              Orlando             FL           32809
 Coastran LLC                                                              227 Sandy Soruings Pl                Ste D-315                      Sandy Springs       GA           30328
 Cobalt Auto Transport                                                     154 Harris Lane                                                     Chenalis            WA           98532
 Cobb County Tax Commissioner                                              2932 Canton Road                                                    Marietta            GA           30066
 Cobbin, Christopher Laywon                                                Address on File



Off Lease Only LLC, et al.                                                                                                                                                                   Page 34 of 155
                                                     Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23   Page 35 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                    Creditor Name                  Attention                           Address 1                Address 2    Address 3              City        State       Zip       Country
 Cobbs Cargo Carry                                                       PO Box 195702                                                   Little Rock       AR           72219
 Cobra Auto Moving Inc                                                   6180 SW 11th St                                                 West Miami        FL           33144
 Cobra Trans Inc                                                         618 E Acacia Ave #B                                             Glendale          CA           91205
 Coccaro, Jorge                                                          Address on File
 Coco Transport LLC                                                      15293 SW 119th Ter                                              Miami             FL           33196
 Cocoa Auto Salvage, Inc                                                 810 S Industry Rd                                               Cocoa             FL           32926
 Coconut Creek Automotive                                                4980 North State Road 7                                         Coconut Creek     FL           33073
 Cod Transport Corp                                                      8040 NW 95th Street Ste 105                                     Hialeah Gardens   FL           33016
 Cod Trucking LLC                                                        10305 SW 40 Terrace                                             Miami             FL           33165
 Coffee Time Services                                                    PO Box 5303                                                     Sarasota          FL           34277
 Cofino Transport Corp                                                   10101 W Okeechobee Rd #1201                                     Hialeah Gardens   FL           33016
 Coggin Bmw Treasure Coast                                               4429 S Us Hwy1                                                  Ft Pierce         FL           34982
 Coggin Honda Of Ft Pierce                                               4450 S Us Hwy 1                                                 Ft Pierce         FL           34982
 Coggin Honda Of Orlando                                                 4365 River Green Parkway                                        Duluth            GA           30096
 Cohen, Carlos R.                                                        Address on File
 Coker, Ricky Irion                                                      Address on File
 Colbert, Eric Sebastian                                                 Address on File
 Cold Air Distributors                                                   6937 Stapoint Ct Unit A                                         Winter Park       FL           32792-6675
 Cold Air Distributors                                                   3053 Industrial 31 St                                           Ft Pierce         FL           34946
 Coldiron Auto Transport LLC                                             1774 Military Road                                              Kenmore           NY           14217
 Cole, Michelle Yvonne                                                   Address on File
 Coleman, Carla Yvonne-Rose                                              Address on File
 Coleman, Hassan Jamari                                                  Address on File
 Coley, Arlene Whitley                                                   Address on File
 Collection Car Courier Inc                                              2050 Oleander Blvd Apt 3-104                                    Fort Pierce       FL           34950
 College Hunks Hauling Junk                                              1500 N Florida Mango Rd #18                                     West Palm Beach   FL           33409
 Collimotive Carstar Center             Collimotive, Inc.                2822 Forsyth Rd Suite 101                                       Winter Park       FL           32792
 Collins, Tammy Jo                                                       Address on File
 Collins, Nicholas                                                       Address on File
 Collision Center Of The Palm Beaches                                    1970 W 9th Street                                               Riviera Beach     FL           33404
 Collision Works LLC                    Collision 2000 Of The Palm Beache481 N Military Trail                                            West Palm Beach   FL           33415
 Colombo Rodrigues, Kelven                                               Address on File
 Colon, Aaron Ray                                                        Address on File
 Colon, Joseph Franklyn                                                  Address on File
 Colonial Life                          Premium Processing               PO Box 903                                                      Columbia          SC           29202
 Colonnade Centrepark East LLC                                           1400 Centerpark Blvd Ste 810                                    West Palm Beach   FL           33401
 Colony West Golf Management, LLC                                        15044 N Scottsdale Rd            Suite 300                      Scottsdale        AZ           85254
 Color Magic Of Central Florida, Inc                                     5703 Red Bug Lake Rd #347                                       Winter Springs    FL           32708
 Colquitt County Tax Commissioner                                        101 E Central Ave                                               Moultrie          GA           31776
 Coltransport Inc                                                        2981 Marbella Drive                                             Kissimmee         FL           34744
 Columbia Auto Parts & Recovery                                          700 Main St                                                     West Columbia     SC           29170
 Colvagon Transportation LLC                                             733 Creekwater Terr                                             Lake Mary         FL           32746
 Colvin, Taylor Ericka                                                   Address on File
 Coman Contracting Corp                                                  360 Elaine Road                                                 West Palm Beach   FL           33413
 Combined Insurance Comany Of America                                    PO Box 91003                                                    Chicago           IL           60680
 Comcast                                                                 PO Box 37601                                                    Philadelphia      PA           19101-0601
 Comcast                                                                 PO Box 71211                                                    Charlotte         NC           28272-1211
 Comet Logistics Solutions              Summit Logistics Transportation 3271 Tanaberry Circle                                            Macedon           NY           14502
 Comfort Auto Transport LLC                                              40 Mountain Ct                                                  Bedminster        NJ
 Comfort House Inc                                                       2450 Titan Row                                                  Orlando           FL           32809
 Commercial Funding Inc                 Re - Valgard Logistics Inc       170 South Main Street #700                                      Salt Lake City    UT           84101
 Commercial Lighting Industries                                          81-161 Indio Blvd                                               Indio             CA           92201
 Commercial Services & Repair Inc                                        4702 N Clark Ave                                                Tampa             FL           33614
 Commonwealth Of Massachusetts          Ezdrivema Payment Processing CePO Box 847840                                                     Boston            MA           02284-7840
 Compass Funding Solutions LLC          Trans Logistic Union Co          115 W 55th St Ste 301                                           Clarendon Hills   IL           60514
 Complete Access Control O.C.F. Inc                                      1438 Hamlln Ave                                                 Saint Cloud       FL           34771
 Complete Auto Auction                                                   21799 Northwest Pkwy                                            Marysville        OH           43040
 Complete Machine Care LLC                                               919 32nd Street                                                 West Palm Beach   FL           33407
 Complete Services Solutions                                             12472 Lake Underhill Rd                                         Orlando           FL           32828
 Complete Solutions & Sourcing, Inc                                      PO Box 6405                                                     Southeaster       PA           19398
 Complete Ticket Solutions, Inc.
 Compli                                                                711 SW Alder Street Suite 200                                     Portland          OR           97205



Off Lease Only LLC, et al.                                                                                                                                                           Page 35 of 155
                                                           Case 23-11389-CTG                      Doc 1-1         Filed 09/07/23   Page 36 of 155
                                                                                                        Creditor Matrix
                                                                                                      as of September 6, 2023
                    Creditor Name                        Attention                           Address 1                 Address 2    Address 3              City         State       Zip       Country
 Complynet Chicago                                                            422 Beecher Road                                                  Gahanna            OH           43230
 Concorde Autotransport Inc.                                                  9811 Dallas Avenue                                                Silver Spring      MD           20901
 Coney, Marcus Cordero                                                        Address on File
 Coney, Willie E                                                              Address on File
 Confidence Auto Transport Inc                                                512 SW 99 Pl                                                      Miami              FL           33174
 Conley, Tyler James                                                          Address on File
 Conley, Jeff                                                                 Address on File
 Connect Trucking Inc                                                         241 SW 55th Ave                                                   Miami              FL           33134
 Connected Auto Transport                                                     14402 Leibacher Ave                                               Norwalk            CA           90650
 Connecticut Auto                                                             2307 SW Poma Drive                                                Palm City          FL           34990
 Connolly & Son Auto Transport                                                13266 59th Ct N                                                   West Palm Beach    FL           33411
 Conrad, Britian Lea                                                          Address on File
 Consilio Inc.                                Consilio LLC                    Dept Ch 17174                                                     Palatine           IL           60055-7174
 Consolidated Communications                  Consolidated Communications Of TPO Box 66523                                                      Saint Louis        MO           63166
 Constain Gomez, Dario Eduardo                                                Address on File
 Constanza, Edward Alexander                                                  Address on File
 Construction Hydraulics Of Lake Worth Inc.                                   1320 South J Terrace                                              Lake Worth         FL           33460
 Consumer Affairs                                                             297 Kingsbury Grade                                               Lake Tahoe         NV           89449-4470
 Consumeraffairs                                                              PO Box 670661                                                     Dallas             TX           75267
 Consumers                                                                    609 N Federal Hwy                                                 Boynton Beach      FL           33435
 Contact At Once                                                              28619 Network Place                                               Chicago            IL           60673
 Continent Exp LLC                                                            2663 S Parkview Drive                                             Hallandale         FL           33009
 Continuo, Rodolfo                                                            Address on File
 Contract Logix, LLC                                                          55 Technology Drive Ste 103                                       Lowell             MA           01851
 Convenient Auto Transport                                                    12091 Orange Grove Blvd                                           West Palm Beach    FL           33411
 Converge Resources, Inc                                                      24210 Campione Ct                                                 Richmond           TX           77406
 Cook, Brandi Lynn                                                            Address on File
 Cooper Jr., Alfred Daniel                                                    Address on File
 Copart                                                                       2601 Center Road                                                  Fort Pierce        FL           34946
 Copeland, Alexander G                                                        Address on File
 Copeland, Kennedy J                                                          Address on File
 Cor Trucking Corp                                                            6802 Timberlane West Dr                                           Tampa              FL           33615
 Coral Springs Automall                                                       9330 W Atlantic Blvd                                              Coral Springs      FL           33071
 Coral Springs Festival Of The Arts                                           2900 University Drive                                             Coral Springs      FL           33065
 Coral Springs High School Ptso                                               7201 Sample Rd                                                    Coral Springs      FL           33065
 Coral Springs Honda                                                          9400 W Atlantic Blvd                                              Coral Springs      FL           33071
 Coral Springs Kgb, Inc                                                       9300 W Atlantic Blvd                                              Coral Springs      FL           33071
 Coral Springs Nissan, Inc                                                    9350 W Atlantic Blvd                                              Coral Springs      FL           33071
 Coral Transport LLC                                                          4001 Hillcrest Dr #209                                            Hollywood          FL           33021
 Coral Transporter Corp.                                                      5204 NW 186th Terra                                               Miami Gardens      FL           33055
 Coral Way Plumbing Corp.                                                     4438 SW 74 Ave                                                    Miami              FL           33155
 Corbin, Derrec Wanya                                                         Address on File
 Corbitt, Bradley                                                             Address on File
 Cordero Heredia, Rolando                                                     Address on File
 Cordoba Velazquez, Juan Carlos                                               Address on File
 Cordova Auto Transport                                                       6144 Ivy Street                                                   Commerce City      CO           80022
 Cordova Xpress Transport Inc                                                 3171 NW 18 St                                                     Miami              FL           33125
 Cornerstone Transportation                                                   3011 Wallace Avenue Ne                                            Fort Payne         AL           35967
 Cortes, Edwin                                                                Address on File
 Corvil, Kamal Roody                                                          Address on File
 Coskun LLC                                                                   25 Walcott Drive                                                  Boynton Beach      FL           33426
 Cosolito, Russell                                                            Address on File
 Cossio Cabrera, Vicente                                                      Address on File
 Cossio, Moises                                                               Address on File
 Costa Bros Inc                                                               386 Hollis St                                                     Framingham         MA           01702
 Costa Brothers Auto Transport Inc                                            11 Airport Rd                                                     Hopedale           MA           01747
 Costa Express Inc                                                            6 Industrial Rd #3                                                Milford            MA           01757
 Costagliola, Michelle Louise                                                 Address on File
 Costco Wholesale Corporation                                                 999 Lake Drive                                                    Issaquah           WA           98027
 Cottrill's Transport                                                         15340 Cowley Road                                                 Columbia Station   OH           44028
 Counselorlibrary.Com, LLC                                                    7037 Ridge Road                                                   Hanover            MD           21076
 Country Boy Service                                                          715 Trifecta Ct                                                   Whitsett           NC           27377



Off Lease Only LLC, et al.                                                                                                                                                                   Page 36 of 155
                                                           Case 23-11389-CTG             Doc 1-1         Filed 09/07/23   Page 37 of 155
                                                                                               Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name                         Attention                 Address 1                 Address 2    Address 3            City          State       Zip       Country
 Country Logistics Inc                                                966 Ashton Rd                                                    Bensalem          PA           19020
 Country Wide Recovery                                                2015 Television Place                                            Kansas City       MO           64126
 Coupland, Lynn Ann                                                   Address on File
 Courtesy Auto Trans.                                                 3059 Hwy 10 Se                                                   Saint Cloud       MN           56304
 Courtesy Nissan Of Tampa                                             3800 W Hillsborough Ave                                          Tampa             FL           33614-5626
 Courtney Leasing Inc                                                 8126 Benrus Street                                               Orlando           FL           32857
 Cousins Freight Inc.                                                 906 Colony Ridge Ct                                              Irving            TX           75061
 Cousins Hernandez Truck LLC                                          5295 Harborside Dr                                               Tampa             FL           33165
 Covenant Auto Transport Inc                                          138 Palm Coast Pkwy NE #209                                      Palm Coast        FL           32137
 Coverall North America, Inc.                                         2955 Momentum Place                                              Chicago           IL           60689
 Covideo, LLC                                                         PO Box 530093                                                    Atlanta           GA           30353
 Cowboy Express Inc                                                   23615 SW 162nd Ave                                               Homestead         FL           33031
 Cox Auto Corporate Service LLC                                       PO Box 935634                                                    Atlanta           GA           31193-5634
 Cox Automotive Vehicle Acquisition Service                           6325 Peachtree-Dunwoody Rd                                       Atlanta           GA           30328
 Cox Automotive Vehicle Acquisition Services                          PO Box 935634                                                    Atlanta           GA           31193-5634
 Cox Chevrolet Inc                                                    2900 Cortez Rd West                                              Bradenton         FL           34207
 Cox Radio, LLC                                                       PO Box 83196                                                     Chicago           IL           60691-0196
 Cox, Jeffrey Dean                                                    Address on File
 Cox, Mikira Kenica                                                   Address on File
 Cp Auto Transport Inc                                                8901 NW 178 Street                                               Hialeah Gardens   FL           33018
 Cp Towing                                                            5620 Allentown Blvd                                              Harrisburg        PA           17112
 Cpanel
 Cpanel LLC
 Cpf Investment Group                                                 14350 NW 56 Ct                                                   Miami             FL           33054
 Cpr Training 2 Go LLC                                                1094 SW 24th Terrace                                             Deerfield Beach   FL           33442
 Craig's Keys Of Orlando LLC                                          2059 Dixie Belle Dr Apt C                                        Orlando           FL           32812
 Crane Motors                                                         2217 Shefflin Ct                                                 Baltimore         MD           21209
 Crawford And Smith Enterprise Inc.                                   1207 Berthoud Pass                                               Hephzibah         GA           30815
 Crawford, Kevin C                                                    Address on File
 Crawford, Kourtney Chionti                                           Address on File
 Crawford, Laquetta Rene'e                                            Address on File
 Crc Transport LLC                                                    2456 W 9 Mile Road                                               Pensacola         FL           32534
 Creative Trade Group Inc.                                            9 Old Logging Road                                               Stamford          CT           06903
 Creatopy                                                             535 Mission St Fl14                                              San Francisco     CA           94105
 Credit Bureau Connection                                             575 E Locust Ave                                                 Fresno            CA           93720
 Crenshaw Collision Repair, Inc.                                      657 S O-Mul-La-Oee Dr                                            Sebring           FL           33870
 Crescent Bank & Trust                                                800 Corporate Drive                                              Fort Lauderdale   FL           33334
 Crescent Bank & Trust                                                5401 Jefferson Hwy                                               Harahan           LA           70123
 Crescent Bank & Trust                                                2121 Airline Dr                                                  Metairie          LA           70001
 Crescent Bank & Trust                                                PO Box 61813                                                     New Orleans       LA           70161-1813
 Crespo Auto Carriers LLC                                             120 Parish Drive                                                 Lehigh Acres      FL           33974
 Crespo Lorie, Ronny                                                  Address on File
 Crespo Nieva, Ariel                                                  Address on File
 Crespo, Livan Jorge                                                  Address on File
 Cricket                                                              1200 So Congress Ave Ste 101                                     Palm Springs      FL           33406
 Crimmins, Marc Alan                                                  Address on File
 Cris Trasport                                                        9951 SW 39th Terr                                                Miami             FL           33165
 Criteo Corp                                                          PO Box 392422                                                    Pittsburgh        PA           15251-9422
 Critter Control Of Fort Lauderdale                                   4100 N Powerline Dr                                              Pompano Beach     FL           33073
 Croatti, Steven L.                                                   Address on File
 Croney, Daijanique                                                   Address on File
 Cros Country Transport LLC                                           10191 St Rt 104                                                  Lucasville        OH           45648
 Cross Country Carriers Corp                                          3530 NW 36th Street                                              Miami             FL           33142
 Cross Country Transport Inc                                          1061 F Jefferson Dr                                              Homestead         FL           33034
 Cross Country Transport LLC                                          10191 St Rt 104                                                  Lucasville        OH           45648
 Cross Country Trucking LLC                                           5603 79 Ave Ne                                                   Marysville        WA           98270
 Cross River Bank                                                     400 Kelby St 14th Floor                                          Fort Lee          NJ           07024
 Cross Sell Report                             Dominion               PO Box 773008                                                    Chicago           IL           60677-3008
 Crossway Logistics LLC                                               1244 W 44th Place                                                Hialeah           FL           33012
 Crowe Llp                                                            PO Box 71570                                                     Chicago           IL           60694-1570
 Crown Auto Carriers Inc                                              160 Crown Colony Way                                             Sanford           FL           32771
 Crown Auto Transport/Logistics                                       686 N Edgewood Ave                                               Jacksonville      FL           32254



Off Lease Only LLC, et al.                                                                                                                                                         Page 37 of 155
                                                     Case 23-11389-CTG                    Doc 1-1            Filed 09/07/23   Page 38 of 155
                                                                                                  Creditor Matrix
                                                                                                 as of September 6, 2023
                    Creditor Name                  Attention                        Address 1                     Address 2    Address 3             City            State       Zip       Country
 Crown Automobile Transport                                            25572 W Ripple Road                                                 Buckeye              AZ           85326
 Crown Castle Fiber                                                    PO Box 21926                                                        New York             NY           10087-1926
 Crown Trans LLC                                                       18331 Pines Blvd #209                                               Pembroke Pines       FL           33029
 Cruisin' With Michael T LLC                                           2469 Bartek Place                                                   North Port           FL           34289
 Crumar Transportation LLC                                             3253 Birmingham Blvd                                                Orlando              FL           32829
 Cruz De Leon, Roberto Miguel                                          Address on File
 Cruz Quintana, Gerald                                                 Address on File
 Cruz Rodriguez, Hector Federico                                       Address on File
 Cruz Trucking Transportation LLC       Rolando Cruz Ribot             5018 Beecher St                                                     Lehigh Acres         FL           33971
 Cruz Vazquez, Abisael                                                 Address on File
 Cruz, Aida C.                                                         Address on File
 Cruz, Jose E                                                          Address on File
 Cruz, Jose Enrique                                                    Address on File
 Cruz, Juan                                                            Address on File
 Cruz, Marquis Alfredo                                                 Address on File
 Crystal Springs                                                       PO Box 660579                                                       Dallas               TX           75266-0579
 Csc Auto Transport                                                    910 Rockside Dr                                                     Greenwood            AR           72936
 Cscs Ptso                                                             3705 N University Dr                                                Coral Springs        FL           33065
 Cspi Technology Solutions                                             PO Box 207571                                                       Dallas               TX           75320
 Cst Transportation LLC                                                2905 N Bismark Lane 202                                             Jupiter              FL           33458
 Ct Auto Inc                                                           3380 NW 22nd Pl                                                     Coconut Creek        FL           33066
 Ct Corporation                                                        PO Box 4349                                                         Carol Stream         IL           60197-4349
 Ctek                                                                  3969 Henly Road                                                     Sanford              NC           27330
 Cts
 Cu Direct Corporation                                                 Post Office Box 51482                                               Ontario              CA           91761
 Cubanacan Auto Trans LLC                                              2519 9th Street Sw                                                  Lehigh Acres         FL           33976
 Cuello, Neyma                                                         Address on File
 Cuevas, Jickson                                                       Address on File
 Cullen IV, William Louis                                              Address on File
 Culpepper Plumbing LLC                                                766 Pike Rd                                                         West Palm Beach      FL           33411
 Cumberland Group LLC                                                  PO Box 1056                                                         Columbus             GA           31902
 Cummings Auto Transport                                               1739 Vanderbilt Ct                                                  Graham               NC           27253
 Cummings, Lachelle Brittiny                                           Address on File
 Cumulus Media                                                         3665 Momentum Place                                                 Chicago              IL           60689-5336
 Cunningham, Jonathan Robert                                           Address on File
 Cupelli Automotive                                                    4511 1/2 Lake Worth Road                                            Lake Worth Road      FL           33463
 Cuper Transport LLC                                                   328 West Passage                                                    Columbia             SC           29212
 Curbelo Towing Inc. - Fl Only                                         9645 SW 24th Street                                                 Miami                FL           33165
 Curtis II, Stephen Michael                                            Address on File
 Curtis Lee Mcgee                       Dba Mcgee'S Backflow Testing   825 Mckay St                                                        St Cloud             FL           34769
 Cuse Auto Transport LLC                                               3054 Bronco Lance                                                   Gainesville          GA           30507
 Custom Alloy Rim Repair LLC                                           1512 57th Ave W                                                     Bradenton            FL           34207
 Custom Cart Connection LLC                                            1708 S Congress Ave                                                 West Palm Beach      FL           33406
 Custom Wheel Connection, Inc                                          767 N Military Trail                                                West Palm Beach      FL           33415
 Customer Prophet.Com                                                  11 South Main St                                                    Concord              NH           03301
 Cut It Up Def Entertainment Inc                                       1109 Old Okeechobee Rd # 17                                         West Palm Beach      FL           33401
 Cutmore, Anne Marie                                                   Address on File
 Cuyahoga County Fiscal Office
 Cuyler, Larry Willie                                                  Address on File
 Cuzzins Transport LLC                                                 4890 NW 8 Drive                                                     Plantation           FL           33317
 Cuzzo Trucking Inc                                                    411 West 63rd Street                                                Jacksonville         FL           32208
 Cw Fine Cars Transport                                                2621 SW 54 Ave                                                      West Park            FL           33023
 Cw Fine Cars Transport                                                3818 SW 48 Ave                                                      Pembroke Park        FL           33023
 Cw International Auto Transport                                       944 NW 126th Terr                                                   Coral Springs        FL           33071
 Cw Services And Associates                                            4908 Grassleaf Drive                                                Palm Beach Gardens   FL           33418
 Cypress Auto Shipping Inc                                             320 E Commercial St                                                 Anaheim              CA           92801
 Cyrus Auto Transport                                                  7377 Correspondance Pl                                              Rancho Cucamonga     CA           91730
 Czyttrich, Boris                                                      Address on File
 D & D Transmission & Auto Repair Inc                                  1120 S Military Trail                                               West Palm Beach      FL           33415
 D & D Trucking                                                        7654 West 24th Street                                               Fremont              MI           49412
 D & E Paver's LLC                                                     4772 Carefree Trl                                                   West Palm Beach      FL           33415
 D Auto Transport Corp                                                 4620 SW 112th Avenue                                                Miami                FL           33165



Off Lease Only LLC, et al.                                                                                                                                                                Page 38 of 155
                                                  Case 23-11389-CTG               Doc 1-1        Filed 09/07/23   Page 39 of 155
                                                                                        Creditor Matrix
                                                                                     as of September 6, 2023
                    Creditor Name                Attention                 Address 1                  Address 2    Address 3              City           State       Zip    Country
 D C Classic Cars                                            PO Box 4786                                                       Mooresville          NC           28117
 D Grass Transport LLC                                       100 W 63rd Street                                                 Hialeah              FL           33012
 D Line Logistics Inc                                        1410 Bison Lane                                                   Hoffman Estates      IL           60192
 D&C Auto Transport Inc                                      459 E 20 St                                                       Hialeah              FL           33013
 D&C Haulage LLC                                             16609 SW 79 Terrace                                               Miami                FL           33193
 D&D Auto Carrier Inc                                        25435 SW 127th Ct                                                 Homestead            FL           33032
 D&D Transport Solutions LLC                                 6665 Kimberly Mill Road                                           Atlanta              GA           30349
 D&D Trucking And Logistics LLC                              PO Box 13317                                                      Ft Pierce            FL           34979
 D&E Car Hauling LLC                                         8455 SW 155th Terr                                                Palmetto Bay         FL           33157
 D&F Towing LLC                                              300 Golf Brook Circle Apt#100                                     Longwood             FL           32779
 D&G Auto Transport                                          2591 Rosehaven Road                                               West Palm Beach      FL           33415
 D&G Car Hauling LLC                                         4821 NW 22nd Ct                                                   Lauderhill           FL           33313
 D&G Highway Transportation Corp                             2449 Tortugas Ln                                                  Fort Lauderdale      FL           33312
 D&J Auto Carriers                                           10396 Trail Hill Ln                                               Cordova              TN           38016
 D&J Auto Transport Corp                                     3820 SW 142 Ave                                                   Miami                FL           33175
 D&J Automotive Movers LLC                                   421 N 25th Street                                                 Fort Pierce          FL           34947
 D&K Express                                                 283 Macarthur Dr                                                  Port Charlotte       FL           33954
 D&L Transportation Inc                                      6805 S Artesian Ave Unit 1                                        Chicago              IL           60629
 D&M All-Purpose Transporting LLC                            11442 Baraga St                                                   Taylor               MI           48180
 D&M Figueroa Corporation                                    31 NW 65th Avenue                                                 Miami                FL           33126
 D&M Hauling LLC                                             2767 Joyner Swamp Road                                            Galivants Ferry      SC           29544
 D&M Management                                              18106 Mahogany Forest Drive                                       Spring               TX           77379
 D&N Services                                                102 7th St W                                                      Carlos               MN           56319
 D&R Auto Transport Inc - Fl Only                            373 NE Gulfstream Avenue                                          Port Saint Lucie     FL           34983
 D&R Auto Transpot Logistics Inc                             16900 SW 107th Ct                                                 Miami                FL           33157
 D&R Delivery Of Pb Inc.                                     312 Canterbury Dr W                                               West Palm Beach      FL           33407
 D&S Imports LLC                                             1013 S Loudoun Street                                             Winchester           VA           22601
 D&S Transport LLC                                           32 Willowbrook Dr                                                 Concord              NC           28027
 D&T Auto Transport LLC                                      2649 Glenhaven Drive                                              Green Cove Springs   FL           32043
 D&Y Auto Transport Inc                                      27240 SW 135th Ave                                                Homestead            FL           33032
 D.L.I Transportation                                        20 Whippoorwill Ln                                                Fort Mitchell        AL           36856
 D.P. Greene, Inc.                                           5048 Harrow Road                                                  Jacksonville         FL           32217
 Da Logistix LLC                                             275 Oak Creek Ap 208                                              Wheeling             IL           60090
 Da Multiservice                                             7711 So Raeford Road                                              Fayetteville         NC           28304
 Da Rocha, Alessandro A                                      Address on File
 Da Rosa, Danielle Pepe                                      Address on File
 Daan, Wilnice                                               Address on File
 Dacia LLC                                                   4500 Chaucer Way Unit 106                                         Owings Mills         MD           21117
 Dacin Auto Transport                                        1520 Garden St                                                    Garden City          MI           48135
 Daddy Express LLC                                           24342 Leski Lane                                                  Plainfield           IL           60585
 Daddy's Pest Solutions Inc                                  9129 Affirmed Lane                                                Boca Raton           FL           33496
 Dade County Clerk's Office          Suite 133               73 West Flagler Street                                            Miami                FL           33130
 Dade Media Inc                                              3195 Ponce De Leon Blvd                                           Coral Gables         FL           33134
 Dade Recycling                                              9272 NW 101 Street                                                Medley               FL           33178
 Dads Kettle Korn
 Dagi Logistic LLC                                           810 Winterdale Rd                                                 Starlight            PA           18461
 Dahi, Ghaleb Badr                                           Address on File
 Daisy Express Inc                                           PO Box 184                                                        Mercer Island        WA           98040
 Dakers, Christopher Anthony                                 Address on File
 Dali Transportation LLC                                     32 Bridgehaven Drive                                              Palm Coast           FL           32137
 Damianlo Auto Transport Corp                                423 NW 25th Ct                                                    Miami                FL           33125
 Dan P Heller Pa                                             3250 Mary Street                                                  Coconut Creek        FL           33133
 Dan Ryan's Pressure Cleaning                                5735 Gelding Court                                                Lake Worth           FL           33449
 Dana Auto Transport                                         1050 S Rimwood Drive                                              Anaheim              CA           92807
 Dana Auto Transport                                         548 Concord Ave                                                   Fullerton            CA           92831
 Danhan Automotive Transportation                            714 Blueberry Ln                                                  Owingsville          KY           40360
 Daniel T. Powers Tax Commissioner                           PO Box 8321                                                       Savannah             GA           31412
 Danny's Septic Service                                      8401 Lake Worth Rd - Ste 117                                      Lake Worth           FL           33467
 Dao-De Randolph Afb Tx                                      Attb Af Wirkdwide Locator                                         Jbsa Randolph Afb    TX           78150
 Dare Auto Transport LLC                                     100 Pennewill Drive                                               New Castle           DE           19720
 Darius, Jefte                                               Address on File
 Darrington, Courtney Marie                                  Address on File



Off Lease Only LLC, et al.                                                                                                                                                 Page 39 of 155
                                                        Case 23-11389-CTG            Doc 1-1          Filed 09/07/23   Page 40 of 155
                                                                                           Creditor Matrix
                                                                                          as of September 6, 2023
                    Creditor Name                     Attention               Address 1                    Address 2    Address 3            City           State       Zip       Country
 Dartlon Inc.                                                     13421 SW 80 St                                                    Miami              FL           33183
 Darwin Digital Retail
 Dasafe Transport Corp                                            PO Box 771686                                                     Orlando            FL           32877
 Dasai Transporting Inc                                           1580 16th St Ne                                                   Naples             FL           34120
 Dash Auto Transport Corp                                         15238 SW 30 Terr                                                  Miami              FL           33185
 Dasha Transport                                                  14044 SW 104 Terrace                                              Miami              FL           33186
 Daszkal Bolton Llp                                               2401 NW Boca Raton Blvd Ste110                                    Boca Raton         FL           33431
 Data Software Services LLC                                       PO Box 2585                                                       Valdosta           GA           31604-2585
 Datadog, Inc                                                     620 8th Ave - 45th Fl                                             New York           NY           10018
 Dave Meeker Auto Inc                                             24496 Eagle Rd                                                    Purcell            OK           73080
 Dave R Hill Inc                                                  PO Box 5893                                                       Lake Worth         FL           33466
 David & Gerchar, Inc                                             12075 NW 40th Street                                              Coral Springs      FL           33065
 David A Frazier Dba Ddf Transport                                4218 Lugano Court                                                 Kissimmee          FL           34746
 David's Trucking                                                 68 Main St                                                        Brattleboro        VT           05301
 Davidson Design Studio, Inc.                                     1350 East Sunrise Blvd             Suite 122                      Ft Lauderdale      FL           33304
 Davidson II, Charles Jeffrey                                     Address on File
 Davidson, Justin Jordon                                          Address on File
 Davila, Gilberto                                                 Address on File
 Davila, Ricardo Luis                                             Address on File
 Davila, Susana                                                   Address on File
 Davis Family Hauling And Removal Inc                             781 NW 187th Drive                                                Miami              FL           33169
 Davis, Alexandria Juliet                                         Address on File
 Davis, Clifford Harold                                           Address on File
 Davis, Dayton Wayne                                              Address on File
 Davis, Jebediah Baxter                                           Address on File
 Davis, Michael Leo                                               Address on File
 Dawes, Ashley Jaquell                                            Address on File
 Dayana Munoz                                                     Address on File
 Dayany Transport Inc                                             2900 NE 30th Street                                               Fort Lauderdale    FL           33306
 Dayden Corporation                                               1611 Rock Rd                                                      Naples             FL           34120
 Dayton Andrews Dodge Chrysler Jeep Ram                           2301 34th Street North                                            St Petersburg      FL           33713
 Daytona Express Auto Transport Inc.                              PO Box 1492                                                       Ormond Beach       FL           32175
 Db Transport LLC                                                 236 Livingston Avenue                                             Vacaville          CA           95687
 Dba All Battery Center                                           PO Box 2673                                                       Eaton Park         FL           33840
 Dba Prestige Auto Transport                                      1064 South High St                                                Harrisonburg       VA           22801
 Dbest Auto Transport Inc.                                        1426 Simpson Rd                                                   Kissimmee          FL           34744
 Dbn Carrier Inc.                                                 15248 Texaco Avenue                                               Paramount          CA           90723
 Dbn Trans Inc                                                    15248 Texaco Ave                                                  Paramount          CA           90723
 Dbr Express Services LLC                                         415 NW Dover Court                                                Port St Lucie      FL           34983
 Dc Transport                                                     5350 W Bell Road                                                  Glendale           AZ           85308
 Dc Wrecker                                 Dwight Cannon         11218 S Kolbe Dr                                                  Cypress            TX           77429
 Dcc Auto Transport Corp                                          7990 Grand Canal Dr                                               Miami              FL           33144
 Dcn Holdings Inc Dba Accounts Receivable                         1806 33rd St Ste 180                                              Orlando            FL           32839
 Dcr Auto Transport                                               1048 Grandview Cir                                                Royal Palm Beach   FL           33411
 Dd Brother Investment Group LLC                                  11531 SW 4th Street                                               Miami              FL           33174
 Dd&R Transport Inc                                               1528 Helen Belle Dr                                               Las Vegas          NV
 Ddn Transport Inc                                                6671 Pangola Rd                                                   Fort Myers         FL           33905
 Ddonie Services LLC                                              170 Sunfish Drive                                                 Winter Haven       FL           33881
 Ddq Transport Inc                                                2843 West 73rd Street                                             Hialeah            FL           33018
 Ddr Auto Transport LLC                                           PO Box 348012                                                     Coral Gables       FL           33234
 Dds Transportation LLC                                           10 Dodworth Ct #304                                               Timonium           MD           21093
 De Armas, Fara Milena                                            Address on File
 De Armas, Rommel                                                 Address on File
 De Armas, Seidel Adalberto                                       Address on File
 De Armas, Sergio Carlos                                          Address on File
 De Arruda, Thayana Barros                                        Address on File
 De Gracia Perez, Neysi P                                         Address on File
 De Jesus Marin, Arnaldo Junior                                   Address on File
 De Jesus-Carrasquillo, Jorge Luis                                Address on File
 De La Rua Services Inc                                           PO Box 111965                                                     Hialeah            FL           33011
 De Lage Landen Financial Services, Inc.                          PO Box 41602                                                      Philadelphia       PA           19101-1602
 De Leon, Ivan                                                    Address on File



Off Lease Only LLC, et al.                                                                                                                                                       Page 40 of 155
                                                  Case 23-11389-CTG                   Doc 1-1         Filed 09/07/23    Page 41 of 155
                                                                                             Creditor Matrix
                                                                                          as of September 6, 2023
                    Creditor Name                Attention                      Address 1                   Address 2    Address 3              City        State       Zip       Country
 Deagan's Custom Transport                                        1503 N Burton St                                                   Plant City        FL           33563
 Deal Tire &Wheel                                                 11801 NW 101 Road #3                                               Medley            FL           33178
 Deal Transport Inc                                               213 Lagoon Dr                                                      Palm Harbor       FL           34683
 Dealer Accounting Solutions                                      PO Box 181                                                         Cleveland         NC           27013
 Dealer Assist Now LLC                                            1501 Cree Ct                                                       Plattsmounth      NE           68048-4211
 Dealer Centric Solution                                          26440 La Alameda                                                   Mission Viejo     CA           92691
 Dealer Dot Com Inc.                                              PO Box 417785                                                      Boston            MA           02241
 Dealer E Process                                                 2001 Butterfield Road                                              Downers Grove     IL           60515
 Dealer Evolution LLC                                             3758 Moon Bay Circle                                               Wellington        FL           33414
 Dealer Inspire Inc                                               PO Box 775674                                                      Chicago           IL           60677
 Dealer Insurance Solutions                                       1607 Flagler Blvd                                                  Lake Park         FL           33403
 Dealer Risk Services Inc                                         PO Box 1899                                                        Melbourne         FL           32902
 Dealer Service Alternative                                       5305 E Colonial Rd                                                 Orlando           FL           32807
 Dealer Services Of Palm Beach                                    2001 Palm Beach Lakes Blvd         #205                            West Palm Beach   FL           33409
 Dealer Socket                                                    PO Box 843876                                                      Los Angeles       CA           90084-3876
 Dealer Strong                                                    4400 Washington Ave                                                Evansville        IN           47714
 Dealer Success, Inc                                              13023 NE Highway 99                                                Vancouver         WA           98686-2699
 Dealer Trend Inc                                                 450 Marsh Avenue                                                   Reno              NV           89509
 Dealer-Direct Floor Mats                                         5964 Encore Drive                                                  Dallas            TX           75240
 Dealerguard Insurance Program                                    26555 Evergreen Road                                               Southfield        MI           48076
 Dealermint                                                       4175 SW 64th Ave                                                   Davie             FL           33314-3459
 Dealerops                                                        515 East Crossville Rd             Suite 150                       Rosewell          GA           30324
 Dealerrater.Com                                                  PO Box 857845                                                      Minneapolis       MN           55485-7845
 Dealers Auction Xchange, LLC                                     6620 Cr 52                                                         Port Richey       FL           34668
 Dealers Auction Xchange, LLC                                     2738 Gall Blvd                                                     Zephyrhills       FL           33541
 Dealer's Auto Auction -Memphis                                   6723 Highway 51 North                                              Hornlake          MS           38637
 Dealer's Auto Auction Of Okc. Inc.                               1028 South Portland                                                Oklahoma City     OK           73108
 Dealers Choice Auto Logistics Inc                                586 Edgebrook Lane                                                 West Palm Beach   FL           33411
 Dealer's Greatest Assets, Inc                                    24031 S Tamiami Trail              Ste 301                         Bonita Springs    FL           34134
 Dealership Experts                                               3214 Pecan Ridge Dr                                                Rowlett           TX           75088
 Dealertrack Inc                                                  PO Box 6129                                                        New York          NY           10249-6129
 Deals On Wheels Auto Brokers                                     3305 S Douglas Rd                                                  Miramar           FL           33025
 Dean Bradford                                                    7516 Nevada Lane                                                   Corryton          TN           37721
 De-An Transport                                                  1124 Aqua Shore Drive                                              Mcdonough         GA           30252
 Dean, Danielle Claire                                            Address on File
 Dearborn Transport                                               500 Westover Dr #5831                                              Sanford           NC           27330
 DeBartolo, Angelo Salvatore                                      Address on File
 Debevoise & Plimpton Llp                                         919 Third Avenue                                                   New York          NY           10022
 Decker, Michael Francis                                          Address on File
 Deco Trucking Inc.                                               4321 SW 104th Ct                                                   Miami             FL           33165
 Dede Transport LLC                                               908 Sally Avenue N                                                 Lehigh Acres      FL           33971
 Deep South                                                       PO Box 561205                                                      Orlando           FL           32856
 Deese Auto Hauling LLC                                           2295 Dam Rd                                                        Fort Mill         SC           29708
 Defco Auto Group LLC                                             2450 S Military Trail Unit 10                                      West Palm Beach   FL           33415
 Definiti                                                         2201 Timberloch Place Ste 150                                      The Woodlands     TX           77380
 Definitive Transport LLC                                         1315 Oakfield Drive #322                                           Brandon           FL           33509
 Deh Trucking Corp                                                PO Box 173666                                                      Hialeah           FL           33017
 Dehaney Bell, Stacy Ann                                          Address on File
 Dei Rossi Marketing                                              3120 Shiloh Rd #100                                                Richardson        TX           75082
 Dei Transport Services LLC                                       7806 Belford Drive #101                                            Alexandria        VA           22306
 Dekalb County Tax Commissioner                                   4380 Memorial Dr                                                   Decatur           GA           30032
 Del-Carmen, Abraham Alfredo                                      Address on File
 DeLeo, Shayna Loren                                              Address on File
 Deleon, Misael J.                                                Address on File
 Delgado Company LLC                                              1725 Lancelot Loop                                                 Tampa             FL           33619
 Delgado Legal, P.A.                                              PO Box 4065                                                        Miami Lakes       FL           33014
 Delgado, Ignacio                                                 Address on File
 Delgado, Jacob                                                   Address on File
 D'Elia & Associates LLC
 Delivery By Delivery Inc.                                        561 W 143 St                                                       New York          NY           10031
 Delivery By Wheels Inc                                           9783 E 116th St Pmb 2344                                           Fishers           IN           46037
 Dell Business Credit                 Payment Processing Center   PO Box 5275                                                        Carol Stream      IL           60197



Off Lease Only LLC, et al.                                                                                                                                                       Page 41 of 155
                                                            Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23   Page 42 of 155
                                                                                                        Creditor Matrix
                                                                                                      as of September 6, 2023
                    Creditor Name                          Attention                         Address 1                 Address 2    Address 3              City         State       Zip       Country
 Dellloyd Transport LLC                                                        1570 Degroodt Rd Sw                                              Palm Bay           FL           32908
 Delore, Matthew Cade                                                          Address on File
 DeLorenzo, Jordan Andrew                                                      Address on File
 Delray Acura                                                                  655 NE 6th Ave                                                   Delray Beach       FL           33483-5611
 Delray Beach Car Transport Inc                                                1031 Sunset Ave                                                  Delray Beach       FL           33444
 Delray Honda                                                                  3000 S Federal Highway                                           Delray Beach       FL           33483
 Delray Mitsubishi                             Luxury-Performance Automotive Gr1800 N Federal Hwy                                               Delray Beach       FL           33483
 Delta Petroleum And Industrial, Inc.                                          2070 Scott Ave                                                   West Palm Beach    FL           33409-3208
 Delta Rigs LLC.                                                               108 Ascot Court                                                  Columbia           SC           29210
 Deluxe Corporation                                                            PO Box 4656                                                      Carol Stream       IL           60197
 Demidov Transport Inc                                                         25906 Richards Rd                                                Spring             TX           77386
 Demren, Kenan                                                                 Address on File
 Demyo, Inc                                                                    220 SW 9th Ave                                                   Hallandale Beach   FL           33009
 Denise D Henriquez, Cfc                       Tax Collector Monroe County     PO Box 1129                                                      Key West           FL           33041-1129
 Denker, Kimberly Sue                                                          Address on File
 Denker, Tony James                                                            Address on File
 Dennelo Transport Inc                                                         494 Carver Road                                                  Rockledge          FL           32955
 Dennis Fink Trucking                                                          4871 Route 9G                                                    Germantown         NY           12526
 Dent Master                                                                   9112 Dupont Place                                                Wellington         FL           33414
 Dent Wizard                                   For Bradenton                   PO Box 7410241                                                   Chicago            IL           60674-0241
 Dent Wizard International                                                     4710 Earth City Expressway                                       Bridgeton          MO           63044
 Dent Zone
 Denys Trans Service LLC                                                       2726 Bellview Dr                                                 Bensalem           PA           19020
 Department Of Financial Services                                              200 East Gaines Street                                           Tallahassee        FL           32399-0307
 Department Of Regulatory And Economic Resourc                                 601 NW 1st Court                                                 Miami              FL           33136
 Department Of Solid Waste Management                                          2525 NW 62 Street                                                Miami              FL           33147
 Dependable Auto Tran/Dependable Auto Logistic                                 20304 Harper Ave                                                 Harper Woods       MI           48225
 Dependable Logistics                                                          PO Box 611                                                       Brandon            MS           39043
 Dependable Shipping & Services LLC                                            1684 Camden Firest Way                                           Riverdale          GA           30296
 Dependable Tow & Rec                                                          Post Office Box 266                                              Falconer           NY           14733
 DePrizio, Joseph Mark                                                         Address on File
 Dept Of Highway Safety & Motor Vehicle                                        2900 Apalachee Parkway                                           Tallahassee        FL           32399
 Dept Of Regulatory And Economic Resources     Zoning Permits Section          11805 SW 26 Street                                               Miami              FL           33175
 Dershem, Nicholas Bonateli                                                    Address on File
 Deschamps, Brando                                                             Address on File
 Desert Auto Corp                                                              102 NE 2nd Street                                                Boca Rataon        FL           33432
 Designdrafting78.Com                                                          4872 Coconut Blvd                                                Royal Palm Beach   FL           33411
 DeSimone, Curtis Adam                                                         Address on File
 Detroit Trading Services LLC                                                  670 S Old Woodward                                               Birmingham         MI           48009
 Deusanio, Christian James                                                     Address on File
 Deville Auto Trans Inc                                                        9025 NW 174th Lane                                               Miami              FL           33018
 Devine, Donald Howard                                                         Address on File
 Devito, Devin D                                                               Address on File
 Devito, Kevin                                                                 Address on File
 Devito, Sean                                                                  Address on File
 Devnic Transport Inc                                                          1127 Royal Palm Beach Blvd        Ste 190                        Royal Palm Beach   FL           33411
 Devnic Transport Inc                                                          1391 NW St Lucie West Blvd                                       Port St Lucie      FL           34986
 Devon Spaulding                                                               PO Box 372385                                                    Key Largo          FL           33037
 Devonshire Transport Inc                                                      2118 Richfield Cove Drive                                        Ocoee              FL           34761
 Dew Transport                                                                 645 Brough Rd                                                    Abbottstown        PA           17301
 Dex Media                                     Attn: Acct Receiveable Dept     Attn Acct Receivable Dept                                        Dfw Airport        TX           75261
 Dez Auto Transport LLC                                                        7 Crow Ct                                                        Palm Coast         FL           32137
 Dezba Asset Recovery Inc.                                                     5507-10 Nesconset Hwy                                            Mount Sinai        NY           11766
 Dfc Transport                                                                 3621 N Governor Williams Hwy                                     Darlington         SC           29540
 Dgl Transport Inc                                                             150 Lynbrook Dr                                                  Orlando            FL           32807
 Dgy Transport LLC                                                             5409 NW 42nd Ave                                                 Ft Lauderdale      FL           33319
 Dha Auto Carriers                                                             712 Cadiz Loop                                                   Davenport          FL           33837
 D'Haiti, Jean Maxy                                                            Address on File
 Dhi Transport                                                                 3702 Nature View Way #204                                        Tampa              FL           33624
 Dhl Express-Usa                                                               16592 Collections Center Dr                                      Chicago            IL           60693
 Dhr International Inc                                                         121 N Jefferson St                                               Chicago            IL           60661
 Dhr Mechanical Serv-Orlando, Inc                                              390 Hickman Drive                                                Sanford            FL           32771



Off Lease Only LLC, et al.                                                                                                                                                                   Page 42 of 155
                                                             Case 23-11389-CTG              Doc 1-1           Filed 09/07/23   Page 43 of 155
                                                                                                   Creditor Matrix
                                                                                                  as of September 6, 2023
                    Creditor Name                          Attention                Address 1                      Address 2    Address 3            City           State       Zip       Country
 Dhsmv                                                                 2900 Apalachee Pkwy                   Ms-02 Rm A-432                 Tallahassee        FL           32399-0504
 Dhsmv                                                                 901 Northpoint Parkway                Ste 115-116                    West Palm Beach    FL           33407
 Di Lusso Carriage Transportation LLC                                  25206 Wells Station Ct                                               Katy               TX           77493
 Di Mondi, Debra Ann                                                   Address on File
 Diamond Auto Hauling LLC                                              23153 SW 104th Place                                                 Miami              FL           33190
 Diamond Express Transportation                                        4224 N Nevada Ave                                                    Colorado Springs   CO           80907
 Diamond Glass Auto LLC                                                15352 Groose Point Lane                                              Clermont           FL           34714
 Diamond P Custom Transport LLC                                        300 Collage Ave                                                      Poteau             OK           74953
 Diamond Towing And Transportation, Inc.                               6278 N Federal Hwy                                                   Ft.Lauderdale      FL           33308
 Diamond Towing Inc                                                    1950 NW 10th Terr                                                    Homestead          FL           33030
 Diane Bell                                                            2574 Bonnie Best Rd                                                  Williamston        NC           27892
 Diaz Auto Carrier Inc                                                 1134 West 6th Street                                                 Hastings           NE           68901
 Diaz Auto Carrier Inc                                                 1500 SW 129th Ct                                                     Miami              FL           33184
 Diaz Canaura, Yusisneidy                                              Address on File
 Diaz Garcia, Reibert                                                  Address on File
 Diaz Gonzalez, Melton Orlando                                         Address on File
 Diaz Medrano, Xaviel McDaniel                                         Address on File
 Diaz Perdomo, Hamsel                                                  Address on File
 Diaz, Amanda Esther                                                   Address on File
 Diaz, D'Angelo                                                        Address on File
 Diaz, Frank Edward                                                    Address on File
 Diaz, Jason J                                                         Address on File
 Diaz, Orlando William                                                 Address on File
 Dibble, Sharon F                                                      Address on File
 Dibut Trans Corp                                                      11021 North Kendall Drive             Apt L301                       Miami              FL           33176
 Dick Joyce Well Drilling Inc                                          2709 Country Club Road                                               Sanford            FL           32771
 Dickey, Brandie Jean                                                  Address on File
 Diehl Landscape                                                       2205 21st Street West                                                Palmetto           FL           34221
 Dieng, Marshea Lavonne                                                Address on File
 Diesel Auto Express                                                   12711 NE 95th Street                                                 Vancouver          WA           98682
 Digam Logistic Transport Inc.                                         15321 Beaufort Ct                                                    Corpus Christi     TX           78418
 Digital Air Strike                              Dept # 880213         PO Box 29650                                                         Phoenix            AZ           85038-9650
 Digital Radio
 Dijols, Brian Daniels                                                 Address on File
 Dil Trucking Inc                                                      2803 Spinner Ct                                                      Napaville          IL           60565
 Dila Auto Group Inc                                                   66 Cleveland St                                                      Belleville         NJ           07109
 Dila Corp                                                             34 Cour Versaille                                                    Palos Hills        IL           60465
 Dillard, Elizabeth Ashleigh                                           Address on File
 Dillard, Marc Christian                                               Address on File
 Dingman Transport LLC                                                 117 Center Point Road                                                Elkland            MO           65644
 Dinnal, Jahmord Patrick                                               Address on File
 Direct 2 U Auto Transport                                             16350 SW 112 Ave                                                     Miami              FL           33157
 Direct Atlantic Transportation                                        7009 Marie                                                           Mechanicsville     VA           23111
 Direct Auto Carrier Corp                                              4100 W 19th Avenue                                                   Hialeah            FL           33012
 Direct Auto Transport Inc.                                            2200 N Federal Hwy                                                   Hollywood          FL           33020
 Direct Car Shipping Inc 2                                             2026 Ocean Avenue                                                    Brooklyn           NY           11230
 Direct Express Trucking LLC                                           15 Edmands Road                                                      Framingham         MA           01701
 Direct Lane Transport Corp                                            3297 NW 30th St                                                      Miami              FL           33142
 Direct Motor Lines Inc                                                5522 Claredon Hills Road                                             Clarendon Hills    IL           60514
 Direct Results Marketing LLC                                          900 Apollo St                                                        Houston            TX           77058
 Direct Transport Inc                                                  3907 W Wendover Ave                                                  Greensboro         NC           27407
 Dirty Deed Recovery LLC                                               630 Lakemont Dr                                                      Brandon            FL           33510
 Discount Cv Joint Rack & Pinion Rebuilding                            2740 NW 35th Street                                                  Miami              FL           33142
 Discount Infiniti Parts
 Discount Tire And Auto Repair Of Margate, Inc                         125 S State Road 7                                                   Margate            FL           33068
 Dispatch Inc                                                          815 North Homestead Blvd                                             Homestead          FL           33030
 Div Transportation LLC- Fl Only                                       18431 NW 24 Ave                                                      Miami Gardens      FL           33056
 Diversified Insurance Facilities                                      PO Box 9177                                                          Spring             TX           77387
 Divine Auto Transport Inc                                             8400 N University Dr Ste 219                                         Tamarac            FL           33321
 Divine Auto Transport Inc                                             7378 W Atlantic Blvd                                                 Margate            FL           33063
 Divine Moving & Transport                                             5137 Deer Creek Drive                                                Orlando            FL           32821
 Divinty Transport LLC                                                 PO Box 581004                                                        Kissimmee          FL           34758



Off Lease Only LLC, et al.                                                                                                                                                               Page 43 of 155
                                                              Case 23-11389-CTG                       Doc 1-1          Filed 09/07/23   Page 44 of 155
                                                                                                            Creditor Matrix
                                                                                                           as of September 6, 2023
                    Creditor Name                           Attention                          Address 1                    Address 2    Address 3            City           State       Zip       Country
 Diz LLC/ Molly Anne LLC                                                        1301 A North Slappey Blvd                                            Albany             GA           31701
 Dj Auto Collision Center                                                       3588 NW 52nd St                                                      Miami              FL           33169
 Dj Transport LLC                                                               121 Tiger Lily Drive                  Bldg C2 Apt102                 Pensacola          FL           32516
 Dj&J Transport                                                                 1224 Holmewood Drive                                                 Pasadena           MD           21122
 Djebrouni, Mohamed Kenzy                                                       Address on File
 Djs Surveyors, Inc                                                             20283 State Road 7 Ste200                                            Boca Raton         FL           33498
 Dk Auto Services LLC                                                           15286 SW 104th Street                                                Miami              FL           33196
 Dk Auto Transport LLC                                                          1701 85th Street                                                     Brooklyn           NY           11214
 Dk Express Inc.                                                                172 Prospect Street                                                  Chicopee           MA           01013
 Dkma Ellis Logistics LLC                                                       884 Forest Street                                                    Hinesville         GA           31313
 Dl Transport Express Inc                                                       PO Box 154                                                           Lehigh Acres       FL           33970
 Dl Transport Inc                                                               PO Box 336                                                           Kings Mountain     NC           28086
 Dln Transport LLC                                                              4302 Hollywood Blvd                                                  Hollywood          FL           33021
 Dls A/T LLC                                                                    2240 Lafayette St                                                    Falconer           NY           14733
 Dm&S Campillo Transportation                                                   15012 SW 65 Terr                                                     Miami              FL           33193
 Dmb Auto & Truck Accessories, Inc.                                             4301 NW 19th Ave                                                     Pompano Beach      FL           33064
 Dmc Trucking LLC                                                               5542 Legends Drive                                                   Braselton          GA           30517
 Dmitry Chechersky                                                              66 Fox Rd                                                            Edison             NJ           08817
 Dmv Transport LLC                                                              281 Parkview Drive                                                   Palm Coast         FL           32164
 Dmv Transport LLC                                                              58 Llama Trail                                                       Palm Coast         FL           32164
 Dn Transport Inc                                                               14586 Durbin Island Way                                              Jacksonville       FL           32259
 Dnl Hauling LLC                                                                7107 NW 58th St                                                      Tamarac            FL           33321
 Dns
 Dns Services                                                                   4400 NE 77th Ave                                                     Vancouver          WA           98662
 Dnt Transport                                                                  2221 Rossville Blvd                                                  Chattanooga        TN           37408
 Doak, Orion Karl                                                               Address on File
 Dobbs Distributing LLC                                                         219 Chris Ryan Ln                                                    Toney              AL           35773
 Dobbs, Jonathan James                                                          Address on File
 Docs Diner-Key Largo
 Docupro                                                                        750 S Powerline Rd Ste E                                             Deerfield Beach    FL           33442
 Docusign Inc                                                                   Dept 3428                                                            Dallas             TX           75312-3428
 Dodi Logistics Inc                                                             1863 Techny Rd Unit D                                                Northbrook         IL           60062
 Dogsled Transportation                                                         725 S Nova Rd Pmb 265                                                Ormond Beach       FL           32174
 Dollar Tree
 Domingo Seat Cover Inc                                                         9805 NW 80th Ave                                                     Hialeah Gardens    FL           33016
 Dominguez, Jose E                                                              Address on File
 Dominion Enterprises
 Dominion Tire Wholesale                                                        445 West 26 Street                                                   Hialeah            FL           33010
 Don Mcgill Toyota                               Don Mcgill West Houston, Ltd   11800 Katy Fwy                                                       Houston            TX           77079
 Donadelle, Kamal Ashli                                                         Address on File
 Donco, Inc                                                                     PO Box 56346                                                         Atlanta            GA           30343
 Done Rite Recovery Services                                                    3056 East 170th Street                                               Lansing            IL           60438
 Dones Auto Trans/Professional Auto Broker Svc                                  10831 NW 144th Street                                                Hialeah Gardens    FL           33018
 Dones Auto Transport                                                           Professional Auto Broker Services                                    Hialeah Gardens    FL           33018
 Donovans Transport Inc                                                         5400 Towles Mill Rd                                                  Partlow            VA           22534
 Donznae Trucking                                                               4927 Washington Ferry Rd                                             Montgomery         AL           36108
 Door And Glass Services Company                                                8267 B Causeway Blvd                                                 Tampa              FL           33619
 Door To Door Enterprises Inc                                                   5800 Thisledown Ct                                                   West Palm Beach    FL           33415-4567
 Dorado Finance, Ltf                             Myt Transport LLC              1790 Lee Trevino Dr - Ste 600                                        El Paso            TX           79936
 Doral Auto Care                                                                5721 NW 36th Str                                                     Virginia Gardens   FL           33166
 Doral Hyundai
 Doral Lincoln, LLC                                                             9000 NW 12th Street                                                  Doral              FL           33172
 Doral Toyota                                                                   9775 NW 12th Street                                                  Doral              FL           33172
 Dorcely, Emilien                                                               Address on File
 Dordete, Ricardo                                                               Address on File
 Dorman Transports                                                              12213 Mcintosh Road                                                  Thonotasassa       FL           33592
 Dorman's Auto                                                                  434 Prospect Street                                                  Pawtucket          RI           02860
 Dorsainvil, Emmanuel                                                           Address on File
 Dorsett, Lonnie Robert                                                         Address on File
 Doty, Lawrence W                                                               Address on File
 Double A Transport                                                             1013 Cornatzer Road                                                  Mocksville         NC           27028
 Double Aa Transportation Inc                                                   1512 N Grandview Street                                              Mount Dora         FL           32757



Off Lease Only LLC, et al.                                                                                                                                                                        Page 44 of 155
                                                          Case 23-11389-CTG            Doc 1-1           Filed 09/07/23   Page 45 of 155
                                                                                              Creditor Matrix
                                                                                             as of September 6, 2023
                   Creditor Name                        Attention                Address 1                    Address 2    Address 3             City          State       Zip       Country
 Double D Trucking                                                  82 Morrison Road                                                   Acra               NY           12405
 Double J Carriers
 Double M Transporting LLC                                          300 Pates Lake Cove                                                Hampton            GA           30228
 Double O Transport LLC                      Francisco Gomez Jr     14 Olive Circle Loop                                               Ocala              FL           34472
 Double T Transportation Co                                         3920 State St NW Suite B                                           Canton             OH           44720
 Double-Up Auto LLC                                                 8686 Tally Ho Lane                                                 Royal Palm Beach   FL           33411
 Doug Belden, Tax Collector                                         PO Box 30012                                                       Tampa              FL           33630-3012
 Douglas, Andrea Detrice                                            Address on File
 Douglas, Suzan Marie                                               Address on File
 Down To Earth                                                      150 Cliff Ln                                                       Fall Branch        TN           37656
 Downes, Brianna Bernadine                                          Address on File
 Dowrion LLC                                                        764 San Aleso Ave                                                  Sunnyvale          CA           94085
 Doyle, John David                                                  Address on File
 Dp Auto Carriers LLC                                               6404 Gwinnett Lane                                                 Bowie              MD           20720
 Dps Express Inc                                                    1644 Franklin Ln                                                   North Port         FL           34286
 Dr Lee Transport LLC                                               4575 SW 145th Pl Rd                                                Ocala              FL           34473
 Dra Enterprise LLC                                                 139 Coronet Street                                                 Summerville        SC           29483
 Dragon Logistic LLC                                                PO Box 3265                                                        Windermere         FL           34786
 Dragonram Trasport LLC                                             311 Dothan Road                                                    Abbeville          AL           36310
 Drapes & Shades Custom Windows Designs, LLC                        6039 NW 31st Ave Unit B                                            Fort Lauderdale    FL           33309
 Drb Auto Transport Inc                                             171 Guadalajara Dr                                                 Kissimmee          FL           34743
 Dream Car Network, Inc                                             10236 Chorlton Circle                                              Orlando            FL           32832
 Dreamworks Motorsports Inc.                                        306 W South Madison Blvd                                           Roxboro            NC           27573
 Dres Transportation LLC                                            565 Delaney Gerry Road                                             Versailles         KY           40383
 Drg Highway Transportation Corp                                    2449 Tortugas Ln                                                   Fort Lauderdale    FL           33312
 Dricky Transport Inc                                               7321 Grandview Blvd                                                Miramar            FL
 Driving Your Way LLC                                               19753 Dinner Key Drive                                             Boca Raton         FL           33498
 Drm Trucks Corporation                                             12347 Surrey Ln                                                    Homer Glen         IL           60491
 D'Roche Transport Inc                                              9350 Fontainbleau Blvd                                             Miami              FL           33172
 Drone 1 Trucking LLC                                               5800 W Sample Rd - Unit 102                                        Coral Springs      FL           33067
 Drq Transport                                                      6002 N Gunlock Ave                                                 Tampa              FL           33614
 Drummer, Sholondra                                                 Address on File
 Ds Freight Lines Inc                                               6114 Eagle Trace Drive                                             Ypsilanti          MI           48197
 Dsb Transportation                                                 3129 Merino Lane                                                   Twinsburg          OH           44087
 Dsb Transportation                                                 762 Eastland Ave                                                   Akron              OH           44305
 Dsb Transportation LLC                                             6260 Wiles Road 203                                                Coral Springs      FL           33067
 Dsb Trucking Inc                                                   258 E 42nd Street                                                  Dallas             PA           18612
 Dsi Auto Trans Inc                                                 2666 Borinquen Drive                                               Kissimmee          FL           34744
 Dsn                                                                21668 Arriba Real                                                  Boca Raton         FL           33433
 Dsr Transport LLC                                                  20102 Satin Leaf Avenue                                            Tampa              FL           33647
 Dudley's Towing & Transport LLC                                    4661 Spohrs Road                                                   Berkeley Springs   WV           25411
 Duenas, Ricardo                                                    Address on File
 Dufa Logistics Inc.                                                8218 Borgia Ct                                                     Orlando            FL           32836
 Dumas Marketing Inc                                                4066 Howardtown Rd                                                 Tibbie             AL           36583
 Dumas, Diane Lilliam                                               Address on File
 Dumas, Brian                                                       Address on File
 Dunay Miskel Backman And Blattner Llp                              14 Se 4th Street                                                   Boca Raton         FL           33432
 Dunbar, Richard                                                    Address on File
 Dunkley Transport                                                  4959 Belvedere Road                                                West Palm Beach    FL           33415
 Dunkley, Andrew John                                               Address on File
 Dunkley, Brandon Andrew                                            Address on File
 Dunlap, Larry Wayne                                                Address on File
 Dunn Good Transport LLC                                            656 East Warren Avenue                                             Longwood           FL           32750
 Duo Dynamics Inc,                                                  PO Box 1235                                                        Burleson           TX           76097
 Dupont Registry                                                    3051 Tech Drive                                                    St Petersburg      FL           33716
 Dups Express Inc                                                   237 Yarbro Rd                                                      Kings Mountain     NC           28086
 Duque Auto Glass Inc                                               2610 NW 7 Street                                                   Miami              FL           33125
 Duque Enriquez, Andres Felipe                                      Address on File
 Duque Transport                                                    16001 Cotllion Dr 210                                              Houston            TX           77060
 Duquette, Joseph Charles                                           Address on File
 Duran, Brian Joel                                                  Address on File
 Duvall's Towing Service Inc                                        1403 Timberlane Cir                                                Greenacres         FL           33463



Off Lease Only LLC, et al.                                                                                                                                                          Page 45 of 155
                                                           Case 23-11389-CTG                    Doc 1-1         Filed 09/07/23   Page 46 of 155
                                                                                                      Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                        Attention                          Address 1                Address 2    Address 3             City          State       Zip       Country
 Dv Logistics LLC                                                            911 Knob Creek Dr                                                Ellabell           GA           31308
 Dvp Express Corp                                                            3 Kessler Driver                                                 Nashua             NH           03063
 Dw Transport                                                                929 Kirby Farm Rd                                                Florence           SC           29506
 Dwa Automotive Inc                                                          4111 NW 135 St                                                   Opa-Locka          FL           33054
 Dwo Corp                                                                    448 Lock Rd Apt 130                                              Deerfield Beach    FL           33442
 Dwyer, Zachary David-Lee                                                    Address on File
 Dya Transport Corp                                                          1508 73rd Street                                                 North Bergen       NJ           07047
 Dyckman Auto Service, Inc                                                   5451 NE 159th Street                                             Miami              FL           33014
 Dydo, John J                                                                Address on File
 Dylan Express Corp                                                          20160 NW 46 Ave                                                  Miami Gardens      FL           33055
 Dynafire, Inc.                                                              109-B Concord Dr                                                 Casselberry        FL           32707
 Dynamic Aspects, Inc.                                                       1490 Kastner Place                                               Sanford            FL           32771
 Dynamic Auto Transport                                                      5889 Rodman Street                                               Hollywood          FL           33023
 Dynamic Duo Auto Transport LLC                                              890 NW 45 Avenue                                                 Miami              FL           33126
 Dynamic Media                                National Telecom Deployments   38283 Mound Rd                                                   Sterling Heights   MI           48310
 Dynamic Transport                                                           2408 Elsenhower Drive N                                          Goshen             IN           46526
 Dynamix Auto Transport LLC                                                  4311 SW 4th Street                                               Coral Gables       FL           33134
 Dynasty Transport Service LLC                                               2320 Ardon Ave                                                   Orlando            FL           32833
 E & C Engineers                                                             117 Moorings Drive                                               Lantana            FL           33462
 E & O Tool LLC                                                              2970 NW 96th Street                                              Miami              FL           33147-2338
 E Fleet Global LLC                                                          1040 Spyglass                                                    Weston             FL           33326
 E Q Logistics Co                                                            1699 Wall St 201-F                                               Mount Prospect     IL           60056
 E&A Auto Transport                                                          706 Cotton Cloud Ln                                              Lebanon            TN           37090
 E&B Trucking LLC                                                            571 E 23rd St                                                    Paterson           NJ           07514
 E&D Auto Transport LLC                                                      11870 Hialeah Gardens Blvd                                       Hialeah Gardens    FL           33018
 E&E Auto Transport Inc                                                      3805 155th Ave East                                              Parrish            FL           34219
 E&E Quality Transport Inc                                                   10450 SW 164 Street                                              Miami              FL           33157
 E&G Towing Recovery Services                                                PO Box 524591                                                    Miami              FL           33152
 E&G Transport Solutions Inc.                                                PO Box 669038                                                    Miami              FL           33166
 E&G Truck Service Inc.                                                      7950 NW 174th Street                                             Hialeah            FL           33015
 E&J Transport Inc.                                                          348 Madison Grace Avenue                                         Mcdonough          GA           30252
 E&R Auto Transport                                                          1807 S Wright St                                                 Dinuba             CA           93618
 E&R Trucking                                                                2508 SW 31st Ln                                                  Cape Coral         FL           33914
 E.A.S. Industries, Inc                                                      3000 NW 59th St                                                  Ft. Lauderdale     FL           33309
 E.C. Plumbing Services Inc.                                                 1402 North Pine Hills Road                                       Orlando            FL           32808
 Eac-Environmental Assessments & Consulting                                  1876 Barber Road 200-B                                           Sarasota           FL           34240
 Ead Xpress Inc.                                                             19870 SW 122 Nd Ct                                               Miami              FL           33177
 Eagle 1 Transport LLC                                                       505 Broadcast Drive                                              Spartanburg        SC           29303
 Eagle Auto Transport                                                        240 E Lake Street Ste 103                                        Addison            IL           60101
 Eagle Auto Transport Corp                                                   1275 W 35th St # 33B                                             Hialeah            FL           33012
 Eagle Auto Transport Of Miami Inc                                           1350 W 6th Ave Apt 204                                           Hialeah            FL           33010
 Eagle Car Hauler LLC                                                        PO Box 3101                                                      Kearny             NJ           07032
 Eagle Concrete & Inflatables LLC                                            1337 Lynley Rd                                                   Durham             NC           27703
 Eagle Eye Logistics                                                         12126 Fox Bloom Avenue                                           Gibsonton          FL           33534
 Eagle Line Express Inc                                                      1054 Briarcliff Rd                                               Mooresville        NC           28115
 Eagle One Inc                                                               1706 Winslow St                                                  Elizabeth City     NC           27909
 Eagle Overhauling Inc                                                       500 W 27th Street                                                Hialeah            FL           33010
 Eaglecast Transportion LLC                                                  8021 Janes Avenue                                                Woodridge          IL           60517
 Eagles Pro Transportation Inc                                               21726 Rainberry Park Cir                                         Boca Raton         FL           33428
 Earl Stewart Toyota And Scion                                               1215 North Federal Highway                                       Lake Park          FL           33403
 Earle, John                                                                 Address on File
 Eason, Andrew Maxwell                                                       Address on File
 East Coast Auto Hauling LLC                                                 6271 Startown Rd                                                 Maiden             NC           28650
 East Coast Auto Transport Inc.                                              12 Liber Blvd                                                    Farmingville       NY           11738
 East Coast Express LLC                                                      1510 40th St                                                     North Bergen       NJ           07047
 East Coast Refrigerated Transport                                           3564 Avalon Park Blvd                                            Orlando            FL           32828
 Eastlake Towing LLC                                                         5900 119th Ave Se Apt C95                                        Bellevue           WA           98006
 Easy Auto Transport Inc                                                     2051 Champagne Dr                                                Asheboro           NC           27203
 Easy Car Trasnport Inc                                                      11240 NW 6th St                                                  Miami              FL           33172
 Eaton Family Credit Union                                                   333 Babbitt Rd                                                   Euclid             OH           44123
 Eba & Sons Transport Inc                                                    7395 Willow Springs Cirr E                                       Boynton Beach      FL           33436
 Ebanks, Wayne                                                               Address on File



Off Lease Only LLC, et al.                                                                                                                                                                 Page 46 of 155
                                                    Case 23-11389-CTG                        Doc 1-1         Filed 09/07/23   Page 47 of 155
                                                                                                   Creditor Matrix
                                                                                                 as of September 6, 2023
                     Creditor Name                Attention                           Address 1                   Address 2    Address 3              City          State       Zip       Country
 Ebay, Inc                                                              2145 Hamilton Avenue                                               San Jose            CA           95125
 Ebeling, Melissa                                                       Address on File
 Eberly, Jason Wade                                                     Address on File
 Ebro LLC                                                               904 Silver Spur Rd # 338                                           Rolling Hills       CA           90274
 Ec Auto Towing Inc                                                     713 SW 6th Ave                                                     Hallandale Beach    FL           33009
 Ec Auto Transport                                                      143 West 14 St                                                     Hialeah             FL           33010
 Ecarmover Inc.                                                         18865 State Rd 54 #312                                             Lutz                FL           33558
 Ece Auto Transport LLC                                                 11543 SW 142nd Court                                               Miami               FL           33186
 Echaves, Marcus Daniel                                                 Address on File
 Echeverria, Alfredo Antonio                                            Address on File
 Echols, Eric Christopher                                               Address on File
 Eclipse Auto Transport                                                 115 Franklin Turnpike #177                                         Mahwah              NJ           07430
 Eclipse Factoring LLC                 Compa Co                         16850 Collins Ave #112-733                                         Sunny Isles Beach   FL           33160
 Eco Way Transport LLC.                                                 8450 Grand Ave                                                     River Grove         IL           60171
 Economy Tent Internatioal                                              2995 NW 75th Street                                                Miami               FL           33147-5943
 Ecook Consulting, LLC                                                  4201 Vinkemulder Rd                                                Coconut Creek       FL           33073
 Ecotrak Facilities Management, Inc                                     18004 Sky Park Cir - Ste 100                                       Irvine              CA           92614
 Ecs Florida LLC                                                        14026 Thunderbolt Place                                            Chantilly           VA           20151
 Ecs Tuning                                                             1000 Seville Rd                                                    Wadsworth           OH           44281
 Ecy Truck Repair And Sales Corp                                        7388 SW 133 Loop                                                   Ocala               FL           34473
 Ed Morse Honda                                                         3790 W Blue Heron Blvd                                             Riviera Beach       FL           33404-4902
 Ed Morse Sawgrass Auto Mall                                            14401 W Sunrise Blvd                                               Sunrise             FL           33323-3202
 Eddie's Towing & Storage Inc                                           1885 Chrisman Mill Rd                                              Nicholasville       KY           40356
 Eddy Auto Center & Body Shop                                           795 W 83rd St                                                      Hialeah             FL           33014-3613
 Eddy Auto Transport Inc                                                19088 Miami Blvd                                                   Ft Myers            FL           33967
 Eddy Yane Inc                                                          300 David Ave                                                      Clearwater          FL           33759
 Edelstein, Barry                                                       Address on File
 Edgar P Transport                                                      2622 NE 20th Pl                                                    Cape Coral          FL           33909
 Edgar Pena                                                             2622 NE 20th Place                                                 Cape Coral          FL           33909
 Edgau Services & Transportation Inc                                    28 1st Street Apt3                                                 Webster             MA           01570
 Edge Logistics (Benefit Of)           Wintrust Bank- Lockbox Receiveab PO Box 6784                                                        Carol Stream        IL           60197-6784
 Edl Auto LLC                                                           23 Hyde Ct                                                         Bedminster          NJ           07921
 Edmunds.Com Inc                                                        PO Box 783531                                                      Philadelphia        PA           19178-3531
 Edose, Jerry Jeremiah                                                  Address on File
 Edouard, Daniel Mathurin                                               Address on File
 Edouard, Jackie Anna                                                   Address on File
 Edouard, Markeisha                                                     Address on File
 Eduardo Gallinal-On My Way                                             2993 W 80 Street                                                   Hialeah             FL           33018
 Edwards Auto Transport                                                 944 County Road 40                                                 Nova                OH           44859
 Edwards Family Transport Inc                                           300 E Oakland Park Blvd                                            Oakland Park        FL           33334
 Edwards Transport                                                      6980 New Highway 68                                                Madisonville        TN           37354
 Edwards, Mark Anthony                                                  Address on File
 Edwards, Sabrina                                                       Address on File
 Edwins Auto Transport                                                  49 Lynch Farm Dr                                                   Newark              DE           19713
 Eells, Alecia M                                                        Address on File
 Effes Express Inc                                                      722 Weiland Road                                                   Rochester           NY           14626
 Efficient Carrier Inc                                                  531 E 59th St                                                      Hialeah             FL           33013
 Efficient Transporters                                                 232 Lake Vista Drive                                               Auburndale          FL           33823
 Effingham County Tax Commissioner                                      901 N Pine Street                                                  Springfield         GA           31329
 Efr Trans Inc                                                          15464 SW 143rd St                                                  Miami               FL           33169
 Eg Truck LLC                                                           1255 W 49 Pl# C201                                                 Hialeah             FL           33012
 Egm Carriers Inc                                                       3845 27th Ave Ne                                                   Naples              FL           34120
 Egn Transportation Inc                                                 10511 SW 166th Street                                              Miami               FL           33157
 Ehlers, Christopher                                                    Address on File
 Eichmuller, Brian Paul                                                 Address on File
 Ein Presswire News
 Ejw Trucking LLC                                                       1048 Bue Hill Ave                                                  Boston              MA           02124
 Ekb Delivery LLC                      Miskevich,Olga                   231 191st St                                                       Sunny Isles Beach   FL           33160
 Eko Transport Inc                                                      4269 Huntington Forest Blvd                                        Jacksonville        FL           32257
 Eks Express Inc                                                        3154 Sheffield Place                                               Southampton         PA           18966
 El Trucking Express Inc.                                               1 Hastings Avenue                                                  Millbury            MA           01527
 Elc Transport Corp                                                     7215 Miami Lakes Drive A7                                          Miami Lakes         FL           33014



Off Lease Only LLC, et al.                                                                                                                                                               Page 47 of 155
                                      Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 48 of 155
                                                                           Creditor Matrix
                                                                          as of September 6, 2023
                     Creditor Name   Attention                Address 1                    Address 2    Address 3            City          State       Zip       Country
 Eldridge, Steve Scott                           Address on File
 Elegance Trucking Corp                          1040 SW 73rd Avenue                                                Miami             FL           33144
 Element Transportation Inc                      27442 Green Gulf Blvd                                              Punta Gorda       FL           33955
 Elementor Ltd
 Elend Solutions                                                                                                                      CA
 Eleven Transport Corp                           3847 Shoreside Dr                                                  Kissimmee         FL           34746
 Elgin Auto Express Inc                          3 Golf Center #167                                                 Hoffman Estates   IL           60169
 Elgin Transport LLC                             2513 Chesterfield Dr                                               Ft Pierce         FL           34982
 Elia, Melissa Ann                               Address on File
 Elie, Stephanie                                 Address on File
 Elier Auto Body LLC                             1575 Donna Rd                                                      West Palm Beach   FL           33409-5201
 Elio Auto Carrier LLC                           2829 Delcrest Drive                                                Orlando           FL           32817
 Eliot Freight Inc                               4260 Westbrook Dr - Ste 116                                        Aurora            IL           60504
 Elite 7 Towing LLC                              4430 Wade Green Road                                               Kennesaw          GA           30144
 Elite Auto Carriers Inc                         124 Plantation Pointe Loop          Apt 206                        Mooresville       NC           28117
 Elite Auto Carriers LLC                         4417 13th St #152                                                  St Cloud          FL           34769
 Elite Auto Logistics                            7144 Quail Hollow Blvd                                             Wesley Chapel     FL           33544
 Elite Auto Transport LLC                        4901 Jefferson Rd                                                  Delray Beach      FL           33445
 Elite Autotrans LLC                             2549 Waukengan Rd Pmb 24522                                        Bannockburn       IL           60015
 Elite Autotransport LLC                         PO Box 1535                                                        Simpsonville      SC           29681
 Elite Car Haulers                               2793 W 73 Pl                                                       Hialeah           FL           33016
 Elite Cars Va                                   14543 Picket Oaks Rd                                               Centreville       VA           20121
 Elite Collision Inc                             8160 S Orange Ave                                                  Orlando           FL           32809
 Elite Exposure Marketing
 Elite Integration Solutions                     297 NW 54th St                                                     Miami             FL           33127
 Elite Motor Lines Inc                           PO Box 136179                                                      Clermont          FL           34713
 Elite Msp, Inc.                                 160 Commerce Rd Ste D                                              Boynton Beach     FL           33426
 Elite Printing                                  1481 S Military Trail #12                                          West Palm Beach   FL           33415
 Elite Quick Services Inc.                       11641 Memory Ln                                                    Ft Myers          FL           33919
 Elite Services Of Orangeburg LLC                1448 Glover Street                                                 Orangeburg        SC           29115
 Elite Site Development LLC                      5448 Hoffner Avenue Suite 308                                      Orlando           FL           32812
 Elite Trucking Corp                             264 SW 3rd Terrave Unit 201                                        Cape Coral        FL           33991
 Elite Trucking Corp                             23031 Jumper Ave                                                   Port Charlotte    FL           33952
 Elite Trucking Corp                             PO Box 110352                                                      Hialeah           FL           33011
 Elite Trucking Corp                             PO Box 226321                                                      Miami             FL           33222
 Elite Trucking Corp.                            PO Box 150924                                                      Cape Coral        FL           33915
 Elizabeth River Tunnels                         700 Port Centre Parkway                                            Portsmouth        VA           23704-5901
 Elizandro Acosta                                6915 N Donald Ave                                                  Tampa             FL           33614
 Ellerbe, Joyce Elizabeth                        Address on File
 Ellerbe, Stacey                                 Address on File
 Ellesse Transport Inc.                          1749 W Golf Road                                                   Mount Prospect    IL           60056
 Elliott, Thomas                                 Address on File
 Elliott-Baltimore, Michael                      Address on File
 Elmgrove Transport Co                           11300 Us Hwy 271 #212                                              Tyler             TX           75708
 Eln Transport LLC                               3103 15th Street Sw                                                Lehigh Acres      FL           33976
 Elvis Express                                   231 Joy Ln Fl2                                                     New Britain       CT           06053
 Em Express Inc                                  PO Box 3653                                                        Hollywood         FL           33083
 Em Towing & Transport                           600 Rothwood Ave                                                   Madison           TN           37115
 Emagen Photo LLC                                19156 Se Southgate Drive                                           Jupiter           FL           33469
 Emanuel Towing And Tire, Corp.                  1609 S Congress Ave                                                Palm Springs      FL           33461
 Embroidery Plus Signs                           824 Lantana Road                                                   Lantana           FL           33462
 Emci Transportation Inc                         1400 Herrington Road                                               Lawrenceville     GA           30044
 Emilia Transport LLC - Fl Only                  10934 N Aster Avenue                                               Tampa             FL           33612
 Emiliozzi, Favio G                              Address on File
 Emm Transport Inc.                              836 Iron Oak Drive                                                 Orlando           FL           32809
 Empire Auto                                     PO Box 417                                                         Syracuse          NY           13209
 Empire Auto Transport LLC                       3339 Deep Water Ct                                                 Orlando           FL           32826
 Empire Auto Transportation Grp                  PO Box 417                                                         Syracuse          NY           13209
 Empire State Group Inc                          4651 Babcock St                                                    Palm Bay          FL           32905
 Empire Tire Recycling                           550 N Mission Rd                                                   Orlando           FL           32808-7729
 Empire Towing And Recovery Inc                  506 Bullis Rd                                                      West Seneca       NY           14224
 Empire Transportation LLC                       14207 E Grand Drive 82                                             Aurora            CO           80015



Off Lease Only LLC, et al.                                                                                                                                      Page 48 of 155
                                                               Case 23-11389-CTG                Doc 1-1         Filed 09/07/23   Page 49 of 155
                                                                                                       Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                            Attention                  Address 1                    Address 2    Address 3             City           State       Zip       Country
 Empire Trucking Inc                                                       855 Salem Street                                                   Lynnfiled           MA           01940
 Employer Plan Services Inc                                                2180 North Loop West                                               Houston             TX           77018
 Ems Management LLC                                                        6363 S Fiddlers Green Cir           Ms14th Fl                      Greenwood Village   CO           80111
 Ems Towing                                                                977 NW 19th Ave                                                    Ft Lauderdale       FL           33311
 Endless Transport LLC                                                     6523 Alta Monte Dr                                                 Tampa               FL           33634
 Enel X North America
 Engaged Transport LLC                                                     4363 Marilyn Drive                                                 Lake Worth          FL           33461
 Engle, Stuart A                                                           Address on File
 Enki Hauler Inc.                                Fernandez,Lazara          25835 SW 122 Nc Ct                                                 Homestead           FL           33023
 Ennis, Anthony Joseph                                                     Address on File
 Enri & Herv Inc                                                           2227 Wilder Street                                                 Philadelphia        PA           19146
 Enterprise Financial Group                                                PO Box 167667                                                      Irving              TX           75016-7667
 Enterprise Fleet Finance                                                  2360 Clark Street                                                  Apopka              FL           32703
 Enterprise Leasing Company Of Orlando, LLC                                5442 Hoffner Ave                                                   Orlando             FL           32812-2501
 Enterprise Rent A Car                                                     1725 Mount Vernon Rd                                               Leesburg            FL           34748-7014
 Enterprise Rent A Car                                                     5105 Johnson Rd                                                    Coconut Creek       FL           33073
 Enterprise Rent-A-Car                                                     6320 Pensacola Blvd                                                Pensacola           FL           32505-1902
 Enterprise Rent-A-Car                           Attn: Accts Receivable    11945 SW 140th Ter                                                 Miami               FL           33186
 Enterprise Rent-A-Car                           Attn: Accts Receiveable   2601 S Federal Hwy                                                 Ft Lauderdale       FL           33316-4017
 Enterprise Rent-A-Car                           Accts Receivable          3505 E Frontage Rd                                                 Tampa               FL           33607-1791
 Enterprise Rent-A-Car                           Attn: Accts Receivable    5442 Hoffner Ave                                                   Orlando             FL           32812
 Enterprise Transport Service/Enterprise Logis                             5440 West Coon Lake                                                Howell              MI           48843
 Enterprise Vehicle Exchange                                               5105 Johnson Road                                                  Coconut Creek       FL           33073
 Enterprises South North Transportation Inc                                864 E 29 St                                                        Hialeah             FL           33013
 Entropy Global Investment, Inc                                            7980 Hawthorne Avenue                                              Miami Beach         FL           33141
 Envato Market
 Environmental & Consumer Protection Division    Broward County            1 North University Dr - Mb 302                                     Plantation          FL           33324
 Ep Express Inc                                                            7 Coleridge Court                                                  Palm Coast          FL           32137
 Equifax                                                                   PO Box 105835                                                      Atlanta             GA           30348
 Er Auto Transport Inc                                                     10231 New Kings Rd                                                 Jacksonville        FL           32219
 Er Auto Transport Inc.                                                    700 Blanding Blvd                                                  Orange Park         FL           32065
 Er Car Carriers                                                           402 Everwood Drive                                                 Kissimmiee          FL           34743
 Er Car Towing Inc                                                         8940 NW 153 Terr                                                   Miami Lakes         FL           33018
 Erbilen, Bora                                                             Address on File
 Eretz Auto Transport LLC                                                  3030 SW 2nd Street                                                 Miami               FL           33135
 Erg Transportation LLC                                                    7980 N Nob Hill Rd Apt 205                                         Tamarac             FL           33321
 Erie Shores Transport LLC                                                 445 N Dixie                                                        Monroe              MI           48162
 Erin And Bills Auto                                                       140 Irwin Place                                                    Amherst             NY           14228
 Erin And Bills Auto                                                       4291 Maple Road                                                    Amherst             NY           14226
 Erj Logistics                                                             61 Volkorn Road                                                    Magnolia            DE           19962
 Ermar Properties                                                          8144 Desmond Drive                                                 Bonton Beach        FL           33472
 Ernest Transportation LLC                                                 15155 SW 20th Lane                                                 Miami               FL           33185
 Ernie's Affordable                                                        4100 S Military Trl                                                Lake Worth          FL           33463
 Ers Florida Carrier LLC                                                   4304 S Landar Drive                                                Lake Worth          FL           33463
 Esi Fire & Security, Inc                                                  15821 East Freeway                                                 Channelview         TX           77530
 Esn Express                                                               56 Elm Street                                                      North Arlington     NJ           07031
 Espinal Motor Transport Corp                                              2611 Holly Hill Grove Rd #2                                        Davenport           FL           33837
 Espino, Yhosvanni                                                         Address on File
 Espinosa Najera, Karla Jasmin                                             Address on File
 Espinoza, Jose Leoncio                                                    Address on File
 Esposito Alvarado, Carlos David                                           Address on File
 Espr
 Espressimo Coffee Inc.                                                    9888 Montclair Circle                                              Apopka              FL           32703
 Espresso Transportation LLC                                               3285 Fraser Ct                                                     Kissimmee           FL           34746
 Essential Auto Transport LLC                                              19121 Grayson Hwy                                                  Grayson             GA           30017
 Essential Auto Transport LLC                                              1911 Grayson Hwy                                                   Grayson             GA           30017
 Esserman                                                                  16725 NW 57th Ave                                                  Miami               FL           33055
 Esserman International                                                    10455 NW 12 Street                                                 Miami               FL           33172
 Estek Inc                                                                 8004 NW 154th Street Suite 605                                     Miami Lakes         FL           33016
 Esteva, Alberto J.                                                        Address on File
 Estevez, Celines Lourdes                                                  Address on File
 Estime, Brianna Nicole                                                    Address on File



Off Lease Only LLC, et al.                                                                                                                                                                  Page 49 of 155
                                                     Case 23-11389-CTG             Doc 1-1        Filed 09/07/23   Page 50 of 155
                                                                                        Creditor Matrix
                                                                                      as of September 6, 2023
                    Creditor Name                  Attention                  Address 1                Address 2    Address 3             City          State       Zip       Country
 Estrada, Richard                                              Address on File
 Etienne, Molier Jacquelin                                     Address on File
 Etienne, Paul Son                                             Address on File
 Ets Auto Transport                                            7148 S Country Road 1050 E                                       Camby              IN           46113
 Eur Motors                                                    6663 Narcoossee Road                                             Orlando            FL           32822
 Eureka Trucking Inc                                           21636 SW 128th Ct                                                Miami              FL           33170
 Euro Dr Auto Clinic LLC                                       8229 Narcoossee Park Dr                                          Orlando            FL           32822
 Euro Motors                                                   6663 Narcoossee Rd                                               Orlando            FL           32822
 Euro Motorsports Recycling LLC                                5113 S 16th Ave                                                  Tampa              FL           33619
 Euro Specialty Tools, Inc                                     7069 Woodmont Way                                                Tamarac            FL           33321
 Euro Transport Inc.                                           77 Newport Ct                                                    Sterling           VA           20164
 Evans Car Carriers LLC                                        5913B Suite 8 Us Highway 61-67                                   Imperial           MO           63052
 Evans Solutions LLC                                           PO Box 9927                                                      Augusta            GA           30906
 Evans Transport LLC                                           401 N State Avenue                                               Indianapolis       IN           46201
 Evans Transport LLC                                           326 Zion Dr                                                      Smyrna             DE           19977
 Evans, Brandon T.                                             Address on File
 Evans, Carolyn Anne                                           Address on File
 Evans, John Herbert                                           Address on File
 Evans, Monique Amore                                          Address on File
 Evans, Renaldo John                                           Address on File
 Evans, Steven David                                           Address on File
 Evanspalm Enterprise Inc.                                     PO Box 14971                                                     Augusta            GA           30919
 Eveline LLC                                                   2036 Hayes Street                                                Hollywood          FL           33020
 Everbank Commercial Finance, Inc.                             10 Waterview Blvd 2nd Floor                                      Parsippany         NJ           07054
 Evergreen Transport                                           4311 Babbs Mill Rd                                               Greenville         TN           37745
 Evergreen Transport                                           40 Trillium Lane                                                 West Henrietta     NY           14586
 Everton Trans Inc                                             9924 Universal Blvd #224-201                                     Orlando            FL           32819
 Everycarlisted.Com, LLC                                       1001 Ese Loop 323                                                Tyler              TX           75701
 Everyday Auto LLC                                             49 S Main St                                                     Linton             IN           47441
 Everything Offroad 4Wd, LLC                                   9770 SW Country Rd 769                                           Arcadia            FL           34269
 Evies Auto Transportation LLC                                 656 NW 73rd Terr                                                 Ocala              FL           34482
 Evisort Inc                                                   548 Market St Pmb 20722                                          San Francisco      CA           94104
 Evolution Auto Transport                                      358 W Wayside Dr                                                 Dinuba             CA           93618
 Evolution Cms LLC                                             5081 Fort Defiance                                               El Paso            TX           79938
 Ewect                                                         506 Main Street                                                  West Springfield   MA           01089
 Excalibur Global Corp                                         1120 E 8th Avenue                                                Hialeah            FL           33010
 Excel Vision Auto Sales                                       321 Dane Ln # 101                                                Longwood           FL           32750
 Exclusive Auto Tops                                           6300 Georgia Ave                                                 Wpb                FL           33405
 Exclusive Auto Transport                                      5185 E 9 Ln                                                      Hialeah            FL           33013
 Exclusive Car Haulers Inc                                     2085 SW 31st Ave                                                 Hallandale         FL           33009
 Exclusive Protection Systems Inc                              PO Box 1210                                                      Boynton Beach      FL           33425
 Exclusive Transport Services LLC                              3744 Martingale Drive                                            Kingman            AZ           86409
 Executive Auto Hauling LLC                                    4087 Pelican Shores Circle                                       Englewood          FL           34223
 Executive Tag & Title Services, Inc                           722 Belvedere Rd                                                 West Palm Beach    FL           33405
 Executive Transport                                           39 Seaview Dr                                                    Ormond Beach       FL           32176
 Executive Transport LLC                                       120 N Alfred St                                                  Alexandria         VA           22304
 Exeter Auto Finance Corp                                      2250 W John Carpenter Freeway                                    Irving             TX           75063
 Exeter Finance                                                PO Box 744714                                                    Atlanta            GA           30374
 Exeter Finance Corp                   Loss Mitigation         PO Box 650693                                                    Dallas             TX           75265
 Exeter Finance Corp.                                          222 W Las Colinas Blvd                                           Irving             TX           75039
 Exeter Finance Llc                                            PO Box 650693                                                    Dallas             TX           75265-0693
 Exlusive Protection Systems Inc                               PO Box 1210                                                      Boynton Beach      FL           33425
 Exoctic Wheel And Tire                                        134 Fairfield Ave                                                West Caldwell      NJ           07006-6416
 Exodus 11 Logistic                                            PO Box 66044                                                     Virginia Beach     VA           23466
 Exotic Sounds Usa                                             2789 Forest Hill Blvd West                                       Palm Beach         FL           33406
 Exotic Transport LLC                                          46 Weaverville Rd                                                Freehold           NJ           07728
 Exotic Vehicle Transport Inc                                  102 NE 2nd St #198                                               Boca Raton         FL           33431
 Exoticar Detailing LLC                                        7483 Valencia Dr                                                 Boca Raton         FL           33433
 Exotics 2 Classics                                            1000 East Gate Dr                                                Bainbridge         GA           39817
 Exp Logisitics Inc.                                           4742 Ashton Drive W                                              Saint Cloud        FL           34771
 Experian                                                      PO Box 881971                                                    Los Angeles        CA           90088-1971
 Expert Auto Appraisals                                        PO Box 303                                                       Jensen Beach       FL           34958



Off Lease Only LLC, et al.                                                                                                                                                   Page 50 of 155
                                        Case 23-11389-CTG             Doc 1-1            Filed 09/07/23   Page 51 of 155
                                                                              Creditor Matrix
                                                                             as of September 6, 2023
                    Creditor Name      Attention                 Address 1                    Address 2    Address 3              City          State       Zip       Country
 Express America Auto Transport                    8836 NW 139th Street                                                Miami Lakes         FL           33018
 Express Auto Haulers LLC                          297 Kinderkamack Rd Ste 300                                         Oradell             NJ           07649
 Express Auto Solution, Inc                        12970 NW 42nd Ave                                                   Opa Locka           FL           33054
 Express Auto Trans LLC                            PO Box 941553                                                       Miami               FL           33194
 Express Auto Transportation Corp                  1461 W 42St Spt 301                                                 Hialeah             FL           33012
 Express Choice LLC                                3 Hess Circle                                                       Ephrata             PA           17522
 Express Eagle LLC                                 656 Bell Creek Road                                                 Cumming             GA           30041
 Express Freight Hauling LLC                       1457 Pine Marsh Loop                                                Saint Cloud         FL           34771
 Express Hauling Inc.                              16500 NE 7th Ave                                                    North Miami Beach   FL           33162
 Express King Auto Transport                       7495 SW 72 St                                                       Miami               FL           33143
 Express Line LLC                                  2727 Rhawn Street Apt 55-A                                          Philadelphia        PA           19152
 Express Logistics Usa Inc                         3921 Newport Ave                                                    Boynton Beach       FL           33432
 Express Logistics Usa Inc                         215 S 3rd St                                                        Lantana             FL           33462
 Express Navigators LLC                            PO Box 30482                                                        Cleveland           OH           44130
 Express Oil Change, LLC                           PO Box 11407 Dept 5964                                              Birmingham          AL           35246-5964
 Express Portable Service                          125 Fernwood Cres                                                   Royal Palm Beach    FL           33411
 Express Transport Inc                             5870 San Juan Ave Ste 1                                             Jacksonville        FL           32210
 Express Transport LLC                             42364 Little Lake Rd                                                Hemet               CA           92544
 Express Transport Logistics                       1885 NW 113th Terr                                                  Miami               FL           33167
 Express Transport System Inc                      2200 NW 34th Terrace                                                Coconut Creek       FL           33066
 Express Waste Of Miami Inc.                       2186 NW 22nd Ave                                                    Miami               FL           33142
 Expressway Transport LLC                          2838 Morningmst Lane                                                Dickinson           TX           77539
 Expro Cars LLC                                    52 St Clair Ave                                                     New Britain         CT           06051
 Exquisite Auto Transport                          9302 Spring Hill Dr                                                 Spring Hill         FL           34608
 Extra Mile Transport Inc                          2716 Burton Drive                                                   Westchester         IL           60154
 Extreme Car Movers Corp                           9360 SW 72nd St Suite 287                                           Miami               FL           33173
 Extreme Motors Inc                                320 Olivewood Place                                                 Boca Raton          FL           33431
 Extreme Transportation LLC                        101 South Land Ave                                                  Boiling Springs     SC           29316
 Exume, Richard                                    Address on File
 Exxon Mobil
 Ey & Ale Trucking LLC                             5 Bahia Course Ln                                                   Ocala               FL           34472
 Eys Trucking Inc                                  3059 Youngford Street                                               Orlando             FL           32824
 Ez Express Inc                                    1413 Beaumont Cir                                                   Bartlett            IL           60103
 Ez Own Transport                                  11621 Us Highway 1                                                  North Palm Beach    FL           33408
 E-Z Rent A Car                                    2003 Mccoy Road                                                     Orlando             FL           32809
 Ez Tow LLC                                        8201 NW 47th Ct                                                     Lauderhill          FL           33351
 Ez Transport Inc                                  35 Sean Louis Circle                                                West Springfield    MA           01089
 Ez Way Transportation LLC                         5219 W 45th Street                                                  Parma               OH           44134
 Ez Web Enterprises Inc                            701 S Carson St Ste 200                                             Carson City         NV           89701
 Ez World Transport LLC                            6314 Indiangrass Court                                              Katy                TX           77494
 Ezekiel Ttransportation Corporation               5240 Camden Lake Pkwy                                               Acworth             GA           30101
 F & S Landin Car Carrie
 F & S Landin Car Carrier Inc                      619 Gerald Ave                                                      Lehigh Acres        FL           33936
 F And D Carrier Inc.                              6473 Conning Tower Circ A3                                          Naples              FL           34112
 F D Transport Service                             8686 Tally Ho Lane                                                  Royal Palm Beach    FL           33411
 F&A Auto Transport Corp                           14020 NW 20th Avenue                                                Opa Locka           FL           33054
 F&B Transport                                     120 Morgan St                                                       Pooler              GA           31322
 F&B Transport Services                            12900 Starkey Rd                                                    Largo               FL           33771
 F&C Auto Transport Inc                            18310 NW 86 Avenue                                                  Hialeah             FL           33015
 F&E Auto Transport                                122 Putnam St                                                       Watertown           MA           02472
 F&J Transport Usa Corp                            1478 NW 99th Street                                                 Miami               FL           33147
 F.A.R. Brothers LLC                               1518 Jasper St                                                      Silver Spring       MD           20902
 F1 Auto Transport Inc                             85 Swan Street #3                                                   Evertt              MA           02149
 Fabian Brothers Transport                         11132 Rockport St                                                   Orlando             FL           32836
 Fabien's Transport Service Inc                    1852 NW 9th Ave                                                     Homestead           FL           33030
 Facd Company Transport                            1502 Heather Way                                                    Dalton              GA           30721
 Facebook
 Facenda Trucking Inc                              4625 Everglade Blvd North                                           Naples              FL           34120
 Factory Direct Inc                                6450 Hoffner Avenue                                                 Orlando             FL           32822
 Faider Auto Transport LLC                         5500 Washington Street                                              Hollywood           FL           33021
 Fair, Brandon Darnell                             Address on File
 Fairbanks Mazda                                   400 Us Highway 17-92 North                                          Longwood            FL           32750



Off Lease Only LLC, et al.                                                                                                                                           Page 51 of 155
                                                              Case 23-11389-CTG                      Doc 1-1          Filed 09/07/23   Page 52 of 155
                                                                                                           Creditor Matrix
                                                                                                          as of September 6, 2023
                    Creditor Name                           Attention                         Address 1                    Address 2    Address 3             City         State      Zip    Country
 Fairchild, Corey Michael                                                        Address on File
 Faircloth Transport                                                             PO Box 552                                                         Lake Waccamaw     NC           28450
 Fairview Transport LLC                                                          1018 Twin Lakes Drive                                              Coral Springs     FL           33071
 Fairwinds Credit Union
 Faith Walk Transport                                                              105 Branson Dr                                                   Olin              NC           28660
 Faithful Transport LLC                                                            282 Old Bridge Drive                                             Blufton           SC           29910
 Fajardo, Eva I                                                                    Address on File
 Falcon Auto Transport LLC                                                         4310 Ridgefair Dr                                                Cumming           GA           30040
 Falcon Lawn & Pest                                                                4062 S Goldenrod Road                                            Orlando           FL           32822
 Falcon Trucking And Logistics                                                     630 E Landstreet Road                                            Orlando           FL           32824
 Falcon Trucking Company                                                           21 Charles St                                                    Carteret          NJ
 Fam Transporters Inc.                                                             130 Brook Street                                                 Framingham        MA           01701
 Family Care Training Center-Wpb                                                   4047 Okeechobee Blvd                                             West Palm Beach   FL           33409
 Family Circle Auto Transport Inc                /Reyan Nationwide Auto Shippers I 22704 SW 65th Way                                                Boca Raton        FL           33428
 Family Cruz Transport Corp                                                        316 W 44 Street                                                  Hialeah           FL           33012
 Family Driven Transport LLC                                                       2760 W 62nd Place Apt 202                                        Hialeah           FL           33016
 Family Tire Distributors                                                          2817 Pembroke Road                                               Hollywood         FL           33020
 Family Transport LLC                                                              6321 Island Way                                                  Margate           FL           33063
 Famu-Naa Palm Beach Coutny Chapter              Attn: Willie A Millier, Jr        PO Box 2305                                                      West Palm Beach   FL           33402
 Fande Auto Transport                                                              122 Putnam St                                                    Watertouln        MA           02472
 Fanfarria Transportation Cpmpany LLC                                              810 E 9th Place                                                  Hialeah           FL           33010
 Fantastic World Auto Transport                                                    770 Mailbu Bay Dri                                               West Palm Beach   FL           33401
 Farah, Derek Haitham                                                              Address on File
 Farias, Marcelo M                                                                 Address on File
 Farinas, Manuel Arturo                                                            Address on File
 Farming & Industrial Equipment Transportation                                     6526 S Kanner Hwy Pmb 311                                        Stuart            FL           34997
 Farnum, Jonques Corvontne                                                         Address on File
 Farrell, Alfa Kernel                                                              Address on File
 Farsakh, Bilal                                                                    Address on File
 Fas Transportation                                                                398 A East Midland Trail                                         Lexington         VA           24450
 Fast Action Towing And Recovery                                                   PO Bpx 415                                                       Man               WV           25635
 Fast And Furious Carrier Corp                                                     1475 W 46 St Apt 337                                             Hialeah           FL           33012
 Fast And Go Auto Transport Inc                                                    7830 NW 6 St Apt 103                                             Pembroke Pines    FL           33024
 Fast And Secure Auto Transport LLC                                                5560 W 21 Court                                                  Hialeah           FL           33016
 Fast Auto Transport LLC                                                           20121 Waterside Drive                                            Germantown        MD           20874
 Fast Car Carrier, LLC                                                             874 W 31 Street                                                  Hialeah           FL           33012
 Fast Car Transport Inc                                                            15308 Honeybell Dr                                               Winter Garden     FL           34787
 Fast Car Transport LLC                                                            15645 SW 26th Terrace                                            Miami             FL           33185
 Fast Lane Transportation Services                                                 PO Box 40223                                                     St Petersburg     FL           33743
 Fast Nation Transport LLC                                                         23956 SW 118 Avenue                                              Homestead         FL           33032
 Fast Route Inc                                                                    6223 Corcoran Ave                                                North Port        FL           34291
 Fast Tech Auto Glass LLC                                                          19023 Appletree Hill Lane                                        Houston           TX           77084
 Fast Towing                                                                       3109 Turtle Creek Pl                                             Kissimmee         FL           34743
 Fast Track Auto Carriers LLC                                                      PO Box 3586                                                      Boynton Beach     FL           33424
 Fast Track Transport LLC                                                          18830 NW 57 Ave #302                                             Hialeah           FL           33015
 Fast Truck Service Inc                                                            6574 N State Rd 7 #294                                           Coconut Creek     FL           33073
 Fast Way Auto Inc                                                                 11240 NW 6th St                                                  Miami             FL           33172
 Faster Plumbing LLC                                                               320 Cavalier Road                                                Palm Springs      FL           33461
 Faster Transport Services LLC                                                     12119 Orange Blvd                                                West Palm Beach   FL           33412
 Fastex Transport LLC                                                              10700 E Dartmouth Ave Qq212                                      Denver            CO           80014
 Fastrack Auto Transport LLC                                                       PO Box 775073                                                    St Louis          MO           63177
 Fastsigns                                                                         5000 E Colonial Dr                                               Orlando           FL           32803
 Fastsigns                                                                         2001 10th Ave N                                                  Lake Worth        FL           33461
 Fastsigns Fowler/Usf                                                              1827 E Fowler Ave                                                Tampa             FL           33612
 Fasttrack Auto Transport 123 LLC                                                  211 South Silverwood Lane                                        Goshen            IN           46526
 Fasttrack Auto Transport 123 LLC                                                  9 Calumet Street                                                 New Bedford       MA           02744
 Fastway Group LLC                                                                 5645 Coral Ridge Dr #367                                         Coral Springs     FL           33076
 Fastways Auto Carriers Inc                                                        481 East 33 St                                                   Hialeah           FL           33013
 Fatayer, Ramzi Abdalraheem H                                                      Address on File
 Faulkenbury, Amanda Nicole                                                        Address on File
 Faulkner, Michael                                                                 Address on File
 Fauvet, Ana                                                                       Address on File



Off Lease Only LLC, et al.                                                                                                                                                                  Page 52 of 155
                                                              Case 23-11389-CTG           Doc 1-1        Filed 09/07/23   Page 53 of 155
                                                                                               Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name                          Attention                 Address 1                Address 2    Address 3             City          State       Zip       Country
 Faza Transportation Inc                                               22301 SW 66th Ave Apt 2201                                      Boca Raton         FL           33428-5975
 Fbc & Associates, Inc.                                                13350 SW 131 Street                                             Miami              FL           33186
 Fbi Express Inc.                                                      26 Lady Slipper Circle                                          Westfield          MA           01085
 Fdacs                                                                 2005 Apalachee Parkway                                          Tallahassee        FL           32399
 Febles Auto Transport LLC                                             208 5th Street Ne                                               New Philadelphia   OH           44663
 Febraury                                                              PO Box 100606                                                   Atlanta            GA           30384-0608
 Federal Auto Trans LLC/Federal Auto Shipping                          5179 Scenic View Road                                           Flowery Branch     GA           30542
 Federal Auto Transport Inc                                            PO Box 216                                                      Framingham         MA           01704
 Federal Express
 Federal Rent A Fence                                                  PO Box 266                                                      West Berlin        NJ           08091
 Federal Transport- Fl Only                                            10835 Denali Dr                                                 Clermont           FL           34711
 Fedex                                                                 PO Box 660481                                                   Dallas             TX           75266-0481
 Fee & Jeffries, Pa                                                    1227 N Franklin Street                                          Tampa              FL           33602
 Feito Hauling LLC - Fl Only                                           15302 SW 100th Ct                                               Miami              FL           33157
 Feliciano, David Ralph                                                Address on File
 Feliciano, Richard                                                    Address on File
 Felix Da Silva, Victor H                                              Address on File
 Felix Fleet                                                           2754 NW 30th Street                                             Miami              FL           33142
 Fell, Stephanie Lynn                                                  Address on File
 Fellin, Joseph M                                                      Address on File
 Felton Auto Carriers                                                  PO Box 542064                                                   Grand Prairie      TX           75054
 Feltrin Enterprises Inc                                               175 Cottage St Unit 207                                         Chelsea            MA           02150
 Feniks Transportation LLC                                             11024 Montgomery Avenue Ne                                      Albuquerque        NM           87111
 Fenix Parts (Houston)                                                 860 Airport Fwy Ste 701                                         Hurst              TX           76054
 Fenix Parts Inc                                                       12270 New King Rd                                               Jacksonville       FL           32219
 Fennel, Jeffrey Junior                                                Address on File
 Fennell Trucking Co                                                   11 Petersburg Pl                                                Durham             NC           27703
 Fenner, Renee Elizabeth                                               Address on File
 Ferdk Transport LLC                                                   13060 SW 262nd Ln                                               Homestead          FL           33032
 Ferguson Enterprises, LLC                                             10355 South Orange Ave           Suite -B                       Orlando            FL           32824
 Ferland, Normand Edward                                               Address on File
 Ferman Auto                                                           11025 N Florida Ave                                             Tampa              FL           33612
 Ferman Nissan Of Tampa                                                11001 N Florida Ave                                             Tampa              FL           33612-6635
 Fernandez Transport Corporation Inc                                   4955 NW 199th Street                                            Miami Gardens      FL           33055
 Fernandez, Alain                                                      Address on File
 Fernandez, Brunilda                                                   Address on File
 Fernandez, Nomar Jariel                                               Address on File
 Ferrante, Disma                                                       Address on File
 Ferrara, Brandon Alex                                                 Address on File
 Ferrari Of Palm Beach                                                 3974 Okeecobee Blvd                                             West Palm Beach    FL           33409
 Ferrari/Maserati Of Central Florida                                   525 S Lake Destiny Dr                                           Orlando            FL           32810
 Ferrari-Maserati Of Ft Lauderdale              Recovery Racing LLC    5750 N Federal Hwy                                              Ft Lauderdale      FL           33308
 Fiberlight, LLC                                                       PO Box 602526                                                   Charlotte          NC           28260-2526
 Fidelity Security Life Insurance Co.           Eyemed                 PO Box 632530                                                   Cincinnati         OH           45263-2530
 Fields Armstead, Juanita                                              Address on File
 Fields Auto Group                                                     963 N Wymore Rd                                                 Winter Park        FL           32789
 Fields Bmw                                                            350 S Lake Destiny Drive                                        Orlando            FL           32810
 Fields Bmw South Orlando                                              9750 S Orange Blossom Trail                                     Orlando            FL           32837
 Fields Cadillac                                                       375 Outlet Mall Blvd                                            St Augustine       FL           32084
 Fields Fiat                                                           131 N Orange Ave                                                Orlando            FL           32801
 Fields Motorcars Orlando                                              2202 33rd St                                                    Orlando            FL           32839
 Fields, Ralph Edward                                                  Address on File
 Fierro Auto Transport Inc                                             204 Otanes Drive                                                Laredo             TX           78045
 Fifth Third Bank                               Installment Loans      5050 Kingsley Dr                                                Cincinnati         OH           45227
 Fifth Third Bank                                                      PO Box 630778                                                   Cincinnati         OH           45263-0778
 Fifth Third Bank                                                      PO Box 636079                                                   Cincinnati         OH           45263-6079
 Fifth Third Bank                                                      PO Box 744700                                                   Atlanta            GA           30374
 Fifth Third Bank                                                      PO Box 674                                                      Willmington        OH           45177
 Figueroa, Isaiah Alfonso                                              Address on File
 Figueroa, Jose R                                                      Address on File
 Figueroa, Nikilis William                                             Address on File
 Figueroa, Brian                                                       Address on File



Off Lease Only LLC, et al.                                                                                                                                                          Page 53 of 155
                                                             Case 23-11389-CTG                        Doc 1-1         Filed 09/07/23   Page 54 of 155
                                                                                                            Creditor Matrix
                                                                                                          as of September 6, 2023
                    Creditor Name                          Attention                           Address 1                   Address 2    Address 3             City           State       Zip       Country
 Figueroa, Elsa                                                                  Address on File
 Filpo, Richard Marcelino                                                        Address on File
 Filterworks Usa, LLC                                                            3452 SW 15th Street                                                Deerfield Beach     FL           33442
 Final Notice Transportation LLC                                                 7002 N Liberty St                                                  Waynesboro          GA           30830
 Financial Access Federal Credit Union                                           604 13th Ave E                                                     Bradenton           FL           34208
 Finehirsh, Steven C.                                                            Address on File
 Fineman, Adam Paul                                                              Address on File
 Finest Auto Transport Inc                                                       5558 Lakewood Circle W                                             Margate             FL           33063
 Finish Line Auto Transport LLC                                                  631 Brawley School Rd Ste 200                                      Mooresville         NC           28117
 Finish Line Towing & Recovery                                                   700 Riverside Dr                                                   Asheville           NC           28801
 Finish Line Transportation Corp                                                 1910 SW 135th Way                                                  Miramar             FL           33027
 Finish Transport Inc                                                            1350 NW 117th St                                                   Miami               FL           33167
 Finishline Transport                                                            100 Oasis Lane                                                     Mooresvile          NC           28117
 Finishline Transportation Inc                                                   7934 Summerdale Avenue                                             Philadelphia        PA           19111
 Finishmaster Inc                                                                1090 E 14th St                                                     Hialeah             FL           33010
 Fink, Richard                                                                   Address on File
 Finnegan Chrysler Jeep South                                                    26433 Southwest Fwy                                                Rosenberg           TX           77471
 Finsight Group Inc                                                              589 8th Ave 20th Fl                                                New York            NY           10018
 Fiore, Vanessa                                                                  Address on File
 Fira Express Inc                                                                1497 Bristol Pike                                                  Morrisville         PA           19067
 Firestone Complete Auto Care                                                    7045 Narcoossee Rd                                                 Orlando             FL           32822-5531
 Firkins Chrysler Jeep Dodge Ram                                                 2700 First Street                                                  Bradenton           FL           34208
 Firkins Mitsubishi                                                              2700 1st Street                                                    Bradenton           FL           34208
 First American Bank And Trust                                                   510 Bienville St                                                   New Orleans         LA           70130-2207
 First American Title Insurance                                                  2425 E Camelback Road                                              Phoenix             AZ           85016
 First Blue Sky Corp                                                             4001 Rambling Hills Dr                                             Morrisville         NC           27560
 First Choice Auto Transport Inc                                                 PO Box 3014                                                        Indian Trail        NC           28079
 First Choice Transporters LLC                                                   3104 22nd Street Sw                                                Lehigh Acres        FL           33976
 First Choice Trucking Inc                                                       125 Stonehurst Ln                                                  Marvin              NC           28173
 First Class Auto Group Inc                                                      92 Railroad Ave                                                    Hasbrouck Heights   NJ           07604
 First Class Distribution LLC                                                    PO Box 395                                                         Stewartstown        PA           17363
 First Class Transport Inc                                                       1616 Woodland Pl                                                   Mount Veron         WA           98274
 First Express Inc                                                               5920 Asby Way                                                      Cumming             GA           30040
 First Insurance Funding
 First Investors Financial                                                       380 Interstate North Parkway                                       Atlanta             GA           30339
 First Motors Inc                                                                121 Donaldson Place #2                                             Linden              NJ           07036
 First National Inc
 First Orange Tag Agency                                                         200 S Andrews Ave #500                                             Ft Lauderdale       FL           33301
 First Orion Corp.                                                               520 Main Street Ste#400                                            North Little Rock   AR           72114
 First Sign Corp                                                                 2085 N Powerline Rd                                                Pompano Beach       FL           33069-1228
 First Street Credit Union                                                       1558 14St Steet                                                    Sarasota            FL           34236
 Firstline Auto Transport LLC                                                    5301 N 17th Street #4                                              Mcallen             TX           78504
 Firstpointe Advisors, LLC                                                       6301 NW 5 Way Suite 2800                                           Ft Lauderdale       FL           33309
 Fischer, Eileen                                                                 Address on File
 Fischer, Mark                                                                   Address on File
 Fiserv Automotive Solutions                                                     6400 Main Street                                                   Amherst             NY           14221
 Fishback Dominick Trust Account                                                 1947 Lee Road                                                      Winter Park         FL           32789
 Fisher, Melissa Marie                                                           Address on File
 Fitzgerald Jr, Edward N                                                         Address on File
 Five Star Towing LLC                                                            2511 Hinsdale Dr                                                   Kissimmee           FL           34741
 Five Star Transport Express Ins                                                 PO Box 212641                                                      Royal Palm Beach    FL           33414
 Five Stars Auto Transports Inc                                                  611 Sardinia Avenue                                                Port St. Lucie      FL           34953
 Five Stars Freight Inc                                                          5340 NW 197 Terra                                                  Miami Gardens       FL           33055
 Fiverr                                                                          38 Greene St                                                       New York            NY           10013
 Fiza Transportation LLC                                                         4917 Hickory Meadows Ct                                            Glen Allen          VA           23059
 Fl Auto Hauling LLC                            Loniewski,Jaroslaw               3597 SW Vollmer St                                                 Port St Lucie       FL           34953
 Fl Dept Of Agriculture & Consumer Services     Division Of Consumer Services    2005 Apalachee Pkwy                                                Tallahassee         FL           32399-6500
 Fl Dept Of Highway Safety And Motor Vehicles   Office Of General Counsel        2900 Apalachee Parkway A432                                        Tallahassee         FL           32399
 Fl Hotshot LLC                                                                  2158 NW 48th Street                                                Miami               FL           33142
 Fla Dept Of Transportation                     Wpb Ops Permits Dept
 Fla Transporting                                                                 105 Bonnie Lane                                                   Fayetteville        GA           30215
 Fladco                                         Florida Auto Dealer Group Buying LPO Box 947609                                                     Atlanta             GA           30394-7609



Off Lease Only LLC, et al.                                                                                                                                                                        Page 54 of 155
                                                              Case 23-11389-CTG                        Doc 1-1         Filed 09/07/23   Page 55 of 155
                                                                                                             Creditor Matrix
                                                                                                           as of September 6, 2023
                     Creditor Name                          Attention                          Address 1                    Address 2    Address 3            City             State       Zip       Country
 Flagcraft, Inc                                                                   1020 N Dixie Hwy                                                   Boca Raton           FL           33432
 Flagler Auto Brokers
 Flagler Technologies, LLC                                                          5295 Town Center Rd Ste201                                       Boca Raton           FL           33486
 Flagship Credit Acceptance                      Dealer Admin Services Department6901 Windcrest Drive Dock 2                                         Plano                TX           75024
 Flagship Credit Acceptance                                                         PO Box 744723                                                    Atlanta              GA           30374
 Flagship Credit Acceptance                      Attn Accounting-Dealer Services PO Box 965                                                          Chadds Ford          PA           19317
 Flagship Credit Acceptance LLC                                                     3 Christy Dr                                                     Chadds Ford          PA           19317
 Flagship Credit Acceptance, LLC.                Attn: Csc Logic                    PO Box 975658                                                    Dallas               TX           75397
 Flagship Freight Corp                                                              12978 NW 42 Ave                                                  Opa Locka            FL           33054
 Flamingo Plumbing And Backflow Services         United Plumbing Solutions Inc      2781 Vista Pkwy - Stek10                                         West Palm Beach      FL           33411
 Flamingo Trucking                                                                  376 Thornhill Cir                                                Gulf Shores          AL           36542
 Flash Auto Transporters Inc                                                        PO Box 654401                                                    Miami                FL           33265
 Flash Hauling LLC                                                                  8017 NW 83rd St                                                  Tamarac              FL           33321
 Flash King Transport                                                               36 E St                                                          Hialeah              FL           33010
 Flash Premier Auto Transport Inc                                                   3140 SW 133rd Lane Rd                                            Ocala                FL           34473
 Flashking Transport LLC                                                            3978 Cedar Bluff Lane                                            Jacksonville         FL           32226
 Flash's Transport                                                                  501 Albertson Rd                                                 Thomasville          NC           27360
 Fleet Keys                                                                         1201 Story Ave                                                   Louisville           KY           40206
 Fleet Liquidators Of Central Fl                                                    PO Box 470557                                                    Lake Monroe          FL           32747-0557
 Fleet One LLC                                                                      Msc 30425                                                        Nashville            TN           37241-5000
 Fleet Star Inc                                                                     PO Box 616                                                       Delaware Water Gap   PA           18327
 Fleet Transport                                                                    8316 Richland Drive                                              Cincinnati           OH           45255
 Fleet Transportation Solutions                                                     5250 W Century Blvd 106A                                         Los Angeles          CA           90045
 Fleitas Tamayo, Erisniel                                                           Address on File
 Fletcher Lion Heart Truck                                                          16736 93rd Rd N                                                  Loxahatchee          FL           33470
 Fletcher, Charles A                                                                Address on File
 Flexential                                                                         PO Box 534390                                                    Atlanta              GA           30353-4390
 Flint Auto Auction Inc                                                             3711 Western Rd                                                  Flint                MI           48506
 Flores-Muniz, Fernando Miguel                                                      Address on File
 Florida Auto Collision Center Inc                                                  199 NW 28th Ste9                                                 Boca Raton           FL           33431
 Florida Auto Express Inc./Finish Line Auto Br                                      24301 Turkey Lake Road                                           Howey In The Hills   FL           34737
 Florida Auto Transport LLC                                                         2771-29 Monument Rd                                              Jacksonville         FL           32225
 Florida Car Finders LLC                                                            11444 SW 252 Terrace                                             Homestead            FL           33032
 Florida Classic Cars                                                               9180 NW 119th Street Bay#3                                       Hialeah Gardens      FL           33018
 Florida Court Reporting                                                            2161 Palm Beach Lakes Blvd                                       West Palm Beach      FL           33409
 Florida Department Of Agrigulture               Consumer Services                  2005 Apalachee Pkwy                                              Tallahassee          FL           32399-6500
 Florida Department Of Corrections                                                  PO Box 12300                                                     Tallahassee          FL           32317
 Florida Department Of Health                    Environmental Public Health DivisioPO Box 29                                                        West Palm Beach      FL           33402-0029
 Florida Department Of Health In Orange Couty                                       1001 Executive Center Drive                                      Orlando              FL           32803
 Florida Department Of Health In Palm Beach Co   Attn:Environmental Public Health D PO Box 29                                                        West Palm Beach      FL           33402
 Florida Department Of Revenue                                                      West Palm Beach Service Center                                   West Palm Beach      FL           33407-3105
 Florida Department Of Revenue                                                      5050 W Tennessee Street                                          Tallahassee          FL           32399-0125
 Florida Department Of Revenue                                                      2468 Metrocentre Blvd                                            West Palm Beach      FL           33407-3105
 Florida Department Of Revenue                   Consolidated Sales Tax Service CePO Box 8045                                                        Tallahassee          FL           32314-8045
 Florida Department Of State                     Amendment Section                  Division Of Corporations                                         Tallahassee          FL           32314
 Florida Department Of Transportation                                               605 Suwannee Street                                              Tallahassee          FL           32399
 Florida Department Of Transportation                                               PO Box 31241                                                     Tampa                FL           33631-3241
 Florida Dept Of Environmental Protection                                           Twin Towers Office Bldg                                          Tallahassee          FL           32399-2400
 Florida Dept Of Health In Orange County                                            1001 Executive Center Drive                                      Orlando              FL           32803
 Florida Dept Of Health In Orange County                                            800 N Mercy Drive                                                Orlando              FL           32808
 Florida Dept Of Transportation                                                     Violation Enforcement Section                                    Atlanta              GA           30348-5477
 Florida Dept Of Transportation                                                     3400 West Commercial Blvd                                        Fort Lauderdale      FL           33309
 Florida Engineering & Development Corp.                                            12076 NW 98th Ave                                                Hialeah Gardens      FL           33018
 Florida Equiparts Inc                                                              7950 NW 174 Street                                               Hialeah              FL           33015
 Florida Filtration & Spray Booth Srvs, Inc.                                        402 North G Street                                               Lake Worth           FL           33460
 Florida Highway Patrol                                                             PO Box 651807                                                    Miami                FL           33265
 Florida Independent Automobile                  Dealers Association                1840 Fiddler Ct                                                  Tallahassee          FL           32308
 Florida Interstate Transport Inc                                                   3879 Badger St                                                   Sarasota             FL           34232
 Florida Keys Media                                                                 830 Crane Blvd                                                   Sugarloaf Key        FL           33042
 Florida Keys Towing Inc                                                            1620 Overseas Hwy                                                Marathon             FL           33050
 Florida Lift Experts LLC                                                           123 Drennen Rd                                                   Orlando              FL           32806
 Florida Notary Discount Assoc Co                                                   PO Box 7177                                                      Tallahassee          FL           32314



Off Lease Only LLC, et al.                                                                                                                                                                          Page 55 of 155
                                            Case 23-11389-CTG              Doc 1-1        Filed 09/07/23   Page 56 of 155
                                                                                Creditor Matrix
                                                                              as of September 6, 2023
                     Creditor Name         Attention                 Address 1                 Address 2    Address 3             City          State       Zip       Country
 Florida Powerboat Club                                1214 SW 6th Street                                               Pompano Beach      FL           33069
 Florida Public Utilities                              PO Box 2137                                                      Salisbury          MD           21802-2137
 Florida Pump & Meter                                  PO Box 22716                                                     Fort Lauderdale    FL           33335
 Florida Service Towing Inc                            14233 SW 103 Terra                                               Miami              FL           33186
 Florida Sound & Protection                            16035 NW 57 Ave                                                  Miami Gardens      FL           33014
 Florida Speedy Transportation LLC                     751 S Us Highway 17-92 Ste B                                     Longwood           FL           32750
 Florida Towing Express Inc.                           922 E 28th Street                                                Hialeah            FL           33013
 Florida Turnpike Enterprise                           PO Box 865509                                                    Orlando            FL           32886-5509
 Florida Vehicle Transport LLC                         2152 Clermont St                                                 Port Charlotte     FL           33952
 Florida Vehicle Transport LLC                         23423 Janice Ave                                                 Port Charlotte     FL           33980
 Florida Velo Towing Inc                               16102 Emerald Estates Dr                                         Weston             FL           33331
 Florida Wrecker                                       4222 Gulfstream Bay Ct                                           Orlando            FL           32822
 Floridian Auto Transport Inc                          761 4th St S E                                                   Naples             FL           34117
 Flowers, Bobby Lee                                    Address on File
 Flt Auto Carriers                                     PO Box 170188                                                    Atlanta            GA           30317
 Fly Right Media                                       8231 NW 68th Ave                                                 Tamarac            FL           33321
 Flying W Transportation                               414 W 2nd Ave                                                    Perry              AR           72125
 Flynn Classics Inc                                    8253 Weatherford Ave                                             Brooksville        FL           34613
 Fm Transport Inc                                      4411 Beeridge Rd Unit 250                                        Sarasota           FL           34233
 Fms, Inc                                              PO Box 707600                                                    Tulsa              OK           74170-7600
 Foam Designer Express Inc                             75 West 8th Street Suite 4                                       Hialeah            FL           33010
 Focal
 Focal Pointe Data Risk LLC                            PO Box 930889                                                    Atlanta            GA           31193-0889
 Focused360 LLC                                        3732 Grahams Port Ln                                             Snellville         GA           30039
 Foli Transportation Inc                               188 Coral Reef Circle                                            Kissimmee          FL           34743
 Fonrose, John Daly                                    Address on File
 Fonseca, Giselle Patricia                             Address on File
 Fontanez, George A.                                   Address on File
 Fop Lodge 50                                          2328 South Congress Ave                                          West Palm Beach    FL           33406-7671
 Forbes, Ramon Alexander                               Address on File
 Forcar Log LLC                                        2398 NW 30th Street                                              Boca Raton         FL           33431
 Ford Midway                                           8155 West Flagler Street                                         Miami              FL           33144
 Ford Motor Credit Company                             Lock Box 790119                                                  St Louis           MO           63101
 Ford, Isaac Denzel                                    Address on File
 Foremost Fence                                        8135 25th Court E                                                Sarasota           FL           34243
 Foremost Transport Inc                                64825 County Road 31                                             Goshen             IN           46528
 Forever Auto Transport Inc                            14743 SW 54 Terr                                                 Miami              FL           33185
 Forever West Transport                                1163 Del Rio Road                                                Powell             WY           82435
 Forges, Steven Edley                                  Address on File
 Forgotten Coast Auto Transport LLC                    PO Box 937                                                       Oakland            FL           34760
 Formula Motor Group LLC                               5045 Santa Clara Dr                                              Orlando            FL           32837
 Forney, Kirk D                                        Address on File
 Fort Bend County Tax Assessor Collector               1317 Eugene Heimann Circle                                       Richmond           TX           77469
 Fort Bend Kia                                         26633 Southwest Fwy                                              Rosenberg          TX           77471
 Fort Lauderdale Magazine
 Forum Club Of The Palm Beaches Inc                    PO Box 14877                                                     North Palm Beach   FL           33408
 Forward Logistics LLC                                 6936 Westland Drive                                              Knoxville          TN           37919
 Foster, Jamal Talmadge                                Address on File
 Fountain Acura                                        8703 S Orange Blossom Trail                                      Orlando            FL           32809
 Fountain Auto Mall                                    8701 S Orange Blossom Trail                                      Orlando            FL
 Four Point Transportation Inc                         4470 29th Ave Ne                                                 Naples             FL           34120
 Four R Auto Transport Inc                             12714 Idaho Wood Lane                                            Orlando            FL           32824
 Fowler, Teresa                                        Address on File
 Fox Carriers                                          9 Old Logging Rd                                                 Stamford           CT           06903
 Fox Express LLC                                       45 Johnson St                                                    Newark             NJ           07105
 Fox Rent A Car                                        5500 West Century Road                                           Los Angeles        CA           90045
 Fox Rent A Car                                        2704 Jetport Dr                                                  Orlando            FL           32827
 Fox Transport LLC                                     PO Box 8664                                                      Jupiter            FL           33458
 Foxpro Outdoor                                        8724 SW 72Ns Street #180                                         Miami              FL           33173
 Fp Tire Disposal Inc                                  PO Box 681096                                                    Miami              FL           33168
 Fpi Security Services Inc                             1771 N Flamingo Road                                             Pembroke Pine      FL           33028
 Fpl                                                   General Mail Facility                                            Miami              FL           33188



Off Lease Only LLC, et al.                                                                                                                                           Page 56 of 155
                                                              Case 23-11389-CTG               Doc 1-1        Filed 09/07/23   Page 57 of 155
                                                                                                     Creditor Matrix
                                                                                                 as of September 6, 2023
                    Creditor Name                           Attention                    Address 1                Address 2    Address 3                City        State       Zip       Country
 Fpl Fibernet                                  Fibernet Direct Florida    Accounts Receivable                                              Atlant              GA           30374-4470
 Fpl Services, LLC                                                        700 Universe Blvd                                                Juno Bch            FL           33408
 Frame & Walton Overland Transport Inc                                    12890 Brynwood Preserve Ln                                       Naples              FL           34105
 Franbar LLC                                                              2015 Lake Shore Drive                                            Weston              FL           33326
 Francillon, Ajany Ely                                                    Address on File
 Franco, Jose                                                             Address on File
 Franco, Joshua Cesar                                                     Address on File
 Francois, Betty                                                          Address on File
 Francos Martinez, Anaisis                                                Address on File
 Francos, Alfonso De Jesus                                                Address on File
 Frankfort Motors LLC                                                     2610 Southside Road                                              Frankfort           NY           13340
 Franklin Body Shop Inc                                                   19 S Adams St                                                    Mansfield           OH           44902-1804
 Franklins Trucking LLC                                                   1050 Kanawha Ave                                                 Clewiston           FL
 Franks Auto Transportation Inc                                           625 Koala Ct                                                     Kissimmee           FL           34759
 Frank's Collision, Inc.                                                  12850 NW Le Jeune Rd                                             Opa Locka           FL           33054-4434
 Frascella Jr, Joseph Anthony                                             Address on File
 Fratello's Transport Corp                                                2320 Skyline Drive                                               Lowell              MA           01854
 Frazier, James L                                                         Address on File
 Frederique, Antonia                                                      Address on File
 Fred's J&B Service Corp                                                  1942 Swarthmore Avenue                                           Lakewood            NJ           08701
 Free Car Movers - Fl Only                                                1116 E North Bay Street                                          Tampa               FL           33603
 Freedom Transportation Inc                                               PO Box 58163                                                     Jacksonville        FL           32241
 Freeman Auto Transport Corp                                              810 Huntsville Rd                                                Gotha               FL           34734
 Freeport Jmi Inc                                                         3318 5th Street                                                  Oceanside           NY           11572
 Freeway Transport Express Inc                                            19280 SW 218thh St                                               Miami               FL           33170
 Freeway Transport LLC                                                    PO Box 426                                                       Montgomery          AL           36101
 Freight & Auto Transport Inc                                             720 Plainfeild Rd                                                Willowbrook         IL           60527
 Freight W Inc                                                            2253 Haviland Ave Apt M                                          Bronx               NY           10462
 Fresh Press
 Frisenda, Gregory Alexander                                              Address on File
 From Here To There                                                       9815 W Iowa Drive                                                Lakewood            CO           80232
 Frometa, Marc Anthony                                                    Address on File
 Front Door Transportation LLC                                            3936 S Semoran Blvd #481                                         Orlando             FL           32812
 Frontway Transport LLC                                                   4649 49th Ave N                                                  St Petersburg       FL           33714
 Frt Transport Inc                                                        832 Angela Ave                                                   Rockledge           FL           32955
 Fruit Fresh Delivery                                                     725 SW 16th Ave - Bay 3                                          Delray Beach        FL           33444
 Fs Sketch
 Ft 16 Transport Corp                                                     2754 NW 30 St                                                    Miami               FL           33142
 Ft Auto Transport                                                        1402 Se 19th Terr                                                Cape Coral          FL           33990
 Ft. Lauderdale Nissan                         Power Nissan, LLC          1051 S Federal Highway                                           Ft. Lauderdale      FL           33316
 Fte-Lgbs                                                                 PO Box 904111                                                    Charlotte           NC           28290-4111
 Fuccillo Nissan Of Clearwater                                            15232 Us Hwy 19 N                                                Clearwater          FL           33764
 Fuentes Transport LLC                                                    857 Anderson Dr                                                  Deltona             FL           32725
 Full Throttle Marine & Automotive Transport                              PO Box 479                                                       Long Key            FL           33001
 Full Throttle Trucking LLC                                               13770 SW 32nd Street                                             Miami               FL           33175
 Fullforce Auto Carriers LLC                                              2005 Se 192nd Ave Ste 200                                        Camas               WA           98607
 Fulmore, Iraniesha Lashada                                               Address on File
 Fulton County Tax Commissioner                                           141 Pryor St                                                     Atlanta             GA           30303
 Fupm Logistics                                                           25840 Southwood Drive                                            Southfield          MI           48075
 Furtado, Derrick C                                                       Address on File
 Fusion Express Corp                                                      59 W 64th St Apt 301                                             Westmont            IL           60559
 Fusion Logistics-Wwe                                                     NW 6355 PO Box 1450                                              Minneapolis         MN           55485
 Fusion Partners                                                          505 N Highway 169 Suite 230                                      Plymouth            MN           55441
 Fuster Transport, LLC                                                    10830 SW 57th Terrace                                            Miami               FL           33173
 Future Car Express LLC                                                   400 Passaic Ave Unit 105                                         East Newark         NJ           07029
 Future Car Transport LLC                                                 PO Box 123                                                       Harrison            NJ           07029
 Future Glass Enterprises                      Dba Charlie'S Auto Glass   6698 SW 8th St                                                   Miami               FL           33144
 G & G Auto Collision, Inc.                                               1237 Roebuck Ct                                                  West Palm Beach     FL           33401
 G & G Auto Express Inc.                                                  2829 NE 4th Ave                                                  Cape Coral          FL           33909
 G & G Auto Sales                                                         832 Fm 1960 Rd E                                                 Houston             TX           77073
 G & S Wheels And Tires                                                   2810 NW 31st Ave                                                 Lauderdale Lakes    FL           33311
 G Brothers Logistics LLC                                                 441 N Lousiana Ave Ste S                                         Asheville           NC           28806



Off Lease Only LLC, et al.                                                                                                                                                               Page 57 of 155
                                                   Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 58 of 155
                                                                                        Creditor Matrix
                                                                                       as of September 6, 2023
                   Creditor Name                Attention                     Address 1                 Address 2    Address 3            City          State       Zip       Country
 G Express LLC                                                 1101 Landfall Way #403                                            Seabrook Island   SC           29455
 G J Transport                                                 493 Britten Dr                                                    Kissimmee         FL           34758
 G L S Transportation Corp                                     14912 Wild Wood Lily Ct                                           Orlando           FL           32824
 G Line Express Inc.                                           3126 Houndsworth Ct Apt202                                        Orlando           FL           32837
 G Outdoor Media
 G Outdoor Media Inc                                           2101 Vista Pkwy #4210                                             West Palm Beach   FL           33411
 G R Transport                                                 493 Britten Dr                                                    Kissimmee         FL           34758
 G Unit Transport LLC                                          17350 73rd Ct N                                                   Loxahatchee       FL           33470
 G&D Car Carrier LLC                                           16574 Haynie Lane                                                 Jupiter           FL           33478
 G&D Reliability Solutions Inc                                 7722 W Elm St                                                     Tampa             FL           33615
 G&D Trucking LLC                                              707 Shelby Hwy                                                    Gaffiney          SC           29341
 G&G Assistance Towing Inc                                     1765 Manarola St Apt 200                                          Kissimmee         FL           34741
 G&G Auto Express Inc.                                         2829 NE 4th Ave                                                   Cape Coral        FL           33909
 G&G Auto Express/Motorcar Express                             6815 Hanesbrook Cir                                               Clemmons          NC           27012
 G&G Auto Transportation Inc                                   PO Box 972390                                                     Miami             FL           33197
 G&G Towing                                                    4877 Stone Acres Circle                                           Saint Cloud       FL           34771
 G&G Transportation Usa Inc                                    36 Mcevoy Circle                                                  Stoughton         MA           02072
 G&H Professional Transport LLC                                2398 South 4th Street                                             Van Buren         AR           72956
 G&P Automotive LLC                                            13360 Twinwood Ln                                                 Orlando           FL           32837
 G&R Auto Transport                                            4789 Indian Branch Rd                                             Lamar             SC           29069
 G&R Heavy Haulin Corp                                         1042 W 68 St                                                      Hialeah           FL           33014
 G&R National Transportation Inc.                              17274 NW 60th Ct                                                  Hialeah           FL           33015
 G&R Transport LLC                                             8347 Dixie Ln                                                     Bearborn Hts      MI           48127
 G&Y Transport LLC                                             8659 Green Ridge Ave                                              Las Vegas         NV           89178
 Ga Fastway International Inc                                  7235 NW 179th Street #304                                         Hialeah           FL           33015
 Ga Transportation LLC                                         4420 Fallen Apple In                                              Louisville        KY           40218
 Gables Motor Sports                                           7300 Bird Road                                                    Maimi             FL           33155
 Gabriel Recycling Inc                                         6423 Windsor St                                                   Philadelphia      PA           19142
 Gabriel, Charles                                              Address on File
 Gabriel, Richard                                              Address on File
 Gaby Auto Transport Inc                                       9288 SW Grand Canal Dr                                            Miami             FL           33174
 Gad Logistics Carrier Corp                                    9120 SW 157 Place                                                 Miami             FL           33196
 Gafl Auto Transport Inc                                       3850 Holcomb Road Ste 280                                         Norcross          GA           30092
 Gag Construction LLC                                          106 Young Dr                                                      Summerville       SC           29483
 Gag Transport Corp                                            PO Box 924921                                                     Homestead         FL           33092
 Gaga Transportation Inc                                       6201 Bay Pkwy Apt D8                                              Brooklyn          NY           11204
 Gai                                                           301 East Fourth Street                                            Cincinnati        OH           45202
 Gailey Associates Inc                                         PO Box 5277                                                       Garden Grove      CA           92846-0277
 Gailiunas, Bruno                                              Address on File
 Gainsco Insurance Co                Mga Insurance Co., Inc.   3333 Lee Parkway #1200                                            Dallas            TX           75219
 Galant Transport LLC                                          130 Embleton Rd                                                   Owings Mills      MD           21117
 Galaxy Auto Repair LLC                                        1520 S Dixie Highway Bay 3                                        Hollywood         FL           33020
 Galese & Ingram, Pc                                           800 Shades Creek Pkwy Ste 300                                     Birmingham        AL           35209
 Galex Authority                                               429 Reigle Dr                                                     North Ft Myers    FL           33917
 Galicia Transport LLC                                         95 Green St                                                       Woodbridge        NJ           07095
 Galindez, Lazaro Evans                                        Address on File
 Gallagher Promotional Products                                PO Box 520635                                                     Longwood          FL           32752-0635
 Gallagher, Melinda M                                          Address on File
 Gallegos , Carlos                                             Address on File
 Gallery Auto Transport LLC                                    6845 W 25 Avenue                                                  Hialeah           FL           33016
 Galper, Morgan Julia                                          Address on File
 Galvagni-Johnson, Gina Marie                                  Address on File
 Galvan Moreno, Christian Jermaine                             Address on File
 Galvez Auto Transport Inc                                     2412 Rolling Broad Drive                                          Orlando           FL           32837
 Gam General Auto Movers, Inc                                  5309 Sun Meadow Drive                                             Plainfield        IL           60586
 Game Day Media
 Game, Sebastian Philip                                        Address on File
 Gamez Casanova, Pedro                                         Address on File
 Gan News
 Ganesh, Karen Tarawattie                                      Address on File
 Gannon, John Joseph                                           Address on File
 Garage Equipment                                              14280 SW 142nd Street                                             Miami             FL           33186



Off Lease Only LLC, et al.                                                                                                                                                   Page 58 of 155
                                     Case 23-11389-CTG             Doc 1-1        Filed 09/07/23   Page 59 of 155
                                                                        Creditor Matrix
                                                                      as of September 6, 2023
                    Creditor Name   Attention                 Address 1                Address 2    Address 3            City           State       Zip       Country
 Garage Gadgets, Inc.                           11243 Marseilles Blvd                                           Clermont           FL           34711
 Garcia & Rodriguez LLC                         1516 NW 119 Street                                              Miami              FL           33167
 Garcia American Trucking Corp                  10000 NW 80 Ct                                                  Hialeah Gardens    FL           33016
 Garcia Auto Transport LLC                      3470 Seagrape Drive                                             Winter Park        FL           32792
 Garcia Portillo, Aury Sky                      Address on File
 Garcia Roman Auto Transport Inc                7420 SW 23 St                                                   Miami              FL           33155
 Garcia, Anabel                                 Address on File
 Garcia, Ashley Marie                           Address on File
 Garcia, Christopher Gene                       Address on File
 Garcia, Jonathan                               Address on File
 Garcia, Juan Ramon                             Address on File
 Garcia, Leslie Carolina                        Address on File
 Garcia, Pedro J                                Address on File
 Garcia-Martinez, Juan Diego                    Address on File
 Garcia-Pacheco, Nicole                         Address on File
 Gardens Towing                                 1108 3rd Ave North                                              Lake Worth         FL           33460
 Gardner Millwork                               5668 Commerce Dr                                                Orlando            FL           32839
 Garfield Internet Group                        15611 Logan St                                                  Sugar Land         TX           77478
 Gari Logistics LLC                             37 Polamia Street                                               Spotswood          NJ           08884
 Garib, Darryl Ivan                             Address on File
 Garip, Felipe                                  Address on File
 Garlyn Shelton Temple                          5620 S General Bruce Dr                                         Temple             TX           76503
 Garmakani, Chady                               Address on File
 Garrandes, Isabel                              Address on File
 Garrison, Randy D                              Address on File
 Gartner, Inc                                   PO Box 911319                                                   Dallas             TX           75391-1319
 Garvin III, Jackie Leroy                       Address on File
 Garza, John David                              Address on File
 Garzone, Vincent William                       Address on File
 Gas Auto Transport & Wholesale                 PO Box 2314                                                     Irmo               SC           29063
 Gasagi Auto Transport Inc                      100 Kings Point Dr                                              Sunny Isles        FL           33160
 Gat Group LLC                                  108 Rosita Street                                               Syracuse           NY           13219
 Gatepro Access Controls, Inc                   7778 Mcginnis Ferry Rd - #203                                   Suwanee            GA           30024
 Gates, Demond Thomas                           Address on File
 Gateway One Lending & Finance                  160 N Riverview Dr                                              Anaheim            CA           92808
 Gateway One Lending & Finance                  PO Box 1013                                                     Atwood             CA           92811
 Gateway Trucking Inc.                          13042 SW 194 St                                                 Miami              FL           33177
 Gator Axles Inc                                2786                                                            Sanford            FL           32773
 Gator Plumbing                                 4911 Lyons Technology Parkway                                   Coconut Creek      FL           33073
 Gator Towing                                   154 Ave E - Unit A502                                           Bayonne            NJ           07002
 Gator Vending, Inc                             495 N Us Hwy 17-92 Ste 141                                      Longwood           FL           32750
 Gauntlett, Ben                                 Address on File
 Gaynus, Jamaal Nathan                          Address on File
 Gb Car Hauler Inc                              144 North Road                                                  Sudbury            MA           01776
 Gb Transport                                   12292 Hwy 211 East                                              Council            NC           28434
 Gc Transport LLC                               1710 Virginia Avenue Ste B                                      Dover              PA           17315
 Gcc Transport & Hauling LLC                    1133 Byerly Way                                                 Orlando            FL           32818
 Gcg Transport Corp                             PO Box 110352                                                   Hialeah            FL           33011
 Gcm Auto Transport Inc                         6330 SW 18th St                                                 Miami              FL           33155
 Gcm Inc                                        61620 Crystal Beach Dr                                          Sturgis            MI           49091
 Ge Capital                                     PO Box 536447                                                   Atlanta            GA           30353-6447
 Ge Express Auto Transport Inc.                 191 Beach Road                                                  Salisbury          MA           01952
 Ge Freight Inc                                 3149 19th Avenue South                                          Saint Petersburg   FL           33712
 Ge Transport Inc.                              10910 SW 143 Rd Terrace                                         Miami              FL           33176
 Gedeon, Merius                                 Address on File
 Gefb Auto Transport Inc                        7950 NW 53rd St Suite 337                                       Miami              FL
 Gega Transportation Inc                        19 Hendrickson Rd                                               Freehold           NJ           07728
 Gelin, Edwins                                  Address on File
 Gelman, Genia                                  Address on File
 Gem Dynamic Carriers Inc.                      19879 260th Street                                              Washington         OK           73093
 General Tires Wholesale Inc                    5499 NW 145th St #110                                           Miami              FL           33054
 General Trans Group Inc                        301 North Catalpa St                                            Addison            IL           60101



Off Lease Only LLC, et al.                                                                                                                                   Page 59 of 155
                                                   Case 23-11389-CTG                   Doc 1-1         Filed 09/07/23   Page 60 of 155
                                                                                             Creditor Matrix
                                                                                           as of September 6, 2023
                    Creditor Name                Attention                      Address 1                   Address 2    Address 3            City            State       Zip       Country
 General Transporter                                               2075 SW 122nd Ave                                                 Miami               FL           33175
 Genes Trucking                                                    112 Bomberger Rd                                                  Akron               PA           17501
 Genesis Auto Carrier LLC-Fl                                       5320 SW 86th Avenue                                               Cooper City         FL           33328
 Genesis Auto Transport                                            525 Mulberry Street                                               Newark              NJ           07114
 Genesis Twin Transport LLC                                        4417 Coquina Winds Way                                            Lake Worth          FL           33463
 Genset Services Inc                                               3100 Gateway Dr                                                   Pompano Beach       FL           33069
 Genthner-Colson, Michelle Lee                                     Address on File
 Gentle Giant Logistics, LLC                                       7725 Greenwich Ct W                                               Jacksonville        FL           32277
 Geo Auto Sales Corp                                               1739 W 41st Street Apt 3                                          Hialeah             FL           33012
 Geo Auto Trans LLC                                                3016 Commodore Dr Apt 141                                         Grand Prairie       TX           75052
 Geo Auto Transport LLC                                            6345 NW 199 Ter                                                   Hialeah             FL           33015
 Geopoint Surveying Inc                                            1403 E 5th Ave                                                    Tampa               FL           33605
 George Creamer Trucking LLC                                       8 Groom St                                                        Burlington          NJ           08016
 George, Ethan Jeremy                                              Address on File
 George, Frances                                                   Address on File
 Gerard, Jean Mario                                                Address on File
 Gerloff, Mark Douglas                                             Address on File
 German Excellence                                                 4150 Forsyth Rd                                                   Winter Park         FL           32817
 Geroni, Robert Scott                                              Address on File
 Gervais, Emily Lucille                                            Address on File
 Gervasi Auto Transport Inc                                        660 NW 114 Avenue                                                 Miami               FL           33172
 Get R Done Trucking                                               12 North Long Lane                                                North Manchester    IN           46962
 Getant And Son Trucking LLC                                       PO Box 3                                                          Wernersville        PA           19565
 Gettel Acura                                                      5959 E State Road 64                                              Bradenton           FL           34208
 Gettel Hyundai Of Lakewood           Gettel Genesis Of Lakewood   5959 E State Road 64                                              Bradenton           FL           34208
 Gettel Kia Of Bradenton                                           5959 E State Road 64                                              Bradenton           FL           34208
 Gettel Nissan Of Sarasota            Gettel Hyundai Of Sarasota   5959 E State Road 64                                              Bradenton           FL           34208
 Gettel Ocala (Bmw Of Ocala)                                       5959 E State Road 64                                              Bradenton           FL           32408
 Gettel Ocala (Vw/Porsche Of Ocala)                                5959 E State Road 64                                              Bradenton           FL           32408
 Gettel Toyota                                                     5959 E State Road 64                                              Bradenton           FL           34208
 Getty Images Inc
 Gh Car Carrier                                                    10229 NW 9 Street Circle                                          Miami               FL           33172
 Ghattas, Ghaleb Hassan                                            Address on File
 Gi Auto LLC - Fl Only                                             1203 Benoist Farms Road                                           West Palm Beach     FL           33411
 Gibbs Cargo Trucking & Van Service                                1017 N Duval Street                                               Tallahassee         FL           32303
 Gibbs, Jean Albert                                                Address on File
 Gibson Reliable Transportation LLC                                6000 Stewart Pkwy                                                 Douglasville        GA
 Gibson, Kristian                                                  Address on File
 Gibson, Luis R                                                    Address on File
 Giddens, Scott W                                                  Address on File
 Gierke, Don                                                       Address on File
 Gig Express LLC                                                   4087 Jeanne Drive                                                 Cleveland           OH           44134
 Gig Logistics Inc                                                 7061 W North Ave                                                  Oak Park            IL           60302
 Gil Auto Transport                                                70 NE 135 St                                                      North Miami         FL           33161
 Gil Souza Transport Corp                                          69 Remsen Street                                                  South Bound Brook   NJ           08880
 Gilbert, Samuel Anthony                                           Address on File
 Gillman North III, LLC                                            17350 North Fwy                                                   Houston             TX           77090
 Gilman, Thomas F                                                  Address on File
 Ginger Duck Transport LLC                                         127 Twin Lakes Road                                               Hawthorne           FL           32640
 Ginn Motor Company                                                8153 Access Rd                                                    Covington           GA           30014
 Gino Reyes Photography                                            7862 NW 198 Street                                                Miami               FL           33015
 Gio Transporters Inc                                              14941 SW 82nd Terr #210                                           Miami               FL           33193
 Gionti, Karina Denise                                             Address on File
 Giral Trucking Corp                                               2345 Tallahasse Dr                                                West Palm Beach     FL           33409
 Girot, Ada Caridad                                                Address on File
 Girot, Genesis Jazmine                                            Address on File
 Gis Benefits                                                      P O Box 1806                                                      San Antonio         Tx           78296-1806
 Givens, Anthony Charles                                           Address on File
 Givner Law Group LLC                                              19495 Biscayne Blvd Suite 702                                     Aventura            FL           33180
 Gj Logistics LLC                                                  1020 NE 43rd St                                                   Ocala               FL           34479
 Gjd Car Carrier LLC                                               16574 Haynie Lane                                                 Jupiter             FL           33418
 Gl Car Transport LLC                                              5206 E 20th Ave                                                   Tampa               FL           33619



Off Lease Only LLC, et al.                                                                                                                                                         Page 60 of 155
                                                 Case 23-11389-CTG                      Doc 1-1         Filed 09/07/23   Page 61 of 155
                                                                                              Creditor Matrix
                                                                                            as of September 6, 2023
                   Creditor Name               Attention                         Address 1                   Address 2    Address 3            City            State       Zip       Country
 Gladiator Trucking & Transport                                     3175 S Congress Ave #106                                          Palm Springs        FL           33461
 Gladiator Trucking & Transport                                     212 W Main Street                                                 Goshen              IN           46526
 Glassbox Us, Inc                                                   333 W 39th Street Suite 501                                       New York            NY           10018
 Glassdoor Inc                                                      PO Box 123436 - Dept 3436                                         Dallas              TX           75312-3436
 Glattstein, Matthew Lee                                            Address on File
 Glauber Transport Inc.                                             2410 NW 16th Lane                                                 Pompano Beach       FL           33064
 Glave, TriciaLee D.                                                Address on File
 Glenbrook Dodge                                                    100 W Coliseum Blvd                                               Fort Wayne          IN           46805
 Glenn, Tujuana                                                     Address on File
 Glg Cars LLC                                                       9383 NW 13th St                                                   Miami               FL           33172
 Glo Transporters Inc                                               14941 SW 82nd Terr Ace #210                                       Miami               FL           33193
 Global 1 Transportation Inc                                        3829 Mckinley St                                                  Dearborn            MI
 Global Absolute Transport                                          10229 36th Ct E                                                   Parrish             FL           34219
 Global Auto Carriers LLC                                           PO Box 1003                                                       Ocoee               FL           34761
 Global Auto Transport Service                                      2620 Barge Rd                                                     Atlanta             GA           30331
 Global Auto Transportation Inc                                     7928 Woodlyn Drive                                                Woodridge           IL           60517
 Global Cargo Logistics             Uzvenko,Alexander               6741 Yosemite Ct                                                  Rocklin             CA           95765
 Global Direct Resources                                            125 S State Rd 7 Ste 104-374                                      Wellington          FL           33414
 Global Electronic Services, Inc.                                   5325 Palmero Court                                                Buford              GA           30518
 Global Equipment Co., Inc.                                         29833 Network Place                                               Chicago             IL           60673-1298
 Global Express Transportation                                      68 Jean Ave                                                       Southamptom         PA           18966
 Global Express Transportation                                      67 Buck Rd                                                        Huntingdon Valley   PA           19006
 Global Industrial
 Global Lending Services                                            PO Box 744720                                                     Atlanta             GA           30374
 Global Lending Services            Attn: Rebates Department        Po Ox 935538                                                      Atlanta             GA           31193
 Global Line LLC                                                    10190 Katy Freeway Suite 430B                                     Houston             TX           77043
 Global Logistic Auto Group LLC                                     3717 Nautilus Ave                                                 Brooklyn            NY           11224
 Global Logistics Group LLC                                         9383 NW 13th St                                                   Miami               FL           33172
 Global Logistics Group LLC                                         5161 NW 79 Ave                                                    Doral               FL           33166
 Global Motors Group LLC                                            PO Box 278764                                                     Miramar             FL           33027
 Global Payments
 Global Striping LLC                Franchesco Burac                 415 NW 5th Terr Unit 1                                           Hallandale Beach    FL           33009
 Global Trans Tech LLC                                               185 SW Bowden Ave                                                Port St Lucie       FL           34953
 Global Transport Group LLC                                          589 Shelby Ranch Ln                                              Roseville           CA           95678
 Global Transport Grp Lsd To K2     Transportation Group             23730 Palm Beach Blvd                                            Alva                FL           33920
 Global Transport LLC                                                6529 Brock Dr                                                    North Highlands     CA           95660
 Global Trucking Solutions Corp                                      9710 Caribbean Blvd                                              Cutler Bay          FL           33189
 Glover, Aaron Kiah                                                  Address on File
 Glt Transportation LLC                                              19341 Marlowe                                                    Detroit             MI           48235
 Glue Products Plus                                                  4015 Georgia Ave                                                 West Palm Beach     FL           33405
 Gm Car Carrier                                                      48 N Mountain Road                                               New Britain         CT           06053
 Gm Financial                                                        801 Cherry Street Ste 3500                                       Fort Worth          TX           76102
 Gm Financial                                                        4001 Embarcadero Drive                                           Arlington           TX           76014
 Gm Financial                       Payment Servics/Ancillary Refund PO Box 182974                                                    Arlington           TX           76096-2974
 Gm Financial                       Attn Payment Processing          PO Box 99605                                                     Arlington           TX           76096
 Gm Pro Service Of Florida Inc                                       1505 W Landstreet Rd Ste 805                                     Orlando             FL           32832
 Gm Starway                                                          8655 Bay Parkway Apt F4                                          Brooklyn            NY           11214
 Gma Transport Corp                                                  3142 Champion Ring Road                                          Fort Myers          FL           33905
 G-Man Transport LLC                                                 9663 Gotha Rd                                                    Windermere          FL           34786
 Gmc Transport Inc                                                   15329 SW 69 Lane                                                 Miami               FL           33193
 Gmf Auto Transport Inc.                                             6811 Spanish Moss Cir                                            Tampa               FL           33625
 Gmg Auto Transport Inc                                              1940 SW 68th Way                                                 Miramar             FL           33023
 Gmvi Auto Transport LLC                                             731 W 39 Place                                                   Hialeah             FL           33012
 Gmw Auto Transport LLC                                              6020 12th Avenue West                                            Bradenton           FL           34209
 Gnd Transport LLC                                                   7520 Miramar Parkway                                             Miramar             FL           33023
 Gns Logistics LLC                                                   808 Green Ridge Cir                                              Feasterville        PA           19053
 Go 2 Transportation & Logistics                                     PO Box 93325                                                     Phoenix             AZ           85070
 Go Auto Exchange Orlando                                            1275 E Story Road                                                Winter Garden       FL           34787
 Go Auto Plane LLC                                                   150 Arrival Ave                                                  Ronkonkoma          NY           11779
 Go Auto Trans Inc                                                   9224 E Tyburn Rd                                                 Morrisville         PA           19067
 Go Express Trucking Inc                                             1053 Manigan Avenue                                              Oviedo              FL           32765
 Go Haul LLC                                                         1579 Warner Dr                                                   Chuluota            FL           32766



Off Lease Only LLC, et al.                                                                                                                                                          Page 61 of 155
                                            Case 23-11389-CTG                Doc 1-1        Filed 09/07/23   Page 62 of 155
                                                                                 Creditor Matrix
                                                                                as of September 6, 2023
                    Creditor Name          Attention                Address 1                    Address 2    Address 3           City         State       Zip    Country
 Go Movers Inc                                         4924 W Deming Pl                                                   Chicago         IL           60639
 Go Trade Usa LLC                                      2842 Oconnell Drive                                                Kissimmee       FL           34741
 Goche, Jonathan Harold                                Address on File
 Godaddy.Com
 Godby Safe & Lock                                     1048 Hypoluxo Road                                                 Lantana         FL           33462
 Godston, Erik                                         Address on File
 Goff James, Joyce Lucille                             Address on File
 Gold Auto LLC                                         1405 NE Mcwilliams Rd Ste 103-104                                  Bremerton       WA           98311
 Gold Auto Logistics Inc                               600 County Line Rd Ste 1N                                          Bensenville     IL           60106
 Gold Auto Transport Inc                               9001 NW 178th Street                                               Hialeah         FL           33018
 Gold Car Transport Inc                                7200 W 29th Avenue                                                 Hialeah         FL           33018
 Gold Coast Companies                                  2380 College Ave                                                   Davie           FL           33317
 Gold Coast Elevator Inspection Services               3287 SW Bessey Creek Trl                                           Palm City       FL           34990
 Gold Coast Heavy Hauling Inc
 Gold Coast Supply                                     9801 NW 15th Street                                                Plantation      FL           33322
 Gold Coast Technologies                               2701 W Mcnab Road                                                  Pompano Beach   FL           33069
 Gold Express Transportation LLC                                                                                          Solvay          NY           13209
 Gold Investigations Inc                               PO Box 922996                                                      Norgross        GA           30010
 Gold Rush Transport LLC                               6883 Nickis Lane                                                   Niagra Falls    NY           14304
 Gold Star Auto Transport LLC                          2853 Terra Park Lane                                               Wantagh         NY           11793
 Gold Star Locksmith LLC                               5607 41st St E                                                     Bradenton       FL           34203
 Gold Trans Inc                                        33 S Oakhurst Dr                                                   Aurora          IL           60504
 Gold Transport Inc                                    70 NE 135 St                                                       North Miami     FL           33161
 Goldberg, David J.                                    Address on File
 Golden Carrier Transport Inc                          6911 Main Street Apt 106                                           Miami Lakes     FL           33014
 Golden Carriers Inc                                   21312 SW 128th Ct                                                  Miami           FL           33177
 Golden Express Auto Transport                         363 E 36th St                                                      Hialeah         FL           33013
 Golden Express Transport LLC                          227 Sands Ave                                                      Monroe          OH           45050
 Golden Glory Transport LLC                            251 Bonnie Blvd                                                    Palm Springs    FL           33461
 Golden Streets Transportation LLC                     6417 NW 24th Place                                                 Gainesville     FL           32606
 Goldman, Paul J                                       Address on File
 Goldo's Transport LLC                                 4011 Longworth Lp                                                  Kissimmee       FL           34744
 Golf Car Depot Inc                                    1751-A South Dixie Hwy                                             Pompano Beach   FL           33060
 Golphin, La'violeta Chamorro                          Address on File
 Golz Transportation LLC                               1300 S Ft Harrison Avenue #200                                     Clearwater      FL           33756
 Gomes Transportation Inc                              422 High St Apt 24                                                 Medford         MA           02155
 Gomez & Son Fence                                     10805 NW 22 Street                                                 Miami           FL           33172
 Gomez Mejias, Enmanuel                                Address on File
 Gomez Zuluaga, Leonardo Fabio                         Address on File
 Gomez, Beatriz                                        Address on File
 Gomez, Emily Anne                                     Address on File
 Gomez, Juan Carlos                                    Address on File
 Gomez, Lennin Uriel                                   Address on File
 Gomez, Mildred Lizette                                Address on File
 Gomez, Ruben Dario                                    Address on File
 Gomez, Gisel                                          Address on File
 Gondre, Verly Philome                                 Address on File
 Gonzalez Auto Carrier                                 2984 Camino Real Dr South                                          Kissimee        FL           34744
 Gonzalez Hernandez, Manuel E                          Address on File
 Gonzalez Infante, Roberto                             Address on File
 Gonzalez Nunez, Olidania                              Address on File
 Gonzalez Ramirez, Juan Carlos                         Address on File
 Gonzalez Ramirez, Magaly                              Address on File
 Gonzalez Siles, Ruben                                 Address on File
 Gonzalez Villae, Carlos                               Address on File
 Gonzalez, Andy                                        Address on File
 Gonzalez, Angela Cheriese                             Address on File
 Gonzalez, Christopher                                 Address on File
 Gonzalez, Emely                                       Address on File
 Gonzalez, Felix Marbel                                Address on File
 Gonzalez, Juan                                        Address on File
 Gonzalez, Mariel Julissa                              Address on File



Off Lease Only LLC, et al.                                                                                                                                       Page 62 of 155
                                                               Case 23-11389-CTG                Doc 1-1          Filed 09/07/23   Page 63 of 155
                                                                                                        Creditor Matrix
                                                                                                     as of September 6, 2023
                    Creditor Name                             Attention                   Address 1                   Address 2    Address 3             City          State       Zip       Country
 Gonzalez, Raydel J                                                         Address on File
 Gonzalez, Rene A                                                           Address on File
 Gonzalez, Robert Daniel                                                    Address on File
 Gonzalez, Sergio Ivan                                                      Address on File
 Gonzalez, Yonatan                                                          Address on File
 Gonzalez, Dario                                                            Address on File
 Gonzalez, Elvin                                                            Address on File
 Gooch, Diane Joy                                                           Address on File
 Good Start Investment LLC                                                  11532 Via Lucerna Circle                                           Windermere         FL           34786
 Good Way Enterprise Corp (Vixstar Enterprise                               1902 SW Carvalho St                                                Port Saint Lucie   FL           34983
 Goode, Zechariah Enoch                                                     Address on File
 Goode, Ryne                                                                Address on File
 Goodell, Geoffrey Daniel                                                   Address on File
 Goodlin, Margaret Ann                                                      Address on File
 Goodyear Wholesale Tire Centers                                            14350 NW 56th Court Suite 120                                      Miami              FL           33054
 Google                                         Dept. 33654                 PO Box 883654                                                      Los Angeles        CA           90088-3654
 Goolsby, Patti                                                             Address on File
 Gooseneck Logistics Group LLC                                              11944 W 95th Street Ste204                                         Lenexa             KS           66215
 Gordon County Tax Commissioner                                             215 N Wall St                                                      Calhoun            GA           30701
 Gordon, Daishawn Jaquon                                                    Address on File
 Gordon, Robert Earl                                                        Address on File
 Go-Rrilax Transport LLC                                                    13818 Georgia Avenue                                               Silver Spring      MD           20906
 Gorrondona & Associates, Inc.                                              2800 NE Loop 820 - Ste 660                                         Fort Worth         TX           76137
 Gort Express Inc                                                           13547 SW 9 Ln                                                      Miami              FL           33184
 Goss, Aaron Christopher                                                    Address on File
 Government Employees Insurance Companies       Geico Attn:Florida Claims   PO Box 9091                                                        Macon              GA           31208
 Gp Mega LLC                                                                9486 165th Place N                                                 Jupiter            FL           33478
 Gpd Transport Inc                                                          6484 Seawolf Ct B4                                                 Naples             FL           34112
 Gps Express LLC                                                            PO Box 781801                                                      Orlando            FL           32878
 Gps Transportation LLC                                                     PO Box 1578                                                        Orangeburg         SC           29116
 Gr Towing Inc                                                              944 SW Butterfly Terr                                              Port Saint Lucie   FL           34953
 Gr Transportation LLC                                                      PO Box 720519                                                      Orlando            FL           32872
 Gr25 Trucking Corporation                                                  432 NW Biltmore St                                                 Port St Lucie      FL           34983
 Gr8 Ventures Towing And Recovery LLC                                       1180 E Corktree Cir                                                Port Charlotte     FL           33952
 Grace Towing Transport Inc                                                 PO Box 13150                                                       Ft Pierce          FL           34979
 Grace Transport LLC                                                        549 W Luray St                                                     Philadelphia       PA           19140
 Gracia, Charlie                                                            Address on File
 Grade.Us
 Grady, Edward W                                                            Address on File
 Grady, Kharisma Nicole                                                     Address on File
 Grainger                                                                   100 Grainger Parkway                                               Lake Forest        IL           60045-5201
 Grajales, Jhon Jaime                                                       Address on File
 Grajek, Donna Jill                                                         Address on File
 Gramm, Robert                                                              Address on File
 Grand Turismo Transport LLC                                                3540 Misty Morning Circle                                          Sacramento         CA           95827
 Grant, Jordan Thomas                                                       Address on File
 Grass Kissers Usa, LLC                                                     2901 NW 48th Ave #158                                              Lauderdale Lakes   FL           33313
 Graves, Christopher John                                                   Address on File
 Gray Oak Group LLC                                                         1261 Caroline St Ne                                                Atlanta            GA           30307
 Great American Ins                             Specialty Accounting        PO Box 89400                                                       Cleveland          OH           44101-6400
 Great Freight Transport Inc                                                5419 Hickory Bend Ct                                               Atlanta            GA           30349
 Great House Inc                                                            4781 N Congress Ave #146                                           Boynton Beach      FL           33426
 Great Northern Logistics LLC                                               327 Halo Drive                                                     Wellford           SC           29385
 Great Plains Transportation LLC                                            92 Great Plains Rd                                                 West Springfield   MA           01089
 Great Silk Rd Transport Inc                                                1415 Hardy Street                                                  Levittown          PA           19057
 Greatamerica Financial Services Corporation                                PO Box 660831                                                      Dallas             TX           75266-0831
 Greater South Florida Chamber
 Greco, Jordan Lynn                                                         Address on File
 Green Arrow Towing LLC                                                     150 NW 199th St                                                    Miami Gardens      FL           33169
 Green Diamonds Trucking LLC                                                1705 Washington Circle                                             Cincinnati         OH           45215
 Green Edge Transport                                                       5323 Stone Oaks Dr                                                 Lakeland           FL           33811
 Green Eyes Freight Broker Corp                                             15476 NW 77 Ct #612                                                Miami Lakes        FL           33016



Off Lease Only LLC, et al.                                                                                                                                                                  Page 63 of 155
                                                      Case 23-11389-CTG                    Doc 1-1         Filed 09/07/23   Page 64 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                    Creditor Name                   Attention                         Address 1                 Address 2    Address 3              City         State       Zip       Country
 Green Light Carrier Inc                                                3408 Breitwieser Lane                                            Naperville         IL           60564
 Green Light Carrier, Inc                                               1336 Mcdowell Rd Unit 202                                        Naperville         IL           60563
 Green Mile LLC                                                         872 Polaris Grand Dri                                            Lewis Center       OH           43035
 Green Pass Corp                                                        3208 Industrial 31st                                             Fort Pierce        FL           34946
 Green Star Auto Recyclers              Hlh Enterprises LLC Dba         7111 Overland St                                                 Orlando            FL           32810
 Green, Rex Odell                                                       Address on File
 Greenacres Nissan                      Tt Of Jennings Inc              5353 Lake Worth Rd                                               Lake Worth         FL           33463
 Greendata LLC                                                          2012 Corporate Lane               Ste108 Dpt8094                 Naperville         IL           60563
 Greene jr, Jimmy John                                                  Address on File
 Greens Energy Services, Inc.                                           186 N Goldenrod Road                                             Orlando            FL           32807
 Greensboro Auto Auction                                                3907 W Wendover                                                  Greensboro         NC           27407
 Greenway Chrysler Jeep Dodge Inc                                       520 N Semoran Blvd Suite 100                                     Orlando            FL           32807
 Greenway Fiat Of East Orlando                                          9103 E Colonial Dr                                               Orlando            FL           32817
 Greenway Ford                                                          9001 E Colonial Dr                                               Orlando            FL           32817-4176
 Greenway Kia East                      Semoran Auto Acquisitions Inc   8701 E Colonial Dr                                               Orlando            FL           32817
 Greenway Of East Orlando                                               9103 E Colonial Dr                                               Orlando            FL           32817
 Greenway Orlando Hyundai                                               4110 W Colonoal Dr                                               Orlando            FL           32808
 Greg Porters Body Shop                                                 3630 Cakhan Memorial Hwy                                         Greenville         SC           29611
 Grieco Chevrolet Ft Lauderdale LLC                                     1300 N Federal Hwy                                               Fort Lauderdale    FL           33304
 Grieco Kia                                                             2255 S Federal Hwy                                               Delray Beach       FL           33483-3317
 Grieco Mazda Of Delray Beach                                           2001 S Federal Highway                                           Delray Beach       FL           33483
 Griffin, Patrick James                                                 Address on File
 Griffon Earth Transportation Inc.                                      1710 SW 96 Ave                                                   Miramar            FL           33025
 Grimsley-Salmon, Tasha Renee                                           Address on File
 Gringberg, Maria                                                       Address on File
 Grizz Transport LLC                                                    3264 Bellericay Lane                                             Land O Lakes       FL           34638
 Grizzaffis Towing & Recovery                                           PO Box 5411                                                      West Lebanon       NH           03784
 Groll, Michael Albert                                                  Address on File
 Grosser Family Trust LLC                                               2745 First St Suite 1903                                         Fort Myers         FL           33916
 Group Cars Management LLC/Auto Amigo                                   1257 Oak Lake Cove                                               Colliervill        TN           38017
 Grs Industries Corp                                                    480 Holly Lane                                                   Plantation         FL           33317
 Grullon Pagan, Omar Rafael                                             Address on File
 Grunwald, Craig                                                        Address on File
 Grv Tech Logistics                                                     19957 Augusta Village Pl                                         Asburn             VA           20147
 Gsa Transportation                                                     1923 Morning Drive                                               Orlando            FL           32809
 Gsi Carriers Inc                                                       3 Peregrine Dr                                                   Morganville        NJ           07751
 Gsp Transportation Inc                                                 2429 S Highway 14                                                Greer              SC           29650
 Gst Title & Trust Inc                                                  9945 Bird Rd Suite 104                                           Miami              FL           33165
 Gt Auto Transport Inc                                                  6821 W 2nd Lane                                                  Hialeah            FL           33014
 Gt Logistics Inc.                                                      930 Iowa Avenue                                                  Wisconsin Dells    WI           53965
 Gtc Express LLC                                                        324 Perry Drive                                                  Nicholasville      KY           40356
 Gtg Transportation LLC                                                 385 Saint Henry Dr                                               Eunice             LA           70535
 Gti Trucking LLC                                                       3800 Will Carleton                                               Flat Rock          MI           48134
 Gtr Group Inc. (Prev Pro Star)                                         11146 Indian Wood Drive                                          Indian Head Park   IL           60525
 Gtr Transportation LLC                                                 1487 So Kenton St                                                Aurora             CO           80012
 Guajiro Tires                                                          1974 Congress Ave                                                Palm Springs       FL           33406
 Guaranteed Fence Corp                                                  1091 E 26St Bldg B                                               Hialeah            FL           33013
 Guaranteed Recovery LLC                                                3091 Western Hills Dr E                                          Mobile             AL           36618
 Guard Buildings, LLC                                                   1660 Waterville Road                                             Macon              GA           31206
 Guard Insurance Group                                                  PO Box 62479                                                     Baltimore          MD           21264-2479
 Guardian                                                               PO Box 677458                                                    Dallas             TX           75267-7458
 Guardmetrics LLC                                                       30725 Us Hwy 19 No Suite 322                                     Palm Harbor        FL           34684
 Guerard, Perry John                                                    Address on File
 Guerra Montero, Alonso M                                               Address on File
 Guerrero, Jeidi                                                        Address on File
 Guevara Mejia, Wilber Yovanis                                          Address on File
 Guevara, Taymis                                                        Address on File
 Guillaume, Elijah                                                      Address on File
 Gulf Coast Dealer Transport Inc                                        250 Lake Palms Dr                                                Largo              FL           33771
 Gulfcoast Auto Shipping Inc                                            PO Box 21725                                                     Sarasota           FL           34276
 Gunslinger Transport LLC                                               30225 Cannon River Blvd                                          Randolph           MN           55065
 Gunster                                                                777 S Flagler Drive Ste 500E                                     West Palm Beach    FL           33401



Off Lease Only LLC, et al.                                                                                                                                                            Page 64 of 155
                                                          Case 23-11389-CTG                    Doc 1-1           Filed 09/07/23    Page 65 of 155
                                                                                                      Creditor Matrix
                                                                                                     as of September 6, 2023
                   Creditor Name                        Attention                       Address 1                      Address 2    Address 3              City          State       Zip       Country
 Gunther Motor Company Of Plantation, Inc                                  1660 South State Road 7                                              Ft Lauderdale       FL           33317
 Gunther Volkswagen                                                        2401 N Federal Hwy                                                   Delray Beach        FL           33483
 Gunther Volkswagen Of Coconut Creek        Gunther Motor Company          4300 N State Road 7                                                  Coconut Creek       FL           33073
 Gunther Volvo Coconut Creek                Gunther Motor Company New Vent 4350 N State Road 7                                                  Coconut Creek       FL           33073
 Gurcu Motors LLC                                                          960 Lynnwood Avenue                                                  Brick               NJ           08723
 Guru Transport Inc                                                        PO Box 232258                                                        Centreville         VA           20120
 Gus Machado Ford                                                          1200 West 49th Street                                                Hialeah             FL           33012
 Gus Welding Services, LLC                                                 1122 Keystone Dr #C                                                  Jupiter             FL           33458
 Gustave, Najee Bradley                                                    Address on File
 Gustavo Castro Transport LLC               Castro Majia,Gustavo Rene      1367 Brentwood Lane                                                  Manetta             GA           30062
 Gutierrez Family Farms Corp                                               3300 Boot Bay Rd                                                     Plant City          FL           33563
 Gutierrez Semprun, Alejandro Paul                                         Address on File
 Gutierrez, Alejandro                                                      Address on File
 Gutierrez, Teresita                                                       Address on File
 Guys Solutions LLC                                                        8925 Okeechobee Blvd                                                 West Palm Beach     FL           33411
 Guzman, Hector Santiago                                                   Address on File
 Guzman, Javier Enrique                                                    Address on File
 Gvr Destinations LLC                                                      2956 Cello Lane                                                      Kissimmee           FL           34741
 Gwc Warranty
 Gwinnett Tax Commissioner                                                 750 South Perry St                                                   Lawrenceville       GA           30046
 Gz Transportation                                                         37 Donna Drive                                                       Groton              CT           06340
 H & C Supply Usa Inc                                                      11245 S Orange Blossom Trl           #302                            Orlando             FL           32837-9247
 H And R Transport                                                         7404 Sudley Avenue                                                   Brandywine          MD           20613
 H And S Car Carriers Inc                                                  11047 Main Street North                                              Nahunta             GA           31553
 H Greg Nissan Delray, LLC                                                 2200 S Federal Hwy                                                   Delray Beach        FL           33483
 H Watson Auto Transport LLC                                               13810 Oneida Dr 104C1                                                Delray Beach        FL           33446
 H&G Auto Transporter LLC                                                  3525 Benerald Street                                                 Land O Lakes        FL           34638
 H&H Truck Repair Service LLC                                              1822 Manitoba Ct                                                     Kissimmee           FL           34759
 H&H Xpress LLC                                                            764 W 40th Place                                                     Hialeah             FL           33012
 H&I Transport Inc                                                         82 Herbert St Unit 203                                               Framingham          MA           01702
 H&J Trucking                                                              PO Box 881902                                                        Port Saint Lucie    FL           34988
 H&L Consultants                                                           612 N Orange Ave                                                     Jupiter             FL           33458
 H&L Towing + Transport Inc                                                14785 Orange Blvd                                                    Loxahatchee         FL           33470
 H&M Carrier Inc.                                                          7872 W 16th Ct                                                       Hialeah             FL           33014
 H&O Transport Services                                                    PO Box 961344                                                        Miami               FL           33296
 H&S Cargo LLC                                                             66 New Lawn Ave                                                      Kearny              NJ           07032
 H&S Transport LLC                                                         1132 Rock Harbor Ave                                                 Orlando             FL           32828
 H&S Transportation & Logistics LLC                                        110 Chadwyck Cir                                                     Ronaire             GA           31005
 H&T Transportation Inc                                                    2209 Morning Vista Dr                                                Memphis             TN           38134
 H.D. Investigative Group LLC                                              16155 SW 117 Ave                                                     Miami               FL           33177
 H0Llywood Starter & Alternator Inc
 H1 Auto Trans Inc                                                         6688 Joliet Rd                                                       Countryside         IL           60525
 H2 Auto Transport LLC                                                     PO Box 15252                                                         Tampa               FL           33684
 Ha Imperial Trucking Corp                                                 7280 E Galbraith Road                                                Cincinnati          OH           45243
 Haas Graphics
 Haber Blank Attorneys At Law                                              888 South Andrews Ave                Suite 201                       Fort Lauderdale     FL           33316
 Hagan, Erika Ashley                                                       Address on File
 Hahessy, Simon                                                            Address on File
 Haley's Auto Transport LLC                                                168 Thomas Dr                                                        Middletown          VA           22645
 Hall & Davis Trucking LLC                                                 9301 East Fern Lane                                                  Miramar             FL           33025
 Hall Towing LLC                                                           PO Box 246                                                           Columbia City       IN           46725
 Hall, Carolyn                                                             Address on File
 Hall, Sade Yanik                                                          Address on File
 Hall, Erica Jane                                                          Address on File
 Haller, Alan                                                              Address on File
 Halls Transport                                                           PO Box 212                                                           Strawberry Plains   TN           37871
 Ham Logistics LLC                                                         4115 Columbia Rd Suite 5-361                                         Martinez            GA           30907
 Ham, Alexander                                                            Address on File
 Ham, Jaboria                                                              Address on File
 Hamam Transport LLC                                                       1541 Camron Cresent Dr                                               Reston              VA           20190
 Hamdan, Heithem Hassan                                                    Address on File
 Hampton Inn                                Breit Holdings Trs LLC         1601 Worthington Rd                                                  West Palm Beach     FL           33409



Off Lease Only LLC, et al.                                                                                                                                                                    Page 65 of 155
                                                              Case 23-11389-CTG                        Doc 1-1          Filed 09/07/23   Page 66 of 155
                                                                                                             Creditor Matrix
                                                                                                            as of September 6, 2023
                    Creditor Name                           Attention                           Address 1                    Address 2    Address 3           City             State       Zip       Country
 Hamptons Auto Transport                                                          5021 Elese St                                                       Orlando             FL           32811
 Hance Transport LLC                                                              6 Chesler Square                                                    Succasunna          NJ           07876
 Handras, Christina Diana                                                         Address on File
 Hankook                                                                          PO Box 469                                                          Coppell             TX           75019
 Hanley Enterprises LLC/Hanley Auto Transport                                     PO Box 121                                                          Arcola              IN           46704
 Hanna Express Inc.                                                               13600 Byron Blvd                                                    Middleburg Hts      OH           44130
 Hanna Imports                                                                    2407 Wake Forest Rd                                                 Raleigh             NC           27608
 Hannons Auto Transport                                                           7365 Maint St                                                       Stratford           CT           06614
 Hansen And Adkins-Al                                                             480 Dick Buchanan Street                                            La Vergne           TN           37086
 Happy Auto Transport Corp                                                        PO Box 21016                                                        Bradenton           FL           34203
 Happy Face Transport LLC                                                         10305 SW 40 Terr                                                    Miami               FL           33165
 Happy Shrubs LLC                                                                 151 SW Sea Lion Road                                                Port St Lucie       FL           34953
 Haque, Khaled Kaiser                                                             Address on File
 Haque, Mohammed Imrul                                                            Address on File
 Harbor Nissan                                                                    4336 Tamiami Trail                                                  Port Charlotte      FL           33980
 Harbor, Dale Curtis                                                              Address on File
 Harco National Insurance Co                                                      PO Box 68309                                                        Schaumburg          IL           60168-0309
 Harco National Insurance Company                                                 15597 Collections Center Drive                                      Chicago             IL           60693
 Harco National Insurance Company                                                 99 N Atlantic Ave                                                   Cocoa Beach         FL           32931
 Hardison Enterprises LLC                                                         2279 Flowood Drive                                                  Flowood             MS           39232
 Hardy Automotive LLC                                                             2409 SW 59th Terr                                                   Hoolywood           FL           33023
 Hargrove, Jamari Treshuan                                                        Address on File
 Harinam Trucking LLC                                                             31492 Anner Road                                                    Carriere            MS           39426
 Harlan Designs                                 Invalid Acct/Need W-9/Last Used 4/8275 125th Place                                                    Sebastian           FL           32958
 Harland Clarke
 Harper, Ulysses Sterling                                                         Address on File
 Harrelson, John                                                                  Address on File
 Harriott, Ashekia Felicia                                                        Address on File
 Harris , Crystal Renee                                                           Address on File
 Harris County Engineering Division                                               10555 Northwest Fwy #100                                            Houston             TX           77092
 Harris County Mud #63                          Harris County, Tx                 9826 Whithorn Dr                                                    Houston             TX           77095
 Harris Fire Protection, Inc.                                                     16342 68th Street N                                                 Loxahatchee         FL           33470
 Harris, Bob R                                                                    Address on File
 Harris, Jazlynn Alaya                                                            Address on File
 Harris, Mercedes Natoshia                                                        Address on File
 Hart, Jay Edward                                                                 Address on File
 Hart, Jeremy Shane White                                                         Address on File
 Hartman Simons & Woods, Llp                                                      6400 Powers Ferry Road               Suite 400                      Atlanta             GA           30339
 Harvey Ruvin Clerk                             Circuit And County Courts
 Harvey, Gretel                                                                   Address on File
 Harveys Trail Brake& Muffler                                                     3825-A S Military Trail                                             Lake Worth          FL           33463
 Haskell, Edward                                                                  Address on File
 Hatuey Transport Inc.                                                            3151 W Desert Cove Ave                                              Phoenix             AZ           85029
 Haul N Rides LLC                                                                 38895 Lakeshore Dr                                                  Harrison Township   MI           48045
 Haul Starz LLC                                                                   388 Keener Acres Street                                             Lincolnton          NC           28092
 Hauling Transport Inc.                                                           2747 SW 11 Street                                                   Miami               FL           33135
 Hausheer, Monique                                                                Address on File
 Hausheer, Monique Rose                                                           Address on File
 Havana Cuban Pizza
 Havens Transport LLC                                                             9200 Cheswick Dr                                                    Ft Worth            TX           76123
 Hawk Media Inc                                                                   7900 Glades Road                                                    Boca Raton          FL           33434
 Hawk Ridge Transport LLC                                                         309 Hawk Ridge                                                      Painesville         OH           44077
 Hawkins, Denzell Jerrodd                                                         Address on File
 Hawthorne, Orson                                                                 Address on File
 Haye Transportation Corp                                                         PO Box 253                                                          Burlington          MA           01803
 Hayes One Transport LLC                                                          5002 Strada Dr                                                      Winter Haven        FL           33880
 Hayes, Ariel G.                                                                  Address on File
 Hays, Louis Glenn                                                                Address on File
 Hays, Christopher Lee                                                            Address on File
 Hayt, Hayt & Landau P.L.                                                         7765 SW 87th Ave Ste 101                                            Miami               FL           33173
 Haywood, Dorothy Ann                                                             Address on File
 Hazelwood Transport LLC                                                          9593 Ferguson Rd                                                    Beggs               OK           74421



Off Lease Only LLC, et al.                                                                                                                                                                          Page 66 of 155
                                                       Case 23-11389-CTG            Doc 1-1         Filed 09/07/23   Page 67 of 155
                                                                                          Creditor Matrix
                                                                                        as of September 6, 2023
                    Creditor Name                    Attention                Address 1                  Address 2    Address 3             City           State       Zip       Country
 Hb Car Carrier Inc.                                             10229 NW 9th Cir Apt 207                                         Miami               FL           33172
 Hbc Enterprise LLC                                              2002 Proverbs Ct                                                 Monroe              NC           28110
 Hcc Transports LLC                                              2301 Lagna Circle Apt 503                                        North Miami         FL           33181
 Hd Supply, Ltd.                                                 PO Box 4852                                                      Orlando             FL           32802-7852
 Hd Transport Express Inc.                                       4217 13St Sw                                                     Lehigh Acres        FL           33976
 Hd&J Transport, LLC/Hd&J Logistics LLC                          5407 Carol Run West                                              Bloomfield          MI           48322
 Hdrs LLC                                                        17825 Fieldbrook Circle West                                     Boca Raton          FL           33496
 Head Of The Class Transport LLC                                 2560 NW 105 Lane                                                 Sunrise             FL           33322
 Headquarter Toyota                                              5895 NW 167th Street                                             Miami               FL           33015
 Health Equity                                                   15 W Scenic Pointe Dr                                            Draper              UT           84020
 Health Options                                                  PO Box 2210                                                      Jacksonville        FL           32203
 Healthica LLC                                                   16950 North Bay Rd Apt 1212                                      Sunny Isles Beach   FL           33160
 Healthier Indoor Air Inc                                        6788 Hendry Dr                                                   Lake Worth          FL           33463
 Healthplan Services Inc                                         PO Box 864793                                                    Orlando             FL           32886
 Heat Auto Transport Inc                                         15831 SW 98th St                                                 Miami               FL           33196
 Heath, Jeffrey                                                  Address on File
 Heavenly Angels Transportation                                  PO Box 631                                                       Manning             SC           29102
 Heavenly Empire Transportation LLC                              4535 Friden Dr                                                   Jacksonville        FL           32209
 Heavy Head Logistics And Consulting LLC                         PO Box 216                                                       Darkston            GA           30021
 Heavy Metel Transport LLC                                       PO Box 1471                                                      Newark              NJ           07101
 Heavy Traffic Towing And Transport                              3726 Torres Court                                                Jacksonville        FL           32210
 Heavy Xl Transport LLC                                          3380 Holcomb Bridge Rd Ste7                                      Norcross            GA
 Hector Rodriguez- Fl Only                                       470 East 51 Street                                               Hialeah             FL           33013
 Hector, Leeroy                                                  Address on File
 Heffler Claims Group                                            1515 Market Street Suite 1700                                    Philadelphia        PA           19102
 Heidrick & Struggles, Inc                                       1133 Paysphere Cir                                               Chicago             IL           60674
 Heifner Enterprises LLC                                         4100 Hueco Avenue                                                El Paso             TX           79903
 Height Finest Auto Transport                                    809 W 181 St                                                     New York            NY           10033
 Heinz, Jadrianna Lynn                                           Address on File
 Heiple, James Robert                                            Address on File
 Helal Trucking LLC                                              10190 Katy Freeway Suite 430B                                    Houston             TX           77043
 Helfman Dodge Chrysler Jeep Ram Fiat      Helfman Dodge Inc     7720 Katy Freeway                                                Houston             TX           77024
 Helfman Fiat Alfa Romeo Maserati                                7720 Katy Freeway                                                Houston             TX           77024
 Helfman Ford                                                    12220 Southwest Fwy                                              Stafford                         77477
 Heller Waldman P L                                              3250 Mary Street                                                 Coconut Grove       FL           33133
 Henao Meza, Carolina                                            Address on File
 Henderson Services Co                                           8811 S Orange Ave                                                Orlando             FL           32824
 Hendrick Chevrolet                                              5665 N Airport Pulling Rd                                        Naples              FL           34109
 Hendrick Honda Bradenton                                        5515 14th St W                                                   Bradenton           FL           34207
 Henfield, Clifford                                              Address on File
 Hennessy Industries LLC                                         PO Box 91492                                                     Chicago             IL           60693
 Henriquez Walters, Emmanuel F                                   Address on File
 Henriquez, Judith                                               Address on File
 Henry County Tax Commissioner                                   140 Henry Parkway                                                Mcdonough           GA           30253
 Henry Garza Jr.                                                 Address on File
 Henry's Tire Shop                                               3825 South Military Trail                                        Lake Worth          FL           33463
 Hepburn, Yendor R                                               Address on File
 Herard, Georges Paul                                            Address on File
 Heritage Ford                                                   28739 State Road 54                                              Tampa               FL           33543
 Hermes Trans Inc                                                3001 S Ocean Dr                                                  Hollywood           FL           33019
 Hernandez Auto Transport                                        2666 Borinquen Dr                                                Kissimmee           FL           34744
 Hernandez Bueno, Felicia                                        Address on File
 Hernandez Carriers                                              7411 Venetian Way                                                West Palm Beach     FL           33406
 Hernandez, Andy                                                 Address on File
 Hernandez, Angel Luis                                           Address on File
 Hernandez, Armando                                              Address on File
 Hernandez, Elizabeth                                            Address on File
 Hernandez, Jonathan Mitchel                                     Address on File
 Hernandez, Rossmary                                             Address on File
 Herndon, Domineque Lashawn                                      Address on File
 Herrera Rodriguez, Felix                                        Address on File
 Herrera, Juan Antonio                                           Address on File



Off Lease Only LLC, et al.                                                                                                                                                      Page 67 of 155
                                                    Case 23-11389-CTG              Doc 1-1         Filed 09/07/23   Page 68 of 155
                                                                                           Creditor Matrix
                                                                                      as of September 6, 2023
                    Creditor Name                  Attention                Address 1                  Address 2     Address 3             City         State       Zip       Country
 Herrera, Tristen Anthony                                      Address on File
 Herring, Brandon Jerome                                       Address on File
 Herring, Kenneth Duncan                                       Address on File
 Herron, Jeremiah                                              Address on File
 Hesselbein Tire Southwest                                     7301 Security Way Ste 100                                         Jersey Village    TX           77040
 Heuck Trucking LLC                                            698 Hatcher Rd                                                    Franklin          KY           42134
 Heyward, Sheila Yvette                                        Address on File
 Hf Consulting Group, Inc.                                     6740 Bull Run Road #H253                                          Miami Lakes       FL           33014
 Hh Auto
 Hhlc Logistics Corp                                           2806 35th Street Sw                                               Lehigh Acres      FL           33976
 Hi Ho Silver Shipping                                         4156 Cedar Creek Ranch Circle                                     Lake Worth        FL           33467
 Hi Ho Silver Shipping / Boss Auto                             4156 Cedar Creek Ranch Circle                                     Lake Worth        FL           33467
 Hi Performance Auto Transport                                 5633 Mossy Top Way                                                Tallahasse        FL           32303
 Hickman, Diamante Lapalmer                                    Address on File
 Hickory Roofing & Renovation                                  6648 Se 9th Place                                                 Ocala             FL           34472
 Hicks Auto/All State                                          PO Box 121449                                                     West Melbourne    FL           32912
 Hid Pro                                                       1020 W Amelia St                                                  Orlando           FL           32805-1408
 Hiers Transport LLC                                           51 Ward St                                                        Walterboro        SC           29488
 High Caliber Auto Transport LLC                               6739 Crenshaw Dr                                                  Parma Heights     OH           44130
 High Class Transport Inc                                      815 Spring Circle Apt 206                                         Deerfield Beach   FL           33441
 High End LLC                                                  9823 Salty Bay Dr                                                 Delray Beach      FL           33446
 High End Transport Logistics LLC                              12717 W Sunrise Blvd #155                                         Sunrise           FL           33323
 High Point Motor Cars                                         505 S Coleman Street                                              Princeton         MO           64673
 High Quality Carriers Inc                                     9435 NW 36th Ave                                                  Miami             FL           33147
 High Quality Transport LLC                                    179 Diamond Ridge Blvd                                            Auburndale        FL           33823
 High Standard Collision                                       2665 W 76 Street                                                  Hialeah           FL           33016
 High Tech Locksmith, LLC               Congress               13085 Hamilton Crossing Blvd                                      Carmel            IN           46032
 Higher Level Transporting LLC                                 2851 Running Brook Circle                                         Kissimmee         FL           34744
 Higher Transport Inc                                          14901 SW 80th St                                                  Miami             FL           33193
 Highland Wireless Services, LLC                               6894 NW 20th Ave                                                  Ft Lauderdale     FL           33309
 Highline Auto Transport LLC                                   4421 NW 6th Ct                                                    Plantation        FL           33317
 Highline Sale Investor Group LLC                              Dept Ch 18163                                                     Palatine          IL           60055
 Highline Transport Group Corp                                 11309 SW 74th Terr                                                Miami             FL           33173
 Highway 10 Transport                                          9346 Sable Ridge Circle                                           Boca Raton        FL           33428
 Highway 10 Transport                                          6281 Thomas St                                                    Hollywood         FL           33024
 Hijazi Genereal Trading LLC                                   15610 Santini Road                                                Burtonsville      MD           20866
 Hilights Holiday Lighting Inc                                 PO Box 2427                                                       Agoura Hills      CA           91376
 Hill Ward Henderson Attorneys At Law                          PO Box 2532                                                       Tampa             FL           33601
 Hillsborough County
 Hilto Silver Shipping                                         4156 Cedar Creek Ranch Cir                                        Lake Worth        FL           33467
 Hilton Head Chrysler Jeep Dodge                               265 Drivers Way                                                   Hardeeville       SC           29927
 Hima Carriers LLC                                             10190 Katy Frwy                                                   Houston           TX           77043
 Hinchcliffe, Bill                                             Address on File
 Hinson, Leslie Cecilia                                        Address on File
 Hi-Performance Auto Transport LLC                             PO Box 180604                                                     Tallahassee       FL           32318
 Hira Ubaid                                                    11823 Leaf Oak Drive                                              Houston           TX           77065
 Hiram Trucking                                                7011 Elm Ave                                                      San Bernardino    CA           92404
 Hire Right LLC                                                PO Box 847891                                                     Dallas            TX           75284-7891
 Hireology Inc                                                 Dept Ch 10771                                                     Palatine          IL           60055-0771
 Hiya, Inc                                                     110 Union Street Suite 500                                        Seattle           WA           98101
 Hkg Towing Service                                            26611 SW 128th Ct                                                 Homestead         FL           33032
 Hl Transporting Llc                                           314 N Frodens Rd                                                  Lake Wales        FL           33859
 Hld Mayorquin Llc                                             10701 SW 120th Ave                                                Miami             FL           33186
 Hmh Trucking                                                  150 Las Flores                                                    Aliso Viejo       CA           92656
 Hnf Transport Co                                              109 Ambersweet Way                                                Davenport         FL           33897
 Hobart Hauling                                                11104 Saintsbury Pl                                               Charlotte         NC           28270
 Hobbs International Group LLC                                 106 Plant Ave                                                     Douglas           GA           31533
 Hoeffer Transport LLC                                         PO Box 881562                                                     Port St Lucie     FL           34988
 Hoff Trucking                                                 4585 Waterloo Rd                                                  Atwater           OH           44201
 Hoffman, Terrance                                             Address on File
 Hoffman, Mark                                                 Address on File
 Hoffman's Car Stereo LLC                                      1232 Blanding Blvd - Ste 3                                        Orange Park       FL           32065



Off Lease Only LLC, et al.                                                                                                                                                   Page 68 of 155
                                                        Case 23-11389-CTG                        Doc 1-1          Filed 09/07/23      Page 69 of 155
                                                                                                       Creditor Matrix
                                                                                                      as of September 6, 2023
                   Creditor Name                      Attention                           Address 1                       Address 2    Address 3               City        State       Zip       Country
 Hogan, Daniel Austin                                                       Address on File
 Hoist Trans LLC                                                            46 Frederick Ave                                                       Freeport           NY           11520
 Holland & Knight                                                           PO Box 864084                                                          Orlando            FL           32886-4084
 Holler Honda                                                               2211 N Semoran Blvd                                                    Orlando            FL           32807
 Holler Hyundai                                                             1150 N Orlando Ave                                                     Winter Park        FL           32789
 Hollywood Chrysler Jeep                                                    4001 N 29th Avenue                                                     Hollywood          FL           33020
 Hollywood Haulers LLC                                                      7400 Taylor St                                                         Hollywood          FL           33024
 Hollywood Kia                                                              760 S State Road 7                                                     Hollywood          FL           33023
 Hollywood Wheels Inc                                                       PO Box 4160                                                            Seminole           FL           33775
 Holmes Auto Trans                                                          3451 Osage Terrace                                                     Sarasota           FL           34231
 Holmes III, Roger A                                                        Address on File
 Holstein, Barbara Ann                                                      Address on File
 Holt, Amanda Nicole                                                        Address on File
 Holtz Auto Transport LLC                                                   7536 O'Felan Ct                                                        Onsted             MI           49265
 Home Care Experts                                                          5444 NW 55th Drive                                                     Coconut Creek      FL           33073
 Home Depot
 Homenet Automotive                                                         PO Box 935242                                                          Atlanta            GA           31193-5242
 Honda Cars Of Katy                                                         150 N Bartlett St                                                      Medford            OR           97501
 Honda Finance Exchange, Inc.                                               101 N Independence Mall East                                           Philadelphia       PA           19106
 Honduras Trucking Inc.                                                     2612 3rd Street Sw                                                     Lehigh Acres       FL           33976
 Hooper, Joshua Anthony                                                     Address on File
 Hooshmandan, Farzad                                                        Address on File
 Hopkins Air Conditioning, Inc                                              3110 W 45th Street Suite E                                             West Palm Beach    FL           33407
 Hopkins, Jasmine Nicole                                                    Address on File
 Horizon Transport Inc                                                      PO Box 826                                                             Wakarusa           IN           46573
 Horne, Aaron Jamel                                                         Address on File
 Horsepower Motorsports LLC                                                 907 South State Street                                                 Jackson            MS           39201
 Horsnell, Christopher O                                                    Address on File
 Horton, Jack Randolph                                                      Address on File
 Hosang, Cody Patrick                                                       Address on File
 Host Enterprises LLC                                                       821 Falling Spring Road                                                Glasgow            VA           24555
 Hot Shot Auto Transport Inc                                                6 Belleview Street #2                                                  Hudson             MA           01749
 Hot Shots 305 LLC - Fl Only                                                20441 SW 317 Street                                                    Homestead          FL           33030
 Hot Wheels LLC                                                             1143 Park Dr                                                           East Stroudsburg   PA           18302
 Houlihan Lokey Financial Advisors, Inc                                     10250 Constellation Blvd             5th Fl                            Los Angeles        CA           90067
 House, Kenneth                                                             Address on File
 Houston, Antoine Deon                                                      Address on File
 Houstons 1St Choice Auto Auction                                           825 Rankin Road                                                        Houston            TX           77073
 Howard, Chelsea Patricia                                                   Address on File
 Howard, Jessica Lee                                                        Address on File
 Howard, Nichols                                                            Address on File
 Howards Transport LLC                                                      2295 Morning Mist Ct                                                   Nashville          NC           27856
 Howes Recovery LLC                                                         PO Box 984                                                             Largo              FL           33799
 Hoyos Salcedo, Juan                                                        Address on File
 Hoz, Vannia                                                                Address on File
 Hpr Transport LLC                                                          431 Tammie Ave                                                         Goose Creek        SC           29445
 Hr Go Trucks LLC                                                           6999 Burnt Sienna Circle                                               Naples             FL           34109
 Hrd Hello Schedule                                                                                                                                                   FL
 Hrifil Inc                                                                  10723 5th Ave Cut Off Apt 307                                         Countryside        IL           60525
 Hrisca, Jeremy David Barr                                                   Address on File
 Hro Benefit Advisors LLC                                                    17347 Village Green Dr Ste 111                                        Huston             TX           77040
 Hsmv Trust Fund                          Fl Hwy Patrol-Motor Carrier Compli Penalty Collection Unit Ms-24                                         Tallahassee        FL           32399-0500
 Hsw Engineering Inc.                                                        15711 Mapledale Blvd                                                  Tampa              FL           33624
 Ht Locksmith, Inc                                                           11650 Interchange Circle North                                        Miramar            FL           33025
 Htl Auto Transport                                                          4457 E 8th Ln                                                         Hialeah            FL           33013
 Hubbard Broadcasting, Inc                                                   PO Box 645703                                                         Cincinnati         OH           45264
 Hubcap Heaven                                                               3451 S State Road 7                                                   Hollywood          FL           33023
 Huckleberry Notary                                                          PO Box 940489                                                         Maitland           FL           32794-0489
 Huckleberry Notary Bonding, Inc.                                            225 E Robinson Street                                                 Orlando            FL           32801
 Hudson, Tainyai Plershea                                                    Address on File
 Huffman Seneriz, William B.                                                 Address on File
 Hugerford, Roger                                                            Address on File



Off Lease Only LLC, et al.                                                                                                                                                                      Page 69 of 155
                                                       Case 23-11389-CTG              Doc 1-1        Filed 09/07/23   Page 70 of 155
                                                                                            Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name                    Attention                 Address 1                  Address 2    Address 3            City            State       Zip       Country
 Huggins, Andrew                                                 Address on File
 Hughes, Mary Grace                                              Address on File
 Hughes, Ronald Lamont Holston                                   Address on File
 Hulk Auto Transport Corp.                                       14932 SW 36 Terr                                                  Miami               FL           33185
 Hulls Haulin                                                    276 SW Utah Street                                                Fort White          FL           32038
 Humble Breed Transportation                                     1012 Pembroke Ave                                                 Lansdowne           PA           19050
 Huncar Inc                                                      91 New Holland Village Apt 91                                     Nanuet              NY           10954
 Hunt & Kahn Pa                                                  PO Box 934788                                                     Margate             FL           33093-4788
 Hunt, Douglas E                                                 Address on File
 Hunter II, Bret Lee                                             Address on File
 Hunter, Cherrelle Shante                                        Address on File
 Hunter, Leroy James                                             Address on File
 Hunter's Transporting & Towing                                  PO Box 120                                                        Kathleen            FL           33849
 Hurry Transport                                                 4847 Rockvale Drive                                               Kissimmee           FL           34758
 Hurst, Ronald Lamarr                                            Address on File
 Husel, Stephen Kyle                                             Address on File
 Hushner, Brian                                                  Address on File
 Hussain, Ramis                                                  Address on File
 Huston Buick Gmc Cadillac Inc                                   19510 Hwy 27                                                      Lake Wales          FL           33853
 Hustons Commercial Interiors                                    3058 Se Monroe Street                                             Stuart              FL           34997
 Hyland Express LLC                                              10304 West State Road 235                                         Alachua             FL           32615
 Hylant - Orlando                                                PO Box 638719                                                     Cincinnati          OH           45263-8719
 Hylton, Nigel Paul                                              Address on File
 Hyper Auto Transport Corp                                       7600 Hood St                                                      Hollywood           FL           33024
 Hyppolite, Richchy                                              Address on File
 Hyundai Of Bedford                                              18300 Rockside Rd                                                 Bedford             OH           44146
 I And K Transport Inc.                                          94 Lemans Drive                                                   Youngstown          OH           44512
 I Deliver Tl LLC                                                4502 Shadow Moss Circle                                           Fort Mill           SC           29708
 I G Auto Transport Inc                                          2089 Jessa Dr                                                     Kissimmee           FL           34743
 I Trans Auto                                                    411 North Westfield St                                            Feeding Hills       MA           01030
 I&A Hauling LLC- Fl Only                                        392 Pennifield Avenue                                             Lehigh Acres        FL           33974
 I&A Transportation LLC                                          20170 Bay Cedar Ave                                               Tampa               FL           33647
 I&L Towing Services                                             1192 SW 133 Pl Cir                                                Miami               FL           33184
 I&L Transport LLC                                               10220 Selmer Place                                                Philadelphia        PA           19116
 I&S Transport LLC                                               17 Poinciana Ln                                                   Palm Coast          FL           32164
 I/D/E/A Inc.                                                    1 Idea Way                                                        Caldwell            ID           83605
 Ib Transport Services Inc                                       2665 SW 37 Ave                                                    Miami               FL           33133
 Ibm Corp                                 Red Hat Marketplace    1 North Castle Drive                                              Armonk              NY           10504
 Ibrahim, Hosam Gamail                                           Address on File
 Ibrahim, Monzer M                                               Address on File
 Ibrahim, Waleed S                                               Address on File
 Ibs Of Miami And Florida Keys                                   12555 SW 130 Street                                               Miami               FL           33186
 Ic One Transport                                                7085 Carrickbend Lane                                             Orlando             FL           32819
 Icar Auto Carriers Inc                                          8181 NW 36 St Suit 1009                                           Doral               FL           33166
 Icar Trucking Corp                                              13876 SW 56 St                                                    Miami               FL           33175
 Icare Transport Inc                                             16172 SW 151st Street                                             Miami               FL           33196
 Icars Network LLC                                               444 Sara Blackman Dr                                              Imman               SC           29349
 Ice Auto Transport                                              26 Lake Villa Way                                                 Kissimmee           FL           34743
 Ice Cold Auto Air & Muffler                                     5321 E Colonial Drive Ste C                                       Orlando             FL           32807
 Iconact
 Iconic Logistics LLC                                            109 W Hillcrest St                                                Altamonte Springs   FL           32714
 Id Transport Inc.                                               4532 W Kennedy Blvd                                               Tampa               FL           33609
 Ideal Automotive And Truck Accessories                          455 SW 12th Ave                                                   Pompano Beach       FL           33069
 Ideal Dealer Service                                            6560 Powerline Rd                                                 Fort Lauderdale     FL           33309
 Ideal Transportation LLC                                        3082 Brookforest Drive                                            Greensboro          NC           27406
 Identifix                                                       PO Box 856618                                                     Minneapolis         MN           55485-6618
 Idg (Lots)                                                      1900 Firman Drive                                                 Richardson          TX           75081
 Ie Smart Systems LLC                                            23219 W Hardy Rd                                                  Spring              TX           77373
 Iee Trans LLC                                                   3804 Ridgehurst Ct                                                Louisville          KY           40299
 Ifa Express LLC                                                 14474 Mosaic Ave                                                  Parker              CO           80134
 Ifa Haulers Inc                                                 4296 19th Ave Sw                                                  Naples              FL           34116
 Ignite Consulting Partners, LLC                                 301 Commerce Street Ste 1420                                      Fort Worth          TX           76102



Off Lease Only LLC, et al.                                                                                                                                                       Page 70 of 155
                                                         Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 71 of 155
                                                                                                 Creditor Matrix
                                                                                           as of September 6, 2023
                     Creditor Name                     Attention                Address 1                     Address 2    Address 3              City        State       Zip       Country
 Ih Cargo Inc                                                      1202N 75th Street Suite 240                                         Downers Grove     IL           60516
 Iheart Media                                                      PO Box 406372                                                       Atlanta           GA
 Iheart Media                                                      PO Box 406372                                                       Atlanta           GA           30384-6372
 Ihook Transport Services                                          204 NE 33 St                                                        Oakland Park      FL           33334
 Ijp Professional Transport LLC                                    13361 SW 88 Terr #D                                                 Miami             FL           33186
 Ilk LLC                                                           561 E Gee Street                                                    Pilot Point       TX           75258
 Image Automotive LLC                                              1616 Sunset Avenue                                                  Rocky Mount       NC           27804
 Imd Transportation LLC                                            1600 Woodland Drive                                                 Rockledge         FL           32955
 Imexpress Carrier Corp                                            15960 SW 304 Terr                                                   Homestead         FL           33033
 Immaculate Carriers LLC                                           2425 Hickory Dr                                                     Orangeburg        SC           29115
 Impel
 Imperial Auto Carrier LLC                                         2729 Almond Ave                                                     Kissimmee         FL           34746
 Imperial Auto Glass                                               731 Iowa Woods Cir                                                  Orlando           FL           32824
 Imperial Express LLC                                              10 Crestview Drive                                                  Akron             PA           17501
 Imperial Fire & Casualty                                          PO Box 3199                                                         Winston-Salem     NC           27102-3199
 Imperial Transportation Inc                                       9010 W Ballard Rd                                                   Des Plaines       IL           60016
 Impressive Auto Transport LLC                                     1970 E Osceola Pkwy #121                                            Kissimmee         FL           34743
 Imt Logistics Inc                                                 4893 N Witchduck Rd                                                 Virginia Beach    VA           23455
 In And Out Transport LLC                                          7415 NW 88th Avenue                                                 Tamarac           FL           33321
 In Gods Hands Transport LLC                                       34625 SW 214 Ave                                                    Homestead         FL           33034
 In The News                                                       8517 Sunstate Street                                                Tampa             FL           33634
 In Time Inc                                                       4811 Camelot Street                                                 Rockville         MD           20853
 Ind Transport LLC                                                 4218 Mendenwood Lane                                                Orlando           FL           32826
 Indeed, Inc                                                       Mail Code 5160                                                      Dallas            TX           75266-0367
 Independent Auto Haulers Inc                                      11117 W Okeechobee Rd #120                                          Hialeah Gardens   FL           33018
 Infante Lima, Daily                                               Address on File
 Infinite Freight Solutions LLC                                    4120 Perch Point Dr                                                 Mobile            AL           36605
 Infinite Motor Carriers Corp                                      342 East 45 St                                                      Hialeah           FL           33013
 Infiniti Hauling LLC                                              PO Box 131084                                                       Dallas            TX           75313
 Infiniti Of Coconut Creek                                         5501 W Sample Rd                                                    Coconut Creek     FL           33073
 Infiniti Of Coral Gables                  M10 Motors LLC          2701 Le Jeune Rd                                                    Coral Gables      FL           33134
 Infiniti Of Melbourne                                             901 S Apollo Blvd                                                   Melbourne         FL           32901
 Infiniti Of Sarasota                                              4950 Clark Rd                                                       Sarasota          FL           34233
 Infiniti Of The Palm Beaches              Schumacher Auto Group   3101 Okeechobee Blvd                                                West Palm Beach   FL           33409
 Infiniti Of The Palm Beaches                                      3101 Okeechobee Blvd                                                West Palm Beach   FL           33409
 Infinity Auto Carrier LLC                                         236 Burning Tree Dr                                                 Kissimmee         FL           34743
 Infinity Sound Productions                                        4661 SW 71 Ave                                                      Miami             FL           33155
 Infoarmor                                                         Dept 3189                                                           Dallas            TX           75312-3189
 Ingra, Louis                                                      Address on File
 Ingram, Kalupa, & Butler, P.C.                                    203 Kenimer Ave                                                     Trussville        AL           35173
 Inifinity Indeminity Insurance Company                            3700 Colonnade Parkway               Suite 600                      Birmingham        AL           35243
 Ink Publishing                                                    1375 Spring St Nw                                                   Atlanta           GA           30309
 Ink Transport                                                     2224 Gristmill Ct                                                   Grovetown         GA           30813
 Inner City Contracting Service Corp                               2115-B Citrus Ave                                                   Leesburg          FL           34748
 Innovative Transport And Logistics Inc.                           1031 Shirley Drive                                                  Xenia             OH           45385
 Innovative Transport Group Inc                                    4516 Birmingham Way                                                 Raleigh           NC           27604
 Instream                                                          PO Box 282066                                                       Nashville         TN           37228
 Insurance Auto Auction                                            20499 Stirling Rd                                                   Pembroke Pines    FL           33332
 Integral Commerce LLC                                             10391 El Paraiso Place                                              Delray Beach      FL           33446
 Integral Wide Services Corp                                       10229 NW 9th Street Cir                                             Miami             FL           33172
 Integrity Auto Carrier LLC                                        1317 Edgewater Dr Suite 1345                                        Orlando           FL           32804
 Integrity Auto Carriers LLC                                       340 Beacon Pointe Dr                                                Ocoee             FL           34761
 Integrity Express                                                 5579 St Rt 122                                                      Franklin          OH           45005
 Integrity Transport LLC                                           W244 Country Road A                                                 Dorchester        WI           54425
 Inter Coastal Corp                                                217 E Church St                                                     Rosehill          NC           28458
 Interamerican Motor LLC (Florida)         Parts Authority, LLC    535 Tennis Court Lane                                               San Bernadino     CA           92408
 Interamerican Motor Llc (Texas)                                   535 Tennis Court Lane                                               San Bernadino     CA           92408
 Inter-City Auto Transport Inc                                     1163 Del Rio Rd                                                     Powell            WY           82435
 Intercontinental Fleet Corp.                                      9113 Bachman Road Suite A                                           Orlando           FL           32824
 Intermound Transport Logistics LLC                                PO Box 18342                                                        Spokane           WA           99228
 Internal Revenue Service                                          PO Box 33577                                                        Detroit           MI           48232
 Internal Wide Services Corp                                       13620 SW 181 St                                                     Miami             FL           33177



Off Lease Only LLC, et al.                                                                                                                                                         Page 71 of 155
                                                            Case 23-11389-CTG                    Doc 1-1         Filed 09/07/23   Page 72 of 155
                                                                                                       Creditor Matrix
                                                                                                     as of September 6, 2023
                     Creditor Name                         Attention                         Address 1                Address 2    Address 3              City         State       Zip       Country
 International Freight And Auto Shippers                                       3346 S Orange Blossom Trail                                     Kissimmee          FL           34746
 International Heavy Haulers LLC                                               600 Cleveland Street #408                                       Clearwater         FL           33755
 International Transportation                                                  227 Highland Rd                                                 Duncan             SC           29334
 International Trucking Enterprises LLC                                        238 12th Ave Sw/PO Box 1166                                     Cairo              GA           39828
 Internet Directory Association LLC         Pr.Business                        4910 Commuications Ave           Suite 200                      Boca Raton         FL           33431
 Internet Escrow Services Inc                                                  180 Montgomery Street                                           San Francisco      CA           94104
 Interstate Auto Carriers                                                      PO Box 351735                                                   Toledo             OH           43635
 Interstate Auto Wrecking                                                      2887 New Cut Rd                                                 Spartanburg        SC           29303
 Interstate Batteries                                                          4261 SW Martin Hwy                                              Palm City          FL           34990
 Interstate Batteries Of Southern Florida                                      3136 John P Curci Dr                                            Pembroke Park      FL           33009-2021
 Interstate Battery System Of Lakeland                                         PO Box 2673                                                     Eaton Park         FL           33840
 Interstate Billing Service, Inc                                               PO Box 2208                                                     Decatur            AL           35609-2208
 Interstate Car Carriers Inc                                                   6840 Mcclellan St                                               Hollywood          FL           33024
 Interstate Express                                                            PO Box 831691                                                   Miami              FL           33283
 Interstate Express Auto Transport, Inc.                                       4900 SW 107 Ave                                                 Miami              FL           33165
 Interstate Title Solutions Inc                                                360 N Congress Ave                                              Delray Beach       FL           33445
 Interstate Transport Logistics Inc.                                           1138 Wayne Avenue                                               Deerfield          IL           60015
 Intice, Inc.                                                                  2660 Cypress Ridge Blvd                                         Wesley Chapel      FL           33544
 Invincible Carriers LLC                                                       252 Taft Drive                                                  Davenport          FL           33837
 Inviso, LLC                                                                   8185 Holly Road Suite18                                         Grand Blanc        MI           48439
 Invoiced Inc                                                                  21750 Hardy Oak Blvd             Ste104 Mb71106                 Austin             TX           78735
 Iobp                                       Institute Of Business Publications PO Box 1340                                                     Havertown          PA           19083
 Ipfs Corporation                                                              PO Box 730223                                                   Dallas             TX           75373-0223
 Ipg Hauling                                                                   298 Dacula Rd                                                   Dacula             GA           30019
 Ipi Transportation                                                            8 Hale Street                                                   Norwich            NY           13815
 Ipn Logistics                                                                 PO Box 4249                                                     Saint Paul         MN           55104
 Ira Auto Transport                                                            14841 SW 153 Terrace                                            Miami              FL           33187
 Irell & Manella Llp                                                           PO Box 516563                                                   Los Angeles        CA           90051-9860
 Irie-Style Wheels                                                             10097 Cleary Blvd Suite 239                                     Plantation         FL           33324
 Irishman's Auto Body                                                          100 Toney Penna Drive                                           Jupiter            FL           33458
 Irizarry Caraballo, Edwin J                                                   Address on File
 Iron Lion Trucking Corp                                                       2415 NW 16 St                                                   Miami              FL           33125
 Iron Mountain Inc                          Iron Mountain                      PO Box 27128                                                    New York           NY           10087-7128
 Ironline Auto Transport Inc                                                   375 Chelmsford Court                                            Kissimmee          FL           34758
 Is Trucking LLC                                                               240 Goughes Branch Rd                                           Leicester          NC           28748
 Isg                                                                           PO Box 983122                                                   Boston             MA           02298-3122
 Iskander Iskander, Mina                                                       Address on File
 Island Transport LLC                                                          264 Edinfield Ct                                                Gaston             SC           29053
 Islas Transportation LLC                                                      8640 Normal School Road                                         Bowie              MD           20715
 Ismenia Auto Body                                                             9777 S Orange Blossom Trail                                     Orlando            FL           32837
 Italia 365, Inc.                                                              6869 Osage Circle                                               Greenacres         FL           33413
 Itc Infotech (Usa), Inc                                                       12 North State Route 17                                         Paramus            NJ           07652
 Ite Transport Services                                                        238 12th Avenue Sw                                              Cairo              GA
 Itf Auto Transport                                                            9323 SW 3rd St                                                  Boca Raton         FL           33428
 Itrans LLC                                                                    Pobox 361532                                                    Los Angeles        CA           90036
 Itransport LLC                                                                1668 Cool Spring Road                                           Charlottesville    VA           22901
 ItsaclearetransportLLC                                                        5901 West Mcnab Road                                            North Lauderdale   FL           33068
 Itsavvy, LLC                                                                  PO Box 3296                                                     Glen Ellyn         IL           60138-3296
 Ivaroan Auto & Industrial Inc                                                 11257 So Obt                                                    Orlando            FL           32837
 Ivey, Kendra Lashai Bowie                                                     Address on File
 Iwill Transport LLC                                                           2116 Shawnee Dr                                                 Jonesboro          GA           30236
 Izq Transport Services, LLC                                                   1814 Ridgewick Rd                                               Glen Burnie        MD           21061
 Izquierdos Transport LLC                                                      222 Argonne Ave S                                               Lehigh Acres       FL
 Izzy Transpo LLC                                                              1655 Highland Ave Apt 1A                                        Vero Beach         FL           32960
 J & B Used Auto Parts                                                         17105 E Colonial Dr                                             Orlando            FL           32820-2204
 J & J Auto Sales
 J & K Auto Transport LLC                                                    6425 Ulmerton Road                                                Largo              FL           33771
 J & L Auto Electric                                                         13290 NW 43 Ave                                                   Opa-Locka          FL           33054
 J & M Auto Carrier Transport LLC                                            17100 SW 142 Ct                                                   Miami              FL           33177
 J Aaa Transport Inc.                                                        2560 SW 16 Terr                                                   Miami              FL           33145
 J And P Transports Express LLC             Perez,Ingrid                     2858 Woodruff Dr                                                  Orlando            FL           32837
 J And R Hauling Corp                                                        8406 W Sample Rd #225                                             Coral Springs      FL           33065



Off Lease Only LLC, et al.                                                                                                                                                                  Page 72 of 155
                                                            Case 23-11389-CTG             Doc 1-1         Filed 09/07/23   Page 73 of 155
                                                                                                Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name                         Attention                 Address 1                  Address 2    Address 3              City        State       Zip    Country
 J C Vega Trucking Inc                                                12125 SW 182 Ter                                                  Miami             FL           33177
 J Davis Serivces                                                     3146 Hampton Drive                                                Augusta           GA           30906
 J Flores Transportation LLC                                          1765 Rivers Edge Drive                                            Orlando           FL           32825
 J Kane Auto Transport LLC                                            2718 Brocket Court                                                Jamison           PA           18929
 J Long Trucking                                                      7093 Green Valley Ln                                              Riverdale         GA           30274
 J Philips Trans Svc                                                  11203 49th St N                                                   Clearwater        FL           33762
 J Prosser Enterprises Inc                                            7522 NW 72nd Ave                                                  Miami             FL           33166
 J W Trucking Inc                                                     951 Main Street                                                   Pittsfiled        ME           04967
 J&A Auto Transport Inc                                               1720 SW 25 Ave                                                    Miami             FL           33145
 J&A Transport Services LLC                                           6210 SW 147th Ct                                                  Miami             FL           33193
 J&C Auto Transport Corp                                              6465 Overseas Hwy Unit                                            Marathon          FL           33050
 J&C Auto Transport LLC                                               6619 South Dixie Hwy Unit 351                                     Miami             FL           33143
 J&D Auto Transport                                                   102 Se Moonlight Dr                                               Lake City         FL           32024
 J&D Auto Transportation LLC                                          1106 SW 44th Way                                                  Deerflied Beach   FL           33442
 J&F Transportation Inc                                               13850 NW 24th Ave                                                 Opa Locka         FL           33054
 J&G Express Services LLC                                             4403 6th Street W                                                 Lehigh Acres      FL           33971
 J&G State Transport LLC                                              2423 NW 18th Terr                                                 Miami             FL           33125
 J&H Waterstop Utilites Inc                                           PO Box 740925                                                     Orange City       FL           32774
 J&J Auto Express LLC                                                 3515 Wayland Drive                                                Jackson           MI           49202
 J&J Auto Transport Inc                                               6511 Vert Dr                                                      Elkridge          MD           21075
 J&J Baseball Trucking Inc.                                           810 SW 9th Ct                                                     Hialeah           FL           33010
 J&J Best Auto Transport Inc                                          215 West 61 St                                                    Hialeah           FL           33012
 J&J Brown Carriers LLC                                               955 S Springfield Ave #506                                        Springfield       NJ           07081
 J&J Express Inc                                                      9195 Hitching Post Ln #C                                          Laurel            MD           20723
 J&J Hotshots LLC                                                     29 Canvasback Cv                                                  Jackson           TN           38305
 J&J Muellers Trkg                                                    4702 30th Street W                                                Bradenton         FL           34207
 J&J Towing                                                           5613 NW 8th St                                                    Margate           FL           33063
 J&J Trucks LLC                                                       107 Branchview                                                    Columbia          SC           29229
 J&K Painting Services, Corp                                          515 Independance Rd                                               West Palm Beach   FL           33405
 J&K Powell Auto Transport LLC                                        2686 Mauser Drive                                                 Newton            NC           28658
 J&K Transport Inc                                                    9931 Briggs Hwy                                                   Addison           MI           49220
 J&L Auto Trans Inc                                                   2094 Jessa Drive                                                  Kissimmee         FL           34743
 J&L Enclosed Auto Transport Services LLC                             PO Box 15334                                                      Tampa             FL           33684
 J&M Auto Transport Group Inc                                         1818 Jefferson St                                                 Hollywood         FL           33020
 J&M Automotive                                                       580 Columbia Rd                                                   Chester           SC           29706
 J&M Car Transport Corp- Fl Only              Janier Franco Clavel    3350 NW 178th St                                                  Miami Gardens     FL           33056
 J&M Contractors Of South Florida Inc                                 3551 23rd Ave S #8                                                Lake Worth        FL           33461
 J&M Express Auto Carriers Inc                                        103 NE 156 Street                                                 Miami             FL           33162
 J&M Transport Of Central Fl LLC                                      10524 Moss Park Rd Suite 204                                      Orlando           FL           32832
 J&M Transport Unlimited LLC                                          PO Box 291196                                                     Port Orange       FL           32129
 J&S Auto Hauler Inc                                                  18760 Lenaire Drive                                               Cutler Bay        FL           33157
 J&S Auto Hauler Inc                                                  8875 NW 178th Lane                                                Hialeah           FL           33018
 J&S Transport                                                        100 Helena Lane                                                   Archer Lodge      NC           27527
 J&W LLC Transportation Services                                      721 Heartwood Drive                                               Monroeville       PA           15146
 J. Patrick Fitzgerald & Assoc., P.A.                                 110 Merrick Way                                                   Coral Gables      FL           33134
 J. Tanner Plumbing Inc                                               1160 Spinner Lane                                                 Sanford           FL           32773
 J.A.M Transportation Towing                                          8065 90th Ave                                                     Vero Beach        FL           32967
 J.C. White Architectural Interior Products                           3501 Commerce Parkway                                             Miramar           FL           33025
 J.E.R. Auto Transport LLC                                            16023 Dorchester Blvd                                             Clermont          FL           34714
 J.O Transportation Inc                                               PO Box 941556                                                     Miami             FL           33194
 J.O. Transportation, Inc                                             15110 SW 62 St                                                    Miami             FL           33193
 J+J Muellers Trucking                                                4702 30th St W                                                    Bradenton         FL           34207
 Ja Auto Transport                                                    20865 NW 4 Street                                                 Pembroke Pines    FL           33029
 Ja Logistics Enterpise LLC                                           13965 Sheffiel Ct                                                 Wellington        FL           33414
 Jab Transportation LLC                                               24 S Rock Hill Road                                               Webster Groves    MO           63119
 Jab Transportation Services Inc                                      1311 SW 9th Ave                                                   Cape Coral        FL           33991
 Jac Transport & Delivery LLC                                         1730 SW 83rd Avenue                                               Miramar           FL           33025
 Jac Transport LLC                                                    10305 SW 40th St                                                  Miami             FL           33165
 Jack Saban Auto Tran                                                 5600 Post Road                                                    East Greenwich    RI           02818
 Jack Soban Auto Transport                                            40 Bay State Ave                                                  Warwick           RI           02888
 Jackman, Joshua Elijah                                               Address on File
 Jack's Towing Service, Inc                                           19313 NW 45th Ave                                                 Miami             FL           33055



Off Lease Only LLC, et al.                                                                                                                                                       Page 73 of 155
                                                             Case 23-11389-CTG                Doc 1-1          Filed 09/07/23   Page 74 of 155
                                                                                                       Creditor Matrix
                                                                                                  as of September 6, 2023
                   Creditor Name                            Attention                   Address 1                  Address 2     Address 3              City          State       Zip       Country
 Jackson Auto Transport                                                   29631 Rosebriar                                                    St Clair Shores     MI           48082
 Jackson Lease                                                            120 West Crown Point Rd                                            Winter Garden       FL           34787
 Jackson Lewis P.C.                                                       PO Box 416019                                                      Boston              MA           02241-6019
 Jackson Trucking Co Inc                                                  114 Bombay Dr                                                      Columbia            SC           29209
 Jackson Xpress Transport Inc                                             3509 Sr 574                                                        Plant City          FL           33563
 Jackson, Christin C                                                      Address on File
 Jackson, Keasia Lamecca                                                  Address on File
 Jacob Auto Transport Lld                                                 2113 Rennisance Blvd                                               Miramar             FL           33025
 Jacobs Transport                                                         2023 Wickerleaf Way                                                Garner              NC           27529
 Jacque, Obson                                                            Address on File
 Jad Auto Transport Inc                                                   3421 SW 117 Court                                                  Miami               FL           33175
 Jad Auto Transport Inc                                                   1212 Se 19 Ln                                                      Cape Coral          FL           33990
 Jad Power Transport Inc.                                                 8055 West 36 Avenue                                                Hialeah             FL           33018
 Jag Florida Ventures, LLC                                                15757 Pines Blvd Suite 389                                         Pembroke Pines      FL           33027
 Jaguar Fort Lauderdale                                                   6606 N Andrews Ave                                                 Ft.Lauderdale       FL           33309
 Jaguar Land Rover South Orlando               Tt Of Orlando Inc          9600 S Orange Blossom Trail                                        Orlando             FL           32837
 Jaguar Of Tampa                                                          320 E Fletcher Ave                                                 Tampa               FL           33612
 Jaguar Orlando                                                           4249 Millenia Blvd                                                 Orlando             FL           32839
 Jaguar Palm Beach                                                        915 S Dixie Hwy                                                    West Palm Beach     FL           33401
 Jaguar Sarasota Landrover Sarasota            Jacasa Inc                 4821 Clark Rd                                                      Sarasota            FL           34233
 Jah Works Auto Transport LLC                                             8328 Silver Star Rd                                                Orlando             FL
 Jai's Used Auto Sales, Inc.                                              825 NW 8th Avenue                                                  Ft. Lauderdale      FL           33311
 Jaka Transport LLC                                                       7206 Juniper Valley Road                                           Middle Village      NY           11379
 Jal Auto Transport LLC                                                   16394 NW 19th Street                                               Pembroke Pines      FL           33028
 Jam Environmental & Vacuum Services LLC                                  250 SW 21st Terrace                                                Ft Lauderdale       FL           33312
 James Express LLC                                                        1612 NW 4th Street                                                 Ocala               FL           34475
 James Hill Inc                                                           2405 Diane Ave                                                     Palm Bay            FL           32909
 James Lepke Auto Transport LLC                                           2432 W Polk Street                                                 Chicago             IL           60612
 James Publishing Inc                                                     3303 Harbor Blvd Ste F8                                            Costa Mesa          CA           92626
 James, Shenielle Javelia                                                 Address on File
 James, Tiesha Arlene                                                     Address on File
 James, Sallie                                                            Address on File
 Jams, Inc                                                                PO Box 845402                                                      Los Angeles         CA           90084
 Jana Transportation Inc                                                  10016 Sandmeyer Lane                                               Philadelphia        PA           19116
 Jana Trucking Line Inc                                                   5444 Kenilworth                                                    Dearborn            MI           48126
 Jancouskas, Mark Edward                                                  Address on File
 Janiak, Emily Dawn                                                       Address on File
 Janiking Cleaners
 Janoz Transport                                                          1611 SW 13 St                                                      Cape Coral          FL           33991
 Jan-Pro Of Southeast Florida                                             1820 NE 163rd St Suite 203                                         North Miami Beach   FL           33162
 Janser Usa Inc                                                           12439 61st Street N                                                West Palm Beach     FL           33412
 Jansure Auto Transport Inc                                               859 Rte 130N                                                       East Windsor        NJ           08520
 Januszka, Dorothea Kathleen                                              Address on File
 Jarbo, Jacob Cole                                                        Address on File
 Jardine, Jovan                                                           Address on File
 Jared Rowe                                                               Address on File
 Jas Car Carrier Inc                                                      108 North Ave                                                      Lehigh Acres        FL           33936
 Jasiewicz, Frank S                                                       Address on File
 Jason's Arborcare Services Inc                                           13063 Raymond Drive                                                Loxahatchee         FL           33470
 Javier Koo Auto Repair                                                   3551 23rd Ave S                                                    Lakeworth           FL           33461
 Javon D Cheek                                                            Address on File
 Jaws Total Services LLC                       Tuffy Tire And Auto        13466 Landstar Blvd                                                Orlando             FL           32824
 Jax Transport Solutions Inc                                              8859 Philips Hwy                                                   Jacksonville        FL           32256
 Jay Delivery LLC                                                         1016 W Jackson Blvd                                                Chicago             IL           60607
 Jayalex Transportation Inc                                               4643 Marcos Circle                                                 Kissimmee           FL           34758
 Jay's Transport                                                          2397 Chestnut Bend                                                 Howell              MI           48855
 Jay's Transport (Prev-Jay's Excavating LLC)                              PO Box 2119                                                        Howell              MI           48844
 Jay's Transport Corp                                                     8564 NW 165 Terr                                                   Hialeah             FL           33016
 Jb Spike Dog Transportation                                              51 NW 1st Ave                                                      Boca Raton          FL           33432
 Jbap                                          Jerry Brown'S Auto Parts   26 Lower Warren Street                                             Queensbury          NY           12804
 Jbm Logistics Inc                                                        1033 Chapel Station Drive                                          Lawrenceville       GA           30045
 Jc Auto Hauling LLC                                                      707 Linton Avenue                                                  Orlando             FL           32809



Off Lease Only LLC, et al.                                                                                                                                                                 Page 74 of 155
                                                        Case 23-11389-CTG                  Doc 1-1          Filed 09/07/23   Page 75 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                    Creditor Name                     Attention                       Address 1                  Address 2    Address 3              City         State       Zip       Country
 Jc Car Towing LLC                                                     4516 Sandpiper Ave                                                 Mcallen            TX           78504
 Jc Haulings LLC                                                       87 Meadow St                                                       Newington          CT           06111
 Jc Transportation                                                     8832 Softwind Dr                                                   Charlotte          NC           28273
 Jc Transportcars LLC                                                  13850 Ballantyne Corporate Place                                   Charlotte          NC           28277
 Jc Transways LLC                                                      11539 NW 60th Terr Apt 303                                         Doral              FL           33178
 Jc Travieso Enterprises Inc                                           4140 SW 113th Avenue                                               Miami              FL           33165
 Jc Vega Trucking, Inc                                                 25091 SW 122 Ct                                                    Homestead          FL           33032
 Jca Auto Transport Inc                                                1036 Rabun Ln                                                      Titusville         FL           32780
 Jca Transport Service Inc.                                            9812 Memorial Hwy                                                  Tampa              FL           33615
 Jcb Trucking                                                          66 Smith St                                                        Deer Park          NY           11729
 Jcc Transportation Services Corp                                      648 Molloy Street                                                  Copiague           NY           11726
 Jcdecaux Airport, Inc.                                                General Post Office                                                New York           NY           10087-5436
 Jck Car Transport Inc - Fl Only                                       1014 Jib Drive                                                     Orlando            FL           33809
 Jcl Auto Carriers Inc                                                 PO Box 950275                                                      Lake Mary          FL           32795
 Jcl Auto Inc                                                          3001 E Fern St                                                     Tampa              FL           33610
 Jcm Car Transport Inc                                                 1014 Jib Drive                                                     Orlando            FL           32825
 Jd Car Transport Corp                                                 1720 SW 98 Ct                                                      Miami              FL           33165
 Jd Express Transport Corp                                             99 Mckinley Street                                                 Brentwood          NY           11717
 Jd Solutions Services Inc                                             200 Ave K Sw                                                       Winter Haven       FL           33880
 Jdee Systems LLC                                                      1405 7th Street                                                    West Palm Beach    FL           33401
 Jdm Transport LLC                                                     910 Alabama Woods Lane                                             Orlando            FL           32824
 Jdr Transportation                                                    200 Fitts Rd                                                       Greer              SC           29651
 Jdrf                                      Palm Beach County Chapter   1641 Worthington Rd Ste 340                                        West Palm Beach    FL           33409
 Jean Baptiste, Clifford Pierre                                        Address on File
 Jean Baptiste, Jean Robert                                            Address on File
 Jean Baptiste, Jocelito                                               Address on File
 Jean Marie, Karen                                                     Address on File
 Jean, Junior                                                          Address on File
 Jean, Jasline                                                         Address on File
 Jean-Baptiste, Kethia                                                 Address on File
 Jean-Louis, Reginald Adrian                                           Address on File
 Jean-Louis, Travis                                                    Address on File
 Jeanty, Mario Emmanuel                                                Address on File
 Jeanty, Stefan V                                                      Address on File
 Jee Logistics LLC                                                     1530 S Monroe Street                                               Tallahassee        FL           32301
 Jeff Mahon Equipment Service Inc          Jeffrey A Mahon             5077 Fruitville Road                Suite 109-190                  Sarasota           FL           34232
 Jeffcoat Inc
 Jei Transport LLC                                                     1241 Mohrlake Dr                                                   Brandon            FL           33511
 Jen Jayden Entertainment LLC
 Jenkins Nissan                                                        4401 Sr 33 N                                                       Lakeland           FL           33805
 Jenkins Volkswagen                                                    9105 Us Highway 441                                                Leesburg           FL           34788-4024
 Jenkins, Sytoria Denise                                               Address on File
 Jenkins, Tishon Deondre Ronel                                         Address on File
 Jennings, Jayson                                                      Address on File
 Jenric Management                                                     2180 Whisperwood Glen Ln                                           Reston             VA           20191
 Jep's Lawn Care Corp                                                  7005 Zafra Drive Suite 100                                         Orlando            FL           32807
 Jerard C. Heller Attorney Trust Account                               633 Se 3rd Ave #4F                                                 Fort Lauderdale    FL           33301
 Jeremy Transport LLC                                                  9370 SW 8th St Apt 209                                             Boca Raton         FL           33428
 Jerido, Alfred                                                        Address on File
 Jerry Defalco Advertising, Inc                                        1060 Maitland Center Commons Blvd                                  Maitland                        32751
 Jerrys Auto Haul                                                      231 Farmwood Dr                                                    Statesville        NC           28625
 Jessica Dewing                                                        3553 SW 3rd Ave                                                    Miami              FL           33145
 Jet Blast Auto Transport LLC                                          2565 SW Abate St                                                   Port Saint Lucie   FL           34953
 Jet Fast Auto Express Inc                                             3435 W 13 Ave                                                      Hialeah            FL           33012
 Jet Towing Inc                                                        2110 SW 58th Ave                                                   West Park          FL           33023
 Jet Transport LLC                                                     3300 Union Knoll Drive                                             Winston Salem      NC           27107
 Jetpack Consulting                                                    350 Townsend St #303                                               San Francisco      CA           94107
 Jetstream Trucking Inc                                                189 Lossie Lane                                                    Mcdonough          GA           30253
 Jeveron, Palyce                                                       Address on File
 Jewesak, Andrew Caleb                                                 Address on File
 Jf Car Hauling LLC                                                    3550 Stephan Ct                                                    Norfolk            VA           23513
 Jf Towing Corp- Fl Only                                               9200 SW 43rd Ter                                                   Miami              FL           33165



Off Lease Only LLC, et al.                                                                                                                                                             Page 75 of 155
                                                    Case 23-11389-CTG            Doc 1-1          Filed 09/07/23   Page 76 of 155
                                                                                       Creditor Matrix
                                                                                      as of September 6, 2023
                    Creditor Name               Attention                 Address 1                    Address 2    Address 3            City             State       Zip    Country
 Jf Transportation LLC                                       146 Munson Road                                                    Beacon Falls         CT           06403
 Jg Auto Carrier Inc                                         4933 Royal Ct N                                                    West Palm Beach      FL           33415
 Jgi Outdoor
 Jgp Trucking Corp                                           5143 Picadilly Circus Ct                                           Orlando              FL           32839
 Jhernandez Transport LLC                                    8851 NW 119 Street                                                 Hialeah Gardens      FL           33018
 Jhh Transport LLC                                           1219 Cypress Ln                                                    Cocoa                FL           32922
 Jig Auto Repair                                             4200 S Semoran Blvd                                                Orlando              FL           32822
 Jila Transportation Inc                                     84 Jones Rd                                                        Revere               MA           02151
 Jim Ellis Maserati                                          5855 Peachtree Industrial Blvd                                     Atlanta              GA           30341
 Jim R. Smith & Company              Jim R. Smith            1400 Post Oak Boulevard             Ste 900                        Houston              TX           77056
 Jim R. Smith Company -Utilities                             1400 Post Oak Blvd Ste 900                                         Houston              TX           77056
 Jimenez, Corey E                                            Address on File
 Jimenez, Daniel                                             Address on File
 Jimenez, Javier Magdiel                                     Address on File
 Jimenez, Jose Angel                                         Address on File
 Jimenez, Julian Reinaldo                                    Address on File
 Jimmy P Trucking LLC                                        8451 NW 5 Ave                                                      Miami                FL           33150
 Jin Auto Transport Corp                                     6000 NW 39th Street                                                Miami                FL           33166
 Jireh Auto Transport LLC                                    3207 Star St                                                       Tampa                FL           33605
 Jiri Autos LLC                                              2951 Siena Heights Drive #4313                                     Henderson            NV           89052
 Jj Auto Transportation Inc                                  15204 Broadway St                                                  Gardena              CA           90248
 Jj Towing Service                                           5303 Patch Rd                                                      Orlando              FL           32822
 Jj Transport America LLC                                    28501 SW 152 Ave #14                                               Homestead            FL           33033
 Jj&R Transportation LLC                                     19190 Nc Highway 87 W                                              Tar Heel             NC           28392
 Jjk Auto Transport LLC                                      Post Office Box 1067                                               Newtown              PA           18940
 Jjm Transport LLC                                           8362 Pines Bvd #114                                                Pembroke Pines       FL           33024
 Jj's Toy Hauler                                             125 Circle Drive                                                   Hampton              GA           30228
 Jk Auto Transport Inc                                       1801 Eureka Rd                                                     Roseville            CA           95661
 Jkm Auto Transport                                          8775 Park Blvd                                                     Miami                FL           33172
 Jks Transports LLC                                          11501 Harts Rd Apt 1604                                            Jacksonville         FL           32218
 Jl Trucking Usa Inc.                                        225 NW 34 Avenue                                                   Miami                FL           33125
 Jlevin Communications, LLC                                  221 Sedona Way                                                     Palm Beach Gardens   FL           33418
 Jll Valuation & Advisory Services                           PO Box 71893                                                       Chicago              IL           60694
 Jls Express Inc                                             186 Helena Street                                                  Leominster           MA           01453
 Jls Transport Services                                      8122 S Country Club Pkwy                                           Aurora               CO           80016
 Jm Auto Transport Inc.                                      14981 SW 17th Lane                                                 Miami                FL           33185
 Jm Car Hauler Corp                                          13936 S Cypress Cove Cir                                           Davie                FL           33325
 Jm Lexus                                                    5350 West Sample Road                                              Margate              FL           33073
 Jm Prime Transport LLC                                      7378 W Atlantic Blvd #277                                          Margate              FL           33063
 Jm Transport Corp                                           327 W 3rd Ave                                                      Spokane              WA           99201
 Jma Auto Transport Inc.                                     304 E Quincy Street                                                Riverside            IL           60546
 Jmc Auto Express                                            4508 W Knollwood Street                                            Tampa                FL           33614
 Jmc Auto Transport LLC                                      4626 SW Eagle Street                                               Port Saint Lucie     FL           34953
 Jmc Car Carrier Inc                                         13215 SW 87th Terr                                                 Miami                FL           33183
 Jmc Logistics LLC                                           346 Shelby Lane                                                    Timbo                AZ
 Jmc Transport                                               13634 SW 73rd Terr                                                 Miami                FL           33183
 Jmc Unique Transport Inc                                    PO Box 2722                                                        Sanford              FL           32772
 Jmdo Transport LLC                                          902 Heartwood Circle                                               Lawrenceville        GA           30043
 Jmg Transport Services LLC                                  1420 Celebration Blvd                                              Celebration          FL           34747
 Jmm Transport Inc.                                          PO Box 172784                                                      Hialeah              FL           33017
 Jmr Auto Transport                                          10615 Us 50                                                        Hillsboro            OH           45133
 Jms Endeavors, Inc                                          5745 SW 75th Street #278                                           Gainsville           FL           32608
 Jms Transporter LLC                                         9841 50th Street Circle E                                          Parrish              FL           34219
 Jmt Auto Transport Inc.                                     57 Captain Eames Circle                                            Ashland              MA           01721
 Jmt Transport                                               222 Larry Crowley Way                                              Huntsville           TN           37756
 Jmw Trucking                                                10 Petria                                                          Irvine               CA           92606
 Jn Transport                                                5928 Grassy Point Road                                             Winter Garden        FL           34787
 Jny Family Transport Inc.                                   3551 SW 122 Ct                                                     Miami                FL           33175
 Jo Transport                                                14310 SW 8th Street                                                Miami                FL           33194
 Jo Transportation Inc                                       PO Box 941556                                                      Miami                FL           33194
 Job News                                                    PO Box 587                                                         Greensburg           IN           47240
 Jobbers Equipment Warehouse, Inc                            5440 NW 78 Avenue                                                  Miami                FL           33166



Off Lease Only LLC, et al.                                                                                                                                                  Page 76 of 155
                                                   Case 23-11389-CTG                Doc 1-1         Filed 09/07/23   Page 77 of 155
                                                                                           Creditor Matrix
                                                                                        as of September 6, 2023
                   Creditor Name                  Attention                  Address 1                   Address 2    Address 3             City          State       Zip       Country
 Joc Trucking                                                   24353 SW 109th Avenue                                             Homestead          FL           33032
 Joe Self Chevrolet                                             8801 E Kellogg                                                    Wichita            KS           67207
 Joel Trucking Company                                          401 Eden Rd #S3                                                   Lancaster          PA           17601-4255
 Joe's Paint & Body Inc                                         601 L F Roper Pkwy Ste 2                                          Ocoee              FL           34761-3021
 Joe's Wrap
 Joey Accardi                                                   909 Federal Hwy                                                   Pompano Beach      FL           33062
 John A Guerrero                                                102 Cara Ln                                                       Statesville        NC           28677
 John Eagle Acura                    Houston -A                 16015 Katy Fwy                                                    Houston            TX           77094
 John Gannon, Inc                                               525 Park Grove Drive                                              Katy               TX           77450
 John Garza                                                     Address on File
 John Gaughan Auto Transport LLC                                509 Henry Drive                                                   Millville          NJ           08332
 John Glass Express LLC                                         5138 Randolph Road                                                Edmonton           KY           42129
 John Hancock Usa                    #114905                    PO Box 7247-7122                                                  Philadelphia       PA           19170-7122
 John Homes LLC - Fl Only                                       2824 NW 29th Street                                               Oakland Park       FL           33311
 John L Express                                                 152 Pheasant Valley Rd                                            Lewistown          PA           17044
 John Myers Tools Inc                                           1113 Sanctuary Cove Dr                                            North Palm Beach   FL           33410
 John Paul Transport Services Corp                              705 SW 68 Ave                                                     Miami              FL           33144
 Johns Dependable Transporting LLC                              838 50th Avenue South                                             Saint Petersburg   FL           33705
 John's Discount Auto Glass          Dba Low Price Auto Glass   3248 W Colonial Dr                                                Orlando            FL           32808-8023
 Johns, Victoria Lee                                            Address on File
 Johnson Honda Of Stuart                                        4200 Se Federal Hwy                                               Stuart             FL           34997
 Johnson Transport                                              N1613 Blueberry Road                                              Conrath            WI           54731
 Johnson Transport Services LLC                                 3735 41st Ave N                                                   Saint Petersburg   FL           33714
 Johnson Trucking                                               PO Box 555                                                        Drew               MS           38737
 Johnson, Althea Racquel                                        Address on File
 Johnson, Amber K                                               Address on File
 Johnson, Arlisa Ann                                            Address on File
 Johnson, Azarr Michael                                         Address on File
 Johnson, Christopher                                           Address on File
 Johnson, Dondre Malik                                          Address on File
 Johnson, Lakeldrin Quantae                                     Address on File
 Johnson, Onray Thomas                                          Address on File
 Johnson, Philomene                                             Address on File
 Johnson, Roy Thomas                                            Address on File
 Johnson, Sherman Lee                                           Address on File
 Johnsons Auto Transport                                        31 Mount Olive Road                                               Tylertown          MS           39667
 Johnson's Wrecker Service                                      580 Wilmer Avenue                                                 Orlando            FL           32808
 Johnson's Wrecker Service Inc                                  7777 Narcoossee Road                                              Orlando            FL           32822
 Johnston Rv Transport LLC                                      800 Griffin Rd                                                    Dover              NC           28526
 Johnston Rv Transport LLC                                      PO Box 306396                                                     Nashville          TN           37230
 Jojo Transport                                                 3617 Hutchinson Trace Drive                                       Cumming            GA           30040
 Jon & Eli Transport                                            5334 W 23 Ave                                                     Hialeah            FL           33016
 Jonah's Florida Services LLC                                   7013 Twelve Oaks Blvd                                             Tampa              FL           33634
 Jones Awning & Canvas, Inc                                     2801 NW 22nd Terrace                                              Pompani Beach      FL           33069
 Jones Motor/Hot Shot                                           654 Enterprise Dr                                                 Limerick           PA           19468
 Jones Sign Co, Inc                                             1711 Scheuring Rd                                                 De Pere            WI           54115
 Jones, Darius Gerrod                                           Address on File
 Jones, Javon Antonio                                           Address on File
 Jones, Mcquan Antonio                                          Address on File
 Jones, Yannique Danielle                                       Address on File
 Jonesy Transport Services LLC                                  517 Seven Trails Drive                                            Aberdeen           MD           21001
 Jorcilien, Berry                                               Address on File
 Jordan Auto Transport                                          5121 Palm Way                                                     Lake Worth         FL           33463
 Jorge C Fernandez                                              1912 W Burke Street                                               Tampa              FL           33604
 Josam Products, Inc.                                           8849 Exchange Dr                                                  Orlando            FL           32809-7970
 Joseph, Caleb                                                  Address on File
 Joseph, Dorvins                                                Address on File
 Joseph, Edner                                                  Address on File
 Joseph, Merline                                                Address on File
 Joseph, Mulande                                                Address on File
 Joseph, Rose Mitha                                             Address on File
 Joseph, Shelda                                                 Address on File



Off Lease Only LLC, et al.                                                                                                                                                     Page 77 of 155
                                                    Case 23-11389-CTG                      Doc 1-1        Filed 09/07/23   Page 78 of 155
                                                                                                Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name                 Attention                          Address 1                 Address 2    Address 3            City           State       Zip       Country
 Joseph, Shline                                                        Address on File
 Jowies Transport LLC                                                  PO Box 5661                                                      Deltona            FL           32728
 Joymax LLC                                                            14750 4th Street Unit 421                                        Laurel             MD           20707
 Jp And H Transport LLC                                                124 SW Peacock Blvd Apt 203                                      Port St Lucie      FL           34986
 Jp Auto Transport Usa Inc                                             2147 Flintlock Blvd                                              Kissimmee          FL           34743
 Jp Morgan Chase Ally Risk Services    P&C Insurance                   PO Box 975670                                                    Dallas             TX           75397-5670
 Jp Orlando LLC                                                        4403 Vineland Road                                               Orlando            FL           32811
 Jp Services Of Sarasota               Dba On Time Dumpster And Potty S1840 61st St                                                     Sarasota           FL           34243
 Jp Wholesale Of Central Florida                                       6413 Winder Oaks Blvd                                            Orlando            FL           32819
 Jp&K Auto Transport                                                   9805 Somerset Wind Dr                                            Riverview          FL           33578
 Jpamp Auto Transport LLC                                              520 NW 144th Avenue                                              Miami              FL           33172
 Jpc Auto Transport LLC                Juan Pablo Cruz                 10113 Paradise Fish Drive                                        Riverview          FL           33578
 Jpc Autotransport LLC                                                 13145 Kings Crossing Drive                                       Gibsonton          FL           33534
 Jpg Express LLC                                                       383 Elm Street                                                   Windors Locks      CT           06096
 Jpz Transport Corp                                                    14200 SW 160th Avenue                                            Miami              FL           33196
 Jr 1 Transport LLC                                                    11001 East Grand River Ave                                       Portland           MI           48875
 Jr Auto Repair LLC                                                    8243 Narcoossee Park Dr                                          Orlando            FL           32822
 Jr Auto Transport                                                     3961 Old Canoe Creek Rd                                          Saint Cloud        FL           34769
 Jr Auto Transport                                                     1212 N Palm Ave                                                  Kissimmee          FL           34741
 Jr Rhodes Trucking Inc                                                165 H Williams Lane                                              Riceboro           GA           31323
 Jr Trans, Inc                                                         324 S 2nd Street Pike Unit-18                                    Southhampton       PA           18966
 Jr Transportation Inc                                                 1001 Madison Avenue                                              Yakima             WA           98902
 Jr Wiring Solutions LLC                                               751 NW 57th Street Unit#2                                        Fort Lauderdale    FL           33309
 Jrs Motor Transit Inc                                                 14 Dillon Dr                                                     New Castle         DE           19720
 Jrw Express Auto Transport                                            420 SW 30th Terr                                                 Fort Lauderdale    FL           33312
 Js Auto Transport LLC                                                 3802 16th St W                                                   Lehigh Acres       FL           33971
 Js Express                                                            657 Main Street                                                  Clinton            MA           01510
 Js Trucking                                                           14442 Sherrod Craft Rd                                           Dade City          FL           33525
 Js2 Pm LLC                                                            1314 Avenue A                                                    Katy                            77493
 Jsk Transportation LLC                                                9789 Charlotte Hwy                Suite 400 #172                 Fort Mill          SC           29707
 Jst LLC                                                               2207 21st Ave W                                                  Bradenton          FL           34205
 Jt Motorsports                                                        950 NW 7th Ct                                                    Delray Beach       FL           33445
 Jt Transport Services LLC                                             616 Arbor Ridge                                                  Loganville         GA           30052
 Jtm Transport LLC                                                     14000 Sanctuary Creek Way                                        Orlando            FL           32832
 Jt's Towing LLC                                                       10429 Moorse Rd                                                  Grand Bay          AL           36541
 Jtx                                                                   1755 Country Road P3                                             Nappoleon          OH           43545
 Juan Toro Enterprises Inc                                             4720 Teresa Rd                                                   Orlando            FL           32808
 Jules, Ghyher R                                                       Address on File
 Julio Cesar Borges Transport Inc                                      5021 Keaton Crest Dr                                             Orlando            FL           32837
 Julius Express Transportation LLC                                     2811 15th Street W                                               Lehigh Acres       FL           33971
 Jumbo Luxury Cars.Com                                                 1001 S State Rd 7                                                Hollywood          FL           33021
 Jung, Junho                                                           Address on File
 Junior Achievement Of South Florida                                   1130 Coconut Creek Blvd                                          Coconut Creek      FL           33066
 Junior Transportation Corp                                            8420 W Flagler St Ste 119                                        Miami              FL           33144
 Jupiter Farms Plumbing & Irrigation                                   17392 Mellen Lane                                                Jupiter            FL           33478
 Jupowell Transport LLC                                                1132 Mathis Rd                                                   Crystal Springs    MS           39059
 Juste, Kevin                                                          Address on File
 Justice, Brandon                                                      Address on File
 Justin Merton                                                         Address on File
 Just-Van Transport Inc                                                320 SW 78th Avenue                                               North Lauderdale   FL           33068
 Jv Brothers Trucking                                                  11435 W Buckeye Rd                                               Avondale           AZ           85323
 Jv Quality Transport Inc.                                             505 NW 72nd Avenue                                               Miami              FL           33178
 Jvg Carrier Inc.                                                      8211 SW 35th Terr                                                Miami              FL           33155
 Jvl Transport LLC                                                     1339 Heather Lake Dr                                             Orlando            FL           32824
 Jvr Star Transport LLC- Fl Only                                       7882 Grand Canal Dr                                              Miami              FL           33144
 Jz Flooring And More Inc                                              3070 Congress Park Dr Apt 736                                    Lake Worth         FL           33461
 K & G Transport Services LLC                                          PO Box 651557                                                    Miami              FL           33265
 K & K Glass, Inc.                                                     5938 7th St                                                      Zephyrhills        FL           33542
 K A Express Inc.                                                      1530 Angler Avenue                                               Kissimmee          FL           34746
 K Auto Trans LLC                                                      981 Old Lincoln Hwy                                              Morrisville        PA           19067
 K M Recovery Auto Transport                                           9843 Mountain Lake Dr                                            Orlando            FL           32832
 K Naomi Transport LLC                                                 25949 Branchaster                                                Farmington Hills   MI           48336



Off Lease Only LLC, et al.                                                                                                                                                           Page 78 of 155
                                          Case 23-11389-CTG              Doc 1-1         Filed 09/07/23   Page 79 of 155
                                                                               Creditor Matrix
                                                                             as of September 6, 2023
                    Creditor Name        Attention                 Address 1                  Address 2    Address 3              City           State       Zip    Country
 K Transport                                         2701 Del Paso Rd 130-175                                          Sacramento           CA           95835
 K Unstoppable Trucking                              36 Cool Creek Manor Dr                                            Wrightsville         PA           17368
 K&A Auto Logistics Inc                              16515 NW 90 Ave                                                   Hialeah              FL           33018
 K&D Hauling And Transportation                      3555 Sycamore Bend                                                Decatur              GA           30034
 K&J Auto Logistics Inc                              6387 Roosevelt Hwy                                                Union City           GA           30291
 K&J Transportation Service LLC                      2040 NW 111th St                                                  Miami                FL           33167
 K&K Auto Transportation LLC                         6780 NW 31st Way                                                  Ft Lauderdale        FL           33309
 K&L Transport Usa Corp                              4805 NW 7th Street Apt 404                                        Miami                FL           33126
 K&M Commercial Construction LLC                     6274 Pine Drive                                                   Lake Worth           FL           33462
 K2 Transportation Group LLC                         23730 Palm Beach Blvd                                             Alva                 FL           33920
 K2's Transport LLC                                  5862 Us Hwy 82W                                                   Cuthbert             GA           39840
 K9 International , LLC                              PO Box 211295                                                     Royal Palm Beach     FL           33421
 Ka Auto Transport Inc                               347 W 32nd St                                                     Hialeah              FL           33012
 Kab Transport Inc.                                  7051 SW 30th Road                                                 Miami                FL           33155
 Kadiem Trucking                                     PO Box 1882                                                       Cape Girardeau       MO           63702
 Kadlin                                              12124 Dickenson Ln                                                Orlando              FL           32821
 Kagi Haulers                                        505 Coachway Ln                                                   Hazelwood            MO           63042
 Kaibo Transport LLC                                 14707 Exbury Ln                                                   Laurel               MD
 Kairos Transport Corp                               15390 SW 144 Ave                                                  Miami                FL           33177
 Kaiser Towing And Delivering Corp                   10101 W Okeechobee Rd                                             Hialeah              FL           33016
 Kaliman, Marissa Ximena                             Address on File
 Kalman, Silvia Lainy                                Address on File
 Kam Auto Parts                                      13771 NW 19th Ave                                                 Opa-Locka            FL           33054
 Kama Solutions                                      2655 Showplace Drive Apt 304                                      Naperville           IL           60564
 Kamal, Shazeb                                       Address on File
 Kameka, Jean Claude Kyle                            Address on File
 Kandy Reddoch                                       Address on File
 Kanev, Daniel I.                                    Address on File
 Kannry, Jason Phillip                               Address on File
 Kansas Transit Express                              204 E Main St                                                     Glasco               KS           67445
 Kaplan, Ira D                                       Address on File
 Kar Korner, Inc.                                    4925 N 2nd Street                                                 Loves Park           IL           61111
 Kara Group Corp                                     50 Biscayne Blvd Apt 3009                                         Miami                FL           33132
 Karkoff, Javin Tyler                                Address on File
 Karla Transport LLC                                 857 SW 135th Ct                                                   Miami                FL           33184
 Karma Transport LLC                                 1619 Secontree Lane                                               Reston               VA           20190
 Karosas, Scott Christopher                          Address on File
 Karr Auto Transport LLC                             4009 W Sunflower Cir                                              Labelle              FL           33935
 Karras, Blake Elliot                                Address on File
 Kars Transport Corp                                 3166 W 68th Pl                                                    Hialeah              FL           33018
 Kasper Auto Transport LLC                           624 SW Pueblo Terrace                                             Port St Lucie        FL           34953
 Kasprowicz, John M.                                 Address on File
 Kastriot Us Corp                                    316 Sunnyside Ave                                                 Oakville             CT           06779
 Katalina Trucking Inc.                              9611 Acer Aver Building B                                         El Paso              TX           79925
 Katy Equipment Inc                                  2750 Taylor Ave Suite D                                           Orlando              FL           32806
 Katy Mills                                          5000 Katy Mills Circle                                            Katy                 TX           77494
 Katz Trans Corp                                     11720 Amber Park Dr - Ste 160                                     Alpharetta           GA           30009
 Katz, Michael Evan                                  Address on File
 Kauff's Kustom Digital Printing, Inc.               3587 Northlake Blvd                                               Palm Beach Gardens   FL           33403
 Kaufman Dolowich Voluck                             135 Crossways Park Drive                                          Woodbury             NY           11797
 Kaufman Trailer Of Nc Inc                           702 N Silver St                                                   Lexington            NC           27292
 Kaunas Trucking Inc                                 10 N Gougar Rd                                                    Joliet               IL           60432
 Kayden & Garrison Transport LLC                     PO Box 81084                                                      Simpsonville         SC           29680
 Kazars Electric Inc.                                4615 Roberts Road                                                 Land O Lakes         FL           34639
 Kazbet LLC                                          52 Dillon Street                                                  Chicopee             MA           01013
 Kb Euro Express Corp                                2038 Lindsey Ln                                                   Jefferson City       TN           37760
 Kb Express Transporter Inc                          2514 Twilight Dr                                                  Orlando              FL           32825
 Kb Transport                                        PO Box 765208                                                     Dallas               TX           75376
 Kbs Palena Hauling & Towing                         1155 Marigold Drive                                               Perris               CA           92571
 Kcg Auto Transport Inc                              1900 W 68 St                                                      Hialeah              FL           33014
 Kci Kansas City                                     11101 N Congress Ave                                              Kansas City          MO           64153
 Kd Transport LLC                                    798 Silas Deane Hwy                                               Wethersfield         CT           06109



Off Lease Only LLC, et al.                                                                                                                                         Page 79 of 155
                                        Case 23-11389-CTG              Doc 1-1           Filed 09/07/23   Page 80 of 155
                                                                              Creditor Matrix
                                                                             as of September 6, 2023
                    Creditor Name      Attention                 Address 1                    Address 2    Address 3            City           State       Zip       Country
 Ke And Su Transport Corp                          1599 Linda Lou Dr                                                   West Palm Beach    FL           33415
 Keane, Melinda Anne                               Address on File
 Kearney, Christopher Barton                       Address on File
 Kearny Mesa Infiniti                              4670 Convoy St                                                      San Diego          CA           92111
 Keeler Roofing LLC                                578 Se 70th Loop                                                    Trenton            FL
 Keith C. Mccracken                                4040 Misty Morning Pl                                               Casselberry        FL           32707
 Kelle Sheehan's Towing LLC                        2505 Division Ave                                                   West Palm Beach    FL           33407
 Kellem Freight Transport Inc.                     4846 N University Dr                                                Fort Lauderdale    FL           33351
 Kelly Tractor Co                                  PO Box 918579                                                       Orlando            FL           32891
 Kelly, Andre Bryan Rena                           Address on File
 Kemmek Auto Transport LLC                         6016 Lace Wood Cir                                                  Lake Worth         FL           33462
 Ken Bowen                                         Address on File
 Kenco Transport                                   5050 Se 30th St Apt D                                               Ocala              FL           34480
 Kenieca Moore                                     Address on File
 Kenny B Auto Transport LLC                        12801 Pinebrook Lane                                                Hudson             FL           34667
 Kenny Thomas Olathe Toyota
 Kent Automotive                                   PO Box 809401                                                       Chicago            IL           60680-9401
 Kent, John B                                      Address on File
 Kenway, Jude A.                                   Address on File
 Kerper And Bowron LLC                             400 Vestavia Pkwy                                                   Birmingham         AL           35216
 Kevin Roth Cargo                                  4181 Autumn Cove Dr                                                 Lake Wylie         SC           29710
 Kevin's Auto Express                              5601 Se Meadow Springs Blvd                                         Stuart             FL           34997
 Key Auto Transport Inc                            70 NE 135th St                                                      North Miami        FL           33161
 Key Consortium                                    93911 Overseas Hwy Ste3                                             Tavernier          FL           33070
 Key Mobile Inc                                    19501 W Country Club Dr                                             Aventura           FL           33180
 Key Tracer Systems Inc                            16-1833 Coast Meridian Road                                         Port Coquitlam     BC           V3C 6G5    Canada
 Keyless Remote Warehouse                          4725 Harley Ave                                                     Fort Worth         TX           76107
 Keystone                                          11701 NW 101 Rd                                                     Medley             FL           33178
 Keystone Auto Locaters LLC                        155 Forest St                                                       Gallitzin          PA           16641
 Keystone -Bra                                     PO Box 741668                                                       Atlanta            GA           30374-1668
 Keystone -Orl                                     PO Box 741668                                                       Atlanta            GA           30374-1668
 Keystone -South                                   PO Box 741668                                                       Atlanta            GA           30374-1668
 Kgm Express                                       425 Union St                                                        Lakeview           OH           43331
 Khalaf, Eedo Q                                    Address on File
 Khalili, Hicham                                   Address on File
 Kheaa                                             PO Box 4869                                                         Frankfort          KY           40604-4869
 Khou.Com                                          Dept 730044                                                         Houston            TX           75266-0919
 Kia Delray                                        2255 South Federal Highway                                          Delray Beach       FL           33483
 Kids Of Love Foundation Inc                       6295 West Sample Rd Box 670333                                      Coral Springs      FL           33067
 Killer Beez Transport                             617 Garden Cress Trail                                              West Palm Beach    FL           33411
 Kim Auto Transport Inc.                           2460 Dundee Road                                                    Northbrook         IL           60062
 Kimley-Horn And Associates, Inc                   PO Box 951640                                                       Dallas             TX           75395
 Kims Transport                                    595 Cyoress Avenue                                                  Orange City        FL           32763
 Kin Trucking                                      92 Sringwood Lane                                                   Boiling Springs    SC           29316
 Kinder, Omari Katraz                              Address on File
 Kindrick Transport Company                        148 Legacy Drive                                                    Madisonville       TN           37354
 King Auto Transport Inc                           1334 Timberlane Rd                                                  Tallahassee        FL           32312
 King Cab Transport                                27941 SW 132Nc Ct                                                   Homestead          FL           33032
 King Johnsons Transport LLC                       1512 Guinyard Way                                                   Orlando            FL           32805
 King Motor Company Of Coconut Creek               4980 North State Road 7                                             Coconut Creek      FL           33073
 King Of Glory Trucks LLC                          22832 SW 117th Ct                                                   Miami              FL           33170
 King, Jeffrey Allen                               Address on File
 Kingdom First Trucking LLC                        417 Frederick Ave                                                   South Plainfield   NJ           07080
 Kings Auto Carriers Inc                           1267 Darnaby Way                                                    Orlando            FL           32824
 Kings Auto Transport Service Inc.                 5224 Joshua Lane                                                    Panama City        FL           32404
 Kings Auto Transportation LLC                     PO Box 772577                                                       Orlando            FL           32877
 King's Body Shop                                  7150 NW 53 Terr                                                     Miami              FL           33166
 King's Body Shop 2                                1201 N 21st Ave                                                     Hollywood          FL           33020
 King's Express Transport Inc                      7500 Bellerive Drive                                                Houston            TX           77036
 Kiosmy Jb Transport                               1203 Marseille Drive Apt 22                                         Miami Beach        FL           33141
 Kirt-Fernandes, Isabel M.                         Address on File
 Kisa Transport LLC                                7218 Morsey Ct                                                      Charlotte          NC           28269



Off Lease Only LLC, et al.                                                                                                                                          Page 80 of 155
                                                           Case 23-11389-CTG            Doc 1-1          Filed 09/07/23   Page 81 of 155
                                                                                              Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name                        Attention               Address 1                    Address 2    Address 3               City        State       Zip       Country
 Kitlers Contracting LLC                                             85900 Avant Rd                                                    Yulee              FL           32097
 Kiwanis Club Of Boynton Beach
 Kizp Transportation Inc                                             7924 Coot St                                                      Orlando            FL           32822
 Kj Falcon Log LLC                                                   619 Hampton Ave                                                   Southampton        PA           18966
 Kj1 Trucking Inc                                                    107 Dogwood Cir                                                   Ocala              FL           34472
 Kks Transportation LLC                                              3133 Timm Drive                                                   St. Louis          MO           63125
 Klas Transport LLC                                                  434 W 6th Ave                                                     Roselle            NJ           07203
 Kloppe, Melissa Diane                                               Address on File
 Kma Transport LLC                                                   7723 Woodlawn Avenue                                              Pasadena           MD           21122
 Kml Auto Transport Inc                                              2685 Dixie Ln                                                     Kissimmee          FL           34743
 Kmms Logistics LLC                                                  39 Radnor Drive                                                   Newtown Square     PA           19073
 Kn Davis Inc                                                        2801 Leaphart Road                                                West Columbia      SC           29169
 Knight Management Insurance Services LLC                            4751 Wilshire Blvd Suite 111                                      Los Angeles        CA           90010
 Knight Transport LLC                                                2524 Bp Lane                                                      Rocky Mount        NC           27804
 Knights Transport LLC                                               PO Box 3436                                                       N Fort Myers       FL           33918
 Knn Auto LLC                                                        14316 NW 142nd Ave                                                Alachua            FL           32615
 Knox, Frank Alex                                                    Address on File
 Knoxville Auto Transport LLC                                        4303 Lonor Drive                                                  Knoxville          TN           37918
 Kofler, Eric Edward                                                 Address on File
 Kom Logistics LLC                                                   300 Winston Dr Apt 1006                                           Cliffside Park     NJ           07010
 Komasinski, Mavrick Judah                                           Address on File
 Kong, Nicholas Keoni Meade                                          Address on File
 Koni, Bashar                                                        Address on File
 Konica Minolta Business Solutions Usa, Inc                          21146 Network Place                                               Chicago            IL           60673-1211
 Konorezov Inc                                                       230 174th Street Apt 1206                                         Sunny Isl Beach    FL           33160
 Kopyt, Zachar                                                       Address on File
 Kosa, Christopher                                                   Address on File
 Kose, Yavuz Alp                                                     Address on File
 Kosta Inc                                                           11221 S 2865 W                                                    South Jordan       UT           84095
 Kota V Waste Management                                             PO Box 4199                                                       Portland           OR           97208-4199
 Kozobolis, Nikolaos Vassilios                                       Address on File
 Kpa Services LLC                                                    PO Box 301526                                                     Dallas             TX           75303-1526
 Kpmg Llp                                                            PO Box 120608                                                     Dallas             TX           75312-0608
 Kr Trucking LLC                                                     2814 N 46th Ave Apt#H577                                          Hollywood          FL           33021
 Kroll, LLC                                                          12595 Collection Center Drive                                     Chicago            IL           60693
 Ks Trucking LLC                                                     1058 Old Coventry Ct                                              Oviedo             FL           32765
 Ksi Trading Corp                                                    100-A Wade Ave                                                    South Plainfield   NJ           07080
 Ksk Transport Corp                                                  1040 Collins Avenue                                               Miami Beach        FL           33139
 Kt Trucking Services LLC                                            2419 Woodstork Ct                                                 St Augustine       FL           32092
 Kubakhan Auto Transportation Corp                                   533 E 17th St                                                     Hialeah            FL           33010
 Kupetsky, Justin George                                             Address on File
 Kushiner, Maria                                                     Address on File
 Kushner, Brian                                                      Address on File
 Kusium Inc                                                          4200 Walnut Rd Suite Poorman B                                    Buckeye Lake       OH           43008
 Kv Express Inc                                                      2414 Fontana Dr                                                   Glenview           IL           60025
 Kv Transport Inc                                                    1114 Oropesa Ave                                                  Orlando            FL           32807
 Kw Golden Express                                                   903 Wagner Farm Ct                                                Millersville       MD           21108
 Kwami Auto Transport LLC                                            PO Box 49782                                                      Greensboro         NC           27419
 Kwik Trans Inc                                                      PO Box 1063                                                       West Springfield   MA           01089
 Kwikpick Lock & Key                          Mcaguire,Brian Earl    11830 Colyas Lane                                                 Parrish            FL           34219
 Kz Fleet LLC                                                        1990 W 110th Pl                                                   Thornton           CO           80260
 L J Auto Tronics Inc                                                4447 S Military Trail                                             Lake Worth         FL           33463
 L&B Trucking                                                        1919 N Maple                                                      Buffalo            MO           65622
 L&J Auto Transport LLC                                              286 Casa Sevilla Avenue                                           St Augustine       FL           32092
 L&L Cargo LLC                                                       10276 Country Road 34                                             Goshen             IN           46528
 L&N Express LLC                                                     202 Evergreen Forest Blvd                                         Avanel             NJ           07001
 L&S Companies                                                       23 South Bridge Rd                                                Bear               DE           19701
 L&S Transport                                                       5723 S Jackson Hwy                                                Horse Cave         KY           42749
 L&S Transportation Of South Florida                                 6677 Boston Dr                                                    Lantana            FL           33462
 L&S Trucking LLC                                                    200 Newsome Trl                                                   Mcdonough          GA           30252
 L&W Autotransport                                                   6427 Star Shadow Ln                                               Houston            TX           77066
 La Hauler 1 LLC                                                     833 SW 77th Terr                                                  Florida City       FL           33034



Off Lease Only LLC, et al.                                                                                                                                                          Page 81 of 155
                                                     Case 23-11389-CTG                      Doc 1-1        Filed 09/07/23   Page 82 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                   Creditor Name                   Attention                          Address 1                 Address 2    Address 3            City           State       Zip       Country
 La Rosa Auto Transport Inc                                             2201 E 5th Street                                                Lehigh Acres       FL           33936
 La&Y Trucking LLC                                                      1445 Sallie Ave                                                  Jacksonville       FL           32210
 Lacey, David L                                                         Address on File
 Laffont, George                                                        Address on File
 LaFosse, Alexandra Danielle                                            Address on File
 Laguna Hauling LLC                                                     7219 Delano Ave                                                  Tampa              FL           33619
 Laidley, Darrel Paul                                                   Address on File
 Lake Worth Drainage District                                           13081 Military Trail                                             Delray Beach       FL           33484-1105
 Lake Worth Fire Equipment                                              326 South H Street                                               Lake Worth         FL           33460
 Lake Worth Pride Youth Sports, Inc                                     720 Lucerne Ave                                                  Lake Worth         FL           33460
 Lakeland Auto And Transport                                            5107 Plantation Dr                                               Lakeland           FL           33811
 Lakeland Automall                      Mutz Motors Limited Partnership 1430 W Memorial Blvd                                             Lakeland           FL           33815
 Lakeland Outdoor Advertising                                           215 E Bay Street                                                 Lakeland           FL           33801
 Lakes Auto Center                                                      698 W 84th Street                                                Hialeah            FL           33014
 Lakes Auto Parts                                                       5675 NW 195 Drive                                                Miami              FL           33055
 Lakes Transportation Inc                                               8812 NW 146th Lane                                               Miami Lakes        FL           33018
 Lakner, Morgan A.                                                      Address on File
 Lamar Companies                                                        PO Box 96030                                                     Baton Rouge        LA           70896
 Lambright, Thomas                                                      Address on File
 Lamim Trucking Corp                                                    10033 SW Brookgreen Drive                                        Port St Lucie      FL           34987
 Lamont, Hanley & Associates, Inc.                                      1138 Elm Street                                                  Manchester         NH           03101
 Lancaster Auto Transport LLC                                           7591 Centerville Road                                            Manassas           VA           20111
 Lance Randall Inc                                                      1011 South Federal Hwy                                           Hollywood          FL           33020
 Land Research Management Inc                                           2240 Palm Beach Lakes Blvd                                       West Palm Beach    FL           33409
 Land Rover Ft Lauderdale                                               400 W Copans Rd                                                  Pompano Beach      FL           33064
 Land Rover North Dade                                                  19275 NW 2nd Ave                                                 Miami              FL           33169
 Land Rover Orlando                                                     199 S Lake Destiny Rd                                            Orlando            FL           32810
 Land Rover Palm Beach                                                  7550 Okeechobee Blvd                                             West Palm Beach    FL           33411
 Land Rover Tampa                       Tampa L Automotive Management 333 E Fowler Ave                                                   Tampa              FL           33612
 Land Runner Transportation                                             PO Box 451651                                                    Sunrise            FL           33345
 Landin Cartas, David                                                   Address on File
 Landin Trucking Inc                                                    4844 NW 91st Way                                                 Coral Springs      FL           33067
 Lands End, Inc.                                                        1 Lands End Lane                                                 Dodgeville         WI           53595
 Landsm, Dashawn Alexander                                              Address on File
 Lane J Genet, Cpa                                                      9300 South Dadeland Blvd                                         Miami              FL           33156
 Lane J. Genet, Cpa, P.A.                                               7105 SW 115 Terrace                                              Miami              FL           33156
 Lane One Auto Transport                                                PO Box 450234                                                    Kissimmee          FL           34745
 Lane To Lane Transportation LLC                                        21 Willow Hurst Ct                                               Columbia           SC           29209
 Lane, David Joseph                                                     Address on File
 Laney Transportation LLC                                               439 Sawdust Trail                                                Nicholson          GA           30565
 Langel Transport Corp                                                  652 West 50th Street                                             Hialeah            FL           33012
 Lanham Towing LLC                                                      9540 Smith Avenue                                                Lanham             MD           20706
 Lanier Partners Of North Georgia Inc                                   6636 Lake Run Dr                                                 Flowery Branch     GA           30542
 Lanier Plans, Inc                      Korkat                          221 Cable Industrial Way                                         Carrollton         GA           30117
 Lantigua, Brian Alexander                                              Address on File
 Laraine, Mastrianna                                                    Address on File
 Laramie Chemical & Oil Co, Inc                                         4305 Hartford Street                                             Tampa              FL           33619
 Largecar Transport                                                     550 N Central Expy Unit 2289                                     Mckinney           TX           75070
 Larguilucho Party Entertainment                                        141 Ponce De Leon St                                             Royal Palm Beach   FL           33411
 Larick's Towing I                                                      10 Gill Avenue                                                   Rockaway           NJ           07866
 Laroye Towing Services LLC                                             1921 SW 62nd Avenue                                              Miami              FL           33155
 Larsen Landscaping LLC                                                 5816 Hampton Hills Blvd                                          Tamarac            FL           33321
 Lash Logistics                                                         217 Shepherds Bluff Dr                                           Mooresville        NC           28115
 Lassiter, Shelia                                                       Address on File
 Last Car Collision Center LLC                                          11349 S Orange Blossom Trail                                     Orlando            FL           32837
 Lastella, Nicole                                                       Address on File
 Lastre, Yared                                                          Address on File
 Latino Torres LLC                                                      1458 Tina Lane                                                   Kissimmee          FL           34744
 Latite Roofing And Sheet Metal, LLC                                    PO Box 667077                                                    Pompano Beach      FL           33066
 Latreche, Merouani                                                     Address on File
 Lauderdale Bmw Of Fort Lauderdale                                      2601 S Andrews Ave                                               Fort Lauderdale    FL           33316
 Lauderdale Bmw Of Pembroke Pines                                       14800 Sheridan St                                                Ft Lauderdale      FL           33331



Off Lease Only LLC, et al.                                                                                                                                                            Page 82 of 155
                                                     Case 23-11389-CTG                        Doc 1-1          Filed 09/07/23   Page 83 of 155
                                                                                                       Creditor Matrix
                                                                                                 as of September 6, 2023
                     Creditor Name                 Attention                          Address 1                    Address 2     Address 3            City            State       Zip       Country
 Lauderdale Infiniti                                                     900 East Sunrise Blvd                                               Ft Lauderdale       FL           33304
 Laundervilles Auto Transport LLC                                        2515 White Bear Ave                                                 Maplewood           MN           55109
 Laureano, Andrea                                                        Address on File
 Laurent, Wilkens                                                        Address on File
 Lauritsen Transport                                                     130 E 21st Ave                                                      Altoona             PA           16601
 Lavandos, LLC                                                           2729 State Rd 50 Unit B                                             Mascotte            FL           34753
 Law Office Of Robert W Murphy                                           1212 Se 2nd Ave                                                     Fort Lauderdale     FL           33316
 Law Offices Of H. David Luff, P.A.                                      2510 Forest Club Drive                                              Orlando             FL           32804
 Law Offices Sprechman & Fisher, P.A.                                    2775 Sunny Isles Boulevard                                          Miami               FL           33160-4007
 Lawrence, Sara Linet                                                    Address on File
 Lawrence, Yishmar Javan                                                 Address on File
 Lawson Trucking LLC                                                     741 Curtistown Rd                                                   Mcminnville         TN           37110
 Lawson, John M                                                          Address on File
 Lazaro Radiators Corp.                                                  4336 E 10 Lane                                                      Hialeah             FL           33013
 Lazi Auto Corporation                                                   128 Crawfords Corner Road                                           Holmdel             NJ           07733
 Lazvegas Enterprises                                                    14957 79th Court North                                              Loxahatchee         FL           33470
 Lb Trucking Inc                                                         4408 Weejun Loop                                                    Woodbridge          VA           22192
 Lbs Trucking                                                            97 Sunset Dr                                                        Mount Royal         NJ           08061
 Lbt Trucking Inc.                                                       5703 Darby Road                                                     Roanoke             VA           24012
 Lct Group Inc                                                           10 E Ontario St - Apt 3305                                          Chicago             IL           60611
 Ld Daily Transport Inc                                                  12361 SW 205 Street                                                 Miami               FL           33177
 Ld Hauling Service                                                      1120 Chorus Way                                                     Royal Palm Beach    FL           33411
 Ldc Auto LLC                                                            1220 Waterloo Drive                                                 Rocky Mount         NC           27804
 Ldm Auto Transport Corp.                                                1732 W 42nd Place                                                   Hialeah             FL           33012
 Lea Federal Cargo Express LLC                                           628 Gavin Ave                                                       Romeoville          IL           60446
 Leading Transportation LLC                                              10620 Conistan Pl                                                   Cornelius           NC           28031
 Leadsbridge
 Leaf Capital Funding LLC                                                 PO Box 5066                                                        Hartford            CT           06102
 Leahy, Donatella Mary                                                    Address on File
 Lease Direct                                                             111 Old Eagle School Rd                                            Wayne               PA           19087
 Leasing Services Of South Florida                                        20145 NE 25th Ct                                                   Miami               FL           33180
 Leatha Neck Logistics LLC                                                930 Cheves Road                                                    Zebulon             NC           27597
 Leathertek Of The Palm Beaches Inc                                       6307 C Durham Dr                                                   Lakeworth           FL           33467
 Lebrun, Olivier                                                          Address on File
 Ledareus                                                                 9840 NW 77th Ave                                                   Hialeah Gardens     FL           33016
 Lee Nissan                                                               235 Miracle Strip Pkwy Sw                                          Fort Walton Beach   FL           32548
 Lee, David Scott                                                         Address on File
 LeeSang, Ainsworth A                                                     Address on File
 Lefebvre's Towing LLC                                                    109 Rockingham Troad                                               Derry               NH           03038
 Lefont Paving, Inc.                                                      12020 NW 20 Ave                                                    Miami               FL           33167
 Legacy Pro Logistics                                                     PO Box 958137                                                      Duluth              GA           30095
 Legends Auto Transport LLC                                               8500 SW 133 Avenue Rd                                              Miami               FL           33183
 Legette Transportation LLC                                               PO Box 455                                                         Dillon              SC           29536
 Lehman Buick Gmc LLC                                                     21200 NW 2nd Ave                                                   Miami               FL           33169
 Lehman Mazda                                                             20700 NW 2 Nd Ave                                                  Miami               FL           33169
 Leira Auto Transport LLC                                                 8853 NW 118 Street                                                 Hialeah Gardens     FL           33018
 Leiva Auto Transport                                                     1283 W 51st Pla                                                    Hialeah             FL           33012
 Leiva, Christopher Joel                                                  Address on File
 Lem Transportation Inc                                                   429 Parkwood Estates Drive                                         Plant City          FL           33565
 Lema, Victor Manuel                                                      Address on File
 Lemaistre, Marsha                                                        Address on File
 Lemos, Luiz Victor                                                       Address on File
 Lener, Jeune                                                             Address on File
 Lenovo Financial Services              First-Citizens Bank & Trust Compan21146 Network Place                                                Chicago             IL           60673-1211
 Lenovo United States                                                     PO Box 643055                                                      Pittsburgh          PA
 Lentegrity                                                               27472 Portola Parkway                                              Foothills Ranch     CA           92610
 Leo Auto Transport Inc.                                                  13872 SW 46 Lane                                                   Miami               FL           33175
 Leo Carrier Inc                                                          PO Box 262421                                                      Miami               FL           33126
 Leo T's Towing & Recovery                                                3745 S Congress Ave                                                Palm Springs        FL           33461
 Leo, Albert Joseph                                                       Address on File
 Leon Alvarez, Yariadny                                                   Address on File
 Leon Company LLC                                                         7661 Mclaughlin Road                                               Peyton              CO           80831



Off Lease Only LLC, et al.                                                                                                                                                                 Page 83 of 155
                                                                Case 23-11389-CTG            Doc 1-1          Filed 09/07/23   Page 84 of 155
                                                                                                      Creditor Matrix
                                                                                                as of September 6, 2023
                    Creditor Name                             Attention                 Address 1                 Address 2     Address 3             City           State       Zip       Country
 Leon Transport And Logistics LLC                                         2835 SW 103rd Ct                                                  Miami               FL           33165
 Leon Vargas, Carmen Milagros                                             Address on File
 Leon, Billy                                                              Address on File
 Leon, Yariandy                                                           Address on File
 Leonard Transport LLC                                                    11088 Blythville Rd                                               Spring Hill         FL           34608
 Leonard, Ashley Lavalle                                                  Address on File
 Leo's Honda Tech                                                         11750 NW 87 Place                                                 Hialeah Gardens     FL           33018
 Lesch, Roberto Jose                                                      Address on File
 Leslie A. Zebel, Phd, LMHC, Psychotherapist Inc                          7401 South Olive Avenue                                           West Palm Beach     FL           33405
 Leslie, Marcelo                                                          Address on File
 Les-Mdx                                                                  PO Box 2182                                                       Milwaukoo           WI           53201-2182
 Lespeare, Camisha Amanie                                                 Address on File
 Less Stress Express                                                      5 Momar Dr                                                        Ramsey              NJ           07446
 Lessa, David Edward                                                      Address on File
 Lets Go Transport Inc                                                    640 SW 124th Terrace                                              Davie               FL           33325
 Lets Rock Auto Transport                                                 PO Box 426                                                        Bellport            NY           11713
 Lets Roll Transporter LLC                                                1424 Hamlin Ave                                                   Saint Cloud         FL           34771
 Letsos Company                                                           5631 Inwood Dr                                                    Houston             TX           77056
 Leuterio, Tobin J                                                        Address on File
 Levin, Vitaliy                                                           Address on File
 Levine, Richard B                                                        Address on File
 Levys Auto Transport LLC                                                 6212 N State Road 7 Apt 201                                       Coconut Creek       FL           33073
 Lewis Express Transport LLC                                              PO Box 8273                                                       Rocky Mount         NC           27804
 Lewis, Emily Skye                                                        Address on File
 Lewis, Jasmine Kateala                                                   Address on File
 Lewis, Mavrick                                                           Address on File
 Lewis, Selene Danielle                                                   Address on File
 Lexisnexis Risk Data Management                                          28330 Network Place                                               Chicago             IL           60673-1283
 Lexus Of Kendall                                                         13750 SW 136th Street                                             Miami               FL           33186
 Lexus Of North Miami                                                     14100 Biscayne Blvd                                               North Miami         FL           33181
 Lexus Of Orlando                                                         305 N Semoran Blvd                                                Winter Park         FL           32792
 Lexus Of Pembroke Pines                                                  16150 Pines Blvd                                                  Pembroke Pines      FL           33027
 Lexus Of Winter Park                                                     245 Driggs Dr                                                     Winter Park         FL           32792
 Leyo Auto Transport Inc                                                  4332 SW 159th Path                                                Miami               FL           33185
 Leyvarias Transport                                                      3523 SW 9th Ave                                                   Cape Coral          FL           33914
 Lf Car Carrier Corp                                                      3509 Mango Tree Ln Apt 202D                                       Tampa               FL           33614
 Lf Transports Inc                                                        89 Lockland Avenue                                                Framingham          MA           01701
 Lg Auto Express Corp                                                     15164 SW 60th Ter                                                 Miami               FL           33193
 Lg Auto Hauler Inc                                                       122 SW 96 Ave                                                     Miami               FL           33174
 Lg Auto Moving Inc                                                       7075 NW 179 St                                                    Hialeah             FL           33015
 Lg Electronics
 Lg Gladstone LLC                                                         2398 NW 30th St                                                   Boca Raton          FL           33431
 Lg Transport And Towing LLC                                              PO Box 6032                                                       Katy                TX           77491
 Lg Transporting LLC                                                      2545 Flamango Lake Dr                                             West Palm Beach     FL           33406
 Lgs Transport Inc                                                        22 Sayville Rd                                                    Mastic Beach        NY           11951
 Liberty Tire Recycling, LLC                                              600 River Ave 3rd Floor                                           Pittsburgh          PA           15212
 Liberty Transort Of Florida LLC                                          585 Royal Oak Dr N                                                Winter Garden       FL           34787
 Liberty Transport Inc                                                    12382 Janet Street                                                Garden Grove        CA           92840
 Libertys Auto Logistics                                                  4568 Barrister Drive                                              Clermont            FL           34711
 Licos Transport Inc                                                      3042 Suwannee Ct                                                  Apopka              FL           32703
 Liesdy Transport Inc                                                     3001 55th St W                                                    Lehigh Acres        FL           33971
 Life Of Alley                                     Alessandra Leto        20110 Emery Spur Lane                                             Cypress             TX           77433
 Lifetime Wholesale                                                       4531 N Federal Hwy                                                Lighthouse Point    FL           33064
 Lift Stations R Us                                                       5761 NW 37th Ave Bldg 101                                         Miami               FL           33142
 Lighning Auto Transport Corp                                             6780 W 11 Ct                                                      Hialeah             FL           33012
 Lighthouse Christian School                                              2331 NE 26th Ave                                                  Pompano Beach       FL           33062
 Lighthouse Logistics                                                     PO Box 30744                                                      Wilmington Island   GA           31410
 Lighthouse Point Magazine                                                2436 N Federal Hwy #311                                           Lighthouse Point    FL           33064
 Lightning Auto Glass Services, LLC                                       19023 Appletree Hill Lane                                         Houston             TX           77084
 Lightning Auto Transport Corp                                            6780 W 11 Ct                                                      Hialeah             FL           33012
 Lightning Carrier Inc.                                                   51 Valley Rd                                                      Topsfield           MA           01983
 Lightsey, Deshazier Alexander                                            Address on File



Off Lease Only LLC, et al.                                                                                                                                                                Page 84 of 155
                                                           Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23   Page 85 of 155
                                                                                                       Creditor Matrix
                                                                                                     as of September 6, 2023
                    Creditor Name                        Attention                        Address 1                   Address 2    Address 3            City           State       Zip       Country
 Lil Man Trucking                                                            592 Howardstown Rd                                                Hodgenville        KY           42748
 Lima Express Auto Transport LLC                                             1370 W 30 Street                                                  Hialeah            FL           33012
 Lima, Jeson                                                                 Address on File
 Limitless Auto Transport LLC-Fl                                             5305 Gate Lake Road                                               Tamarac            FL           33319
 Limitless Transport                                                         6000 Stewart Pkwy 7031                                            Douglasville       GA           30154
 Lin, Thomas Ikwang                                                          Address on File
 Linares, Dario                                                              Address on File
 Linares, Larry Erwin                                                        Address on File
 Lincoln Financial Group                      Attn 1H 20                     PO Box 7894                                                       Fort Wayne         IN           46801-7800
 Lincoln Of Coconut Creek                                                    5501 W Sample Road                                                Coconut Creek      FL           33073
 Line Auto Transport Inc                                                     142 82 SW 172 Ter                                                 Miami              FL           33177
 Line Design Solutions, LLC                                                  2436 N Federal Highway #426                                       Lighthouse Point   FL           33064
 Linebarger Goggan Blair & Sampson, Llp                                      PO Box 978658                                                     Dallas             TX           75397-8658
 Link Media Florida                                                          200 Mansell Court East Ste 360                                    Roswell            GA           30076
 Links Towing                                                                6366 All American Blvd                                            Orlando            FL           32810
 Lion Auto Transport, Inc.                                                   10290 SW 225 Ln                                                   Miami              FL           33190
 Lion Auto Transport, LLC                                                    1604 Shaker Circle                                                Wellington         FL           33414
 Lion King Express LLC                                                       PO Box 30377                                                      Middleburg Hts     OH           44130
 Lion Towing Service                                                         13414 SW 22nd Terr                                                Miami              FL           33175
 Lipton Toyota/Scion                                                         1700 W Oakland Park Blvd                                          Ft. Lauderdale     FL           33311
 Lis Trucking                                                                8021 W Giddings Street                                            Norridge           IL           60706
 Liso Fer, LLC                                                               4354 NW 200 Street                                                Miami Gardens      FL           33055
 Lithia Auto Stores                           Lehman Hyundai Subaru Genesis BPO Box 679811                                                     Dallas             TX           75267
 Litsey Motor Transport                                                      4509 Lower Meadow Rd                                              Mulberry           FL           33860
 Litterick Landscape Architecture LLC                                        2740 SW Martin Downs Blvd                                         Palm City          FL           34990
 Little Bell Embroidery                                                      24522 Tribeca Ln                                                  Katy               TX           77493
 Little Sequatchie Transport LLC                                             831 Howard Beavert Road                                           Dunlap             TN           37327
 Littlejohn, Sam Campbell                                                    Address on File
 Litwin, Todd Gerry                                                          Address on File
 Liuber Trucking Services                                                    3696 10th Ave N                                                   Palm Springs       FL           33461
 Live Life Transport LLC                                                     2734 N 2nd St                                                     Philadelphia       PA           19133
 Lj Car Carrier Corp                                                         18100 West Road                                                   Houston            TX           77095
 Lj Sheehan Inc General Contractor                                           2257 Vista Parkway Suite 20                                       West Palm Beach    FL           33411
 Lj Towing And Transport Inc- Fl Only                                        7009 N Clearview Avenue                                           Tampa              FL           33614
 Lj Transportation LLC                                                       1716 St Tropez Court                                              Kissimmee          FL           34744
 Lj Transportation LLC                                                       1490 Woodhill Road                                                Burnsville         MN           55337
 Lj7 Express LLC                              Gamkrelidze,Goga               10282 Boca Entrada Blvd            Apt 125                        Boca Raton         FL           33428
 Lk Jiksons Towing                                                           81 East Cayhill Lane                                              Smyrna             DE           19977
 Lk Truck Inc.                                                               28 Emerald Lane                                                   Willingboro        NJ           08046
 Lk Trucking                                                                 15439 Silvan Glen Drive                                           Dumfries           VA           22025
 Lkq                                          Bradenton                      9862 Currie Davis Drive                                           Tampa              FL           33619
 Lkq                                          Acct 1876258                   7298 Waelti Drive                                                 Melbourne          FL           32940
 Lkq                                          Acct 2769842                   PO Box 403078                                                     Atlanta            GA           30384
 Lkq Crystal River                            Acct 2034103                   4950 West Norvell Bryant Highway                                  Crystal River      FL           34429
 Llach, Raul                                                                 Address on File
 Llanes Trucking Services Inc                                                27738 SW 133rd Ave                                                Homestead          FL           33032
 Lle Auto Transport Inc                                                      PO Box 5490                                                       Mcallen            TX           78502
 Llk Car Carrier Inc                                                         2035 NW Flager Terr                                               Miami              FL           33125
 Llm Enterprise LLC                                                          1107 Mathis Road                                                  Crystal Springs    MS           39059
 Lmi Transportation Inc                                                      24425 SW 124th Ave                                                Homestead          FL           33032
 Lmia Logistics Inc                                                          13828 SW 283 Terrace                                              Homestead          FL           33033
 Lmk                                                                         1401 Elks Club Rd                                                 Covington          GA           30014
 Lmr Trucking Inc                                                            4395 Amsterdam St                                                 Charleston         SC           29418
 Ln Hauler Services                                                          6144 Springer Dr                                                  Port Richey        FL           34668
 Lnl Express 3 LLC                                                           1011 S Hamilton Rd - Ste 300                                      Chapel Hill        NC           27517
 Load In Time, LLC                                                           13473 SW 151 Terr                                                 Miami              FL           33186
 Load N Drive Transport Inc                                                  7119 W 31 Avenue                                                  Hialeah            FL           33018
 Load Rite Logistics And Transportation LLC                                  2514 Dunnhill Drive                                               Greenboro          NC           27405
 Load To Go Transport                                                        411 E Second Ave                                                  Roselle            NJ           07203
 Load&Go Transport LLC                                                       2435 Delta Road                                                   Broque             PA           17309
 Lobo Garcia, Daimi                                                          Address on File
 Locked & Loades Transportation Inc                                          PO Box 452396                                                     Kissimmee          FL           34745



Off Lease Only LLC, et al.                                                                                                                                                                  Page 85 of 155
                                              Case 23-11389-CTG             Doc 1-1         Filed 09/07/23   Page 86 of 155
                                                                                  Creditor Matrix
                                                                                as of September 6, 2023
                    Creditor Name            Attention                Address 1                  Address 2    Address 3               City         State       Zip       Country
 Lofton, Carnell                                         Address on File
 Log On Transport Inc.                                   332 Etowah Valley Trace                                          Woodstock           GA           30189
 Logan Auto Transport LLC                                2676 NW 88th Street                                              Miami               FL           33147
 Logan Outdoor Advertising, Inc.                         1716 W Lemon Street                                              Tampa               FL           33606
 Logistics Auto Moving Corp                              30352 SW 163 Ave                                                 Homestead           FL           33033
 Logmein Usa, Inc                                        333 Summer Street                                                Boston              MA           02210
 Logservice Inc                                          8019 Janes Ave Apt-G                                             Woodridge           IL           60517
 Lohrey, David M                                         Address on File
 Lojack Corporation                                      PO Box 846111                                                    Boston              MA           02284-6111
 Lokey Infiniti                                          19740 Us Highway 19 North                                        Clearwater          FL           33764
 Lol Transport Services Corp                             14844 SW 56th Ter                                                Miami               FL           33193
 Lolo Transport LLC                                      15293 SW 119th Ter                                               Miami               FL           33196
 London Global Transport                                 157Donna Rd                                                      West Palm Beach     FL           33409
 Lonestar Auto Carriers Corp                             1700 NE 9th Drive                                                Homestead           FL           33033
 Long Distance Transport Inc                             7801 NW 193 Terr                                                 Hialeah             FL           33015
 Long Way Trucking LLC                                   69 Dover Chester Rd                                              Randolph            NJ           07869
 Long, William J                                         Address on File
 Longhaul Auto Transport                                 553 Barnumville Rd                                               Manchester Center   VT           05255
 Longhorn Auto Haulers, Inc.                             PO Box 690336                                                    San Antonio         TX           78269
 Longhorn Auto Movers                                    1711 Worthington Rd Suite 101                                    West Palm Beach     FL           33409
 Longoria, Luis Carlos                                   Address on File
 Longroads Transportation Inc                            2615 Eagle Canyan Drive N                                        Kissimmee           FL           34746
 Longshot Trucking LLC                                   5928 River Bend Rd                                               Claremont           NC           28610
 Lonigro, Alexander                                      Address on File
 Loomis                                                  Dept 0757                                                        Dallas              TX           75312-0757
 Lopata, Craig W.                                        Address on File
 Lopes Express Shipping Inc                              PO Box 50936                                                     Sarasota            FL           34232
 Lopes Transport LLC                                     1505 Waters Edge Spt V204                                        Tampa               FL           33603
 Lopez Auto Transport Inc                                1853 Lindenwood Dr                                               Lehigh Acres        FL           33972
 Lopez Brenes, Jose Francieth                            Address on File
 Lopez Gonzalez, Axel Ariel                              Address on File
 Lopez Munoz, Orliany                                    Address on File
 Lopez Reyloz, Cesar L                                   Address on File
 Lopez, Alex                                             Address on File
 Lopez, David A                                          Address on File
 Lopez, Francisco Laredo                                 Address on File
 Lopez, Mariand Z                                        Address on File
 Lopez, Mario E.                                         Address on File
 Lopez, Noslen                                           Address on File
 Lopez, Raquel Maria                                     Address on File
 Lopez, Jaime                                            Address on File
 Lora Pena, Xavier                                       Address on File
 Lord, Amy Louise                                        Address on File
 Lorenzo Nissan Ft. Lauderdale                           1051 S Federal Hwy                                               Ft. Lauderdale      FL           33316
 Lorenzo Transports Inc.                                 2532 W Diana Street                                              Tampa               FL           33614
 Los Ales Trucking Inc                                   125 Seaman Ave                                                   Opalocka            FL           33054
 Los Nunez Trucking                                      12770 Rodeo Square Dr Apt 1403                                   Houston             TX           77072
 Lotvantage LLC                                          3415 E Frontage Rd                                               Tampa               FL           33607
 Lou Bachrodt Coconut Creek                              5400 N St Rd 7                                                   Coconut Creek       FL           33073
 Lou Bachrodt Pompano Beach                              1801 W Atlantic Blvd                                             Pompano Beach       FL           33069
 Louis Ruffo                                             Address on File
 Louis, Glismith                                         Address on File
 Louis, Johnny                                           Address on File
 Louisiana's First Choice Auto Auction LLC               18310 Woodscale Rd                                               Hammond             LA           70401
 Love Logistics LLC                                      3638 SW 129th Pl                                                 Ocala               FL           34473
 Lovens, Thailah                                         Address on File
 Lovett, Justin                                          Address on File
 Low Cost Auto Dealer & Transport LLC                    PO Box 741061                                                    Boynton Beach       FL           33437
 Lowe, Christopher Bryan                                 Address on File
 Lowe, Major                                             Address on File
 Lowery Auto Transport LLC                               12610 Winter Hazel Rd                                            Charlotte           NC           28278
 Lowery, Derrick                                         Address on File



Off Lease Only LLC, et al.                                                                                                                                              Page 86 of 155
                                                      Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 87 of 155
                                                                                           Creditor Matrix
                                                                                          as of September 6, 2023
                    Creditor Name                    Attention                Address 1                    Address 2    Address 3             City           State      Zip    Country
 Lowes
 Lowndes County Tax Commissioner                                 300 North Patterson Street                                         Valdosta            GA           31601
 Lr Transport                                                    797 Alabana Rd S                                                   Lehigh Acres        FL           33974
 Lsp Auto Transport Corp                                         PO Box 7404                                                        North Bergan        NJ           07047
 Lt Auto Transport Inc                                           2904 Waterview Circle                                              Palm Springs        FL           33461
 Lt Auto Transport Inc.                                          PO Box 16517                                                       West Palm Beach     FL           33416
 Lt Discovery Transport Corp-Fl Only                             627 NW Stanford Ln                                                 Port Saint Lucie    FL           34983
 Lt Transportation                                               5005 Canadian Ave                                                  Midland             TX           79707
 Lto Logistics Incorporated                                      10 A Barney Rd                                                     Boylston            MA           01505
 Ltp Logistics Inc                                               10800 Brighton Bay Blvd NE          #13103                         St Petersburg       FL           33716
 Lts Tool Co                           Matco Tools               3528 161st Terrace North                                           Loxahatchee         FL           33470
 Lu Transport                                                    650 West 50th St                                                   Hialeah             FL           33012
 Lucca Logistics Inc                                             6301 Crystal Ridge Drive                                           Watchung            NJ           07069
 Luciano, John G                                                 Address on File
 Luciano, Jonathan N                                             Address on File
 Lucid Auto Transport                                            540 Morning Sun Dr Apt 938                                         Ormond Beach        FL           32174
 Lucky Flexas Transport LLC                                      3611 NW 175th St                                                   Miami Gardens       FL           33056
 Lucky Star Carriers LLC                                         750 E Us Hwy Suite 200-235                                         Forney              TX           75126
 Lucky Strike Express Inc                                        148 E Street Road Unit 331                                         Feasterville        PA           19053
 Lucy Logistics Corp                                             18311 SW 149 Ave                                                   Miami               FL           33187
 Lud Field Transport                                             PO Box 100847                                                      Fort Lauderdale     FL           33310
 Lufkin Towing & Recovery LLC                                    6140 Old Mocksville Rd                                             Sallsbury           NC           28144
 Lugo, Benjamin                                                  Address on File
 Luhn III, Benno Henry                                           Address on File
 Luis Auto Transport Inc                                         PO Box 772262                                                      Miami               FL           33177
 Luis Dm Transport Inc-Fl Only                                   1732 W 42nd Place                                                  Hialeah             FL           33012
 Luis Miguel Rodriguez Martinez                                  4517 Eden Rock Rd                                                  Tampa               FL           33634
 Luiz Towing Inc.                                                7523 Thatcher Avenue                                               Tampa               FL           33614
 Luke, Kim Elaine                                                Address on File
 Lula Transportation                                             6308 Lula Rd                                                       Lula                GA           30554
 Lumeca LLC                                                      8920 SW 126th Terr                                                 Miami               FL           33176
 Luna Ashley Corp                                                5460 West 24th Avenue                                              Hialeah             FL           33016
 Luna, Vanessa Ann                                               Address on File
 Lux Way International LLC                                       1600 Golf Road Suite 1200                                          Rolling Meadows     IL           60008
 Luxtrans Corp                                                   134 W Lake Street                                                  Bloomingdale        IL           60108
 Luxury Advisors Group LLC                                       330 NE 7th Ave                                                     Fr Lauderdale       FL           33301
 Luxury Auto Carrier Inc                                         130 Samuel St                                                      Davenport           FL           33897
 Luxury Express LLC                                              PO Box 4326                                                        Winter Park         FL           32793
 Luxury Kings Transport LLC                                      1375 NW 66th Terr                                                  Margate             FL           33063
 Luxury Line Transport Inc                                       8045 Janes Ave Unit F                                              Woodridge           IL           60517
 Luxury Service Transport LLC                                    10292 NW 9th Street Cir                                            Miami               FL           33172
 Luxury Transport Corp                                           PO Box 650382                                                      Miami               FL           33265
 Luxury Transport Inc                                            2790 Randall Blvd                                                  Naples              FL           34120
 Lv Auto Transport LLC                                           2445 E Sahara Ave                                                  Las Vegas           NV           89104
 Lv Car Transport LLC                                            727 SW Munjack Circle                                              Port Saint Lucie    FL           34986
 Lw Scooters Inc And Towing                                      3710 Georgia Ave                                                   West Palm Beach     FL           33405
 Lyb Car Trnsport LLC                                            8981 SW 36 Street                                                  Miami               FL           33165
 Lyg Auto Carrier Inc                                            15680 Se 171st Ln                                                  Weirsdale           FL           32195
 M & G Transports                                                1287 NE 182nd Street                                               N Miami Beach       FL           33162
 M Alonso Haulers                                                5135 Balmer St                                                     Lehigh Acres        FL           33971
 M And M Towing And Transport LLC                                1183 Aruba Circle                                                  Charleston          SC           29412
 M And Y Logisitics Corp                                         22214 SW 98 Pl                                                     Cutler Bay          FL           33190
 M E Services Ny Inc                                             2453 64th Street Apt# 17B                                          Brooklyn            NY           11204
 M Emery Auto Transp                                             449 Leaman Lane                                                    Hellam              PA           17406
 M Garrett Enterprises LLC                                       PO Box 23                                                          Ripon               WI           54971
 M M A Blue Inc.                                                 113 South Monroe St 1st Floor                                      Tallahassee         FL           32301
 M Tow LLC                                                       7317 Beverly Park Dr                                               Springfield         VA           22150
 M Watson Auto Transport LLC                                     5687 Stafford Road                                                 Charlotte           NC           28215
 M&A Express Shipping Inc                                        PO Box 19617                                                       Sarasota            FL           34276
 M&A Metro Services LLC                                          2050 NE 140th Unit 18                                              North Miami Beach   FL           33181
 M&C Truck Line Corp                                             11870 Hialeah Gardens Blvd                                         Hialeah Gardens     FL           33018
 M&D Auto Transport Inc                                          PO Box 524278                                                      Miami               FL           33152



Off Lease Only LLC, et al.                                                                                                                                                    Page 87 of 155
                                                         Case 23-11389-CTG          Doc 1-1         Filed 09/07/23   Page 88 of 155
                                                                                          Creditor Matrix
                                                                                        as of September 6, 2023
                  Creditor Name                      Attention                  Address 1                Address 2    Address 3              City           State       Zip        Country
 M&D Auto Transport LLC                                           62 Mountain Meadow Rd                                           Lyman                NH           03585
 M&E Holdings                                                     1740 Overseas Highway                                           Marathon             FL                 33050
 M&G Auto Transport LLC                                           PO Box 228                                                      Edinburg             TX           78540
 M&H Auto Transport Corp                                          650 Se Thanksgiving Ave                                         Port St Lucie        FL           34984
 M&H World Class Auto Transports LLC                              1590 Albon Rd Unit 1                                            Holland              OH           43528
 M&J Auto                                                         3908 Furneaux Lane                                              Carrollton           TX           75007
 M&J Auto Transport Inc.                                          212 Cypress St                                                  Orlando              FL           32824
 M&K Used Auto Parts, Inc                                         3100 N Sparkman Ave                                             Orange City          FL           32763
 M&L Luxury Auto Carriers                                         PO Box 884                                                      Hampton              SC           29924
 M&M Auto Transport Inc                                           7 Longwood Way                                                  Lemont               IL           60439
 M&M Auto Transport Inc. Fl Only                                  163 Brown Avenue S                                              Lehigh Acres         FL           33974
 M&M Transport Services Corp                                      8805 Citrus Village Dr                                          Tampa                FL           33626
 M&M Transporting LLC                                             40 Benedict Dr                                                  Covington            GA           30016
 M&M Transports                                                   4040 Us Highway 25 North                                        Hephzibah            GA           30815
 M&M Trucking Of Nc LLC                                           201 Mcmanus St                                                  Red Springs          NC           28377
 M&R Byrd Auto Transport                                          1045 Collins Farm Rd                                            Mt Airy              NC           27030
 M&R Logistics Service Inc                                        2775 W Okeechobee Rd Lot A20                                    Hialeah              FL           33010
 M&R Transport LLC                                                1536 S Webster Avenue                                           Scranton             PA           18505
 M&S Eagle Usa Transport LLC                                      2941 SW 23 Terr                                                 Fort Lauderdale      FL           33312
 M&T Fastransport Inc                                             7109 NW 174th Terr                                              Hialeah              FL           33015
 M&V Trans Group LLC                                              23398 Sharon Dr                                                 North Olmsted        OH           44070
 M&W Logistics Inc                                                145 Riverboat Drive                                             Washington           NC           27889
 M&Y Rojas Corp                                                   1247 SW 67th Ave Apt26                                          Miami                FL           33144
 M&Y Transportation Service Inc                                   11312 SW 3rd Street                                             Miami                FL           33174
 M.A.R.S. Auto Performance Inc.                                   10001 NW 50th Street                                            Sunrise              FL           33351
 M.R. Cars Auto Transportation LLC                                189 Little Green St                                             Nashville            TN           37210
 M2 Trucking LLC                                                  2398 NW 30th Street                                             Boca Raton           FL           33431
 M2At LLC                               Mofeyisope Osiname        3282 Katelyn Ct Sw                                              Lilburn              GA           30047
 Ma Empire Transportation LLC                                     7100 Robinson Church Rd                                         Charlotte            NC           28215
 Ma Trans Inc                                                     PO Box 350086                                                   Palm Coast           FL           32135
 Maaco                                                            10115 NW 79th Ave                                               Hialeah Gardens      FL           33016
 Maaco Collision Repair                                           2450 S Military Trail                                           West Palm Beach      FL           33415
 Maaco Orlando East                                               6601 Old Cheney Highway                                         Orlando              FL           32807
 Maaco West Palm South                  Mlr Group Inc.            2450 S Military Trl Ste 10                                      West Palm Beach      FL           33415
 Maar Auto Transport LLC                                          4411 Bee Ridge Rd #103                                          Sarasota             FL           34233
 Mac Haik Chevrolet                                               11711 Katy Fwy                                                  Houston              TX           77079
 Mac Haik Ford Ltd                                                10333 Katy Freeway                                              Houston              TX           77024
 Mac Tools                              John Ashby                15779 62nd Pl N                                                 Loxahatchee          FL           33470
 Mac Transporter LLC                                              12444 Midpoint Drive                                            Riverview            FL           33578
 Machete Transport                                                4310 SW 130 Ct                                                  Miami                FL           33175
 Machin Auto Trans Corp                                           4225 SW 85 Ave                                                  Miami                FL           33155
 Machi's Auto Relocation Services LLC                             16216 Se 17th Street                                            Ocklawaha            FL           32179
 Machi's Community Service LLC                                    4443 Kent Ave                                                   Lake Worth           FL
 Machos Transport & Towing                                        4604 Woodford Drive                                             Kissimmee            FL           34758
 Maciel, Walter                                                   Address on File
 Macmurray & Shuster Llp                                          6525 West Campus Oval            Suite 210                      New Albany           OH           43054
 Mad Auto Transport LLC                                           13510 230th St                                                  Lauerlton            NY           11413
 Mad Sod                                                          8493 Se Date St                                                 Hobe Sound           FL           33455
 Madera Transport Corp                                            3414 Charmont Drive                                             Jacksonville         FL           32277
 Madera, Israfel                                                  Address on File
 Madrigal, Ashley Yasmery                                         Address on File
 Madruga Logistics LLC                                            9618 Capendon Ave Apt 206                                       Palm Beach Gardens   FL           33418
 Madry, Shemar Alexander                                          Address on File
 Mafe Auto Classic LLC                                            24437 SW 108 Ave                                                Homestead            FL           33032
 Mag Logistics LLC                                                4829 W Princeton Place                                          Spokane              WA           99205
 Magadan Transport Inc                                            629 Sioux Drive                                                 Orlando              FL           32807
 Magarrell, Dane Christofer                                       Address on File
 Magic City Transport LLC                                         3058 SW 20th Street                                             Miami                FL           33145
 Magic Mile Transport                                             190 Manchester Street                                           Concord              NH           03301
 Magic Towing And Recovery                                        7851 West 22 Ave                                                Hialeah              FL           33016
 Magician 360 Inc                                                 PO Box 724                                                      Morrow               GA           30260
 Magnify Credit Union                                             PO Box 427                                                      Mulberry             FL           33860



Off Lease Only LLC, et al.                                                                                                                                                        Page 88 of 155
                                                  Case 23-11389-CTG              Doc 1-1         Filed 09/07/23   Page 89 of 155
                                                                                       Creditor Matrix
                                                                                     as of September 6, 2023
                   Creditor Name                 Attention                 Address 1                  Address 2    Address 3            City          State       Zip       Country
 Mahlbacher, Timothy F                                       Address on File
 Mahwah Sales And Service Inc                                55 Franklin Turnpike                                              Mahwah            NJ           07430
 Maia Auto Transport Inc.                                    388 Ocean Ave                                                     Revere            MA           02151
 Maisonet, Victor M                                          Address on File
 Maj Auto Transport Inc                                      8411 Forest Hill Dr #308                                          Coral Springs     FL           33065
 Maje Networking LLC                                         3091 Ft Spcrum Village Blvd                                       Lakeland          FL           33810
 Makda, Mohammed                                             Address on File
 Mako Auto Transport Inc.                                    10268 NW 16th Ct                                                  Coral Springs     FL           33071
 Mako Hose Rubber LLC Hose Tubing                            8331 Mc Allister Way Ste 100A                                     West Palm Beach   FL           33411-3713
 Malagon Molina, Ariel                                       Address on File
 Malatesta PLLC                                              11710 Anhinga Ave                                                 Venice            FL           34292
 Malatia, Robert                                             Address on File
 Maldonado, Michael Giovan                                   Address on File
 Malivert, Kerry                                             Address on File
 Malta Family Transport LLC                                  7451 Mckinley St                                                  Hollywood         FL           33024
 Maluchnik, Martin Randolph                                  Address on File
 Manao Auto Transport                                        55 Esther Street                                                  Worcester         MA           01607
 Manatee Chamber Of Commerce Inc                             222 10th St W                                                     Bradenton         FL           34205
 Manatee County Building And Development Servi               1112 Manatee Avenue West                                          Bradenton         FL           34205
 Manatee County Sheriff's Office                             600 Us Hwy 301 Blvd W                                             Bradenton         FL           34205
 Manatee County Tax Collector                                PO Box 25300                                                      Bradenton         FL           34206-5300
 Manatee County Utilities Department                         PO Box 25350                                                      Bradenton         FL           34206-5350
 Manatee River Holiday Boat Parade                           4307 13th St W                                                    Palmetto          FL           34221
 Manchester Hauling & Towing LLC                             39 Rockingham Rd                                                  Londonerry        NH           03053
 Mandel, Stephen Daniel                                      Address on File
 Mandese, April Alane                                        Address on File
 Mandese, John J                                             Address on File
 Mandez Motors                                               13 John Hay Avenue                                                Kearny            NJ           07032
 Manduley & Associates Inc.                                  1724 45th Terr Sw                                                 Naples            FL           34116
 Mangar, Anjali Donna                                        Address on File
 Manhattan Trophy                                            1411 N Dixie Hwy                                                  Lake Worth        FL           33460
 Manhatten Auto Transfer, Inc                                PO Box 350086                                                     Palm Coast        FL           32135
 Manheim Albany                                              459 Route 146                                                     Clifton           NY           12065-0440
 Manheim Arena Illinois                                      200 W Old Chicago Drive                                           Bolingbrook       IL           60440
 Manheim Atlanta                                             4900 Buffington Rd                                                Atlanta           GA           30349
 Manheim Baltimore-Washington                                7120 Dorsey Run Road                                              Elkridge          MD           21075
 Manheim Birmingham                                          5750 Highway 78 East                                              Birmingham        AL           35210
 Manheim California                                          1320 N Tustin Ave                                                 Anaheim           CA           92807
 Manheim Central Florida                                     9800 Bachman Road                                                 Orlando           FL           32824
 Manheim Charlotte                                           287 Concord Pkwy N                                                Concord           NC           28027
 Manheim Chicago                                             20401 Cox Ave                                                     Matteson          IL           60443
 Manheim Cincinnati
 Manheim Consulting                                          6205A Peachtree Dunwoody Rd                                       Atlanta           GA           30328
 Manheim Dallas                                              5333 W Kiest Blvd                                                 Dallas            TX           75236-1055
 Manheim Dallas-Fort Worth                                   12101 Trinity Boulevard                                           Ft Worth          TX           76040
 Manheim Darlington                                          1111 Harry Byrd Highway                                           Darlington        SC           29532-3507
 Manheim Daytona Beach                                       1305 Indian Lake Rd                                               Daytona Beach     FL           32124-1039
 Manheim Denver                                              17500 E 32nd Ave                                                  Aurora            CO           80011-3316
 Manheim Detroit                                             600 Will Carleton Road                                            Carleton          MI           48117
 Manheim Digital Marketplace
 Manheim El Paso                                             485 Coates Dr                                                     El Paso           TX           79932-1316
 Manheim Fort Myers                                          2100 Rockfill Rd                                                  Fort Myers        FL           33916
 Manheim Fort Worth                                          12101 Trinity Blvd                                                Euless            TX           76040
 Manheim Fredericksburg                                      120 Auction Dr                                                    Fredericksburg    VA           22406
 Manheim Ft Lauderdale                                       5353 S State Road 7                                               Davie             FL           33314
 Manheim Georgia                                             7205 Campbellton Rd Sw                                            Atlanta           GA           30331-8144
 Manheim Houston                                             14450 West Rd                                                     Houston           TX           77041
 Manheim Inc                                                 6205 Peachtree Dunwoody Road                                      Atlanta           GA           30328
 Manheim Jacksonville                                        10817 New Kings Road                                              Jacksonville      FL           32219
 Manheim Kansas City                                         3901 N Skiles Ave                                                 Kansas City       MO           64161
 Manheim Lakeland                                            8025 N State Rd 33                                                Lakeland          FL           33809
 Manheim Louisville                                          5425 Highway 31 E                                                 Clarksville       IN           47129



Off Lease Only LLC, et al.                                                                                                                                                 Page 89 of 155
                                                 Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 90 of 155
                                                                                      Creditor Matrix
                                                                                     as of September 6, 2023
                   Creditor Name                Attention                Address 1                    Address 2    Address 3             City           State       Zip       Country
 Manheim Milwaukee                                          561 27th St                                                        Caledonia           WI           53108
 Manheim Minneapolis                                        8001 Jefferson Hwy                                                 Maple Frove         MN           55369
 Manheim Mississippi                                        7510 U S Hwy 49                                                    Hattiesburg         MS           39402
 Manheim Nashville                                          8400 Eastgate Blvd                                                 Mount Juliet        TN           37122-3141
 Manheim Nevada                                             6600 Auction Lane                                                  Las Vegas           NV           89165-1700
 Manheim New England
 Manheim New Jersey                                         730 Route 68                                                       Bordentown          NJ           08505
 Manheim New Mexico                                         3411 Broadway Blvd Se                                              Albuquerque         NM           87105
 Manheim New Orleans                                        61077 Saint Tammany Ave                                            Slidell             LA           70460
 Manheim New York                                           2000 Dealer Dr                                                     Newburgh            NY           12550-5067
 Manheim North Carolina                                     318 Bagley Road                                                    Kenly               NC           27542
 Manheim Northstar Minnesota                                4908 Valley Industrial Blvd N                                      Shakopee            MN           55379
 Manheim Ny Metro Skyline                                   100 Us Highway 46                                                  Fairfield           NJ           07004
 Manheim Ohio                                               3905 Jackson Pike                                                  Grove City          OH           43123-9731
 Manheim Orlando                                            11802 W Colonial Dr                                                Osoee               FL           34761-3328
 Manheim Palm Beach                                         600 Sansbury Way                                                   West Palm Beach     FL           33411
 Manheim Pennsylvania                                       1190 Lancaster Rd                                                  Manheim             PA           17545-9746
 Manheim Pensacola                                          6359 North W Street                                                Pensacola           FL           32505
 Manheim Philadelphia                                       2280 Bethlehem Pike                                                Hatfield            PA           19440
 Manheim Phoenix                                            201 N 83rd Ave                                                     Tolleson            AZ           85353
 Manheim Pittsburgh                                         21095 Route 19                                                     Cranberry Twp       PA           16066
 Manheim Portland                                           3000 N Hayden Island Dr                                            Portland            OR
 Manheim Remarketing                                        6325 Peachtree Dunwoody Rd                                         Atlanta             GA           30328
 Manheim Remarketing                                        PO Box 930725                                                      Atlanta             GA           30392-1691
 Manheim Riverside                                          6446 Fremont St                                                    Riverside           CA           92504
 Manheim San Antonio                                        2042 Ackerman Rd                                                   San Antonio         TX           78219-3016
 Manheim San Francisco Bay                                  29900 Auction Ct                                                   Hayward             CA           94544-6914
 Manheim Seattle                                            19711 77th Ave South                                               Kent                WA           98032
 Manheim Southern California
 Manheim St Louis                                           13813                                                              Bridgeton           MO           63044
 Manheim Statesville                                        145 Auction Ln                                                     Statesville         NC           28625
 Manheim Tampa
 Manheim Texas Hobby                                        8215 Kopman Rd                                                     Houston             TX           77061
 Manheim Transportation
 Mann, Bruce Kevin                                          Address on File
 Mann, Jasmine Nicole                                       Address on File
 Mannheim Central
 Manny's Transport & Towing Inc.                            4839 Patch Road                                                    Orlando             FL           32822
 Mansito & Sons Transportation                              7915 Oak Run Circle                                                Lakeland            FL           33809
 Mantrack Protective & Investigative Services               7000 West Palmetto Park Road                                       Boca Raton          FL           33433
 Manzano Brothers Transportation LLC                        20298 SW 85th Avenue                                               Cutler Bay          FL           33189
 Map Express                                                4367 State Drive                                                   West Palm Beach     FL           33406
 Mapletree Transportation Inc                               PO Box 30 Bldg 250                                                 Middlebury          IN           46540
 Maradiaga Soto, Kenny Sahir                                Address on File
 Maradiaga, Alberto Jose                                    Address on File
 Maranatha Auto Carrier Inc                                 12601 SW 248th Terr                                                Homestead           FL           33032
 Maranon, Arelys                                            Address on File
 Marathon
 Marbelt Trucking Inc.                                      2077 Schwab Avenue                                                 Bethlehem           PA           18015
 Marcadis Singer, Pa Attorneys At Law                       5104 S Westshore Blvd                                              Tampa               FL           33611
 Marcelin, Wilner                                           Address on File
 Marcelo Perez, Juan Jordan                                 Address on File
 Marcos Auto Transport Inc.                                 384 Princeton Avenue                                               Hillside            NJ           07205
 Marcus Robinson Films
 Mardan Fabrication, Inc.                                   41001 Producton Drive                                              Harrison Township   MI           48045
 Margate Baseball & Softball Inc                            PO Box 93494                                                       Margate             FL           33093
 Margate J Automotive Management, LLC                       2250 N State Rd 7                                                  Margate             FL           33063
 Margate Paint & Body Inc                                   2056 Mears Parkway                                                 Margate             FL           33063
 Mariano, Andres                                            Address on File
 Marin, Andres Mauricio                                     Address on File
 Marin, Yanni                                               Address on File
 Marin, Tony Maris                                          Address on File



Off Lease Only LLC, et al.                                                                                                                                                   Page 90 of 155
                                                    Case 23-11389-CTG                    Doc 1-1         Filed 09/07/23   Page 91 of 155
                                                                                               Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name                 Attention                       Address 1                   Address 2    Address 3            City          State       Zip    Country
 Marine Fcu                                                          PO Box 1551                                                       Jacksonville      NC           28541
 Marine, James Dwight                                                Address on File
 Mariner Finance                                                     3985 Jog Rd                                                       Greenacres        FL           33467
 Marinez, Alexis A                                                   Address on File
 Marino Guerra, Roxana                                               Address on File
 Marino Performance Motors                                           5403 N Haverhill Rd #231-232                                      West Palm Beach   FL           33407
 Mario's Painting Of S. Florida, Inc.                                4533 Kelmar Drive                                                 West Palm Beach   FL           33415
 Maritech Systems, Inc.                                              2114 N Flamingo Road #1146                                        Pembroke Pines    FL           33028
 Marius, Farah                                                       Address on File
 Marius, Michelet                                                    Address on File
 Mark Gerloff                                                        Address on File
 Mark Goldstein, Esq.                                                1380 NE Miami Gardens Drive                                       Miami             FL           33179
 Markel Service Inc                                                  Markel Insurance Company                                          Parsippany        NJ           07054
 Markes, Daryl Alan                                                  Address on File
 Marketing And Logistic Corp.                                        15476 NW 77 Ct                                                    Miami Lakes       FL           33016
 Marketing Strategies & Solutions                                    2786 Dumont Lane                                                  North Port        FL           34286
 Marlin Transportation Inc                                           8752 NW 142 Lane                                                  Miami Lakes       FL           33018
 Marlon Transport Corp                                               3912 NE 16 Pl                                                     Cape Coral        FL           33909
 Marlou Transport                                                    1156 Western Avenue                                               Glendale          CA           91201
 Marlow, Carl Christopher                                            Address on File
 Maroone Chevrolet                                                   2235 Okeechobee Blvd                                              West Palm Beach   FL           33409
 Maroone Ford                                                        16800 NW 57th Ave                                                 Miami             FL           33015
 Maroone Honda                                                       5925 NW 167th Street                                              Miami             FL           33015
 Marrero Auto Transport                                              3506 Vinning Ct                                                   Kissimmee         FL           34741
 Marrero Cruz, Oiris Nyleve                                          Address on File
 Marrero, Ernesto                                                    Address on File
 Marrero, Jesse                                                      Address on File
 Marrero, Joselyn                                                    Address on File
 Mars Logistics LLC                                                  424 W Pueblo St Apt B                                             Boise             ID           83702
 Marsh Automotive Inc.                                               421 Barstow St                                                    Horicon           WI           53032
 Marshall, Joshua Lorenze                                            Address on File
 Marston, Melvin Keith                                               Address on File
 Martel Communications                                               8502 Huebner Rd                                                   San Antonio       TX           78240
 Marti, Ralph                                                        Address on File
 Martin Escobar Trans Inc                                            PO Box 668874                                                     Miami             FL           33166
 Martin K Transport LLC                                              10598 Doyle Rd                                                    Utica             NY           13502
 Martin, Ashlee Renee                                                Address on File
 Martin, Derrick Devonn                                              Address on File
 Martin, Jazmin Toni Aaliyah                                         Address on File
 Martin, Shawn Terrence                                              Address on File
 Martin, Tynya Antrion                                               Address on File
 Martincavage, Vincent Warren                                        Address on File
 Martinez Auto Transport Inc                                         1370 W 30 St                                                      Hialeah           FL           33012
 Martinez Auto Transport Inc.                                        PO Box 126938                                                     Hialeah           FL           33012
 Martinez Auto Transport, LLC                                        10905 Micalet Ct                                                  San Antonio       TX           78249
 Martinez Carroll, Tamia Jeanea                                      Address on File
 Martinez Pichardo, Jordany                                          Address on File
 Martinez Vento, Mario                                               Address on File
 Martinez, Angie Karina                                              Address on File
 Martinez, Jasiha                                                    Address on File
 Martinez, Jonathan Alexander                                        Address on File
 Martinez, Kiara Marie                                               Address on File
 Martinez, Leanid Michelle                                           Address on File
 Martinez, Zenah Li                                                  Address on File
 Martins Transport LLC                                               1205 Julian Lane Drive                                            Tampa             FL           33619
 Marvin's Transport                                                  7009 Flanders Way                                                 Sacramento        CA           95842
 Marwah Transport LLC                                                7679 Tamarac Island Circle                                        Tamarac           FL           33321
 Maryal Inc                                                          2620 Byberry Rd                                                   Hatboro           PA           19040
 Maserati Of Palm Beach                                              3974 Okeechobee Blvd                                              West Palm Beach   FL           33409
 Maserati Tampa                         Tampa Mas Automotive Manageme11333 N Florida Ave                                               Tampa             FL           33612
 Masha Of Chicago Inc                                                9010 W Ballard Rd Apt 2H                                          Des Plaines       IL           60016
 Masney Auto Enclosed                                                1207 East Story Rd                                                Winter Garden     FL           34787



Off Lease Only LLC, et al.                                                                                                                                                      Page 91 of 155
                                                   Case 23-11389-CTG                      Doc 1-1         Filed 09/07/23   Page 92 of 155
                                                                                                 Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name                Attention                             Address 1               Address 2    Address 3                City        State       Zip       Country
 Masney Auto Logistics Inc                                              831 Maguire Road                                                Ocoee               FL           34761
 Massey Cadillac Of Orlando                                             4241 N John Young Pkwy                                          Orlando             FL           32804
 Massey Cadillac Of South Orlando                                       8819 S Orange Blossom Trl                                       Orlando             FL           32809-7913
 Massey Transportation                                                  254 New Sawyer Brown Road                                       Nashville           TN           37221
 Massey Yardley Dodge Chrysler Jeep                                     777 N State Rd 7                                                Plantation          FL           33317
 Massicotte, Michael                                                    Address on File
 Massie Fence                                                           2862 2nd Ave N                                                  Lake Worth          FL           33461
 Mastech Wheels Express Inc                                             9336 NW 13 St                                                   Doral               FL           33172
 Master Auto Connection Inc.                                            23811 Washington Avenue                                         Murrieta            CA           92562
 Master Brick Pavers, Inc.                                              PO Box 7195                                                     Lake Worth          FL           33466
 Master Pr Transport LLC                                                5423 Calle Lilly Ct                                             Kissimmee           FL           34758
 Master Trans Line Inc                                                  3063 Piedmont Ave                                               La Crescenta        CA           91214
 Master World Auto Transport Inc                                        28322 SW 128th Path                                             Homestead           FL           33033
 Masterlog Alliance Inc                                                 139 Longview Ave                                                Celebration         FL           34747
 Masterrunners Inc                                                      2516 Waukegan Rd Suite 114                                      Glenview            IL           60025
 Masters Glass And Mirror, LLC.       Invalid Acct/Need W-9/Last Used 6/5601 Ashley Oak Dr                                              Tampa               FL           33617
 Mastrapa, Alex                                                         Address on File
 Mastro Brothers Auto Group, LLC                                        4113 S Orlando Dr                                               Sanford             FL           32773-6122
 Mat Auto Transport LLC                                                 12792 Lost Creek Ct                                             Manassas            VA           20112
 Matco Tools (Miami)                  Gascon Matos,Santiago             1371 W 35th St                                                  Hialeah             FL           33012
 Matco Tools (Orlando)                Dydo,John J                       3325 Burberry Place                                             St Cloud            FL           34772
 Mateo, Jose E.                                                         Address on File
 Mateo, Miguel Angel                                                    Address on File
 Mateos, Victor                                                         Address on File
 Mathis, Sean Christopher                                               Address on File
 Matthew Car Corp                                                       1665 NE 37th Ave                                                Homestead           FL           33033
 Matthews Autohaul LLC                                                  4768 Pepper Bush Lane                                           Boynton Beach       FL           33436
 Mattison, Sean Edward                                                  Address on File
 Mauzer Haulers Inc                                                     PO Box 56182                                                    Harwood Heights     IL           60656
 Maverick Document Signings, Inc.                                       25108 Marguerite Parkway                                        Mission Viejo       CA           92692
 Maverick Document Signings, Inc.                                       742 Mink Ave #12                                                Murrell'S Inlet     SC           29576
 Mavis Tire Supply LLC                Weldon Tire                       358 Saw Mill River Rd                                           Millwood            NY           10546
 Max Art Transportation LLC                                             10003 Westbourne Pl                                             Philadelphia        PA           19114
 Max Express Inc                                                        4741 Trousdale Dr                                               Nashville           TN           37220
 Maxey, Dora Jewel                                                      Address on File
 Maximum Auto Transport Inc                                             170 NE 2nd St #1265                                             Boca Raton          FL           33429
 Maximum Transportation Inc.                                            10003 Westbourne Place                                          Philadelphia        PA           19114
 Maximus Motor Group                                                    2670 S Myrtle Ave #D205                                         Monrovia            CA           91016
 Maxx Express LLC                                                       6803 Regency Drive                                              Parma               OH           44129
 Mayes, Lloyd M                                                         Address on File
 Maynard, Cooper & Gale P.C.                                            1901 Sixth Avenue North                                         Birmingham          AL           35203
 Maza, Fiorella Silvana                                                 Address on File
 Mazda Of North Miami                                                   20700 NW 2nd Ave                                                Miami               FL           33169
 Mazda Of Palm Beach                  Palm Beach Autoplex LLC           2677 Northlake Blvd                                             North Palm Beach    FL           33403
 Mb Auto Clinic                                                         3825 NW 135th St                                                Opa Locka           FL           33054
 Mb Auto Transport Inc.                                                 5875 Curry Ford Road                                            Orlando             FL           32822
 Mbasic                                                                 802 Yellowtown Rd                                               Waynesboro          GA           30830
 Mbj Express LLC                                                        14208 Weeping Willow Drive                                      Silver Springs      MD           20906
 Mbl Express LLC                                                        511 El Prado                                                    West Palm Beach     FL           33405
 Mbondemand                                                             1919 South Post Road                                            Indianapolis        IN           46239
 Mbr Auto Transport Inc                                                 98 Dorothy Dr                                                   West Palm Beach     FL           33415
 Mbr Marketing, Inc
 Mbtech Transport                                                     37 Monmouth Ave                                                   Freehold            NJ           07728
 Mby Transportation Corp                                              7215 Miami Lakes Dr A7                                            Hialeah             FL           33014
 Mc Body Shop Inc                                                     3580 NW 52nd St                                                   Miami               FL           33142
 Mc Express Auto Transport Inc                                        13321 Lake George Place                                           Tampa               FL           33618
 Mc Trans LLC                                                         PO Box 2461                                                       Canyon Country      CA           91387
 McAnally, Zachary Cameron                                            Address on File
 Mcarthur Group LLC                                                   3131 NE 188th St - #2606                                          Aventura            FL           33180
 Mcb Trucking Inc                                                     19364 SW 131st Avenue                                             Miami               FL           33177
 Mcbo Transport LLC                                                   2417 Abby Dr                                                      Kissimmee           FL           34741
 McBride, Christen Lashae                                             Address on File



Off Lease Only LLC, et al.                                                                                                                                                            Page 92 of 155
                                                     Case 23-11389-CTG                Doc 1-1         Filed 09/07/23   Page 93 of 155
                                                                                            Creditor Matrix
                                                                                          as of September 6, 2023
                   Creditor Name                   Attention                      Address 1                Address 2    Address 3               City          State       Zip       Country
 McBride, James George                                             Address on File
 McCaine, Shayne Lucas Anthony                                     Address on File
 McCall, Edzavien LeQuan                                           Address on File
 Mccammon & Elliott LLC                                            PO Box 13373                                                     El Paso              TX           79913
 McCarroll, Alexis Nicole                                          Address on File
 Mccarty Auto Parts Inc                                            1118 Altamaha Rd                                                 Hazelhurst           GA           31539
 McClellan, Breanna Renee                                          Address on File
 McCoy, Marinda K                                                  Address on File
 Mccracken, Keith C                                                Address on File
 Mccrory, Regina Faye                                              Address on File
 McDaniels, Ingrid Damarys                                         Address on File
 McDonald, Oral Kenroy                                             Address on File
 Mcdowell Hauling                                                  45 Arbor Hill Place                                              Mcleansville         NC           27301
 Mcdowell Trucking LLC                                             509 Glenwood Dr                                                  Elizabeth Town       NC           28337
 McGee, Cedric Lavon                                               Address on File
 McGloun, Mikayah Alyse                                            Address on File
 McGowan, James Thomas                                             Address on File
 McGrath, Robert Alan                                              Address on File
 Mcguire's Snowbird Express LLC                                    44 Fir Dr                                                        Ocala                FL           34472
 Mchael, Kim                                                       Address on File
 McIntosh, Andre Anthony                                           Address on File
 McKay, Daniel Francis                                             Address on File
 Mckenzie Jr., Patrick Barrington                                  Address on File
 Mckeon Distributors Inc                                           1901                                                             Hollywood            FL           33020
 McKinney Jr, James B                                              Address on File
 Mckonnen Auto Carriers                                            4649 SW Cacao Street                                             Port St. Lucie       FL           34953
 McLaren, Alan Jackson                                             Address on File
 Mclaurin, Robert Benjamine                                        Address on File
 Mclean, Sheila                                                    Address on File
 Mcm Auto Carrier LLC                                              1412 Quail Ave                                                   Mcallen              TX           78504
 Mcmahon, John Joseph II                                           Address on File
 McMillen, Kimberly Lynn                                           Address on File
 McMullen, Annette Marie                                           Address on File
 McNally, Kemar Rakesh                                             Address on File
 McNamara, Dennis J                                                Address on File
 Mcnutt Automotive Logistics LLC                                   110 Rock Cliff Courte Ste D                                      St. Louis            MO           63123
 McPherson, Jorden Thomas                                          Address on File
 Mcw Transport Inc                                                 1900 Queens Ct                                                   Kissimmee            FL           34744
 Md Now Medical Center                 Billing Department          2007 Palm Beach Lakes Blvd                                       West Palm Beach      FL           33409
 Md Transport                                                      11031 Legacy Blvd                                                Palm Beach Gardens   FL           33410
 Mdf Auto Transport                                                2741 Bel Aire Cir                                                Tampa                FL           33614
 Mdf Transportation, LLC                                           180 Brookstone Place                                             Jackson              TN           38305
 Mdl High Auality Transportation Inc                               123 Annapolis Ln                                                 Rotonda West         FL           33947
 Mdl High Quality Transportation                                   2399 Dongola Street                                              North Port           FL           34291
 Mdm Auto Inc                                                      2713 W Summerdale Ave #1N                                        Chicago              IL           60625
 Mdx Payment Processing Center                                     PO Box 628282                                                    Orlando              FL           32862-8282
 Meade Enterprises Inc                                             58 Jewel Lane                                                    Levittown            PA           19055
 Meadows, Mark Edwin                                               Address on File
 Measure Dynamics, LLC                                             5455 40th Avenue North                                           St Petersburg        FL           33709
 Med Express Transport                                             1640 Flagstone Ct                                                New Port Richey      FL           34655
 Medina III, Arcadio Jose                                          Address on File
 Medina, Richard Mario                                             Address on File
 Medina, Tathy Ana                                                 Address on File
 Medina-Torres, Jessica                                            Address on File
 Medrano, Samantha                                                 Address on File
 Meeting Tomorrow                      Attn: Accounts Receivable   1802 W Berteau Ave                                               Chicago              IL           60613
 Mega Auto Transporters Inc                                        307 S Bicycle Path                                               Farmingville         NY
 Mega Load Inc.                                                    6037 N Cicero Ave                                                Chicago              IL           60646
 Megawattage LLC                                                   850 SW 21st Treeace                                              Fort Lauderdale      FL           33312
 Meide, Jordan                                                     Address on File
 Meineke Car Care Center #2461                                     7625 University Blvd                                             Winter Park          FL           32792
 Meineke Car Care Center #2486                                     185 S Semoran Blvd                                               Orlando              FL           32807-3230



Off Lease Only LLC, et al.                                                                                                                                                         Page 93 of 155
                                                           Case 23-11389-CTG                      Doc 1-1         Filed 09/07/23   Page 94 of 155
                                                                                                          Creditor Matrix
                                                                                                      as of September 6, 2023
                   Creditor Name                       Attention                          Address 1                    Address 2    Address 3             City            State       Zip       Country
 Meinero, Jack                                                               Address on File
 Mejia Frias, Melanie                                                        Address on File
 Mejia Polanco, Emmanuel                                                     Address on File
 Mejia, Lorenie                                                              Address on File
 Melancon Transportation Services                                            6807 Augusta Pines E                                               Spring               TX           77389
 Melcher Trucking LLC                      Abke Trucking                     18503 Pemberville Rd                PO Box 418                     Pemberville          OH           43450
 Meldrum, Melanie C.                                                         Address on File
 Melech Transport LLC                                                        19428 E Country Club Drive                                         Miami                FL           33180
 Melendez, Luvin Edward                                                      Address on File
 Melissa Anido-Lopez                                                         Address on File
 Melkay Incorporated                                                         12207 SW 6 Street                                                  Pembroke Pines       FL           33025
 Membry Auto Transport Corp                                                  40 East 53rd Terrace                                               Hialeah              FL           33013
 Memorial Hermann Foundation
 Mena Garcia, Rachel                                                           Address on File
 Mena, Ivan                                                                    Address on File
 Mendez , John                                                                 Address on File
 Mendez Transport Usa Inc.                                                     1699 NW 4th Avenue                                               Miami                FL           33136
 Mendez, Pedro                                                                 Address on File
 Mendiola Auto Transport Corp                                                  2402 Shelby Cr                                                   Kissimmee            FL           34743
 Mendoza, Juan Alberto                                                         Address on File
 Meneses Alvarez, Matias Gabriel                                               Address on File
 Meni Tech LLC                                                                 12900 NW 30th Ave #10                                            Opa Locka            FL           33054
 Mentero, Noel                                                                 Address on File
 Menuau, Regis                                                                 Address on File
 Mep Design Engineering, Inc.                                                  6001 Brick Court                                                 Winter Park          FL           32792
 Mept Ave Aviation & Commerce Center LLC                                       734757 Network Place                                             Chicago              IL           60673-1757
 Meran Rodriguez, Carlos Diego                                                 Address on File
 Merbrypavel Trucking Corp                                                     727 Bradley St                                                   Wpb                  FL           33405
 Mercado, Tahisha Livia                                                        Address on File
 Mercedes Benz Of Coconut Creek                                                4250 N State Road 7                                              Coconut Creek        FL           33073
 Mercedes Benz Of Gainesville              Duval Automotive Gainesville, LLC 4000 N Main Street                                                 Gainesville          FL           32609
 Mercedes Benz Of Melbourne                                                    509 E Nasa Blvd Bldg A                                           Melbourne            FL           32901
 Mercedes Benz Of Miami                                                        1200 NW 167th Street                                             Miami                FL           33169
 Mercedes Benz Of Naples                                                       501 Airport-Pulling Rd South                                     Naples               FL           34104
 Mercedes Benz Of North Orlando                                                1100 Rinehart Rd                                                 Sanford              FL           32771
 Mercedes Benz Of North Palm Beach                                             9275 Alternate A1A                                               North Palm Beach     FL           33403
 Mercedes Benz Of Orlando                                                      810 N Orlando Ave                                                Maitland             FL           32751
 Mercedes Benz Of Palm Beach                                                   4000 Okeechobee Blvd                                             West Palm Beach      FL           33409
 Mercedes Benz Of Plano                                                        6455 Dallas Parkway                                              Plano                TX           75024
 Mercedes G.R Towing                                                           3325 Jolson Dr                                                   Sarasota             FL           34237
 Mercedes, Jaromny                                                             Address on File
 Mercedes-Benz Of Coral Gables                                                 300 Almeria Ave                                                  Coral Gables         FL           33134
 Mercedes-Benz Of Cutler Bay               Bill Ussery Motors Of Cutler Bay, LL10701 SW 211th Street                                            Cutler Bay           FL           33189
 Mercedes-Benz Of Nashville                                                    630 Bakes Bridge Ave                                             Franklin             TN           37067
 Mercedes-Benz Of Orland Park                                                  8430 W 159th St                                                  Orland Park          IL           60462
 Mercedes-Benz Of South Orlando                                                4301 Millenia Blvd                                               Orlando              FL           32839
 Mercedes-Benz Of Sugar Land                                                   15625 Southwest Freeway                                          Sugar Land           TX           77478
 Mercedes-Benz Of West Houston             Lwa Operating Company LLC           1025 Highway 6                                                   Houston              TX           77079
 Mercely, Bryant                                                               Address on File
 Merchan-Ramirez, Yaneysi Lucia                                                Address on File
 Merchant Lynx                                                                 4200 Northcorp Pkway Suite 160                                   Palm Beach Gardens   FL           33410
 Merchant, Wilson Richard                                                      Address on File
 Mercy Transportation LLC                                                      PO Box 1227                                                      Columbia             SC           29202
 Mercy Trucking LLC                                                            10305 SW 40 Terr                                                 Miami                FL           33165
 Merino Transport                                                              11550 Buell Street                                               Santo Fe Springs     CA           90670
 Merks, Andrew                                                                 Address on File
 Mervil, Sarah Lauren                                                          Address on File
 Mesis Landscape Services, Inc.                                                18950 SW 139th Ave                                               Miami                FL           33177
 Messer & Messer Law Offices                                                   1555 St Lucie West Blvd Nw                                       Port St Lucie        FL           34986
 Mestre, Alexander                                                             Address on File
 Met1 LLC                                                                      PO Box 194                                                       Woodinville          WA           98072
 Metayer, Princiana                                                            Address on File



Off Lease Only LLC, et al.                                                                                                                                                                     Page 94 of 155
                                                           Case 23-11389-CTG                     Doc 1-1           Filed 09/07/23   Page 95 of 155
                                                                                                      Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                            Attention                     Address 1                  Address 2       Address 3             City          State       Zip       Country
 Metlife Group Benefits                                                      PO Box 783895                                                       Philadelphia       PA           19178-3895
 Metro Ford                                                                  9000 NW 7th Avenue                                                  Miami              FL           33150
 Metro Haulers LLC                                                           5404 Meadow Prong Rd                                                Effingham          SC           29541
 Metro Healthfairs LLC                                                       28 Wenwood Drive                                                    Glen Head          NY           11545
 Metro Media
 Metromedia Technology
 Metropolitan Transport LLC                                                  1818 Pot Spring Road                                                Lutherville        MD           21093
 Meyer Transport                                                             3908 Pensacola Dr                                                   Lantana            FL           33462
 Mg Auto Express Inc                                                         7358 Woodknot Ct                                                    Orlando            FL           32835
 Mg Auto Transport Inc                                                       5372 W 6th Ct                                                       Hialeah            FL           33012
 Mg Carriers                                                                 12784 SW 256 Terrace                                                Homestead          FL           33032
 Mg Rhino Inc                                                                11507 S Orange Ave                                                  Orlando            FL           32824
 Mga Auto Transports LLC                                                     PO Box 620953                                                       Orlando            FL           32862
 Mga Insurance Company, Inc.                                                 PO Box 199023                                                       Dallas             TX           75219
 Mgl Auto Transportation LLC                                                 121 South Manhattan Place                                           Los Angeles        CA           90004
 Mgm Towing & Transport LLC                                                  4523 4th Ave Ne                                                     Bradenton          FL           34208
 Mgr Auto Carriers Inc.                                                      3873 E 46 State Road                                                Sanford            FL           32771
 Mgr Towing LLC                                                              12120 SW 191 Ter                                                    Miami              FL           33177
 Mh Transport Inc.                                                           785 West 22 Street                                                  Hialeah            FL           33010
 Mi Come Again Truck LLC                                                     4940 Pelican Manor                                                  Coconut Creek      FL           33073
 Mia Bella Transport LLC                                                     19905 Jodi Drive                                                    Lutz               FL           33558
 Mia Transportation Inc.                                                     1326 NW 24th Avenue                                                 Miami              FL           33125
 Miami Airport Concession LLC                                                General Post Office                                                 New York           NY           10087-8035
 Miami Car Credit, LLC                                                       19390 NW 2nd Ave                                                    Miami Gardens      FL           33169
 Miami Chassis & Alignment                                                   3051 NW 24 Street                                                   Miami              FL           33142
 Miami Dade County Sheriffs Office
 Miami Dade Derm-Permit Renewal                                              PO Box 947532                                                       Atlanta            GA           30394-7532
 Miami Dade Expressway Authority                                             PO Box 865009                                                       Orlando            FL           32886-5009
 Miami Dade Pump And Supply                                                  6008 NW 6th Ave                                                     Miami              FL           33127
 Miami Dade Water And Sewer Department                                       PO Box 026055                                                       Miami              FL           33102
 Miami East Side Sports                                                      14350 NW 56 Ct                                                      Miami              FL           33054
 Miami Golf Car LLC                                                          9700 SW 104th Street                                                Miami              FL           33176
 Miami Insignia Parts Dist LLC
 Miami K9 Services Inc                                                       13925 42nd Road N                                                   West Palm Beach    FL           33411
 Miami Lakes Automall                                                        16600 NW 57th Ave                                                   Miami Lakes        FL           33014
 Miami Las Vegas Transport Inc                                               26600 SW 122nd Avenue                                               Homestead          FL           33032
 Miami Paint Center
 Miami Parts Unlimited Inc                                                   2470 NW 151st Str                                                   Miami Gardens      FL           33054
 Miami Prestige Body Shop Corp                                               12525 SW 130th St                                                   Miami              FL           33186
 Miami Sound And Protection                                                  16035 NW 57th Ave                                                   Miami Lakes        FL           33014
 Miami Transport Inc                                                         350 West 35 St                                                      Hialeah            FL           33012
 Miami Vending Machines                                                      9775 Darlington Place                                               Cooper City        FL           33328
 Miami-Dade Clerk Of Court                    Civil Division                 73 West Flagler Street                                              Miami              FL           33130
 Miami-Dade Clerk Of The Court                                               PO Box 19321                                                        Miami              FL           33101-9321
 Miami-Dade County                                                           Dept Of Regulatory/Economic Resourc                                 Miami              FL           33175
 Miami-Dade County                            Miami Dade Derm-Permit Renewal PO Box 863532                                                       Orlando            FL           32886-3532
 Miami-Dade County Clerk Of Courts                                           73 W Flagler Street                                                 Miami              FL           33130
 Miami-Dade County Tax Collector                                             PO Box 13701                                                        Miami              FL           33101
 Miami-Dade County Zoning Permits                                            11805 SW 26th Street                                                Miami              FL           33174
 Miami-Dade Fire Rescue                       Mdfrd Finance Bureau           9300 NW 41st Street                                                 Doral              FL           33178-2424
 Miami-Dade Police Department                 False Alarm Enforcement Unit   9105 NW 25th Street                                                 Miami              FL           33172
 Miami-Dade Police Dept Off-Duty Unit                                        9105 NW 25 Street                                                   Doral              FL           33172
 Miami-Dade Public Works And Waste Management
 Miami-Dade Tax Collector                                                    200 NW 2nd Avenue                                                   Miami              FL           33128
 Michael A Kaufman P A                                                       1655 Palm Beach Lakes Blvd                                          West Palm Beach    FL           33401
 Michael Auto Transport System LLC                                           6030 NW 186 Street                                                  Hialeah            FL           33015
 Michael Bennett                                                             Address on File
 Michael Clarke LLC                           Gravity It Resources           6451 N Federal Hwy - Ste 410                                        Ft Lauderdale      FL           33308
 Michael Haggerty                                                            Address on File
 Michael, Seth                                                               Address on File
 Michaels Auto Exchange                                                      9250 Belvedere Road                                                 Royal Palm Beach   FL           33411
 Michael's Cargo Corp                                                        13211 SW 251st Lane                                                 Homestead          FL           33032



Off Lease Only LLC, et al.                                                                                                                                                                    Page 95 of 155
                                                           Case 23-11389-CTG           Doc 1-1         Filed 09/07/23   Page 96 of 155
                                                                                             Creditor Matrix
                                                                                           as of September 6, 2023
                    Creditor Name                     Attention                   Address 1                 Address 2    Address 3              City         State       Zip       Country
 Michaels Excellent Transportaiton                                  13510 SW 136 Terr                                                Miami              FL           33186
 Michaelson, Steven                                                 Address on File
 Michelson's Trophies                                               14730 NW 7th Ave                                                 Miami              FL           33168
 Michigan Auto Title Service Inc.                                   300 Church St                                                    Mt. Clemens        MI           48043
 Michigan Auto Transport Inc                                        3411 SW 49th Way                                                 Davie              FL           33314
 Mickler, Darryl Keith                                              Address on File
 Microsoft                                                          PO Box 842103                                                    Dallas             TX           75284-2103
 Microsoft Corporation                                              One Microsoft Way                                                Redmond            WA           98052
 Microsoft Online, Inc                                              PO Box 847543                                                    Dallas             TX           75284-7543
 Mid Land Movers Inc.                                               7882 Grand Canal Dr                                              Miami              FL           33144
 Midas Auto Repairs                                                 9825 S Orange Blossom Trl                                        Orlando            FL           32837-8917
 Midas Auto Service Center                                          2936 N State Road 7                                              Margate            FL           33063-5730
 Midas Auto Service Experts                                         2253 N Military Trail                                            West Palm Beach    FL           33409
 Midas Auto Service Experts                                         3855 S Military Trail                                            Greenacres         FL           33463
 Middleton, Jessica M                                               Address on File
 Midland Radio Corporation                                          5900 Parretta Drive                                              Kansas City        MO           64120
 Midnight Auto Transport LLC                                        530 Unruh Ave                                                    Phila              PA           19111
 Midnight Express Towing & Recovery Inc.                            5495 NW 72nd Avenue                                              Miami              FL           33166
 Midtown Towing                                                     6230 W 21st Street                                               Hialeah            FL           33016
 Midway Ford                                                        8155 W Flagler Street                                            Miami              FL           33144
 Midwest Auto Movers Inc                                            901 E Cleveland St                                               Marshfield         WI           54449
 Midwest Carrier System Inc                                         822 Foster Ave                                                   Bensenville        IL           60106
 Midwest Muscle LLC                                                 5019 S Cloverdale Ln                                             Battlefield        MO           65619
 Mig Express Inc                                                    4400 Chasewood Drive                                             Jacksonville       FL           32225
 Migan Transport Inc                                                4003 Longworth Loop                                              Kissimmee          FL           34744
 Mik Enterprises                                                    9576 Marsh Wren St Apt 201                                       Lake Worth         FL           33467
 Mike WiLLCox's Company
 Mikelson & Sons Transport LLC                                      6223 NW Kukui Ct                                                 Port St Lucie      FL           34983
 Milan Trucking Corp                                                8890 SW 36th Street                                              Miami              FL           33165
 Miles Auto Trans & Towing Inc                                      15757 Pines Blvd Suite #165                                      Pembroke Pines     FL           33027
 Milestone Motors LLC                      Fernando Osorio          530 Business Park Way Bay 2                                      Royal Palm Beach   FL           33411
 Milestone Towing & Transporting                                    PO Box 3732                                                      Gaithersburg       MD           20885
 Milewski Transport                                                 119 River Rd                                                     Flanders           NJ           07836
 Milian, Jonathan                                                   Address on File
 Milian, Yeney                                                      Address on File
 Millan Transport LLC                                               560 Swallowtail Dr                                               Hains City         FL           33844
 Millennium Group Inc Of Il                                         260 Cortland Avenue                                              Lombard            IL
 Millennium Group Inc Of Il                                         1333 Timber Drive                                                Elgin              IL           60123
 Miller Electric Company                                            PO Box 1799                                                      Jacksonville       FL           32201-1799
 Miller, Dannetta Ava                                               Address on File
 Miller, Shane Gene                                                 Address on File
 Milli Auto Transport LLC                                           20515 E Country Club Drive                                       Miami              FL           33180
 Millionaire Auto Transport                                         5944 Coral Ridge Dr #120                                         Coral Springs      FL           33076
 Millos Auto Transport LLC                                          3641 21st Ave Sw                                                 Naples             FL           34117
 Millz Auto Carriers                                                2116 Congress Lane                                               Saint Cloud        FL           34769
 Milner Document Products                  Payoff Checks            PO Box 310590                                                    Des Moines         IA           50331-0590
 Milner Document Products Inc                                       PO Box 105710                                                    Atlanta            GA           30348-5710
 Milner Inc                                                         PO Box 923197                                                    Norcross           GA           30010-3197
 Milner Inc                                                         PO Box 41602                                                     Philadelphia       PA           19101-1062
 Milton, Sonia Denise                                               Address on File
 Mind Coding, Inc                                                   6586 W Atlantic Ave #1033                                        Delray Beach       FL           33446
 Mindpoint Design                                                   710 Marple Dr                                                    Wesst Chester      PA           19382
 Miner, Ltd                                                         PO Box 953381                                                    St. Louis          MO           63195
 Mini Mania                                                         870 Gold Flat Rd                                                 Nevada City        CA           95959-3200
 Minor, Shania M                                                    Address on File
 Minott Cole, Sada Shanice                                          Address on File
 Miolcar LLC                                                        13730 NW 6th Ct                                                  North Miami        FL           33168
 Mirabal Auto Sale, Corp
 Mirabal Salvia, Yeison                                             Address on File
 Mirabal, Pablo Antonio                                             Address on File
 Miragaya Mendez, Frank                                             Address on File
 Miranda Equipment & Contracting Inc                                549 Meeker Ave                                                   Brooklyn           NY           11222



Off Lease Only LLC, et al.                                                                                                                                                        Page 96 of 155
                                                  Case 23-11389-CTG                  Doc 1-1         Filed 09/07/23   Page 97 of 155
                                                                                           Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name               Attention                        Address 1                Address 2    Address 3            City           State       Zip       Country
 Miranda Equipment Service Inc                                   12434 Scottish Pine Lane                                          Clermont           FL           34711
 Miranda Express                                                 3 Westport Road                                                   Worcester          MA           01605
 Miranda Martinez, Jeison Rodolfo                                Address on File
 Miranda's Tire Inc.                                             2508 Oleander Blvd                                                Fort Pierce        FL           34983
 Mirza, Muhammad Sheheryar                                       Address on File
 Misc                                                            3531 Lake Worth Road                                              Lake Worth         FL
 Mission Towing Trans                                            2730 Devonwood Avenue                                             Miramar            FL           33025
 Mitchell, Candace                                               Address on File
 Mitchell, Eddie Lenor                                           Address on File
 Mitchell, Kayann Marie                                          Address on File
 Mitten Express Inc                                              20111 Church Rd                                                   Howard City        MI           49329
 Mj Parker Trucking LLC                                          1955 W Baseline Rd                                                Mesa               AZ           85202
 Mjb Trucking                                                    5045 Lake Arlington Road                                          Fort Worth         TX           76119
 Mjm Auto Transport                                              4906 E Chardonnay Drive                                           Milton             WI           53563
 Mk Transport Inc                                                3416 Beechcraft Dr                                                Alexandria         VA           22306
 Mk Transportation Inc.                                          141 Empire St                                                     Chicopee           MA           01013
 Mk Trucking Rental LLC                                          96 Woodland Ave                                                   Kearny             NJ           07032
 Mkat Services LLC                                               2870 John Street                                                  Easton             PA           18045
 Mkb Cleaning Services LLC                                       10805 NW 55th Street                                              Coral Springs      FL           33076
 Mkc Logistics, Inc                                              406 Rushmore Ave S                                                Lehigh Acres       FL           33936
 Mkj Transportation LLC                                          8775 Park Blvd                                                    Miami              FL           33172
 Ml Auto Solutions LLC                                           10669 NW 123 St Road                                              Medley             FL           33178
 Ml Auto Solutions LLC                                           13325 SW 282nd St                                                 Homestead          FL           33033
 Ml Transportation Service Corp                                  10227 Thorngrove Pike                                             Stawberry Plains   TN           37871
 Ml Transportation Services, LLC                                 12334 SW 209th Street                                             Miami              FL           33177
 Mla Auto Transport                                              PO Box 2288                                                       Edinburg           TX           78540
 Mld High Quality                                                2399 Dongola St                                                   North Port         FL           34291
 Mlg Auto Transport Inc                                          997 E Tulip Way                                                   Palatine           IL           60074
 Mlg Auto Transport Inc                                          3700 Teal Ave                                                     Mcallen            TX           78504
 Mlh Transporting Services LLC                                   212 Loudon Hill Drive                                             Warner Robins      GA           31088
 M-Line Trucking Inc.                                            5777 Madison Avenue                                               Sacramento         CA           95841
 Mls Transport LLC                                               1025 Courtland Dr                                                 Buffalo Grove      IL           60089
 Mma Capital LLC                                                 5764 North Orange Blossom Trail                                   Orlando            FL           32810
 Mmar Transport                                                  3915 Reading Rd                                                   Cincinnati         OH           45229
 Mmd Transport Corp                                              5702 N 47th St                                                    Tampa              FL           33610
 Mmg Transport LLC                                               1770 Waters Ferry Drive                                           Lawrenceville      GA           30043
 Mmi Transport, LLC                                              11303 Cocoa Beach Drive                                           Riverview          FL           33569
 Mms Trucking Service LLC                                        183 Bluejack Lane                                                 Saint Augustine    FL           32095
 Mnj Corporation                                                 4340 Welter Avenue                                                Las Vegas          NV           89104
 Mns Auto Transport                                              17142 SW 137th Ct                                                 Miami              fl           33177
 Mob Auto Transport                                              2703 Adam Street                                                  Hollywood          FL           33020
 Mobile Modular Management Corp                                  PO Box 45043                                                      San Francisco      CA           94145-5043
 Mobile Taxi Media, LLC                                          PO Box 950                                                        Ft Lauderdale      FL           33302
 Mobile Truck Shop                   Houser And Associates Inc   509 S Chickasaw Trail                                             Orlando            FL           32825
 Mobility Transport LLC                                          291 Windham Circle                                                Yorkville          IL           60560
 Modern Technologies                                             PO Box 1852                                                       Bristol            CT           06011-1852
 Modifications Unlimited Inc                                     7673 Hooper Rd Ste 9                                              West Palm Beach    FL           33411-3818
 Modular Space Corporation                                       12603 Collections Center Drive                                    Chicago            IL           60693-0126
 Modyn Inc                           Mykola Hodynchuk            1412 Carolina Ct Ste 102                                          Schaumburg         IL           60193
 Mof Logistics LLC                                               215 Horizons Street                                               Eutaville          SC           29048
 Mojica's Transport & Services Inc                               3286 Fairfield Drive                                              Kissimmee          FL           34743
 Mojio, Inc.                                                     9th Floor-1080 Howe Street                                        Vancouver          BC           V6Z 2T1    Canada
 Molina & Son Transport Corp                                     202 E Bougainvillea Rd                                            Lehigh Acres       FL           33936
 Molina Lopez, Joshua Yahel                                      Address on File
 Moline, Guesly                                                  Address on File
 Momentum Bmw                                                    9570 Southwest Fwy                                                Houston            TX           77074
 Mompeller, Sophia                                               Address on File
 Monah, Marlyn Cassandra                                         Address on File
 Monarch Car Shipping Corp                                       6053 Bayview Dr                                                   Ft Lauderdale      FL           33308
 Monell, Jeremy Steven                                           Address on File
 Monroad LLC                                                     23135 Samuel Street                                               Torrance           CA           90505
 Monroe Auto Tran                                                169 Little Britain Rd                                             Newburgh           NY           12550



Off Lease Only LLC, et al.                                                                                                                                                      Page 97 of 155
                                      Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 98 of 155
                                                                              Creditor Matrix
                                                                         as of September 6, 2023
                    Creditor Name    Attention                 Address 1                  Address 2     Address 3            City        State       Zip    Country
 Monroe County Taz Commissioner                  PO Box 357                                                         Forsyth         GA           31029
 Monsta Transport LLC                            691 Washburn Rd                                                    Melbourne       FL           32934
 Monster Auto Recovery                           2605 W 6 Ave                                                       Hialeah         FL           33015
 Montalvo Osorio, Felix J                        Address on File
 Montanez, William E                             Address on File
 Montero Herrera, Danielson                      Address on File
 Montero-Lazcano, Lionel Gerald                  Address on File
 Montes Molina, Sergio Yasser                    Address on File
 Montes Puron, Sergio                            Address on File
 Montes, Karen                                   Address on File
 Monteys Enterprises, Inc                        28036 SW 166th Court                                               Homestead       FL           33033
 Montgomery, Delaina                             Address on File
 Monticello Auto Transport                       4891 Heritage Park Blvd                                            Tallahassee     FL           32311
 Montoya, Anthony Rodrigo                        Address on File
 Montpeirous, Jonathan I                         Address on File
 Montway Auto Carriers                           4740 N Cumberland Ave                                              Chicago         IL           60656
 Monus LLC                                       75 Pine Stone                                                      Irvine          CA           92604
 Monway Express Inc                              1109 North Greenfield Lane                                         Mt Prospect     IL           60056
 Monzon Auto Sales                               4245 East 8th Ave                                                  Hialeah         FL           33013
 Moon Transfer LLC                               10305 SW 40 Terraced                                               Miami           FL           33165
 Moonlight Trucking Inc.                         3117 Crescent St 3D                                                Astoria         NY           11106
 Moonstar Trucking                               15 Madison Dr                                                      Lindenhurst     NY           11757
 Moore Electric Company Inc                      8614 Cherry Lake Road                                              Groveland       FL           34736
 Moore Transportation Of Tulsa LLC               661 N Plano Rd#319                                                 Richardson      TX           75081
 Moore, Charles C                                Address on File
 Moore, James B                                  Address on File
 Moore, Justin Ross                              Address on File
 Moore, Kenieca Koehn                            Address on File
 Moore, Kenton Fillington                        Address on File
 Moore, Quentin Trezin                           Address on File
 Moore, Rakia                                    Address on File
 Moore, Ronald Lamont                            Address on File
 Moore, Scott Francis                            Address on File
 Mora, Gabriel Josue                             Address on File
 Moraima Tampa LLC                               4401 Idlewild Ave W                                                Tampa           FL           33614
 Morales Cruz, Obryan                            Address on File
 Morales Garcia, Alejandro                       Address on File
 Morales Lebron, Jose A                          Address on File
 Morales Morales, Agustin                        Address on File
 Morales Ortiz, Ivia Marisol                     Address on File
 Morales Sanders, Priscilla                      Address on File
 Morales, Carlos M                               Address on File
 Morales, Heidi                                  Address on File
 Morales, Paula Patricia                         Address on File
 Morales, Sebastian                              Address on File
 Morales, Yailyn Caridad                         Address on File
 Moran, Miguel A                                 Address on File
 Moravec, Joseph Carl                            Address on File
 Moree, Alison Marie                             Address on File
 Moreno Plus Transport                           8608 Huron Ct Unit 58                                              Tampa           FL           33614
 Moreno, Cloe Yasenia                            Address on File
 Morfi Transportation Inc                        10337 Belfry Cir                                                   Orlando         FL           32832
 Morgan & Morgan, P.A.                           PO Box 622289                                                      Orlando         FL           32862
 Morgan, Mark Anthony                            Address on File
 Moriano Ospina, Alexis H                        Address on File
 Mormile Jr, Ernest Patrick                      Address on File
 Morning Star Transport                          720 Fox Road                                                       Knoxville       TN           37922
 Morning Star Transport LLC                      19 Windsong Drive                                                  Fairview        NC           28730
 Morning Star Transport LLC                      PO Box 332                                                         Fairview        NC           28730
 Moroi Corporation                               1054 Driftwood Ct                                                  Wheeling        IL           60090
 Moron, Rebecca                                  Address on File
 Morris, Allison Chelsea                         Address on File



Off Lease Only LLC, et al.                                                                                                                                 Page 98 of 155
                                                                Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 99 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                           Attention                  Address 1                      Address 2    Address 3               City         State       Zip       Country
 Morris, Brandon Juwa                                                    Address on File
 Morris, Vickie Barbour                                                  Address on File
 Morrison Security Corp                                                  12334 S Keeler Ave                                                   Alsip               IL           60803
 Morrison Transport Limited                                              PO Box 221                                                           Labella             PA           15450
 Morrison, AbbyGayle Sasha                                               Address on File
 Morrison, Mark A                                                        Address on File
 Morton Ranch Junior High Band
 Mosaic Sales Solutions Us Operating Co. LLC                             PO Box 841678                                                        Dallas              TX           75284-1678
 Moseley Advertising Inc                                                 11401 W Angle Rd                                                     Ft Pierce           FL           34945
 Mossy Nissan                                                            12150 Katy Freeway                                                   Houston             TX           77079
 Mota, Marlene                                                           Address on File
 Motaduval Transport Inc                                                 205 SW 75th St Apt 8A                                                Gainesville         FL           32607
 Motion Auto Carriers LLC                                                PO Box16430                                                          Portland            OR           97292
 Motivated Transport Inc                                                 6409 Fayetteville Street                                             Durham              NC           27713
 Motola, Suzanne Renee                                                   Address on File
 Motors Insurance Corp.
 Motorway Trucking LLC                                                   710 Saint Michael Ln                                                 Altamonte Springs   FL           32714
 Moudden, Adam Amine                                                     Address on File
 Mountain America Credit Union                                           801 W Highway 40                                                     West Jordan         UT           84084
 Move Cars LLC                                                           356 Stonewall Clarkco Rd                                             Stonewall           MS           39363
 Moving Kingdom                                                          3131 NE 1st Ave #2812                                                Miami               FL           33137
 Movitrans Corp                                                          15452 SW 118th Terrace                                               Miami               FL           33196
 Moxie Auto Transport                                                    9772 Lullaby Lane                                                    Anaheim             CA           92804
 Moy Auto Transport                                                      1790 Abby Rd Apt 208B                                                West Palm Beach     FL           33415
 Moya, Joshua Ramon                                                      Address on File
 Moyer, Bryan                                                            Address on File
 Moysa Transport LLC                                                     6819 Country Cross                                                   San Antonio         TX           78240
 Mp Auto Transport LLC                                                   2503 N End Street                                                    Orlando             FL           32837
 Mp Car Transport Inc                                                    21346 SW 112 Ave Apt208                                              Cutler Bay          FL           33189
 Mp Carriers Inc                                                         41 NW 76th Avenue                                                    Miami               FL           33126
 Mp Logistics                                                            12625 Old Plantation Lane                                            Orlando             FL           32824
 Mph Express LLC                                                         2665 Hubbard Street Floor 1                                          Brooklyn            NY           11235
 Mq Transportation Co                                                    10522 Maryam Trace                                                   Johns Creek         GA           30022
 Mr Appliance Of Orlando                                                 3580 Aloma Ave #11                                                   Winter Park         FL           32792
 Mr D's Auto Sales And Repair                                            20 NW 9th Ave                                                        Lauderhill          FL           33311
 Mr Flatbed Auto Logistics Inc                 Mr Flatbed Inc            731 Tmothy Court                                                     East Dundee         IL           60118
 Mr Lucky Auto Transport LLC                                             3364 NW 181st Street                                                 Miami Gardens       FL           33056
 Mr Specialist Parts                                                     4101 NW 27th Ave                                                     Miami               FL           33142
 Mr. Bumper Usa, LLC                                                     2500 Blowing Breeze Ave                                              Kissimmee           FL           34744
 Mr.Scratch Repair LLC                                                   3338 Collin Drive                                                    West Palm Beach     FL           33406
 Mray Auto Transport                                                     438 Jacks Road                                                       New Market          AL           35761
 Mrossi Inc                                    Car Transport 4 U         54 Farm Rd                                                           Marlboro            MA           01752
 Ms Transport                                                            PO Box 4732                                                          Deerfield Beach     FL           33442
 Msj Towing                                                              5509 Rogue Ct                                                        White Marsh         MD           21162
 Msouty, Hassan Ahmad                                                    Address on File
 Mt Express Inc                                                          10 Technology Drive                                                  Hudson              MA           01749
 Mtm Auto Transport Inc                                                  PO Box 137339                                                        Clermont            FL           34713
 Mtriple Services LLC                                                    3228 SW 2nd Street                                                   Miami               FL           33135
 Mts Transports LLC                                                      610 Trace Cir Apt 105                                                Deerfield Beach     FL           33441
 Mughal, Farrukh                                                         Address on File
 Muhammad, Taqee K                                                       Address on File
 Muhsen Auto Transport LLC                                               184 Riverbend Apt 103                                                Altmonte Springs    FL           32714
 Mule Train Express                                                      638 A East Brushy Valley Rd                                          Powell              TN           37849
 Mulet, Eduardo Alejandro                                                Address on File
 Multi Taskers LLC/Mt Auto Group                                         104 Golf Course                                                      Crescent City       FL           32112
 Multi Transport Inc                                                     8795 SW 36th St                                                      Miami               FL           33165
 Multi Transport Services LLC                                            3048 SW 141 Avenue                                                   Miramar             FL           33027
 Munet Transport LLC                                                     7600 Perugia Avenue                                                  Orlando             FL           32819
 Municipal Employees Credit Union              Mecu                      301 E Baltimore St                                                   Baltimore           MD           21202
 Munoz Juarez, Jacobo                                                    Address on File
 Munoz, Claudio Orlando                                                  Address on File
 Munroe, Azya Breyanna                                                   Address on File



Off Lease Only LLC, et al.                                                                                                                                                                  Page 99 of 155
                                                     Case 23-11389-CTG           Doc 1-1          Filed 09/07/23    Page 100 of 155
                                                                                           Creditor Matrix
                                                                                      as of September 6, 2023
                   Creditor Name                   Attention                 Address 1                  Address 2    Address 3              City        State       Zip        Country
 Murk's Trucking                                               361 Glasgow St                                                    Aberdeen          NC           28315
 Murphy, John Michael                                          Address on File
 Murphy, Rachel Clare                                          Address on File
 Murray, Wesley Allen                                          Address on File
 Murray, Bill                                                  Address on File
 Muscle Auto Transport LLC                                     2127 E Joseph Ave                                                 Spokane           WA           99208
 Muscogee County Tax Commissioner                              3111 Citizens Way                                                 Columbus          GA           31906
 Muslu, Atakan                                                 Address on File
 Musteata, Tatiana I                                           Address on File
 Mutual Of Omaha                                               Payment Processing Center                                         Omaha             NE           68103-2147
 Muvdi, Kenia Mileydi                                          Address on File
 Muzamel, Larry                                                Address on File
 Muzdybay, Askar                                               Address on File
 Mv Auto Transport Inc                                         13272 SW 251 Ln                                                   Homestead         FL           33032
 Mva                                                           6601 Ritchie Highway Ne                                           Glen Burnie       MD           21062
 Mvg Auto Shipping Inc                                         2770 W 33 Suite 420                                               Brooklyn          NY           11224
 Mvm Engineering & Construction Inc
 Mvp Auto Carriers LLC                                         PO Box 451261                                                     Ft Lauderdale     FL           33345
 Mvr Transport                        Meybel Valle             5227 E Fm 1518 N                                                  Saint Hedwig      TX           78152
 Mvr Transport LLC                                             1803 Gault Road                                                   Houston           TX           77039
 Mvr Transport LLC                                             9597 Jones Road                                                   Houston           TX           77065
 Mvr Transport Services Inc                                    1114 Capp Ave                                                     Lehigh Acres      FL           33971
 Mw Cars Transport                                             14198 NW 88th Pl                                                  Miami Lakes       FL           33018
 Mww Transport Inc                                             9627 SW 36 Street                                                 Miami             FL           33165
 My & Ds Transport                                             496 Yearling Cove Loop                                            Apopka            FL           32703
 My Airbags                                                    461 Elena Vista                                                   Winder            GA           30680
 My Auto Transport LLC                                         740 Durham Road                                                   Newtown           PA           18940
 My Car Auto Transport Inc                                     8300 W Flagler Street                                             Miami             FL           33144
 My Car Transport LLC                                          1126 Albion Street Nw                                             Palm Bay          FL           32907
 My Central Auction                                            6325 Peachtree-Dunwoody Rd Ne                                     Atlanta           GA           30328
 My Used Car Buddy                                             11924 Forest Hill Blvd             Ste 10A-206                    Wellington        FL           33414
 Mya V Transport Corp                                          19530 NW 38th Avenue                                              Miami Gardens     FL           33055
 Myakris Express Inc                                           1549 Oak Hill Trails                                              Kissimmee         FL           34747
 Myby Inc                                                      Pobox 6801                                                        Vernon Hills      IL           60061
 Myc Auto Transport Corp                                       26111 SW 133rd Court                                              Homestead         FL           33032
 Myers Auto Group LLC                 Kia Delray               2255 South Federal Highway                                        Delray Beach      FL           33483
 Myers Tire Supply                                             5146 Le Tourneau Circle                                           Tampa             FL           33610
 Myers Tire Supply                                             24377 Network Place                                               Chicago           IL           60673-1243
 Myers Trucking Company Inc                                    1785 Neighborhood Walk                                            Mcdonough         GA           30252
 Myers, Donald Gary                                            Address on File
 Myers, Ricardo Everton                                        Address on File
 Mystics Auto Transport - Fl Only                              4333 Kandra Ct                                                    Belle Isles       FL           32812
 Mystics Transport LLC                                         122 White Marsh Cirlce                                            Orlando           FL           32824
 Myt Transport LLC                                             PO Box 900316                                                     Homestead         FL           33090
 Mytransport LLC                                               3209 Wales Avenue                                                 Parma             OH           44134
 Mz Auto Express LLC                                           1802 W Maryland Avenue                                            Phoenix           AZ           85015
 Mz Transport Services Corp                                    10218 NW 125 St                                                   Hialeah Gardens   FL           33018
 Mz Usa Quality Transport Inc                                  11980 SW 43rd St                                                  Miami             FL           33175
 N Time Transport LLC                                          3313 Jib Lane                                                     Detroit           MI           48207
 N&L Usa Car Transport Corp.                                   1271 West 29 Street                                               Hialeah           FL           33012
 N&N Transportation Services                                   449 SW Homeland Road                                              Port St. Lucie    FL           34953
 N&V Legacy Carriers LLC                                       2602 Coldstream Ct                                                Kissimmee         FL           34743
 N&Y Transport Services Corp                                   656 SW 11 St                                                      Florida City      FL           33034
 Na An Al Transportation Corp                                  13337 SW 43 Lane                                                  Miami             FL           33175
 Na Transport                                                  13821 Ash Way                                                     Lynnwood          WA           98087
 Nabaat LLC                                                    11903 Hickory Creek Drive                                         Fredericksburg    VA           22407
 Nada Used Car Guide                                           8400 West Park Drive                                              Mclean            VA           22102
 Nae Transport Inc                                             2100- B Davis Blvd                                                Naples            FL           34104
 Nair Fast Shipping Corp                                       7771 NW 7th St                                                    Miami             FL           33126
 Nak Group Inc                                                 738 E Dundee Rd Unit 258                                          Palatine          IL           60074
 Nala Industries Inc                                           11 Walker Driver                                                  Upton             MA           01568
 Nalbandian Transportation LLC                                 4419 South Kirkman Rd Apt 104                                     Orlando           FL           32811



Off Lease Only LLC, et al.                                                                                                                                                   Page 100 of 155
                                                           Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23    Page 101 of 155
                                                                                                        Creditor Matrix
                                                                                                      as of September 6, 2023
                    Creditor Name                         Attention                        Address 1                   Address 2    Address 3              City           State       Zip        Country
 Nali Transport LLC                                                          248 5th Ave Sw                                                     Pacific              WA           98047
 Nan & Pop Auto Treansport Inc.                                              6408 Brandywine Dr N                                               Margate              FL           33063
 Nandin Rental Towing Inc. - Fl Only                                         921 Parker Forbes Lane                                             Plant City           FL           33566
 Napa Auto Parts                                                             9250 NW 58th Street                                                Miami                FL           33178
 Napa Auto Parts                                                             PO Box 2047                                                        Norcross             GA           30091
 Naples Dodge Chrysler Jeep                                                  6381 Airport Pulling Rd N                                          Naples               FL           34109-2015
 Naples Motorsports                                                          1250 Airport Rd South                                              Naples               FL           34104
 Napleton Northlake Kia                                                      3626 Northlake Blvd                                                Palm Beach Gardens   FL           33403-1628
 Napleton's Hyundai                                                          2301 Okeechobee Blvd                                               West Palm Beach      FL           33409
 Napleton's Northlake Auto Park, Inc.                                        3701 Northlake Blvd                                                Lake Park            FL           33403
 Napleton's Palm Beach Acura                                                 6870 Okeechobee Blvd                                               West Palm Beach      FL           33411
 Napleton's South Orlando                     Chrysler/Jeep/Dodge            1460 E Osceola Pkway                                               Kissimmee            FL           34744
 Napoles, Aliet                                                              Address on File
 Nappi, Anthony Nicholas                                                     Address on File
 Nappi, Kristopher Matthew                                                   Address on File
 Narine, Eldean Grant                                                        Address on File
 Natal Olivo, Jeanellie Marie                                                Address on File
 Natal Perez, Luis Miguel                                                    Address on File
 Nathan Transport LLC                                                        264 Amberleigh Drive                                               Silver Springs       MD           20905
 Nathans Transport Solutions Inc                                             121 Perry Ave                                                      Lawrence             MA           01841
 Nation Auto Glass Inc                                                       9156 NW 112 Street                                                 Hialeah Gardens      FL           33018
 Nation Safe Drivers                                                         800 Yamato Road                                                    Boca Raton           FL           33431
 National Assoc Of Dealer Counsel                                            1800 M Street Nw                                                   Washington           DC           20036
 National Auto Lenders                        Attn: Payoff Dept              14645 NW 77th Ave #203                                             Hialeah              FL           33014
 National Auto Movers LLC                                                    105 Christina Landing Dr                                           Wilmington           DE           19801
 National Auto Moving Inc                                                    9101 SW 11th St                                                    Miami                FL           33174
 National Auto Parts Warehouse                                               11150 NW 32 Ave                                                    Miami                FL           33167
 National Car Carrier Inc                                                    3301 NE 5th Avenue #410                                            Miami                FL           33137
 National Construction Rentals, Inc                                          PO Box 841461                                                      Los Angeles          CA           90084-1461
 National Dynamic Transport LLC                                              815 North Homestead Blvd            Ste 248                        Homestead            FL           33030
 National Event Publication                                                  4908 Creekside Dr                                                  Clearwater           FL           33760
 National Freight Shippers                    Dba Of Impact Auto Parts LLC   1254 Industrial Parkway N                                          Brunswick            OH           44212
 National General                                                            PO Box 3199                                                        Winston-Salem        NC           27102-3199
 National Haulers                                                            112 Brairleaf Cir                                                  Walterboro           SC           29488
 National Jets, Inc.                                                         3495 SW 9th Ave                                                    Ft Lauderdale        FL           33315
 National Office Liquidators, LLC                                            1502 E Hadley St #150                                              Phoenix              AZ           85034
 National Sealing Co                                                         2269 S University Dr                                               Ft Lauderdale        FL           33324
 National Tire Wholesale                                                     PO Box 205535                                                      Dallas               TX           75320-5535
 National Transmissions & Auto Care Centers   Brito Automotive Group LLC     502 NE 3rd Street                                                  Boynton Beach        FL           33435
 National Transport & Logistics Inc                                          14851 State Rd 52 Suite 130                                        Hudson               FL           34669
 National Transport LLC                                                      2122 184th St Ne                                                   Arlington            WA           98223
 National Transport Services                                                 3822 Arc St                                                        Houston              TX           77063
 Nations Premier Services                                                    4400 Washington Ave                                                Evansville           IN           47714
 Nationwide Auto Carrier LLC                                                 255 Primera Blvd Ste 160                                           Lake Mary            FL           32746
 Nationwide Auto Hauler                                                      4105 Old Colony Rd                                                 Mulberry             FL           33860
 Nationwide Cars Carrier Inc                                                 8545 SW 4th St                                                     Miami                FL           33144
 Nationwide Express Carrier                                                  9772 SW 24th Street                                                Miami                FL           33165
 Nationwide Supply                                                           PO Box 44651                                                       Eden Prairie         MN           55344
 Native Roofing Enterprises, Inc                                             2041 SW 70th Ave                                                   Davie                FL           33317
 Natures Classic Distribution, LLC                                           740 W 18th Street                                                  Hialeah              FL           33010
 Navarro, Michael M                                                          Address on File
 Navi Transport LLC                                                          3210 NW 94 Way                                                     Sunrise              FL           33351
 Navy Federal Credit Union                                                   PO Box 25109                                                       Lehigh Valley        PA           18002
 Naz Transport LLC - Fl Only                                                 2833 Autumn Breeze Way                                             Kissimmee            FL           34744
 Nazaire, Genide                                                             Address on File
 Nazien, Latricia                                                            Address on File
 Nazon, Lionel                                                               Address on File
 Ncci Holdings, Inc.                                                         12218 Collection Center Drive                                      Chicago              IL           60693
 Nce Transport LLC                                                           8421 Square Lake Drive                                             Palm Beach Gardens   FL           33418
 Nd Star Transport LLC                                                       1029 North Rd #143                                                 Westfield            MA           01085-9711
 Nedic, Vladimir M                                                           Address on File
 Neeld Paper & Supplies                                                      PO Box 10883                                                       West Palm Beach      FL           33419



Off Lease Only LLC, et al.                                                                                                                                                                     Page 101 of 155
                                                           Case 23-11389-CTG              Doc 1-1          Filed 09/07/23    Page 102 of 155
                                                                                                  Creditor Matrix
                                                                                                as of September 6, 2023
                   Creditor Name                          Attention                  Address 1                   Address 2    Address 3              City          State       Zip        Country
 Negron Gonzalez, Felix Luis                                          Address on File
 Neidorf, Paul Andrew                                                 Address on File
 Neil Flaxman Mediator                                                Brickell City Tower Suite 3100                                      Miami               FL           33130
 Nelly Auto Transport Inc                                             4110 Sanseviera Ln                                                  Orlando             FL           32822
 Nelson Zelaya                                                        Address on File
 Nelson, Angie Marie                                                  Address on File
 Nelson, David                                                        Address on File
 Nelson, Dwayne Jordan                                                Address on File
 Nelson, Mark                                                         Address on File
 Nely Auto Transport Inc                                              1750 SW Beverly Terra                                               Stuart              FL           34997
 Nemours Fund For Childern's Health                                   6900 Tavistock Lakes Blvd                                           Orlando             FL           32827
 Nena LLC                                                             4550 N Major Dr Aprt 623                                            Beaumont            TX           77713
 Nesbeth, Blake Dorlon                                                Address on File
 Neshcheret, Anatoly                                                  Address on File
 Nesmith Logistics LLC                                                1962 Hyw 76 East                                                    Marion              SC           29571
 Net Auto Inc                                                         881 Hwy 49 South                                                    Richland            MS           39218
 Nethery, William Dale                                                Address on File
 Netwell Noise Control                                                18525 37th Avenue North                                             Minneapolis         MN           55446
 Nevada Auto Sales                                                    2773 Louisville Rd                                                  Harrodsburg         KY           40330
 Never Satisfied Transport LLC                                        4670 Graff Road                                                     Belding             MI           48809
 New Ark Technology LLC                                               5487 Courtney Circle                                                Boynton Beach       FL           33472
 New Creative Production Agency
 New Day Logistics Inc.                                               1138 N Germantown Pkwy                                              Cordova             TN           38016
 New England Express Logistics Inc                                    172 Prospect St                                                     Chicopee            MA           01013
 New England Federal Credit Union                                     141 Harvest Lane                                                    Williston           VT           05495
 New Star Auto Transport                                              11609 NW 34th                                                       Vancouver           WA           98685
 New Transportation Services                                          113 Ashton Loop                                                     Laredo              TX           78045
 New Vision Logistics LLC                                             4990 E Sabal Palm Blvd Apt 106                                      Tamarac             FL           33319
 New Way Transportation                                               5400 S Park Terrace Ave 1-105                                       Greenwood Village   CO           80111
 New Ways Auto Transport                                              PO Box 1017                                                         Fort Lauderdale     FL           33302
 Neway LLC                                                            13295 Illinois St Ste 227                                           Carmel              IN           46032
 Newbys Auto Transport                                                PO Box C                                                            Baldwyn             MS           38824
 Newell, Zoe Beverley                                                 Address on File
 Newham Trucking LLC                                                  1765 95th Street                                                    New Richmond        WI           54017
 Newmark Towing Services Co                                           2391 S Tipton Dr                                                    Deltona             FL           32738
 Newsom Oil Company                                                   1702 Atlanta Ave                                                    Orlando             FL           32806
 Newswire Association
 Nex & Co LLC                                  The Transporter        207 Almaden Ct                                                      Winter Spring       FL           32708
 Next Day Inc                                                         2200 S Main St Ste207                                               Lombard             IL           60148
 Next Gen Transportation, Inc                                         16424 SW 84th St                                                    Miami               FL           33193
 Next Generation Power LLC
 Next Level Cuts, LLC                                                 1190 S Congress Ave #102                                            Palm Springs        FL           33406
 Next Level Express Inc                                               3634 Academy Road                                                   Philadelphia        PA           19154
 Nextdayflyers                                                        435 N Midland Ave                                                   Saddle Brook        NJ           07663
 Nextgear Capital                                                     11799 N College Ave                                                 Carmel              IN           46032
 Nexx Level Transport LLC                                             4153 Old Brook Road                                                 Richmond            VA           23227
 Neyra Auto Transport Inc                                             28395 SW 164th Ave                                                  Homestead           FL           33033
 Nfib                                                                 PO Box 305043                                                       Nashville           TN           37230-5043
 Ng Transport LLC                                                     7723 Cecelia Dr                                                     Parma               OH           44134
 Ngo, Trung Quoc                                                      Address on File
 Nguyen Logistics Dba North South Auto Trans                          5452 Grande Palm Circle                                             Delray Beach        FL           33484
 Nguyen, Carol                                                        Address on File
 Nicholas Auto Transport Inc                                          PO Box 2086                                                         Indiantown          FL           34956
 Nickel City Auto Haul Inc                                            16 Jefferson Avenue                                                 Depew               NY           14043
 Nickerson, Katlyn Alexis                                             Address on File
 Nico & J Transportation Inc                                          251 NW 110th St                                                     Miami               FL           33168
 Nicolae, Sebastian Gabriel                                           Address on File
 Nicolas, Carl                                                        Address on File
 Nicolosi, Samuel J                                                   Address on File
 Nielson Hoover & Company Inc                                         8000 Governors Square Blvd                                          Miami Lakes         FL           33016
 Nieves Martinez, Rafael Samuel                                       Address on File
 Nieves Transportation Inc                                            912 Balmoral Pl                                                     Valrico             FL           33594



Off Lease Only LLC, et al.                                                                                                                                                              Page 102 of 155
                                       Case 23-11389-CTG              Doc 1-1         Filed 09/07/23    Page 103 of 155
                                                                              Creditor Matrix
                                                                           as of September 6, 2023
                     Creditor Name     Attention                Address 1                   Address 2    Address 3              City          State       Zip        Country
 Nieves, Erik Gilbert                              Address on File
 Nieves, Zuleyka Marie                             Address on File
 Night And Day Logistics                           16865 NW 84th Ct                                                  Miami Lakes         FL           33016
 Night Train Transport LLC                         5940 Manchester Way                                               Tamarac             FL           33321
 Niki Truck Corp                                   130 Stetson Street                                                Lehigh Acres        FL           33936
 Nisco Incorporated Inc                            616 Hummingbird Lane                                              Delray Beach        FL           33445
 Nissan Of Bradenton                               999 S Washington Ave                                              Saginaw             MI           48601
 Nissan-Infiniti                                   8900 Freeport Parkway                                             Irving              TX           75063-2438
 Nissi Auto Tag & Title Express, Inc               14651 Biscayne Blvd - Pmb352                                      N. Miami Beach      FL           33181
 Nistel Autotransport LLC                          8921 SW 142 Ave Apt 4-21                                          Miami               FL           33186
 Niu Of Florida
 Nj Auto Transport Corp                            92 Foster St                                                      Peabody             MA           01966
 Njn Auto Express Inc                              PO Box 160237                                                     Altamonte Springs   FL           32716
 Nl Auto Transport LLC                             4498 Mays Landing Road                                            Vineland            NJ           08361
 Nmg Transport LLC                                 2300 Saturn Road                                                  Brooksville         FL           34604
 Nml Transport Inc                                 6574 N State Rd 7                                                 Coconut Creek       FL           33073
 No Limit                                          10227 S 86th Court                                                Palos Hills         IL           60465
 No Limit Auto Transport LLC                       3714 Maidencain St                                                Clermont            FL           34714
 Noahs Art Transportation LLC                      9800 Bosque Lane                                                  Miramar             FL           33025
 Nobbe, Tristan Sean                               Address on File
 Noda Transportation Inc                           640 SW 62nd Ave                                                   Miami               FL           33144
 Noda, Jonathan                                    Address on File
 Noel Muffler Shop & Tints                         23-47 Ali Baba Avenue                                             Opa-Locka           FL           33054
 Noel, Claudy                                      Address on File
 Noel, Mark Nigel                                  Address on File
 Noelvi Cabrera                                    Address on File
 Nona Business Center LLC                          10775 Narcoossee Rd Suite 206                                     Orlando             FL           32832
 Nona Glass Services LLC                           6900 Tavistock Lakes Blvd          Suite 400                      Orlando             FL           32827
 Noncent, Julese Elizabeth                         Address on File
 Nonprofits First, Inc                             1818 S Australian Ave - Ste 450                                   West Palm Beach     FL           33409
 Nonstop Transport Cars Inc                        500 N Michigan Ave Ste 600                                        Chicago             IL           60611
 Noonan, Kevin William                             Address on File
 Nord, Luc Sauveur                                 Address on File
 Norman & Company, Inc                             13401 Mccormick Drive                                             Tampa               FL           33626
 Norman & Norman Land Clearing LLC                 24334 Sr 46                                                       Sorrento            FL           32776
 Norris, Earl Rance                                Address on File
 Nor-Tech                                          7941 Mercantile Street                                            North Ft Meyers     FL           33917
 North American Fleet Sales, Inc.                  9393 98th Ave                                                     Largo               FL           33777
 North Diamond Transport LLC                       13104 SW 18Ter                                                    Miami               FL           33175
 North Florida Towing                              14 Whetstone Ln                                                   Palm Coast          FL           32164
 North Ft Lauderdale Subaru                        855 S Federal Highway                                             Pompano Beach       FL           33062
 North Palm Hauling LLC                            4464 Tulane Drive                                                 West Palm Beach     FL           33405
 North Palm Hyundai
 North Star Towing                                 3334 Old Oak Lane                                                 Hollywood           FL           33021
 North Texas Tollway Authority                     PO Box 660244                                                     Dallas              TX           75266-0244
 Northdade Auto Transport Inc                      1358 SW 150th Ave                                                 Miami               FL           33194
 Northern Star Credit Union                        5100 George Washington Hwy                                        Portsmouth          VA           23702
 Northern Tool & Equipment Co                      3303 NW 167th Street                                              Miami               FL           33186
 Northland Insurance
 Northside Imports, Inc.                           370-380 West 7th Rd                                               Hialeah             FL           33014
 Northstar One LLC                                 164-10 119th Avenue                                               Jamaica             NY           11434
 Northwood Power Equipment Inc                     1114 First Nh Turnpike                                            Northwood           NH           03261
 Norvell Painting LLC                              453 Huntington Ave                                                Winter Park         FL           32789
 Nos Enterprises Inc                               28036 SW 166th Court                                              Homestead           FL           33033
 Notarize Inc                                      PO Box 22213                                                      New York            NY           10087-2213
 Notary Public Underwriters Inc                    PO Box 5378                                                       Tallahassee         FL           32314-5378
 Nougzust, Sohel Kamran Daryush                    Address on File
 Novoa Jr., Wilfredo                               Address on File
 Nozoni Logistics LLC                              3012 Central Ave Se                                               Alburquerque        NM           87106
 Nozzle Nolen Inc                                  3975 Coconut Road                                                 Lake Worth          FL           33461
 Nrbjv Transporting LLC                            3020 I Prosperity Church Road                                     Charlotte           NC           28269
 Nsa Auto Transport LLC                            5312 Jacobs Creek Dr                                              Glen Allen          VA           23060



Off Lease Only LLC, et al.                                                                                                                                         Page 103 of 155
                                                             Case 23-11389-CTG                      Doc 1-1          Filed 09/07/23    Page 104 of 155
                                                                                                            Creditor Matrix
                                                                                                          as of September 6, 2023
                   Creditor Name                            Attention                        Address 1                     Address 2    Address 3            City             State       Zip        Country
 Nsr Transport LLC                                                              108001 Legacy Park Drive                                            Houston              TX           77064
 Nt Signs                                                                       704 Bunker Rd                                                       West Palm Beach      FL           33405
 Ntk Auto Glass Service Inc                                                     1515 10th St W                                                      Bradenton            FL           34205
 Nudell Architects                                                              30403 West 13 Mile Road                                             Farmington Hills     MI           48334
 Nuisance Wildlife Marshals LLC                 Dba Insulate It Solutions LLC   23820 Blue Gem Lane                                                 Howey In The Hills   FL           34737
 Nuketown Logistics LLC                                                         16150 SW 108th Ave                                                  Miami                FL           33157
 Number 1 Trucking LLC                                                          616 Sardinia Circle                                                 Davenport            FL           33837
 Nunes, Bjorn Sean Wayne                                                        Address on File
 Nunez Auto Transport LLC                                                       46 Pennsylvania Avenue                                              Hempstead            NY           11550
 Nunez, Randy                                                                   Address on File
 Nutting Environmental Of Florida Inc                                           1310 Neptune Drive                                                  Boynton Beach        FL           33426
 Nuvinair Of Central Florida, LLC                                               5040 Kirkwood Trail                                                 Titusville           FL           32780
 Nv5 Inc                                                                        200 South Park Road Suite 350                                       Hollywood            FL           33021
 Nvoicepay                                                                      8905 SW Nimbus Ave                                                  Beaverton            OR           97008
 Nw Lucky-Shore DLLC                                                            19600 NE 3rd Street #154                                            Camas                WA           98607
 Nw Lucky-Shore DLLC                                                            PO Box 16411                                                        Portland             OR           97292
 Nwan Inc                                                                       8370 Dow Circle Suite 100                                           Strongsville         OH           44136
 Nwb Transport LLC                                                              12472 Lake Underhill Road                                           Orlando              FL           32828
 Ny Auto Transport                                                              736 Harth Dr                                                        West Palm Beach      FL           33415
 O & L Auto Trans Inc
 O L J Transports Inc                                                           2976 NW 95th St                                                     Miami                FL
 O&G's Espresso Transportation LLC-Fl Only                                      5935 Forest Hill Blvd                                               West Palm Beach      FL           33415
 O&K Auto Transport LLC                                                         926 Allen Street                                                    Linden               NJ           07036
 O&M Auto Transport                                                             3726 Groometown Rd Apt F                                            Greensboro           NC           27407
 O&O Carriers Corp                                                              1857 Capesterre Dr                                                  Orlando              FL           32824
 O2 Transport                                                                   PO Box 51                                                           Hardeeville          SC           29927
 Oak River Insurance Company                                                    PO Box 31361                                                        Omaha                NE           68131
 Oata Clerking LLC                                                              8421 S John Young Pkwy Ste 150                                      Orlando              FL           32819
 Obando, Jenny                                                                  Address on File
 Obeid Transport LLC                                                            1304 Oakcrest Dr                                                    Brandon              FL           33510
 Obs Transport Corp                                                             7713 Bramblewood Dr                                                 Port Richey          FL           34668
 Ocando Rincon, Sebastian                                                       Address on File
 Occupational Health Centers Of The Southwest   Concerta                        PO Box 82549                                                        Hapeville            GA           30354-0549
 Ocean Collision Center LLC                                                     3640 NW 48th Terr                                                   Miami                FL           33142
 Ocean Detailing Usa Management                                                 3112 Jupiter Park Circle                                            Jupiter              FL           33458
 Ocean Harbor Casualty Ins. Co.                                                 PO Box 452799                                                       Sunrise              FL           33345
 Ocean Marine Services Inc                                                      991 S State Road 7 Unit G7                                          Plantation           FL           33317
 Ocean Reef Club
 Ocean Reef Press                                                               35 Ocean Reef Drive                                                 Key Largo            FL           33037
 Oceans Transportation Inc                                                      PO Box 558304                                                       Miami                FL           33255
 Octet Group LLC                                                                7371 Atlas Walk Way                                                 Gainesvilles         VA           20155
 Od Trans Corporation                                                           PO Box 4792                                                         Rancho Cucamonga     CA           91729
 Odi, Dakhil Sabri                                                              Address on File
 Odl Group Inc                                                                  12549 SW 211th St                                                   Miami                FL           33177
 Odr Carrier Inc                                                                10000 SW 37 Terrace                                                 Miami                FL           33165
 Odroneic, Anthony Paul                                                         Address on File
 Odyssey Auto Transport LLC                                                     PO Box 782033                                                       Orlando              FL           32878
 Oeg Express Corp                                                               PO Box 26641                                                        Tamarac              FL           33320
 Oem Radio Service, LLC                                                         2233 S Houstson Ave                                                 Humble               TX           77396
 Ofc Transport Corp                                                             403 NE 8th Street                                                   Mulberry             FL           33860
 Off Track Transport LLC                                                        422 Lower Gainsville Road                                           Prattville           AL           36067
 Offerup
 Office Depot
 Office Furniture Warehouse, Inc.                                               2099 West Atlantic Blvd                                             Pompano Beach        FL           33069
 Officework Software, LLC                                                       201 Alameda Del Prado                Suite 302                      Novato               CA           94949
 Ogando Transportation Inc                                                      117 N New Hope Rd                                                   Gastonia             NC           28054
 Ogletree, Nicole Michelle                                                      Address on File
 O'Hara Pest Control Inc                                                        1001 25th Court                                                     West Palm Beach      FL           33407
 Ohiomoje, Nashiru Matthew                                                      Address on File
 Ojeda Transportation LLC                                                       9513 Gateway Drive                                                  Louisville           KY           40299
 Ok Auto Carrier, Inc.                                                          PO Box 3516                                                         Federal Way          WA           98063
 Ok Auto Transport Corp                                                         1328 SW 6th St Apt 18                                               Miami                FL           33135



Off Lease Only LLC, et al.                                                                                                                                                                         Page 104 of 155
                                                           Case 23-11389-CTG             Doc 1-1           Filed 09/07/23     Page 105 of 155
                                                                                                   Creditor Matrix
                                                                                                as of September 6, 2023
                   Creditor Name                          Attention                Address 1                      Address 2    Address 3             City            State       Zip        Country
 Okaloosa County Sheriff's Office
 Okeeheelee Outlaws
 Oki, Omofela H.                                                      Address on File
 Okta Inc                                                             PO Box 743620                                                        Los Angeles          CA           90074-3620
 Old Fashion Care LLC                                                 2801 Tena Ave N                                                      Lehigh Acres         FL           33971
 Ole South Auto Salvage Inc                                           PO Box 930                                                           Lake Placid          FL           33862
 Olensky Recio LLC                                                    2039 W Almadale Ct Apt 202                                           Collierville         TN           38017
 Ole's Auto Transport Corp                                            1821 Montague Street                                                 Lake Worth           FL           33461
 Olimax Logistics LLC                                                 12125 Fountainbrook Blvd             Apt 100                         Orlando              FL           32825
 Olisar Transport LLC                                                 2721 Reading Blvd                                                    Reading              PA           19609
 Oliva Leon, Vicente                                                  Address on File
 Oliva, Erick Rafael                                                  Address on File
 Oliveira, Helano Therbson                                            Address on File
 Oliver Transportation Inc                                            PO Box 328                                                           Hudson               MA           01749
 Olvera Simmons, Mark Anthony                                         Address on File
 Olvera, Omar Yanez                                                   Address on File
 Oma Transport LLC                                                    249 New Haven Avenue                                                 Milford              CT           06460
 Omc Auto Carrier Inc                                                 9288 SW Grand Canal Drive                                            Miami                FL           33174
 Omega Elite Transportation Services LLC                              116 Sturdivant Dr                                                    Rockingham           NC           28379
 Omega Express Logistic Inc.                                          1420 Henry Street                                                    Kissimmee            FL           34741
 Omega Hauling Inc.                                                   463688 State Road 200 Ste 1                                          Yulee                FL           32097
 Omra Transport Inc                                                   1335 Gatewood Ave                                                    Spring Hill          FL           34608
 Omv Transport Inc                                                    2770 W 33 Suite 420                                                  Brooklyn             NY           11224
 On Line Auto Connection Inc                                          250 Lein Road                                                        West Seneca          NY           14224
 On My Way Carriers Corp                                              2993 W 80 St Apt 33                                                  Hialeah              FL           33018
 On My Way Transport Service                                          224 Locust Drive                                                     Lexington            NC           27292
 On My Way Trucking Inc.                                              1097 Northwest 127 Court                                             Miami                FL           33182
 On Star Transport Inc                                                16921 SW 297 St                                                      Homestead            FL           33030
 On The Ball Trucking                                                 868 Corum Hill Road                                                  Castalian Springs    TN           37031
 On Time Auto Express Transport LLC                                   14976 SW 23rd St                                                     Miami                FL           33185
 On Time Service                                                      5 Demery Road                                                        Hudson               NH           03051
 On Time Transport & Logistics                                        PO Box 770024                                                        Orlando              FL           32877
 On Time Wreckers Of Central Fl                                       117 Cypress St                                                       Orlando              FL           32824
 One Beacon Insurance Commercial Lines                                3625 Cumberland Boulevard                                            Atlanta              GA           30339
 One Direction Transport Corp                                         2129 NE 8 Pl                                                         Cape Coral           FL           33909
 One On One Transport Inc.                                            6445 Argyle Street                                                   Dearborn             MI           48126
 One Stop Auto Carriers LLC                                           PO Box 3606                                                          Union                NJ           07083
 One Stop Cargo Truck Line LLC                                        7941 Katy Fwy #219                                                   Houston              TX           77024
 One Stop Towing & Transportation Inc                                 4350 W 5th Ave                                                       Gary                 IN           46405
 One Transport LLC                                                    7608 Six Mile Ln                                                     Louisville           KY           40220
 Onixe Express Inc                                                    PO Box 509                                                           Feasterville         PA           19053
 Online Auto Connection                                               250 Lein Rd                                                          West Seneca          NY           14224
 Onstar
 Onway Logistics                                                      4005 Manzanita Ave 6-135                                             Carmichael           CA           95608
 Open Highways Transport Inc                                          PO Box 3845                                                          Tequesta                          33469
 Open Sezz Me Locksmith LLC                                           15389 69th Tr No                                                     Palm Beach Gardens   FL           33418
 Open Text Inc                                                        2950 S Delaware Street                                               San Mateo            CA           94403
 Optimist Club Of Miami Lakes
 Orama & Son Inc                                                      18000 NW 51st Place                                                  Miami Gardens        FL           33055
 Oramas Transporting Services                                         13859 SW 258th Lane                                                  Homestead            FL           33032
 Orange Buick Gmc                                                     3883 W Colonial Drive                                                Orlando              FL           32808
 Orange County Bcc
 Orange County Board Of County Commissioners                          201 S Rosalind Avenue                4th Floor                       Orlando              FL           32802-0038
 Orange County Carrier Inc                                            13727 SW 152 St Ste 295                                              Miami                FL           33177
 Orange County Clerk                                                  425 N Orange Ave                                                     Orlando              FL           32801
 Orange County Comptroller
 Orange County Tax Collector                   Scott Randolph         PO Box 545100                                                        Orlando              FL           32854
 Orange County Utilities                                              PO Box 628068                                                        Orlando              FL           32862-8068
 Orange Legal, Inc.                                                   633 E Colonial Drive                                                 Orlando              FL           32803
 Orange Logistics LLC                                                 1945 S Ocean Dr                                                      Hallandale Beach     FL           33009
 Ordotransport LLC                                                    9819 Fl-7                                                            Boynton Beach        FL           33472
 Ordotransport, LLC                                                   400 Rella Blvd Ste 123-213                                           Montebello           NY           10901



Off Lease Only LLC, et al.                                                                                                                                                                Page 105 of 155
                                                         Case 23-11389-CTG              Doc 1-1          Filed 09/07/23    Page 106 of 155
                                                                                                  Creditor Matrix
                                                                                              as of September 6, 2023
                    Creditor Name                        Attention                Address 1                    Address 2    Address 3              City          State       Zip        Country
 Oregon Transportation LLC                                           7007 Mintwood Ct                                                   Tampa               FL           33615
 O'Reilly Auto Parts                                                 PO Box 9464                                                        Springfield         MO           65801-9464
 OReilly, Kevin T                                                    Address on File
 Original Equipment Company                                          PO Box 2260                                                        Belle Glade         FL           33430
 Original Outdoor LLC                                                PO Box 832933                                                      Miami               FL           33283-2933
 Orisg LLC                                                           27190 SW 134th Place                                               Homestead           FL           33032
 Orlando Auto Body Incorporated                                      7052 Old Cheney Hwy                                                Orlando             FL           32807
 Orlando Barcelo                                                     2831 SW 103 Avenue                                                 Miami               FL           33165
 Orlando Dually Transport                                            997 Dawes Rd                                                       Frost Proof         FL           33843
 Orlando Escobar                                                     PO Box 668874                                                      Miami               FL           33166
 Orlando Federal Credit Union
 Orlando Golf Cars                                                   155 N Goldenrod Road                                               Orlando             FL           32807
 Orlando Infiniti                                                    4237 Millenia Blvd                                                 Orlando             FL           32839
 Orlando Kia                                                         8701 E Colonial Dr                                                 Orlando             FL           32817
 Orlando Longwood Auto Auction                                       2800 N Hwy 17/92                                                   Longwood            FL           32750
 Orlando Mini                                                        350 S Lake Destiny Rd                                              Orlando             FL           32810
 Orlando Orange County Expressway Authority                          PO Box 585070                                                      Orlando             FL           32858-5070
 Orlando Regional Chamber Of Commerce                                PO Box 1234                                                        Orlando             FL           32802-1234
 Orlando Sentinel Media Group                                        PO Box 100608                                                      Atlanta             GA           30384
 Orlando Tire And Wheel, Inc                                         9351 S Orange Blossom Trl                                          Orlando             FL           32837-8301
 Orlando Transport Group LLC                                         1105 Tucker Ave Suite A                                            Orlando             FL           32807
 Orlando Utilities Commission                                        PO Box 31329                                                       Tampa               FL           33631-3329
 Orlando Utilities Commission                 Development Services   PO Box 3193                                                        Orlando             FL           32802
 Orlando Volkswagen North                                            1050 Lee Road                                                      Orlando             FL           32810
 Orlando Volkswagen South                                            5474 S Orange Blossom Trl                                          Orlando             FL           32839-2706
 Orly Auto Transport                                                 3259 Imperial Manor Way                                            Mulberry            FL           33860
 Orly Carriers Corp                                                  Dept 144 PO Box 1000                                               Memphis             TN           38148
 Oropesa Hauling LLC                                                 408 Bell Blvd South                                                Lehigh Acres        FL           33974
 O'Rourke, Ann Katherine                                             Address on File
 O'Rourke, Martin G                                                  Address on File
 Ortega Transport                                                    3513 Robin Avenue                                                  Mcallen             TX           78504
 Ortega, Anahy Luna                                                  Address on File
 Ortiz Leon, Sergio Yahir                                            Address on File
 Ortiz Suarez, Miguel                                                Address on File
 Ortiz, Jaider Manuel                                                Address on File
 Ortiz-Rodriguez, Cananeci Jose                                      Address on File
 Ortiz-Torres, Odalys Enid                                           Address on File
 Osalo Transport LLC                                                 7725 Chatfield Ln                                                  Ellicott City       MD           21043
 Osborn Engineering Co                                               1100 Superior Ave Ste 300                                          Cleveland           OH           44114
 Oscar's Lock & Supply                                               16751 SW 64St                                                      Southwest Ranches   FL           33331
 Oscar's Towing & Transport Inc.                                     1732 W 42nd Place                                                  Hialeah             FL           33012
 Oscars Transport                                                    14301 Shale Ct                                                     Pineville           NC           28134
 Osceola Fence Supply LLC                                            3319 13th Street                                                   Saint Cloud         FL           34769
 Osejo, James                                                        Address on File
 Osi (Lots)                                                          1900 Firman Drive                                                  Richardson          TX           75081
 Osmany Darias Carrier Corp                                          3651 E 5th Ave                                                     Hialeah             FL           33013
 Osmel Transport LLC                                                 1814 Gold Avenue                                                   Sarasota            FL           34235
 Osorio, Rosa Maria                                                  Address on File
 Osorno, Edgard                                                      Address on File
 Osso Corporation                                                    514 S Catalina St Unit 211                                         Los Angeles         CA           90020
 Osv Transport LLC                                                   2308 Enfield Ct                                                    Orlando             FL           32837
 Ot Logistics Inc                                                    22214 SW 98 Pl                                                     Cutler Bay          FL           33190
 Otahon Logistics Inc                                                4302 Hollywood Blvd 1012                                           Hollywood           FL           33021
 Otero Arias , Mario Roberto                                         Address on File
 Otero Perez, Odalys Marie                                           Address on File
 Otero Serrano, Jose O                                               Address on File
 Our Savior Lutheran Church                                          8804 Lake Park Circle So                                           Davie               FL           33328
 Our Town America Inc                                                PO Box 9637                                                        Coral Springs       FL           33075
 Ourhalm, Morad                                                      Address on File
 Outfront Media                                                      185 Us Hwy 46                                                      Fairfield           NJ           07004
 Outstanding Auto Transport LLC                                      5920 SW 196th Lane                                                 Southwest Ranches   FL           33332
 Ov Inc                                                              1126 Bellows Way                                                   Volo                IL           60073



Off Lease Only LLC, et al.                                                                                                                                                            Page 106 of 155
                                                            Case 23-11389-CTG                    Doc 1-1      Filed 09/07/23    Page 107 of 155
                                                                                                    Creditor Matrix
                                                                                                   as of September 6, 2023
                   Creditor Name                            Attention                  Address 1                    Address 2    Address 3            City           State       Zip        Country
 Ovalle Transport Inc.                                                   15 Upper Croton Avenue                                              Ossining           NY           10562
 Overhead Door Company Of Houston                                        11827 Tech Com Rd #115                                              San Antonio        TX           78233
 Overnight Auto Transport                                                PO Box 127360                                                       Hialeah            FL           33012
 Ovilmar, Steven                                                         Address on File
 Oweis, Merette                                                          Address on File
 Ownershield Inc                                                         1900 Firman Dr                                                      Richardson         TX           75081
 Oya Transport                                                           4602 Golden Canna Way                                               Orlando            FL           32811
 Oz Global Car Transportation LLC                                        13410 SW 21 Street                                                  Miami              FL           33175
 P & E Auto Transport/Top Notch Auto Brokers                             553 Roper Pkwy                                                      Ocoee              FL           34761
 PLE                                                                     15521 Kapok Court                                                   Ft Myers           FL           33908
 P&A Solutions LLC                                                       14951 Royal Oaks Ln                                                 North Miami        FL           33181
 P&C Transports LLC                                                      46382 Cherryfield Lane                                              Drayden            MD           20630
 P&E Auto Transport/Top Notch Auto                                       553 Roper Pkwy                                                      Ocoee              FL           34761
 P&G Towing Services LLC                                                 6032 16th St                                                        Zephyrhills        FL           33542
 P&L Auto Hauler LLC                                                     704 Gothan Ct                                                       West Palm Beach'   FL           33405
 P&L Motorsports LLC                                                     3804 Arbor Rose                                                     Zebulon            NC           27597
 P&M Hauling Inc                                                         5410 Lynn Road                                                      Tampa              FL           33624
 P.C. Motors, Inc                                                        310 N Collins Street                                                Plant City         FL           33563
 Pa Express                                                              8 Hosting Ct Apt2                                                   Clinton            MA           01510
 Pa Port Express LLC                                                     14 Ruffleg Circle                                                   Denver             PA           17517
 Pabellon Vazquez, Edwin Xavier                                          Address on File
 Pablo Creek Services                                                    1776 American Heritage Life Dr                                      Jacksonville       FL           32224
 Pace Communications                                                     1301 Carolina Street                                                Greensboro         NC           27401
 Pacesetter Personnel Services                                           PO Box 2324                                                         Huston             TX           77252-2324
 Pacha Transportation Corp                                               6510 NW Hagberg Ave                                                 Port St Lucie      FL           34986
 Pacheco's Body Shop Inc                                                 1660 Almaden Exp                                                    San Jose           CA           95125
 Pachecos Trucking Inc                                                   3250 NW 195 Ter                                                     Miami Gardens      FL           33056
 Pacific Auto Delivery Inc                                               405 B Porter Way                                                    Milton             WA           98354
 Pacific Auto Transport                                                  1055 Grover Ave #2                                                  Glendale           CA           91201
 Pacific Auto Transport Inc                                              24 Houghton St                                                      Hudson             MA           01749
 Pacific Express Inc                                                     10955 Avon Terr                                                     Philadelphia       PA           19116
 Pack59 & Son Transport LLC                                              3194 Sterling Rd L1                                                 Hollywood          FL           33021
 Pacman And Win Hauling LLC                                              8215 Misty Eve Lane                                                 Charlotte          NC           28213
 Pac-Van                                                                 75 Remittance Drive                                                 Chicago            IL           60675
 Padilla Duprey, Jocarelys                                               Address on File
 Padilla Transport                                                       7270 NW 174 Terr                                                    Miami Gardens      FL           33015
 Padro Torres, Jessica Yadira                                            Address on File
 Padron Diaz, Frank                                                      Address on File
 Pag Davie P1, LLC                                                       2835 Ranch House Road                                               West Palm Beach    FL           33406
 Pagan, Christian Adam                                                   Address on File
 Pager Genius                                                            9852 Katella Ave #500                                               Anaheim            CA           92804
 Painchault, Brian                                                       Address on File
 Pak Auto Transporters LLC                                               4902 Garden Gate Lane                                               Orlando            FL           32821
 Palacios, Juan Carlos                                                   Address on File
 Palestos, Anthony John                                                  Address on File
 Palm Beach Auto Center Inc                                              7673 Hopper Rd Bay #8                                               West Palm Beach    FL           33411
 Palm Beach Auto Enterprises Inc                                         12593 Citrus Grove Blvd                                             West Palm Beach    FL           33412
 Palm Beach Auto Enterprises, Inc                                        10180 Calumet Ct                                                    Lake Worth         FL           33467
 Palm Beach Auto Recovery And Transportation                             10360 Fox Trail Rd South 1613                                       Royal Palm Beach   FL           33411
 Palm Beach Broadcasting
 Palm Beach Community Bank                                               8101 Ockeechobee Blvd                                               West Palm Beach    FL           33411
 Palm Beach County                                                       PO Box 3977                                                         West Palm Beach    FL           33402
 Palm Beach County Bocc                                                  2300 North Jog Road                                                 West Palm Beach    FL           33411-2745
 Palm Beach County Clerk & Comptroller                                   205 N Dixie Hwy Rm 2 22                                             West Palm Beach    FL           33401
 Palm Beach County Clerk Of Court              South County Courthouse   200 W Atlantic Ave                                                  Delray Beach       FL           33444
 Palm Beach County Credit Union
 Palm Beach County Public Health Unit                                    910 Evernia Street                                                  West Palm Beach    FL           33401
 Palm Beach County Sheriff's Office            Accounting                PO Box 24681                                                        West Palm Beach    FL           33416-4681
 Palm Beach County Water Utilities Dept                                  9045 Jog Road                                                       Boynton Beach      FL           33472
 Palm Beach County Water Utilities Dept                                  PO Box 24740                                                        West Palm Beach    FL           33416-4740
 Palm Beach County Water Utilities Dept.                                 8100 Forest Hill Blvd                                               West Palm Beach    FL           33413-3336
 Palm Beach Cty Contractor Corp                                          360 Elaine Road                                                     West Palm Beach    FL           33413



Off Lease Only LLC, et al.                                                                                                                                                                Page 107 of 155
                                                               Case 23-11389-CTG                     Doc 1-1           Filed 09/07/23    Page 108 of 155
                                                                                                             Creditor Matrix
                                                                                                            as of September 6, 2023
                   Creditor Name                              Attention                        Address 1                     Address 2    Address 3             City           State       Zip        Country
 Palm Beach Gardens Towing                                                        1108 3rd Ave N                                                      Lake Worth          FL           33460
 Palm Beach Gardens Towing                                                        3525 Ave K                                                          Riviera Beach       FL           33404
 Palm Beach Marine Fuel, LLC                                                      1201 Us Hwy 1                                                       North Palm Beach    FL           33408
 Palm Beach Mitsubishi                                                            2700 S Australian Ave                                               West Palm Beach     FL           33406
 Palm Beach Motor Cars Ltd                                                        915 South Dixie Highway                                             West Palm Beach     FL           33401
 Palm Beach Muffler & Brake Werks                                                 714 Barnett Drive                                                   Lake Worth          FL           33461
 Palm Beach Police Department
 Palm Beach Tag Agency                                                            2001 W Palm Beach Lakes Blvd                                        West Palm Beach     FL           33409
 Palm Beach Tax Collector                                                         PO Box 3715                                                         West Palm Beach     FL           33402
 Palm Beach Toyota                                                                551 South Military Trail                                            West Palm Beach     FL           33415
 Palm Beach Transporting Inc                                                      14618 63rd Ct N                                                     Loxahatchee         FL           33470
 Palm Chevrolet                                                                   2300 SW College Road                                                Ocala               FL           34471
 Palm City Collision Center                                                       3438 SW Deggeller Court                                             Palm City           FL           34990
 Palm Coast Ford                                                                  1150 Palm Coast Pkwy Sw                                             Palm Coast          FL           32137-4703
 Palm Park Auto Upholstery                                                        502 Palm St                                                         West Palm Beach     FL           33401
 Palm Springs Police Department                                                   230 Cypress Lane                                                    Palm Springs        FL           33461
 Palmdale Oil Company, Inc.                                                       911 N 2nd Street                                                    Fort Pierce         FL           34950
 Palmer, Kazandu                                                                  Address on File
 Palmer, Kyle P                                                                   Address on File
 Palmetto 57 Nissan/Vw                                                            16825 NW 57th Ave                                                   Miami               FL           33055
 Palmetto Ford Truck Sales                                                        7245 NW 36th Street                                                 Miami               FL           33166
 Palmetto State Carriers LLC/Palmetto Logistic                                    PO Box 583                                                          Scranton            SC           29591
 Palms West Funeral Home And Crematory                                            110 Business Park Way                                               Royal Palm Beach    FL           33411-1750
 Pam Auto Carriers                                                                2665 N Atlantic Ave                                                 Daytona Beach       FL           32118
 Pam's Auto, Inc                                                                  7505 Ridgewood Rd                                                   Saint Cloud         MN           56303
 Pamway Logistics LLC                                                             11108 S 84th Ave Apt#3A                                             Palos Hills         IL           60465
 Pan American Group Inc                                                           2204 Nichols Road                                                   Arlington Heights   IL           60004
 Pan Canal Express LLC                                                            902 Charo Parkway                                                   Davenport           FL           33897
 Panamax Logistics Inc.                                                           321 E 54th Street                                                   Hialeah             FL           33013
 Panda Logistics Usa LLC                                                          9937 Montague St                                                    Tampa               FL           33626
 Panther Auto Transport Inc                                                       901 SW 6th Street                                                   Miami               FL           33130
 Papa, Julie Anne                                                                 Address on File
 Paparella, Derek John                                                            Address on File
 Paper Impex Usa Inc.                                                             42 Covington Circle                                                 Staten Island       NY           10312
 Par Express Inc                                                                  11470 NW 89th Avenue                                                Hialeah Gardends    FL           33018
 Parada, Alexander Ernesto                                                        Address on File
 Paradise Awnings Corp                                                            4310 NW 36th Avenue                                                 Miami               FL           33142
 Paradise Travel Consultants                     Certificate Division             7343 El Camino Real                                                 Atascadero          CA           93422-7639
 Paragon Insurance Holdings LLC                                                   PO Box 969                                                          Westbrook           CT           06498
 Pardo Ramirez, Luis Alberto                                                      Address on File
 Pardy, Megan Marie                                                               Address on File
 Paredes, Mario                                                                   Address on File
 Parkhurst Enterprises                                                            4343 7th Ave                                                        Moline              IL           61265
 Parking Clerk Of Courts                                                          22 NW 1st Street                                                    Miami               FL           33128
 Parks Ford Of Wesley Chapel                                                      28739 St Rd 54                                                      Wesley Chapel       FL           33543
 Parks Lincoln Of Tampa                                                           10505 N Florida Ave                                                 Tampa               FL           33612-6710
 Parks, Thomas Earl                                                               Address on File
 Par-Kut International Inc                                                        40961 Production Drive                                              Harrison Twp        MI           48045
 Parkway Auto Transp.                                                             PO Box 308                                                          Clearwater          MN           55320
 Parrilla, Alina                                                                  Address on File
 Parrilla, David Matthew                                                          Address on File
 Partner Engineering And Science Inc             Partner Assessment Corporation   PO Box 207428                                                       Dallas              TX           75320-7428
 Partners Window Cleaning Inc                                                     9472 Pinion Drive                                                   Lake Worth          FL           33467
 Partridge, Trent                                                                 Address on File
 Parts Brokers, LLC                                                               200 Ethan Allen Dr                                                  Dahlonega           GA           30533
 Parts Geek
 Partsmax                                                                         3401 NW 73rd Str                                                    Miami               FL           33147
 Paschall & Paschall Transportation LLC                                           618 Ware Street                                                     Waycross            GA           31503
 Pasha Distribution Services LLC                                                  PO Box 72                                                           Lebanon             MO           65536
 Paskert Divers Thompson P.A.                                                     100 North Tampa Street               Ste 3700                       Tampa               FL           33602-5145
 Passell, Michael D                                                               Address on File
 Passport Auto Logistics LLC                                                      145 Evergreen Parkway                                               Lebanon             MO           65536



Off Lease Only LLC, et al.                                                                                                                                                                          Page 108 of 155
                                                     Case 23-11389-CTG                   Doc 1-1         Filed 09/07/23    Page 109 of 155
                                                                                                Creditor Matrix
                                                                                              as of September 6, 2023
                   Creditor Name                     Attention                      Address 1                  Address 2    Address 3            City          State       Zip        Country
 Pat Apodaca                                                          Address on File
 Paterson Services Inc                                                13067 Reaves Road                                                 Winter Garden     FL           34787
 Patriot Auto Transport LLC                                           1652 Pitchkettle Rd                                               Suffolk           VA           23434
 Patriot Transport                                                    8721 SW 51st St                                                   Cooper City       FL           33328
 Patterson Well Drilling Co                                           7222 Gardner Street Suite 102                                     Winter Park       FL           32792
 Patty Peck Honda                                                     555 Sunnybrook Rd                                                 Ridgeland         MS           39157
 Paul Green                                                           Address on File
 Paul, Yvenson                                                        Address on File
 Pauletti, Anthony                                                    Address on File
 Pauletti, Tony                                                       Address on File
 Paulino, Henry Ernesto                                               Address on File
 Paunescu, Adrian Dan                                                 Address on File
 Paveco, Inc.                                                         2000 Sherman Street                                               Hollywood         FL           33020
 Pavel Transport Service - Fl Only                                    7727 W 29th Lane                                                  Hialeah           FL           33018
 Pavement Maintenance Service Inc                                     18368 Se Cassia Lane                                              Tequesta          FL           33469
 Pavon Trucking LLC                                                   8360 NW 10St #10                                                  Miami             FL           33126
 Pay Car Auto Transport Inc.                                          12850 SW 12th Street                                              Miami             FL           33184
 Pay Car Auto Transport Inc.                                          29720 SW 166th Court                                              Homestead         FL           33033
 Payano, Cesar A                                                      Address on File
 Paylor, Cristye Ann                                                  Address on File
 Payton, Tybieus Nycholas                                             Address on File
 Paz Salinas, Jessie                                                  Address on File
 Pazmino, Paul A                                                      Address on File
 Pdp Group, Inc                                                       10946 Golden West Dr                                              Hunt Valley       MD           21031
 Pds Warranty Co                                                      9449 Balboa Ave Ste 300                                           San Diego         CA           92123
 Pds/Arch                                                             Pds Administrator                                                 San Diego         CA           92123
 Peace Evangelical Lutheran Church Inc                                1611 30th Ave W                                                   Bradenton         FL           34205
 Peacock Subaru, LLC                                                  9951 S Orange Blossom Trail                                       Orlando           FL           32837
 Peak 10, Inc.                                                        PO Box 534390                                                     Atlanta           GA           30353-4390
 Pearls Auto Transport Logistics Inc                                  508 Gregory Lane                                                  Acworth           GA           30102
 Peatry, Cameron L                                                    Address on File
 Pedraza, Fidel                                                       Address on File
 Pedro Mendez                                                         Address on File
 Peg Trucking Inc                                                     23406 Bush Street                                                 Southfield        MI           48033
 Pegasus Logistics Inc                                                17821 NW 84th Pl                                                  Miami Lakes       FL           33015
 Pelco                                                                10762 SW 188th Street                                             Miami             FL           33157
 Peluzzo Exotic Transport                                             1545 Gabriels Way                                                 Sunderland        MD           20689
 Pena, Cesar Jesus                                                    Address on File
 Pena, Jhairo Miguel                                                  Address on File
 Pena, Jorge Omar                                                     Address on File
 Penc, James                                                          Address on File
 Pencar Transport LLC                                                 15129 SW 173 Rd Ter                                               Miami             FL           33187
 Penfed Credit Union                                                  13220 Fort St                                                     Omaha             NE           68164
 Penman, Austin Andrew                                                Address on File
 Penndot                                 Bureau Of Driver Licensing   PO Box 68695                                                      Harrisburg        PA           17106-8695
 Penninsular Electric Dist, Inc                                       PO Box 2887                                                       West Palm Beach   FL           33402-2887
 Pentagon Federal Credit Union                                        Box 1432                                                          Alexandria        VA           22313-2032
 Peoplefluent                                                         434 Fayetteville Street            Suite 900                      Raleigh           NC           27601
 Pep Boys                                For Miami                    PO Box 8500-50445                                                 Philadelphia      PA           19178-0445
 Pepave Car Transport Inc                                             9560 Jamaica Drive                                                Cutler Bay
 Pepboys Fleet                                                        234 W Granada Blvd                                                Ormond            FL           32174
 Per Auto Express Inc                                                 3610 Northwoods Dr                                                Kissimmee         FL           34746
 Perales, Michael                                                     Address on File
 Peralta, Cesar Augusto                                               Address on File
 Perdue's Auto Transport                                              PO Box 437                                                        Pompano Beach     FL           33061
 Pereira, Leopoldo E                                                  Address on File
 Pereira, Luis Armando                                                Address on File
 Perera Gonzalez, Livan Alejandro                                     Address on File
 Perera, Roberto                                                      Address on File
 Perera, Ismael                                                       Address on File
 Perex Transporting Inc                                               335 Edgewood Ct                                                   Kissimmee         FL           34759
 Perez And Sons Transportation Inc                                    PO Box 8032                                                       Stockton          CA           95208



Off Lease Only LLC, et al.                                                                                                                                                          Page 109 of 155
                                                    Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23     Page 110 of 155
                                                                                                 Creditor Matrix
                                                                                               as of September 6, 2023
                    Creditor Name                  Attention                          Address 1                 Address 2     Address 3               City        State       Zip        Country
 Perez, Angel Antonio                                                   Address on File
 Perez, Blas                                                            Address on File
 Perez, Chabelys                                                        Address on File
 Perez, Eddy Oscar                                                      Address on File
 Perez, George Anthony                                                  Address on File
 Perez, Hernan E                                                        Address on File
 Perez, Liannelys                                                       Address on File
 Perez, Lisardo                                                         Address on File
 Perez, Magdalena Jasmin                                                Address on File
 Perez, Michael Steven                                                  Address on File
 Perez, Roberto Felipe                                                  Address on File
 Perez, Victoria                                                        Address on File
 Perez, Will Lee                                                        Address on File
 Perez, Yisel Mailyn                                                    Address on File
 Perez-Colon, Gilbert                                                   Address on File
 Perfect Embroidery Inc                Dba Dei Rossi Marketing          2150 S Central Expressway         Ste 150                         Mckinney           TX           75070
 Perfect Pinstripes Inc                                                 1654 SW Seagull Way                                               Palm City          FL           34990
 Perfect Storm Shutters Inc                                             12901 SW 89 Ct                                                    Miami              FL           33176
 Performance Logistics Unlimited LLC                                    PO Box 951                                                        Pageland           SC           29728
 Performance Radiator                                                   PO Box 24947                                                      Seattle            WA           98124
 Persaud, Christopher Andrew                                            Address on File
 Persaud, Jasoda                                                        Address on File
 Persaud, Kawall                                                        Address on File
 Personius & Company Inc                                                1630 Victoria Pointe Cir                                          Weston             FL           33327
 Personnel Concepts                                                     PO Box 5750                                                       Carol Stream       IL           60197-5750
 Pet Benefit Solutions                                                  211 Boulevard Of The Americas                                     Lakewood           NJ           08701
 Petemar Company                                                        22424 Oakville Drive                                              Land O Lakes       FL           34639
 Peter Transportation LLC                                               5500 Crinoline Ave                                                Las Vegas          NV           89122
 Peterbilt Auto Service Inc.                                            11620 SW 32nd Street                                              Miami              FL           33165
 Peterfreund, Jay Martin                                                Address on File
 Petermar Company                                                       22424 Oakville Dr                                                 Land O Lakes       FL           34639
 Peterson, Anna                                                         Address on File
 Petit-Homme, Jonathan                                                  Address on File
 Petrochoice LLC                                                        PO Box 829604                                                     Philadelphia       PA           19182-9604
 Pettigrew, Jessica Kathryn                                             Address on File
 Pettit, Christina                                                      Address on File
 Pg Auto Logistics Inc.                                                 14254 SW 154th Pl                                                 Miami              FL           33196
 Pg United LLC                                                          9137 Leah Meadow Ln                                               Charlotte          NC           28227
 Pg50 Logistics LLC                                                     30097 Island Club Drive                                           Tavares            FL           32778
 Ph Prescription                                                        4425 SW Port Way                                                  Palm City          FL           34990
 Phantom Asset Recovery                                                 5379 Lyons Road #143                                              Coconut Creek      FL           33073
 Phd Enclosed Inc.                                                      PO Box 4653                                                       Federal Way        WA           98063
 Phenix Auto Transport LLC                                              324 Burningtree Dr                                                Groton             CT           06340
 Phil Smith Acura                                                       940 North Federal Highway                                         Pompano Beach      FL           33062
 Phil Smith Chevrolet                  Lauderhill Auto Investors, LLC   1640 N St Rd 7                                                    Lauderhill         FL           33313
 Phil Smith Kia                                                         4230 N Federal Hwy                                                Lighthouse Point   FL           33064
 Philip Lucas Enterpirses                                               15521 Kapok Ct                                                    Ft Myers           FL           33908
 Phillips, Kandace Estelle                                              Address on File
 Philly Express Group LLC                                               2522 State Rd                     Unit D Suite 105                Bensalem           PA           19020
 Phl Transport Inc                                                      9926 Wingtip Rd                                                   Philadelphia       PA           19115
 Phm Investments Group LLC                                              8821 Key West Cir                                                 Tampa              FL           33626
 Phoenix Auto Transport LLC                                             PO Box 401                                                        King               NC           27021
 Phoenix Carriers Inc                                                   5200 Colombia Ave 2 Fl                                            North Bergen       NJ           07047
 Phoenix Motors, Inc                   Palm Collision Ctr               827 S State Rd 7                                                  North Lauderdale   FL           33068
 Pi Outdoor Advertising, LLC                                            PO Box 742963                                                     Atlanta            GA           30374-2963
 Picasso Towing Services Inc                                            3530 NW 36th Street Unit 904                                      Miami              FL           33166
 Piccirillo, Dennis                                                     Address on File
 Pichardo Mera, Thomas Arsenio                                          Address on File
 Pier House Resort
 Pierre Louis, Marie Sidney Jose                                        Address on File
 Pierre Louis, Scotti                                                   Address on File
 Pierre, Carl Rosner                                                    Address on File



Off Lease Only LLC, et al.                                                                                                                                                             Page 110 of 155
                                                           Case 23-11389-CTG                         Doc 1-1         Filed 09/07/23    Page 111 of 155
                                                                                                             Creditor Matrix
                                                                                                          as of September 6, 2023
                    Creditor Name                         Attention                              Address 1                 Address 2    Address 3             City            State       Zip        Country
 Pierrette, Manix                                                                 Address on File
 Pietro, Deion Jacobe                                                             Address on File
 Piggy B Transport LLC                                                            265 W Hemingway Circle                                            Margate              FL           33063
 Pikes Auto Transport                                                             5313 Morgan Ridfe Drive                                           Milton               FL           32570
 Piltz, Jessica Alise                                                             Address on File
 Pina Leyva, Alexander                                                            Address on File
 Pina, Dylan Mckay                                                                Address on File
 Pine River Auto Transport Inc                                                    PO Box 133458                                                     Hialeah              FL           33013
 Pineda Mga Cargo LLC                                                             4944 Cape Street                                                  Fort Worth           TX           76179
 Pines Ford                                                                       8655 Pines Blvd                                                   Pembroke Pines       FL           33024
 Pinnacle Express Svs Inc                                                         851 Three Islands Blvd Ste 110                                    Hallandale Beach     FL           33009
 Pinnacle Towing& Transport                                                       4760 Mackensey Cir                                                Medina               OH           44256
 Pinnock, Gregory                                                                 Address on File
 Pintea, Tatiana                                                                  Address on File
 Pinto Moran, Boris A                                                             Address on File
 Pintro, Immacula                                                                 Address on File
 Piper Fire Protection, Inc.                                                      13075 Us Hwy 19 N                                                 Clearwater           FL           33764
 Pirgos Trans Inc                                                                 500 E Higgins Rd                                                  Elk Grove Village    IL           60007
 Pitney Bowes Global Financial Services LLC                                       PO Box 981023                                                     Boston               MA           02298-1023
 Pittsburgh Independent Auto Auction                                              378 Hunker Waltz Mill Rd                                          New Stanton          PA           15672
 Pittsburgh Pirates                           Pittsburgh Associates Of Florida, LL1701 27th Street East                                             Bradenton            FL           34208
 Pizzello, Jesse Daniel                                                           Address on File
 Pj Us Transport Inc                                                              505 N Northwest Hwy                                               Park Ridge           IL           60068
 Pjs Transport Inc                                                                608 Jim Parker Rd                                                 Monroe               NC           28110
 Pjs Transport LLC                                                                241 Nelliefield Creek Dr                                          Charleston           SC           29492
 Pke Industries Inc                                                               1917 Hornbeck Road                                                Harpersfield         NY           13786
 Place Of Hope Inc                                                                908 Isaiah Lane                                                   Palm Beach Gardens   FL           33418
 Placemats R Us                                                                   5843-B Sugar Palm Ct                                              Delray Beach         FL           33484
 Plains Transportation Inc                                                        10227 Thorngrove Pike                                             Strawberry Plains    TN           37871
 Planet Auto Transport Inc                                                        679 Ferry Street                                                  Newark               NJ           07105
 Planet Dodge Chrysler Jeep Fiat                                                  9975 NW 12th St                                                   Miami                FL           33172
 Planet Fiat                                                                      9975 NW 12 Street                                                 Miami                FL           33172
 Platinum 5 Star Enterprises LLC                                                  11361 168th Street                                                Mc Alpin             FL           32062
 Platinum Network Solutions                                                       PO Box 215                                                        Tyrone               GA           30290
 Platinum Transport & Logistics LLC                                               6686 Raquet Club Drive                                            Lauderhill           FL           33319
 Playmaker Auto Transport LLC                                                     11432 South St #388                                               Cerritos             CA           90703
 Plc Trucking                                                                     1023 Myakka Dr                                                    N Ft Myers           FL           33917
 Pleasant, Sarafia Chalet                                                         Address on File
 Pm Auto Transport                                                                10769 Broadway                                                    Crown Point          IN           46307
 Pm Vip Transport Inc.                                                            5897 Buccaneer Trail                                              West Palm Beach      FL           33417
 Pmy Advertising
 Pnc                                                                            350 Veterans Way Ste 200                                            Carmel               IN           46032
 Pnc                                                                            PO Box 5570                                                         Cleveland            OH           44101-0570
 Pnc Bank                                                                       Lockbox 746606                                                      Atlanta              GA           30374
 Pnc Bank                                     Payoff Processing Department      PO Box 390906                                                       Minneapolis          MN           55439
 Pnc Bank, National Association                                                 200 Lake Drive E Suite 300                                          Cherry Hill          NJ           08002
 Pnc Bank, National Association               Dealer Finance                    4661 E Main Street                                                  Columbus             OH           43213
 Png Auto Transport Inc                                                         311 Santa Rosa Dr                                                   Imperial             CA           92251
 Poindexter, Nadiyah Ihsan                                                      Address on File
 Poker Auto Transportation Corp                                                 14201 SW 22nd St                                                    Miami                FL           33175
 Poker Runs Of America Inc                                                      1601 Clay Street                                                    Detroit              MI           48211-1913
 Polak, Rory                                                                    Address on File
 Pole Position Auto Body Inc                                                    26777 Bunert                                                        Warren               MI           48089
 Pollack Communications                                                         5143 Cleveland Road                                                 Delray Beach         FL           33484-4221
 Pompano Advertising                          C/O Christine Szesnat             2308 Vintage Drive                                                  Lighthouse Point     FL           33064
 Pompano Ford Lincoln                                                           18505 Se Mill Plain Blvd             Ste 100                        Vancouver            WA           98683
 Ponce Mendoza, Alejandro Erick                                                 Address on File
 Pop A Lock Of North West Indiana                                               11616 Georgia St                                                    Crown Point          IN           46307
 Pop-A-Lock                                                                     564 Crystal Drive                                                   Madeira Beach        FL           33708
 Pop-A-Lock                                                                     5462 Hoffner Ave                                                    Orlando              FL           32812
 Popen, Sean Sebastian                                                          Address on File
 Popovic, Charles                                                               Address on File



Off Lease Only LLC, et al.                                                                                                                                                                         Page 111 of 155
                                                      Case 23-11389-CTG                      Doc 1-1           Filed 09/07/23    Page 112 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                      Attention                        Address 1                     Address 2    Address 3              City        State       Zip        Country
 Popular Bank Invitational League                                        9275 SW 40th St                                                      Miami             FL           33165
 Porsche Of Orlando                                                      9590 S Us Highway 17/92                                              Maitland          FL           32751-3343
 Porsche South Orlando                     Tt Of Vineland Inc            4895 Vineland Road                                                   Orlando           FL           32811
 Porsche Tampa                             Tampa P Automotive Management 103 E Fowler Ave                                                     Tampa             FL           33612
 Porsche West Broward                                                    4641 SW 148th Ave                                                    Davie             FL           33331
 Portaboards Enterprises LLC                                             2401 Worthington Dr Suite 124                                        Denton            TX           76207
 Portal Alonso, Vladimir                                                 Address on File
 Portas Auto Transport Corp                                              1942 NW Flagler Terr Apt 301                                         Miami             FL           33125
 Portfolio Media Inc                       Law360                        111 West 19th Street                                                 New York          NY           10011
 Porth, Heinz R                                                          Address on File
 Positive Auto Transport Inc                                             2570 NE 193 St                                                       Miami             FL           33180
 Posso, Frank Edmund                                                     Address on File
 Potamkin Hyundai                                                        6200 NW 167th Street                                                 Miami             FL           33014
 Potter, Jotham Matthew                                                  Address on File
 Powell&Powell Logistics LLC                                             6586 Crescent Loop                                                   Winter Haven      FL           33884
 Powell, David J.                                                        Address on File
 Powell, Gregory                                                         Address on File
 Power Audio                                                             3379 S Military Trail                                                Lake Worth        FL           33463
 Power Auto Transport Inc.                                               961 Springdale Court                                                 Palm Springs      FL           33461
 Power Financial Credit Union                                            2020 NW 150th Avenue                                                 Pembroke Pines    FL           33028
 Powercom, LLC                                                           2511 NW 16th Lane                                                    Pompano Beach     FL           33064
 Powery, Leslie David                                                    Address on File
 Pr Logistics Transportation LLC                                         12917 Langstaff Dr                                                   Windermere        FL           34786
 Pr Newswire Association LLC                                             200 Vesey Street                                                     New York          NY           10080
 Prancer Capital                                                         36 Skyline Drive                                                     Lake Mary         FL           32746
 Praskai, David                                                          Address on File
 Prater Radiator Inc                                                     1032 W Michigan St                                                   Orlando           FL           32805
 Pratts, Alberto                                                         Address on File
 Pre Transportation LLC                                                  5400 Esplanade Park Circle            Apt 3204                       Orlando           FL           32839
 Precision Auto Body & Towing Inc                                        33 Edgewater Dr                                                      Boston            MA           02126
 Precision Auto Body Of Orlando Inc                                      6550 Hoffner Ave                                                     Orlando           FL           32822
 Precision Dent Removal                                                  2104 Gilliam Lane Suite 3                                            Tallahassee       FL           32308
 Precision Gate & Security Inc                                           350 E Venice Avenue #153                                             Venice            FL           34285
 Precision Lock & Security                                               1191 Cherlynn Terr                                                   West Palm Beach   FL           33406
 Precision Transport LLC                                                 4414 Sol Aberman Rd                                                  Rock Hill         SC           29732
 Preeminent Auto Transport LLC                                           2829 Olde Mill Rd                                                    Florence          SC           29505
 Preferred Hydraulic Solutions                                           10440 SW 184 Terr                                                    Miami             FL           33157
 Preferred Locksmith
 Preferred Transport LLC                                                  8015 NW 100 Way                                                     Tamarac           FL           33321
 Premier Auto Group Of South Florida Inc                                  3125 Fortune Way                                                    Wellington        FL           33414
 Premier Auto Transport Co.                                               PO Box 20262                                                        Houston           TX           77225
 Premier Dealer Services                                                  9449 Balboa Ave #300                                                San Diego         CA           92123
 Premier Forty                                                            2701 Sunset Ridge Drive                                             Rockwall          TX           75032
 Premier Outdoor Media Of Fla                                             505 S Lenola Road                                                   Moorestown        NJ           08057
 Premier Steam Cleaning                                                   20979 Sailfish Lane                                                 Miami             FL           33189
 Premium Auto Exchange                                                    4644 Us Highway 1 North                                             St. Augustine     FL           32095
 Premium Auto Transport LLC                                               6160 SW 114 Street                                                  Miami             FL           33156
 Premium Harmony                                                          10073 Oak Crest Rd                                                  Orlando           FL           32829
 Premium Transcar, LLC                                                    1821 SW 99th Place                                                  Miami             FL           33165
 Preowned Auto Logistics Inc                                              PO Box 555                                                          Salem             MA           01970
 Presidential Corp.                                                       627 Concord Street                                                  Framingham        MA           01702
 Press Geek Press
 Press Yelder Trucking                                                    8311 Brier Creek Pkwy                                               Raleigh           NC           27617
 Prestige 1 Auto Sales                                                    1359 Chicora Rd                                                     Chicora           PA           16025
 Prestige Auto Body Inc                                                   14141 SW 142 Street                                                 Miami             FL           33186
 Prestige Auto Carriers LLC                                               PO Box 452354                                                       Kissimmee         FL           34745
 Prestige Auto Transp                                                     1064 South High Street                                              Harrisonburg      VA           22801
 Prestige Auto Transport                                                  1064 South High Street                                              Harrisonburg      VA           22801
 Prestige Auto Transport                                                  1913 SE Rainier Road                                                Port St Lucie     FL           34952
 Prestige Auto Transport Usa LLC                                          19675 SW 119 Place                                                  Miami             FL           33177
 Prestige Car Hauler LLC                                                  10831 SW 171 Street                                                 Miami             FL           33157
 Prestige Imports                                                         14800 Biscayne Blvd                                                 North Miami Bch   FL           33181



Off Lease Only LLC, et al.                                                                                                                                                                Page 112 of 155
                                                            Case 23-11389-CTG                     Doc 1-1          Filed 09/07/23   Page 113 of 155
                                                                                                            Creditor Matrix
                                                                                                      as of September 6, 2023
                    Creditor Name                           Attention                     Address 1                     Address 2    Address 3            City            State       Zip        Country
 Prestige Lines Inc                                                           1065 Cascade Drive                                                 1065 Cascade Drive    IL         60506
 Prestige One Transport Corp                                                  38 Manhattan Ave                                                   Middletown            NY         10940
 Prestige Trucking Inc                                                        3564 Us Highway 22 Se #3A                                          Washington Court HouseOH         43160
 Prestigious Grind LLC                                                        8902 Old Temple Terrace Hwy                                        Tampa                 FL         33637
 Presto Reviews
 Prev Atte Florist And Gifts                                                  804 Us Hwy 1                                                       West Palm Beach      FL          33403
 Price Leblanc Auto Inc                                                       13200 Airline Hwy                                                  Baton Rouge          LA          70817
 Price, Sheprell                                                              Address on File
 Pride Cargo, Inc                                                             3289 Lindsey Lane Apt 6                                            Naples               FL          34109
 Prieto, Isai                                                                 Address on File
 Prieto, Teresita                                                             Address on File
 Prime Auto Solutions LLC                                                     4407 N John Young Pkwy                                             Orlando              FL          32804
 Prime Time Carolina Transporters                                             2211 Hudson Rd Apt 1014                                            Greer                SC          29650
 Prime Time Carolina Transporters LLC                                         36 Swade Way                                                       Greer                SC          29650
 Prime Transport LLC                                                          1485 East New Circle Road                                          Lexington            KY          40509
 Prince Land Inc                                                              399 North Cypress Drive                                            Tequesta             FL          33469
 Print Dynamics                                                               1721 North Federal Hwy                                             Ft Lauderdale        FL          33305
 Priority Auto Carrier                                                        30235 SW 158th Ct                                                  Homestead            FL          33033
 Priority Credit Union                                                        301 E Michigan St                                                  Orlando              FL          32806-4539
 Priority Towing Inc                                                          7153 Southern Blvd Suite A                                         West Palm Beach      FL          33413
 Pro Help Transports LLC                                                      22 Wilson Drive                                                    Framingham           MA          01702
 Pro Star Auto Group LLC                                                      1850 Clay Street                                                   Hammond              IN          46320
 Pro Star Transport LLC                                                       119 Canal St                                                       Gulfport             MS          39507
 Pro Transport LLC                                                            1904 Harbor Blvd #303                                              Costa Mesa           CA          92627
 Proactive Training Solutions LLC                                             20701 N Scottsdale Rd                                              Scottsdale           AZ          85255
 Proauto Miami Transport                                                      13851 SW 139th Street                                              Miami                FL          33186
 Proauto Miami Transport LLC                                                  13851 SW 139 Ct                                                    Miami                FL          33186
 Probilling & Funding Service                   Russell Smith Auto Group      PO Box 2222                                                        Decatur              AL          35609-2222
 Pro-Cut International LLC                                                    PO Box 28912                                                       Chicago              IL          60673-8912
 Professional Air Monitoring, LLC                                             PO Box 1192                                                        Goldenrod            FL          32733
 Professional Auto Carriers Inc.                                              4928 N Cook                                                        Spokane              WA          99217
 Professional Auto Services Inc.                                              1850 Se 19th Ave                                                   Homestead            FL          33035
 Professional Auto Shipping Inc                                               16133 SW 107 Pl                                                    Miami                FL          33157
 Professional Autotransport And Recovery Corp                                 654 NE 9th Place                                                   Homestead            FL          33030
 Professional Process Services                                                1749 NE 26th Street Sutie A                                        Wilton Manors        FL          33305
 Professional Service Industries Inc                                          PO Box 74008418                                                    Chicago              IL          60674-8418
 Professional Standard                                                        3564 Botwell Rd                                                    Lake Worth           FL          33461
 Proficient Property Preservation                                             2620 Carlisle Pike                                                 New Oxford           PA          17350
 Profurma 3Rd Degree Marketing                  Eclectic Technical Systems    7110 Whipple Ave Nw                                                North Canton         OH          44720
 Progressive
 Progressive Auto Transport                                                   14945 SW 304th Terrace                                             Homestead            FL          33033
 Progressive Business Publications              American Future Systems Inc   PO Box 3019                                                        Malvern              PA          19355
 Progressive Transport LLC                                                    137 Golden Isles Drive                                             Hallandale           FL          33009
 Project Caine, Inc.                                                          1948 E Sunrise Blvd Suite 1                                        Ft Lauderdale        FL          33304
 Prokeys LLC                                                                  12717 W Sunrise Blvd Ste 138                                       Sunrise              FL          33323
 Pronto Enterprises Of Palm Beach                                             2715 Westgate Ave                                                  West Palm Beach      FL          33409
 Pronto Mechanical LLC                                                        11010 Verano Street                                                Houston              TX          77029
 Proper Auto Transport LLC                                                    2355 NW 70th Ave #D8                                               Miami                FL          33122
 Proplogix, LLC                                 City Lien Search              6742 Forest Hill Blvd - #298                                       West Palm Beach      FL          33413
 Pro-Tech Air Conditioning & Plumbing Inc                                     2425 Silver Star Road                                              Orlando              FL          32804
 Protran LLC                                                                  1099 Park Lane                                                     Fordland             MO          65652
 Protrans America LLC                                                         904 137th St E                                                     Bradenton            FL          34212
 Provenance Wealth Advisors                                                   Sith Floor                                                         Miami                FL          33131
 Pro-Vigil, Inc                                                               PO Box 677107                                                      Dallas               TX          75267-7107
 Provitt, Lindsey                                                             Address on File
 Proxitell Corp                                                               15589 SW 62nd Street                                               Miami                FL          33193
 Prweb News Svc
 Przybylski Jr, Thomas J                                                      Address on File
 Ps Systems Inc                                                               1180 NW 163rd Drive                                                Miami                FL          33169
 Pts Auto Carriers, LLC                                                       420 S Truman Blvd                                                  Crystal City         MO          63019
 Publicis Communications Collection Account     Razorfish LLC                 PO Box 1696                                                        Carol Stream         IL          60132-1696
 Publicis Sapient                                                             PO Box 4886                                                        Boston               MA          02241-4886



Off Lease Only LLC, et al.                                                                                                                                                                     Page 113 of 155
                                                      Case 23-11389-CTG            Doc 1-1          Filed 09/07/23    Page 114 of 155
                                                                                          Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name                    Attention               Address 1                    Address 2    Address 3             City            State       Zip        Country
 Publix
 Puchoon, Derrel                                                 Address on File
 Pulido Transportation Inc.                                      4070 W 9 Way                                                      Hialeah              FL           33012
 Pulido Trucking Corp                                            17710 NW 73rd Ave Apt 102                                         Hialeah              FL           33015
 Pulverenti, Lori Ann                                            Address on File
 Pupo-Perez, Wilber                                              Address on File
 Purchase Power                                                  PO Box 371896                                                     Pittsburgh           PA           15250
 Pure Energy Systems, LLC.                                       4521 Pga Blvd                                                     Palm Beach Gardens   FL           33418
 Pure Transport LLC                                              4851 NW 26th Ct                                                   Lauderdale Lakes     FL           33313
 Purecars                                                        Lockbox 2380                                                      Birmingham           AL           35246-2380
 Pw Transporters LLC                                             2034 Se Wald St                                                   Port Saint Lucie     FL           34984
 Py And Sons Trucking Services                                   11457 SW 242 Lane                                                 Homestead            FL           33032
 Pyatt, Carlos Earl                                              Address on File
 Pye Barker Fire & Safety, LLC            Pb Parent Holdco, Lp   PO Box 735358                                                     Dallas               TX           75373-5358
 Pyers Auto Transport LLC                                        1022 Yorkshire St                                                 Port Charlotte       FL           33952
 Pyers Auto Transportation                                       PO Box 380011                                                     Murdock              FL           33938
 Pyle, James Brian                                               Address on File
 Pzl Express                                                     613 John Sutherland Dr                                            Nicholasville        KY           40356
 Qic Pic Locksmith                                               PO Box 880153                                                     Boca Raton           FL           33488
 Qman Car Hauler LLC                                             16744 SW 99th Court                                               Miami                FL           33157
 Qrs Towing & Transport LLC                                      11644 S Greenville Rd                                             Greenville           MI           48838
 Quality Air Conditioning Company Inc                            720 W Mcnab Rd                                                    Ft Lauderdale        FL           33309
 Quality Auto Trans Inc                                          5010 Greenway Dr                                                  North Port           FL           34287
 Quality Auto Transportation                                     4804 Erica Ct                                                     Charlotte            NC           28227
 Quality Choice Investment Inc.                                  7209 Je Wt Harris Blvd #103                                       Charlotte            NC           28227
 Quality Collision Center LLC                                    11815 Misty Valley Drive                                          Houston              TX           77066
 Quality Craftsman Specialist LLC                                9945 47th Ave N                                                   St Petersburg        FL           33708
 Quality Transport                                               565 Ratta Rd                                                      Chazy                NY           12921
 Qualtrics, LLC                                                  PO Box 29650 Dept#880102                                          Phoenix              AZ           85038
 Queens Carrier LLC                                              4778 Monarch Way                                                  Coconut Creek        FL           33073
 Queen's Gambit Auto Transport Inc                               1240 NW 181 Street                                                Miami Gardens        FL           33169
 Quench Usa, Inc                                                 PO Box 735777                                                     Dallas               TX           75373-5777
 Quesada Perez, Reinaldo                                         Address on File
 Quevedo Torres, Yoveidys                                        Address on File
 Quick Auto Transport LLC                                        19424 Via Del Mar #108                                            Tampa                FL           33647
 Quick Response Fire Protection, LLC                             20545 Independence Blvd Ste G                                     Groveland            FL           34736
 Quick Service Transportation Corp                               18 Golden Avenue                                                  Medford              MA           02155
 Quick Star 1 Inc                                                1328 Willey St Apt 215                                            Hollywood            FL           33019
 Quick Towing                                                    835 NW 7 Terrace                                                  Ft Lauderdale        FL           33309
 Quickview Technologies Inc                                      3939 Belt Line Rd Ste 190                                         Addison              TX           75001
 Quiles, Yarilet                                                 Address on File
 Quiles, Zachary Jose                                            Address on File
 Quinn, Michael W                                                Address on File
 Quinones Law, P.A.                                              8461 Lake Worth Road                                              Lake Worth           FL           33467
 Quinones, Jose Angel                                            Address on File
 Quinta High Quality Transportation LLC                          2314 Kings Crest Road                                             Kissimmee            FL           34744
 Quintana, Sandro                                                Address on File
 Quintavalle, Taylor                                             Address on File
 Quintero, Jose                                                  Address on File
 Quiroga, Christian Andres                                       Address on File
 Qv Transport LLC                                                3715 Briarwood Estates Cir                                        Saint Cloud          FL           34772
 R & G Gray Inc                                                  1525 SW 111 Avenue Apt 206                                        Pembroke Pines       FL           33025
 R & R Auto Express Inc                                          PO Box 940086                                                     Miami                FL           33194
 R And B Trucking And Carrier LLC                                2701 East Surrey Drive                                            North Charleston     SC           29405
 R Dede LLC                                                      PO Box 24807                                                      Dayton               OH           45424
 R Gomez Corporation                                             2126 SW 7 St                                                      Miami                FL           33135
 R J Michael Inc                                                 750 East Sample Road 3-221                                        Pompano Beach        FL           33064
 R&A Auto Carrier LLC                                            2831 Riverdale Dr N                                               Miramar              FL           33025
 R&C Transportaion LLC                                           10062 W Highland Avenue                                           Phoenix              AZ           85037
 R&E Trucking LLC                                                148 E Street Road Unit 331                                        Feasterville         PA           19053
 R&G Platinum Hauling Corp                                       3203 Se 6th Street                                                Homestead            FL           33033
 R&J Elite Transport LLC                                         2644 Tobacco Hill Rd                                              Red Oak              VA           23964



Off Lease Only LLC, et al.                                                                                                                                                        Page 114 of 155
                                                Case 23-11389-CTG                   Doc 1-1        Filed 09/07/23    Page 115 of 155
                                                                                          Creditor Matrix
                                                                                        as of September 6, 2023
                    Creditor Name              Attention                      Address 1                  Address 2    Address 3              City        State       Zip     Country
 R&J Express LLC                                                 766 Hertiage Drive                                               Sparta            KY           41086
 R&J Logistics Enterprises LLC                                   16960 Wildcat Dr                                                 Fort Myers        FL           33913
 R&J Transport                                                   11651 Timber Creek Drive                                         Fort Myers        FL           33913
 R&K Express Trucking Inc.                                       15 Meagan Lane                                                   Lemont            IL           60439
 R&L Carriers Inc                   Greenwood Motor Lines, Inc   600 Gillam Road                                                  Wilmington        OH           45177
 R&L Express Line LLC                                            5 SW 116th Court                                                 Miami             FL           33174
 R&M Carriers Of America Inc                                     11940 SW 186 St                                                  Miami             FL           33177
 R&M Towing And Recovery                                         8421 NW 70 St                                                    Miami             FL           33166
 R&M Transport                                                   PO Box 8354                                                      Philadelphia      PA           19101
 R&M Transport Inc                                               1570 SW 131 St Pl                                                Miami             FL           33184
 R&M Transport Services LLC                                      233 Copley Rd                                                    Upper Darby       PA           19082
 R&Rk Trucking Inc                                               4006 Bishop Circle                                               Labelle           FL           33935
 R&S Auto Services Inc.                                          1212 South Taylor Road                                           Seffner           FL           33584
 R&S Investigative Group                                         3505 Lake Lynda Dr Suite 200                                     Orlando           FL           32817
 R1 Express LLC                                                  4281 Onondaga Blvd                                               Syracuse          NY           13219
 R34 Auto Transport Corp                                         5020 NW 199th Street                                             Miami Gardens     FL           33055
 Rabbit Auto Transport Inc                                       5430 NW 181st Terrace                                            Miami Gardens     FL           33055
 Rabio So Inc. - Fl Only                                         1318 Tennessee St                                                Plant City        FL           33563
 Radiant Credit Union                                            4440 NW 25th Place                                               Gainsville        FL           32606
 Radosevich, Rebecca Ann                                         Address on File
 Raf Transportation Inc                                          3462 Lake Dr                                                     Dunedin           FL           34698
 Rafi, Michael Taplin                                            Address on File
 Raft Waggon Inc                                                 8218 Borgia Ct                                                   Orlando           FL           32836
 Rahman, Mohammed Tashadquar                                     Address on File
 Rainbox Express Transport LLC                                   3175 S Congress Ave Ste 306                                      Palm Springs      FL           33461
 Rainy Daze Haulin LLC                                           PO Box 22332                                                     West Palm Beach   FL           33416
 Rajoy Tarpin, Anthony                                           Address on File
 Ram Express Service                                             203 Gaterside Street                                             Lehigh Acres      FL           33936
 Ramer, John E                                                   Address on File
 Ramirez Alvarez, Jessica Maria                                  Address on File
 Ramirez G, Ivan Jose                                            Address on File
 Ramirez Vazquez, Paige Laura                                    Address on File
 Ramirez, Carlos A                                               Address on File
 Ramirez, Elvin David                                            Address on File
 Ramirez, Jorge Antonio                                          Address on File
 Ramirez, Justin Jay                                             Address on File
 Ramirez, Kelbin J                                               Address on File
 Ramirez, Miriam Amparo                                          Address on File
 Ramirez, Paris                                                  Address on File
 Ramkissoon, Yashoda Sangeeta                                    Address on File
 Ramon Rivera Padilla                                            Address on File
 Ramos Corral, Pedro P                                           Address on File
 Ramos Transport Corp                                            610 East 17th Street                                             Hialeah           FL           33010
 Ramos Transportation LLC                                        2704 Welshcrest Dr                                               Antioch           TN           37013
 Ramos, Jorge Alejandro                                          Address on File
 Ramses Trucking Inc                                             PO Box 151508                                                    Tampa             FL           33634
 Rance, Jason Beale                                              Address on File
 Ranck, Bradley Thomas                                           Address on File
 Randall, Robert Kenneth                                         Address on File
 Randstad North America, Inc                                     PO Box 847872                                                    Dallas            TX           75284
 Randy Trucking Corp                                             1512 Clair Mel Circle                                            Tampa             FL           33619
 Randy's Repair                                                  13644 Route 23A                                                  Prattsville       NY           12468
 Ranger Guard & Investigations                                   4660 Beechnut St #200                                            Houston           TX           77096
 Ranger, Carlene M                                               Address on File
 Rapid A Transport Inc                                           6107 SW Murray Blvd                                              Beaverton         OR           97008
 Rapid Auto Carrier LLC                                          17242 71st Ct                                                    Tinley Park       IL           60477
 Rapid Auto Haulers Inc                                          21714 N Heritage Circle                                          Pembroke Pines    FL           33029
 Rapid Auto Transport Inc                                        2501 John Eppes Rd                                               Herndon           VA           20171
 Rapid Auto Transport LLC                                        5202 Midlothiam Tpke Unit#112                                    Crestwood         IL           60418
 Rapid Car Transport Inc                                         8040 Crespi Blvd Apt 1                                           Miami Beach       FL           33141
 Rapid Charge LLC                                                10201 Harwin Dr - Apt 1803                                       Houston           TX           77036
 Rapid Fire Transportation Inc                                   1742 Redmont Ave                                                 Lehigh Acres      FL           33972



Off Lease Only LLC, et al.                                                                                                                                                 Page 115 of 155
                                                             Case 23-11389-CTG                Doc 1-1         Filed 09/07/23    Page 116 of 155
                                                                                                    Creditor Matrix
                                                                                                   as of September 6, 2023
                    Creditor Name                           Attention                  Address 1                    Address 2    Address 3            City          State       Zip        Country
 Rapid Transportation                                                     10696 Cosmonaut Blvd #106                                          Orlando           FL           32824
 Rappoport LLC                                   Prokopets Mikhail        5373 NW 55th Terrace                                               Coconut Creek     FL           33073
 Raso, Don J                                                              Address on File
 Rattle Snake Security LLC                                                750 S Orange Blossom Trail                                         Orlando           FL           32805
 Raudel Towing Inc.                                                       2026 SW 106 Ct                                                     Miami             FL           33165
 Ravi, Sajeev                                                             Address on File
 Raw Hauler Transport LLC                                                 5405 W 13th Avenue                                                 Hialeah           FL           33012
 Raw Power Motorsports Transportation                                     1079 Sheeler Hills Drive                                           Apopka            FL           32703
 Rawji, Mohamed                                                           Address on File
 Rawls Auto Auction                                                       2818 Pond Branch Rd                                                Leesville         SC           29070
 Ray Towing Service LLC                                                   515 Beverly Ave                                                    Largo             FL           33770
 Ray V Express Inc.                                                       1083 SW 137th Avenue                                               Miami             FL           33184
 Raycom Media
 Raymily Corp                                                             132550 SW 4Ct                                                      Pembroke Pines    FL           33027
 Raymond, Emmanuel                                                        Address on File
 Rayside Truck & Trailer                                                  2983 S Military Trail                                              West Palm Beach   FL           33415
 Rb & Dc Solutions LLC                                                    7191 Ramona Street                                                 Miramar           FL           33023
 Rbd Logistic Corp                                                        7608 Pinery Way B-2                                                Tampa             FL           33615
 Rbm Of Alpharetta                                                        345 Mcfarland Pkwy                                                 Alpharetta        GA           30004
 Rbs Citizens
 Rcg Transport Services LLC                                               6281 Thomas St                                                     Hollywood         FL           33024
 Rcs Trucking LLC                                                         1453 Pearl Ave Se                                                  Live Oak          FL           32064
 Rct Carrier Express Inc.                                                 4301 NW 202 Street                                                 Newberry          FL           32669
 Rdb Speed Transport Corp                                                 50 W 57 St                                                         Hialeah           FL           33012
 Rdfe Inc                                                                 10337 Stone Glen Drive                                             Orlando           FL           32825
 Rdr Auto Transport Inc                                                   122 Grand Reserve Ct                                               Davenport         FL           33837
 Rea, Leonard William                                                     Address on File
 Reading Truck Equipment, LLC                                             2983 S Military Trail                                              West Palm Beach   FL           33415
 Ready 2 Go Auto Transport Inc.                                           599 W 45th Place                                                   Hialeah           FL           33013
 Ready And Willing Transport LLC                                          1029 Spruce St                                                     Roselle           NJ           07203
 Ready Logistics                                                          1030 N Colorado Street                                             Gilbert           AZ           85233
 Ready To Go Logistics, Inc.                                              6511 Nova Drive                                                    Davie             FL           33317
 Ready4Transport Corp                                                     18310 NW 86th Ave                                                  Hialeah           FL           33015
 Readyrefresh
 Realistic Transprt LLC                                                   12719 Buffalo Run Drive                                            Gilbsonton        FL           33534
 Reality Auto Sales Inc.                                                  PO Box 12216                                                       Baltimore         MD           21281
 Realize Bradenton Inc                                                    PO Box 9114                                                        Bradenton         FL           34206
 Realtors Assoc. Of The Palm Beaches                                      1 Harvard Circle                                                   West Palm Beach   FL           33409
 Reategui, Edwin A                                                        Address on File
 Rebeca Hernandez                                                         Address on File
 Recovery Center & Management Inc                                         6278 N Federal Hwy #127                                            Ft Lauderdale     FL           33308
 Recovery Racing LLC Dba Ferrari-Maserati Of F                            5750 North Federal Highway                                         Fort Lauderdale   FL           33308
 Red Canary Inc                                                           1601 19th Street Ste 900                                           Denver            CO           80202
 Red Dot Transportation                                                   2331 Overlook Ct                                                   Naperville        IL           60563
 Red Elephant Entertainment, LLC                                          2730 NW 170th Street                                               Miami Gardens     FL           33056-4439
 Red Flag Reporting                                                       PO Box 4230                                                        Akron             OH           44321
 Red Highway Auto                                                         331 Collins Avenue                                                 Miami Beach       FL           33139
 Red House Transport Inc                                                  10802 Perez Dr                                                     Tampa             FL           33618
 Red Wheels Inc.                                                          3536 E Highway 27                                                  Linclnton         NC           28092
 Red-D-Arc Inc                                   Red-D-Arc Welderentals   PO Box 734675                                                      Dallas            TX           75373-4675
 Redline Auto Transport Inc.                                              PO Box 7970                                                        Algonquin         IL           60102
 Redline Auto Transport LLC                                               2295 Southport Drive                                               Bushkill          PA           18324
 Redline Transport LLC                                                    304 Greenfield Lane                                                Las Vegas         NV           89107
 Redline Transport Service Inc.                                           24695 SW 124th Avenue                                              Homestead         FL           33032
 Redmond, Madison Alexis                                                  Address on File
 Redmond's Enterprise Inc.                                                6710 Trowbridge Place                                              Fort Washington   MD           20744
 Red's Miami Inc                                                          7331 NW 27 Ave                                                     Miami             FL           33147
 Redway, Ian W                                                            Address on File
 Reed Nissan                                                              3776 W Colonial Dr                                                 Orlando           FL           32808
 Reed, Christopher Lloyd                                                  Address on File
 Reed, Christopher Lloyd                                                  Address on File
 Reeves Import Motorcars                                                  11333 N Florida Avenue                                             Tampa             FL           33612



Off Lease Only LLC, et al.                                                                                                                                                               Page 116 of 155
                                                             Case 23-11389-CTG                 Doc 1-1         Filed 09/07/23    Page 117 of 155
                                                                                                      Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                           Attention                     Address 1                  Address 2    Address 3             City          State       Zip        Country
 Ref Ref Transport LLC                                                      3709 S George Mason Dr                                            Falls Church       VA           22041
 Refine Auto Transport Inc                                                  10068 NW 127th Street                                             Hialeah Gardens    FL           33018
 Refrigerants Plus                              Automart Distributors Inc   2001 NW 15th Ave Bay 104                                          Pompano Beach      FL           33069
 Regal Infinite Trucking LLC                                                7317 SW 8th Ct                                                    North Lauderdale   FL           33068
 Regan, Daniel David                                                        Address on File
 Regis, Kevin                                                               Address on File
 Regis, Mac Land                                                            Address on File
 Regis, Menuau                                                              Address on File
 Registration Section Of The Division Of Corp                               PO Box 6327                                                       Tallahassee        FL           32314
 Rego Business LLC                                                          3801 Crystal Lake Drive                                           Pompano Beach      FL           33064
 Rehman, Saif Ur                                                            Address on File
 Reid, Peter D                                                              Address on File
 Reid, Bert                                                                 Address on File
 Reile Auto Body LLC                                                        1575 Donna Rd                                                     West Palm Beach    FL           33409
 Reimy Auto Transport Inc                                                   880 SW 128th Ave                                                  Miami              FL           33184
 Reina Larrota, Sergio                                                      Address on File
 Reiner, Sophie C                                                           Address on File
 Reks Inc                                                                   260 Winter Street                                                 Holliston          MA           01746
 Reliable Auto Carrier Corp                                                 3048 Cardillino Way                                               Kissimmee          FL           34741
 Reliable Auto Shipping Inc                                                 352 Van Ettan Rd                                                  Prattsville        NY           12468
 Reliable Auto Transport                                                    15757 Pines Blvd #164                                             Pembroke Pines     FL           33027
 Reliable Car Transportation Inc                                            1581 W 49th St # 105                                              Hialeah            FL           33012
 Reliable Transportation                                                    59 Cross Street                                                   Locust Valley      NY           11560
 Reliable Transporters Group, Inc.                                          14026 SW 151st Court                                              Miami              FL           33196
 Reliance Auto Transport Inc                                                10250 SW 8th Ct                                                   Pembroke Pines     FL           33025
 Reliance Transport Service Inc                                             14127 SW 51st Ln                                                  Miramar            FL           33027
 Reliant Auto Transport Inc                                                 1216 Wooded Creek Circle                                          Lewisville         TX           75067
 Reliford, Atreu                                                            Address on File
 Reload Auto Transport LLC                                                  295 NW Commons Loop Ste                                           Lake City          FL           32055
 Remco Auto Glass LLC                                                       8606 Alegre Cir                                                   Orlando            FL           32836-5450
 Remer & Georges-Pierre, PLLC                                               44 West Flagler St - Ste 2200                                     Miami              FL           33130
 Remys Auto Transport                                                       3106 23rd Street Sw                                               Lehigh Acres       FL           33976
 Renegade Auto Transport Corp                                               15201 SW 141 Terrace                                              Miami              FL           33196
 Renegade's Auto Transport LLC                                              432Suwannee Dr                                                    N Ft Myers         FL           33917
 Renfrow Transportation LLC                                                 1130 Furman Drive                                                 Lumberton          NC           28358
 Renwick, William Loren                                                     Address on File
 Republic Services #759                                                     PO Box 9001099                                                    Louisville         KY           40290
 Reputation.Com                                                             Dept 3981 PO Box 123981                                           Dallas             TX           75312-3981
 Res Auto Carrier Inc                                                       12454 Bohannon Blvd                                               Orlando            FL           32824
 Resource Management And Acquisitions                                       14252 Culver Drive                                                Irvine             CA           92604
 Resource One Cleaning Supplies                                             2202 Industrial Blvd                                              Sarasota           FL           34234-3120
 Responsible Auto Transport LLC                                             5275 NW 7th St #407                                               Miami              FL           33126
 Ret Trucking LLC                                                           5 Ginia St                                                        Howell             NJ           07731
 Revolution Transportation Corp                                             4836 Barcelona Avenue                                             Sarasota           FL           34235
 Revolution Transportation Corp                                             16 North St                                                       Framingham         MA           01701
 Rexexpress LLC                                                             1752 Music Lane                                                   North Port         FL           34286
 Rey Transport Group Inc                                                    20670 SW 123rd Ct                                                 Miami              FL           33177
 Reyan Trans LLC                                                            14430 NW 11th Street                                              Pembroke Pines     FL           33028
 Reyes, Kelven Larry                                                        Address on File
 Reyes, Luigi                                                               Address on File
 Reyes, Mario A                                                             Address on File
 Reyes, Nelvis                                                              Address on File
 Reyes, Gino                                                                Address on File
 Reyli Transport LLC                                                        7534 Ironbark Dr                                                  Port Richey        FL           34668
 Reynolds & Reynolds                                                        PO Box 182206                                                     Columbus           OH           43218-2206
 Reynolds, Twanda Lavette                                                   Address on File
 Reynolds, Walnisha                                                         Address on File
 Rf Logistics LLC - Sc Only                                                 1901 Woodruff Road                                                Greenville         SC           29607
 Rg Expedited Inc                                                           319 Sparrow Lane                                                  Bartlett           IL           60103
 Rgll Transport LLC                                                         10438 Musket Circle                                               Independence       KY           41051
 Rgm Transport Inc                                                          526 SW Bradshaw Cir                                               Port St Lucie      FL           34953
 Rhema World Christian Academy                                              4850 N State Road 7 Suite 108                                     Lakerdale Lakes    FL           33319



Off Lease Only LLC, et al.                                                                                                                                                                 Page 117 of 155
                                                          Case 23-11389-CTG            Doc 1-1         Filed 09/07/23    Page 118 of 155
                                                                                              Creditor Matrix
                                                                                            as of September 6, 2023
                    Creditor Name                        Attention                  Address 1                Address 2    Address 3            City           State       Zip     Country
 Rhino Auto Transport Inc                                             831 NW 7th Terrace                                              Ft Lauderdale      FL           33311
 Rhino Tire Usa LLC                                                   11423 Satellite Blvd                                            Orlando            FL           32837
 Rhino Towing LLC                                                     22621 SW 102nd Ave                                              Miami              FL           33190
 Rhoden Jones, Suzette                                                Address on File
 Ribar, Kristen                                                       Address on File
 Riccar Transport Corp                                                7251 SW 138th Place                                             Miami              FL           33183
 Rich And Co Freightline Inc                                          20838 Beech Tree Drive                                          Katy               TX           77449
 Rich Trucking Corp                                                   142 Oxford Ranch Rd                                             Waxahachie         TX           75167
 Rich, Mark Wesley                                                    Address on File
 Rich, Ryan John                                                      Address on File
 Richard H Auto Transport                                             11212 Stone Gate Ct                                             Orlando            FL           32837
 Richarde, Robert C                                                   Address on File
 Richards & Son Towing Svc                                            841 Pine Shoals Drive                                           College Park       GA           30349
 Richer Trucking                                                      15077 Meridian Rd                                               Chico              CA           95973
 Rick Case Acura                              Rick Case Auto Inc      875 N State Rd 7                                                Plantation         FL           33317
 Rick Case Alfa Romeo Fiat Maserati                                   3500 Weston Rd                                                  Davie              FL           33331
 Rick Case Honda                                                      15700 Rick Case Honda Way                                       Davie              FL           33331
 Rick Case Hyundai                                                    3550 Weston Rd                                                  Davie              FL           33337
 Rick Case Kia                                Rick Case Sunrise LLC   14500 W Sunrise Blvd                                            Sunrise            FL           33323
 Rick Case Powerhouse                                                 15701 Rick Case Honda Way                                       Davie              FL           33331
 Rick Case Volkswagen                                                 3520 Weston Rd                                                  Weston             FL           33331
 Rick Hendrick Toyota Scion                                           6475 Roswell Road                                               Sandy Springs      GA           30328
 Rickard, Omardia                                                     Address on File
 Rico, Carmen Feliza                                                  Address on File
 Ridella, Amber Lynn                                                  Address on File
 Rides 4 Wheels LLC                                                   PO Box 351866                                                   Palm Coast         FL           32135
 Ridley, Markiec Anthwan                                              Address on File
 Right Away Transport Corp                                            8724 NW 116th Terrace                                           Hialeah Gardens    FL           33018
 Right Hauler Inc.                                                    7109 NW 174 Terr                                                Hialeah            FL           33015
 Right Management                                                     1301 East Broward Blvd                                          Fort Lauderdale    FL           33301
 Right Transport LLC                                                  4300 SW 33rd Street                                             West Park          FL           33023
 Right Way Auto LLC                                                   63 Warwick Street                                               Newark             NJ           07105
 Righteous Path Auto Carriers                                         1820 Patriot Way                                                St Cloud           FL           34769
 Rightway Auto Transport Corp- Fl Only                                13841 SW 30th St                                                Miami              FL           33175
 Rimcast Car Carrier Inc                                              354 Flagami Blvd                                                Miami              FL           33144
 Rimfx Wheel Repair And Powder Coating, LLC                           190 Business Park Way                                           Royal Palm Beach   FL           33411
 Rimland Corp                                                         301 E Oakridge Rd                                               Orlando            FL           32809
 Riner Engineering, Inc.                                              4641 Kennedy Commerce Dr                                        Houston            TX           77032
 Rio Automotive Inc                                                   27 Norwood St                                                   Everett            MA           02149
 Rio Car Carrier LLC                                                  9975 SW 164 Terr                                                Miami              FL           33157
 Rio Freight Inc                                                      631 Cypress Lake Blvd                                           Pompano Beach      FL           33064
 Rios, Hugo Elias                                                     Address on File
 Rise Auto Shipping Inc                                               33 Buckingham Dr                                                Southwick          MA           01077
 Rise United Inc                                                      8647 Ogden Ave                                                  Lyons              IL           60534
 Ritter Chusid, Llp                                                   5850 Coral Ridge Drive                                          Coral Springs      FL           33076
 Rivera Auto Transport LLC                                            6700 SW 18th Ct                                                 North Lauderdale   FL           33068
 Rivera Gonzalez, Idalis                                              Address on File
 Rivera Gonzalez, Manuel                                              Address on File
 Rivera Nieves, Jean                                                  Address on File
 Rivera V Towing Service LLC                                          1245 Palm Bay Rd #Aa101                                         Palm Bay           FL           32905
 Rivera, Carlos                                                       Address on File
 Rivera, Cherise Nicole                                               Address on File
 Rivera, David                                                        Address on File
 Rivera, Dylaisha                                                     Address on File
 Rivera, Isaias                                                       Address on File
 Rivera, Joseph Perfecto                                              Address on File
 Rivera, Jossy                                                        Address on File
 Rivera, Norman Armand Ruben                                          Address on File
 Rivera, Jose                                                         Address on File
 Rivero Leiva, Guido Inti                                             Address on File
 Rivero, Amanda                                                       Address on File
 Rivero, Ruben                                                        Address on File



Off Lease Only LLC, et al.                                                                                                                                                      Page 118 of 155
                                                              Case 23-11389-CTG            Doc 1-1          Filed 09/07/23   Page 119 of 155
                                                                                                     Creditor Matrix
                                                                                                as of September 6, 2023
                   Creditor Name                             Attention                  Address 1                Address 2    Address 3            City             State       Zip        Country
 Rivero, Samantha Nicole                                                 Address on File
 Rives Towing Corp                                                       12525 Mondragon Dr                                               Tampa                FL           33625
 Riviera Beach Star Hands Auto Body Shop LLC                             7200 N Military Trail                                            Riviera Beach        FL           33410
 Rizo Auto Transport                                                     1970 E Osceola Pkwy #331                                         Kissimmee            FL           34743
 Rizvi, Syed Faizuddin                                                   Address on File
 Rizzo, Silvio Tomas                                                     Address on File
 Rj & Cpmpany Transport Inc                                              2289 Se Melaleuca Blvd                                           Port St Lucie        FL           34952
 Rj O'Brien Transportation                                               5 Fortune Way                                                    Salem                MA           01970
 Rj Scott Transport Company                                              65 Pittroff Ave                                                  South Hadley         MA           01075
 Rj Transporters Inc                             Rj Transportation Inc   4383 22nd Ave Ne                                                 Naples               FL           34120
 Rj Trucking Services Inc.                                               1166 Coventy Lane                                                Bolingbrook          IL           60440
 Rjr Logistics LLC                                                       14239 Half Way Road                                              Norwood              NC           28128
 Rl Barclacy Transport LLC                                               4832 Morris Glen Drive Sw                                        Concord              NC           28027
 Rl Transpo Inc                                                          518 Stevens Street                                               Jacksonville         FL           32254
 Rlc Architects Pa                                                       14 Se 4th Street                                                 Boca Raton           FL           33432
 Rlt Transportation Services LLC                                         2660 NW 87th Lane                                                Sunrise              FL           33322
 Rm Transport                                                            142 Eagle Point Blvd                                             Auburndale           FL           33823
 Rm Transport                                                            3161 Royalwood Rd                                                North Royalton       OH           44133
 Rm13 Transport                                                          4449 SW 11th Place                                               Deerfield Beach      FL           33442
 Rmg Auto Repair Inc                                                     12976 NW 42nd Ave #109                                           Opa Locka            FL           33054-4403
 Rnc Auto Transport Inc                                                  2401 Avalon Ct                                                   Kissimmee            FL           34743
 Road Ants LLC                                                           7419 SW 152nd Avenue                                             Miami                FL           33193
 Road Dog Transport                                                      10280 Beloit Snodes Rd                                           Beloit               OH           44609
 Road Hog                                                                1458 Chelmsford Sq S                                             Columbus             OH           43229
 Road King Transportation LLC                                            5925 E Dr Mlk Jr Blvd                                            Tampa                FL           33619
 Road Kings Transport Inc                                                126 Summer St                                                    Gardner              MA           01440
 Road Kingz Hauling & Transport                                          2730 Wynford Ave                                                 Marrietta            GA           30064
 Road Master Towing Corp                                                 13841 SW 30th St                                                 Miami                FL           33175
 Road Rage Transport LLC                                                 2140 Marion Drive                                                Las Vegas            NV           89115
 Road Runner Services, LLC                                               PO Box 849                                                       Hendersonville       TN           37077
 Road Runner Towing                                                      251 W 43 St                                                      Hialeah              FL           33012
 Road Runner Towing & Transport                                          200 Wood Street                                                  Swansea              MA           02777
 Road Runner Transportation LLC                                          PO Box 849                                                       Hendersonville       TN           37077
 Road Runners Auto Transport - Fl Only                                   1607 W Akron Drive                                               Deltona              FL           32725
 Road Runnerz Transporter Inc                                            1508 Buckingham Ave                                              Wellington           FL           33414
 Roadrunner 1 Transport                                                  1116 Crimson Clover Ln                                           Wesley Chapel        FL           33543
 Roadrunner National Express Inc                                         8305 NW 158th Terrace                                            Miami Lakes          FL           33016
 Roadrunner Services                                                     PO Box 849                                                       Hendersonville       TN           37077
 Roadway Tire & Parts Inc                                                1301 SW 2nd Street                                               Pompano Beach        FL           33069
 Robbins, Andrew Stephen                                                 Address on File
 Roberson, RaSheema Simone                                               Address on File
 Robert Half International Inc                                           PO Box 743295                                                    Los Angeles          CA           90074-3295
 Robert Reid Wedding Architects & Planners Inc                           4112 Cypress Street                                              Tampa                FL           33607
 Roberto Perez Jr                                                        Address on File
 Roberto Perez Jr.                                                       Address on File
 Roberts Auto Transport LLC                                              1294 Zimmerman Rd                                                Greenfield           OH           45123
 Roberts, Dalton Troy                                                    Address on File
 Roberts, Qia Deasia                                                     Address on File
 Roberts, Stacey Anne                                                    Address on File
 Robinson, Charnelle Z                                                   Address on File
 Robinson, Jacqueline D                                                  Address on File
 Robinson, Jennifer M.                                                   Address on File
 Robinson, Jermaine Andrade                                              Address on File
 Robinson, Sabrina N                                                     Address on File
 Robinson, Teddy                                                         Address on File
 Robles, Cesar E                                                         Address on File
 Robles, Frank                                                           Address on File
 Robs Transport Inc                                                      2925 SW 64th Ave                                                 Miami                FL           33155
 Robson Group LLC                                                        13 Waywood Pl                                                    Palm Coast           FL           32164
 Robyn S Hankins, Pl                                                     1217 Merlot Drive                                                Palm Beach Gardens   FL           33410
 Roca Cars Transport Inc                                                 245 Winter Ridge Blvd                                            Winter Haven         FL           33881
 Roca Tyransport Inc.                                                    7601 East Treasure Driver                                        North Bay Village    FL           33141



Off Lease Only LLC, et al.                                                                                                                                                               Page 119 of 155
                                                 Case 23-11389-CTG              Doc 1-1            Filed 09/07/23    Page 120 of 155
                                                                                         Creditor Matrix
                                                                                        as of September 6, 2023
                    Creditor Name               Attention                Address 1                       Address 2    Address 3             City         State      Zip     Country
 Roca, Lissette                                             Address on File
 Roccos Auto Parts                                          2121 South Military Trail                                             West Palm Beach   FL           33415
 Roche Brothers Transport Inc                               751 SW 104th Ave                                                      Miami             FL           33174
 Rock Auto LLC                                              6418 Mormandy Lane                                                    Madison           WI           53719
 Rock Star Glass Repair                                     25202 Chipshot Ct                                                     Sorrento          FL           32776
 Rock, Damion Keyondre                                      Address on File
 Rockdale County Tax Commissioner                           969 Pine St                                                           Conyers           GA           30012
 Rocket Franchising                  Jani-King Of Houston   4535 Sunbelt Drive                                                    Addison           TX           75001
 Rocket Transporting Services Inc.                          171113 Miramar Pkwy                                                   Miramar           FL           33027
 Rockit Auto Transport LLC                                  710 Sanctuary Dr                                                      Oviedo            FL           32766
 Rockland Auto Transport Inc                                132B N Liberty Dr                                                     Stony Point       NY           10980
 Rocky Mountain Auto Xpress Inc                             PO Box 51484                                                          Nillings          MT           59105
 Rocky Top Auto Carriers                                    16 Chase Court                                                        Greenville        TN           37745
 Rod Express LLC                                            5535 366th Ave                                                        Burlington        WI           53105
 Rodas, Gabriel                                             Address on File
 Rodas-Gonzalez, Pedro E                                    Address on File
 Rodney Bullock                                             109 Beasley Ct                                                        Cary              NC           27513
 Rodney Kitler Transport                                    96133 Stoney Glen Ct                                                  Yulee             FL           32097
 Rodriguez & Vita Transportation                            14831 Lincoln Drive                                                   Homestead         FL           33033
 Rodriguez Almonte, Ariel Jose                              Address on File
 Rodriguez Alvarez, Dennis David                            Address on File
 Rodriguez Auto Transport Corp                              4300 NW 79th Ave                                                      Doral             FL           33166
 Rodriguez Caballero, Jose Antonio                          Address on File
 Rodriguez Del Valle, Jose Luis                             Address on File
 Rodriguez Hauling Services Corp                            4517 Eden Rock Rd                                                     Tampa             FL           33634
 Rodriguez Perdomo, Pavel                                   Address on File
 Rodriguez Ramos, Jorge                                     Address on File
 Rodriguez Secure Transport LLC                             4517 Eden Rock Rd                                                     Tampa             FL           33634
 Rodríguez Silva, Jorge                                     Address on File
 Rodriguez Sosa, Dayana                                     Address on File
 Rodriguez Torres, Luan Jamil                               Address on File
 Rodriguez Varela, Claudio R                                Address on File
 Rodriguez, Adrian                                          Address on File
 Rodriguez, Angel Eduardo                                   Address on File
 Rodriguez, Daniel Domingo                                  Address on File
 Rodriguez, Dorian                                          Address on File
 Rodriguez, Emiguel Anthony                                 Address on File
 Rodriguez, Geovanny Augusto                                Address on File
 Rodriguez, Gerardo Jose                                    Address on File
 Rodriguez, Jonathan Manuel                                 Address on File
 Rodriguez, Manuel Jose                                     Address on File
 Rodriguez, Miguel Jose                                     Address on File
 Rodriguez, Natali Zabina                                   Address on File
 Rodriguez, Ramon                                           Address on File
 Rodriguez, Ray                                             Address on File
 Rodriguez, Samuel David                                    Address on File
 Rodriguez, Thomas W                                        Address on File
 Roeben, Thomas A                                           Address on File
 Roehrich-Hill, India Dawn                                  Address on File
 Roexpress Ltd                                              9207 Pleasant Lake Blvd                                               Parma             OH           44130
 Rofeline Inc                                               402 SW 7th Ct                                                         Cape Coral        FL           33991
 Roger Cruz Marketing                                       6124 Landrace Lane                                                    Orlando           FL           32804
 Roger D Mason P.A.                                         4610 Central Ave Suite B                                              St Petersburg     FL           33711
 Roger Dean Chevrolet                Pd-Mm Opco LLC         2235 Okeechobee Blvd                                                  West Palm Beach   FL           33409
 Rogers, Joseph P                                           Address on File
 Rogers, Karim Shaniyeh                                     Address on File
 Rogers, Veronica J                                         Address on File
 Roggherr Transportation Inc                                2422 Tennessee Ave                                                    Provo             UT           84606
 Rohoman, Jonathan Ally                                     Address on File
 Roilandis Arias LLC                                        795 Crawford St                                                       Deltona           FL           32725
 Roitikis Trucking Of Arcadia                               3018 Se Brown Rd                                                      Arcadia           FL           34266
 Rojas Cordova, Leonardo                                    Address on File



Off Lease Only LLC, et al.                                                                                                                                                Page 120 of 155
                                              Case 23-11389-CTG              Doc 1-1         Filed 09/07/23    Page 121 of 155
                                                                                      Creditor Matrix
                                                                                  as of September 6, 2023
                   Creditor Name              Attention                 Address 1                  Address 2    Address 3            City          State       Zip        Country
 Rojas Trucking                                           4040 Oakhill Ave                                                  Las Vegas         NV           89121
 Rojas Urbina , Jose Ivan                                 Address on File
 Rojas, Aldo                                              Address on File
 Rojas, Luis C                                            Address on File
 Rojassa Transportation LLC                               86 Clapboard Ridge Rd                                             Danbury           CT           06811
 Rolim Transport LLC                                      344 Augustine Dr                                                  Myrtle Beach      SC           29588
 Roller Coaster Express LLC                               2500 Knights Rd                                                   Bensalem          PA           19020
 Rollins, Myron De'Mire                                   Address on File
 Rollout Auto Transport                                   454 Landsburg Rd                                                  Glenwood          GA           30428
 Romana Truck & Equipment Inc                             1829 NW 32 Street                                                 Miami             FL           33142
 Romans Transportation Corp                               1213 Norpoint Way Ne                                              Tacoma            WA           98422
 Romay Auto Transport Inc                                 4236 Palm Bay Circle                                              West Palm Beach   FL           33406
 Romcar Usa LLC                                           45 River Drive South                                              Jersey City       NJ           07310
 Rome Services Of Florida Inc                             11326 Isle Of Waterbridge          Apt 205                        Orlando           FL           32837
 Romero, Iris Mary                                        Address on File
 Romero, Mateo Eduardo                                    Address on File
 Ronald & Brothers Trucking                               481 Hopkins St                                                    Lakeland          FL           33809
 Ronald Morgan                     Dba The Service        PO Box 1380                                                       Enumclaw          WA           98022
 Rondon Cardenas, Angie                                   Address on File
 Rondo's Roundup Automobile                               5354 S Fairland Park Ln                                           Tucson            AZ           85706
 Ronin Media Services Inc                                 148 Holderness Dr                                                 Longwood          FL           32779
 Ronlo Enterprises, Inc                                   PO Box 570008                                                     Miami             FL           33257
 Ronnie And George Carriers                               4130 Wausau Rd                                                    Ft Myers          FL           33916
 Ronny Transport LLC                                      4211 Hancock Ave                                                  Lakeland          FL           33812
 Rons Transport LLC                                       8201 Peters Road                                                  Plantation        FL           33324
 Ronsway Transport LLC                                    87 Blue Pointe Lane                                               Grand Island      NY           14072
 Rooks, Daniel Dean                                       Address on File
 Roose, Stephen Dubail                                    Address on File
 Roque Logistics Inc                                      581 N Park Ave #1661                                              Apopka            FL           32712
 Ror Transport                                            1335 Hall Church Rd                                               Makanda           IL           62958
 Rosario, Susana                                          Address on File
 Rose Auto Transport Inc                                                                                                                      FL           33311
 Rose Fence Company                                       7310 Old Cheney Hwy                                               Orlando           FL           32807
 Rose Trucking LLC                                        13836 SW 157th Street                                             Miami             FL           33177
 Rosillo, Carmelina                                       Address on File
 Rosman, Jonathan A.                                      Address on File
 Ross, Darren Ray                                         Address on File
 Rossler, Wayne Allen                                     Address on File
 Roswell Media LLC                                        PO Box 72731                                                      Marietta          GA           30007
 Rotex Express LLC                                        821 South Mill Street                                             Lewisville        TX           75057
 Roth Staffing Companies Lp                               450 North State College Blvd                                      Orange            CA           92868
 Roth, Alex Menahem                                       Address on File
 Rotondo, Elio                                            Address on File
 Roto-Rooter                                              5672 Collections Center Dr                                        Chicago           IL           60693
 Rousseau, Ricky                                          Address on File
 Route 66 Transport Corp                                  PO Box 160247                                                     Hialeah           FL           33016
 Route One LLC                                            16902 Collections Center Dr                                       Chicago           IL           60693
 Rowdy Transport LLC                                      19500 SW 212 St                                                   Miami             FL           33187
 Rowland, Chad Andrew                                     Address on File
 Roxy Auto Transportation                                 735 S Utopia Street                                               Clewiston         FL           33440
 Roy, Anthony                                             Address on File
 Roy, Cam Joseph                                          Address on File
 Roy, Claude L                                            Address on File
 Royal Auto & Truck Sales LLC                             6882 Edgewater Commerce Parkway                                   Orlando           FL           32810
 Royal Auto Carrier                                       5452 W Fallen Leaf Ln                                             Glendale          AZ           85310-2932
 Royal Auto Transport Inc                                 12634 Oak Run Ct                                                  Boynton Beach     FL           33436
 Royal Carrier Usa Inc                                    1723 SW 1st Place                                                 Cape Coral        FL           33991
 Royal Crown 2                                            40-42 Ferry St                                                    Newark            NJ           07105
 Royal Fleet Autos                                        PO Box 765208                                                     Dallas            TX           75376
 Royal Palm Mazda                                         551 S Military Trail                                              West Palm Beach   FL           33415
 Royal Palm Nissan                                        551 South Military Trail                                          West Palm Beach   FL           33415
 Royal Palm Toyota                                        551 S Military Trail                                              West Palm Beach   FL           33415



Off Lease Only LLC, et al.                                                                                                                                              Page 121 of 155
                                                     Case 23-11389-CTG              Doc 1-1         Filed 09/07/23    Page 122 of 155
                                                                                           Creditor Matrix
                                                                                         as of September 6, 2023
                   Creditor Name                    Attention                 Address 1                   Address 2    Address 3              City          State       Zip        Country
 Royal Restrooms Of North Florida                               PO Box 49                                                          Micanopy            FL           32667
 Royal Team LLC                                                 PO Box 292                                                         Milton              WA           98354
 Royal Transportation & Logistics Inc                           971 West 65th Street                                               Hialeah             FL           33012
 Royall, Thomas Lee                                             Address on File
 Royalty Express Corp                                           619 Cypress Pond Dr                                                Hope Mills          NC           28348
 Royalty Group Inc                                              2118 Plum Grove Rd Unit 142                                        Rolling Meadows     IL           60008
 Rp Auto Transport                                              34950 SW 212 Ave                                                   Homestead           FL           33034
 Rp Unlimited Transport Inc                                     11303 SW 165th Ter                                                 Miami               FL           33157
 Rpm Express                            Grey Tiger Inc          202 Christina Drive Suite 202                                      East Dundee         IL           60118
 Rpm Frieght Systems LLC                                        8689 Solution Center                                               Chicago             IL           60677
 Rpm Hauling LLC                                                206 Red Horizon Terrace                                            Henderson           NV           89015
 Rpm Moving                                                     PO Box 822                                                         Castleton           VT           05735
 Rps Group Inc                                                  PO Box 975203                                                      Dallas              TX           75397-5203
 Rq Vending
 Rr Auto Transport Inc                                          3401 N Kennicott Ave                                               Arlington Heights   IL           60004
 Rrs Auto Transport LLC                                         1137 SW 129th Ave                                                  Miami               FL           33184
 Rrw Traders Inc.                                               3439 NW 14th Ct                                                    Lauderhill          FL           33311
 Rs1 Transport Inc                                              8554 Benton Avenue                                                 Philadelphia        PA           19152
 Rsa Auto Transport LLC                                         173 Mediterraean Ct                                                Kissimme            FL           34758
 Rsm Maintenance LLC                                            461 From Rd Ste 255                                                Paramus             NJ           07652
 Rsm Us Llp                                                     5155 Paysphere Circle                                              Chicago             IL           60674
 Rsu Enterprises LLC                    Top Gun Trucking        4901 SW 16th Street                                                Ft Lauderdale       FL           33317
 Rt Transport Corp                                              12140 SW 188th Ter                                                 Miami               FL           33177
 Rts Forwarder LLC                                              16790 E Trafalgar                                                  Loxahatchee         FL           33470
 Rts Rugs LLC                                                   5990 Richmond Hwy                                                  Alexandria          VA           22303
 Rts Trans Inc                                                  2816 Wheatland Ct                                                  Naperville          IL           60564
 Ruben Reliable Transport                                       PO Box 351211                                                      Miami               FL           33135
 Ruben's Tire Service III, Inc                                  895 S Semoran Blvd                                                 Orlando             FL           32807
 Rubiano Holdings                       Dba Dunkin Donuts       242 S Congress Ave                                                 West Palm Beach     FL           33406
 Rubikin                                                        3640 NW 48th Ter                                                   Miami               FL           33142
 Ruco Transportation LLC                                        377 Cimarron Ct                                                    Kissimmee           FL           34759
 Rudnitsky Law Firm                                             3383 Oakmont Terrace                                               Longwood            FL           32779
 Rudy's Transport LLC                                           4560 SW 137th Ct                                                   Miami               FL           33175
 Rudys Transportation LLC                                       108 Delong Ave                                                     Syracuse            NY           13208
 Rueda, Adriana                                                 Address on File
 Ruff Ryders Transporter Inc.                                   PO Box 881574                                                      Port St Lucie       FL           34988
 Ruffo, Louis                                                   Address on File
 Ruiz Premier Services Inc.                                     1230 W 54 Street                                                   Hialeah             FL           33012
 Ruiz, Freddie                                                  Address on File
 Ruiz-Velazquez, Jose Manuel                                    Address on File
 Run Free Auto Transport Corp                                   9802 NW 122 Terrace                                                Hialeah             FL           33018
 Runaway Brokerage LLC                                          465 Eva James Rd                                                   Warsaw              NC           28398
 Runfast Car Transport                                          406 Windsor Estates Dr                                             Davenport           FL           33837
 Runners Transportations LLC                                    59 Rutherford Cir                                                  Potpmac Falls       VA           20165
 Runova Group                                                   2984 Avenue Z Fl 1                                                 Brooklyn            FL
 Runway Auto Transport LLC                                      4726 S 176th East Pl                                               Tulsa               OK           74134
 Rus-Al Inc.                                                    755 Union Hill Road                                                Alpharetta          GA           30004
 Ruse Auto Transport Inc                                        33 W Higgins Rd Unit#750                                           South Barrington    IL           60010
 Rush Transport LLC                                             3871 NW 7th Place                                                  Lauderhill          FL           33311
 Rush, Charles                                                  Address on File
 Rusher, James Thomas                                           Address on File
 Russell Trucking LLC                                           7512 Gadsden Drive                                                 Temple Terrace      FL           33637
 Russell, Lisa Marie                                            Address on File
 Rv Transport LLC                                               2 Grace Ct                                                         Bethel              CT           06801
 Rvcs LLC                                                       3010 Wilshire Blvd                                                 Los Angeles         CA           90010
 Rvv Auto Transport Inc                                         4335 SW 143 Ct                                                     Miami               FL           33175
 Rw Piazza                                                      5766 Williamsburg Lane                                             Montgomery          AL           36116
 Rwn Auto Transport                                             18302 SW 152 Ct                                                    Miami               FL           33187
 Ry Trucking Corp                                               11403 NW 92nd Avenue                                               Hialeah             FL           33018
 Ryan Corriveau                                                 Address on File
 S & C Enterprises International, LLC                           935 32nd Street                                                    West Palm Beach     FL           33407
 S & R Car Delivery LLC                                         7258 W 34th Court                                                  Hialeah             FL           33018



Off Lease Only LLC, et al.                                                                                                                                                       Page 122 of 155
                                                        Case 23-11389-CTG              Doc 1-1          Filed 09/07/23   Page 123 of 155
                                                                                                 Creditor Matrix
                                                                                           as of September 6, 2023
                    Creditor Name                      Attention                 Address 1                   Address 2    Address 3              City        State       Zip        Country
 S A Auto Transport Inc                                            10285 NW 129 Street                                                Hialeah Gardens   FL           33018
 S A Auto Transport Inc                                            11632 NW 89th Ct                                                   Hialeah Gardens   FL           33018
 S And S Auto Transport LLC                                        283 Common St                                                      Braintree         MA           02184
 S Brown & Associates Inc                                          150 River Rd M3                                                    Montville         NJ           07045
 S Cargo LLC                                                       319 4th Ave                                                        Scranton          PA           18505
 S Line Logistics Inc                                              401 N Michigan Avenue                                              Chicago           IL           60611
 S&B Auto Transport                                                12496 Wiles Road                                                   Coral Springs     FL           33076
 S&B Freedom Transporters LLC                                      9013 Durant Nixon Rd                                               Fayetteville      NC           28303
 S&H                                                               1512 Richborough Ct                                                Fayetteville      NC           28314
 S&H Auto Transport                                                4409 Ocean Reef                                                    Mesquite          TX           75150
 S&L Auto Transport Inc                                            5650 Mary'S Villa Rd                                               Groveland         FL           34736
 S&P Auto Logistics                                                81 Clarendon Ave                                                   Chicopee          MA           01013
 S&P Global Logistics LLC                                          5957 Westgate Drive Unit 1912                                      Orlando           FL           32835
 S&S Auto Inc                                                      2520 85th Ct                                                       Vero Beach        FL           32966
 S&S Auto Transport                                                438 East 2nd St                                                    Eldon             MO           65026
 S&S Auto Transporter                                              27030 Mora Rd                                                      Bonita Springs    FL           34135
 S&S Carrier Service LLC                                           203 Joyland Drive                                                  Pikeville         NC           27863
 S&S Florida Transport Inc                                         1646 SW 14th St                                                    Miami             FL           33145
 S&S Machu Picchu Transportation                                   1848 Monte Cristo Ln                                               Kissimmee         FL           34758
 S&S Transportation Usa Corp                                       9712 Hammock Blvd #203                                             Miami             FL           33196
 S&S Used Auto Sales LLC                    S&S Auto Transport     52 Business Highway 54                                             Eldon             MO           65026
 S&T Xpress LLC                                                    1056 Acton Rd                                                      Eastover          SC           29044
 S&W Towing Service                                                2559 Jonesboro Road                                                Atlanta           GA           30315
 S.O.S. Auto Transport, Inc                                        617 NW 6th Avenue                                                  Fort Lauderdale   FL           33311
 S.T.A.R. Security                                                 867 S Kings Hwy                                                    Ft. Pierce        FL           34945
 S1-Safety 1St-Drug Testing Team                                   218 E Bearrs Ave                                                   Tampa             FL           33613
 S3 Auto Transp, Corp                                              3900 NW 116th Terr                                                 Sunrise           FL           33323
 S3 Auto Transp, Corp/S3 Auto Broker Corp                          2700 NE 7th Terr                                                   Pompano Beach     FL           33064
 Sabina, Emeli                                                     Address on File
 Saddler Auto Transport LLC                                        1207 Gentilly Ln                                                   Wesley Chapel     FL           33544
 Saez, Caesar Alexanders                                           Address on File
 Safco                                                             413 E Atlantic Blvd                                                Pompano Beach     FL           33060
 Safe Auto Transport                                               2007 Opportunity Drive Ste 6                                       Roseville         CA           95678
 Safe Auto Transport                                               209 Lanton Ct                                                      Roseville         CA           95747
 Safe Auto Transport Inc                                           6901 28th St                                                       North Highlands   CA           95660
 Safe Auto Transport LLC                                           1235 Travertine Terrace                                            Sanford           FL           32771
 Safe Tow Of Florida LLC                                           4026 43rd Avenue                                                   Vero Beach        FL           32960
 Safe Trails Transport                                             12620 Birch Bark Court                                             Orlando           FL           32828
 Safe Usa Transport LLC                                            6016 Osprey Woods Ln                                               Greenacres        FL           33415
 Safe Way Auto Trans                                               363 Beech Street                                                   Kuttawa           KY           42055
 Safe Way Auto, Inc                                                1859 Leeds Rd                                                      Boilingbrook      IL           60490
 Safe-Guard Products
 Safelite Autoglass                                                3205 SW 22 St                                                      Pembroke Park     FL           33023
 Safelite Repair
 Safetransporters Inc                                              1612 Route 27                                                      North Brunswick   NJ           08902
 Safety First Auto Transport Inc                                   13000 S Tryon Street                                               Charlotte         NC           28278
 Safety Transport Service                                          112 Coster Rd                                                      Travlers Rest     SC           29690
 Safety-Kleen Systems, Inc.                                        PO Box 975201                                                      Dallas            TX           75397-5201
 Sage Software                                                     14855 Collections Center Dr                                        Chicago           IL           60693
 Sagitario Transportation Services                                 14425 Jasmine Glen Drive                                           Orlando           FL           32824
 Saint Best Transport LLC                                          7330 NW 20th Ct                                                    Sunrise           FL           33313
 Saint Peter's Upholstery                                          2334 SW 56th Ave                                                   Hollywood         FL           33023
 Saintiche, Assel                                                  Address on File
 Saintlouis, Marie Jeannette                                       Address on File
 Saira Auto Transport Inc                                          11502 SW 172nd Terr                                                Miami             FL           33157
 Sal Romanelli                                                     Address on File
 Salami, Karbirudeen Ademuyiwa                                     Address on File
 Salas, Pedro                                                      Address on File
 Salas, Peter Justino                                              Address on File
 Salazar Alvarez, Juan                                             Address on File
 Salbaluco, Adriana                                                Address on File
 Salem Transport Inc                                               567 Grant Road                                                     North Salem       NY           10560



Off Lease Only LLC, et al.                                                                                                                                                        Page 123 of 155
                                               Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23     Page 124 of 155
                                                                                            Creditor Matrix
                                                                                          as of September 6, 2023
                   Creditor Name              Attention                         Address 1                   Address 2    Address 3             City              State       Zip        Country
 Salera Tools Inc.                                                 2439 SW 13th St                                                   Deerfield Beach        FL           33442
 Salinas, Erick Jose                                               Address on File
 Salmeron, Roberto                                                 Address on File
 Sam Truck Inc                                                     12875 SW 256 Tr                                                   Homestead              FL           33032
 Sambu Digital                                                     1044 NE 18th Ave #205                                             Ft Lauderdale          FL           33304
 Same Day Delivery                                                 PO Box 8                                                          Acworth                GA           30101
 Sampson Wheel Repair, Inc                                         3451 S State Rd 7                                                 Hollywood              FL           33023
 Samuel, Richard                                                   Address on File
 Samuell, Jorge Luis                                               Address on File
 Samy Auto Transport Inc                                           1455 Se 15th Street                                               Cape Coral             FL           33990
 Samy Auto Transport Inc                                           3969 Pomodoro Cit                                                 Cape Coral             FL           33909
 Samy Dayi Transport Inc.                                          2230 SW 31st Avenue                                               Miami                  FL           33145
 San Vicente Transport Corp                                        9371 SW 52 Terr                                                   Miami                  FL           33165
 Sanabria, Angel Luis                                              Address on File
 Sanabria, Rolando J                                               Address on File
 Sanchez Calderon, Joshua Ismael                                   Address on File
 Sanchez Leiva, Catherine                                          Address on File
 Sanchez Pena, Lilian                                              Address on File
 Sanchez, Cesar A                                                  Address on File
 Sanchez, Elian                                                    Address on File
 Sanchez, Elsa                                                     Address on File
 Sanchez, Henry Hemberto                                           Address on File
 Sanchez, Oscar H                                                  Address on File
 Sanchez, Rafael                                                   Address on File
 Sanchez, Saben Manuel                                             Address on File
 Sancrest                                                          1042 Rose Hill Road                                               Billings               MO           65610
 Sanders Ford                                                      1135 Le Juene Blvd                                                Jacksonville           NC           28540
 Sanders, Jamie Elizabeth                                          Address on File
 Sanderson Group Inc               Alexandru Grosu                 2200 S Main St - Ste 102                                          Lombard                IL           60148
 Sandigo, Jeffrey Anthony                                          Address on File
 Sandman Transport LLC                                             8 Foster Ridge Road                                               Inman                  SC           29349
 Sandman, Stuart Alan                                              Address on File
 Sandoval Castro, Omar                                             Address on File
 Sanford Auto Auction                                              2851 St John'S Parkway                                            Sanford                FL           32771
 Sanjurjo, Julian Charles                                          Address on File
 Sanon, Carl H                                                     Address on File
 Santa Cruz, Cynthia                                               Address on File
 Santana Ramirez, Dorian F                                         Address on File
 Santana, Jazmin Ramona                                            Address on File
 Santana, Martha                                                   Address on File
 Santana, Zulema                                                   Address on File
 Santander Consumer Usa                                            1010 West Mockingbird Lane        #100                            Dallas                 TX           75247
 Santander Consumer Usa                                            5201 Rufe Snow Dr Ste #400                                        North Richland Hills   TX           76180
 Santander Consumer Usa                                            8585 N Stemmons Fwy                                               Dallas                 TX           75247
 Santander Consumer Usa                                            PO Box 660633                                                     Dallas                 TX           75266-0633
 Santander Consumer Usa                                            PO Box 744725                                                     Atlanta                GA           30374
 Santander Consumer Usa Inc                                        PO Box 660616                                                     Dallas                 TX           75266
 Santiago Perez, Gabriel                                           Address on File
 Santiago, Angel Luis                                              Address on File
 Santisteban, Samantha                                             Address on File
 Santos Silva, Warley Jose                                         Address on File
 Santos, Xylia Marisa                                              Address on File
 Santruck Car Transport Corp                                       1006 SW Del Rio Blvd                                              Port Saint Lucie       FL           34953
 Sap America, Inc.                                                 3999 West Chester Pike                                            Newtown Square         PA           19073
 Sap Brokerage Inc                                                 1699 Wall Street                                                  Mount Prospect         IL           60056
 Sap Transport Inc.                                                1699 Wall Street Unit 418                                         Mount Prosperct        IL           60056
 Sarasota Cars LLC                 Sarasota Chrysler Dodge Jeep Ram7745 S Tamiami Trail                                              Sarasota               FL           34231
 Sarasota Maserati Alfa Romeo                                      7641 South Tamiami Trail                                          Sarasota               FL           34231
 Sarduy Trucking Inc.                                              1012 Troy Blvd                                                    West Palm Beach        FL           33409
 Sartin, Jasmine Nicole                                            Address on File
 Sas Logistics LLC                                                 6 Thaxton Ct                                                      Stafford               VA           22556
 Sassine Perry, Richard                                            Address on File



Off Lease Only LLC, et al.                                                                                                                                                            Page 124 of 155
                                                           Case 23-11389-CTG                       Doc 1-1         Filed 09/07/23    Page 125 of 155
                                                                                                          Creditor Matrix
                                                                                                        as of September 6, 2023
                    Creditor Name                           Attention                          Address 1                 Address 2    Address 3           City           State       Zip        Country
 Sat Inc                                                                         3401 Old Acre Ct                                                 Greensboro        NC           27410
 Saul Ewing Arnstein & Lehr Llp                 Accounts Receivable Department   161 N Clark Suite 4200                                           Chicago           IL           60601
 Sav Trucking Inc                                                                8309 Ridgeway Ave                                                Skokie            IL           60076
 Savage Trusted Transport LLC                                                    601 Heritage Dr                                                  Jupiter           FL           33458
 Savall & Casta Trans LLC                                                        1305 W 44th Pl Apt 106                                           Hialeah           FL           33012
 Savariau, Serena Savon                                                          Address on File
 Savidge, Michael                                                                Address on File
 Savostin, Roman                                                                 Address on File
 Sawgrass Ford                                                                   14501 W Sunrise Blvd                                             Sunrise           FL           33323-3210
 Sawgrass Infiniti                                                               5801 Madison Ave                                                 Tamarac           FL           33321-6423
 Sawyers, Norman Power                                                           Address on File
 Sb Auto Transport                                                               1001 Narcissus Ln                                                Orlando           FL           32825
 Sb Club Llc                                                                     670 Lancaster Hwy                                                Chester           SC           29706
 Sb National Transport Corp                                                      140 E 5th St Unit 6                                              Hialeah           FL           33010
 Sb Transport Usa Inc                                                            5722 S Flamingo Rd #192                                          Cooper City       FL           33330
 Sba Transportation LLC                                                          9916 Thistle Field Lane                                          Charlotte         NC           28273
 Sbn Trucking                                                                    189 Trumpco Drive                                                St Augustine      FL           32092
 Sbs Transport                                                                   6504 28th Street Se Ste J                                        Grand Rapids      MI           49546
 Scallion, Sierra Michelle                                                       Address on File
 Scarlet Arrow Enterprises LLC                                                   2448 Customer Orangeville Road                                   Burghill          OH           44404
 Scarlett, Andrea                                                                Address on File
 Scent Renu                                     Crystal'S Company Inc            PO Box 891156                                                    Tampa             FL           33689
 Schauer, John Mario                                                             Address on File
 Schaumburg Ford                                                                 815 E Golf Road                                                  Schaumburg        IL           60173
 Schiebner Trucking                                                              3767 Hemmeter                                                    Saginaw           MI           48603
 Schmid Construction, Inc.                                                       15690 W Colonial Drive                                           Winter Garden     FL           34787
 Schmidt Electc Inc                                                              1949 10th Ave North                                              Lake Worth        FL           33461
 Schmidt, Shameika Denise                                                        Address on File
 Schneider, Michael                                                              Address on File
 Schnitzlein, John David                                                         Address on File
 Schoen, Richard                                                                 Address on File
 Schrimscher, Paul D                                                             Address on File
 Schulte Roth & Zabel Llp                                                        919 Third Avenue                                                 New York          NY           10022
 Schultz, Justin Christopher                                                     Address on File
 Schumacher Buick, GMC, Subaru, Volvo of Palm Beach                              3031 Okeechobee Blvd                                             West Palm Beach   FL           33409
 Schumacher Delray Motors                                                        2102 South Federal Hwy                                           Delray Beach      FL           33483
 Schumacher Volkswagen                                                           3031 Okeechobee Blvd                                             West Palm Beach   FL           33409
 Schwab, Paul Walter                                                             Address on File
 Sclafani, Marc                                                                  Address on File
 Scott Enterprizes                                                               4245 Township Rd 271                                             Millersburg       OH           44654
 Scott Jr, Frederick Denard                                                      Address on File
 Scott Randolph Tax Collector                                                    PO Box 545100                                                    Orlando           FL           32854
 Scotts Towing LLC                                                               2303 9th Street East                                             Bradenton         FL           34208
 Scrap Systems, Inc.                                                             PO Box 555996                                                    Orlando           FL           32855
 Scull Carracedo, Maikel                                                         Address on File
 Sd Baseball Booster Club Inc.                                                   5258 NW 109 Lane                                                 Coral Springs     FL           33076
 Sd Wheel Corp                                                                   620 Stetson Ave                                                  Saint Charles     IL           60174
 Sda                                            Usa Autoforce                    7984 Solution Center                                             Chicago           IL           60677-7009
 Sdk Auto Transport Inc                                                          3409 W 92nd Place                                                Hialeah           FL           33018
 Sdl Trucking LLC                                                                N 136 W 15904 Bonniwell Road                                     Germantown        WI           53022
 Sdm Trans Corp                                                                  3226 SW 11th Ave                                                 Cape Coral        FL           33914
 Sdm Transport Inc                                                               617 Academy Drive                                                Northbrook        IL           60062
 Sdr Group Inc.                                                                  26144 Whispering Woods Circle                                    Plainfield        IL           60585
 Seaboard Distribution, Inc                                                      PO Box 37589                                                     Jacksonville      FL           32236
 Seacoast Transport Inc                                                          2594 W 64th St                                                   Hialeah           FL           33016
 Seacoast Uniforms                                                               5893 South Congress Ave                                          Atlantis          FL           33462
 Seahawks Auto Transport LLC                                                     29 Emerald Lake Ct                                               Palm Coast        FL           32137
 Sean Damien Mcguire C/O Dane Stanish, Esq.                                      3475 Sheridan Street                                             Hollywood         FL           33021
 Sean Mccarthy                                                                   Address on File
 Seans Transport & Swimming Pool                                                 PO Box G1                                                        Bethlehem         CT           06751
 Searles, Benjamin S                                                             Address on File
 Sears



Off Lease Only LLC, et al.                                                                                                                                                                    Page 125 of 155
                                                      Case 23-11389-CTG                       Doc 1-1          Filed 09/07/23    Page 126 of 155
                                                                                                     Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                     Attention                         Address 1                    Address 2    Address 3             City           State       Zip        Country
 Secure Asset Relocation LLC                                              1010 N Woodward Road                                                Spokane Valley      WA           99206
 Secure Xpress Auto Transport LLC                                         4534 Devonhill Ln                                                   Charlotte           NC           28269
 Secured Auto Transport LLC                                               15723 Scrimshaw Dr                                                  Tampa               FL           33624
 Security National Insurance Company                                      PO Box 268994                                                       Oklahoma City       OK           73126
 Security Pro Of Florida LLC                                              214 North Volusia Ave                                               Orange City         FL           32763
 Seddiqy, Masi                                                            Address on File
 Sedgwick Claims Management Services Inc                                  8125 Sedgwick Way                                                   Memphis             TN           38125
 Seized Recovery                                                          1703 Ouida Drive                                                    Austin              TX           78728
 Select Auto Carriers, Inc.                                               4001 Silver Star Road                                               Orlando             FL           32808
 Select Auto Transport Inc                                                6190 Downs Ridge Ct                                                 Elkridge            MD           21075
 Select Automotive Group LLC                                              219 D Two Notch Road                                                Lexington           SC           29073
 Select Transportation                     Joseph Hannah/Dv Logistics LLC PO Box 802                                                          New Port Richey     FL           34656
 Selena Transport Inc                                                     123 Cortes Ave                                                      Royal Palm Beach    FL           33411
 Selila, Adam Keys                                                        Address on File
 Sellers, Vincent Lamar                                                   Address on File
 Semien, Monica Ophelia                                                   Address on File
 Seminole Masonry, LLC                                                    3850 E Lake Mary Blvd                                               Sanford             FL           32773
 Seminole Ridge Community High School
 Semper Fi Transportation LLC                                             140 Raceway Drive                                                   Mooresville         NC           28117
 Semrush
 Sena's Auto Transport Inc.                                               5810 Whippoorwill Drive                                             Tampa               FL           33625
 Senat, Michael Poris                                                     Address on File
 Send In Blue
 Sender Central Americas LLC                                              2301 NW 29 Street                                                   Miami               FL           33142
 Sendinblue Paris
 Senick Towing                                                            100150 Wild Dogwood Ct                                              Charlotte           NC           28273
 Senna Transportation Services LLC                                        4548 Bangor Ave #9                                                  West Palm Beach     FL           33417
 Sepulveda, Edgar Eddie                                                   Address on File
 Sergio Riveron                                                           6720 W 2 Ct                                                         Hialeah             FL           33012
 Serious Transport LLC                                                    423 Mclean Ave                                                      Tomah               WI           54660
 Seron, Pedro Antonio                                                     Address on File
 Serrano Figueroa, Johnny                                                 Address on File
 Serrano Medero, Eric Joel                                                Address on File
 Serrano, David Alan                                                      Address on File
 Serro, Thomas Rocco                                                      Address on File
 Serve U Rite Investment Inc.                                             2324 NE 173rd Street                                                North Miami Beach   FL           33160
 Servi Express Ut LLC                                                     8979 W 35th Avenue                                                  Hialeah Gardens     FL           33018
 Service Auto Carrier Corp                                                175 Sheridan Avenue                                                 Longwood            FL           32750
 Service Equipment Specialists                                            3031 Blaine Circle                                                  Deltona             FL           32738
 Service Group Rmds LLC                                                   900 W Landstreet                                                    Orlando             FL           32824
 Service Payment Plan                                                     303 E Wacker Dr                                                     Chicago             IL           60601
 Servpro Of West Palm Beach                                               4050 Westgate Ave Suite 107                                         West Palm Beach     FL           33409
 Seton Identification Products                                            PO Box 95904                                                        Chicago             IL           60694-5904
 Setup
 Severino Garcia, Jose J                                                  Address on File
 Severino Transportation                                                  6121 Tavendale Dr                                                   Orlando             FL           32809
 Sevilla, Miguel Francisco                                                Address on File
 Seyfarth Shaw Llp                                                        3807 Collections Center Drive                                       Chicago             IL           60693
 Sgm Auto Transport LLC                                                   14450 SW 297th Street                                               Homestead           FL           33033
 Sgro, Dean A                                                             Address on File
 Shaaban, Marwan                                                          Address on File
 Shadow Trailers Inc                                                      951 SW 21st Pl                                                      Willston            FL           32696
 Shaeffer's Motors
 Shah Auto Trans                                                          625 North Kenwood Street #202                                       Glendale            CA           91206
 Shahzadi Plante, Sumera                                                  Address on File
 Shalom Spirit Transport & Services LLC                                   PO Box 126998                                                       Hialeah             FL           33012
 Shamar Coles Transport                                                   423 NE Leon Street                                                  Lake City           FL           32055
 Shamseddini, Mahyar                                                      Address on File
 Shanahan, Brian Patrick                                                  Address on File
 Share Ride Transport                                                     424 E Central Blvd 176                                              Orlando             FL           32801
 Sharon Anglin                                                            20303 Amberlight Lane                                               Katy                TX           77450
 Sharon R. Bock Clerk & Comptroller                                       PO Box 4526                                                         West Palm Beach     FL           33402-4526



Off Lease Only LLC, et al.                                                                                                                                                                  Page 126 of 155
                                                Case 23-11389-CTG                       Doc 1-1         Filed 09/07/23    Page 127 of 155
                                                                                                 Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name              Attention                         Address 1                    Address 2    Address 3             City          State       Zip        Country
 Sharp Blades                                                       5439 NW 19th Way                                                   Coral Springs      FL           33076-2747
 Sharp Transportation Inc                                           565 Fairway View Drive                                             Wheeling           IL           60090
 Shaughnessy Overland Express Inc                                   3845 Beck Blvd                                                     Naples             FL           34114
 Shaw Auto Carriers Inc                                             7625 Progress Circle                                               West Melbourne     FL           32904
 Shaw Auto Transport                                                8422 Hsy 60                                                        Georgetown         TN           37336
 Shaw Auto Transportation                                           3411 NW 91st Avenue                                                Cooper City        FL           33024
 Shaw, Daniel Richard                                               Address on File
 Shaw, Daniel                                                       Address on File
 Shedd, Gary Alan                                                   Address on File
 Sheehan Buick Gmc, Inc                                             2800 North Federal Highway                                         Lighthouse Point   FL           33064
 Sheehan Cadillac                                                   5101 N Federal Hwy                                                 Pompano Beach      FL           33064-7001
 Sheehans Collision Inc                                             1781 NW 1st Court                                                  Boca Raton         FL           33432
 Shelbi Nicole Designs
 Shelby County Sheriff A.L.E.R.T.                                   7525 Bartlett Corporate                                            Bartlett           TN           38134
 Shelhorn Trucking LLC                                              7837 Kinney Rd                                                     Mount Vernon       OH           43050
 Shephard's Auto Tranport                                           4454 Crewsville Rd                                                 Bumpass            VA           23024
 Shepherd Tire Pros                                                 3949 14th St W                                                     Bradenton          FL           34205
 Sheraton Suites Cypress Creek                                      555 W Cypress Creek Road                                           Ft Lauderdale      FL           33309
 Sheriff Of Palm Beach County
 Sherman, Cheryl Ann                                                Address on File
 Sherman, Christina Amanda                                          Address on File
 Sherrod, Shacura Michelle                                          Address on File
 Shields, Reginald                                                  Address on File
 Shieldtech Corp                                                    6463 183rd Trail N                                                 Loxahatchee        FL           33470
 Shift Operations, LLC                                              290 Division St - Ste 400                                          San Francisco      CA           94103
 Ship Your Car Now                                                  1160 South Rogers Circle            Suite 1                        Boca Raton         FL           33487
 Ship2Day Transportation Corp                                       9940 Costa Del Sol                                                 Doral              FL           33178
 Shipco Carriers                                                    5427 Linden Grove Ct                                               Sugarland          TX           77479
 Shippers Interstate                                                1411 Sauk Trail                                                    O Fallon           IL           62269
 Shooting Star Transport Inc                                        8710 W Hillsborough Ave                                            Tampa              FL           33615
 Shore Dreams For Kids                                              216 Union Ave                                                      Scotch Plains      NJ           07076
 Shore Logistics LLC                                                6158 Goliad Ave                                                    Dallas             TX           75214
 Shottenkirk Nissan Katy                                            309 S Gear Ave                                                     West Burlington    IA           52655
 Show Me Inc.                                                       409 Midland Terrace                                                Salisbury          MD           21804
 Showcase Publications, Inc.                                        90 Irons Street                                                    Toms River         NJ           08753
 Showtime Transport LLC                                             5268 NW West Lovett Circle                                         Port St Lucie      FL           34986
 Shredamerica                       Louisiana Shred                 8416 Hwy 90 W                                                      New Iberia         LA           70560
 Shred-It Usa LLC                                                   28883 Network Place                                                Chicago            IL           60673-1288
 Shuffle Auto Transport LLC                                         6836 Bruce Ct                                                      Lake Worth         FL           33463
 Shupert, Jeffrey Lloyd                                             Address on File
 Shutterstock
 Shutts & Bowen Llp                                                   200 South Biscayne Blvd                                          Miami              FL           33131
 Sicilia, Anthony D                                                   Address on File
 Sid Savage, Inc.                                                     27165 Northline Road                                             Taylor             MI           48180
 Siebern, Karl John                                                   Address on File
 Sierra Mountain Express                                              1140 Suncast Lane                                                El Porado Hills    CA           95762
 Sigma Transport                                                      131 Robertson Way                                                Lincoln Park       NJ           07035
 Sign Smart                                                           700 S Harbour Island Blvd         Unit 613                       Tampa              FL           33602
 Signal 88, LLC                                                       PO Box 8246                                                      Omaha              NE           68108
 Signature Consultants                                                200 W Cypress Creek Road                                         Fort Lauderdale    FL           33309
 Signature Grand                                                      6900 State Road 84                                               Davie              FL           33317
 Signature Relocation, Inc                                            23923 Research Drive                                             Farmington Hills   MI           48335
 Signs & Graphics By Rj             Invalid Acct/Need W-9/Last Used 2/PO Box 5383                                                      Lighthouse Point   FL           33074
 Sigueme Transport Inc                                                3660 SW 16th Terr Apt # 5                                        Miami              FL           33145
 Silk Way LLC Dba Slon                                                12124 Dickenson Ln                                               Orlando            FL           32821
 Silva Brothers Transport Corp                                        8810 NW 4th Street                                               Pembroke Pines     FL           33024
 Silva Express Inc                                                    608 Lhommediew St                                                Lehigh Acres       FL           33936
 Silva's Transportation LLC                                           41 Hayes St                                                      Framingham         MA           01702
 Silver Flash LLC                                                     6500 Emerald Parkway Suite 100                                   Dublin             OH           43016
 Similarweb
 Simmonds, Kemarr Kammron                                           Address on File
 Simmons & Sons Logistics Inc                                       331 Loraine Rd                                                     Memphis            TN           38109



Off Lease Only LLC, et al.                                                                                                                                                          Page 127 of 155
                                     Case 23-11389-CTG              Doc 1-1         Filed 09/07/23    Page 128 of 155
                                                                           Creditor Matrix
                                                                         as of September 6, 2023
                    Creditor Name    Attention                 Address 1                  Address 2    Address 3            City           State       Zip        Country
 Simmons & White Inc                             2581 Metrocentre Blvd W                                           West Palm Beach    FL           33407
 Simmons, Jessica Ann                            Address on File
 Simoa Group Inc                                 1025 NE 207th Ter                                                 Miami              FL           33179
 Simoes Trucking                                 1884 SW James Port Drive                                          Port St Lucie      FL           34953
 Simoes Trucking                                 1956 SW Jamesport Dr                                              Port St Lucie      FL           34953
 Simon Freight LLC                               1215 Dream Lake Court                                             Colorado Springs   CO           80921
 Simon Transport LLC                             10907 N Kendall Drive Apt 316                                     Miami              FL           33176
 Simon, Stedjy M                                 Address on File
 Simoneau Negrin, Ryan                           Address on File
 Simonson Foreign Car Service                    720 South Dixie Hwy                                               Hollywood          FL           33020
 Simple Transport LLC                            3261 Munster Road                                                 Ebensburg          PA           15931
 Simple Trucking                                 686 W Street Rd Unit 343                                          Warminster         PA           18974
 Simplifile                                      4844 North 300 West                                               Provo              UT           84604
 Simplifile                                      PO Box 172408                                                     Denver             CO           80217-2408
 Simprime, Gusler                                Address on File
 Simpson Blake, Richard R                        Address on File
 Sin City Auto Transport                         461 NW 107th Ave Suite 103                                        Miami              FL           33172
 Sin City Auto Transport                         370 Casa Norte Dr                                                 North Las Vegas    NV           89031
 Singer, Richard                                 Address on File
 Singh Logistics Group Inc.                      125 West Gadsden Lane                                             Cocoa Beach        FL           32931
 Singh, Christopher H                            Address on File
 Singh, Dalip                                    Address on File
 Singular Transport LLC                          7601 E Treasure Drive                                             Miami              FL           33141
 Sion Transport LLC                              1309 SW 154th Ct                                                  Miami              FL           33194
 Sirus Xm Radio Inc                              29998 Network Place                                               Chicago            IL           60673-1249
 Sisneros, Crystal Maria                         Address on File
 Sissenwein, David Michael                       Address on File
 Sister Technologies                             4951 Airport Parkway                                              Addison            TX           75001
 Sisters Towing
 Sitting On Go LLC                               700 Canterbury Road                                               Kings Mountain     NC           28086
 Sitton Transportation LLC                       220 Lowndes Avenue                                                Greenville         SC           29607
 Sixt Rent A Car LLC                             1501 NW 49th Street Suite 100                                     Fort Lauderdale    FL           33309
 Sixt Titling Trust                              1501 NW 49th Street Ste 100                                       Ft Lauderdale      FL           33309
 Sk Auto Transport LLC                           2867 SW 120th Terr                                                Miramar            FL           33025
 Skf Trucking LLC                                40662 Harmon Drive                                                Sterling Heights   MI           48310
 Skinner, Ahmad Raymond                          Address on File
 Sky Auto Transpor Corp                          3587 Somerset Cir                                                 Kissimmee          FL           34746
 Sky Line Freight                                7900 Barrie St                                                    Dearborn           MI           48126
 Skydive Transport Corp                          46990 Bermont Rd                                                  Punta Gorda        FL           33982
 Skylar Shipping & Sales Inc                     PO Box 7545                                                       Akron              OH           44306
 Skyline Auto Relocation Inc.                    12140 Altamar Place                                               Santa Fe Springs   CA           90670
 Skyline Express                                 13901 Mica St                                                     Santa Fe Springs   CA           90670
 Skyline Group Inc                               4620 E 53rd Street Ste 200                                        Davenport          IA           52807
 Skyline Logistics Inc                           110 Alnus Pl 2nd Fl                                               Philadelphia       PA           19116
 Skys The Limit Trucking LLC                     21 Donatello Rd                                                   Defuniak Springs   FL           32433
 Skywerks Dms                                    46 Village Way Pmb 187                                            Port Ludlow        WA           98365
 Sl Logistics                                    5495 55th Street                                                  Vero Beach         FL           32967
 Slack, April Lynn                               Address on File
 Sleiman, Jose Eduardo Arana                     Address on File
 Slon                                            12124 Dickenson Ln                                                Orlando            FL           32821
 Sm Affordable Transport LLC                     13085 Morris Road # 3107                                          Alpharetta         GA           30004
 Smart Action Logistics                          PO Box 335                                                        Hobe Sound         FL           33475
 Smart Auto Trans                                868 W Street Rd #317                                              Warminster         PA           18974
 Smart Auto Transports LLC                       12001 SW 128 Ct                                                   Miami              FL           33186
 Smart Enterprises LLC                           14719 Fells Lane                                                  Orlando            FL           32827
 Smart Solution Transportation Inc               5251 NW 202nd Terr                                                Miami Gardens      FL           33055
 Smart Transport Florida LLC                     11453 Dutch Iris Dr                                               Riverview          FL           33578
 Smart Transport Service                         PO Box 820                                                        Mira Loma          CA           91752
 Smart Trucking 1 LLC                            3350 SW 148th Ave Suite 110                                       Miramar            FL           33027
 Smart, Jayden Giovanni                          Address on File
 Smartauction
 Smartsheet                                      Dept 3431 PO Box 123421                                           Dallas             TX           75312-3421



Off Lease Only LLC, et al.                                                                                                                                      Page 128 of 155
                                                   Case 23-11389-CTG                 Doc 1-1       Filed 09/07/23    Page 129 of 155
                                                                                         Creditor Matrix
                                                                                        as of September 6, 2023
                    Creditor Name                 Attention                 Address 1                    Address 2    Address 3             City           State       Zip        Country
 Smeal Trucking                                                860 Us Hwy 98 W                                                    Frostproof          FL           33843
 Smith & Hopen P.A.                                            180 Pine Avenue North                                              Oldsmar             FL           34677
 Smith Transportation Of Nc LLC                                56 Charles Road                                                    Lumberton           NC           28358
 Smith, Carey Terrell                                          Address on File
 Smith, Clevontaie                                             Address on File
 Smith, Ekira Toni                                             Address on File
 Smith, Erica Deni                                             Address on File
 Smith, Melissa Mary                                           Address on File
 Smith, Michael Jason                                          Address on File
 Smith, Preston Lance                                          Address on File
 Smith, Taylor Brea                                            Address on File
 Smith, Wendy Amoy                                             Address on File
 Smith, Zavion Keylon                                          Address on File
 Smithgroup Pi Inc                                             924 N Magnolia Ave Ste 334                                         Orlando             FL           32803
 Smooth Transport Inc                                          1143 Hardwood Rd                                                   Haleton             PA           18202
 Smt Auto Transport                   Medardo Abed             PO Box 2956                                                        Key West            FL           33045
 Snap Ads
 Snap On Tools                        Cortex Instruments Inc   6331 All American Blvd                                             Orlando             FL           32810
 Snapchat
 Snap-On Equipment Inc                                         2801 80th St                                                       Kenosha             WI           53143
 Snappy App, Inc                                               Dept Ch 17651                                                      Palantine           IL           60055-7651
 Sni Companies                                                 PO Box 825811                                                      Philadelphia        PA           19182-5811
 Snikdream Inc                                                 429 E Dupont Rd #1141                                              Fort Wayne          IN           46825
 Snowbird Express                                              131 Palm Ave Unit 36                                               Jupiter             FL           33477
 So Logistic Inc                                               2020 Kings Hwy Apt 6E                                              Brooklyn            NY           11229
 Soap Suggs                                                    4022 Beaufin Street                                                Raleigh             NC           27604
 Soban LLC                                                     761 Myrtle Street                                                  Elizabeth           NJ           07202
 Socialbu                                                      16192 Coastal Highway                                              Lewes               DE           19958
 Sokos, Athanasios George                                      Address on File
 Solar Body & Paint                   Solar Unlimited Inc      5628 NW 8th St                                                     Margate             FL           33063-4519
 Solar Shade Window Tinting                                    5815 Farm To Market 1960 Rd East                                   Humble              TX           77346
 Solar X Of The Palms                                          3640 Investment Lane                                               West Palm Beach     FL           33404
 Solid Carrier Inc                                             3547 NW 35th Street                                                Coconut Creek       FL           33066
 Solid Start, Inc                                              2801 Saluda Rd                                                     Lakeland            FL           33801
 Solis, Alvaro Adolfo                                          Address on File
 Solis, Shakim                                                 Address on File
 Solito, Jonathan                                              Address on File
 Solomon, Abbigay Martina                                      Address on File
 Solution Group Transportation Corp                            81 Little St                                                       Belleville          NJ           07109
 Solutions Cargo Shipping Inc                                  11892 SW 25 Ct                                                     Miramar             FL           33025
 Solutions Cars, LLC                                           PO Box 6032                                                        Katy                TX           77491
 Somerset Service LLC                                          29 Bloomingdale Dr                                                 Hillsborough        NJ           08844
 Sommers, Vanessa Paola                                        Address on File
 Son Truck Auto Transport Inc                                  705 NE 165 Street                                                  North Miami Beach   FL           33162
 Sonic Express                                                 4340 Campus Drive                                                  Newport Beach       CA           92660
 Sons Of Thunder Transport Inc                                 PO Box 12135                                                       Columbus            GA           31917
 Sophia Auto Transport LLC                                     5414 Rosemont Avenue                                               Tampa               FL           33614
 Sortino, Mark                                                 Address on File
 Sos Transport Inc.                                            20877 Birch Lane                                                   Deerfield           IL
 Sosa Enterprise Group Corp                                    4122 NW 201 Street                                                 Miami Gardens       FL           33055
 Sosa, James Manuel                                            Address on File
 Sosa, Jose E                                                  Address on File
 Sosa's Transport LLC                                          943 Queen Elizabeth Way                                            Morrow              GA           30260
 Soto Car Transport Corp                                       46990 Bermont Rd                                                   Punta Gorda         FL           33982
 Soto, Gabriel Iber                                            Address on File
 Souhall Ibrahim                                               4200 Hillcrest Drive Apt #616                                      Hollywood           FL           33021
 Soundings Trade Advertising
 Source One Transport LLC                                      741 Birch Hill Ct                                                  Lyman               SC           29365
 Sousa, Gilson                                                 Address on File
 South Bay Transport LLC                                       3030 NW 7th Ct                                                     Ft. Lauderdale      FL           33311
 South Florida Acceptance Co                                   2020 NW 150th Ave                                                  Pembroke Pines      FL           33028-2805
 South Florida Auto Auction                                    3500 NW 21st Street                                                Lauderdale Lakes    FL           33311



Off Lease Only LLC, et al.                                                                                                                                                      Page 129 of 155
                                                              Case 23-11389-CTG                Doc 1-1          Filed 09/07/23    Page 130 of 155
                                                                                                         Creditor Matrix
                                                                                                    as of September 6, 2023
                   Creditor Name                             Attention                     Address 1                  Address 2    Address 3              City         State       Zip        Country
 South Florida Auto Carriers Inc                                             10543 Galleria St                                                 Wellington         FL           33414
 South Florida Auto Hauler Inc.                                              26111 SW 133 Ct                                                   Homestead          FL           33032
 South Florida Auto Recovery                                                 PO Box 226185                                                     Miami              FL           33222
 South Florida Auto Recycling Of Ft Lauderdale                               4 NW 7th St                                                       Ft Lauderdale      FL           33311
 South Florida Auto Transport Inc                                            5505 NW 7 St W402                                                 Miami              FL           33126
 South Florida Fair                                                          PO Box 210367                                                     West Palm Beach    FL           33421
 South Florida Force Softball                                                108 Devonshire Circle                                             Royal Palm Beach   FL           33414
 South Florida Transport & More Inc                                          80 Andros Road                                                    Palm Springs       FL           33461
 South Florida Water Management District                                     3301 Gun Club Road                                                West Palm Beach    FL           33406
 South Motor Company Of Dade County                                          16165 South Dixie Highway                                         Miami              FL           33157
 South Motors Bmw                                                            16215 S Dixie Hwy                                                 Miami              FL           33157
 South Motors Vw                                                             17930 S Dixie Highway                                             Miami              FL           33157
 South Shore Leasing And Sales                                               7378 NW 54 St                                                     Miami              FL           33166
 Southcoast Transport LLC                                                    3900 SW 78th Ct Apt 10                                            Miami              FL           33155
 Southeast Quality Transport                                                 180 SW 75th Ave                                                   Margate            FL           33068
 Southeast Transport                                                         42108 Biggs Rd                                                    Lagrange           OH           44050
 Southeastern Shop Services Corp.                                            12474 NW 38th Ave                                                 Opa Locka          FL           33054
 Southern 441 Nissan                             Tt Of N Royal Palm Inc.     9405 Southern Blvd                                                Royal Palm Beach   FL           33411
 Southern 441 Toyota                             Tt Of T Royal Palm, Inc.    9205 Southern Blvd                                                Royal Palm Beach   FL           33411
 Southern Auto Carriers LLC                                                  15673 Southern Blvd                Ste 107-141                    Loxahatchee        FL           33470
 Southern Auto Finance Company                   Attn: Remarketing           6700 N Andrews Ave                                                Ft Lauderdale      FL           33309
 Southern Auto Trim & Glass                                                  746 NW 9th Ave                                                    Fort Lauderdale    FL           33311-7321
 Southern Brothers Transport LLC                                             1328 Eastman Cir                                                  North Port         FL           34288
 Southern Cross Trucking LLC                                                 236 Cheshire Road                                                 Clarksville        TN           37043
 Southern Dock Products                                                      10501 Rocket Blvd                                                 Orlando            FL           32824
 Southern Hauling Express LLC                                                96 Pecan Pass                                                     Ocala              FL           33472
 Southern Kingfish Association                                               15 Garnett Ave                                                    St Augustine       FL           32084
 Southern Palms Mazda                            Tt Of M. Royal Palm, Inc.   9305 Southern Blvd                                                Royal Palm Beach   FL           33411
 Southern Wolf Transport                                                     12542 SW 221 Street                                               Miami              FL           33170
 Southernmost Federal Credit Union                                           1004 Kennedy Dr                                                   Key West           FL           33040
 Southland The Towing Co.                                                    2246 NW 25th Ave                                                  Miami              FL           33142
 Southside Auto Transport LLC                                                2635 SW Pine Island                                               Cape Coral         FL           33991
 Southstream Services                                                        2310 Southstream Rd                                               Bennington         VT           05201
 Southwest A/T LLC                                                           PO Box 266                                                        Falconer           NY           14733
 Southwest Auto Carrier & Sales                                              PO Box 266                                                        Falconer           NY           14733
 Southwest Auto Corp                                                         130 Sandalwood Dr                                                 Kissimmee          FL           32824
 Southwest Fl. Water Management District                                     7601 Highway 301 N                                                Tampa              FL           33637
 Southwest Rev Transport LLC                                                 13036 8th Street                                                  Fort Myers         FL           33905
 Souza Trucking LLC                                                          PO Box 846                                                        Deerfield Beach    FL           33443
 Sovtransauto LLC                                                            171 Centerville Rd                                                Bridgewater        VA           22812
 Sp Auto Logistics Inc.                                                      81 Clarendon Avenue                                               Chicopee           MA           01013
 Sp Logistics Inc.                                                           3001 NE 185th Street                                              Aventura           FL           33180
 Space Coast Credit Union                                                    20437 Florida 7                                                   Boca Raton         FL           33498
 Sparks Computerized Car Care                                                1310 39th Ave W                                                   Bradenton          FL           34205
 Spaw, Jennifer                                                              Address on File
 Spearin, Kevin Jonathan-James                                               Address on File
 Specialist Auto Carriers                                                    Suite 902047                                                      Homestead          FL           33090
 Specialist Auto Carriers Corp                                               12159 SW 132nd Ct                                                 Miami              FL           33186
 Specialize Transport Inc                                                    4055 SW 98 Court                                                  Miami              FL           33165
 Specialty Automotive Treatments                                             700 W Sunrise Blvd                                                Fort Lauderdale    FL           33311
 Specialty Fence & Gate                                                      17212 31st Road N                                                 Loxahatchee        FL           33470
 Specialty Glass Of The Palm Beaches, Inc                                    1440 Southern Blvd                                                West Palm Beach    FL           33406
 Speed Freakz LLC                                                            16421 NW 22nd Street                                              Pembroke Pines     FL           33028
 Speed Locksmith &Security Inc                                               6541 Marissa Cir                                                  Lake Worth         FL           33467
 Speed On The Water
 Speedway King Transport                                                     2719 Hollywood Blvd                                               Hollywood          FL           33020
 Speedy Auto Transport LLC                                                   257 SW Dalton Circle                                              Port St Lucie      FL           34953
 Speedy Logistics Services Inc                                               8917 NW 119th Ter                                                 Hialeah            FL           33018
 Speedys Tires                                                               1385 Lake Worth Rd                                                Palm Springs       FL           33461
 Spence, Richard A                                                           Address on File
 Spengler Auto Transport LLC                                                 10635 Jane Eyre                                                   Orlando            FL           32825
 Spere, Inc.                                                                 3200 South Congress Ave            Ste 203                        Boynton Beach      FL           33426



Off Lease Only LLC, et al.                                                                                                                                                                  Page 130 of 155
                                                         Case 23-11389-CTG                        Doc 1-1           Filed 09/07/23      Page 131 of 155
                                                                                                          Creditor Matrix
                                                                                                         as of September 6, 2023
                    Creditor Name                       Attention                        Address 1                          Address 2    Address 3             City             State       Zip        Country
 Spers Transportation LLC                                                    10159 NW 33 St                                                          Coral Springs         FL           33065
 Spicewood Transport LLC                                                     11927 Downy Birch Rd                                                    Charlotte             NC           28227
 Spincar                                    Augmented Reality Concepts,Inc   344 South Warren Street                                                 Syracuse              NY           13202
 Spireon, Inc.                                                               16802 Aston Street                                                      Irvine                CA           92606
 Spirit Auto Brokers                                                         650-Abc NE 27th St                                                      Pompano Beach         FL           33064
 Spirit Magazine
 Spirit Realty                                                               2727 N Harwood St                                                       Dallas                TX           75201
 Spitali Auto Transport                                                      4440 W Paradise Ln                                                      Glendale              AZ           85306
 Sponsorship Events
 Spooled Up Trucking LLC                                                     7045 Green Rd                                                           Lakeland              FL           33810
 Sport Mazda                                Trail Imports I LLC              9786 S Orange Blossom Trail                                             Orlando               FL           32809
 Sport Model Inc                                                             PO Box 500218                                                           Marathon              FL           33050
 Sport Subaru Mitsubishi                    Colonial Imports Ltd             3772 West Colonial Drive                                                Orlando               FL           32808
 Sport Subaru South                         Trail Import Ii LLC              9951 S Orange Blossom Trl                                               Orlando               FL           32837-8919
 Spotlight Auto Inc                                                          4809 Kumquat Drive                                                      Tamarac               FL           33319
 Sprattling, Zsabri Marshe                                                   Address on File
 Sprenkle, Jill Marie                                                        Address on File
 Springer Motors
 Sprint                                                                      PO Box 219903                                                           Kansas City           MO           64121-9903
 Sprint                                                                      PO Box 54977                                                            Los Angeles           CA           90054-0977
 Sprinter Auto Transport LLC                                                 7812 Se Aspen Summit Dr #26                                             Portland              OR           97266
 Sprout Social, Inc                                                          131 S Dearborn Street Ste 700                                           Chicago               IL           60603
 Spruill, Michael                                                            Address on File
 Spuriga Transport LLC                                                       4148 Central Sarasota Parkway          #1322                            Sarasota              FL           34238
 Squareup - Bret Rappaport
 Sr Auto Transport Inc                                                       8640 University City Blvd                                               Charlotte             NC           28213
 Sr Cargo Inc.                                                               1499 S Federal Hwy                                                      Boynton Beach         FL           33435
 Ss Alliance Racing                                                          5379 Lyons Road #464                                                    Coconut Creek         FL           33073
 Ss Auto Transport Inc                                                       2140 SW 89th Ct                                                         Miami                 FL           33165
 Ss Car Haulers                                                              775 Burritt Rd                                                          Hilton                NY           14468
 Ss Garage & Transport Inc                                                   2900 Mill Rd                                                            Knoxville             TN           37924
 Ssc Transport LLC                                                           PO Box 581004                                                           Kissimmee             FL           34758
 Ssf Imported Auto Parts LLC                                                 466 Forbes Blvd                                                         South San Francisco   CA           94080
 Ssg Kingdom Transportation                                                  5520 Berryman St                                                        Lehigh Acres          FL           33971
 Ssl Trucking Inc                                                            17201 Pheasant St                                                       Laredo                TX           78045
 St Johns River Water Management District
 St Lucie Battery & Tire                                                     5500 Ornage Avenue                                                      Ft Pierce             FL           34947
 St Trucking LLC                                                             8624 Easwtside Drive Ne                                                 Tacoma                WA           98422
 St. Michael Auto Transport Inc                                              10126 Boca Palm Drive                                                   Boca Raton            FL           33498
 St. Moritz Security Services, Inc                                           PO Box 5017                                                             Greensburg            PA           15601
 Stack, Nathan                                                               Address on File
 Stadium Toyota                                                              5088 N Dale Mabry                                                       Tampa                 FL           33614
 Stainless Auto & Transportation                                             3633 Ernie Drive                                                        Charlotte             NC           28269
 Stallion Express LLC                                                        10007 Dooley Rd                                                         Bismarck              MO           63624
 Stallion Transportation Inc                                                 11197 Corsica Ct                                                        Rancho Cucamonga      CA           91730
 Stalter, Collin James                                                       Address on File
 Stamler, Sean Mathew                                                        Address on File
 Standard Demolition Corp                                                    1607 N 43rd Street                                                      Tampa                 FL           33605
 Stanford Service And Installation LLC                                       1926 Se Emerald Ct                                                      Stuart                FL           34997
 Stankey, Edward Alfred                                                      Address on File
 Stanton Electric Inc                                                        3418 Price Ave                                                          Orlando               FL           32806
 Stanton Electric, Inc.                                                      3418 Price Ave                                                          Orlando               FL           32806
 Stanton, Bruce A                                                            Address on File
 Staples Advantage                                                           Dept Atl                                                                Atlanta               GA           30384-5386
 Staples Promotional Products                                                PO Box 88003                                                            Milwaukee             WI           53288-8003
 Staples Technology Solutions                                                PO Box 95230                                                            Chicago               IL           60694
 Star Fleet                                                                  PO Box 186                                                              Howe                  IN           46746
 Star Garage                                Mjm Industries Inc               1925 Mears Pkwy                                                         Margate               FL           33063-3702
 Star Light Logistics, Corp                                                  5520 SW 3rd St                                                          Coral Gables          FL           33134
 Star Lite Auto Carrier LLC                                                  2445 NW 207th St                                                        Miami Gardens         FL           33056
 Star One Transportation LLC                                                 1044 Forest Dr                                                          Stroudsburg           PA           18360
 Star Plus Xpress                                                            PO Box 213                                                              Darby                 PA           19023



Off Lease Only LLC, et al.                                                                                                                                                                           Page 131 of 155
                                                              Case 23-11389-CTG                       Doc 1-1          Filed 09/07/23    Page 132 of 155
                                                                                                              Creditor Matrix
                                                                                                            as of September 6, 2023
                      Creditor Name                          Attention                         Address 1                     Address 2    Address 3              City          State       Zip        Country
 Star Services Inc                                                                1150 NW 44th Avenue                                                 Deerfield Beach     FL           33442
 Stark Exterminators                             Arrow Exterminators Inc          4515 Curry Ford Rd                                                  Orlando             FL           32812
 Starling Chevrolet                                                               13155 S Orange Blossom Trl                                          Orlando             FL           32837
 Starlink Transportation Company                                                  4488 Lower Park Road                                                Orlando             FL           32814
 Starr Service Transport                                                          352 Tunnel Rd                                                       Harleyville         SC           29448
 Starr, Judd Anthony                                                              Address on File
 Stars & Stripes Autohaulers Inc                                                  610 5th Ave                                                         Bunnell             FL           32110
 Starsky Auto Transport Corp                                                      6715 NE 63rd St #454                                                Vancouver           WA           98661
 Start Plus Xpress                                                                PO Box 213                                                          Darby               PA           19023
 Starway Logistics LLC                                                            118 Clearview Ave                                                   Huntingdon Valley   PA           19006
 Stasi Auto Group LLC                                                             Pending W9 Document                                                 Highland Park       NJ           08904
 Stat Transportation Services Inc                                                 12270 SW 190th Terrace                                              Miami               FL           33177
 State 2 State Trucking LLC                                                       664 SW 11th St                                                      Florida City        FL           33034
 State By State Auto Transport Inc                                                5546 1st Rd                                                         Lake Worth          FL           33467
 State Comptroller                                                                PO Box 149360                                                       Austin              TX           78714
 State Farm Insurance
 State Line Auto Auction                                                          830 Talmadge Hill South                                             Waverly             NY           14892
 State Lines Transport LLC                                                        7447 Glenmont Dr                                                    North Royalton      OH           44133
 State Of Delaware                               Division Of Corporations         PO Box 5509                                                         Binghamton          NY           13902-5509
 State Of Floride Sui
 State Of Rhode Island                           Providence Plantation Office Of The148 W River Street                                                Providence          RI           02904
 State To State Transport & Logistics                                               7009 Magnolia Street                                              Beaufort            SC           29906
 State To State Transport & Logistics LLC                                           PO Box 344415                                                     Homestead           FL           33034
 State Wide Transportation Inc                                                      100 S Atkinson Rd                                                 Grayslake           IL           60030
 Staten, Jacob Alexander                                                            Address on File
 Staudenmaier, Jeffrey                                                              Address on File
 Stearns Weaver Miller Wiessler Alhadeff & Sit                                      150 West Flagler Street            Suite 2200                     Miami               FL           33130
 Stearny Transport LLC                                                              81 Trenton Hwy                                                    Milan               TN           38358
 Steel Force Transfer LLC                                                           2910 Hedley St                                                    Philadelphia        PA           19137
 Steelblue LLC Dba Steelblue Transport                                              PO Box 411343                                                     Melbourne           FL           32941
 Stegville, John M                                                                  Address on File
 Stegville, Wendi Lyn                                                               Address on File
 Stehle Transport                                                                   23930 Route 66                                                    Lebanon             MO           65536
 Stein Auto Transport LLC                                                           PO Box 664                                                        La Crosse           WI           54602
 Stella Cleaning LLC                                                                151 Via Rosina                                                    Jupiter             FL           33458
 Stengel, Eric Anthony                                                              Address on File
 Step By Step Auto LLC                                                              175 Macarthur Drive                                               Willowbrook         IL           60527
 Step Up For Students, Inc                                                          PO Box 645707                                                     Cincinnati          OH           45264
 Stephens, Rohan Anthony                                                            Address on File
 Stepone LLC                                                                        1300 Seasons Blvd - Apt 1305                                      West Dundee         IL           60118
 Sterling Talent Solutions                       Newark Post Office                 PO Box 35626                                                      Newark              NJ           07193-5626
 Stern, Paul                                                                        Address on File
 Sterry Street Trans                                                                24 Rice St                                                        Attleboro           MA           02703
 Steve Geyer's Transportation Inc                                                   19630 Waters Rd                                                   Germantown          MD           20874
 Steven Auto Transport Inc                                                          2666 Borinquen Dr                                                 Kissimmee           FL           34744
 Steven Douglas Associates, LLC                                                     1301 International Parkway         Ste 510                        Sunrise             FL           33323
 Stevenson, Larry                                                                   Address on File
 Steward Financial Services                                                         499 Old Kings Hwy                                                 Maple Shade         NJ           08052
 Stewart Automotive Keys & Computers                                                509 Mark Run                                                      Winter Springs      FL           32708
 Stewart Transp Solution                                                            341 Avery Road                                                    Erwin               NC           28339
 Stewart, Andrew A                                                                  Address on File
 Stewart, Nakisha Annmarie                                                          Address on File
 Stewig, Jeffrey Scott                                                              Address on File
 Sth Express LLC                                                                    15 Bensmill Ct                                                    Reistertown         MD           21136
 Stille, David Alliston                                                             Address on File
 Stinger Transportation & Recovery Inc                                              362 Nelson Road                                                   Maple Hill          NC           28454
 Stl & B Inc                                                                        PO Box 6221                                                       Somerset            NJ           08875
 Stocksy United
 Stokes III, Charles E.                                                           Address on File
 Stokes Volkswagen                                                                3491 Ashley Phosphate Rd                                            N Charleston        SC           29418
 Stouffer S Trucking                                                              157 Fair Avenue                                                     Salem               OH           44460
 Stoute, Grace Jemira                                                             Address on File



Off Lease Only LLC, et al.                                                                                                                                                                          Page 132 of 155
                                                     Case 23-11389-CTG                     Doc 1-1           Filed 09/07/23    Page 133 of 155
                                                                                                    Creditor Matrix
                                                                                                  as of September 6, 2023
                     Creditor Name                  Attention                        Address 1                     Address 2    Address 3              City         State       Zip        Country
 Stp Motorsport, Inc                                                    4242 Peters Road                                                    Plantation         FL           33317
 Str Auto Inc                                                           9046 Garvey Ave Unit 31                                             Rosemead           CA           91770
 Strader, Richard Steven                                                Address on File
 Stradling Transport                                                    154 Ziv Rd                                                          Debary             FL           32713
 Straight Line Rent
 Straight Line Transports LLC                                           4846 N University Drive                                             Lauderhill         FL           33351
 Straight Up Fence, Inc                                                 5749 Young Pine Road                                                Orlando            FL           32829
 Straight Up Logistics LLC                                              2300 NW 32nd Terrace                                                Lauderdale Lakes   FL           33311
 Straightline Fencing LLC                                               1621 13th Street                                                    Saint Cloud        FL           34769
 Strapngo                                                               732 N Halifax Ave #306                                              Daytona Beach      FL           32118
 Strata Realty Inc                                                      PO Box 628                                                          Jupiter            FL           33468
 Strategic Systems Inc                                                  9310 Old Kings Rd S                                                 Jacksonville       FL           32257
 Stratemeyer LLC                                                        PO Box 628                                                          Jupiter            FL           33416
 Strawn, Gene Wayne                                                     Address on File
 Stream Companies Inc                                                   400 Lapp Road                                                       Malvern            PA           19355
 Streamline Auto Group LLC                                              3552 Southwestern Blvd                                              Orchard Park       NY           14127
 Streamline Auto Transport Inc.                                         771 Cherokee Road                                                   Lake Forest        IL           60045
 Street Image Trucking LLC                                              PO Box 11511                                                        Hickory            NC           28603
 Street Sharks Towing And Hauling                                       8230 Fairhaven Lane                                                 Montgomery         AL           36117
 Streetrockets Transport LLC                                            2310 SW 84th Way                                                    Miramar            FL           33025
 Striker Services Inc                                                   5500 Onsted Hwy                                                     Onsted             MI           49265
 Stripe
 Strive Trucking Inc.                                                   1806 Braeburn Terrace                                               Lansdale           PA           19446
 Strong Automobile Recovery Inc                                         2780 NW 167th Terrace                                               Miami Gardens      FL           33056
 Strong Road Transport LLC                                              18975 SW 270th St                                                   Homestead          FL           33031
 Stuark Transit LLC                                                     409 Ewan Street                                                     Clarendon          AR           72029
 Stubhub
 Stull, Patricia Elizabeth                                             Address on File
 Suarez Cars Transport LLC                                             685 Palm Blvd                                                        Weston             FL           33326
 Suarez, Anna Elissa                                                   Address on File
 Sub Saharan Exchange LLC                                              40 Bayou Ave                                                         Capital Heights    MD           20743
 Subaru Of North Tampa                   Tampa S Automotive Management 11111 North Florida Ave                                              Tampa              FL           33612
 Subaru Of Pembroke Pines                Triangle Auto Works LLC       16100 Pines Blvd                                                     Pembroke Pines     FL           33027-1110
 Suburban Volvo Palm Beach                                             5544 Okeechobee Blvd                                                 West Palm Beach    FL           33417
 Sudo's Transport LLC                                                  1455 Grayson Ct                                                      Marietta           GA           30062
 Sue Auto Inc                                                          9611 Johnson Pl                                                      Crown Point        IN           46307
 Sued, Jose                                                            Address on File
 Sulany Caridad Guillama Miranda                                       Address on File
 Summar Financial, LLC                                                 2299 Sw27th Ave                                                      Miami              FL           33145
 Summer Transportation LLC                                             PO Box 92                                                            Jupiter            FL           33468
 Summers, Caitlin Nicole                                               Address on File
 Summit Broadband                                                      PO Box 11407                                                         Birmingham         AL           35246-3056
 Summit Fire & Security LLC                                            PO Box 855227                                                        Minneapolis        MN           55485-5227
 Summit Racing Equipment
 Sun Cars Transport Corp                                                6272 NW 186 St Ate 203                                              Hialeah            FL           33015
 Sun East Federal Credit Union           Attn: Loan Operations          4500 Pennell Road                                                   Aston              PA           19014
 Sun Express Fl Corporation                                             10019 Facet Court                                                   Orlando            FL           32836
 Sun Sentinel                                                           PO Box 100606                                                       Atlanta            GA
 Sunbelt Radiators Inc                                                  1500 Elizabeth Ave                                                  West Palm Beach    FL           33401
 Sunbelt Rentals Inc                                                    P O Boz 409211                                                      Atlanta            GA           30384
 Suncar Auto Transport LLC                                              2141 Briarcliff Cir                                                 Mount Dora         FL           32757
 Suncity Auto Transport Corp                                            3530 NW 36th Street                                                 Miami              FL           33142
 Suncoast Air Contractor Inc                                            4911 Lyons Technology Parkway                                       Coconut Creek      FL           33073
 Suncoast Bg LLC                                                        315 Sarasota Center Blvd                                            Sarasota           FL           34240
 Suncoast Cpr LLC                        Kendall Gregory                1125 3rd Ave E 3305                                                 Bradenton          FL           34208
 Suncoast Fcu
 Sundial Inc
 Sunline Transport Inc.                                                 13960 SW 248th Street                                               Homestead          FL           33032
 Sunny Days Ice Cream                                                   322 Evaro Dr                                                        Port Charlott      FL           33954
 Sunny Express Towing & Transportation
 Sunrise Collision Center LLC                                           4211 Cook Rd                                                        Houston            TX           77072
 Sunrise Financial Associates Inc                                       12472 Lake Underhill Road                                           Orlando            FL           32828



Off Lease Only LLC, et al.                                                                                                                                                               Page 133 of 155
                                                    Case 23-11389-CTG               Doc 1-1         Filed 09/07/23     Page 134 of 155
                                                                                           Creditor Matrix
                                                                                         as of September 6, 2023
                   Creditor Name                    Attention                 Address 1                    Address 2    Address 3              City        State       Zip        Country
 Sunsent Palms Auto Transport                                   4047 Sandlewood Ln #2                                               Fort Myers        FL           33907
 Sunset Alfa Maserati Of Sarasota                               7641 South Tamiami Trail                                            Sarasota          FL           34231
 Sunset Cadillac Of Bradenton                                   4780 14th St W                                                      Bradenton         FL           34207
 Sunset Cadillac Of Sarasota                                    2200 Bee Ridge Road                                                 Sarasota          FL           34239
 Sunset Express Transport Inc.                                  1546 Potenza Drive                                                  West Melbourne    FL           32904
 Sunset Moving Solutions                                        1050 Falcon Ave                                                     Miami Springs     FL           33166
 Sunset Palms Auto Transport                                    12404 Country Day Circle                                            Ft Myers          FL           33907
 Sunset Transport                                               11401 NW 17th St                                                    Plantation        FL           33323
 Sunset Volkswagen Of Sarasota                                  5005 S Tamiami Trail                                                Sarasota          FL           34231
 Sunshine Auto Movers Inc                                       197 Roosevelt Ave                                                   Mineola           NY           11501
 Sunshine Auto Transport LLC                                    1421 NE 10th Terrace                                                Cape Coral        FL           33909
 Sunshine Auto Transportation Corp                              10732 SW 165th Ter                                                  Miami             FL           33157
 Sunshine Carrier Services Corp                                 4841 SW 147th Pl                                                    Miami             FL           33185
 Sunshine Carriers                                              9800 Center Pkwy Ste 630                                            Houston           TX           77036
 Sunshine Services Unlimited Inc                                8371 Mcallister Way                                                 West Palm Beach   FL           33411
 Sunshine State Auto                                            12146 Route 22 Highway                                              Seward            PA           15954
 Sunshine Tire                                                  2826 2nd Ave N                                                      Lake Worth        FL           33461
 Sunshine Transport LLC                                         10126 Boca Palm Dr                                                  Boca Raton        FL           33498
 Sunstar Car Express Inc                                        2717 Rustic Lane                                                    Glendale          CA           91208
 Suntrust Bank
 Super Auto Transport LLC                                       204 NE 33 Street                                                    Fort Lauderdale   FL           33334
 Super Auto Transport LLC                                       PO Box 2132                                                         Duluth            GA           30096
 Super Bee Transport Corp                                       10265 SW 37 Street                                                  Miami             FL           33165
 Super Sonic Transports Inc                                     1735 SW 3rd Ct                                                      Homestead         FL           33030
 Super Sport Transport LLC                                      67 Green Acres                                                      Gates             NC           27937
 Supercar Week Inc                                              PO Box 725                                                          Palm Beach        FL           33480
 Superglass                                                     14651 Biscayne Blvd                                                 Miami             FL           33181
 Superglass Windshield Repair                                   6220 Hazeltine Natinal Drive        #118                            Orlando           FL           32822
 Superglass Windshield Repair         For Orlando               6220 Hazeltine National Drive                                       Orlando           FL           32822
 Superior Auto Transport Inc                                    529 SW 15 Ave                                                       Miami             FL           33135
 Superior Equipment Service                                     PO Box 291034                                                       Port Orange       FL           32129-1034
 Superior Integrated Solutions, Inc                             2147 St-27 South Ste 113                                            Edison            NJ           08817
 Superior Leather Restoration                                   7125 NW 45th Street                                                 Coral Springs     FL           33065
 Superior Mufflers Inc                                          548 N Goldenrod Rd                                                  Orlando           FL           32807
 Superior Paint & Autobody, Inc                                 5712 Funston St                                                     Hollywood         FL           33023
 Superior Towing                                                3201 Palm Beach Blvd                                                Fort Myers        FL           33916
 Superior Towing & Recovery Inc                                 1020 West Amelia St                                                 Orlando           FL           32805
 Suph, Omar                                                     Address on File
 Supply And Demand Logistics LLC                                2624 Maxine Drive                                                   High Point        NC           27265
 Supreme Auto Parts, Opa-Locka                                  2650 Ali Baba Ave                                                   Opa Locka         FL           33054
 Supreme Auto Transport                                         7300 Miller Place                                                   Longmont          CO           80504
 Supreme Carriers Of Florida LLC                                611 Campus St Apt 320                                               Celebration       FL           34747
 Supreme Legacy Transport LLC                                   5004 Cypress Trace Dr                                               Tampa             FL           33624
 Sur Ltd                                                        3530 W Melrose St                                                   Chicago           IL           60618
 Survivor Transport Inc                                         15 NE 193 Terrace                                                   Miami             FL           33179
 Survtech Solutions, Inc.                                       10220 Us Hwy 92 East                                                Tampa             FL           33610
 Sussman Shank Attorneys Llp                                    1000Sw Broadway Suite 1400                                          Portland          OR           97205
 Sutherlin Automotive Group                                     13985 S Tamiami Trail                                               Fort Myers        FL           33912
 Sutherlin Orlando Inc                                          8125 E Colonial Dr                                                  Orlando           FL           32817
 Sutton Hauling Inc                                             56 Buell St                                                         Akron             NY           14001
 Sutton Power LLC                                               PO Box 883                                                          Manville          NJ           08835
 Sv Trucking LLC                                                6795 Road D 5 Ne                                                    Moses Lake        WA           98837
 Swad Auto Transporters, Inc                                    2775 Burris Rd Ste 6B-1                                             Davie             FL           33314
 Swamp Fox Auto Express Inc.                                    111 Lamon St Suite 206                                              Fayetteville      NC           28301
 Sweatman, Edward Earl                                          Address on File
 Sweetheart Ice Cream, Inc                                      5610 N 50th Street                                                  Tampa             FL           33610
 Swervin Transport LLC                                          1376 Old Georgetown Rd                                              Hemingway         SC           29554
 Swift Carriers LLC                                             5968 Valerian Blvd                                                  Orlando           FL           32819
 Swift Hauling LLC                                              129 Salt Landing Circle                                             Savannah          GA           31405
 Swift Part                                                     8200 Boggy Creek Rd                                                 Orlando           FL           32824
 Sy Express Transportation Corp                                 2837 Se 3 Street                                                    Homestead         FL           33033
 Sy King Locksmith LLC                                          4924 Eaglemere Dr Apt 321                                           Orlando           FL           32819



Off Lease Only LLC, et al.                                                                                                                                                      Page 134 of 155
                                                       Case 23-11389-CTG               Doc 1-1        Filed 09/07/23    Page 135 of 155
                                                                                               Creditor Matrix
                                                                                           as of September 6, 2023
                    Creditor Name                     Attention                  Address 1                  Address 2    Address 3              City           State       Zip        Country
 Sylint Group, Inc.                                                 240 North Washington Blvd                                        Sarasota             FL           34243
 Synergy Recycling Central Fl                                       510 Shotgun Road Suite 110                                       Sunrise              FL           33326
 Synergy Technical LLC                                              PO Box 71172                                                     Charlotte            NC           28272-1172
 Syphertt Enterprises                                               1521 Park Knoll Trail                                            Lawrenceville        GA           30043
 T A Mc Donald Trucking                                             1015 Cleveland St                                                Tupelo               MS           38801
 T And G Transporting                                               7917 Cr 575                                                      Bushnell             FL           33513
 T Berry Auto Trans                                                 6642 Blueberry Ln                                                Pipersville          PA           18947
 T&C Auto Transport LLC                                             21013 NW 14th Place Unit 443                                     Miami                FL           33169
 T&L Car Transportation Services LLC                                17363 SW 137th Place                                             Miami                FL           33177
 T&R Auto Express Inc                                               1015 West 30th St                                                Hialeah              FL           33012
 T&R Auto Transport LLC                                             5604 Stonefield St                                               Hope Mills           NC           28348
 T&S Sumner Inc                                                     5501 Spring Bluff Ct                                             Frederickburg        VA           22407
 T&S Transit Inc                                                    1254B Pine Top Rd                                                Lexington            NC           27295
 T&S Transport Inc                                                  2638 Gately Dr E Apt109                                          West Palm Beach      FL           33415
 T&T Auto Express Inc.                                              512 High Street                                                  Clinton              MA           01510
 T&T Auto Transport LLC                                             PO Box 73                                                        Blythewood           SC           29016
 T&T Express Logistics LLC                                          5038 Genove Place                                                Palm Beach Gardens   FL           33410
 T&T Trans                                                          5 Eagles Ridge Ct                                                Blythewood           SC           29016
 T&T Transport                                                      21276 Civic Way Unit 101                                         Georgetown           DE           19947
 T&W Elite Group Inc.                                               2146 Sandrige Circle                                             Eustis               FL           32726
 T&Y Delivery Inc                                                   2735 NW 9th Street                                               Miami                FL           33125
 T&Y Express Inc                                                    685 SW Mchole Avenue                                             Port Saint Lucie     FL           34953
 T.E. Dodson Transport                                              PO Box 537                                                       Walkertown           NC           27051
 T.G. Auto Transport                                                PO Box 147                                                       Pocasset             MA           02559
 T.R Transport Services Inc                                         915 Laboon Rd                                                    Monroe               GA           30655
 T.V.A.A.T Transportation                                           14127 E Alexis Cove                                              Prospect             KY           40059
 Ta Champion Services Corp                                          19320 NW 47th Ave                                                Miami Gardens        FL           32055
 Ta Express LLC                                                     5111 S Gibraltar Ct                                              Centennial           CO           80015
 Ta Trans LLC                                                       25850 E Euclid Drive                                             Aurora               CO           80016
 Ta Trucking LLC                                                    5016 S Olathe Circle                                             Centennial           CO           80015
 Tabet, Mohamed                                                     Address on File
 Tabitha's Balloon Bar
 Tach Logistics LLC                                                 2142 Central Pkwy                                                Florissant           MO           63031
 Tackore Trucking LLC                                               1605 Quail Lake Drive                                            West Palm Beach      FL           33409
 Tad Logistic LLC                                                   11343 Cypress Reserve Dr                                         Tampa                FL           33626
 Tad Logistic LLC                                                   12021 Tuscany Bay Drive                                          Tampa                FL           33626
 Taggart's Auto Transport LLC                                       1600 Boulder Lake Dr                                             Milford              MI           48380
 Tai Le                                                             6618 Rock Bridge Ln                                              Ellenton             FL           34222-7242
 Taj Express Delivery LLC                                           2449 SW Chestnut Lane                                            Port St Lucie        FL           34953
 Tall Guy Transport Inc                                             11679 W 9th St                                                   Zion                 IL           60099
 Tallahassee Auto Auction                                           5249 Capital Circle Sw                                           Tallahassee          FL           32305
 Tallman, Anthony J                                                 Address on File
 Tamarac North Lauderdale Chamber Of Comm                           7525 NW 88th Ave #103                                            Tamarac              FL           33321
 Tampa A Automotive Management LLC          Audi Of Tampa           105 E Fowler Ave                                                 Tampa                FL           33612
 Tampa B Automotive Management LLC          Bmw Of Tampa            109 E Fowler Ave                                                 Tampa                FL           33612
 Tampa Bay Times                                                    Dept 3396                                                        Dallas               TX           75312-3396
 Tampa Bay Xpress                                                   8208 Sunny Slope Dr                                              Tampa                FL           33615
 Tampa Bay Xpress LLC                                               2810 W Broad St                                                  Tampa                FL           33614
 Tampa Electric Company                     C/O Ed Billing          PO Box 173169                                                    Tampa                FL           33672
 Tampa L Automotive Management LLC          Land Rover Of Tampa     333 E Fowler Ave                                                 Tampa                FL           33612
 Tampa Mas Automotive Management LLC        Maserati Of Tampa       11333 N Florida Ave                                              Tampa                FL           33612
 Tampa P Automotive Management LLC          Porsche Of Tampa        103 E Fowler Ave                                                 Tampa                FL           33612
 Tampa S Automotive Management LLC          Subaru Of North Tampa   11111 N Florida Ave                                              Tampa                FL           33612
 Tampa Transportation                                               14121 Howard Blvd                                                Kathleen             FL           33849
 Tampa Vw Automotive Management LLC         Vw Of North Tampa       11337 N Florida Ave                                              Tampa                FL
 Tandem Media LLC                                                   10096 Branford Road                                              San Diego            CA           92129
 Tanner-Gill & Associates Logistics, LLC                            3869 Darrow Road Ste 109                                         Stow                 OH           44224
 Tapper, Sean-Nicholas                                              Address on File
 Tardif, Christopher                                                Address on File
 Target Media Partners Interactive, LLC.                            5200 Lankershim Blvd                                             North Hollywood      CA           91601-3100
 Tarpon Transport LLC                                               24202 SW 112th Ct                                                Homestead            FL           33032
 Task Force Transportation                                          1214 Dumpling Ct                                                 Green Cove Springs   FL           32043



Off Lease Only LLC, et al.                                                                                                                                                          Page 135 of 155
                                                            Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23    Page 136 of 155
                                                                                                         Creditor Matrix
                                                                                                       as of September 6, 2023
                   Creditor Name                           Attention                        Address 1                   Address 2    Address 3            City             State       Zip        Country
 Tat Auto Trans Inc                                                            900 Riverdale Street #136                                         West Springfield     MA           01089
 Taurus Auto Group Inc                                                         16W455 S Frontage Rd Suite 300                                    Burr Ridge           IL           60527
 Taurus Auto Group Inc                                                         16 W 455 South Frontage Rd                                        Burr Ridge           IL           60527
 Tausi Transporters                                                            11176 Xavier Rd                                                   Bloomington          MN           55437
 Tax Collector, Palm Beach County                                              PO Box 3353                                                       West Palm Beach      FL           33402-3353
 Tax Gurus
 Taylor, Geoffrey O                                                            Address on File
 Taylor, Dustin                                                                Address on File
 Taymi Auto Transport LLC                                                      2437 Oak Run Blvd                                                 Kissimmee            FL           34744
 Tb Ram Transport Corp                                                         2520 Lake Ellen Lane                                              Tampa                FL           33618
 Tbc Dealer Group                                                              PO Box 205245                                                     Dallas               TX           75320-5245
 Td Bank, Na                                                                   PO Box 9001873                                                    Louisville           KY           40213
 Td Bank, Na                                                                   PO Box 744993                                                     Atlanta              GA           30374
 Td Bank, National Association                                                 5900 North Andrews Avenue                                         Fort Lauderdale      FL           33309
 Td Bank, National Association                                                 PO Box 9001921                                                    Louisville           KY           40290
 Td Bank, National Association                  Product Cancellation           PO Box 9218                                                       Farmington Hills     MI           48333-9223
 Td Bank, Na                                    Attn: Payment Systems Manageme27777 Inkster Road                                                 Farmington Hills     MI           48334-5326
 Td Bank, Na                                                                   PO Box 16039                                                      Lewiston             ME           04243
 Tdc Transportation Inc.                                                       4930 Colorado Blvd                                                Denver               CO           80216
 Tdecu                                          Attn - Chargebacks, Bre Duarte PO Box 628                                                        Lake Jackson         TX           77566
 Tdk Automotive Transport Inc                                                  30000 6 Mile Road                                                 Livonia              MI           48152
 Team All Star- Fl Only                                                        PO Box 1763                                                       Minneola             FL           34755
 Team Baker Transport                                                          123 Oakhill View Drive                                            Valrico              FL           33594
 Team Full Throttle LLC                                                        16501 NW 84th Ct                                                  Miami Lakes          FL           33016
 Team K5 Permits & Consulting LLC                                              176 E Highland Ave                                                Clermont             FL           34711
 Team Love Transport Corp                                                      3461 NW 171st Terr                                                Miami Gardens        FL           33056
 Team One Research And Training                                                15029 N Thompson Peak Pkwy                                        Scottsdale           AZ           85062
 Team Spencer Express                                                          3475 Rosemont Road                                                North Jackson        OH           44451
 Team Transportation Inc                                                       2701 Ocean Avenue Apt#6K                                          Brooklyn             NY           11229
 Tech Transport LLC                                                            9315 NE 147th Avenue                                              Vancouver            WA           98682
 Techeira Transport LLC                                                        3930 Eternity Cir                                                 Saint Cloud          FL           34772
 Technical Trading Corp                                                        3515 NW 60 Street                                                 Miami                FL           33142
 Techni-Car                                                                    450 Commerce Blvd                                                 Oldsmar              FL           34677
 Technicar Palm Beach LLC                                                      4421 Annette St                                                   West Palm Beach      FL           33409
 Techno Auto Carrier Inc                                                       2601 Nouveau Way                                                  Kissimmee            FL           34741
 Teco                                                                          PO Box 31318                                                      Tampa                FL           33631-3318
 Tedaldi Tapia, Giacomo M                                                      Address on File
 Tege Express Inc                                                              1865 Welsh Rd Unit C8                                             Philadelphia         PA           19115
 Tehrani Consulting Engineering PLLC                                           621 Sherwood Dr                                                   Altamounte Springs   FL           32701
 Tejera, Christopher Joshua                                                    Address on File
 Tekpartners Solutions, LLC                                                    PO Box 740473                                                     Atlanta              GA           30374-0473
 Telephone Doctor                                                              30 Hollenberg Ct                                                  St Louis             MO           63044
 Teleport Auto LLC                                                             244 S Randall Rd Pmb 3057                                         Elgin                IL           60123
 Tem Systems Inc                                                               4747 N Nob Hill Rd                                                Sunrise              FL           33054
 Temerity Ventures LLC                                                         118 East Main St                                                  Louisville           KY           40202
 Tentzeras, Gina Lisette                                                       Address on File
 Teri Hernandez LLC                                                            4251 Salzado Street Apt 606                                       Coral Gables         FL           33146
 Terpstra, James Lavern                                                        Address on File
 Terrigno, Nicole M                                                            Address on File
 Tes Transportation Inc.                                                       PO Box 741814                                                     Los Angelos          CA           90004
 Tesla Motors                                                                  100 S Lake Destiny Road                                           Orlando              FL           32810
 Tesla Motors                                                                  5544 Okeechobee Blvd                                              West Palm Beach      FL           33417
 Tesla Motors                                                                  1949 Tigertail Blvd                                               Dania Beach          FL           33004
 Tesla, Inc                                                                    3000 S Dixie Hwy                                                  Delray Beach         FL           33483
 Tesla, Inc.                                                                   12832 Frontrunner Blvd                                            Draper               UT           84020
 Testproject Inc                                                               3111 Brighton 1st Place Apt1J                                     Brooklyn             NY           11235
 Tew's Auto Trasport                                                           11 Tee Tri                                                        Sanford              NC           27332
 Texano Transport LLC                                                          3207 SW 20th St                                                   Miami                FL           33165
 Texans Credit Union                                                           777 E Campbell Rd                                                 Richardson           TX           75081
 Texas Child Support Sdu                                                       PO Box 659791                                                     San Antonio          TX           78265-9791
 Texas Department Of Licensing And Regulation                                  PO Box 12157                                                      Austin               TX           78711
 Texas Department Of Motor Vehicles                                            1601 A Southwest Parkway                                          Wichita Falls        TX           76302



Off Lease Only LLC, et al.                                                                                                                                                                      Page 136 of 155
                                                          Case 23-11389-CTG                       Doc 1-1           Filed 09/07/23    Page 137 of 155
                                                                                                          Creditor Matrix
                                                                                                         as of September 6, 2023
                   Creditor Name                          Attention                          Address 1                    Address 2    Address 3             City          State       Zip        Country
 Texas Star Fire Protection                                                     23419 Willowick Street                                             New Caney          TX           77357
 Texas Surveillance & Security                Houston Surveillance & Security   314 Lakeshore Drive                                                Seabrook           TX           77586
 Texo Logistics LLC                                                             2944 Sunset Vista Blvd                                             Kissimmee          FL           34747
 Tf Trucking Of Arcadia Corp                                                    4542 Se Wheat Ave                                                  Arcadia            FL           34266
 Tfi Trans LLC                                                                  5315 Inglewood Blvd                                                Culver City        CA           90230
 Tgs Carriers LLC                             Taits,Aleksandr                   3 Golf Ctr                                                         Hoffman Estates    IL           60169
 Tgs Transporting LLC                                                           5309 Toronto Road                                                  Haverhill          FL           33415
 Th Transportation LLC                                                          84 Canaan Court Apt 16                                             Stratford          CT           06614
 Thainan Transport Inc                                                          1034 19th Avenue S                                                 Saint Petersburg   FL           33705
 That's Great News
 The Apopka Chief
 The Auto Appraiser                                                             Post Office Box 429                                                Prather            CA           93651-0429
 The Auto Drome                                                                 605 Ulster Ave                                                     Kingston           NY           12401
 The Battery Depot Plus                                                         5151 Sunbeam Road                                                  Jacksonville       FL           32257
 The Best Car Transport Inc                                                     19251 SW 134 Avenue Road                                           Miami              FL           33177
 The Box Advertising
 The Bushel Stop                                                            8640 Lantana Rd                                                        Lake Worth         FL           33467
 The Car Hopper LLC                                                         905 Meadow Dr                                                          Lugoff             SC           29078
 The Carlot Store Inc                                                       PO Box 523356                                                          Springfield        VA           22153
 The Check Cashing Store                                                    7510 Shalimar St                                                       Miramar            FL           33023
 The City Of Lake Worth                                                     Building Department                                                    Lake Worth         FL           33461-4204
 The Collection                                                             200 Bird Road                                                          Coral Gables       FL           33146
 The Concept Law Group, P.A.                                                200 S Andrews Ave Suite 100                                            Fort Lauderdale    FL           33301
 The Fiduciary Studio                                                       2201 Timberloch Place Ste 150                                          The Woodlands      TX           77380
 The Fit Coordinator                                                        1565 Oak Street                                                        Eugene             OR           97401
 The Gourmet Coffee Co                                                      2685 W 81st Street                                                     Hialeah            FL           33016
 The Gus LLC                                                                1113 N Victoria Park Rd                                                Fort Lauderdale    FL           33304
 The Hartford                                                               PO Box 660916                                                          Dallas             TX           75266-0916
 The Irrigator Of South Florida, Inc.                                       13556 Hamlin Blvd                                                      West Palm Beach    FL           33412
 The Keymaker Inc                                                           PO Box 26895                                                           Fort Lauderdale    FL           33320
 The King Hauling Transport LLC                                             420 W 53rd Street                                                      Hialeah            FL           33012
 The Lady Trucking LLC                                                      702 Divot Lane                                                         Kissimmee          FL           34759
 The Law Office Of John A Wagner, PLLC                                      1500 Gateway Blvd Suite 220                                            Boynton Beach      FL           33426
 The Law Offices Of Levy & Levy, Pa                                         1000 Sawgrass Corporate Parkway                                        Sunrise            FL           33323
 The Lincoln National Life Insurance Co                                     PO Box 0821                                                            Carol Stream       IL           60132-0821
 The Mcintyre Institute                                                     12127 NW 9th Drive                                                     Coral Springs      FL           33071
 The Miami Herald                                                           PO Box 3028                                                            Livonia            MI           48151
 The News Press Media Group                                                 PO Box 677583                                                          Dallas             TX           75267
 The Next Up                                                                1241 N Lakeview Ave                                                    Anaheim            CA           92807
 The Odor Doctors                             Marketing By Zip LLC          19114 Watchful Willow Drive                                            Cypress            TX           77433
 The Paint Shuttle                                                          265 S Federal Hwy #293                                                 Deerfield Beach    FL           33441
 The Palm Beach Post                          Gatehouse West Palm Beach-Adv Dept 0688                                                              Dallas             TX           75312-0688
 The Parts House                              Tph Holdings LLC              10321 Fortune Parkway                                                  Jacksonville       FL           32256
 The Pension Studios, LLC                                                   1226 Omar Road                                                         West Palm Beach    FL           33405
 The Pep Boys                                 For Palm Beach                3111 West Allegheny Ave                                                Philadelphia       PA           19132
 The Persaud Group Llp                                                      963 Algonquin Drive                                                    Pawleys Island     SC           29585
 The Pinnacle Group                                                         24551 Raymond Way                                                      Lake Forest        CA           92630
 The Planning & Zoning Resource Company LLC                                 1300 S Meridian Ave - Ste 400                                          Oklahoma City      OK           73108
 The Pompano Beach Seafood Festival                                         PO Box 50025                                                           Lighthouse Point   FL           33074
 The Pr Boutique, LLC                                                       5611 Indian Circle                                                     Houston            TX           77056
 The Queen Transportation Services Inc                                      PO Box 150954                                                          Cape Coral         FL           33915
 The Radio Guys                                                             2351 SW 52nd Street                                                    Ft Lauderdale      FL           33312
 The Receiveable Management Services Corp                                   4836 Brecksville Rd                                                    Richfield          OH           44286
 The Reynolds & Reynolds Company                                            PO Box 182206                                                          Columbus           OH           43218-2206
 The Seat Surgeon LLC                                                       16633 Bay Club Drive                                                   Clermont           FL           34711
 The Shade Store                                                            21 Abendroth Ave                                                       Port Chester       NY           10573
 The Sherwin-Williams Company                                               4236 Lake Worth Rd                                                     Lake Worth         FL           33461
 The Soundboys Media                                                        7601 Riviera Blvd                                                      Miramar            FL           33023
 The Staff Machinery LLC                                                    2033 Vista Lane                                                        Apopka             FL           32703
 The Stop Shop                                Auto & Muffler Service        4130 NW 135 St                                                         Opa Locka          FL           33054
 The Sylint Group                                                           240 No Washington Blvd                                                 Sarasota           FL           34236
 The Ticktin Law Group P.A.                                                 270 SW Natura Avenue                                                   Deerfield Beach    FL           33441



Off Lease Only LLC, et al.                                                                                                                                                                      Page 137 of 155
                                                             Case 23-11389-CTG                  Doc 1-1        Filed 09/07/23       Page 138 of 155
                                                                                                       Creditor Matrix
                                                                                                    as of September 6, 2023
                    Creditor Name                           Attention                     Address 1                   Address 2      Address 3             City           State       Zip        Country
 The Ticktin Law Group, P A                                                 600 West Hillsboro Blvd            Suite 220                         Deerfield Beach     FL           33441
 The Traffic Safety Store                                                   PO Box 1449                                                          West Chester        PA           19380
 The Transport Buddy LLC                                                    19390 Collins Ave #1418                                              Sunny Isles Beach   FL           33160
 The Tranzporter Inc                                                        505 NE 189th St                                                      Miami               FL           33179
 The Truck Shop Inc                                                         3711 Rogers Industrial Park Rd                                       Okahumpka           FL           34762
 The Volvo Store                                                            1051 W Webster Ave                                                   Winter Park         FL           32789
 The Waggoners Trucking                                                     1501 Se 15th                                                         Oklahoma City       OK           73129
 The Yellow Transporter Inc.                                                3826 SW 79 Ave Apt 129                                               Miami               FL           33155
 Thelisme, Shemar                                                           Address on File
 Then Auto Transport Corp. /Choly Transport                                 4332 SW 159th Path                                                   Miami               FL           33185
 Therma Seal Roof Systems, LLC                                              1421 Oglethorpe Rd                                                   West Palm Beach     FL           33405-1023
 Thm Express LLC                                                            8214 Brookhollow Ct                                                  Louisville          KY           40220
 Thomas & Bm Carriers                                                       412 Lanier St                                                        Oxford              NC           27565
 Thomas Alan Braddick                                                       Address on File
 Thomas Favors Affordable Pressure Cleaning                                 5689 Se Indigo Ave                                                   Stuart              FL           34997
 Thomas, Cynthia                                                            Address on File
 Thomas, Karneshia                                                          Address on File
 Thomas, Kimberly Renea                                                     Address on File
 Thomas, Pierre Richard                                                     Address on File
 Thomas, Shawn Anthony                                                      Address on File
 Thomas, William Eric                                                       Address on File
 Thomastrans Inc                                                            3140 S Ocean Drive                                                   Hallandale Beach    FL           33009
 Thompson & Youngross Engineering Consultants                               902 Clint Moore Rd Suite 142                                         Boca Raton          FL           33487-2828
 Thompson, James R                                                          Address on File
 Thompson, Michael Mark                                                     Address on File
 Thompson, Tamari Donkor                                                    Address on File
 Thomson Reuters Tax & Accounting                                           PO Box 71687                                                         Chicago             IL           60694-1687
 Thomson Reuters-West                                                       Payment Center                                                       Carol Stream        IL           60197-6292
 Thornton, Heath                                                            Address on File
 Threatmetrix Inc                               Lexisnexis Risk Solutions   28330 Network Pl                   Billing Id 1954749                Chicago             IL           60673-1283
 Three Color Transportation                                                 3732 6th Street W                                                    Lehigh Acres        FL           33971
 Three D Royal Enterprises LLC                                              3320 Silas Cdreek Parkway                                            Winston Salem       NC           27103
 Three Kids Hauler Corp                                                     1400 NW 4th St                                                       Cape Coral          FL           33993
 Ti Electric Usa Inc                                                        2724 Shawnee Ave                                                     West Palm Beach     FL           33409
 Tiger Electric LLC                                                         12250 NW 30th Pl                                                     Sunrise             FL           33323
 Tiger Trucking                                                             1174 Majors Cemetery Road                                            Lynchburg           TN           37352
 Tiktok Ads
 Tim Burgess                                                                PO Box 413                                                           Blountsville        AL           35031
 Timax Delivery Inc                                                         7199 S Kingery Hwy #1012                                             Willowbrok          IL           60527
 Time Express Inc                                                           820 NW 27 Ct                                                         Miami               FL           33125
 Timepayment Corp                                                           PO Box 3069                                                          Woburn              MA           01888
 Tineo, Kevin                                                               Address on File
 Tint Shark LLC                                                             808 53rd Ave W                                                       Bradenton           FL           34207
 Tint Usa
 Tintrz LLC                                                                 6985 Mccoy Road Suite 400                                            Orlando             FL           32822
 Tio Hauling Corp                                                           2050 NW 115 Street                                                   Miami               FL           33167
 Tipton, Joseph Andrew                                                      Address on File
 Tirado, Gian Michael                                                       Address on File
 Tire Centers, LLC                                                          3400 Burris Rd                                                       Davie               FL           33314-2217
 Tire Dispatch                                                              18104 Eck Rd                                                         Allentown           PA           18104
 Tire Equipment Sales Svc                                                   1696 Old Okeechobee Road                                             West Palm Beach     FL           33409
 Tire Kingdom                                                               5901 Lake Worth Road                                                 Lake Worth          FL           33463
 Tire Kingdom                                                               7160 Narcoossee Rd                                                   Orlando             FL           32822
 Tire Kingdom/Acct 33194949                                                 PO Box 205245                                                        Dallas              TX           75320-5245
 Tire Rack                                                                  7101 Vorden Pkwy                                                     South Bend          IN           46628-8422
 Tirehub, LLC                                                               29778 Network Place                                                  Chicago             IL           60673-1297
 Tires Plus                                                                 2021 Sunnydale Blvd                                                  Clearwater          FL           33765
 Tire's World Corp                                                          460 W 83rd St                                                        Hialeah             FL           33014
 Titan Transport Solutions LLC                                              17232 Countrybrook Ln                                                Orlando             FL           32820
 Titan Transportation                                                       4540 Pine Creek                                                      Elkhart             IN           46516
 Titan Transportation LLC                                                   117 132nd Street E                                                   Tacoma              WA           98445
 Tited Towing LLC                                                           350 E 5th Street Apt#202                                             Hialeah             FL           33010



Off Lease Only LLC, et al.                                                                                                                                                                     Page 138 of 155
                                                      Case 23-11389-CTG            Doc 1-1          Filed 09/07/23    Page 139 of 155
                                                                                          Creditor Matrix
                                                                                         as of September 6, 2023
                    Creditor Name                     Attention              Address 1                    Address 2    Address 3                City        State       Zip        Country
 Title Tec
 Tito Auto Transport Inc                                          16932 NW 53rd Ct                                                 Miami Gardens       FL           33055
 Tj Logistic Services LLC                                         430 Story Rd                                                     Ocoee               FL           34761
 Tj's Transport & Trucking LLC                                    1103 Bowens Mills Road Sw                                        Douglas             GA           31533
 Tk Elevator                                                      PO Box 3796                                                      Coral Stream        IL           60132-3796
 Tk Transport                                                     3654 Cameron Crossing Dr                                         Jacsonville         FL           32223
 Tk Transportation Inc                                            13026 Lewis St                                                   Philadelphia        PA           19116
 Tkach, Alexander                                                 Address on File
 Tl Auto Transport LLC                                            16480 Femridge Street                                            Clermont            FL           34714
 Tl Transport                                                     102 Wendy Way Rd                                                 Dunlap              TN           37327
 Tlc Transport Of Florida LLC                                     PO Box 401                                                       Lutz                FL           33548
 Tls Business Corp                                                224 Van Buren Street                                             Newark              NJ           07105
 Tm Trans Inc                                                     3307 Archway                                                     Irvine              CA           92618
 Tma Transportation LLC                                           7191 West 24th Ave                                               Hialeah             FL           33016
 Tmf Transport Inc                                                5091 NW 7 Street                                                 Miami               FL           33126
 Tmt Logistics Inc                                                2612 Sanford Ave                                                 Sanford             FL           32773
 Tmt Transportation & Logistics Corp                              8811 NW 78 St                                                    Tamarac             FL           33321
 Tmw Transport                                                    4241 Lindy Trl                                                   Jacksonville        FL           32210
 Tmx Finance Of Florida Inc               Instaloan               2122 N Military Trail                                            West Palm Beach     FL           33409
 Tndo Trucking & Logistics LLC                                    Pending W9 Document                                              Concord             NC           28025
 Tobener, William H                                               Address on File
 Todos Transport                                                  39284 Buckingham Dr                                              Romulus             MI           48174
 Tofan, Adrian                                                    Address on File
 Together With Us Inc                                             24205 Walnut Cir                                                 Plainfield          IL           60585
 Toledo, Emy                                                      Address on File
 Toll-By-Plate                                                    PO Box 105477                                                    Atlanta             GA           30348-5477
 Tom Bush Architect LLC                                           2452 Stoneview Road                                              Orlando             FL           32806
 Tom Bush Regency Motors                                          9850 Atlantic Blvd                                               Jacksonville        FL           32225
 Tomas Nespechal                                                  Address on File
 Tomas Transport                                                  2690 Rainbow Springs Lane                                        Orlando             FL           32828
 Tomblin, Josh                                                    Address on File
 Tommy Big Rigs Inc                                               1188 Rt 52 West                                                  Walden              NY           12586
 Tommy's Auto Works Inc                                           1188 Route 2 West                                                Walden              NY           12586
 Ton & Nee Trucking LLC                                           4804 Folly Drive                                                 Albany              GA           31705
 Toney, Termaine Marvel                                           Address on File
 Tonne Transport                                                  6636 Burnt Knobb Rd                                              Murfreesboro        TN           37129
 Tonnsen, Matthew Robert                                          Address on File
 Tony's Auto Transport                                            4950 Crescent Technical Ct                                       Saint Agustine      FL           32086
 Tooks, Tracie Erin                                               Address on File
 Tools And Equipment Services LLC                                 5625 NW 79 Ave                                                   Doral               FL           33166
 Toomer Transport                                                 PO Box 47                                                        Tillman             SC           29943
 Top Auto Express Inc.                                            8810 NW 4th Street                                               Pembroke Pines      FL           33024
 Top Choice Transportation LLC                                    1230 Jordan'S Pond Lane                                          Charlotte           NC           28214
 Top Dog Auto Transport                                           206 Chestnut St                                                  Oldmar              FL           34677
 Top Flight Express LLC                                           5656 SW 117th Lane Rd                                            Ocala               FL           34476
 Top Level Enterprises LLC                                        2806 Reynolda Road #221                                          Winston Salem       NC           27106
 Top Line Express Inc                                             15 Hanks St                                                      Lowell              MA           01852
 Top Line Service                                                 PO Box 2299                                                      North Highlands     CA           95660
 Top Line Service Inc/Topline Logistics                           117 Roberts Pl                                                   Roseville           CA           95661
 Top Notch Car Carriers LLC                                       5811 NW 37 Ave                                                   Coconut Creek       FL           33073
 Top Notch Transit                                                400 Snow Hill Street                                             Ayden               NC           28539
 Top Notch Transportation Svc LLC                                 2105 Grouse Ct                                                   Hephzibah           GA           30815
 Top Priority Auto Transport LLC                                  4917 Quince Avenue                                               Mcallen             TX           78501
 Top Shelf Auto Transport                                         34 Shining Willow Way #127                                       La Plata            MD           20646
 Top Transport Inc.                                               11524 Carrie Marie Pl                                            Tampa               FL           33626
 Topline Service, Inc                                             1777 NE Loop 410 Ste 600                                         San Antonio         TX           78217
 Toranzo Fences & Gates LLC                                       8815 Conroy-Windermere Road                                      Orlando             FL           32835
 Torgerson Trucking LLC                                           3525 Maple Leaf Ave                                              Cody                WY           82414
 Toro Pacheco, Joannie                                            Address on File
 Toro Transport - Fl Only                                         6451 NW 190th Terrace                                            Hialeah             FL           33015
 Torok Transport LLC                                              9481 Linden Leaf Ct                                              Fairfax             VA           22031
 Torres, Luis                                                     Address on File



Off Lease Only LLC, et al.                                                                                                                                                       Page 139 of 155
                                                      Case 23-11389-CTG                 Doc 1-1            Filed 09/07/23    Page 140 of 155
                                                                                                 Creditor Matrix
                                                                                                as of September 6, 2023
                     Creditor Name                   Attention                    Address 1                      Address 2    Address 3             City          State       Zip        Country
 Torres, Martin Lozano                                               Address on File
 Torres, Cristian                                                    Address on File
 Torrico, Dominic                                                    Address on File
 Toscano Trans Mgmt Corp                                             344 Se 11th Ave #4                                                   Pompano Beach      FL           33060
 Tot Transport Inc                                                   5091 NW 7 St Apt 808                                                 Miami              FL           33126
 Total Auto LLC                                                      9975 Peace Way Apt 2047                                              Las Vegas          NV           89147
 Total Auto Movers Inc                                               790 Westland Drive                                                   Lexington          KY           40504
 Total Home Supply
 Total Irrigation Management, Inc.                                   PO Box 450626                                                        Sunrise            FL           33345
 Total Traffic & Weather Network
 Toucan Press Inc                                                    1114 North G Street                                                  Lake Worth         FL           33460
 Touchtone Communications Usa, LLC                                   1440 Coral Ridge Drive                Suite 143                      Coral Springs      FL           33071
 Tow Express LLC                                                     715 Murfreeboro Pike                                                 Nashville          TN           37210
 Tow One Transport                                                   4247 West 8th Ave                                                    Hialeah            FL           33012
 Tow Pros Of South Florida LLC                                       4824 NW 1st Ct                                                       Plantation         FL           33317
 Tower Auto Sales                                                    200 Freeport Road                                                    Blawnox            PA           15238
 Towing Express Service LLC                                          1121 SW 122 Ave Apt 114                                              Miami              FL           33184
 Towmax Transport Corp                                               1927 Bolado Pkwy                                                     Cape Coral         FL           33990
 Town Of Davie                                                       PO Box 22091                                                         Tempe              AZ           85285-2091
 Towneplace Suites                                                   3100 Prospect Road                                                   Fort Lauderdale    FL           33309
 Towns County Tax Commissioner
 Townsend, Philip James                                              Address on File
 Toyota Financial                                                    PO Box 5855                                                          Carol Stream       IL           60197
 Toyota Motor Credit Corporation                                     5005 North River Blvd Ne                                             Cedar Rapids       IA           52411
 Toyota Of Hollywood                                                 1841 N State Road 7                                                  Hollywood          FL           33021
 Toyota Of North Miami                                               444 NW 165th Street Rd                                               Miami              FL           33169
 Toyota Of Orlando                        Vineland Motor Sales LLC   3575 Vineland Rd                                                     Orlando            FL           32811
 Tps Ancillary Services Pension Studios                              1226 Omar Road                                                       West Palm Beach    FL           33405
 Tr Express Inc                                                      44 Bearfoot Rd Ste 200                                               Northborough       MA           01532
 Tr Wholesale Solutions                                              7015 Vorden Parkway                                                  South Bend         IN           46628-8422
 Trademark Metals Recycling LLC                                      3440 NW 135th St                                                     Opa Loacka         FL           33054
 Trader Media                                                        PO Box 3096                                                          Norfolk            VA           23514
 Traderwins LLC                                                      5516 Greenwood Ave                                                   West Palm Beach    FL           33407
 Tradewinds Auto Transport                                           PO Box 237                                                           Durham             CT           06422
 Tradition Transport Services LLC                                    3205 Hunting Creel Pass                                              Douglasville       GA           30135
 Traffic Safety Store                     Paid By Amex
 Trail Auto Electric                                                 365 N Military Trail                                                 West Palm Beach    FL           33415
 Traject                                                             15400 Se 30th Pl Ste 202                                             Bellevue           WA           98007
 Trane                                                               PO Box 406469                                                        Atlanta            GA           30384-6469
 Trans Cargo Inc                                                     598 N Emerson Ln                                                     Hainesville        IL           60030
 Trans Logistic Union Co                                             1340 Remington Rd Ste C                                              Schaumburg         IL           60173
 Trans Logistics Union Inc.                                          1749 W Golf Road Unit 367                                            Mount Prospect     IL           60056
 Trans West Inc.                                                     7316 Santa Monica Blvd Apt260                                        West Hollywood     CA           90046
 Transal LLC                                                         6015 44th Avenue                                                     Hyattsville        MD           20781
 Transamerica Transport Inc.                                         145 Ward St#52                                                       Revere             MA           02151
 Transamerican Transport Inc                                         21732 Birch State Park Way                                           Boca Raton         FL           33428
 Transauto Logistics Corp                                            9363 Stewart And Gray Road                                           Downey             CA           90241
 Transcar Auto Express Inc                                           521 El Prado                                                         West Palm Beach    FL           33405
 Transcar Auto Transport Inc.                                        1732 S Congress Avenue                                               Palm Springs       FL           33461
 Transcar Express LLC                     Mileidys Camacho           1730 King Arthur Ct                                                  Kissimmee          FL           34744
 Transcar LLC                                                        4365 SW 112 Avenue                                                   Miami              FL           33165
 Transcargo Inc                                                      1906 Ada Ln                                                          Munster            IN           46321
 Transcen Inc.                                                       4759 NW 72nd Avenue                                                  Miami              FL           33166
 Transervice Motors LLC                                              6022 Broadway                                                        West New York      NJ           07093
 Transforce Carriers Inc                                             6710 Highway 9                                                       Inman              SC           29349
 Trans-Max                                                           7914 Creshire Court                                                  Melbourne          FL           32940
 Trans-Max                                                           5725 Trieda Dr                                                       Melbourne          FL           32940
 Transmission Assembly Inc                                           6618 Oakmont Street                                                  North Lauderdale   FL           33068
 Transmission Express                                                145 NE 183 St                                                        N Miami            FL           33179
 Transmission Express Inc                                            145 N E 183rd St                                                     Miami              FL           33179
 Transnova Logistics                                                 10247 Us Hwy 129                                                     Live Oak           FL           32060
 Transport 724 Inc.                                                  1721 Se 26th Terrace                                                 Cape Coral         FL           33904



Off Lease Only LLC, et al.                                                                                                                                                             Page 140 of 155
                                                    Case 23-11389-CTG                      Doc 1-1         Filed 09/07/23    Page 141 of 155
                                                                                                  Creditor Matrix
                                                                                                as of September 6, 2023
                    Creditor Name                  Attention                         Address 1                   Address 2    Address 3              City         State       Zip        Country
 Transport Ana Inc.                                                    1721 Se 26th Terrace                                               Cape Coral         FL           33904
 Transport And Shipping                                                9820 Glacier Drive                                                 Miramar            FL           33025
 Transport Auto Carriers LLC                                           13771 SW 75 Street                                                 Miami              FL           33183
 Transport Auto Inc                                                    1040 S Millwaukee Ave                                              Wheeling           IL           60090
 Transport Cars E.C.H. LLC                                             1201 73rd Street                                                   North Bergen       NJ           07047
 Transport Club Corp                                                   101 Alixco Ct                                                      Kissimmee          FL           34743
 Transport Jb Corp                                                     19165 SW 15th Street                                               Pembroke Pines     FL           33029
 Transport Of Palm Beach Inc                                           455 Cresta Circle                                                  West Palm Beach    FL           33413
 Transport Rite Inc                                                    1153 Malabar Road Ne                                               Palm Bay           FL           32907
 Transport Services Of Miami Inc                                       4250 SW 152nd Ave                                                  Miramar            FL           33027
 Transport Six LLC                                                     700 West Pope Rd                                                   St Augustine       FL           32080
 Transportation Finance Corp            Express Haulers Inc            14007 S Bell Road                                                  Homer Glen         IL           60491
 Transportation Perez                                                  5314 Lanai Drive                                                   Orlando            FL           32812
 Transportation Professionals LLC                                      1831 12th Ave S#185                                                Nashville          TN           37203
 Transporters Group Inc                                                16126 SW 147th St                                                  Miami              FL           33196
 Transport-Logistics LLC                                               833 Wallace St                                                     Coral Gables       FL           33134
 Transunion                                                            PO Box 99506                                                       Chicago            IL           60693
 Trav Towing And Transport LLC                                         1891 North Congress Avenue                                         West Palm Beach    FL           33401
 Travel Truck                                                          433 SW Tulip Blvd                                                  Port St. Lucie     FL           34953
 Travel Usa Transport LLC                                              1040 NW 33 Avenue                                                  Miami              FL           33125
 Travelers Cl Remittance Center                                        PO Box 660317                                                      Dallas             TX           75266-0317
 Travelers Marketing                                                   47 Church Street                                                   Wellesley          MA           02482-6407
 Travieso Montalvo, Juan Luis                                          Address on File
 Travis Auto Repair                                                    3530 Lake Worth Rd                                                 Lake Worth         FL           33461
 Trc Worldwide Engineering, Inc.                                       15711 Mapledale Blvd                                               Tampa              FL           33624
 Tre Express, Inc                                                      9731 SW 35 St                                                      Miami              FL           33165
 Tread Carbons Inc                                                     2269 Indian Rd # 2                                                 Wpb                FL           33409
 Treadmaxx Tire Distributors, Inc.      Orlando                        PO Box 117124                                                      Atlanta            GA           30368-7124
 Treasure Coast Auto Auction                                           2900 Industrial 33rd Street                                        Fort Pierce        FL           34946
 Treasure Coast Newspaper                                              PO Box 630807                                                      Cincinnati         OH           45263-0807
 Treasure Coast Transporters LLC                                       2501 27th Ave A3                                                   Vero Beach         FL           32960
 Tree Experts                                                          PO Box 560218                                                      Orlando            FL           32856
 Treemont Towing Co                                                    1747 Bay Road                                                      Miami Beach        FL           33139
 Trejos, Jose Benito                                                   Address on File
 Trent Enterprises LLC                                                 910 W Pulaski                                                      Elkton             MD           21921
 Trevino, Ernest Anthony JJ                                            Address on File
 Trey Transport LLC                                                    2216 Shiloh Rd                                                     Pelahatchie        MS           39145
 Triana Trucking Inc                                                   1233 E Mountain Drive                                              West Palm Beach    FL           33406
 Triangle Diesel, Inc.                                                 1800 Robie Ave                                                     Mount Dora         FL           32757
 Triangle Rent A Car LLC                                               4817 Hargrove Road                                                 Raleigh            NC           27616
 Tri-Area Electrical Construction Inc                                  PO Box 100162                                                      Cape Coral         FL           33910-0162
 Tribecca Automotive Inc                                               PO Box 660                                                         Carteret           NJ           07008
 Tribune                                                               14891 Collections Center Drive                                     Chicago            IL           60693
 Tri-County Enterprises LLC                                            3345 Okeechobee Road                                               Fort Pierce        FL           34947
 Trifexx Express LLC                                                   5885 Cumming Hwy                                                   Sugar Hill         GA           30518
 Trilogy Transport LLC                                                 1007 Emeralda Rd                                                   Orlando            FL           32808
 Trinity Auto Logistics Inc                                            11242 NW 79 Lane                                                   Doral              FL           33178
 Trinity Prime Logistic LLC                                            289 Jonesboro Rd                                                   Mcdonough          GA           30253
 Trinity52 Enterprises                                                 15904 Chippenham Terr                                              Upper Marlboro     MD           20774
 Triple K Auto Logistics Corp                                          1386 NW 36 St                                                      Miami              FL           33142
 Triple M Transport Corp                                               4620 SW 112th Avenue                                               Miami              FL           33165
 Triple Z Logistics Inc                                                2437 Barkwater Dr                                                  Orlando            FL           32839
 Tronc, Inc.                                                           14891 Collections Center Dr                                        Chicago            IL           60693-0148
 Trophy Auto Transport Inc                                             2040 Waterside Way Sw                                              Vero Beach         FL           32962
 Tropic Fence Inc                                                      1864 N W 21st Street                                               Pompano Beach      FL           33069
 Tropic Oil Company                                                    10002 NW 89th Ave                                                  Miami              FL           33178-1409
 Tropic Transport F&Y                                                  18255 NW 68th Ave Apt 325                                          Miami Lakes        FL           33015
 Tropic Transport F&Y                                                  3110 Silver Fin Way                                                Kissimmee          FL           34746
 Tropical Auto Sales                                                   742 Northlake Blvd                                                 North Palm Beach   FL           33406
 Tropical Cadillac Inc                  Sunset Cadillac Of Bradenton   4780 14th St W                                                     Bradenton          FL           34207
 Tropical Choice Auto                                                  1730 S Federal Hwy 237                                             Delray Beach       FL           33483
 Tropical Financial Cu                                                 PO Box 829517                                                      Pembroke Pines     FL           33082-9917



Off Lease Only LLC, et al.                                                                                                                                                             Page 141 of 155
                                                            Case 23-11389-CTG                        Doc 1-1         Filed 09/07/23    Page 142 of 155
                                                                                                           Creditor Matrix
                                                                                                          as of September 6, 2023
                    Creditor Name                          Attention                              Address 1                Address 2    Address 3             City            State       Zip        Country
 Tropical Ford                                                                    9900 S Orange Blossom Trail                                       Orlando              FL           32837
 Trotta Tire Orlando LLC                                                          6367 All American Blvd                                            Orlando              FL           32810
 Trotta Tires Ii LLC.                                                             1919 NW 19th Street                                               Ft. Lauderdale       FL           33311
 Trotta, Joe                                                                      Address on File
 Troupe Trucking Services Inc.                                                    572 Garrett A Morgan Blvd                                         Landover             MD           20785
 Troy Car Inc                                                                     200 Overmount Ave                                                 Woodland Park        NJ           07424
 Troy D Herndon                                                                   Address on File
 Truck Em Corp                                                                    PO Box 881924                                                     Port St Lucie        FL           34988
 Truck Usa Corp                                                                   10080 Reflection Blvd                                             Sunrise              FL           33351
 Truck Usa Corp                                                                   3771 Dellingdown Dr                                               Denver               NC           28037
 Trucks Arrive Usa LLC                                                            409 West 20th Street                                              Sanford              FL           32771
 Tru-Cutz Lawn Service Of Miami Inc                                               4600 SW 99 Ave                                                    Miami                FL           33165
 True Blue Logistics LLC                                                          PO Box 771808                                                     Orlando              FL           32877
 True Hauling                                                                     150 Kitti Wake Dr                                                 West Columbia        SC           29170
 True Line Auto Transport Corp                                                    10041 SW 46 St                                                    Miami                FL           33165
 True Reign Inc                                                                   820 Manor Ct                                                      Sedalia              MO           65301
 Truecar Inc                                                                      Dept La 24198                                                     Pasadena             CA           91185-4198
 Trueframe                                      True Partners Usa LLC             640 Ellicott St                                                   Buffalo              NY           14203
 Trujillo Armenteros, Anet D                                                      Address on File
 Trujillo, Gonzalo Rafael                                                         Address on File
 Trujo Truck Corporation                                                          2149 Flintlock Blvd                                               Kissimmee            FL           34743
 Truly Nolen                                                                      5931 Hallandale Beach Blvd                                        West Park            FL           33023
 Truly Nolen Branch 082                                                           876 NW 12th Ave                                                   Pompano Beach        FL           33069-2016
 Trust Account Of Jose A. Rogriguez, P.A.                                         3030 South Dixie Hwy                                              West Palm Beach      FL           33405
 Trust Car Carrier LLC                                                            6701 Maple Leaf Ct                                                Baltimore            MD           21209
 Trust The Midas Touch Auto Transport Service                                     496 Fox Trot Dri                                                  Columbia             SC           29229
 Trust Towing And Recovery                                                        600 Gulf Drive                                                    Charlotte            NC           28208
 Trusted Translations, Inc                                                        66 West Flagler Street                                            Miami                FL           33130
 Trustwave                                      Trustwave Holdings Inc            PO Box 855638                                                     Minneapolis          MN           55485-5638
 Tru-Tech Autoglass LLC                                                           441 Center St                                                     Altamonte Springs    FL           32701
 Trux Superstore Inc                                                              14743 State Hwy 249                                               Houston              TX           77086
 Tsc Carrier Transportation LLC                                                   10073 Riverside Dr                                                Palm Beach Gardens   FL           33410
 Tshuma, Giovanna                                                                 Address on File
 Tsm Transport LLC                                                                6213 Newton Woods Drive                                           West Palm Beach      FL           33417
 Tt Transport & Towing Corp                                                       7005 English Mist Circle                                          Las Vegas            NV           89128
 Ttmt Auto Transport Service LLC                                                  1034 Willow Oak Dr                                                Columbia             SC           29223
 Tto Auto Transport                                                               5920 Arthur St                                                    Hollywood            FL           33021
 Tubbs, Christopher Ryan                                                          Address on File
 Tuchak, Teddy                                                                    Address on File
 Tucker Transport                                                                 5 Larkin Ct                                                       Columbia             SC           29203
 Tucker, Thomas Theodore                                                          Address on File
 Tucker's Tree Service                          Invalid Acct/Need W-9/Last Used 1/443 Pensacola Drive                                               Lake Worth           FL           33462
 Tuff-Coat Paint & Body Shop Inc                                                  1701 N Military Trail                                             W.Palm Beach         FL           33409
 Tuffy Auto Service Center                                                        10444 Curry Ford                                                  Orlando              FL           32825
 Tuffy Tire And Auto                                                              7444 Narcoossee Road                                              Orlando              FL           32822
 Tuga Transport Corp                                                              4301 Urbana Drive                                                 Orlando              FL           32837
 Tumen Trans LLC                                                                  1849 Westpointe Circle                                            Orlando              FL           32835
 Tuna Transport LLC                                                               5444 N 79th Avenue                                                Glendale             AZ           85303
 Turbax Wheel Corp                                                                14150 SW 119th Ave                                                Miami                FL           33186-6012
 Turbotrix Motors LLC                                                             10 Syngle Way                                                     Morganville          NJ           07751
 Turino Transportation Corp                                                       3048 Golden Rain Dr                                               Sarasota             FL           34232
 Turkkaynagi, Berhan                                                              Address on File
 Turner, William Jamal                                                            Address on File
 Turning Point Transport LLC                                                      16695 Glenmore                                                    Redford              MI           48240
 Tuttle, Zachary Joseph                                                           Address on File
 Tutts Auto Transport                                                             2871 Partridge Town Rd                                            Lincolnton           GA           30817
 Tvm Inc.                                                                         12930 Market Ave N                                                Hartville            OH           44632
 Twietmeyer, Juli                                                                 Address on File
 Twitter
 Twiz Auto Transport LLC                                                         87 Francis Harrell Way                                             Midway               FL           32343
 Two Brothers Cargo Inc                                                          1402 Se 19th Terrace                                               Cape Coral           FL           33990
 Two Guys & A Trailer LLC                                                        3352 Backwoods                                                     Lakeland             FL           33810



Off Lease Only LLC, et al.                                                                                                                                                                         Page 142 of 155
                                                        Case 23-11389-CTG                        Doc 1-1         Filed 09/07/23    Page 143 of 155
                                                                                                       Creditor Matrix
                                                                                                      as of September 6, 2023
                    Creditor Name                      Attention                          Address 1                    Address 2    Address 3            City             State       Zip         Country
 Two J Towing Inc.                                                          5655 Kumquat Road                                                   West Palm Beach      FL           33413
 Two Vets And A Truck                                                       14127 E Alexis Cove                                                 Prospect             KY           40059
 Twobrothers Hauling LLC                                                    6757 SW 21 Street                                                   Miami                FL           33155
 Txip LLC                                                                   112 Alberts Way                                                     Langhorne            PA           19047
 Txu Energy                                                                 PO Box 650638                                                       Dallas               TX           75265-0638
 Tyson, Andres Enrique                                                      Address on File
 Tz Group 20 LLC                                                            398 Avenue West                                                     Brooklyn             NY           11223
 U S Autoforce                                                              7984 Solution Center                                                Chicago              IL           60677-7009
 U&W Transport                                                              1641 Daylily Dr                                                     Trinity              FL           34655
 U.S. Autoforce                          A Division Of U.S. Venture, Inc.   425 Better Way                                                      Appleton             WI           54915
 Uat Line Corp                                                              4690 SW 118th Ave                                                   Miami                FL           33175
 Uber Eats
 Ubratech Logistics LLC                                                     136 Forum Dr Ste 4                                                  Columbia             SC           29229
 Ubreakifix
 Ubsga LLC                                                                  8444 W Wilson Ave #102                                              Chicago              IL           60656
 Ucf Student Union                       Attn: Kelly Gill                   4000 Central Florida Blvd                                           Orlando              FL           32816
 Uddin, Muhammad Moin                                                       Address on File
 Ugenti, Frank W.                                                           Address on File
 Ukos Autotrans Usa LLC                                                     125 Backwest Creek Rd                                               Newark Valley        NY           13811
 Ukr Elite                                                                  890 Broadstone Way                                                  Altamonte Springs    FL           32714
 Ulett, Roan Kimani                                                         Address on File
 Uline                                   Attn: Accounts Receivable          PO Box 88741                                                        Chicago              IL           60680-1741
 Ullman, Eric Freddrick                                                     Address on File
 Ultimate Auto Collision                                                    7121 Gardner St                                                     Winter Park          FL           32792-8228
 Ultimate Car Carriers LLC - Fl Only                                        13750 Sunshowers Circle                                             Orlando              FL           32828
 Ultimate Services.Org                                                      2 Cherokee Ct                                                       St. Petersburg       FL           33709
 Ultimate Staffing Services                                                 450 North State College Blvd                                        Orange               CA           92868
 Umbrella Auto Transport Inc                                                10065 Sandmeyer Ln                                                  Philadelphia         PA           19116
 Umbrella Transportation LLC                                                10820 Town Terrace #106                                             Wellington           FL           33414
 Umer, Muhammad Asfan                                                       Address on File
 Ums Services, LLC                                                          929 Hillcrest St                                                    Fort Worth           TX           76107
 Unbounce                                                                   500-401 West Georgia St                                             Vancouver            BC           V6B 5A1      Canada
 Uncal Auto Trans LLC                                                       15650 SW 209 Ave                                                    Miami                FL           33187
 Uncle Daves Auto Repair Inc                                                6809 Summer Ave                                                     Bartlett             TN           38134
 Underwood Auto Carriers Inc                                                3617 Snowflake Lane                                                 Fuquay Varina        NC           27526
 Underwood, Levi Clyde                                                      Address on File
 Underworld Transport Inc                                                   5836 W 18th Avenue                                                  Hialeah              FL           33012
 Unemployment Compensation Fund
 Uni Log Logisitic Inc                                                      28 Concord St Apt#7                                                 Ashland              MA           01721
 Unicorn Transport LLC                                                      2030 Se 18th Court                                                  Homestead            FL           33035
 Unified Technologies                                                       9200 S Dadeland Blvd                                                Miami                FL           33156
 Unifirst Corporation                                                       68 Jonspin Road                                                     Wilmington           MA           01887
 Union Auto Transporter Inc                                                 895 Mt Pleasant Street                                              New Bedford          MA           02745
 Union Enterprises LLC                                                      5381 W Hillsboro Blvd                                               Coconut Creek        FL           33073
 Unique Auto, LLC                                                           1325 Indiana Street                                                 Orlando              FL           32805
 Unique Carriers Inc                                                        1717 E Busch Blvd # 305                                             Tampa                FL           33612
 Unique Collision Inc                                                       920 W 84 Street                                                     Hialeah              FL           33014
 Unique Monique                                                             600 W Las Olas Blvd                                                 Ft Lauderdale        FL           33312
 Unique Monique LLC                                                         15 Blenheim Court                                                   Palm Beach Gardens   FL           33418
 Unique Towing                                                              2531 Riceshire Rd                                                   Ridgeland            SC           29936
 Unique Transport LLC                                                       30 Brooke Trail                                                     Trussville           AL           35173
 United American Logistics Inc-Fl Only                                      2502 SW Buena Vista Dr                                              Palm City            FL           34990
 United Auto Carrier LLC                                                    1360 NE Coho Ct                                                     Wood Village         OR           97060
 United Auto Carrier LLC                                                    PO Box 331112                                                       Atlantic Beach       FL           32233
 United Automobile Insurance Company
 United Eagle Inc.                                                          PO Box 253                                                          Scranton             PA           18501
 United Express Logistics LLC                                               3956 W Town Center Blvd                                             Orlando              FL           32837
 United Fire Protection Inc                                                 3247 Tech Drive N                                                   St Petersburg        FL           33716
 United Heritage Credit Union                                               12208 N Mopac Expressway                                            Austin               TX           78758
 United Ipa Group Inc                                                       1003 Easton Rd - Apt 301                                            Willow Grove         PA           19090
 United Parcel Service Inc                                                  PO Box 650116                                                       Dallas               TX           75265-0116
 United Police Federal Credit Union                                         400 NW 2nd Ave Suite 309                                            Miami                FL           33128



Off Lease Only LLC, et al.                                                                                                                                                                      Page 143 of 155
                                                           Case 23-11389-CTG                       Doc 1-1            Filed 09/07/23    Page 144 of 155
                                                                                                            Creditor Matrix
                                                                                                           as of September 6, 2023
                    Creditor Name                         Attention                         Address 1                       Address 2    Address 3             City          State       Zip        Country
 United Rentals, Inc.                                                           PO Box 100711                                                        Atlanta            GA           30384-0711
 United Road Logistics LLC                                                      10701 Middlebelt                                                     Roulus             MI           48174
 United Site Services Of Florida, Inc.                                          50 Washington Street                                                 Westborough        MA           01581
 United States Fire Insurance Co                                                PO Box 29897                                                         New York           NY           10087-9897
 United States Liability Insurance Comp                                         PO Box 62778                                                         Baltimore          MD           21264-2778
 United States Postal Service
 United Transport Van Lines Inc.                                                 6505 Emerald Dunes Drive                                            West Palm Beach    FL           33411
 United Transportation                                                           3520 Sunrise Pines Drive                                            Sacramento         CA           95827
 United Way Of Broward County                                                    1300 S Andrews Ave                                                  Ft Lauderdale      FL           33316
 Unity 1 Transport Inc                                                           640 NW 196 St                                                       Miami              FL
 Universal Auto Carrier Inc                                                      8731 NW 166 Ter                                                     Miami Lakes        FL           33018
 Universal Auto Corp                                                             23492 Us Hwy 19 N                                                   Clearwater         FL           33765
 Universal Auto Interior And Upholstery Inc                                      2001 Wellfleet Ct Unit 7                                            Orlando            FL           32837-9443
 Universal Carrier Inc                                                           2106 Cropsey Ave Apt 3A                                             Brooklyn           NY           11214
 Universal Court Reporting                                                       888 E Las Olas Blvd                                                 Ft Lauderdale      FL           33301
 Universal Hyundai                                                               12801 S Orange Blossom Trail                                        Orlando            FL           32837
 Universal Logistics Inc                                                         31 Fairview Ave                                                     West Springfield   MA           01089
 Universal Nissan/Hyundai                                                        12785 S Orange Blossom Trail                                        Orlando            FL           32837
 Universal Tire International                                                    6701 NW 7th St Ste 199                                              Miami              FL           33126
 Universal Truck Inc.                                                            7054 NW 77th Ct                                                     Miami              FL           33166
 Universal Underwriters                                                          1472 Payshere Circle                                                Chicago            IL           60674
 University Mitsubishi                                                           5455 South University Drive                                         Davie              FL           33328
 University Of Florida                         Transportation And Parking ServicePO Box 112400                                                       Gainesville        FL           32611-2400
 Unlimited Auto Transport Inc                                                    6829 W Comanche Avenue                                              Tampa              FL           33634
 Unlimited Auto Transport Inc                                                    22735 SW 110 Avenue                                                 Miami              FL           33170
 Unlimited Auto Transport LLC                                                    2738 Kissimmee Bay Circle                                           Kissimmee          FL           34744
 Unlimited Express LLC                                                           3404 N Cascade Ave                                                  Colorado Springs   CO           80907
 Unlimited Express LLC                                                           PO Box 76894                                                        Colorado Springs   CO           80970
 Unlimited Transport Inc                                                         3535 Mccoy Rd                                                       Orlando            FL           32812
 Unlimited Transportation LLC                                                    4561 Simmons Rd                                                     Ransomville        NY           14131
 Unlimited Transporting LLC                                                      1120 Park Ave Suite A                                               Orange Park        FL
 Unlimited Transporting LLC                                                      7830 Invemere Blvd                                                  Jacksonville       FL           32244
 Uno Auto Transport LLC                                                          PO Box 5702                                                         Ft. Lauderdale     FL           33310
 Unum Life Insurance Company Of America                                          1 Fountain Square                                                   Chattanooga        TN           37402-1330
 Up & Running Transport Inc                                                      282 W 44th St                                                       Hialeah            FL           33012
 Upbeat Transport Service Inc                                                    6539 Orchid Lake Road                                               New Port Richey    FL           34653
 Upchurch Watson White & Max Mediation Group                                     1400 Hand Avenue Sutie D                                            Ormond Beach       FL           32174
 Uplift Auto Transport                                                           2873 Se 15th Road                                                   Homestead          FL           33035
 Upscale Management Services LLC                                                 6301 Ivy Lane                                                       Greenbelt          MD           20770
 Upstate Auto Transportation                                                     PO Box 645                                                          Batavia            NY           14021
 Upstate Hotshot And Transport                                                   140 Jenna Grove Lane                                                Duncan             SC           29334
 Uptown Motorsports                                                              PO Box 710838                                                       Herndon            VA           20171
 Upwork
 Upwork Freelancers
 Urban Ice Cream Hollywood
 Urban One                                     Kbxx-Fm                          PO Box 746625                                                        Atlanta            GA           30374-6625
 Urbizo Transportation LLC                                                      21164 SW 112 Ave                                                     Cutler Bay         FL           33189
 Uribe, Veronica                                                                Address on File
 Urquiola Vega, Julio Cesar                                                     Address on File
 Urs Auto Transport Division                                                    32800 Dequindre                                                      Warren             MI           48092
 Uruguay Express Transport LLC                                                  320 NE 59 St                                                         Oakland Park       FL           33334
 Ury Services Inc                                                               10290 SW 225th Lane                                                  Cutler Bay         FL           33190
 Us 1 Transport Inc.                                                            1510 Rush Ave                                                        Lehigh Acres       FL           33972
 Us Auto Hauler Corp                                                            3902 Anthony Ln                                                      Orlando            FL           32822
 Us Auto Transport Inc.                                                         1351 Atlanta Hwy                                                     Cumming            GA           30040
 Us Autotrans, LLC                                                              1000 Centre Green Way                                                Cary               NC           27513
 Us Bank                                                                        6400 Main St                                                         Williamsville      NY           14221
 Us Cargo Line Ltd                                                              6037 N Cicero Ave Unit B                                             Chicago            IL           60646
 Us Carrier LLC                                                                 1627 SW 29th St                                                      Ft Lauderdale      FL           33315
 Us Central Express Inc                                                         4740 N Cumberland Ave                                                Chicago            IL           60656
 Us Dispatch LLC                                                                3833 NW 125 St                                                       Opa Locka          FL           33054
 Us Enterprise Tranport Corp                                                    2423 SW 147th Ave #395                                               Miami              FL           33185



Off Lease Only LLC, et al.                                                                                                                                                                        Page 144 of 155
                                                 Case 23-11389-CTG             Doc 1-1         Filed 09/07/23    Page 145 of 155
                                                                                      Creditor Matrix
                                                                                    as of September 6, 2023
                     Creditor Name              Attention                 Address 1                  Address 2    Address 3              City           State       Zip         Country
 Us Flag And Flagpole Supply         Kean Enterprises LLC   3913 Cross Bend Rd                                                Plano                TX           75023
 Us Legal Support, Inc                                      PO Box 4772-12                                                    Houston              TX           77210-4772
 Us Road Inc.                                               2522 State Road                                                   Bensalem             PA           19020
 Us Storefronts                                             611 W Vine Street Suite M                                         Kissimmee            FL           34741
 Us Trail Trucking Corp                                     10305 SW 40th Terrace                                             Miami                FL           33165
 Us Truck Load LLC                                          13149 NW 10th Lane                                                Miami                FL           33182
 Us Xpress Transport Inc                                    4900 SW 107 Ave                                                   Miami                FL           33165
 Us1 Transport Inc                                          12401 W Okeechobee Road                                           Hialeah              FL           33018
 Usa Auto Carriers                                          150 E 38th Street                                                 Hialeah              FL           33013
 Usa Auto Collision & Glass                                 9803 S Orange Blossom Tr                                          Orlando              FL           32837
 Usa Auto Collision & Glass                                 9542 Sidney Hayes Rd                                              Orlando              FL           32834
 Usa Auto Glass                                             1982 NE 8 Street                                                  Homestead            FL           33033
 Usa Auto Logistics Inc                                     12630 Chelmsford Court                                            Orlando              FL           32837
 Usa Auto Mover Inc                                         PO Box 16343                                                      Jacksonville         FL           32245
 Usa Auto Transport                                         25194 N 73rd Lane                                                 Peoria               AZ           85383
 Usa Auto Transport                                         7551 Auburn Road                                                  Utica                MI           48317
 Usa Loading LLC                                            2328 Midtown Terrace                                              Orlando              FL           32839
 Usa Logistics Auto Corp                                    12630 Chelmsford Ct                                               Orlando              FL           32837
 Usa Quality Transport LLC                                  5055 Fallen Timber Way                                            Indian Head          MD           20640
 Usa Today                                                  PO Box 677460                                                     Dallas               TX           75267-7460
 Usa Towing Inc                                             4780 SW 2nd St                                                    Coral Gables         FL           33134
 Usa Transfer LLC                                           2945 SW 105th Avenue                                              Miami                FL           33165
 Usa Transport Enterprise Inc                               7355 Grove Ave                                                    Winter Park          FL           32792
 Usaa Federal Savings Bank                                  10750 Mc Dermott Freeway                                          San Antonio          TX           78288-9876
 Usave Auto Transport Corp                                  1022 NW 32nd Place                                                Miami                FL           33125
 Uscars Transport                                           400 S Burnside Ave Apt 4E                                         Los Angeles          CA           90036
 User Testing Inc                                           PO Box 92086                                                      Las Vegas            NV           89193-2086
 Uship Inc                                                  617 Main Street                                                   Hebron               ND           58638
 Usta LLC                                                   6499 Stoney Creek Dr                                              Huber Heights        OH           45424
 Ut Auto Transport                                          1802 E 9880 S Sandy                                               Sandy                UT           84092
 Uz Auto Trans Inc                                          6960 Smith Road                                                   Denver               CO           80207
 V & A Auto Group LLC                                       311 Oder Ave                                                      Staten Island        NY           10304
 V & K Transport                                            3453 Nouveau Way                                                  Rancho Cordova       CA           95670
 V Ulloa Transport Inc                                      14115 NW 88 Place                                                 Miami Lakes          FL           33018
 V&A Auto Group LLC                                         311 Oder Ave                                                      Staten Island        NY           10304
 V&F Car Transport Inc                                      8180 Millinockett Lane                                            Orlando              FL           32825
 V&S Window LLC                                             1714 N Goldern Rod Rd                                             Orlando              FL           32807
 V&W Lorenz Trucking Inc                                    3302 SW 1st Avenue                                                Cape Coral           FL           33914
 Vaca, Myron Daniel                                         Address on File
 Vadi, Hector                                               Address on File
 Val Auto LLC                                               7 Walnut Ln                                                       Parlin               NJ           08859
 Valadez, Braulio Ivan                                      Address on File
 Valdes Machado, Julio Felipe                               Address on File
 Vale, Marcus                                               Address on File
 Valentine, Aixen Massimiliano                              Address on File
 Valentine, Sandra                                          Address on File
 Valerino, Ingre Jane                                       Address on File
 Valette, Fabely                                            Address on File
 Valle, Kaylee Marie                                        Address on File
 Vallecilla, Jeffrey                                        Address on File
 Vallejo, Wecker Jesus                                      Address on File
 Valletrans Corp                                            17670 SW 107th Avenue                                             Miami                FL           33157
 Valley Transport Company                                   2335 Maxwell Road                                                 Bolivar              TN           38008
 Valley, Cameron Douglass                                   Address on File
 Valliere, Aaron                                            Address on File
 Val-Pro Transport                                          1105 Hyde Park                                                    Winter Garden        FL           34787
 Valsoft                                                    1111 Dr Frederik-Philips                                          Quebec               QC           H4M 2X6      Canada
 Van Linda, Todd                                            Address on File
 Vanasse Hangen Brustlin, Inc                               101 Walnut Street                                                 Watertown            MA           02471
 Vanasse Hangen Brustlin, Inc.                              225 E Robinson St Suite 300                                       Orlando              FL           32801
 Vance Trucking LLC                                         523 Sunrise Drive                                                 Cranberry Township   PA           16066
 Vandenbush Enterprises LLC                                 930 William Blount Dri                                            Maryville            TN           37801



Off Lease Only LLC, et al.                                                                                                                                                    Page 145 of 155
                                                  Case 23-11389-CTG             Doc 1-1         Filed 09/07/23     Page 146 of 155
                                                                                       Creditor Matrix
                                                                                     as of September 6, 2023
                    Creditor Name                Attention                 Address 1                   Address 2    Address 3                 City        State       Zip        Country
 Vanguard Trucking LLC                                       6217 N 16th Drive                                                  Phoenix              AZ           85015
 Vantrees, Blake Lee                                         Address on File
 Var Technology Finance                                      PO Box 5066                                                        Hartford             CT           06102-5066
 Varcarcel, Pedro Andres                                     Address on File
 Varela, Cesar                                               Address on File
 Vargas, Alvaro A                                            Address on File
 Varnum, Brooke Elizabeth                                    Address on File
 Varona Transport Corp                                       6126 18th St S                                                     West Palm Beach      FL           33415
 Vas Express LLC                                             3288 West 84th Street                                              Cleveland            OH           44102
 Vasquez, Bianca Karina                                      Address on File
 Vasquez, Carlos Alberto                                     Address on File
 Vasquez-Delgado, Jose Abelardo                              Address on File
 Vastola, Sophia                                             Address on File
 Vastola, Sophia                                             Address on File
 Vaughan, Omoniyi Olatunde                                   Address on File
 Vauto                                                       PO Box 935202                                                      Atlanta              GA           31193-5202
 Vazquez Camacho, Raul Eduardo                               Address on File
 Vazquez Fontanez, Edwin                                     Address on File
 Vazquez Transportation LLC                                  2525 Jasmine Pkwy                                                  Alpharette           GA           30022
 Vazquez, Bryant                                             Address on File
 Vazquez, Julian Tyler                                       Address on File
 Vazquez-Plasencia, Paulino                                  Address on File
 Vcsg Co LLC                                                 1603 NW 119th Terrance                                             Gainesville          FL           32606
 Veerapen, Mark                                              Address on File
 Vega Auto Transport                                         44089 Us Hwy 27 Apt 302                                            Davenport            FL           33897
 Vega, Byron Christopher                                     Address on File
 Vega, David                                                 Address on File
 Vega, Jasmin M                                              Address on File
 Vega, John Anthony                                          Address on File
 Vega, Shamyleika                                            Address on File
 Vehsmart                                                    12180 Ridgecrest                                                   Victorville          CA           92395
 Veillard, Larshmie R.                                       Address on File
 Vel Express                                                 4245 Victoria Way                                                  Lexington            KY           40515
 Velasquez, Suleica Evelin                                   Address on File
 Velazquez Ramirez, Marcos D                                 Address on File
 Velazquez Transportation Services                           5811 Willow Leaf Ct                                                Orlando              FL           32807
 Velez Adrian , Geovanna Justine                             Address on File
 Velez Cortes, Manuel D                                      Address on File
 Velez Vargas, Jesus M                                       Address on File
 Velocity Car Carriers Corp                                  14068 NW 88th Place                                                Miami Lakes          FL           33018
 Velocity Community Credit Union       Barbaree,Glenda       2801 Pga Blvd Ste 120                                              Palm Beach Gardens   FL           33410
 Velocity Tint & Auto Glass                                  12415 Streambed Drive                                              Riverview            FL           33579
 Velocity Transport Services                                 10770 SW 38th St                                                   Miami                FL           33165
 Veloz Motor Car Trans LLC                                   10130 SW 217th St                                                  Miami                FL           33190
 Venero Auto Transport Inc                                   5810 North Thatcher Ave                                            Tampa                FL           33614
 Ventimiglia, Michael J                                      Address on File
 Ventura, Nicole Veras                                       Address on File
 Venture Auto Sales                                          1204 Industrial Blvd                                               Port St.Lucie        FL           34952
 Venus Logistics Corp                                        11165 NW 3 St                                                      Miami                FL           33172
 V-E-O-R Towing                                              167 SW Grimaldo Terr                                               Port St Lucie        FL           34984
 Vep Auto Transport Inc                                      1835 E Hallandale Beach Blvd       #649                            Hallandale Beach     FL           33009
 Vera Cadillac Buick Gmc                                     300 S University Dr                                                Pembroke Pines       FL           33025
 Vera, Dario Cristobal                                       Address on File
 Vera, Leonardo                                              Address on File
 Veralogic Group LLC                                         13904 NW 16th Drive                                                Pembroke Pines       FL           33028
 Verby Transportation LLC                                    43 Center Street                                                   Agawarm              MA           01001
 Vercellone, Nicholas Elton                                  Address on File
 Veritas Title Partners, L.P. Escrow                         7200 Westheimer Rd                                                 Houston              TX           77027
 Veritext                              Orange Legal          PO Box 71303                                                       Chicago              IL           60694-1303
 Verizon Wireless                                            PO Box 660108                                                      Dallas               TX           75266
 Vern The Burn LLC                                           2901 SW Moody Terrace                                              Port St. Lucie       FL           34953
 Veromotion



Off Lease Only LLC, et al.                                                                                                                                                     Page 146 of 155
                                                      Case 23-11389-CTG                Doc 1-1         Filed 09/07/23       Page 147 of 155
                                                                                              Creditor Matrix
                                                                                            as of September 6, 2023
                     Creditor Name                   Attention                    Address 1                     Address 2    Address 3             City           State       Zip        Country
 Veros Credit LLC                                                   2333 N Broadway Suite 400                                            Santa Ana           CA           92706
 Veteran Solutions Corporation                                      1300 W 10th St                                                       Riviera Beach       FL           33404
 Vg Auto Movers Inc.                                                16 W 455 S Frontage Road                                             Burr Ridge          IL           60527
 Vga Auto Transport LLC                                             2201 SW 89 Ave                                                       Miami               FL           33165
 Vh Transport Corp                                                  1956 SW Jamesport Dr                                                 Port St Lucie       FL           34953
 Viana Enterprises LLC                                              30 Ardmaer Dr                                                        Bridgewater         NJ           08807
 Vice Express LLC                                                   19731 NW 12th Avenue                                                 Miami               FL           33169
 Vice One Logistics LLC                                             751 NW 199th Street                                                  Miami               FL           33179
 Victor Logistics Inc                                               325 18th Ave                                                         Vero Beach          FL           32962
 Victoria, Gianariel                                                Address on File
 Viera Fontanez, Luis J                                             Address on File
 Vikings Den LLC                          Balmiro Lopez             16010 NW 28th Ct                                                     Miami Gardens       FL           33054
 Vil, Stephanie                                                     Address on File
 Villa Auto Transport Inc.                                          12 Anderson Road                                                     Marlborough         MA           01752
 Villaescusa, Vladimir                                              Address on File
 Village Of Palm Springs                                            226 Cypress Lane                                                     Palm Springs        FL           33461-1604
 Village Of Palm Springs                                            PO Box 3252                                                          Boston              MA           02241-3252
 Villanueva, Natalie                                                Address on File
 Villanueva, Eduardo                                                Address on File
 Villasmil, Andres E                                                Address on File
 Vilos Express Inc                                                  836 S Arlington Heigh Rd 312                                         Elk Grove Village   IL           60018
 Vimeo.Com
 Vinis Victor Transportation LLC                                    85 Swam St #3                                                        Everett             MA           02149
 Vintage Express Towing & Transport LLC                             350 Lincoln Road                                                     Miami Beach         FL           33139
 Vip Auto Transport Inc                                             PO Box 1288                                                          Framingham          MA           01701
 Vip Hauling Transport Inc.                                         219 W Indies Road                                                    Tavernier           FL           33070
 Vip Logistics Transportation LLC                                   2180 Central Florida Pkwy          Ste A4                            Orlando             FL           32837
 Vip Transport Inc                                                  4475 Motorsports Drive Ste 130                                       Concord             NC           28027
 Vip Trucking Services Inc                Vip Towing Services Inc   15515 Perdido Dr                                                     Orlando             FL           32828
 Viper Logistical Services LLC                                      106 Sunshine Rd                                                      Hortense            GA           31543
 Virtual Journey
 Virtue Auto Carriers LLC                                           PO Box 195                                                           Ocoee               FL           34761
 Vista Bmw Coconut Creek                  Pompano Imports, Inc.     4401 W Sample Rd                                                     Coconut Creek       FL           33073
 Vista Express Inc                                                  2286 Kadlic St                                                       North Port          FL           34288
 Vit&Diesel                                                         733 Glenco Drive                                                     Davenport           FL           33897
 Vita Transport LLC                                                 14831 Lincoln Drive                                                  Homestead           FL           33033
 Vital Sign Solutions Inc                                           5140 Franz Rd Ste 400                                                Katy                TX           77493
 Vitelity                                                                                                                                Plymouth            MN
 Vitolo Auto Transport & Towing                                     3809 Springlake Village Ct                                           Kissimmee           FL           34744
 Vitos Transport Inc.                                               5441 N East River Rd 1406                                            Chicago             IL           60656
 Viva Liz, Inc                                                      4133 NW 135th Street                                                 Opa Locka           FL           33054
 Vizcarra, Czar Villamor                                            Address on File
 Vj Auto Sales LLC                                                  2234 Coralthorn Road                                                 Baltimore           MD           21220
 Vj Torres Auto Transport LLC                                       15241 SW 80th Street Apt#209                                         Miami               FL           33193
 Vj's Logistics Inc                                                 8660 W Flagler Street #101-A                                         Miami               FL           33144
 Vk Direct Inc                                                      441 Tralee St                                                        Largo               FL           33770
 Vl Auto Transport Inc                                              20335 W Country Club Dr            Suite 602                         Aventura            FL           33180
 Vlk Architects                                                     Attn Accounting Department                                           Fort Worth          TX           76104
 Vmf Auto Transport & Towing                                        200 Ave K Se Unit 345                                                Winter Haven        FL           33881
 Vms Lux Trans LLC                                                  255 Old New Brunswick Rd                                             Piscataway          NJ           08854
 Vn Trucking Inc 2                                                  9926 Haldeman Ave                                                    Philadelphia        PA           19115
 Vns Auto Transport Inc.                                            PO Box 7210                                                          Spokane             WA           99207
 Vogel, Maegans                                                     Address on File
 Voglane Logistics LLC                                              70 Birch Alley - Ste 240                                             Beavercreek         OH           45440
 Volga Trans LLC                                                    6753 S Winnipeg Cir Unit 102                                         Aurora              CO           80016
 Volk Express Inc.                                                  8701 Gustine Lane                                                    Houston             TX           77031
 Voloshin, Bart Jay                                                 Address on File
 Volpe, James S                                                     Address on File
 Volusia County Sheriff's Office
 Volvo Cars West Houston                                            15935 Katy Fwy                                                       Houston             TX           77094
 Volvo Of North Miami                                               20800 NW 2nd Ave                                                     Miami Gardens       FL           33169
 Volvo Of The Palm Beaches                                          3031 Okeechobee Blvd                                                 West Palm Beach     FL           33409



Off Lease Only LLC, et al.                                                                                                                                                             Page 147 of 155
                                                        Case 23-11389-CTG                     Doc 1-1         Filed 09/07/23     Page 148 of 155
                                                                                                      Creditor Matrix
                                                                                                   as of September 6, 2023
                    Creditor Name                      Attention                         Address 1                   Address 2    Address 3               City         State       Zip        Country
 Vorachek, Tysen Rex                                                       Address on File
 Vorobjov, Anishca                                                         Address on File
 Vot Corporation                                                           830 Waterview Circle Unit 1                                        Vernon Hills        IL           60061
 Vp Transport Services Corp.                                               679 Washington Street                                              South Attleboro     MA           02703
 Vpv Transportation Inc                                                    5505 Cambridge Way                                                 Honover Park        IL           60133-3656
 Vr Trailer Service And Rental Inc.                                        4050 NW 135th Street Apt 10-1                                      Opa-Locka           FL           33054
 Vrcg                                                                      1912 Bellaire Ave                                                  Royal Oak           MI           48067
 Vrona, John S                                                             Address on File
 Vroom Automotive, LLC                                                     3600 W Sam Houston Pkwy S          4th Floor                       Houston             TX           77042
 Vs Freeway Logistics LLC                                                  801 W 181 Str                                                      New York            NY           10033
 V's Transport Service LLC                                                 13426 Meadow Pointe Ct                                             Orlando             FL           32824
 Vsk Transport                                                             2141 Main St                                                       Springfield         MA           01104
 Vt Hauler LLC                                                             3611 Sam Rayburn Trl                                               Dallas              TX           75287
 Vt Transport LLC                                                          PO Box 300                                                         Carrollton          VA           23314
 Vv Transportation LLC                                                     1652 Stafford Ave                                                  Louisville          KY           40216
 Vvv Tornado Transportation Inc                                            537 Lunt Ave                                                       Schaumburg          IL           60193
 Vw Credit
 Vw Of North Tampa                           Tampa Vw Automotive Managemen11337 North Florida Ave                                             Tampa               FL           33612
 Vystar Credit Union                                                      76 S Laura St                                                       Jacksonville        FL           32202
 W Auto Transport Inc                                                     6500 SW 20 St                                                       Miramar             FL           33023
 W Express Trans Inc                                                      16425 Collins Ave                                                   Sunny Isles Beach   FL           33160
 W R Transport Inc/Westfall Auto Sales Inc                                7655 New Tampa Hwy                                                  Lakeland            FL           33815
 W. Krup Trucking LLC                                                     3460 Tracy Ct                                                       Mims                FL           32754
 W.F. Greenberg & Co., LLC                                                7040 Seminole Pratt Road                                            Loxahatchee         FL           33470
 W.O.S LLC                                                                PO Box 11531                                                        West Palm Beach     FL           33412
 Wa Auto Transport Inc.                                                   7907 Coco Verde Street                                              Tampa               FL           33615
 Wa Logistics LLC                                                         17720 Spinnakers Reach Dr                                           Cornelius           NC           28031
 Waddington, Watts Lincoln                                                Address on File
 Wade, Travis                                                             Address on File
 Wageworks, Inc.                                                          PO Box 8363                                                         Pasadena            CA           91109-8363
 Waggener, David Richard                                                  Address on File
 Wagner's Hauling LLC                                                     25 Walnut Grove                                                     Mill Hall           PA           17751
 Wahba, Alaa Moustafa Mohamed                                             Address on File
 Wait, Jonathan Troy James                                                Address on File
 Waites Transportation Inc.                                               1278 Mackintosh Park                                                Atlanta             GA           30318
 Walden, Janaya Alexus                                                    Address on File
 Walkcorp LLC                                                             290 NW 109th Ave                                                    Miami               FL           33172
 Walker Information Inc                                                   8940 River Crossing Blvd            Ste 100                         Indianapolis        IN           46240
 Walker, Courtney Elizabeth                                               Address on File
 Walker, Lincoln Antonio                                                  Address on File
 Walker, Stormy Lynn                                                      Address on File
 Wallace Cadillac                                                         3555 Se Federal Highway                                             Stuart              FL           34997
 Wallace Cadillac LLC                                                     3555 Se Federal Highway                                             Stuart              FL           34997
 Wallace Cadillac Pontiac LLC                                             3801 Se Federal Hwy                                                 Fort Pierce         FL           34997
 Wallace Chevrolet                                                        3575 Se Federal Highway                                             Stuart              FL           34997
 Wallace Chrysler Jeep Dodge Ram                                          2755 Se Federal Highway                                             Stuart              FL           34994
 Wallace Hyundai Genesis                                                  3801 Se Federal Highway                                             Stuart              FL           34997
 Wallace Kia                                                              3131 Se Federal Highway                                             Stuart              FL           34994
 Wallace Lincoln                                                          3801 Se Federal Highway                                             Stuart              FL           34997
 Wallace Mazda                                                            3725 Se Federal Highway                                             Stuart              FL           34997
 Wallace Motorsports LLC                                                  75 Grey Fox Run                                                     Timberlake          NC           27583
 Wallace Nissan                                                           4313 Se Federal Highway                                             Stuart              FL           34997
 Wallace Volkswagen                                                       2805 Se Federal Highway                                             Stuart              FL           34994
 Wallace Volvo                                                            2801 Se Federal Highway                                             Stuart              FL           34997
 Wallace Welch & Willingham Inc                                           PO Box 33020                                                        St Petersburg       FL           33733-8020
 Wallace Welch & Willingham, Inc                                          300 1st Ave South                                                   St Petersburg       FL           33701
 Wallace, Damain                                                          Address on File
 Waller County                                                            836 Austin St Ste 221                                               Hempstead           TX           77445
 Waller Transport                                                         18534 Filmore St                                                    Livonia             MI           48152
 Walmart
 Walmer, Jonathan                                                          Address on File
 Walt Enterprises Inc                                                      1300 Auburn Cove Cir                                               Venice              FL           34292



Off Lease Only LLC, et al.                                                                                                                                                                  Page 148 of 155
                                                      Case 23-11389-CTG              Doc 1-1         Filed 09/07/23    Page 149 of 155
                                                                                             Creditor Matrix
                                                                                          as of September 6, 2023
                   Creditor Name                      Attention                 Address 1                  Address 2    Address 3             City             State       Zip           Country
 Walter Haas Graphics                                             123 West 23rd Street                                              Hialeah               FL           33010
 Walter P. Moore And Associates, Inc.                             PO Box 843127                                                     Dallas                TX           75284-3127
 Walters, Roxanne                                                 Address on File
 Walters, Travonte J                                              Address on File
 Warhorse Carriers LLC                                            3020 NE 41st Ter Unit 322                                         Homestead             FL           33033
 Warranty Solutions                                               7125 W Jefferson Ave Ste 200                                      Lakewood              CO                   80235
 Warren Henry Automobiles Inc                                     2300 NE 151st Street                                              North Miami           FL           33181
 Warren Henry Infiniti                                            20850 NW 2nd Ave Hwy 441                                          Miami                 FL           33169
 Warren Henry Jaguar                                              20800 NW 2nd Ave                                                  Miami                 FL           33169
 Warren Jr, Barnell                                               Address on File
 Warren, Harry Arnie                                              Address on File
 Wars & Sawa Corp                                                 65 Bowfell Ct                                                     Wayne                 NJ           07470
 Washer, Patrick W.                                               Address on File
 Washington, Clarence                                             Address on File
 Waste Management Inc Of Florida                                  PO Box 4648                                                       Carol Stream          IL           60197-4648
 Waste Pro 119-Pompano                                            PO Box 865228                                                     Orlando               FL           32886-5228
 Waste Pro Bradenton/Sarasota                                     PO Box 947286                                                     Atlanta               GA           30394-7286
 Waste Pro-Orlando                                                3705 Saint Johns Pkwy                                             Sanford               FL           32771-6369
 Watkins, Carolyn                                                 Address on File
 Watson, Marcus                                                   Address on File
 Wave Transport                                                   614 E Street Rd                                                   Warminster            PA           18974
 Way Auto Transport Inc                                           731 SW 122 Avenue                                                 Pembroke Pines        FL           33025
 Way Usa Towing LLC                                               8642 Brokvale Drive                                               Windermere            FL           34786
 Wayfair
 Way-Fm
 Waynes Auto Transport                                            2631 Lobb Cemetery Rd                                             Blue Springs          MO           64015
 Wayside Trucking LLC                                             28 Oakwood Drive                                                  Howell                NJ           07731
 Waze
 Wcs Express LLC                                                  35742 N 32nd Lane                                                 Phoenix               AZ           85086
 We Buy Scrap                                                     1141 Old Okeechobee Road                                          West Palm Beach       FL           33401
 We Haul Carz LLC                                                 15751 Westbrook                                                   Detroit               MI           48223
 We Roberson Trucking LLC                                         339 Ridge Run Trail                                               Irmo                  SC           29063
 We Take It Home LLC                                              4122 Residence Drive                                              Fort Myers            FL           33901
 Weaver Auto Transport Inc                                        3804 Fayetteville Rd                                              Raleigh               NC           27603
 Weaver Trucking Inc                                              3101 W 10th St                                                    Lakeland              FL           33810
 Website Man Production                                                                                                             Boca Raton            FL
 Weest Point Lincoln Mercury Buick                                11666 Katy Fwy                                                    Houston               TX           77043
 Weigand Kaduru, Julie Anne                                       Address on File
 Weightless Inc                                                   117 Sandalwood Dr                                                 Kissimmee             FL           34743
 Weinrub, Evan Michael                                            Address on File
 Weir, Anna Belle S.                                              Address on File
 Weir-Doe Productions Inc                                         1109 Old Okeechobee Rd #17                                        West Palm Beach       FL           33401
 Welches Carrillo, Walter Vladimir                                Address on File
 Welding Anything Anywhere                                        6231 Pga Blvd                                                     Palm Beach Garderns   FL           33418
 Weldon Tire/Gator Tire                                           333 Thorpe Rd                                                     Orlando               FL           32822
 Well Towing, LLC                                                 8846 NW 116th Terrace                                             Hialeah Gardens       FL           33018
 Wellington Star Hands Auto Body Shop LLC                         3132 Fortune Way Suite D23                                        Wellington            FL           33414
 Wells Fargo                                                      2501 S Price Road - 1st Floor                                     Chandler              AZ           85286
 Wells Fargo                                                      Payment Remittance Center                                         Carol Stream          IL           60197-6426
 Wells Fargo Auto                           Rebates               PO Box 29718                                                      Phoenix               AZ           85038-9718
 Wells Fargo Financial Leasing                                    PO Box 105743                                                     Atlanta               GA           30348-5743
 Wendy Smith                                                      Address on File
 Wenzara, Frederic                                                Address on File
 Weow Radio Orlando
 Werner, Michelle                                                 Address on File
 Wertman, Gary M                                                  Address on File
 Weschler, John Stephen                                           Address on File
 Wesley Trucking Corp                                             109-22 209th Street                                               Queens Village        NY           11429
 West Boynton Cobras                                              6806 Finamore Circle                                              Lake Worth            FL           33467
 West Boynton Lady Bandits                                        1047 SW 27 Ave                                                    Boynton Beach         FL
 West Coast Auto Transport Corp                                   10760 Virginia Ave                                                Whittier              CA           90603
 West Georgia Transportation                                      578 Frashier Road                                                 Carrollton            GA           30116



Off Lease Only LLC, et al.                                                                                                                                                             Page 149 of 155
                                                  Case 23-11389-CTG                   Doc 1-1           Filed 09/07/23    Page 150 of 155
                                                                                              Creditor Matrix
                                                                                             as of September 6, 2023
                    Creditor Name                Attention                       Address 1                    Address 2    Address 3             City         State       Zip        Country
 West Houston Genesis                                             5802 N Navarro St                                                    Victoria          TX           77904
 West Houston Hyundai                                             5802 N Navarro St                                                    Victoria          TX           77904
 West Houston Infiniti                                            12200 Katy Fwy                                                       Houston           TX           77079
 West Houston Mitsubishi                                          5802 N Navarro St                                                    Victoria          TX           77904
 West Houston Muscle                                              7207 Crystal Way                                                     Houston           TX           77036
 West Lake Financial Service                                      PO Box 997592                                                        Sacramento        CA           95899
 West Palm Beach Kia                                              735 S Military Trail                                                 West Palm Beach   FL           33415
 West Palm Beach Nissan                                           3870 W Blue Heron Blvd                                               Riviera Beach     FL           33404
 West Point Buick Gmc Lincoln Parts                               11666 Katy Fwy                                                       Houston           TX           77043
 West Transport                                                   1812 SW 131st Pl                                                     Miami             FL           33175
 West Way Towing Inc.
 West-East Transportation Company                                 10132 Fernglen Ave#B                                                 Tujunga           CA           91042
 Western Distributors                                             9887 NW 48 Court                                                     Coral Springs     FL           33076
 Western First Aid And Safety LLC     Auca Lockbox                PO Box 734514                                                        Dallas            TX           75373-4514
 Western North Carolina Express LLC                               310 Shady Places Ln                                                  Leicester         NC           28748
 Westlake Financial Services          Insurance Department        PO Box 847476                                                        Los Angeles       CA           90084
 Westlake Financial Services                                      PO Box 997592                                                        Sacramento        CA           95899
 Weston Nissan Volvo                                              3650 Weston Rd                                                       Davie             FL           33331
 Westside Kia Isuzu                                               23005 Katy Fwy                                                       Katy              TX           77450
 Westside Lexus                                                   12000 Katy Frwy                                                      Houston           TX           77079
 Westside Stitches                                                1308 Hwy 6 South                                                     Houston           TX           77077
 Westside Stitches Inc                                            1308 Hwy 6 South                                                     Houston           TX           77077
 Weststar Auto Carrier LLC                                        1 Glen Parkway Unit 1612                                             Miami             FL           33125
 Westway Towing                                                   PO Box 634                                                           Katy              TX           77492-0634
 Wever, Jaime                                                     Address on File
 Wex Bank                                                         PO Box 6293                                                          Carol Stream      IL           60197-6293
 Weyland, Jeremy                                                  Address on File
 Wfss LLC                                                         41 Chelsea Manor Lane                                                Stafford          VA           22554
 Whatts, Louis Angel                                              Address on File
 Whedbee, Joseph T                                                Address on File
 Wheel Fix It Broward Inc.                                        3090A West Broward Blvd                                              Ft Lauderdale     FL           33312
 Wheel Spa Of Miami                                               1172 S Dixie Highway #169                                            Coral Gables      FL           33146
 Wheel Technologies, Inc                                          8004 NW 154th St                                                     Miami Lakes       FL           33016
 Wheel World                                                      4690 NW 167th St                                                     Miami             FL           33054
 Wheeler Dealer Motors Inc.                                       587 Caledonia Road                                                   Dix Hills         NY           11746
 Wheeler's Transport LLC                                          1159 Fowler Brook Court                                              Fort Mill         SC           29707
 Wheels Across The Pond                                           15168 133rd Ter N                                                    Jupiter           FL           33478
 Wheels America                                                   7900 W 25th Ct                                                       Hialeah           FL           33054
 Wheels On Steel, LLC                                             13215 87th St N                                                      West Palm Beach   FL           33412-2356
 Wheels On Wheels Carriers Inc                                    488 Lotus Ave S                                                      Lehigh Acres      FL           33974
 Whisper Walk Inc                     C/O Seacrest Services Inc   2101 Centerpark W Drive               Suite 110                      West Palm Beach   FL           33409
 White & Starling, PLLC                                           2003 N Lamar Blvd - Ste 100                                          Austin            TX           78705
 White Bull Express Inc                                           619 Hampton Ave                                                      Southhampton      PA           18966
 White Flag Transport LLC                                         1749 W Golf Rd Ste 321                                               Mount Prospect    IL           60056
 White Glove Auto Transport                                       1025 Rose Creek Drive                                                Woodstock         GA           30189
 White Gold Logistics LLC                                         1884 Monday Ct                                                       Tallahassee       FL           32301
 White Horse Auto Transport Corp                                  3230 48th Ave Ne                                                     Naples            FL           34120
 White Knight Transport LLC                                       2112 17th Ave                                                        Altoona           PA           16601
 White Nights Trucking Inc                                        2250 E 4th Street                                                    Brooklyn          NY           11223
 White Oaks Landscape LLC                                         4712 Old Winter Garden Rd                                            Orlando           FL           32811
 White Pigeon Auto Transport                                      2 Villa Verde Drive                                                  Buffalo Grove     IL           60089
 White Tower Logistics LLC                                        2262 Westbourne Dr                                                   Oviedo            FL           32765
 White Water Agency LLC                                           215 S Olive Ave - Ste 201                                            West Palm Beach   FL           33401
 White, Calvin Douglas                                            Address on File
 White, Charlotte Ann                                             Address on File
 White, John Henry                                                Address on File
 White, Miguel A                                                  Address on File
 Whitfield Transport LLC                                          919 Adkins Blvd                                                      Jackson           MS           39211
 Whitley, Jessie A                                                Address on File
 Whittaker, Kristin E                                             Address on File
 Wholesale Express LLC                                            5530 W Chandler Blvd Ste 4                                           Chandler          AZ           85226
 Whos Calling                                                     PO Box 4825                                                          Houston           TX           77210-4825



Off Lease Only LLC, et al.                                                                                                                                                         Page 150 of 155
                                                           Case 23-11389-CTG                  Doc 1-1          Filed 09/07/23   Page 151 of 155
                                                                                                        Creditor Matrix
                                                                                                   as of September 6, 2023
                    Creditor Name                         Attention                    Address 1                    Address 2    Address 3               City         State       Zip        Country
 Wickline, Chad P                                                         Address on File
 Wide Open Transport                                                      76 Princess Ruth Lane                                              Palm Coast          FL           32164
 Wielecki, Jerzy Maria                                                    Address on File
 Wiginton Fire Systems                                                    10050 NW 116 Way                                                   Medley              FL           33178
 Wilbur, Gregory Dale                                                     Address on File
 Wilde Lexus Of Sarasota                                                  4883 Clark Road                                                    Sarasota            FL           34233
 Wilenski, John                                                           Address on File
 Wilkins, Justin                                                          Address on File
 WiLLCox Sales LLC                                                        13658 N 12th Street Unit 11                                        Tampa               FL           33613
 William & Stazz
 William C Colby Transport                                                12204 Spottswood Drive                                             Riverview           FL           33579
 Williams & Stazzone Insurance Agency, Inc.                               99 N Atlantic Ave                                                  Cocoa Beach         FL           32931
 Williams Scotsman                                                        PO Box 91975                                                       Chicago             IL           60693-1975
 Williams Transport                                                       7026 Brown St                                                      Fayetteville        NC           28314
 Williams Transport Express LLC                                           5527 Mighty Casey Ct                                               Waldorf             MD           20602
 Williams, Cleveland                                                      Address on File
 Williams, Douglas A                                                      Address on File
 Williams, Janayja Serenity Elease                                        Address on File
 Williams, Jasmine Elizabeth                                              Address on File
 Williams, Kurt Elliot Nigel                                              Address on File
 Williams, Quentin Terrell                                                Address on File
 Williams, Quiana Alexandria                                              Address on File
 Williams, Ronaeja                                                        Address on File
 Williams, Heath                                                          Address on File
 Williams-Lopez, Madeline                                                 Address on File
 Williamson Automotive Group                                              7815 SW 104 St                                                     Miami               FL           33156
 Willie Lee Lewis Dba Echelon Transportation                              4900 U Stoney Trace Drive                                          Mint Hill           NC           28227
 Willin Transport Corp                                                    11045 NW 59th Place                                                Hialeah             FL           33012
 Willis, Chevaughn                                                        Address on File
 Wills, David Anthony                                                     Address on File
 Willy's Transporting LLC                      Wilfredo Rodriguez Valez   8834 W Vogal                                                       Peoria              AZ           85345
 Wilmory Transport Services Inc                                           208 Landover Dr                                                    Euless              TX           76040
 Wilson Software
 Wilson, Alfred Dannell                                                   Address on File
 Wilson, Brittnay Ja'Nae                                                  Address on File
 Wilson, Corry Bernard                                                    Address on File
 Wilson, Cribbs & Goren, P.C                                              1233 West Loop South Ste 800                                       Houston             TX           77027
 Wilson, Hermine                                                          Address on File
 Wilson, Jerry Randolph                                                   Address on File
 Wilson, Kamau Naeem                                                      Address on File
 Wilson, Kimberlee R                                                      Address on File
 Wilson, Leland Frederick                                                 Address on File
 Wilson, Chip                                                             Address on File
 Wilson, Rudolph                                                          Address on File
 Wimay Trans Inc                                                          6320 SW 138th Ct                                                   Miami               FL           33183
 Winchester Mitsubishi                         Prestige G, LLC            3880 Valley Pike                                                   Winchester          VA           22602
 Wind Rose Transport Corp                                                 11046 SW 243 St                                                    Homestead           FL           33032
 Wind Transport Inc                                                       26700 SW 182nd Avenue                                              Homestead           FL           33031
 Windhaven Underwriters, LLC                                              8550 NW 33rd Street                                                Doral               FL           33122
 Windjammer Properties LLC                                                3575 23rd Avenue South                                             Lake Worth          FL           33461
 Windsor Jet Management                                                   1815 NW 51st Place                                                 Fort Lauderdale     FL           33309
 Windstream Communications                                                PO Box 9001013                                                     Louisville          KY           40290-1013
 Wing Diva
 Winhaul Logistics Inc                                                    6574 North State Rd 7                                              Coconut Creek       FL           33073
 Winne, Carolyn J                                                         Address on File
 Winners Transportation                                                   4710 SW 12 Place                                                   Deerfield Beach     FL           33442
 Winter Park Sales & Leasing                                              1980 Howell Branch Rd                                              Winter Park         FL           32792
 Winzer Franchise Company                                                 PO Box 671482                                                      Dallas              TX           75267-1482
 Wiring Technologies Inc                                                  1015 Sunshine Lane                                                 Altamount Springs   FL           32714
 Wisdom, Kyle Damarian                                                    Address on File
 Wistein, Jaime Thomas                                                    Address on File
 Witham, Patrick Donald                                                   Address on File



Off Lease Only LLC, et al.                                                                                                                                                                 Page 151 of 155
                                                      Case 23-11389-CTG                         Doc 1-1      Filed 09/07/23    Page 152 of 155
                                                                                                     Creditor Matrix
                                                                                                  as of September 6, 2023
                    Creditor Name                    Attention                         Address 1                   Address 2    Address 3              City        State       Zip        Country
 Withers, Kimberly Somerville                                           Address on File
 Witherspoon, Sandra Ann                                                Address on File
 Wjr Trans Express Inc                                                  15 Lilah Circle                                                     Wakefield         MA           01880
 Wlc Trucking Inc.                       Wlc Trucking Enterprises Inc   957 Hunt Street                                                     Akron             OH           44306
 Wolf Hill Transport LLC                                                PO Box 245397                                                       Pembroke Pines    FL           33024
 Wolf Road Transport Inc.                                               333 NE 24th Street                                                  Miami             FL           33137
 Wolf, Stauch                                                           Address on File
 Wolfgang's Auto Repair                                                 4178 Highway 120                                                    Duluth            GA           30097
 Wollemi Acquisitions, LLC                                              PO Box 1589                                                         Suwanee           GA           30024
 Wolter Van Dyke Davis, PLLC                                            390 N Orange Avenue                                                 Orlando           FL           32801
 Wonder Transport                                                       PO Box 628                                                          Hopatcong         NJ           07843
 Wonderland Auto Carrier LLC                                            8118 W Catalina Drive                                               Phoenix           AZ           85033
 Wonderland Auto Carrier LLC                                            15775 SW 46 Terr                                                    Miami             FL           33185
 Wonderland Auto Carrier LLC                                            8370 SW 43 St                                                       Miami             FL           33155
 Woodall Auto Transport Inc                                             1227 Marshall Farms Rd                                              Ocoee             FL           34761
 Woodard, Tracy                                                         Address on File
 Working For Temple Ltd Co                                              519 Waverly Way                                                     Marion            SC           29571
 World Auto Transport LLC                                               14 Ruffleg Cir                                                      Denver            PA           17517
 World Automotive Services, Inc                                         7052 Narcoosse Rd                                                   Orlando           FL           32822-0000
 World Class Tint & Accessories                                         14501 Hampton Place                                                 Davie             FL           33325
 World Pac                                                              PO Box 5022                                                         Newark            CA           94560
 World Travel Inc                                                       1724 West Schuylkill Road                                           Douglassville     PA           19518
 Worldpac Inc                                                           PO Box 674687                                                       Dallas            TX           75267-4687
 Worldpay
 Worldwide Auto LLC                                                     39011 County Rd 54                                                  Zephyrhills       FL           33542
 Worley's Transport                                                     4360 Waccamaw Shores Rd                                             Lake Waccamaw     NC           28450
 Worrell, Monique S                                                     Address on File
 Worthington Transport LLC                                              104 River Lake Dr                                                   Eaton             GA           31024
 Worthy Transfer                                                        7139 Brentwood Rd                                                   Ft Myers          FL           33919
 Wp All Import                           Wordpress
 Wpb Transport LLC                                                      1755 Forest Hill Blvd                                               West Palm Beach   FL           33406
 Wptv Scripps Media
 Wpyo-Fm                                                                PO Box 83197                                                        Chicago           IL           60691-0197
 Wrapify, Inc                                                           PO Box 18735                                                        Irvine            CA           92623
 Wright Condell, Trevene Tiffany                                        Address on File
 Wsun-Fm                                                                PO Box 83199                                                        Chicago           IL           60691-0199
 Wtb Transport LLC                                                      3551 Sivertson Rd                                                   Autryville        NC           28318
 Wtk Freight                                                            684 Barrington Rd #257                                              Streamwood        IL           60107
 Wu, Yanyu                                                              Address on File
 Wurth Usa Inc.                                                         93 Grant Street                                                     Ramsey            NJ           07446
 Wynne, Terry                                                           Address on File
 Wynohradnyk, Peter                                                     Address on File
 Wysocki, Christina Lynn                                                Address on File
 X-Ccelerator Transporting                                              265 Highway 50                                                      Rosebud           MO           63091
 Xcel Transportation LLC                                                41 Scott Drive Ne                                                   Marietta          GA           30067
 Xcentric Ventures LLC                   C/O Rip Off Report             PO Box 310                                                          Tempe             AZ           85280
 Xclusive Auto Carriers LLC                                             PO Box 120714                                                       Fort Lauderdale   FL           33312
 Xion Auto Transport LLC                                                11647 Tangle Stone Dr                                               Gibsonton         FL           33534
 Xl Fencing LLC                                                         20 NW 3rd Ave Suite #102                                            Deerfield Beach   FL           33441
 Xl Parts LLC                                                           PO Box 736201                                                       Dallas            TX           75373-6201
 X-Pert Awning Company                                                  3381 NE 6th Terrace                                                 Pompano Beach     FL           33064
 Xpress Auto LLC                                                        483 East 33 Street                                                  Hialeah           FL           33013
 Xpress Auto Transport LLC                                              800 Ingleside Ave Suite C3                                          Catonsville       MD           21228
 Xpress Transport Inc                                                   12901 SW 209 Terrace                                                Miami             FL           33177
 Xpress Transport Usa Inc                                               3103 W 72nd Street                                                  Hialeah           FL           33018
 X-Quisite Collision Center                                             1300 West Industrial Ave             Bay 105                        Boynton Beach     FL           33426
 Xquisite Transport Inc                                                 27 Bailey Ln                                                        Manorville        NY           11949
 X-Terminator Pest Control Plus LLC                                     2143 Partridgeberry Lane                                            Katy              TX           77494
 Xtime, LLC                              Autotrader.Com, Inc            PO Box 6129                                                         New York          NY           10249-6129
 Xtreme Auto Brokers And Transport LLC                                  6903 N Glen Ave                                                     Tampa             FL           33614
 Xtreme Auto Carrier Inc                                                3771 Mt Vernon Way                                                  Kissimmee         FL           34741
 Xtreme Auto Upholstery                                                 549 N Goldenrod Rd Ste 7                                            Orlando           FL           32807-8219



Off Lease Only LLC, et al.                                                                                                                                                              Page 152 of 155
                                     Case 23-11389-CTG               Doc 1-1         Filed 09/07/23      Page 153 of 155
                                                                             Creditor Matrix
                                                                          as of September 6, 2023
                   Creditor Name     Attention                 Address 1                     Address 2    Address 3              City           State       Zip        Country
 Xtreme Line Inc                                 12485 SW 221 St                                                      Miami                FL           33170
 Xtreme Motorsports Of Atlanta Inc               12 Hal St                                                            Newnan               GA           30263
 Xtrmeme Auto Carrier Inc                        3771 Mt Vernon Way                                                   Kissimmee            FL           34741
 Xxx Trucking Company                            PO Box 455                                                           Cornelius            NC           28031
 Xyz Transport LLC                               9356 NW 19th Pl                                                      Sunrise              FL           33322
 Y & C Auto Transport                            1980 S Ocean Dr                                                      Hallandale           FL           33009
 Y & R Transport Corp                            Post Office Box 126971                                               Hialeah              FL           33012
 Y & V Auto Express Inc                          17351 SW 168 Ave                                                     Miami                FL           33187
 Y & Y Auto Transport Inc                        5153 Springwood Dr                                                   Spring Hill          FL           34609
 Y & Y Auto Transport Inc                        13190 Drysdale St                                                    Spring Hill          FL           34609
 Y Charter                                       3363 NE 163rd Street                                                 North Miami Beach    FL           33160
 Y Extreme Car Carrier LLC                       14760 SW 108th Terr                                                  Miami                FL           33196
 Y Transport Inc.                                324 Rossille Blvd                                                    Davenport            FL           33896
 Y&A Logisitics Inc                              2690 Palisades Drive Se                                              Palm Bay             FL           32909
 Y&E Transportation LLC                          223 Lockart Terrace                                                  Philadelphia         PA           19116
 Y&F Towing And Recovery LLC                     2202 NW 7th Avenue                                                   Cape Coral           FL           33993
 Y&G Carrier Inc                                 3011 West 76th St                                                    Hialeah              FL           33018
 Y&G Transport Cargo                             7002 W Creek Dr                                                      Tampa                FL           33615
 Y&J Auto Transport Corp                         6243 NW 201st Terrace                                                Hialeah              FL           33015
 Y&K Auto Transport LLC                          17648 Nathans Drive                                                  Tampa                FL           33647
 Y&L Express Transportation LLC                  3588 N Libby Dr                                                      West Palm Beach      FL           33406
 Y&M Autotrans Corp                              7413 South 78 Street                                                 Riverview            FL           33578
 Y&S Transportation Solutions                    221 Hightower Ave S                                                  Lehigh Acres         FL           33973
 Y&V Transportation LLC                          135 Stonebridge Blvd                                                 New Castle           DE           19720
 Y&Y Car Hauler Corp                             3967 NW 164th Street                                                 Opa Locka            FL           33054
 Y&Y Towing LLC                                  9970 NW 9St Cir Apt 204                                              Miami                FL           33172
 Y&Y Transport Inc. - Fl Only                    6240 NW 173 Street                                                   Miami Lakes          FL           33015
 Y.D.G., LLC                                     15684 86th Way N                                                     Palm Beach Gardens   FL           33418
 Yaf Services Group 1 LLC                        3026 Eagle Crossing Drive                                            Kissimmee            FL           34746
 Yairon Trucking Inc                             7601 Paula Drive #5                                                  Tampa                FL           33615
 Yambo Cruz, Amarilis                            Address on File
 Yana Freight Inc                                31 Hampton Way                                                       Penfield             NY           14526
 Yander Transport Corp                           1921 Central Florida Pkwy           Ste-D                            Orlando              FL           32837
 Yanes Transportation                            1495 SW 131 Place                                                    Miami                FL           33184
 Yanes, Miguel                                   Address on File
 Yard Style Customs LLC                          3890 Tulip Tree Drive                                                Lantana              FL           33462
 Yaris Transport Inc                             16336 SW 26 Street                                                   Miramar              FL           33027
 Yass Transport LLC                              1121 S Military Trail #121                                           Deerfield Beach      FL           33442
 Yates, Jeffrey Sawyer                           Address on File
 Yauco P R Inc                                   2161 Se Mandrake Cir                                                 Port Saint Lucie     FL           34952
 Yav Trucking                                    17531 Buckingham Garden Dr                                           Lithia               FL           33547
 Yazdani, Shahin                                 Address on File
 Yb Transport Solutions LLC                      8779 NW 169th Terr                                                   Hialeah              FL           33018
 Yc Car Transport LLC                            10900 SW 104th St                                                    Miami                FL           33176
 Yc United Auto Transport LLC                    1889 Se 15th Street                                                  Homestead            FL           33035
 Yd Auto Transport Inc.                          2031 NW 85 Street                                                    Miami                FL           33147
 Yd Transportation LLC                           2655 Ulmerton Rd Unit #110                                           Clearwater           FL           33762
 Yds Auto Transport Inc                          3419 19Street W                                                      Lehigh Acres         FL           33971
 Yellow Box Inc                                  149 Flat View Way                                                    Spartanburg          SC           29303
 Yellow Pages United                             PO Box 50038                                                         Jacksonville         FL           32240-0038
 Yellowstone Landscape Central                   10892 Shadow Wood Dr                                                 Houston              TX           77043
 Yenchesky, Vanessa Fiore                        Address on File
 Yennis Transport Corp                           620 East 27th St                                                     Hialeah              FL           33013
 Yeoman, Eric J                                  Address on File
 Yes Auto Transport                              7750 SW 19th St                                                      Miami                FL           33155
 Yext.Com Powerlistings
 Yey Negrin Transport                            115 NE 202 Terrace                                                   Miami Gardens        FL           33179
 Yg Express Carriers Inc.                        PO Box 531166                                                        Miami Shores         FL           33153
 Yg&A Auto Transport LLC                         15410 Bama Breeze Place                                              Wimauma              FL           33598
 Yhabo Trucking Inc                              1660 Granfern Avenue                                                 West Palm Beach      FL           33415
 Yipit, LLC                                      22 West 19th Street 7th Floor                                        New York             NY           10011
 Yj Secure Auto Transport LLC                    88 West 7th Street                                                   Hialeah              FL           33010



Off Lease Only LLC, et al.                                                                                                                                           Page 153 of 155
                                                         Case 23-11389-CTG                  Doc 1-1        Filed 09/07/23    Page 154 of 155
                                                                                                  Creditor Matrix
                                                                                                as of September 6, 2023
                    Creditor Name                       Attention                    Address 1                   Address 2    Address 3            City          State       Zip     Country
 Yma Express Corp                                                      240 W 68th Street                                                  Hialeah           FL           33014
 Yme Transportation LLC                                                4631 Suntree Blvd                                                  Orlando           FL           32817
 Ymv Trucking LLC                                                      1609 79th Street                                                   North Bergen      NJ           07047
 Y-Not Transportation LLC                                              207 Creekwood Road                                                 Wilmington        NC           28411
 Yoan's Towing Services Inc                                            7523 N Thatcher Ave                                                Tampa             FL           33614
 Yoel Otorena                                                          Address on File
 Yorchoice LLC                                                         3713 N Delhi St                                                    Philadelphia      pa           19140
 Yordany Car Transport LLC                                             4417 W North Street                                                Tampa             FL           33614
 York Courier And Process Services LLC                                 PO Box 2056                                                        Stockbridge       GA           30281
 Yosua And Salai Trucking Inc.                                         965Macedonia Church Road                                           Danielsville      GA           30633
 Young Singers Of The Palm Beaches Inc                                 701 Okeechobee Blvd                                                West Palm Beach   FL           33401
 Young, Brian Anthony                                                  Address on File
 Young, Kenna                                                          Address on File
 Young, Lennox                                                         Address on File
 Young, Tyson Earl                                                     Address on File
 Youngs Transport                                                      17001 Alico Commerce Ct                                            Fort Myers        FL           33967
 Your Auction Of Ft. Myers                                             13279 Treeline Ave                                                 Fort Myers        FL           33913
 Your Auction Of Tampa Bay                                             3010 Scherer Drive N                                               St. Petersburg    FL           33716
 Your Ship Matters                                                     42 Rockridge Drive                                                 Spring            TX           77381
 Yousif Towing                                                         163 Breckinridge Sq                                                Louisville        KY           40220
 Yovcheva, Desislava Stefanova                                         Address on File
 Yo-Yo Car Transport Inc                                               4200 Sheridan St #303                                              Hollywood         FL           33021
 Yoyo Towing                                                           2990 Palm Ave                                                      Hialeah           FL           33012
 Yp                                                                    PO Box 105024                                                      Atlanta           GA           30348
 Ypr Car Transport LLC.                                                8746 Key Biscayne Drive                                            Tampa             FL           33614
 Yr Auto Sales, LLC.                                                   803 Dresden Ave                                                    Louisville        KY           40215
 Yr Auto Trans Inc                                                     2121 W Aileen Street                                               Tampa             FL           33607
 Yro Trucking Services Corp                                            8181 NW South River Drive                                          Medley            FL           33166
 Ys Auto Transport Inc                                                 6431 Appian Way                                                    Orlando           FL           32807
 Ysd Trucking                                                          1085 Steeves Avenue                                                Naples            FL           34104
 Ysm 1 Corp                                                            4921 W Sample Road #306                                            Coconut Creek     FL           33073
 Ysq Auto Carrier Inc                                                  116 West 17th Street                                               Hialeah           FL           33010
 Yty Transport Inc.                                                    5307 NW 7th Street                                                 Miami             FL           33126
 Yukon Auto Transport Inc.                                             4143 Sandy Cross Road Ne                                           Crawfordville     GA           30631
 Yz Transport Inc                                                      2472 Lake Jackson Cir                                              Apopka            FL           32703
 Y-Zels Transportation Services                                        12052 Heather Down Dr                                              Herndon           VA           20170
 Z & A Auto Carrier Inc                                                8350 NW 8 St #7                                                    Miami             FL           33126
 Z Auto Movers Corp                                                    2201 NW 7th Ave                                                    Miami             FL           33127
 Z Brothers Expedited LLC                                              709 Plaza Drive                                                    Chesterton        IN           46304
 Z P Transport LLC                           Palomo,Cesar M Zorrilla   13140 Ashington Pointe Dr                                          Orlando           FL           32824
 Z Promotion LLC/Milwaukee Car Carriers                                PO Box 1526                                                        Crown Point       IN           46308
 Z&M Transport Inc.                                                    236 Afton Sq Unit 209                                              Altamonte Spg     FL           32714
 Z&Z Transportation LLC                                                906 College Place Ct Nw                                            Kennesaw          GA           30144
 Z&Z Trucking LLC                                                      PO Box 3082                                                        Lake City         FL           32056
 Z100 LLC                                                              4801 Kenmore Avenue                                                Alexandria        VA           22304
 Zacas Transport LLC                                                   9611 Long Meadow Drive                                             Tampa             FL           33615
 Zaccagnini, Joseph Michael                                            Address on File
 Zak Automotive Transport Services Inc                                 9321 Glen Moor Ln                                                  Port Richey       FL           34668
 Zamora Morton, Corrine Kay                                            Address on File
 Zamora, Eric Jeffrey                                                  Address on File
 Zanav Inc                                                             3938 Stonyrun Drive                                                Louisville        KY           40220
 Zara Express LLC                                                      114 Shadowlawn Street                                              Inkster           MI           48141
 Zareba Auto Transport                                                 4912 Musselshell Dr                                                New Port Richey   FL           34655
 Zawatski, Charles Stephen                                             Address on File
 Zebersky Payne Shaw Lewenz Llp Trust Acct                             110 Se 6th Street Suite 2150                                       Ft Lauderdale     FL           33301
 Zee, Michael Jay                                                      Address on File
 Zelaya, Nelson                                                        Address on File
 Zen Auto Transport                                                    202 Julian Drive East                                              Warminster        PA           18974
 Zendesk Inc                                                                                                                              San Francisco     CA
 Zephir, Clifford                                                      Address on File
 Zimmer Construction Consultants, Pa                                   129 NW 13th Street                                                 Boca Raton        FL           33432
 Zimmermann, Thomas P                                                  Address on File



Off Lease Only LLC, et al.                                                                                                                                                         Page 154 of 155
                                    Case 23-11389-CTG              Doc 1-1        Filed 09/07/23    Page 155 of 155
                                                                           Creditor Matrix
                                                                       as of September 6, 2023
                   Creditor Name    Attention                Address 1                  Address 2    Address 3            City        State       Zip        Country
 Zip 2 Zip LLC                                  2851 S Parker Rd Ste 970                                         Aurora          CO           80014
 Zomorodian, Aria                               Address on File
 Zumar Transport LLC                            26 B School Lane                                                 Woodstown       NJ           08098
 Zurich Deductible Recovery Group               PO Box 6066-11                                                   Hermitage       PA           16148-1066
 Zymeck, John David                             Address on File
 Zyz Transport LLC                              3811 Bridgebluff Ln                                              Katy            TX           77449




Off Lease Only LLC, et al.                                                                                                                                 Page 155 of 155
